      CaseCase: 17-1118   Document:
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                                                               Page 1 of 2



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22                          NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION
23
     ORACLE AMERICA, INC.,                       Case No. CV 10-03561 WHA
24
                 Plaintiff,                      ORACLE’S NOTICE OF APPEAL TO
25       v.                                      THE U.S. COURT OF APPEALS FOR
                                                 THE FEDERAL CIRCUIT
26   GOOGLE INC.,
27                   Defendant.

28
                                                            ORACLE’S NOTICE OF APPEAL TO THE U.S.
                                                         COURT OF APPEALS FOR THE FEDERAL CIRCUIT
                                                                                CV 10-03561 WHA
      CaseCase: 17-1118   Document:
           3:10-cv-03561-WHA        1-2 2071
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                                                               Page 2 of 2



 1          Notice is hereby given that Oracle America, Inc. (“Oracle”), in the above-captioned case,

 2   hereby appeals to the United States Court of Appeals for the Federal Circuit pursuant to 28 U.S.C.

 3   §§ 1295(a)(1), from the Final Judgment (ECF No. 1989), entered in this action on the 8th day of

 4   June, 2016, and from any and all other judgments, orders, opinions, decisions, rulings, and

 5   findings subsidiary thereto, subsumed therein, or subsequent thereto, including, without

 6   limitation, the district court’s decision (ECF No. 2070), entered in this action on the 27th of

 7   September, 2016, denying Oracle’s renewed motion for judgment as a matter of law and Oracle’s

 8   motion for a new trial, and from any and all other judgments, orders, opinions, decisions, rulings,

 9   and findings of the district court entered prior or subsequent to the entry of the Final Judgment.
10

11   Dated: October 26, 2016                           Respectfully submitted,
12                                                          Orrick, Herrington & Sutcliffe LLP
13                                                     By: /s/ Peter A. Bicks
                                                           Peter A. Bicks
14
                                                       Counsel for ORACLE AMERICA, INC.
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                                                                         ORACLE’S NOTICE OF APPEAL TO THE U.S.
                                                     -1-              COURT OF APPEALS FOR THE FEDERAL CIRCUIT
                                                                                             CV 10-03561 WHA
             Case: 17-1118           Document: 1-2        Page: 3     Filed: 10/28/2016




          UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT
                           Appeal Information Sheet

                   United States District Court for the Northern District of California


ORACLE AMERICA, INC. v. GOOGLE INC.

PLAINTIFF(S)                                           DEFENDANT(S)
Oracle America, Inc.                                   Google Inc.

(List all parties. Use asterisk to indicate dismissed or withdrawn parties. Use separate sheet if
needed. Explain any discrepancy with caption used on judgment, order or opinion.)

Type of case: Patent

Docket No. 3:10-cv-03561-WHA                          Date of Judgment/Order: June 8, 2016

Cross or related appeal?                              Date of Notice of Appeal: October 26, 2016

Appellant is:                (X) Plaintiff            ( ) Defendant         ( ) Other (explain)


DOCKET FEE STATUS:
(X) Paid     ( ) Not Paid                Billed On:

U.S. Appeal?          Yes ( )            No (X)

In forma pauperis?
( ) Granted       ( ) Denied             ( ) Revoked          ( ) Pending        ( ) Never requested


COUNSEL (List name, firm, address and telephone of lead counsel for each party. Indicate
party represented.):

See docket sheet




COURT REPORTER: (Name and telephone)

See docket sheet



IMPORTANT: Attach copy of opinion or order appealed from. Forward together with copy of
notice of appeal and certified docket entries
CAND-ECF                                                                   https://ecf.cand.circ9.dcn/cgi-bin/DktRpt.pl?767196345698506-L_1_0-1
                                  Case: 17-1118            Document: 1-2    Page: 4       Filed: 10/28/2016
                                           ADRMOP,AO279,APPEAL,CASREF,CLOSED,E-Filing,PRVADR,REFDIS,REFSET-EDL,REFSET-SK

                                                            U.S. District Court
                                                California Northern District (San Francisco)
                                                                                                                       I hereby certify that the annexed
                                             CIVIL DOCKET FOR CASE #: 3:10-cv-03561-WHA                              instrument is a true and correct copy
                                                                                                                       of the original on file in my office.
                                                             Internal Use Only
                                                                                                                ATTEST:
                                                                                                                SUSAN Y. SOONG
                                                                                                                Clerk, U.S. District Court
                                                                                                                Northern District of California
           Oracle America, Inc. v. Google Inc.                                      Date Filed: 08/12/2010
           Assigned to: Hon. William Alsup                                          Date Terminated: 07/05/2016      by:
                                                                                                                                Deputy Clerk
           Referred to: Magistrate Judge Donna M. Ryu                               Jury Demand: Both                   10/27/2016
                                                                                                                     Date:
                       Magistrate Judge Sallie Kim (Settlement)                     Nature of Suit: 830 Patent
           Cause: 35:271 Patent Infringement                                        Jurisdiction: Federal Question

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           Case: 17-1118   Document: 1-2    Page: 5       Filed: 10/28/2016

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           Case: 17-1118   Document: 1-2    Page: 6       Filed: 10/28/2016


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           Case: 17-1118   Document: 1-2    Page: 7       Filed: 10/28/2016

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           Case: 17-1118   Document: 1-2    Page: 9       Filed: 10/28/2016

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            Case: 17-1118   Document: 1-2   Page: 20       Filed: 10/28/2016

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                                   Case: 17-1118   Document: 1-2   Page: 22       Filed: 10/28/2016


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            V.
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            Case: 17-1118   Document: 1-2   Page: 23       Filed: 10/28/2016

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                                                                                TERMINATED: 04/26/2011

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            Date Filed   #      Docket Text
            08/12/2010       1 COMPLAINT (with jury demand) For Patent and Copyright Infringement against Google Inc. (Filing
                               fee $350, receipt number 54611007901). Filed by Oracle America, Inc. (Attachments: # 1 Civil Cover
                               Sheet)(vlk, COURT STAFF) (Filed on 8/12/2010) Modified on 8/18/2010 (cjl, COURT STAFF).
                               (Entered: 08/17/2010)
            08/12/2010          CASE DESIGNATED for Electronic Filing. (vlk, COURT STAFF) (Filed on 8/12/2010) (Entered:
                                08/17/2010)
            08/12/2010       2 ADR SCHEDULING ORDER: Case Management Conference set for 12/2/2010 01:30 PM.
                               (Attachments: # 1 Standing Order)(vlk, COURT STAFF) (Filed on 8/12/2010) (Entered: 08/17/2010)
            08/12/2010       3 Summons Issued as to Google Inc.. (vlk, COURT STAFF) (Filed on 8/12/2010) (Entered: 08/17/2010)
            08/12/2010       4 Certificate of Interested Entities by Oracle America, Inc. identifying Other Affiliate Oracle
                               Corporation, Other Affiliate Oracle International Corporation for Oracle America, Inc.. (vlk, COURT
                               STAFF) (Filed on 8/12/2010) (Entered: 08/17/2010)
            08/12/2010          Set Deadlines: Case Management Statement due by 11/25/2010. (cjl, COURT STAFF) (Filed on
                                8/12/2010) (Entered: 08/18/2010)
            08/17/2010       5 REPORT on the filing or determination of an action regarding patent infringement (cc: form mailed to
                               register). (vlk, COURT STAFF) (Filed on 8/17/2010) (Entered: 08/17/2010)
            08/19/2010       6 NOTICE of Appearance by Richard Steven Ballinger (Ballinger, Richard) (Filed on 8/19/2010)
                               (Entered: 08/19/2010)
            08/20/2010       7 SUMMONS Returned Executed by Oracle America, Inc.. Google Inc. served on 8/13/2010, answer due
                               9/3/2010. (Peters, Marc) (Filed on 8/20/2010) (Entered: 08/20/2010)




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CAND-ECF                                                             https://ecf.cand.circ9.dcn/cgi-bin/DktRpt.pl?767196345698506-L_1_0-1
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            08/24/2010       8 MOTION for leave to appear in Pro Hac Vice Re: David Boies (Filing fee $210, receipt number
                               44611005595) filed by Oracle America, Inc. (Attachments: # 1 Proposed Order)(cjl, COURT STAFF)
                               (Filed on 8/24/2010) (Entered: 08/24/2010)
            08/25/2010       9 STIPULATION EXTENDING TIME FOR DEFENDANT TO RESPOND TO COMPLAINT by Google
                               Inc. and Oracle America, Inc. (Ezgar, Geoffrey) (Filed on 8/25/2010) Modified on 8/26/2010 (cjl,
                               COURT STAFF). (Entered: 08/25/2010)
            08/25/2010      10 CERTIFICATE OF SERVICE re: 9 Stipulation Extending Time for Defendant to Respond to
                               Complaint by Oracle America, Inc. (Ezgar, Geoffrey) (Filed on 8/25/2010) Modified on 8/26/2010 (cjl,
                               COURT STAFF). (Entered: 08/25/2010)
            08/25/2010      11 ORDER by Judge Beeler granting 8 Motion for Pro Hac Vice Re: David Boies. (lblc2, COURT
                               STAFF) (Filed on 8/25/2010) Modified on 8/26/2010 (cjl, COURT STAFF). (Entered: 08/25/2010)
            08/25/2010          (Court only) ***Attorney David Boies for Oracle America, Inc. added.*** (cjl, COURT STAFF) (Filed
                                on 8/25/2010) (Entered: 08/26/2010)
            09/14/2010      12 NOTICE OF APPEARANCE OF COUNSEL OF ROBERT F. PERRY by Google Inc. (Ezgar,
                               Geoffrey) (Filed on 9/14/2010) Modified on 9/15/2010 (cjl, COURT STAFF). (Entered: 09/14/2010)
            09/14/2010      13 CERTIFICATE OF SERVICE re 12 Notice of Appearance by Google Inc. (Ezgar, Geoffrey) (Filed on
                               9/14/2010) Modified on 9/15/2010 (cjl, COURT STAFF). (Entered: 09/14/2010)
            09/14/2010      14 Declination to Proceed Before a U.S. Magistrate Judge and Request for Reassignment to a United
                               States District Judge by Google Inc. (Ezgar, Geoffrey) (Filed on 9/14/2010) Modified on 9/15/2010
                               (cjl, COURT STAFF). (Entered: 09/14/2010)
            09/14/2010      15 CERTIFICATE OF SERVICE by Google Inc. re 14 Declination to Proceed Before a U.S. Magistrate
                               Judge and Request for Reassignment to a United States District Judge (Ezgar, Geoffrey) (Filed on
                               9/14/2010) (Entered: 09/14/2010)
            09/14/2010      16 Certificate of Interested Entities or Persons, Pursuant to Civil L.R. 3-16 by Google Inc. (Ezgar,
                               Geoffrey) (Filed on 9/14/2010) Modified on 9/15/2010 (cjl, COURT STAFF). (Entered: 09/14/2010)
            09/14/2010      17 CERTIFICATE OF SERVICE by Google Inc. re 16 Certificate of Interested Entities or Persons,
                               Pursuant to Civil L.R. 3-16 (Ezgar, Geoffrey) (Filed on 9/14/2010) (Entered: 09/14/2010)
            09/14/2010      18 Corporate Disclosure Statement (with jury demand) by Google Inc. (Ezgar, Geoffrey) (Filed on
                               9/14/2010) Modified on 9/15/2010 (cjl, COURT STAFF). (Entered: 09/14/2010)
            09/14/2010      19 CERTIFICATE OF SERVICE by Google Inc. re 18 Google Inc.'s Corporate Disclosure Statement.
                               (Ezgar, Geoffrey) (Filed on 9/14/2010) Modified on 9/15/2010 (cjl, COURT STAFF). (Entered:
                               09/14/2010)
            09/14/2010      20 MOTION for leave to appear in Pro Hac Vice Re: Scott T. Weingaertner (Filing fee $210, receipt
                               number 44611005697) filed by Google Inc. (Attachments: # 1 Proposed Order)(cjl, COURT STAFF)
                               (Filed on 9/14/2010) (Entered: 09/14/2010)
            09/14/2010      21 CERTIFICATE OF SERVICE re 20 MOTION for leave to appear in Pro Hac Vice by Google Inc. (cjl,
                               COURT STAFF) (Filed on 9/14/2010) (Entered: 09/14/2010)
            09/14/2010          (Court only) ***Attorney Robert F. Perry for Google Inc. added.*** (cjl, COURT STAFF) (Filed on
                                9/14/2010) (Entered: 09/15/2010)
            09/15/2010      22 CLERK'S NOTICE of Impending Reassignment to U.S. District Judge. (ls, COURT STAFF) (Filed on
                               9/15/2010) (Entered: 09/15/2010)
            09/16/2010      23 ORDER REASSIGNING CASE. Case reassigned to Judge Hon. William H. Alsup for all further
                               proceedings. Magistrate Judge Laurel Beeler no longer assigned to the case. Signed by the Executive
                               Committee on September 16, 2010. (cjl, COURT STAFF) (Filed on 9/16/2010) (Entered: 09/16/2010)
            09/16/2010      24 ORDER GRANTING PRO HAC VICE APPLICATION OF WEINGAERTNER by Judge Alsup
                               granting 20 Motion for Pro Hac Vice (whalc1, COURT STAFF) (Filed on 9/16/2010) (Entered:
                               09/16/2010)




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            09/16/2010          (Court only) ***Attorney Scott T. Weingaertner for Google Inc. added. (wsn, COURT STAFF) (Filed
                                on 9/16/2010) (Entered: 09/17/2010)
            09/22/2010      25 CLERKS NOTICE Scheduling Initial CMC on Reassignment. Case Management Conference set for
                               11/18/2010 11:00 AM. (dt, COURT STAFF) (Filed on 9/22/2010) (Entered: 09/22/2010)
            09/22/2010      26 SUPPLEMENTAL ORDER TO ORDER SETTING INITIAL CASE MANAGEMENT
                               CONFERENCE re 25 Clerks Notice. Signed by Judge William Alsup on 11/20/08. (dt, COURT
                               STAFF) (Filed on 9/22/2010) (Entered: 09/22/2010)
            09/23/2010      27 CERTIFICATE OF SERVICE by Oracle America, Inc. re 25 Clerks Notice, 26 SUPPLEMENTAL
                               ORDER TO ORDER SETTING INITIAL CASE MANAGEMENT CONFERENCE (Ballinger,
                               Richard) (Filed on 9/23/2010) (Entered: 09/23/2010)
            09/28/2010      28 Certificate of Interested Entities by Oracle America, Inc. identifying Corporate Parent Oracle Systems
                               Corporation, Other Affiliate Oracle Global Holdings, Inc., Other Affiliate StorageTek International
                               Corporation, Other Affiliate Oracle Corporation for Oracle America, Inc.. (Amended Civil LR 3-16
                               certificate of interested entites and FRCP 7.1 Corporate Disclosure Statement) (Peters, Marc) (Filed on
                               9/28/2010) (Entered: 09/28/2010)
            09/30/2010      29 NOTICE of Appearance by Donald Frederick Zimmer, Jr for Google Inc. (Zimmer, Donald) (Filed on
                               9/30/2010) Modified on 10/1/2010 (wsn, COURT STAFF). (Entered: 09/30/2010)
            09/30/2010          (Court only) ***Attorney Cheryl A. Sabnis for Google Inc. added. (wsn, COURT STAFF) (Filed on
                                9/30/2010) (Entered: 10/01/2010)
            10/01/2010      30 NOTICE of Appearance by Donald Frederick Zimmer, Jr and Cheryl A. Sabnis -- Defendant's
                               AMENDED Notice of Appearance of Counsel (Zimmer, Donald) (Filed on 10/1/2010) (Entered:
                               10/01/2010)
            10/04/2010      31 APPLICATION of Bruce W. Baber for Admission of Attorney Pro Hac Vice and [Proposed] Order
                               Granting Application. (Fee Paid, Receipt Number 34611051316) (Attachments: # 1 Proposed Order)
                               (Zimmer, Donald) (Filed on 10/4/2010) Modified on 10/7/2010 (far, COURT STAFF). (Additional
                               attachment(s) added on 10/7/2010: # 2 Receipt) (far, COURT STAFF). (Entered: 10/04/2010)
            10/04/2010      32 GOOGLE INC.'S ANSWER to Complaint with Jury Demand, COUNTERCLAIM against Oracle
                               America, Inc. byGoogle Inc.. (Zimmer, Donald) (Filed on 10/4/2010) (Entered: 10/04/2010)
            10/04/2010      33 MOTION to Dismiss filed by Google Inc.. Motion Hearing set for 11/18/2010 08:00 AM in Courtroom
                               9, 19th Floor, San Francisco. (Attachments: # 1 Proposed Order)(Zimmer, Donald) (Filed on
                               10/4/2010) (Entered: 10/04/2010)
            10/07/2010      34 ORDER GRANTING PRO HAC VICE APPLICATION OF BABER by Judge Alsup granting 31
                               Motion for Pro Hac Vice (whalc1, COURT STAFF) (Filed on 10/7/2010) (Entered: 10/07/2010)
            10/07/2010          (Court only) ***Attorney Bruce W. Baber for Google Inc. added. (wsn, COURT STAFF) (Filed on
                                10/7/2010) (Entered: 10/08/2010)
            10/26/2010      35 MOTION to Dismiss invalidity counterclaims, MOTION to Strike 32 Answer to Complaint,
                               Counterclaim (motion to strike certain affirmative defenses and impertinent matter) filed by Oracle
                               America, Inc.. Motion Hearing set for 12/2/2010 08:00 AM in Courtroom 9, 19th Floor, San Francisco.
                               (Attachments: # 1 Proposed Order)(Peters, Marc) (Filed on 10/26/2010) (Entered: 10/26/2010)
            10/27/2010      36 AMENDED COMPLAINT for patent and copyright infringement against Google Inc.. Filed byOracle
                               America, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E,
                               # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J)(Peters, Marc) (Filed on
                               10/27/2010) (Entered: 10/27/2010)
            10/27/2010      37 ADR Certification (ADR L.R. 3-5 b) of discussion of ADR options Oracle America ADR Certification
                               by Party and Counsel (Ballinger, Richard) (Filed on 10/27/2010) (Entered: 10/27/2010)
            10/28/2010      38 ADR Certification (ADR L.R. 3-5 b) of discussion of ADR options (Zimmer, Donald) (Filed on
                               10/28/2010) (Entered: 10/28/2010)
            10/28/2010      39 NOTICE of need for ADR Phone Conference (ADR L.R. 3-5 d) (Ballinger, Richard) (Filed on
                               10/28/2010) (Entered: 10/28/2010)




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            10/28/2010      40 Memorandum in Opposition re 33 MOTION to Dismiss Count VIII of Plaintiff's Complaint or, In the
                               Alternative, for a More Definite Statement filed byOracle America, Inc.. (Attachments: # 1 Proposed
                               Order)(Ballinger, Richard) (Filed on 10/28/2010) (Entered: 10/28/2010)
            10/28/2010      41 ANSWER TO COUNTERCLAIM 32 Answer to Complaint, Counterclaim Oracle America, Inc.'s
                               Reply to Defendant Google Inc.'s Answer to Complaint for Patent and Copyright Infringement and
                               Counterclaims byOracle America, Inc.. (Ballinger, Richard) (Filed on 10/28/2010) (Entered:
                               10/28/2010)
            10/28/2010      42 ORDER TO SHOW CAUSE WHY THE PENDING MOTION TO DISMISS SHOULD NOT BE
                               DENIED AS MOOT Show Cause Response due by 11/1/2010.. Signed by Judge Alsup on October 28,
                               2010. (whalc1, COURT STAFF) (Filed on 10/28/2010) (Entered: 10/28/2010)
            10/29/2010      46 MOTION for leave to appear in Pro Hac Vice - Steven T. Snyder ( Filing fee $ 275, receipt number
                               54611008405) filed by Google Inc. (Attachments: # 1 Proposed Order)(wsn, COURT STAFF) (Filed
                               on 10/29/2010) (Entered: 11/03/2010)
            11/01/2010      43 *** FILED IN ERROR. REFER TO DOCUMENT 44 . ***
                               RESPONSE TO ORDER TO SHOW CAUSE by Google Inc.. (Zimmer, Donald) (Filed on 11/1/2010)
                               Modified on 11/1/2010 (feriab, COURT STAFF). (Entered: 11/01/2010)
            11/01/2010      44 RESPONSE TO ORDER TO SHOW CAUSE by Google Inc.. (Zimmer, Donald) (Filed on 11/1/2010)
                               (Entered: 11/01/2010)
            11/01/2010      45 ORDER DENYING DEFENDANT'S MOTION TO DISMISS AS MOOT AND VACATING
                               HEARING by Judge Alsup finding as moot 33 Motion to Dismiss (whalc1, COURT STAFF) (Filed on
                               11/1/2010) (Entered: 11/01/2010)
            11/03/2010      47 Amended MOTION for leave to appear in Pro Hac Vice of Steven T. Snyder ( Filing fee $ 275, receipt
                               number 54611008405.) filed by Google Inc.. (Attachments: # 1 Proposed Order)(Zimmer, Donald)
                               (Filed on 11/3/2010) (Entered: 11/03/2010)
            11/03/2010          (Court only) ***Motions terminated: 46 MOTION for leave to appear in Pro Hac Vice - Steven T.
                                Snyder ( Filing fee $ 275, receipt number 54611008405) filed by Google Inc. (wsn, COURT STAFF)
                                (Filed on 11/3/2010) (Entered: 11/03/2010)
            11/03/2010      48 ORDER GRANTING PRO HAC VICE APPLICATION OF SNYDER by Judge Alsup granting 47
                               Motion for Pro Hac Vice (whalc1, COURT STAFF) (Filed on 11/3/2010) (Entered: 11/03/2010)
            11/03/2010          (Court only) ***Attorney Steven T Snyder for Google Inc. added. (wsn, COURT STAFF) (Filed on
                                11/3/2010) (Entered: 11/04/2010)
            11/08/2010      49 ADR Clerks Notice Setting ADR Phone Conference on 11/16/10 at 10:00 a.m. Pacific time. Please take
                               note that at the appointed time, all parties shall call 641-715-3200 and use access code 1007836 to join
                               the call. (sgd, COURT STAFF) (Filed on 11/8/2010) (Entered: 11/08/2010)
            11/10/2010      50 TENTATIVE CASE MANAGEMENT ORDER. Please review and critique in the joint case
                               management statement and at the conference. Signed by Judge William Alsup on 11/10/2010. (whasec,
                               COURT STAFF) (Filed on 11/10/2010) (Entered: 11/10/2010)
            11/10/2010      51 Google Inc.'s ANSWER to Amended Complaint for Patent and Copyright Infringement, Amended
                               COUNTERCLAIM against Oracle America, Inc. byGoogle Inc.. (Zimmer, Donald) (Filed on
                               11/10/2010) (Entered: 11/10/2010)
            11/10/2010      52 Memorandum in Opposition to Oracle's 35 Motion to Dismiss and Motion to Strike filed by Google
                               Inc. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Proposed Order)(Zimmer,
                               Donald) (Filed on 11/10/2010) Modified on 11/12/2010 (wsn, COURT STAFF). (Entered: 11/10/2010)
            11/11/2010      53 CASE MANAGEMENT STATEMENT filed by Google Inc., Oracle America, Inc.. (Ballinger,
                               Richard) (Filed on 11/11/2010) (Entered: 11/11/2010)
            11/16/2010          ADR Remark: ADR Phone Conference held by RWS on 11/16/10. (sgd, COURT STAFF) (Filed on
                                11/16/2010) (Entered: 11/16/2010)
            11/16/2010      54 Reply Memorandum re 35 MOTION to Dismiss invalidity counterclaims MOTION to Strike 32
                               Answer to Complaint, Counterclaim (motion to strike certain affirmative defenses and impertinent
                               matter) filed by Oracle America, Inc. (Jacobs, Michael) (Filed on 11/16/2010) Modified on 11/17/2010



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                                (wsn, COURT STAFF). (Entered: 11/16/2010)
            11/17/2010      55 ORDER DENYING ORACLE'S MOTION TO DISMISS AND STRIKE AND VACATING
                               HEARING by Judge Alsup denying 35 Motion to Dismiss; denying 35 Motion to Strike (whalc1,
                               COURT STAFF) (Filed on 11/17/2010) (Entered: 11/17/2010)
            11/18/2010      57 Minute Entry: Initial Case Management Conference held on 11/18/2010 before William Alsup (Date
                               Filed: 11/18/2010), Case referred to Private ADR. Jury Selection set for 10/31/2011 07:30 AM in
                               Courtroom 9, 19th Floor, San Francisco. Jury Trial set for 10/31/2011 07:30 AM. (Court Reporter
                               Sahar McVickar.) (dt, COURT STAFF) (Date Filed: 11/18/2010) (Entered: 11/19/2010)
            11/19/2010      56 CASE MANAGEMENT SCHEDULING ORDER: Case referred to private mediator. Private
                               mediation must be completed thirty days after Markman order. Mediator must be on board by
                               12/31/2010. A tutorial for the Court (to be conducted by counsel only) shall be set for 4/6/2011 at 1:30
                               PM. Claims Construction Hearing set for 4/20/2011 01:30 PM. Discovery due by 7/29/2011. Jury Trial
                               set for 10/31/2011 07:30 AM in Courtroom 9, 19th Floor, San Francisco. Motions due by 9/8/2011.
                               Pretrial Conference set for 10/17/2011 02:00 PM in Courtroom 9, 19th Floor, San Francisco. Signed by
                               Judge William Alsup on 11/18/2010. (whasec, COURT STAFF) (Filed on 11/19/2010) (Entered:
                               11/19/2010)
            11/19/2010          (Court only) Set/Reset Hearings: Tutorial Hearing set for 4/6/2011 01:30 PM in Courtroom 9, 19th
                                Floor, San Francisco. (dt, COURT STAFF) (Filed on 11/19/2010) (Entered: 03/22/2011)
            11/24/2010      58 JOINT CASE MANAGEMENT STATEMENT Joint Proposed Claim Construction Briefing Schedule
                               filed by Oracle America, Inc.. (Ballinger, Richard) (Filed on 11/24/2010) (Entered: 11/24/2010)
            11/29/2010      59 ORDER ENTERING JOINT PROPOSED CLAIM CONSTRUCTION BRIEFING SCHEDULE.
                               Signed by Judge Alsup on November 29, 2010. (whalc1, COURT STAFF) (Filed on 11/29/2010)
                               (Entered: 11/29/2010)
            11/29/2010      60 ANSWER TO COUNTERCLAIM 51 Answer to Amended Complaint, Counterclaim byOracle
                               America, Inc.. (Peters, Marc) (Filed on 11/29/2010) (Entered: 11/29/2010)
            12/02/2010      61 NOTICE of Appearance by Ian Ballon on Behalf of Google Inc. (Ballon, Ian) (Filed on 12/2/2010)
                               (Entered: 12/02/2010)
            12/02/2010      62 NOTICE of Appearance by Joseph Richard Wetzel on Behalf of Google Inc. (Wetzel, Joseph) (Filed on
                               12/2/2010) (Entered: 12/02/2010)
            12/03/2010      63 NOTICE of Appearance by Dana K Powers on Behalf of Google Inc. (Powers, Dana) (Filed on
                               12/3/2010) (Entered: 12/03/2010)
            12/10/2010      64 NOTICE by Google Inc., Oracle America, Inc. Joint Notice Regarding Proposed Protective Orders
                               (Attachments: # 1 Exhibit A - Oracle's proposed protective order, # 2 Exhibit B - Google's proposed
                               protective order, # 3 Exhibit C - table of disputed provisions)(Peters, Marc) (Filed on 12/10/2010)
                               (Entered: 12/10/2010)
            12/14/2010      65 ORDER RE PROPOSED PROTECTIVE ORDERS re 64 Notice (Other), Notice (Other) filed by
                               Google Inc., Oracle America, Inc.. Signed by Judge Alsup on December 14, 2010. (whalc1, COURT
                               STAFF) (Filed on 12/14/2010) (Entered: 12/14/2010)
            12/17/2010      66 STIPULATION Joint [PROPOSED] Protective Order by Google Inc., Oracle America, Inc.. (Peters,
                               Marc) (Filed on 12/17/2010) (Entered: 12/17/2010)
            12/17/2010      67 RESPONSE to re 56 Case Management Scheduling Order, Case Referred to Private ADR, Set
                               Scheduling Order Deadlines,,,,,, Joint ESI Agreement by Oracle America, Inc.. (Ballinger, Richard)
                               (Filed on 12/17/2010) (Entered: 12/17/2010)
            12/20/2010      68 ORDER APPROVING STIPULATED PROTECTIVE ORDER SUBJECT TO STATED
                               CONDITIONS. Signed by Judge Alsup on December 20, 2010. (whalc1, COURT STAFF) (Filed on
                               12/20/2010) (Entered: 12/20/2010)
            12/20/2010      69 NOTICE of Appearance by Heather Janine Meeker on Behalf of Google Inc. (Meeker, Heather) (Filed
                               on 12/20/2010) (Entered: 12/20/2010)
            12/29/2010      70 RESPONSE to re 56 Case Management Scheduling Order, Case Referred to Private ADR, Set
                               Scheduling Order Deadlines, Joint Notice Regarding Mediation by Google Inc., Oracle America, Inc.



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                                (Peters, Marc) (Filed on 12/29/2010) Modified on 12/30/2010 (wsn, COURT STAFF). (Entered:
                                12/29/2010)
            01/13/2011      71 MOTION for leave to appear in Pro Hac Vice by Christopher C. Carnaval ( Filing fee $ 275, receipt
                               number 34611055015.) filed by Google Inc. (mjj2, COURT STAFF) (Filed on 1/13/2011) (Entered:
                               01/13/2011)
            01/13/2011      72 Proposed Order re 71 MOTION for leave to appear in Pro Hac Vice by Christopher C. Carnaval by
                               Google Inc. (mjj2, COURT STAFF) (Filed on 1/13/2011) (Entered: 01/13/2011)
            01/13/2011      73 MOTION for leave to appear in Pro Hac Vice by Mark H. Francis ( Filing fee $ 275, receipt number
                               34611055014.) filed by Google Inc. (mjj2, COURT STAFF) (Filed on 1/13/2011) (Entered:
                               01/13/2011)
            01/13/2011      74 Proposed Order re 73 MOTION for leave to appear in Pro Hac Vice by Mark H. Francis by Google Inc.
                               (mjj2, COURT STAFF) (Filed on 1/13/2011) (Entered: 01/13/2011)
            01/18/2011      75 ORDER GRANTING APPLICATION FOR ADMISSION OF ATTORNEY PRO HAC VICE by
                               Judge Alsup granting 71 Motion for Pro Hac Vice (whalc1, COURT STAFF) (Filed on 1/18/2011)
                               (Entered: 01/18/2011)
            01/18/2011      76 ORDER GRANTING APPLICATION FOR ADMISSION OF ATTORNEY PRO HAC VICE by
                               Judge Alsup granting 73 Motion for Pro Hac Vice (whalc1, COURT STAFF) (Filed on 1/18/2011)
                               (Entered: 01/18/2011)
            01/18/2011          (Court only) ***Attorneys Christopher C. Carnaval, Mark H. Francis for Google Inc. added. (wsn,
                                COURT STAFF) (Filed on 1/18/2011) (Entered: 01/19/2011)
            02/01/2011      77 First MOTION to Compel Google's Responses To Interrogatory Nos. 4-16 filed by Oracle America,
                               Inc.. (Attachments: # 1 Exhibit A - Google responses to first interrogatories)(Peters, Marc) (Filed on
                               2/1/2011) (Entered: 02/01/2011)
            02/02/2011      78 ORDER SETTING HEARING ON PLAINTIFF'S DISCOVERY DISPUTE re 77 First MOTION to
                               Compel Google's Responses To Interrogatory Nos. 4-16 : Motion Hearing set for 2/9/2011 11:00 AM
                               in Courtroom 9, 19th Floor, San Francisco before Hon. William Alsup. Signed by Judge Alsup on
                               February 2, 2011. (whalc1, COURT STAFF) (Filed on 2/2/2011) Modified on 2/3/2011 (wsn, COURT
                               STAFF). (Entered: 02/02/2011)
            02/02/2011      79 MOTION to Compel Regarding Oracle's Patent Local Rule 3-1 Disclosures filed by Google Inc..
                               (Attachments: # 1 Exhibit)(Sabnis, Cheryl) (Filed on 2/2/2011) (Entered: 02/02/2011)
            02/03/2011      80 ORDER Setting Hearing on Motion 79 MOTION to Compel Regarding Oracle's Patent Local Rule 3-1
                               Disclosures, 77 First MOTION to Compel Google's Responses To Interrogatory Nos. 4-16 : Motion
                               Hearing set for 2/9/2011 11:00 AM in Courtroom 9, 19th Floor, San Francisco before Hon. William H.
                               Alsup.. Signed by Judge Alsup on February 3, 2011. (whalc1, COURT STAFF) (Filed on 2/3/2011)
                               (Entered: 02/03/2011)
            02/04/2011      81 Letter from Counsel for Google Inc. in Response to Oracle's Motion to Compel Google's Responses To
                               Interrogatory Nos. 4-16. (Zimmer, Donald) (Filed on 2/4/2011) (Entered: 02/04/2011)
            02/07/2011      82 Memorandum in Opposition re 79 MOTION to Compel Regarding Oracle's Patent Local Rule 3-1
                               Disclosures filed byOracle America, Inc.. (Peters, Marc) (Filed on 2/7/2011) (Entered: 02/07/2011)
            02/08/2011      83 NOTICE of Appearance by Cheryl A. Sabnis of Counsel of Renny F. Hwang (Sabnis, Cheryl) (Filed on
                               2/8/2011) (Entered: 02/08/2011)
            02/08/2011          (Court only) ***Attorney Renny F Hwang for Google Inc. added. (wsn, COURT STAFF) (Filed on
                                2/8/2011) (Entered: 02/09/2011)
            02/09/2011      84 Minute Entry: Discovery Hearing held on 2/9/2011 before William Alsup (Date Filed: 2/9/2011).
                               (Court Reporter Kathy Wyatt.) (dt, COURT STAFF) (Date Filed: 2/9/2011) (Entered: 02/09/2011)
            02/09/2011          (Court only) ***Motions terminated: 77 First MOTION to Compel Google's Responses To
                                Interrogatory Nos. 4-16 filed by Oracle America, Inc., 79 MOTION to Compel Regarding Oracle's
                                Patent Local Rule 3-1 Disclosures filed by Google Inc.. (whalc1, COURT STAFF) (Filed on 2/9/2011)
                                (Entered: 02/09/2011)




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            02/09/2011      85 ORDER REGARDING DISCOVERY AND DISCLOSURE DISPUTES re 77 First MOTION to
                               Compel Google's Responses To Interrogatory Nos. 4-16 filed by Oracle America, Inc., 79 MOTION to
                               Compel Regarding Oracle's Patent Local Rule 3-1 Disclosures filed by Google Inc.. Signed by Judge
                               Alsup on February 9, 2011. (whalc1, COURT STAFF) (Filed on 2/9/2011) (Entered: 02/09/2011)
            02/09/2011      86 ORDER REGARDING MOTION PRACTICE. Signed by Judge Alsup on February 9, 2011. (whalc1,
                               COURT STAFF) (Filed on 2/9/2011) Modified on 2/11/2011 (wsn, COURT STAFF). (Entered:
                               02/09/2011)
            02/10/2011      87 Transcript of Proceedings held on 2-9-11, before Judge William Alsup. Court Reporter/Transcriber
                               Katherine Wyatt, Telephone number 925-212-5224. Per General Order No. 59 and Judicial Conference
                               policy, this transcript may be viewed only at the Clerks Office public terminal or may be purchased
                               through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                               Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request
                               Redaction, if required, is due no later than 5 business days from date of this filing. Release of
                               Transcript Restriction set for 5/11/2011. (kpw, COURT STAFF) (Filed on 2/10/2011) (Entered:
                               02/10/2011)
            02/16/2011      88 MOTION for Leave to File Motion for Summary Judgment filed by Google Inc.. (Baber, Bruce) (Filed
                               on 2/16/2011) (Entered: 02/16/2011)
            02/18/2011      89 RESPONSE (re 88 MOTION for Leave to File Motion for Summary Judgment ) filed byOracle
                               America, Inc.. (Jacobs, Michael) (Filed on 2/18/2011) (Entered: 02/18/2011)
            02/18/2011      90 ORDER DENYING LEAVE TO FILE SUMMARY JUDGMENT MOTION by Judge Alsup denying
                               88 Motion for Leave to File (whalc1, COURT STAFF) (Filed on 2/18/2011) (Entered: 02/18/2011)
            02/22/2011      91 CLAIM CONSTRUCTION STATEMENT filed by Google Inc., Oracle America, Inc.. (Peters, Marc)
                               (Filed on 2/22/2011) (Entered: 02/22/2011)
            03/08/2011      92 NOTICE of Appearance by Daniel Pierre Muino (Muino, Daniel) (Filed on 3/8/2011) (Entered:
                               03/08/2011)
            03/08/2011      93 NOTICE of Appearance by Ruchika Agrawal (Agrawal, Ruchika) (Filed on 3/8/2011) (Entered:
                               03/08/2011)
            03/17/2011      94 CLAIM CONSTRUCTION STATEMENT - Oracle's Opening Claim Construction Brief - filed by
                               Oracle America, Inc.. (Jacobs, Michael) (Filed on 3/17/2011) (Entered: 03/17/2011)
            03/17/2011      95 Declaration of Marc David Peters in Support of 94 Claim Construction Statement (Oracle's Opening
                               Claim Construction Brief) filed byOracle America, Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                               Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8)(Related document(s)
                               94 ) (Peters, Marc) (Filed on 3/17/2011) (Entered: 03/17/2011)
            03/17/2011      96 CLAIM CONSTRUCTION STATEMENT Google Inc. Opening Claim Construction Brief filed by
                               Google Inc.. (Baber, Bruce) (Filed on 3/17/2011) (Entered: 03/17/2011)
            03/17/2011      97 Declaration of Truman Fenton in Support of Google Inc. 97 Opening Claim Construction Brief, filed
                               by Google Inc. (Baber, Bruce) (Filed on 3/17/2011) Modified on 3/18/2011 (wsn, COURT STAFF).
                               (Entered: 03/17/2011)
            03/30/2011      98 Letter from Michael A. Jacobs regarding Google's failure to supplement its responses to
                               Interrogatories 4-16. (Jacobs, Michael) (Filed on 3/30/2011) (Entered: 03/30/2011)
            03/30/2011      99 ORDER SETTING HEARING ON PLAINTIFF'S DISCOVERY DISPUTE [re 98 Letter filed by
                               Oracle America, Inc.]. Meet-and-confer set starting at 10:00 AM and ending at 1:30 PM on 4/6/2011 in
                               Court's jury room. Defendant's response due noon on 4/4/2011. Discovery Hearing set for 4/6/2011
                               01:30 PM in Courtroom 9, 19th Floor, San Francisco before Hon. William Alsup. Signed by Judge
                               William Alsup on 3/30/2011. (whasec, COURT STAFF) (Filed on 3/30/2011) (Entered: 03/30/2011)
            03/31/2011     100 CLAIM CONSTRUCTION STATEMENT - Oracle's Responsive Claim Construction Brief filed by
                               Oracle America, Inc.. (Jacobs, Michael) (Filed on 3/31/2011) (Entered: 03/31/2011)
            03/31/2011     101 Declaration of Marc David Peters in Support of 100 Claim Construction Statement (Oracle's
                               Responsive Claim Construction Brief) filed byOracle America, Inc.. (Attachments: # 1 Exhibit 9, # 2
                               Exhibit 10, # 3 Exhibit 11 - manual filing notice)(Related document(s) 100 ) (Peters, Marc) (Filed on



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                                 3/31/2011) (Entered: 03/31/2011)
            03/31/2011     102 CLAIM CONSTRUCTION STATEMENT Google's Responsive Claim Construction Brief filed by
                               Google Inc.. (Baber, Bruce) (Filed on 3/31/2011) (Entered: 03/31/2011)
            03/31/2011     103 Declaration of Truman Fenton in Support of 102 Claim Construction Statement Google's Responsive
                               Claim Construction Brief filed byGoogle Inc.. (Related document(s) 102 ) (Baber, Bruce) (Filed on
                               3/31/2011) (Entered: 03/31/2011)
            04/04/2011     104 Letter Brief in Response to 98 Oracle's Second Motion to Compel filed by Google Inc. (Zimmer,
                               Donald) (Filed on 4/4/2011) Modified on 4/5/2011 (wsn, COURT STAFF). (Entered: 04/04/2011)
            04/04/2011     105 MOTION Request to Bring Equipment into Courtroom for April 6, 2011 Claim Construction Tutorial
                               and proposed order filed by Oracle America, Inc.. (Peters, Marc) (Filed on 4/4/2011) (Entered:
                               04/04/2011)
            04/05/2011     106 ORDER RE DEFENDANT'S APRIL 4, 2011, LETTER [re 104 Letter Brief filed by Google Inc.].
                               Signed by Judge William Alsup on 4/5/2011. (whasec, COURT STAFF) (Filed on 4/5/2011) (Entered:
                               04/05/2011)
            04/05/2011     107 MOTION Supplemental Request and [Proposed] Order Regarding Courtroom Equipment For April 6,
                               2011 Tutorial re 105 MOTION Request to Bring Equipment into Courtroom for April 6, 2011 Claim
                               Construction Tutorial and proposed order filed by Oracle America, Inc.. Motion Hearing set for
                               4/6/2011 01:30 PM in Courtroom 9, 19th Floor, San Francisco before Hon. William Alsup. (Ballinger,
                               Richard) (Filed on 4/5/2011) (Entered: 04/05/2011)
            04/05/2011     108 ORDER REGARDING COURTROOM EQUIPMENT FOR APRIL 6 TUTORIAL by Judge Alsup
                               finding as moot 105 Motion EquipmentEquipment; granting 107 Motion EquipmentEquipment
                               (whalc1, COURT STAFF) (Filed on 4/5/2011) (Entered: 04/05/2011)
            04/06/2011     109 Minute Entry: Discovery Hearing held on 4/6/2011 before William Alsup (Date Filed: 4/6/2011),
                               Tutorial Hearing held on 4/6/2011 before William Alsup (Date Filed: 4/6/2011). (Court Reporter Lydia
                               Zinn.) (dt, COURT STAFF) (Date Filed: 4/6/2011) (Entered: 04/06/2011)
            04/08/2011     110 Transcript of Proceedings held on 04/06/2011, before Judge William H. Alsup. Court
                               Reporter/Transcriber Lydia Zinn, Telephone number (415) 531-6587. Per General Order No. 59 and
                               Judicial Conference policy, this transcript may be viewed only at the Clerks Office public terminal or
                               may be purchased through the Court Reporter/Transcriber until the deadline for the Release of
                               Transcript Restriction.After that date it may be obtained through PACER. Any Notice of Intent to
                               Request Redaction, if required, is due no later than 5 business days from date of this filing. Release of
                               Transcript Restriction set for 7/7/2011. (Zinn, Lydia) (Filed on 4/8/2011) (Entered: 04/08/2011)
            04/08/2011      111 NOTICE of Appearance by Valerie Wing Ho (Ho, Valerie) (Filed on 4/8/2011) (Entered: 04/08/2011)
            04/11/2011     112 NOTICE of Appearance by Roman A Swoopes (Swoopes, Roman) (Filed on 4/11/2011) (Entered:
                               04/11/2011)
            04/14/2011     113 NOTICE REGARDING CLAIM CONSTRUCTION HEARING. Signed by Judge Alsup on April 14,
                               2011. (whalc1, COURT STAFF) (Filed on 4/14/2011) (Entered: 04/14/2011)
            04/15/2011     114 MOTION for leave to appear in Pro Hac Vice - Brian C. Banner ( Filing fee $ 275, receipt number
                               34611058729), filed by Google Inc. (Attachments: # 1 Proposed Order)(wsn, COURT STAFF) (Filed
                               on 4/15/2011) (Entered: 04/15/2011)
            04/18/2011     115 ORDER GRANTING APPLICATION FOR ADMISSION OF ATTORNEY BANNER PRO HAC
                               VICE by Judge Alsup granting 114 Motion for Pro Hac Vice (whalc1, COURT STAFF) (Filed on
                               4/18/2011) (Entered: 04/18/2011)
            04/18/2011           (Court only) *** Attorney Brian C. Banner for Google Inc. added. (wsn, COURT STAFF) (Filed on
                                 4/18/2011) (Entered: 04/18/2011)
            04/18/2011     116 MOTION Request and Proposed Order Regarding Courtroom Equipment for April 20th Claim
                               Construction Hearing filed by Oracle America, Inc.. (Swoopes, Roman) (Filed on 4/18/2011) (Entered:
                               04/18/2011)
            04/19/2011     117 ORDER GRANTING REQUEST TO BRING EQUIPMENT INTO COURTROOM by Judge Alsup
                               granting 116 Motion Equipment (whalc1, COURT STAFF) (Filed on 4/19/2011) (Entered: 04/19/2011)



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            04/20/2011     118 Minute Entry: Claims Construction / Markman Hearing held on 4/20/2011 before William Alsup (Date
                               Filed: 4/20/2011). (Court Reporter Lydia Zinn.) (dt, COURT STAFF) (Date Filed: 4/20/2011) (Entered:
                               04/20/2011)
            04/20/2011     119 MOTION for leave to appear in Pro Hac Vice - Alanna Rutherford ( Filing fee $ 275, receipt number
                               34611058881) filed by Oracle America, Inc. (Attachments: # 1 Proposed Order)(wsn, COURT STAFF)
                               (Filed on 4/20/2011) (Entered: 04/20/2011)
            04/21/2011     120 ORDER GRANTING APPLICATION FOR ADMISSION OF ATTORNEY RUTHERFORD PRO
                               HAC VICE by Judge Alsup granting 119 Motion for Pro Hac Vice (whalc1, COURT STAFF) (Filed on
                               4/21/2011) (Entered: 04/21/2011)
            04/21/2011           (Court only) *** Attorney Alanna Rutherford for Oracle America, Inc. added. (wsn, COURT STAFF)
                                 (Filed on 4/21/2011) (Entered: 04/21/2011)
            04/25/2011     121 Transcript of Proceedings held on 04/20/2011, before Judge William H. Alsup. Court
                               Reporter/Transcriber Lydia Zinn, Telephone number (415) 531-6587. Per General Order No. 59 and
                               Judicial Conference policy, this transcript may be viewed only at the Clerks Office public terminal or
                               may be purchased through the Court Reporter/Transcriber until the deadline for the Release of
                               Transcript Restriction.After that date it may be obtained through PACER. Any Notice of Intent to
                               Request Redaction, if required, is due no later than 5 business days from date of this filing. Release of
                               Transcript Restriction set for 7/25/2011. (Zinn, Lydia) (Filed on 4/25/2011) (Entered: 04/25/2011)
            04/25/2011     122 NOTICE of Change In Counsel by Richard Steven Ballinger (Ballinger, Richard) (Filed on 4/25/2011)
                               (Entered: 04/25/2011)
            04/25/2011     123 Letter from Marc David Peters (counsel for Oracle America) regarding construction of "reduced class
                               file". (Peters, Marc) (Filed on 4/25/2011) (Entered: 04/25/2011)
            04/25/2011     124 ORDER REQUESTING MEMORANDA. Signed by Judge Alsup on April 25, 2011. (whalc1, COURT
                               STAFF) (Filed on 4/25/2011) (Entered: 04/25/2011)
            04/26/2011     125 MOTION to Withdraw as Attorney Motion to Relieve Richard S. Ballinger as Counsel of Record for
                               Oracle America, Inc. Pursuant to L.R. 11-5 filed by Oracle America, Inc.. (Attachments: # 1 Proposed
                               Order)(Ballinger, Richard) (Filed on 4/26/2011) (Entered: 04/26/2011)
            04/26/2011     126 ORDER GRANTING MOTION FOR WITHDRAWAL OF ATTORNEY BALLINGER by Judge
                               Alsup granting 125 Motion to Withdraw as Attorney. Attorney Richard Steven Ballinger terminated
                               (whalc1, COURT STAFF) (Filed on 4/26/2011) (Entered: 04/26/2011)
            04/27/2011     127 *** FILED IN ERROR. PLEASE DISREGARD. ***
                               TENTATIVE CLAIM-CONSTRUCTION ORDER AND REQUEST FOR CRITIQUE. Signed by
                               Judge Alsup on April 27, 2011. (whalc1, COURT STAFF) (Filed on 4/27/2011) Modified on 4/28/2011
                               (whalc1, COURT STAFF). (Entered: 04/27/2011)
            04/28/2011     128 TENTATIVE CLAIM-CONSTRUCTION ORDER AND REQUEST FOR CRITIQUE re-filed with
                               signature re 127 Order. Signed by Judge Alsup on April 27, 2011. (whalc1, COURT STAFF) (Filed on
                               4/28/2011) (Entered: 04/28/2011)
            04/29/2011     129 RESPONSE to re 124 Order Oracle's memorandum describing its plan for streamlining the case for
                               trial by Oracle America, Inc.. (Jacobs, Michael) (Filed on 4/29/2011) (Entered: 04/29/2011)
            04/29/2011     130 Brief SETTING FORTH PLAN TO REDUCE CLAIMS TO A TRIABLE NUMBER filed byGoogle Inc..
                               (Sabnis, Cheryl) (Filed on 4/29/2011) (Entered: 04/29/2011)
            05/03/2011     131 ORDER RE SCHEDULE FOR NARROWING ISSUES FOR TRIAL. Signed by Judge Alsup on May
                               3, 2011. (whalc1, COURT STAFF) (Filed on 5/3/2011) (Entered: 05/03/2011)
            05/06/2011     132 RESPONSE to re 128 Order Oracle's response to Court's Tentative Claim Construction Order and
                               Request for Critique by Oracle America, Inc.. (Peters, Marc) (Filed on 5/6/2011) (Entered: 05/06/2011)
            05/06/2011     133 RESPONSE to re 131 Order Re Schedule for Narrowing Issues for Trial by Oracle America, Inc..
                               (Jacobs, Michael) (Filed on 5/6/2011) (Entered: 05/06/2011)
            05/06/2011     134 Statement in Response to the Court's 131 Order Re Schedule For Narrowing Issues For Trial by
                               Google Inc. (Sabnis, Cheryl) (Filed on 5/6/2011) Modified on 5/9/2011 (wsn, COURT STAFF).
                               (Entered: 05/06/2011)



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            05/06/2011     135 Statement on the 128 Court's Tentative Claim Construction Order by Google Inc.. (Sabnis, Cheryl)
                               (Filed on 5/6/2011) Modified on 5/9/2011 (wsn, COURT STAFF). (Entered: 05/06/2011)
            05/09/2011     136 NOTICE OF CASE MANAGEMENT CONFERENCE. Signed by Judge Alsup on May 9, 2011.
                               (whalc1, COURT STAFF) (Filed on 5/9/2011) (Entered: 05/09/2011)
            05/09/2011     137 CLAIM CONSTRUCTION ORDER. Signed by Judge Alsup on May 9, 2011. (whalc1, COURT
                               STAFF) (Filed on 5/9/2011) (Entered: 05/09/2011)
            05/09/2011     138 Letter from Plaintiff Oracle America, Inc. Regarding Discovery Master. (Jacobs, Michael) (Filed on
                               5/9/2011) (Entered: 05/09/2011)
            05/09/2011     139 ORDER REFERRING ALL DISCOVERY DISPUTES FOR ASSIGNMENT TO A MAGISTRATE
                               JUDGE re 138 Letter filed by Oracle America, Inc., ORDER REFERRING CASE to Magistrate Judge
                               for Discovery purposes. Signed by Judge Alsup on May 9, 2011. (whalc1, COURT STAFF) (Filed on
                               5/9/2011) (Entered: 05/09/2011)
            05/10/2011          (Court only) CASE REFERRED to Magistrate Judge Donna M. Ryu for Discovery, ***Set/Clear Flags
                                (lmh, COURT STAFF) (Filed on 5/10/2011) (Entered: 05/10/2011)
            05/10/2011     140 NOTICE RE MAY 11 CASE MANAGEMENT CONFERENCE re 136 Order. Signed by Judge Alsup
                               on May 10, 2011. (whalc1, COURT STAFF) (Filed on 5/10/2011) (Entered: 05/10/2011)
            05/10/2011     141 Notice of Reference and Order re Discovery Procedures. Signed by Magistrate Judge Donna M. Ryu on
                               05/10/2011. (dmrlc1, COURT STAFF) (Filed on 5/10/2011) (Entered: 05/10/2011)
            05/11/2011     142 Minute Entry: Case Management Conference held on 5/11/2011 before William Alsup (Date Filed:
                               5/11/2011). Hearing held in chambers per dkt. 136 . (Court Reporter None.) (dt, COURT STAFF) (Date
                               Filed: 5/11/2011) Modified on 5/12/2011 (wsn, COURT STAFF). (Entered: 05/11/2011)
            05/11/2011          (Court only) Set/Reset Hearings:, ***Deadlines terminated. (dt, COURT STAFF) (Filed on 5/11/2011)
                                (Entered: 05/11/2011)
            05/11/2011     143 NOTICE RE TENTATIVE PLAN. Signed by Judge Alsup on May 11, 2011. (whalc1, COURT STAFF)
                               (Filed on 5/11/2011) (Entered: 05/11/2011)
            05/18/2011     144 RESPONSE to re 143 Order Joint Memorandum Regarding the Court's Tentative Case Plan by Oracle
                               America, Inc.. (Jacobs, Michael) (Filed on 5/18/2011) (Entered: 05/18/2011)
            05/18/2011     145 Letter Oracle's Request to Seek Permission to Provide Designated In-House Counsel With Access to
                               AEO Information. (Jacobs, Michael) (Filed on 5/18/2011) (Entered: 05/18/2011)
            05/20/2011     146 ORDER SCHEDULING HEARING ON COMPETITIVE DECISION MAKERS. Signed by Judge
                               Donna M. Ryu on 5/20/11. (dmrlc2, COURT STAFF) (Filed on 5/20/2011) (Entered: 05/20/2011)
            05/20/2011          (Court only) Set/Reset Hearings: Discovery Hearing set for 5/31/2011 before Magistrate Judge Donna
                                M. Ryu. (dmrlc2, COURT STAFF) (Filed on 5/20/2011) (Entered: 05/20/2011)
            05/23/2011     147 COURT'S RESPONSE TO JOINT CASE MANAGEMENT MEMORANDUM [re 144 Response (Non
                               Motion) filed by Oracle America, Inc.]. Signed by Judge William Alsup on 5/23/2011. (whasec,
                               COURT STAFF) (Filed on 5/23/2011) (Entered: 05/23/2011)
            05/24/2011     148 NOTICE of Appearance by Robert Addy Van Nest , Christa M. Anderson, Michael S. Kwun, Daniel
                               Purcell, Eugene M. Paige, and Matthias A. Kamber (Van Nest, Robert) (Filed on 5/24/2011) (Entered:
                               05/24/2011)
            05/24/2011          (Court only) *** Attorneys Christa M. Anderson, Michael Soonuk Kwun, Daniel Edward Purcell,
                                Eugene Morris Paige, Matthias Andreas Kamber for Google Inc. added. (wsn, COURT STAFF) (Filed
                                on 5/24/2011) (Entered: 05/25/2011)
            05/26/2011     149 Declaration of Dorian Daley in Support of 145 Letter, 146 Order setting hearing on Oracle's Request
                               for Access to Attorneys' Eyes Only Information filed byOracle America, Inc.. (Attachments: # 1 Exhibit
                               C - Special Master Report)(Related document(s) 145 , 146 ) (Muino, Daniel) (Filed on 5/26/2011)
                               (Entered: 05/26/2011)
            05/26/2011     150 Administrative Motion to File Under Seal Exhibits A, B and D to Declaration of Dorian Daley 149
                               filed by Oracle America, Inc.. Motion Hearing set for 5/31/2011 11:30 AM in Courtroom 4, 3rd Floor,




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                                Oakland before Magistrate Judge Donna M. Ryu. (Attachments: # 1 Affidavit Declaration of Daniel
                                Muino, # 2 Proposed Order)(Muino, Daniel) (Filed on 5/26/2011) Modified on 6/1/2011 (ig, COURT
                                STAFF). (Entered: 05/26/2011)
            05/26/2011     151 CERTIFICATE OF SERVICE by Oracle America, Inc. re 150 Administrative Motion to File Under
                               Seal Exhibits A, B and D to Declaration of Dorian Daley 149 Administrative Motion to File Under
                               Seal Exhibits A, B and D to Declaration of Dorian Daley 149 (Muino, Daniel) (Filed on 5/26/2011)
                               (Entered: 05/26/2011)
            05/26/2011     152 Declaration of Deborah K. Miller in Support of 145 Letter, 146 Order setting hearing on Oracle's
                               Request for Access to Attorneys' Eyes Only Information filed byOracle America, Inc.. (Related
                               document(s) 145 , 146 ) (Muino, Daniel) (Filed on 5/26/2011) (Entered: 05/26/2011)
            05/26/2011     153 Declaration of Matthew Sarboraria in Support of 145 Letter, 146 Order setting hearing on Oracle's
                               Request for Access to Attorneys' Eyes Only Information filed byOracle America, Inc.. (Related
                               document(s) 145 , 146 ) (Muino, Daniel) (Filed on 5/26/2011) (Entered: 05/26/2011)
            05/26/2011     154 Declaration of Andrew C. Temkin in Support of 145 Letter, 146 Order scheduling hearing on Oracle's
                               Request for Access to Attorneys' Eyes Only Information filed byOracle America, Inc.. (Related
                               document(s) 145 , 146 ) (Muino, Daniel) (Filed on 5/26/2011) (Entered: 05/26/2011)
            05/31/2011     155 Minute Entry: Discovery Hearing HELD on 5/31/2011 before Magistrate Judge Donna M. Ryu.
                               Plaintiff's Administrative Motion to file Under Seal Exhibits A, b, & D to Declaration of Dorian Daley
                               GRANTED. Plaintiff's request to grant the following Designated House Counsel access to attorneys'
                               eyes only ("AEO") information pursuant to the Protective Order: A. Dorian Daley - DENIED; B.
                               Deborah Kay Miller - GRANTED ACCESS TO AEO INFORMATION, BUT NO ACCESS TO
                               CONTRACTS WITH CARRIERS OR HARDWARE MANUFACTURERS; C. Matthew Sarboraria -
                               GRANTED ACCESS TO AEO INFORMATION, BUT NO ACCESS TO CONTRACTS WITH
                               CARRIERS OR HARDWARE MANUFACTURERS; D. Andrew Temkin - FURTHER
                               INFORMATION REQUIRED. Please see minutes for more particulars. (Date Filed: 5/31/2011).
                               ***Motions terminated: 150 Administrative Motion to File Under Seal Exhibits A, B and D to
                               Declaration of Dorian Daley filed by Oracle America, Inc. (Court Reporter Raynee Mercado.) (ig,
                               COURT STAFF) (Date Filed: 5/31/2011) Modified on 6/1/2011 (ig, COURT STAFF). (Entered:
                               06/01/2011)
            05/31/2011     156 Please disregard dockety entry #156 and see docket entry #157 for corrected entry
                               ORDER GRANTING re 150 Plaintiff's Administrative Motion to File Under Seal Exhibits A, B and D
                               to Declaration of Dorian Daley . Signed by Magistrate Judge Donna M. Ryu on 5/31/11. (ig, COURT
                               STAFF) (Filed on 5/31/2011) Modified on 6/1/2011 (vlk, COURT STAFF). Modified on 6/1/2011 (ig,
                               COURT STAFF). (Entered: 06/01/2011)
            05/31/2011     157 ORDER by Judge Magistrate Judge Donna M. Ryu granting 150 Plaintiff's Administrative Motion to
                               File Under Seal Exhibits A, B, & D to Declaration of Dorian Daley. Signed by Magistrate Judge Donna
                               M. Ryu 5/31/2011. (ig, COURT STAFF) (Filed on 5/31/2011) (Entered: 06/01/2011)
            06/01/2011     158 DOCUMENT E-FILED UNDER SEAL re 157 Order on Administrative Motion to File Under Seal,
                               Exhibits A, B and D to Declaration of Dorian Daley In Support of Oracle's Request for Access to
                               Attorneys' Eyes Only Information by Oracle America, Inc.. (Muino, Daniel) (Filed on 6/1/2011)
                               (Entered: 06/01/2011)
            06/01/2011     159 Declaration of Andrew C. Temkin in Support of 145 Letter, 155 Terminate Motion and
                               Deadlines/Hearings,,,,, Discovery Hearing,,,,, Terminate Motions,,,, Supplemental Declaration of
                               Andrew C. Temkin In Support of 145 Oracle's Request for Access to Attorneys' Eyes Only Information
                               in response to 155 Minute Order requesting more information filed byOracle America, Inc.. (Related
                               document(s) 145 , 155 ) (Muino, Daniel) (Filed on 6/1/2011) (Entered: 06/01/2011)
            06/01/2011     160 STIPULATION and Proposed Order Regarding Briefing Schedule by Google Inc.. (Baber, Bruce)
                               (Filed on 6/1/2011) (Entered: 06/01/2011)
            06/02/2011     161 ORDER REGARDING PROPOSED DAUBERT BRIEFING SCHEDULE re 160 Stipulation filed by
                               Google Inc.. Signed by Judge Alsup on June 2, 2011. (whalc1, COURT STAFF) (Filed on 6/2/2011)
                               (Entered: 06/02/2011)




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CAND-ECF                                                               https://ecf.cand.circ9.dcn/cgi-bin/DktRpt.pl?767196345698506-L_1_0-1
                         Case: 17-1118         Document: 1-2            Page: 35        Filed: 10/28/2016

            06/03/2011     162 Letter Brief re 159 Declaration in Support, Response to Supplemental Declaration of Andrew Temkin
                               filed byGoogle Inc.. (Related document(s) 159 ) (Zimmer, Donald) (Filed on 6/3/2011) (Entered:
                               06/03/2011)
            06/06/2011     163 ORDER re 145 Letter filed by Oracle America, Inc. Signed by Magistrate Judge Donna M. Ryu on
                               6/6/2011. (dmrlc2, COURT STAFF) (Filed on 6/6/2011) (Entered: 06/06/2011)
            06/06/2011     164 Administrative Motion to File Under Seal filed by Google Inc.. (Attachments: # 1 Affidavit, # 2
                               Proposed Order)(Sabnis, Cheryl) (Filed on 6/6/2011) (Entered: 06/06/2011)
            06/06/2011     165 Letter from Google re precis requesting leave to file a Daubert or Other Motion. (Sabnis, Cheryl)
                               (Filed on 6/6/2011) Modified on 6/8/2011 (wsn, COURT STAFF). (Entered: 06/06/2011)
            06/07/2011     166 ORDER GRANTING LEAVE TO FILE DAUBERT MOTION re 160 Stipulation filed by Google Inc.,
                               165 Letter filed by Google Inc.. Signed by Judge Alsup on June 7, 2011. (whalc1, COURT STAFF)
                               (Filed on 6/7/2011) (Entered: 06/07/2011)
            06/10/2011     167 STIPULATION re 67 Response ( Non Motion ), 26 SUPPLEMENTAL ORDER TO ORDER
                               SETTING INITIAL CASE MANAGEMENT CONFERENCE, 141 Order Stipulation and [Proposed]
                               Order Regarding Privilege Logs by Oracle America, Inc.. (Muino, Daniel) (Filed on 6/10/2011)
                               (Entered: 06/10/2011)
            06/13/2011     168 ORDER re: Discovery Procedures. Signed by Magistrate Judge Donna M. Ryu on 6/13/2011. (dmrlc2,
                               COURT STAFF) (Filed on 6/13/2011) (Entered: 06/13/2011)
            06/14/2011     169 ORDER RE MOTION TO FILE UNDER SEAL re 164 Administrative Motion to File Under Seal filed
                               by Google Inc.. Signed by Judge Alsup on June 14, 2011. (whalc1, COURT STAFF) (Filed on
                               6/14/2011) (Entered: 06/14/2011)
            06/14/2011     170 Administrative Motion to File Under Seal filed by Google Inc.. (Attachments: # 1 Affidavit, # 2
                               Proposed Order)(Sabnis, Cheryl) (Filed on 6/14/2011) Modified on 6/27/2011 (whalc1, COURT
                               STAFF). (Entered: 06/14/2011)
            06/14/2011     171 MOTION To Exclude Expert Opinions and Testimony (Daubert) filed by Google Inc.. Motion Hearing
                               set for 7/21/2011 09:00 AM before Hon. William Alsup. Responses due by 6/28/2011. Replies due by
                               7/5/2011. (Sabnis, Cheryl) (Filed on 6/14/2011) (Entered: 06/14/2011)
            06/14/2011     172 Declaration of Scott Weingaertner in Support of 171 MOTION To Exclude Expert Opinions and
                               Testimony (Daubert) filed byGoogle Inc.. (Attachments: # 1 Affidavit, # 2 Affidavit, # 3 Affidavit, # 4
                               Affidavit)(Related document(s) 171 ) (Sabnis, Cheryl) (Filed on 6/14/2011) (Entered: 06/14/2011)
            06/14/2011     173 *** THIS ENTRY REMOVED BY ORDER OF THE COURT. SEE DOCKET # 177 . ***

                                 Modified on 6/16/2011 (wsn, COURT STAFF). (Entered: 06/14/2011)
            06/14/2011     174 Proposed Order re 171 MOTION To Exclude Expert Opinions and Testimony (Daubert) by Google
                               Inc.. (Sabnis, Cheryl) (Filed on 6/14/2011) (Entered: 06/14/2011)
            06/14/2011     175 Declaration of Gregory K. Leonard in Support of 171 MOTION To Exclude Expert Opinions and
                               Testimony (Daubert) CORRECTION OF DOCKET #173 filed byGoogle Inc.. (Related document(s)
                               171 ) (Sabnis, Cheryl) (Filed on 6/14/2011) (Entered: 06/14/2011)
            06/15/2011     176 MOTION to Remove Incorrectly Filed Document DOCKET NUMBER 173 filed by Google Inc..
                               (Attachments: # 1 Proposed Order)(Sabnis, Cheryl) (Filed on 6/15/2011) (Entered: 06/15/2011)
            06/15/2011     177 ORDER GRANTING REQUEST TO LOCK ERRONEOUSLY FILED DOCUMENT
                               PERMANENTLY, Order by Hon. William Alsup granting 176 Motion to Remove Incorrectly Filed
                               Document.(whalc1, COURT STAFF) (Filed on 6/15/2011) (Entered: 06/15/2011)
            06/16/2011     178 RESPONSE (re 164 Administrative Motion to File Under Seal ) filed byOracle America, Inc..
                               (Holtzman, Steven) (Filed on 6/16/2011) (Entered: 06/16/2011)
            06/16/2011     179 ORDER DENYING MOTION TO FILE PRECIS UNDER SEAL, Order by Hon. William Alsup
                               denying 164 Administrative Motion to File Under Seal.(whalc1, COURT STAFF) (Filed on 6/16/2011)
                               (Entered: 06/16/2011)




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            06/17/2011     180 CLERK'S NOTICE Retrieval of Submitted Documents. In accordance with Civil L.R. 79-5(e), the
                               submitting party is hereby notified to retrieve lodged documents within three days of this notice:
                               Portions of Googles prcis requesting leave to file a Daubert or other motion directed at the damages
                               report of Oracle America, Inc.s expert Iain Cockburn under seal pursuant to Civil L. R. 79-5. (wsn,
                               COURT STAFF) (Filed on 6/17/2011) (Entered: 06/17/2011)
            06/17/2011     181 Letter from Scott T. Weingaertner, Counsel for Defendant Google Inc.. (Sabnis, Cheryl) (Filed on
                               6/17/2011) (Entered: 06/17/2011)
            06/17/2011     182 Letter from Google counsel Scott T. Weingaertner dated June 6, 2011 requesting leave to file Daubert
                               or other motion (unredacted), filed pursuant to Order Denying Motion To File Precis Under Seal
                               entered June 16, 2011. (Baber, Bruce) (Filed on 6/17/2011) (Entered: 06/17/2011)
            06/21/2011     183 Letter in Opposition to Google's Request for Leave to File a Motion to Supplement Its Invalidity
                               Contentions. (Jacobs, Michael) (Filed on 6/21/2011) (Entered: 06/21/2011)
            06/21/2011     184 Declaration of MATTHEW SARBORARIA in Support of 170 Administrative Motion to File Under
                               Seal filed byOracle America, Inc.. (Related document(s) 170 ) (Holtzman, Steven) (Filed on 6/21/2011)
                               (Entered: 06/21/2011)
            06/21/2011     185 ORDER GRANTING LEAVE TO FILE MOTION re 181 Letter filed by Google Inc.. Signed by Judge
                               Alsup on June 21, 2011. (whalc1, COURT STAFF) (Filed on 6/21/2011) (Entered: 06/21/2011)
            06/21/2011     186 ORDER PARTIALLY GRANTING MOTION TO FILE DOCUMENTS UNDER SEAL, Order by
                               Hon. William Alsup granting in part and denying in part 170 Administrative Motion to File Under
                               Seal.(whalc1, COURT STAFF) (Filed on 6/21/2011) (Entered: 06/21/2011)
            06/24/2011     187 Declaration of Scott T. Weingaertner (Supplemental) in Support of Google, Inc.'s 170 Administrative
                               Motion to File Under Seal filed by Google Inc.. (Sabnis, Cheryl) (Filed on 6/24/2011) Modified on
                               6/27/2011 (wsn, COURT STAFF). (Entered: 06/24/2011)
            06/24/2011     188 Brief re 171 MOTION To Exclude Expert Opinions and Testimony (Daubert) (Revised Redactions)
                               filed byGoogle Inc.. (Related document(s) 171 ) (Sabnis, Cheryl) (Filed on 6/24/2011) (Entered:
                               06/24/2011)
            06/24/2011     189 Declaration of Gregory K. Leonard, Ph.D. in Support of 171 MOTION To Exclude Expert Opinions
                               and Testimony (Daubert) (Revised Redactions) filed byGoogle Inc.. (Related document(s) 171 )
                               (Sabnis, Cheryl) (Filed on 6/24/2011) (Entered: 06/24/2011)
            06/27/2011     190 ORDER GRANTING MOTION TO FILE DOCUMENTS UNDER SEAL, Order by Hon. William
                               Alsup granting 170 Administrative Motion to File Under Seal.(whalc1, COURT STAFF) (Filed on
                               6/27/2011) (Entered: 06/27/2011)
            06/28/2011     191 RESPONSE (re 171 MOTION To Exclude Expert Opinions and Testimony (Daubert) ) filed byOracle
                               America, Inc.. (Attachments: # 1 Affidavit, # 2 Exhibit)(Rutherford, Alanna) (Filed on 6/28/2011)
                               (Entered: 06/28/2011)
            06/28/2011     192 Administrative Motion to File Under Seal PORTIONS OF OPPOSITION TO GOOGLES DAUBERT
                               MOTION AND EXHIBITS filed by Oracle America, Inc.. (Attachments: # 1 Affidavit, # 2 Proposed
                               Order)(Rutherford, Alanna) (Filed on 6/28/2011) (Entered: 06/28/2011)
            06/29/2011     193 CLERKS NOTICE Rescheduling Hearing Time. Motion set for 7/21/2011 2:00 PM. (dt, COURT
                               STAFF) (Filed on 6/29/2011) (Entered: 06/29/2011)
            06/29/2011          Set/Reset Deadlines as to 171 MOTION To Exclude Expert Opinions and Testimony (Daubert).
                                Motion Hearing set for 7/21/2011 02:00 PM in Courtroom 9, 19th Floor, San Francisco before Hon.
                                William Alsup. (dt, COURT STAFF) (Filed on 6/29/2011) Modified on 6/29/2011 (wsn, COURT
                                STAFF). (Entered: 06/29/2011)
            07/01/2011     194 Administrative Motion to File Under Seal Joint Letter filed by Oracle America, Inc.. (Holtzman,
                               Steven) (Filed on 7/1/2011) (Entered: 07/01/2011)
            07/05/2011     195 ORDER REGARDING RULE 706 EXPERTS. Signed by Judge Alsup on July 5, 2011. (whalc1,
                               COURT STAFF) (Filed on 7/5/2011) (Entered: 07/05/2011)
            07/05/2011     196 Administrative Motion to File Under Seal filed by Google Inc.. (Purcell, Daniel) (Filed on 7/5/2011)
                               (Entered: 07/05/2011)



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                         Case: 17-1118         Document: 1-2           Page: 37        Filed: 10/28/2016

            07/05/2011     197 Declaration of Daniel Purcell in Support of 196 Administrative Motion to File Under Seal filed
                               byGoogle Inc.. (Related document(s) 196 ) (Purcell, Daniel) (Filed on 7/5/2011) (Entered: 07/05/2011)
            07/05/2011     198 REPLY (re 171 MOTION To Exclude Expert Opinions and Testimony (Daubert), 196 Administrative
                               Motion to File Under Seal ) Reply Brief in Support of Daubert Motion filed byGoogle Inc.. (Purcell,
                               Daniel) (Filed on 7/5/2011) (Entered: 07/05/2011)
            07/05/2011     199 Declaration of Daniel Purcell in Support of 198 Reply to Opposition/Response Daubert Motion filed
                               byGoogle Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Related
                               document(s) 198 ) (Purcell, Daniel) (Filed on 7/5/2011) (Entered: 07/05/2011)
            07/05/2011     200 Proposed Order re 196 Administrative Motion to File Under Seal by Google Inc.. (Purcell, Daniel)
                               (Filed on 7/5/2011) (Entered: 07/05/2011)
            07/05/2011     201 Declaration of Christopher Carnaval in Support of 192 Administrative Motion to File Under Seal
                               PORTIONS OF OPPOSITION TO GOOGLES DAUBERT MOTION AND EXHIBITS filed byGoogle
                               Inc.. (Related document(s) 192 ) (Purcell, Daniel) (Filed on 7/5/2011) (Entered: 07/05/2011)
            07/05/2011     202 Proposed Order re 192 Administrative Motion to File Under Seal PORTIONS OF OPPOSITION TO
                               GOOGLES DAUBERT MOTION AND EXHIBITS by Google Inc.. (Purcell, Daniel) (Filed on 7/5/2011)
                               (Entered: 07/05/2011)
            07/06/2011     203 ORDER GRANTING MOTION TO FILE DOCUMENTS UNDER SEAL, Order by Hon. William
                               Alsup granting 192 Administrative Motion to File Under Seal.(whalc1, COURT STAFF) (Filed on
                               7/6/2011) (Entered: 07/06/2011)
            07/06/2011     204 DOCUMENT E-FILED UNDER SEAL re 203 Order on Administrative Motion to File Under Seal
                               ORACLE AMERICA, INC.S OPPOSITION TO GOOGLES DAUBERT MOTION by Oracle America,
                               Inc.. (Rutherford, Alanna) (Filed on 7/6/2011) (Entered: 07/06/2011)
            07/06/2011     205 DOCUMENT E-FILED UNDER SEAL re 203 Order on Administrative Motion to File Under Seal
                               DECLARATION OF FRED NORTON IN SUPPORT OF ORACLE AMERICA, INC.S OPPOSITION
                               TO GOOGLES DAUBERT MOTION by Oracle America, Inc.. (Attachments: # 1 Exhibit Exhibits C,
                               D, K & M)(Rutherford, Alanna) (Filed on 7/6/2011) (Entered: 07/06/2011)
            07/06/2011     206 DOCUMENT E-FILED UNDER SEAL re 190 Order on Administrative Motion to File Under Seal
                               unredacted versions of Daubert motion and supporting Leonard Declaration by Google Inc..
                               (Attachments: # 1 Affidavit)(Sabnis, Cheryl) (Filed on 7/6/2011) (Entered: 07/06/2011)
            07/08/2011     207 NOTICE RE QUESTION FOR JULY 21 HEARING. Signed by Judge Alsup on July 8, 2011. (whalc1,
                               COURT STAFF) (Filed on 7/8/2011) (Entered: 07/08/2011)
            07/08/2011     208 MOTION for Leave to File Supplement Invalidity Contentions filed by Google Inc.. (Attachments: # 1
                               Affidavit Declaration of Mark Francis in support of Motion for Leave to Supplement Invalidity
                               Contentions, # 2 Proposed Order Proposed Order Granting Google Inc's Motion for Leave to
                               Supplement Invalidity Contentions)(Sabnis, Cheryl) (Filed on 7/8/2011) (Entered: 07/08/2011)
            07/11/2011     209 REQUEST FOR UPDATE RE RE-EXAMINATION. Signed by Judge Alsup on July 11, 2011.
                               (whalc1, COURT STAFF) (Filed on 7/11/2011) (Entered: 07/11/2011)
            07/12/2011     210 NOTICE REGARDING ADDITIONAL QUESTIONS FOR JULY 21 HEARING. Signed by Judge
                               Alsup on July 12, 2011. (whalc1, COURT STAFF) (Filed on 7/12/2011) (Entered: 07/12/2011)
            07/12/2011     211 Declaration in Support of 196 Administrative Motion to File Under Seal DECLARATION OF
                               MATTHEW SARBORARIA IN SUPPORT OF GOOGLE, INC.S ADMINISTRATIVE MOTION TO FILE
                               UNDER SEAL PORTIONS OF GOOGLES DAUBERT REPLY BRIEF filed byOracle America, Inc..
                               (Attachments: # 1 Proposed Order [PROPOSED] ORDER SEALING ORACLE AMERICA, INC.S
                               CONFIDENTIAL INFORMATION FROM GOOGLE, INC.S DAUBERT REPLY BRIEF)(Related
                               document(s) 196 ) (Holtzman, Steven) (Filed on 7/12/2011) (Entered: 07/12/2011)
            07/12/2011     212 ORDER PARTIALLY GRANTING MOTION TO FILE REPLY BRIEF UNDER SEAL, Order by
                               Hon. William Alsup granting in part and denying in part 196 Administrative Motion to File Under
                               Seal.(whalc1, COURT STAFF) (Filed on 7/12/2011) (Entered: 07/12/2011)
            07/13/2011     213 REPLY (re 171 MOTION To Exclude Expert Opinions and Testimony (Daubert) ) In Support of
                               Daubert Motion [Redacted Version] filed byGoogle Inc.. (Purcell, Daniel) (Filed on 7/13/2011)



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                                (Entered: 07/13/2011)
            07/13/2011     214 Amended MOTION for Leave to File Supplement Invalidity Contentions filed by Google Inc..
                               (Attachments: # 1 Affidavit Declaration of Mark Francis in support of Amended Motion for Leave to
                               Supplement Invalidity Contentions, # 2 Proposed Order Proposed Order Granting Google Inc's
                               Amended Motion for Leave to Supplement Invalidity Contentions)(Banner, Brian) (Filed on
                               7/13/2011) (Entered: 07/13/2011)
            07/14/2011     215 Letter from Steven C. Holtzman & Robert A. Van Nest Joint Letter Regarding Oracles Request for
                               Four Additional Depositions. (Holtzman, Steven) (Filed on 7/14/2011) (Entered: 07/14/2011)
            07/18/2011     216 NOTICE REGARDING JULY 21 HEARING. Signed by Judge Alsup on July 18, 2011. (whalc1,
                               COURT STAFF) (Filed on 7/18/2011) (Entered: 07/18/2011)
            07/19/2011     217 ORDER Setting Hearing on Motion on 215 . Motion Hearing set for 7/21/2011 11:30 AM via
                               telephone before Magistrate Judge Donna M. Ryu. Signed by Magistrate Judge Donna M. Ryu on
                               7/19/2011. (dmrlc2, COURT STAFF) (Filed on 7/19/2011) (Entered: 07/19/2011)
            07/19/2011     218 DOCUMENT E-FILED UNDER SEAL re 212 Order on Administrative Motion to File Under Seal
                               Portions of Daubert Reply Brief by Google Inc.. (Sabnis, Cheryl) (Filed on 7/19/2011) (Entered:
                               07/19/2011)
            07/19/2011          Set/Reset Deadlines as to 171 MOTION To Exclude Expert Opinions and Testimony (Daubert).
                                Motion Hearing set for 7/21/2011 02:00 PM in Courtroom 9, 19th Floor, San Francisco before Hon.
                                William Alsup. (whalc1, COURT STAFF) (Filed on 7/19/2011) (Entered: 07/19/2011)
            07/19/2011     219 *** FILED IN ERROR. PLEASE SEE DOCKET # 220 ***

                                DOCUMENT E-FILED UNDER SEAL re 186 Order on Administrative Motion to File Under Seal by
                                Google Inc.. (Attachments: # 1 Exhibit Exhibit H to Weingaertner Declaration, # 2 Exhibit Exhibit I to
                                Weingaertner Declaration, # 3 Exhibit Exhibit J to Weingaertner Declaration, # 4 Exhibit Exhibit L to
                                Weingaertner Declaration, # 5 Exhibit Exhibit M to Weingaertner Declaration, # 6 Exhibit Exhibit O to
                                Weingaertner Declaration, # 7 Exhibit Exhibit Q to Weingaertner Declaration, # 8 Exhibit Exhibit R to
                                Weingaertner Declaration, # 9 Exhibit Exhibit W to Weingaertner Declaration)(Sabnis, Cheryl) (Filed
                                on 7/19/2011) Modified on 7/20/2011 (wsnS, COURTSTAFF). (Entered: 07/19/2011)
            07/19/2011     220 DOCUMENT E-FILED UNDER SEAL re 186 Order on Administrative Motion to File Under Seal by
                               Google Inc.. (Attachments: # 1 Exhibit Exh H part 1 to Weingaertner Declaration, # 2 Exhibit Exh H
                               part 2 to Weingaertner Declaration, # 3 Exhibit Exh H part 3 to Weingaertner Declaration, # 4 Exhibit
                               Exh H part 4 to Weingaertner Declaration, # 5 Exhibit Exh H part 5 to Weingaertner Declaration, # 6
                               Exhibit Exh I to Weingaertner Declaration, # 7 Exhibit Exh J part 1 to Weingaertner Declaration, # 8
                               Exhibit Exh J part 2 to Weingaertner Declaration, # 9 Exhibit Exh J part 3 to Weingaertner Declaration,
                               # 10 Exhibit Exh J part 4 to Weingaertner Declaration, # 11 Exhibit Exh J part 5 to Weingaertner
                               Declaration, # 12 Exhibit Exh L to Weingaertner Declaration, # 13 Exhibit Exh M part 1 to
                               Weingaertner Declaration, # 14 Exhibit Exh M part 2 to Weingaertner Declaration, # 15 Exhibit Exh M
                               part 3 to Weingaertner Declaration, # 16 Exhibit Exh M part 4 to Weingaertner Declaration, # 17
                               Exhibit Exh P to Weingaertner Declaration, # 18 Exhibit Exh Q to Weingaertner Declaration, # 19
                               Exhibit Exh R to Weingaertner Declaration, # 20 Exhibit Exh W to Weingaertner Declaration)(Sabnis,
                               Cheryl) (Filed on 7/19/2011) (Entered: 07/19/2011)
            07/19/2011     221 DOCUMENT E-FILED UNDER SEAL re 190 Order on Administrative Motion to File Under Seal
                               Leonard Declaration by Google Inc.. (Sabnis, Cheryl) (Filed on 7/19/2011) (Entered: 07/19/2011)
            07/20/2011     222 DOCUMENT E-FILED UNDER SEAL re 212 Order on Administrative Motion to File Under Seal
                               portions of Google's Daubert Reply Brief by Google Inc.. (Sabnis, Cheryl) (Filed on 7/20/2011)
                               (Entered: 07/20/2011)
            07/20/2011     223 RESPONSE to re 209 Order Joint Summary of the Status of the PTO Reexaminations and Update on
                               the Parties' Views Regarding Stay by Google Inc., Oracle America, Inc.. (Peters, Marc) (Filed on
                               7/20/2011) (Entered: 07/20/2011)
            07/20/2011     224 NOTICE of Appearance by Meredith Richardson Dearborn (Dearborn, Meredith) (Filed on 7/20/2011)
                               (Entered: 07/20/2011)




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            07/20/2011     225 NOTICE of Appearance by William Fred Norton, Jr (Norton, William) (Filed on 7/20/2011) (Entered:
                               07/20/2011)
            07/20/2011     226 NOTICE of Appearance by Beko Osiris Ra Reblitz-Richardson (Reblitz-Richardson, Beko) (Filed on
                               7/20/2011) (Entered: 07/20/2011)
            07/21/2011     227 Letter from Steven C. Holtzman and Scott T. Weingaertner re Non-Mobile Data. (Holtzman, Steven)
                               (Filed on 7/21/2011) (Entered: 07/21/2011)
            07/21/2011     228 MINUTE ORDER re 215 Letter filed by Oracle America, Inc. Signed by Magistrate Judge Donna M.
                               Ryu on 7/21/2011. (dmrlc2, COURT STAFF) (Filed on 7/21/2011) (Entered: 07/21/2011)
            07/21/2011     229 ORDER re 215 Plaintiff's Request for Additional Depositions and 228 , granting in part and denying in
                               part Request. Signed by Magistrate Judge Donna M. Ryu on 7/21/2011. (dmrlc2, COURT STAFF)
                               (Filed on 7/21/2011) (Entered: 07/21/2011)
            07/22/2011     230 ORDER GRANTING IN PART MOTION TO STRIKE DAMAGE REPORT OF PLAINTIFF
                               EXPERT IAIN COCKBURN by Judge Alsup granting in part and denying in part 171 Motion to Strike
                               Expert Report (whalc1, COURT STAFF) (Filed on 7/22/2011) (Entered: 07/22/2011)
            07/22/2011     231 Transcript of Proceedings held on 7/21/11, before Judge William Alsup. Court Reporter/Transcriber
                               Sahar Bartlett, CSR, RPR, Telephone number (415) 626-6060/sahar_bartlett@cand.uscourts.gov. Per
                               General Order No. 59 and Judicial Conference policy, this transcript may be viewed only at the Clerks
                               Office public terminal or may be purchased through the Court Reporter/Transcriber until the deadline
                               for the Release of Transcript Restriction.After that date it may be obtained through PACER. Any
                               Notice of Intent to Request Redaction, if required, is due no later than 5 business days from date of this
                               filing. Release of Transcript Restriction set for 10/20/2011. (Bartlett, Sahar) (Filed on 7/22/2011)
                               (Entered: 07/22/2011)
            07/22/2011     232 ORDER re 227 Letter filed by Oracle America, Inc. Signed by Judge Donna M. Ryu on 7/22/2011.
                               (dmrlc2, COURT STAFF) (Filed on 7/22/2011) (Entered: 07/22/2011)
            07/25/2011     233 Minute Entry: Motion Hearing held on 7/21/2011 before William Alsup (Date Filed: 7/25/2011) re 171
                               MOTION To Exclude Expert Opinions and Testimony (Daubert) filed by Google Inc. Motion taken
                               under submission. (Court Reporter Sahar Bartlett.) (dt, COURT STAFF) (Date Filed: 7/25/2011)
                               (Entered: 07/25/2011)
            07/26/2011     234 RESPONSE to re 195 Order JOINT SUBMISSION REGARDING RULE 706 EXPERTS by Google
                               Inc.. (Van Nest, Robert) (Filed on 7/26/2011) (Entered: 07/26/2011)
            07/26/2011     235 RESPONSE TO ORDER TO SHOW CAUSE by Google Inc. DECLARATION OF ROBERT VAN
                               NEST RE RULE 706 EXPERTS. (Van Nest, Robert) (Filed on 7/26/2011) (Entered: 07/26/2011)
            07/27/2011     236 ORDER RE SEARCH FOR RULE 706 EXPERTS re 234 Response ( Non Motion ) filed by Google
                               Inc., 235 Response to Order to Show Cause filed by Google Inc.. Signed by Judge Alsup on July 27,
                               2011. (whalc1, COURT STAFF) (Filed on 7/27/2011) (Entered: 07/27/2011)
            07/27/2011     237 STIPULATION and [Proposed] Order Regarding Exchange of Expert Demonstrative Exhibits by
                               Oracle America, Inc.. (Muino, Daniel) (Filed on 7/27/2011) (Entered: 07/27/2011)
            07/27/2011     238 STIPULATED ORDER REGARDING EXCHANGE OF EXPERT DEMONSTRATIVE EXHIBITS re
                               237 Stipulation filed by Oracle America, Inc.. Signed by Judge Alsup on July 27, 2011. (whalc1,
                               COURT STAFF) (Filed on 7/27/2011) (Entered: 07/27/2011)
            07/27/2011     239 NOTICE RE SUBPOENAS FOR TRIAL WITNESSES. Signed by Judge Alsup on July 27, 2011.
                               (whalc1, COURT STAFF) (Filed on 7/27/2011) (Entered: 07/27/2011)
            07/27/2011     240 RESPONSE (re 214 Amended MOTION for Leave to File Supplement Invalidity Contentions ) filed
                               byOracle America, Inc.. (Attachments: # 1 Declaration Declaration of Marc Peters in Support of
                               Oracle's Opposition to Google's Motion for Leave to Amend Invalidity Contentions)(Peters, Marc)
                               (Filed on 7/27/2011) (Entered: 07/27/2011)
            07/27/2011     241 Administrative Motion to File Under Seal Portions of the Parties' Joint Letter filed by Oracle America,
                               Inc.. (Holtzman, Steven) (Filed on 7/27/2011) (Entered: 07/27/2011)
            07/27/2011     242 Letter from Robert A. Van Nest re July 21 Hearing. (Van Nest, Robert) (Filed on 7/27/2011) (Entered:
                               07/27/2011)



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            07/28/2011     243 Declaration of Matthias A. Kamber in Support of 241 Administrative Motion to File Under Seal
                               Portions of the Parties' Joint Letter filed byGoogle Inc.. (Related document(s) 241 ) (Kamber,
                               Matthias) (Filed on 7/28/2011) (Entered: 07/28/2011)
            07/28/2011     244 Proposed Order re 241 Administrative Motion to File Under Seal Portions of the Parties' Joint Letter
                               by Google Inc.. (Kamber, Matthias) (Filed on 7/28/2011) (Entered: 07/28/2011)
            07/28/2011     245 ORDER Setting Hearing re Parties' 7/27/2011 Joint Discovery Letter. Discovery Hearing set for
                               8/1/2011 09:30 AM in Courtroom 2, 4th Floor, Oakland before Magistrate Judge Donna M. Ryu.
                               Signed by Magistrate Judge Donna M. Ryu on 07/28/2011. (dmrlc1, COURT STAFF) (Filed on
                               7/28/2011) (Entered: 07/28/2011)
            07/28/2011          Set/Reset Deadlines as to 214 Amended MOTION for Leave to File Supplement Invalidity
                                Contentions. Motion Hearing set for 8/18/2011 02:00 PM in Courtroom 9, 19th Floor, San Francisco
                                before Hon. William Alsup. (whalc1, COURT STAFF) (Filed on 7/28/2011) (Entered: 07/28/2011)
            07/28/2011     246 STIPULATION and Proposed Order to Extend Fact Discovery Cut-Off and Due Dates for Expert
                               Reports by Oracle America, Inc.. (Muino, Daniel) (Filed on 7/28/2011) (Entered: 07/28/2011)
            07/28/2011     247 Letter from Robert Van Nest re Leave to File Two Short Motions. (Van Nest, Robert) (Filed on
                               7/28/2011) (Entered: 07/28/2011)
            07/29/2011     248 RESPONSE to re 247 Letter by Oracle America, Inc.. (Norton, William) (Filed on 7/29/2011)
                               (Entered: 07/29/2011)
            07/29/2011     249 Joint Administrative Motion to File Under Seal KEY TO JOINT FILING RE RULE 706 EXPERT
                               WITNESSES (DKT. NO. 234) filed by Oracle America, Inc.. (Attachments: # 1 Proposed Order
                               SEALING KEY TO JOINT FILING RE RULE 706 EXPERT WITNESSES)(Dearborn, Meredith)
                               (Filed on 7/29/2011) (Entered: 07/29/2011)
            07/29/2011     250 Letter from Robert Van Nest in response to 247 Oracle's opposition to Google's precis letter. (Van Nest,
                               Robert) (Filed on 7/29/2011) Modified on 8/1/2011 (wsn, COURT STAFF). (Entered: 07/29/2011)
            07/29/2011     251 NOTICE of Change of Address by Robert Addy Van Nest (Van Nest, Robert) (Filed on 7/29/2011)
                               (Entered: 07/29/2011)
            07/29/2011     252 Order by Magistrate Judge Donna M. Ryu granting 241 Administrative Motion to File Under
                               Seal.(dmrlc1S, COURT STAFF) (Filed on 7/29/2011) (Entered: 07/29/2011)
            07/29/2011     253 DOCUMENT E-FILED UNDER SEAL re 252 Order on Administrative Motion to File Under Seal
                               Joint letter by Oracle America, Inc.. (Holtzman, Steven) (Filed on 7/29/2011) (Entered: 07/29/2011)
            08/01/2011     254 ORDER SEALING KEY TO JOINT FILING RE RULE 706 EXPERT WITNESS, Order by Hon.
                               William Alsup granting 249 Administrative Motion to File Under Seal.(whalc1, COURT STAFF)
                               (Filed on 8/1/2011) (Entered: 08/01/2011)
            08/01/2011     255 ORDER DENYING LEAVE TO FILE MOTIONS TO SEAL AND REDACT DAUBERT RECORD re
                               247 Letter filed by Google Inc.. Signed by Judge Alsup on August 1, 2011. (whalc1, COURT STAFF)
                               (Filed on 8/1/2011) (Entered: 08/01/2011)
            08/01/2011     256 *** FILED IN ERROR. PLEASE SEE DKT No. 257 . ***
                               ORDER EXTENDING FACT DISCOVERY CUT-OFF AND DUE DATES FOR EXPERT REPORTS
                               re 246 Stipulation filed by Oracle America, Inc.. Signed by Judge Alsup on August 1, 2011. (whalc1,
                               COURT STAFF) (Filed on 8/1/2011) Modified on 8/1/2011 (whalc1, COURT STAFF). (Entered:
                               08/01/2011)
            08/01/2011     257 ORDER EXTENDING FACT DISCOVERY CUT-OFF AND DUE DATES FOR EXPERT REPORTS
                               re 246 Stipulation filed by Oracle America, Inc.. Signed by Judge Alsup on August 1, 2011. (whalc1,
                               COURT STAFF) (Filed on 8/1/2011) (Entered: 08/01/2011)
            08/01/2011     258 Minute Entry: Discovery Hearing held on 8/1/2011 before Magistrate Judge Donna M. Ryu (Date
                               Filed: 8/1/2011). (Court Reporter Raynee Mercado.) (fs, COURT STAFF) (Date Filed: 8/1/2011)
                               (Entered: 08/01/2011)
            08/01/2011     259 DOCUMENT E-FILED UNDER SEAL re 254 Order on Administrative Motion to File Under Seal
                               KEY TO JOINT FILING RE RULE 706 EXPERT WITNESSES by Oracle America, Inc.. (Dearborn,
                               Meredith) (Filed on 8/1/2011) (Entered: 08/01/2011)



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            08/01/2011           (Court only) ***Motions terminated: 194 Administrative Motion to File Under Seal Joint Letter filed
                                 by Oracle America, Inc.. (whalc1, COURT STAFF) (Filed on 8/1/2011) (Entered: 08/01/2011)
            08/01/2011     260 MOTION for Summary Judgment on Count VIII of Plaintiff Oracle America's Amended Complaint
                               filed by Google Inc.. Motion Hearing set for 9/15/2011 02:00 PM in Courtroom 9, 19th Floor, San
                               Francisco before Hon. William Alsup. Responses due by 8/15/2011. Replies due by 8/22/2011. (Kwun,
                               Michael) (Filed on 8/1/2011) (Entered: 08/01/2011)
            08/01/2011     261 Declaration of DANIEL BORNSTEIN in Support of 260 MOTION for Summary Judgment on Count
                               VIII of Plaintiff Oracle America's Amended Complaint filed byGoogle Inc.. (Attachments: # 1 Exhibit
                               A)(Related document(s) 260 ) (Kwun, Michael) (Filed on 8/1/2011) (Entered: 08/01/2011)
            08/01/2011     262 Declaration of OWEN ASTRACHAN in Support of 260 MOTION for Summary Judgment on Count
                               VIII of Plaintiff Oracle America's Amended Complaint filed byGoogle Inc.. (Attachments: # 1 Exhibit
                               1, # 2 Exhibit 2)(Related document(s) 260 ) (Kwun, Michael) (Filed on 8/1/2011) (Entered:
                               08/01/2011)
            08/01/2011     263 Declaration of MICHAEL S. KWUN in Support of 260 MOTION for Summary Judgment on Count
                               VIII of Plaintiff Oracle America's Amended Complaint filed byGoogle Inc.. (Attachments: # 1 Exhibit
                               A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit
                               H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15
                               Exhibit O)(Related document(s) 260 ) (Kwun, Michael) (Filed on 8/1/2011) (Entered: 08/01/2011)
            08/01/2011     264 Proposed Order re 260 MOTION for Summary Judgment on Count VIII of Plaintiff Oracle America's
                               Amended Complaint by Google Inc.. (Kwun, Michael) (Filed on 8/1/2011) (Entered: 08/01/2011)
            08/03/2011     265 Letter from Robert A. Van Nest on behalf of defendant Google Inc.. (Van Nest, Robert) (Filed on
                               8/3/2011) (Entered: 08/03/2011)
            08/03/2011     266 *** FILED IN ERROR. REFER TO DOCUMENT 267 . ***
                               Letter from Fred Norton and Bruce Barber to Judge Ryu Re Oracles Request For Non-Mobile Data
                               And Projections. (Norton, William) (Filed on 8/3/2011) Modified on 8/3/2011 (feriab, COURT
                               STAFF). (Entered: 08/03/2011)
            08/03/2011     267 Letter from Fred Norton and Bruce Baber To Judge Ryu Re Oracles Request For Non-Mobile Data And
                               Projections-CORRECTION OF DOCKET # 266 . (Norton, William) (Filed on 8/3/2011) Modified on
                               8/3/2011 (feriab, COURT STAFF). (Entered: 08/03/2011)
            08/03/2011     268 REPLY (re 214 Amended MOTION for Leave to File Supplement Invalidity Contentions ) filed
                               byGoogle Inc.. (Attachments: # 1 Affidavit SUPPLEMENTAL DECLARATION OF MARK H.
                               FRANCIS IN SUPPORT OF DEFENDANT GOOGLE INC.S AMENDED MOTION FOR LEAVE
                               TO SUPPLEMENT INVALIDITY CONTENTIONS)(Purcell, Daniel) (Filed on 8/3/2011) (Entered:
                               08/03/2011)
            08/03/2011     269 Letter from Steven C. Holtzman on belahlf of Plaintiff Oracle America, Inc.. (Holtzman, Steven) (Filed
                               on 8/3/2011) (Entered: 08/03/2011)
            08/03/2011     270 DOCUMENT E-FILED UNDER SEAL re 236 ORDER RE SEARCH FOR RULE 706 EXPERTS;
                               JOINT SUBMISSION IN RESPONSE TO ORDER RE SEARCH FOR RULE 706 EXPERTS by Oracle
                               America, Inc. (Holtzman, Steven) (Filed on 8/3/2011) Modified on 8/8/2011 (wsn, COURT STAFF).
                               (Entered: 08/03/2011)
            08/04/2011     271 ORDER DENYING PRECIS REQUESTS re 269 Letter filed by Oracle America, Inc., 265 Letter filed
                               by Google Inc.. Signed by Judge Alsup on August 4, 2011. (whalc1, COURT STAFF) (Filed on
                               8/4/2011) (Entered: 08/04/2011)
            08/04/2011     272 ORDER REGARDING COUNSEL FOR RULE 706 EXPERT. Signed by Judge Alsup on August 4,
                               2011. (whalc1, COURT STAFF) (Filed on 8/4/2011) (Entered: 08/04/2011)
            08/05/2011     273 ORDER SETTING CONFERENCE WITH DAMAGES EXPERT CANDIDATES. Signed by Judge
                               Alsup on August 5, 2011. (whalc1, COURT STAFF) (Filed on 8/5/2011) (Entered: 08/05/2011)
            08/05/2011           (Court only) Set/Reset Hearings: Conference with Counsel and Two Damages Expert Candidates.
                                 Further Case Management Conference set for 8/19/2011 08:00 AM in Courtroom 9, 19th Floor, San
                                 Francisco. (whalc1, COURT STAFF) (Filed on 8/5/2011) (Entered: 08/05/2011)




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            08/05/2011     274 Administrative Motion to File Under Seal Joint Letter Regarding Nishar Deposition filed by Oracle
                               America, Inc.. (Holtzman, Steven) (Filed on 8/5/2011) (Entered: 08/05/2011)
            08/05/2011     275 Letter from the parties to Mag. Judge Ryu regarding ongoing discovery disputes. (Sabnis, Cheryl)
                               (Filed on 8/5/2011) (Entered: 08/05/2011)
            08/05/2011     276 Administrative Motion to File Under Seal Portions of the Parties' Joint Letter Regarding Awareness of
                               Sun IP Rights filed by Oracle America, Inc.. (Muino, Daniel) (Filed on 8/5/2011) (Entered:
                               08/05/2011)
            08/06/2011     277 Letter from Oracle America, Inc. Regarding Lindholm. (Holtzman, Steven) (Filed on 8/6/2011)
                               (Entered: 08/06/2011)
            08/06/2011     278 Administrative Motion to File Under Seal filed by Google Inc.. (Attachments: # 1 Affidavit, # 2
                               Proposed Order)(Sabnis, Cheryl) (Filed on 8/6/2011) (Entered: 08/06/2011)
            08/08/2011     279 ORDER VACATING AUGUST 18 HEARING re 214 Amended MOTION for Leave to File
                               Supplement Invalidity Contentions filed by Google Inc.. Signed by Judge Alsup on August 8, 2011.
                               (whalc1, COURT STAFF) (Filed on 8/8/2011) (Entered: 08/08/2011)
            08/08/2011     280 Letter from Beko Reblitz-Richardson and Scott T. Weingaertner re Kehring and Creven Redactions.
                               (Sabnis, Cheryl) (Filed on 8/8/2011) (Entered: 08/08/2011)
            08/08/2011     281 ORDER PARTIALLY GRANTING AND PARTIALLY DENYING MOTION TO SUPPLEMENT
                               INVALIDITY CONTENTIONS AND VACATING HEARING by Judge Alsup finding as moot 208
                               Motion for Leave to File; granting in part and denying in part 214 Motion for Leave to File (whalc1,
                               COURT STAFF) (Filed on 8/8/2011) (Entered: 08/08/2011)
            08/09/2011     282 Order by Magistrate Judge Donna M. Ryu granting 274 Administrative Motion to File Under
                               Seal.(dmrlc2, COURT STAFF) (Filed on 8/9/2011) (Entered: 08/09/2011)
            08/09/2011     283 Order by Magistrate Judge Donna M. Ryu granting 276 Administrative Motion to File Under
                               Seal.(dmrlc2, COURT STAFF) (Filed on 8/9/2011) (Entered: 08/09/2011)
            08/09/2011     284 DOCUMENT E-FILED UNDER SEAL re 282 Order on Administrative Motion to File Under Seal
                               Joint Letter regarding Nishar Deposition by Oracle America, Inc.. (Holtzman, Steven) (Filed on
                               8/9/2011) (Entered: 08/09/2011)
            08/09/2011     285 DOCUMENT E-FILED UNDER SEAL re 283 Order on Administrative Motion to File Under Seal
                               Joint Letter Re Awareness of Sun IP Rights by Oracle America, Inc.. (Muino, Daniel) (Filed on
                               8/9/2011) (Entered: 08/09/2011)
            08/09/2011     286 ORDER requesting supplemental information re 277 Letter filed by Oracle America, Inc. Signed by
                               Magistrate Judge Donna M. Ryu on 8/9/2011. (dmrlc2, COURT STAFF) (Filed on 8/9/2011) (Entered:
                               08/09/2011)
            08/09/2011     287 NOTICE of Appearance by Wendy Michelle Mantell for Defendant Google Inc. (Mantell, Wendy)
                               (Filed on 8/9/2011) (Entered: 08/09/2011)
            08/10/2011     288 Letter from Steven C. Holtzman & Daniel Purcell Joint Letter to Magistrate Judge Ryu Regarding
                               Nishar Deposition. (Holtzman, Steven) (Filed on 8/10/2011) (Entered: 08/10/2011)
            08/10/2011     289 ORDER re 288 Letter filed by Oracle America, Inc. Signed by Magistrate Judge Donna M. Ryu on
                               8/10/2011. (dmrlc2, COURT STAFF) (Filed on 8/10/2011) (Entered: 08/10/2011)
            08/10/2011     290 Letter from Daniel P. Muino & Daniel Purcell Joint Letter to Magistrate Judge Ryu Regarding
                               Awareness of Sun IP Rights [REDACTED]. (Muino, Daniel) (Filed on 8/10/2011) (Entered:
                               08/10/2011)
            08/10/2011     291 ORDER re 290 Letter filed by Oracle America, Inc. Signed by Magistrate Judge Donna M. Ryu on
                               8/10/2011. (dmrlc2, COURT STAFF) (Filed on 8/10/2011) (Entered: 08/10/2011)
            08/10/2011     292 Administrative Motion to File Under Seal Parties' Joint Letter Regarding Non-Mobile Data filed by
                               Oracle America, Inc.. (Norton, William) (Filed on 8/10/2011) (Entered: 08/10/2011)
            08/11/2011     293 Transcript of Proceedings held on July 21, 2011, before Magistrate Judge Donna M. Ryu. Court
                               Reporter Diane Skillman, Telephone number 510-451-2930, Diane_Skillman@cand.uscourts.gov. Per




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                                General Order No. 59 and Judicial Conference policy, this transcript may be viewed only at the Clerks
                                Office public terminal or may be purchased through the Court Reporter/Transcriber until the deadline
                                for the Release of Transcript Restriction.After that date it may be obtained through PACER. Any
                                Notice of Intent to Request Redaction, if required, is due no later than 5 business days from date of this
                                filing. Redaction Request due 9/1/2011. Redacted Transcript Deadline set for 9/12/2011. Release of
                                Transcript Restriction set for 11/9/2011. (Skillman, Diane) (Filed on 8/11/2011) (Entered: 08/11/2011)
            08/11/2011     294 Order by Magistrate Judge Donna M. Ryu granting 292 Administrative Motion to File Under
                               Seal.(dmrlc2, COURT STAFF) (Filed on 8/11/2011) (Entered: 08/11/2011)
            08/11/2011     295 DOCUMENT E-FILED UNDER SEAL re 294 Order on Administrative Motion to File Under Seal
                               Parties' Joint Letter Regarding Non-Mobile Data by Oracle America, Inc.. (Norton, William) (Filed on
                               8/11/2011) (Entered: 08/11/2011)
            08/11/2011     296 Letter Regarding Non-Mobile Data (REDACTED). (Norton, William) (Filed on 8/11/2011) (Entered:
                               08/11/2011)
            08/12/2011     297 MOTION to Redact 293 Transcript,,, Google Inc.'s Notice of Motion and Motion to Redact and Seal
                               Portions of Hearing Transcript; Memorandum of Points and Authorities in Support Thereof filed by
                               Google Inc.. (Attachments: # 1 Proposed Order)(Van Nest, Robert) (Filed on 8/12/2011) (Entered:
                               08/12/2011)
            08/12/2011     298 AFFIDAVIT in Support of Google, Inc's Administrative Motion to File Under Seal Portions of the
                               Parties' Joing Letter (Dkt. No. 280 ) filed by Oracle America, Inc.. (Attachments: # 1 Proposed Order)
                               (Holtzman, Steven) (Filed on 8/12/2011) Modified on 8/15/2011 (wsn, COURT STAFF). (Entered:
                               08/12/2011)
            08/15/2011     299 Declaration of Tim Lindholm in Support of 277 Letter, 286 Order Requesting Supplemental
                               Information filed byGoogle Inc.. (Related document(s) 277 , 286 ) (Van Nest, Robert) (Filed on
                               8/15/2011) (Entered: 08/15/2011)
            08/15/2011     300 Declaration of Kristin Zmrhal in Support of 277 Letter, 286 Order Requesting Supplemental
                               Information filed byGoogle Inc.. (Related document(s) 277 , 286 ) (Van Nest, Robert) (Filed on
                               8/15/2011) (Entered: 08/15/2011)
            08/15/2011     301 Declaration of Benjamin Lee in Support of 277 Letter, 286 Order Requesting Supplemental
                               Information filed byGoogle Inc.. (Related document(s) 277 , 286 ) (Van Nest, Robert) (Filed on
                               8/15/2011) (Entered: 08/15/2011)
            08/15/2011     302 NOTICE of Appearance by Kenneth Alexander Kuwayti (Kuwayti, Kenneth) (Filed on 8/15/2011)
                               (Entered: 08/15/2011)
            08/15/2011     303 NOTICE of Appearance by Benjamin Andrew Petersen (Petersen, Benjamin) (Filed on 8/15/2011)
                               (Entered: 08/15/2011)
            08/15/2011     304 Administrative Motion to File Under Seal Portions of the Declaration of Fred Norton In Support of
                               Oracle America, Inc.'s Motion to Compel Production of Documents filed by Oracle America, Inc..
                               (Norton, William) (Filed on 8/15/2011) (Entered: 08/15/2011)
            08/15/2011     305 Declaration of Fred Norton in Support of 277 Letter, 286 Order Requesting Supplemental Information
                               filed byOracle America, Inc.. (Attachments: # 1 Exhibit A through W)(Related document(s) 277 , 286 )
                               (Norton, William) (Filed on 8/15/2011) (Entered: 08/15/2011)
            08/16/2011     306 ORDER TO SHOW CAUSE why 278 was untimely filed. Show Cause Response due by 8/23/2011.
                               Signed by Magistrate Judge Donna M. Ryu on 8/16/2011. (dmrlc2, COURT STAFF) (Filed on
                               8/16/2011) Modified on 8/17/2011 (wsn, COURT STAFF). (Entered: 08/16/2011)
            08/16/2011     307 ORDER Setting Hearing on Motion 277 . Motion Hearing set for 8/25/2011 11:00 AM before
                               Magistrate Judge Donna M. Ryu. Signed by Magistrate Judge Donna M. Ryu on 8/16/2011. (dmrlc2,
                               COURT STAFF) (Filed on 8/16/2011) (Entered: 08/16/2011)
            08/16/2011     308 OBJECTIONS to re 305 Declaration in Support, by Google Inc.. (Van Nest, Robert) (Filed on
                               8/16/2011) (Entered: 08/16/2011)
            08/16/2011     309 Letter from Robert A. Van Nest requesting leave to file motion for summary judgment on affirmative
                               defense of assignor estoppel. (Van Nest, Robert) (Filed on 8/16/2011) (Entered: 08/16/2011)



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            08/16/2011     310 Letter from Robert A. Van Nest requesting leave to file motion for summary judgment on limitation of
                               damages due to failure to mark. (Van Nest, Robert) (Filed on 8/16/2011) (Entered: 08/16/2011)
            08/16/2011     311 Letter from Robert A. Van Nest requesting leave to file motion for summary judgment of invalidity due
                               to improper broadening reissue. (Van Nest, Robert) (Filed on 8/16/2011) (Entered: 08/16/2011)
            08/16/2011     312 Letter from Robert A. Van Nest requesting leave to file motion for summary judgment of
                               noninfringement under 35 U.S.C. section 271(c) and (f). (Van Nest, Robert) (Filed on 8/16/2011)
                               (Entered: 08/16/2011)
            08/16/2011           (Court only) Set/Reset Hearings: Discovery Hearing set for 8/25/2011 before Magistrate Judge Donna
                                 M. Ryu. (dmrlc2, COURT STAFF) (Filed on 8/16/2011) (Entered: 08/19/2011)
            08/17/2011     313 RESPONSE to re 308 Objection ORACLE AMERICA, INC.S REPLY TO GOOGLE INC.S
                               OBJECTIONS TO THE DECLARATION OF FRED NORTON IN SUPPORT OF ORACLES MOTION
                               TO COMPEL PRODUCTION OF DOCUMENTS OR, IN THE ALTERNATIVE, REQUEST TO
                               RESPOND TO LEGAL ARGUMENT by Oracle America, Inc.. (Holtzman, Steven) (Filed on
                               8/17/2011) (Entered: 08/17/2011)
            08/17/2011     314 ORDER Setting Hearing on Motion. Motion Hearing set for 8/19/2011 03:00 PM before Magistrate
                               Judge Donna M. Ryu. Signed by Magistrate Judge Donna M. Ryu on 8/17/2011. (dmrlc2, COURT
                               STAFF) (Filed on 8/17/2011) (Entered: 08/17/2011)
            08/17/2011           Set/Reset Deadlines as to 260 MOTION for Summary Judgment on Count VIII of Plaintiff Oracle
                                 America's Amended Complaint. Motion Hearing set for 9/15/2011 02:00 PM in Courtroom 9, 19th
                                 Floor, San Francisco before Hon. William Alsup. (whalc1, COURT STAFF) (Filed on 8/17/2011)
                                 (Entered: 08/17/2011)
            08/17/2011     315 AMENDED DOCUMENT by Google Inc.. Amendment to 301 Declaration in Support. (Van Nest,
                               Robert) (Filed on 8/17/2011) (Entered: 08/17/2011)
            08/17/2011     316 AMENDED DOCUMENT by Google Inc.. Amendment to 299 Declaration in Support. (Van Nest,
                               Robert) (Filed on 8/17/2011) (Entered: 08/17/2011)
            08/17/2011     317 AMENDED DOCUMENT by Google Inc.. Amendment to 300 Declaration in Support. (Van Nest,
                               Robert) (Filed on 8/17/2011) (Entered: 08/17/2011)
            08/18/2011     318 Letter from Michael A. Jacobs in Opposition to Google's Request for leave to file motion for summary
                               judgment of 104 patent invalidity due to improper broadening reissue. (Jacobs, Michael) (Filed on
                               8/18/2011) (Entered: 08/18/2011)
            08/18/2011     319 Letter from Michael A. Jacobs in Opposition to Google's Request for leave to file motion for summary
                               judgment on limitation of damages due to failure to mark. (Jacobs, Michael) (Filed on 8/18/2011)
                               (Entered: 08/18/2011)
            08/18/2011     320 Letter from Michael A. Jacobs in Response to Google's request for leave to file motion for summary
                               judgment on affirmative defense of assignor estoppel. (Jacobs, Michael) (Filed on 8/18/2011) (Entered:
                               08/18/2011)
            08/18/2011     321 Letter Brief re 312 Letter in response to Google's request for leave to file motion for summary
                               judgment of noninfringement under 35 U.S.C. section 271(c) and (f) filed byOracle America, Inc..
                               (Related document(s) 312 ) (Jacobs, Michael) (Filed on 8/18/2011) (Entered: 08/18/2011)
            08/18/2011     322 ORDER GRANTING EXTENSION re 321 Letter Brief, filed by Oracle America, Inc.. Signed by
                               Judge Alsup on August 18, 2011. (whalc1, COURT STAFF) (Filed on 8/18/2011) (Entered:
                               08/18/2011)
            08/18/2011     323 Letter Brief re 312 Letter, 321 Letter Brief, Letter in response to Google's request for leave to file
                               motion for summary judgment of noninfringement under 35 U.S.C. seciton 271(c) and (f) filed
                               byOracle America, Inc.. (Related document(s) 312 , 321 ) (Jacobs, Michael) (Filed on 8/18/2011)
                               (Entered: 08/18/2011)
            08/19/2011     324 ***FILED IN ERROR. PLEASE SEE DOCKET # 329 ***

                                 Order by Magistrate Judge Donna M. Ryu granting 304 Administrative Motion to File Under
                                 Seal.(dmrlc2, COURT STAFF) (Filed on 8/19/2011) Modified on 8/19/2011 (dmrlc2, COURT STAFF).



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                                (Entered: 08/19/2011)
            08/19/2011     325 ORDER GRANTING LEAVE TO FILE MOTION FOR SUMMARY JUDGMENT ON ASSIGNOR
                               ESTOPPEL re 309 Letter filed by Google Inc.. Signed by Judge Alsup on August 19, 2011. (whalc1,
                               COURT STAFF) (Filed on 8/19/2011) (Entered: 08/19/2011)
            08/19/2011     326 ORDER DENYING LEAVE TO FILE MOTION FOR SUMMARY JUDGMENT ON PATENT
                               MARKING re 310 Letter filed by Google Inc.. Signed by Judge Alsup on August 19, 2011. (whalc1,
                               COURT STAFF) (Filed on 8/19/2011) (Entered: 08/19/2011)
            08/19/2011     327 ORDER DENYING LEAVE TO FILE MOTION FOR SUMMARY JUDGMENT ON '104 PATENT re
                               311 Letter filed by Google Inc.. Signed by Judge Alsup on August 19, 2011. (whalc1, COURT STAFF)
                               (Filed on 8/19/2011) (Entered: 08/19/2011)
            08/19/2011     328 ORDER PARTIALLY GRANTING AND PARTIALLY DENYING LEAVE TO FILE MOTION FOR
                               SUMMARY JUDGMENT ON INDIRECT INFRINGEMENT re 312 Letter filed by Google Inc..
                               Signed by Judge Alsup on August 19, 2011. (whalc1, COURT STAFF) (Filed on 8/19/2011) (Entered:
                               08/19/2011)
            08/19/2011     329 ORDER granting motion to file under seal. Signed by Magistrate Judge Donna M. Ryu on 8/19/2011.
                               (dmrlc2, COURT STAFF) (Filed on 8/19/2011)CORRECTION OF DOCKET # 324 (Entered:
                               08/19/2011)
            08/19/2011     330 ORDER REGARDING CONFERENCE WITH EXPERT CANDIDATES. Signed by Judge Alsup on
                               August 19, 2011. (whalc1, COURT STAFF) (Filed on 8/19/2011) (Entered: 08/19/2011)
            08/19/2011     331 Declaration of Tim Lindholm in Support of 277 Letter, 286 Order Response to Declaration of Fred
                               Norton filed byGoogle Inc.. (Related document(s) 277 , 286 ) (Van Nest, Robert) (Filed on 8/19/2011)
                               (Entered: 08/19/2011)
            08/19/2011     332 Declaration of Matt Cutts in Support of 277 Letter, 286 Order Response to Declaration of Fred Norton
                               filed byGoogle Inc.. (Related document(s) 277 , 286 ) (Van Nest, Robert) (Filed on 8/19/2011)
                               (Entered: 08/19/2011)
            08/19/2011     333 Minute Entry: Further Case Management Conference held on 8/19/2011 before William Alsup (Date
                               Filed: 8/19/2011). (Court Reporter Kathy Wyatt.) (dt, COURT STAFF) (Date Filed: 8/19/2011)
                               Modified on 8/19/2011 (whalc1S, COURT STAFF). (Entered: 08/19/2011)
            08/19/2011     334 DOCUMENT E-FILED UNDER SEAL re 329 Order on Administrative Motion to File Under Seal
                               Declaration of Fred Norton In Support of Plaintiff's Motion to Compel Production of Documents by
                               Oracle America, Inc.. (Attachments: # 1 Exhibit Exhibits A through W)(Norton, William) (Filed on
                               8/19/2011) Modified on 8/19/2011 (vlk, COURT STAFF). (Entered: 08/19/2011)
            08/19/2011     335 Administrative Motion to File Under Seal Exhibit 4 to the 336 Second Declaration of Fred Norton filed
                               by Oracle America, Inc. (Attachments: # 1 Affidavit Simion Declaration In Support Of Plaintiff's
                               Administrative Motion to Seal Exhibit 4, # 2 Proposed Order)(Norton, William) (Filed on 8/19/2011)
                               Modified on 8/22/2011 (wsn, COURT STAFF). (Entered: 08/19/2011)
            08/19/2011     336 Declaration of Fred Norton in Support of 277 Letter, 335 Administrative Motion to File Under Seal
                               Exhibit 4 to the Second Declaration of Fred Norton, 286 Order filed byOracle America, Inc..
                               (Attachments: # 1 Exhibit 1-4)(Related document(s) 277 , 335 , 286 ) (Norton, William) (Filed on
                               8/19/2011) (Entered: 08/19/2011)
            08/19/2011     337 Declaration of George P. Simion in Support of 277 Letter, 336 Declaration in Support, 335
                               Administrative Motion to File Under Seal Exhibit 4 to the Second Declaration of Fred Norton, 286
                               Order filed byOracle America, Inc.. (Related document(s) 277 , 336 , 335 , 286 ) (Norton, William)
                               (Filed on 8/19/2011) (Entered: 08/19/2011)
            08/19/2011     338 OBJECTIONS to re 261 Declaration in Support, 262 Declaration in Support, Oracle's Objections to
                               Google's evidence in support of Google's motion for summary judgment on Count VIII of Oracle's
                               Amended Complaint by Oracle America, Inc.. (Peters, Marc) (Filed on 8/19/2011) (Entered:
                               08/19/2011)
            08/19/2011     349 Minute Entry: Discovery Hearing HELD on 8/19/2011 before Magistrate Judge Donna M. Ryu.
                               Plaintiff's request for Non-mobile Data and Projections GRANTED IN PART. (See copy of minutes for
                               more particulars). (Court Reporter Diane Skillman.) (ig, COURT STAFF) (Date Filed: 8/19/2011)



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                                 (Entered: 08/22/2011)
            08/20/2011     339 RESPONSE (re 260 MOTION for Summary Judgment on Count VIII of Plaintiff Oracle America's
                               Amended Complaint ) filed byOracle America, Inc.. (Kuwayti, Kenneth) (Filed on 8/20/2011) (Entered:
                               08/20/2011)
            08/20/2011     340 Administrative Motion to File Under Seal filed by Oracle America, Inc.. (Swoopes, Roman) (Filed on
                               8/20/2011) (Entered: 08/20/2011)
            08/20/2011     341 Declaration of John C. Mitchell in Support of 339 Opposition/Response to Motion filed byOracle
                               America, Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)(Related
                               document(s) 339 ) (Peters, Marc) (Filed on 8/20/2011) (Entered: 08/20/2011)
            08/20/2011     342 Declaration of Alan Purdy in Support of 339 Opposition/Response to Motion filed byOracle America,
                               Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Related document(s) 339 ) (Peters,
                               Marc) (Filed on 8/20/2011) (Entered: 08/20/2011)
            08/20/2011     343 DECLARATION of Roman A. Swoopes in Support of 339 Opposition/Response to Motion filed
                               byOracle America, Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                               Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, #
                               12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16)(Related document(s)
                               339 ) (Kuwayti, Kenneth) (Filed on 8/20/2011) Modified on 8/22/2011 (feriab, COURT STAFF).
                               (Entered: 08/20/2011)
            08/20/2011     344 EXHIBITS re 343 Declaration in Opposition, to Google's Motion for Summary Judgment on Count
                               VIII of Oracle's Amended Complaint (Exs. 17-18) filed byOracle America, Inc.. (Attachments: # 1
                               Exhibit 18 (part one), # 2 Exhibit 18 (part two))(Related document(s) 343 ) (Kuwayti, Kenneth) (Filed
                               on 8/20/2011) (Entered: 08/20/2011)
            08/20/2011     345 EXHIBITS re 343 Declaration in Opposition, to Google's Moiton for Summary Judgment on Count
                               VIII of Oracle's Amended Complaint (Exs. 19-20) filed byOracle America, Inc.. (Attachments: # 1
                               Exhibit 20)(Related document(s) 343 ) (Kuwayti, Kenneth) (Filed on 8/20/2011) (Entered: 08/20/2011)
            08/20/2011     346 EXHIBITS re 343 Declaration in Opposition, to Google's Motion for Summary Judgment on Count
                               VIII of Oracle's Amended Complaint (Exs. 21-22) filed byOracle America, Inc.. (Attachments: # 1
                               Exhibit 22)(Related document(s) 343 ) (Kuwayti, Kenneth) (Filed on 8/20/2011) (Entered: 08/20/2011)
            08/20/2011     347 EXHIBITS re 343 Declaration in Opposition, to Google's Motion for Summary Judgment on Count
                               VIII of Oracle's Amended Complaint filed byOracle America, Inc.. (Attachments: # 1 Exhibit 24, # 2
                               Exhibit 25, # 3 Exhibit 26, # 4 Exhibit 27)(Related document(s) 343 ) (Kuwayti, Kenneth) (Filed on
                               8/20/2011) (Entered: 08/20/2011)
            08/22/2011     348 STIPULATION and Proposed Order to Extend Due Dates for Expert Rebuttal and Reply Reports on
                               Patent-Related Issues by Google Inc.. (Kamber, Matthias) (Filed on 8/22/2011) (Entered: 08/22/2011)
            08/22/2011     350 Transcript of Proceedings held on 8-19-11, before Judge William Alsup. Court Reporter/Transcriber
                               Katherine Wyatt, Telephone number 925-212-5224. Per General Order No. 59 and Judicial Conference
                               policy, this transcript may be viewed only at the Clerks Office public terminal or may be purchased
                               through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                               Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request
                               Redaction, if required, is due no later than 5 business days from date of this filing. Release of
                               Transcript Restriction set for 11/21/2011. (kpw, COURT STAFF) (Filed on 8/22/2011) (Entered:
                               08/22/2011)
            08/23/2011     351 RESPONSE TO ORDER TO SHOW CAUSE by Google Inc. Declaration of Eugene M. Paige In
                               Response To August 16, 2011 306 Order To Show Cause. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, #
                               3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7)(Paige, Eugene) (Filed on
                               8/23/2011) Modified on 8/24/2011 (wsn, COURT STAFF). (Entered: 08/23/2011)
            08/23/2011     352 ORDER re 295 Document E-Filed Under Seal filed by Oracle America, Inc. Signed by Magistrate
                               Judge Donna M. Ryu on 8/23/2011. (dmrlc2, COURT STAFF) (Filed on 8/23/2011) (Entered:
                               08/23/2011)
            08/25/2011     353 Minute Entry: Discovery Motion Hearing HELD on 8/25/2011 before Magistrate Judge Donna M. Ryu.
                               Plaintiff's Motion to Compel Defendant to produce Tim Lindholm's e-mail and drafts GRANTED.




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                                Written Order from the Court to follow. (Court Reporter Sahar Bartlett.) (ig, COURT STAFF) (Date
                                Filed: 8/25/2011) (Entered: 08/25/2011)
            08/25/2011     354 ORDER re 353 Discovery Hearing. Signed by Magistrate Judge Donna M. Ryu on 8/25/2011. (dmrlc2,
                               COURT STAFF) (Filed on 8/25/2011) (Entered: 08/25/2011)
            08/25/2011     355 Order by Magistrate Judge Donna M. Ryu denying 297 Motion to Redact 293 Transcript.(dmrlc2,
                               COURT STAFF) (Filed on 8/25/2011) (Entered: 08/25/2011)
            08/25/2011     356 Order by Magistrate Judge Donna M. Ryu granting in part and denying in part 335 Administrative
                               Motion to File Under Seal.(dmrlc1S, COURT STAFF) (Filed on 8/25/2011) (Entered: 08/25/2011)
            08/25/2011     357 Order by Magistrate Judge Donna M. Ryu granting 278 Administrative Motion to File Under
                               Seal.(dmrlc1S, COURT STAFF) (Filed on 8/25/2011) (Entered: 08/25/2011)
            08/26/2011     358 Declaration of Daniel Purcell in Support of Oracle America, Inc.'s Administrative Motion to File Under
                               Seal Exhibits 1 and 4 and Portions of the Second Declaration of Fred Norton filed byGoogle Inc..
                               (Attachments: # 1 Proposed Order)(Purcell, Daniel) (Filed on 8/26/2011) (Entered: 08/26/2011)
            08/26/2011     359 DOCUMENT E-FILED UNDER SEAL re 356 Order on Administrative Motion to File Under Seal
                               Exhibit 4 to Fred Norton's 2nd Declaration in Response to Declarations filed by Google by Oracle
                               America, Inc.. (Norton, William) (Filed on 8/26/2011) (Entered: 08/26/2011)
            08/26/2011     360 ORDER re 358 denying Defendant's motion for reconsideration. Signed by Magistrate Judge Donna M.
                               Ryu on 8/26/11. (dmrlc2, COURT STAFF) (Filed on 8/26/2011) (Entered: 08/26/2011)
            08/26/2011     361 ORDER re 277 granting Oracle's motion to compel discovery. Signed by Magistrate Judge Donna M.
                               Ryu on 8/26/2011. (dmrlc2, COURT STAFF) (Filed on 8/26/2011) (Entered: 08/26/2011)
            08/26/2011     362 DECLARATION of Luis Villa, IV In Response to Oracle America, Inc.'s Administrative Motion to File
                               Under Seal filed byGoogle Inc.. (Attachments: # 1 Proposed Order Sealing Defendant Google Inc.'s
                               Confidential Material)(Villa, Luis) (Filed on 8/26/2011) (Entered: 08/26/2011)
            08/26/2011     363 STATUS REPORT UDPATE RE: RE-EXAMINATION by Google Inc.. (Sabnis, Cheryl) (Filed on
                               8/26/2011) (Entered: 08/26/2011)
            08/29/2011     364 ORDER GRANTING STIPULATED REQUEST TO EXTEND DUE DATES FOR EXPERT
                               REBUTTAL AND REPLY REPORTS ON PATENT-RELATED ISSUES re 348 Stipulation filed by
                               Google Inc.. Signed by Judge Alsup on August 29, 2011. (whalc1, COURT STAFF) (Filed on
                               8/29/2011) (Entered: 08/29/2011)
            08/29/2011     365 ORDER denying 280 as untimely filed. Signed by Magistrate Judge Donna M. Ryu on 9/8/2011.
                               (dmrlc2, COURT STAFF) (Filed on 8/29/2011) (Entered: 08/29/2011)
            08/29/2011     366 ORDER REGARDING JURY SELECTION. Signed by Judge Alsup on August 29, 2011. (whalc1,
                               COURT STAFF) (Filed on 8/29/2011) (Entered: 08/29/2011)
            08/29/2011     367 DECLARATION in Opposition to 360 Order filed byOracle America, Inc.. (Attachments: # 1 Exhibit
                               Unredacted Exhibit 1 to F. Norton's Second Declaration In Response to Declarations Submitted On
                               Behalf Of Google)(Related document(s) 360 ) (Norton, William) (Filed on 8/29/2011) (Entered:
                               08/29/2011)
            08/29/2011     368 REPLY (re 260 MOTION for Summary Judgment on Count VIII of Plaintiff Oracle America's
                               Amended Complaint ) filed byGoogle Inc.. (Kwun, Michael) (Filed on 8/29/2011) (Entered:
                               08/29/2011)
            08/29/2011     369 Declaration of MICHAEL S. KWUN in Support of 368 Reply to Opposition/Response to Defendant
                               Google Inc.'s Motion for Summary Judgment on Count VIII of Plaintiff Oracle America's Amended
                               Complaint filed byGoogle Inc.. (Attachments: # 1 Exhibit EE, # 2 Exhibit FF, # 3 Exhibit GG)(Related
                               document(s) 368 ) (Kwun, Michael) (Filed on 8/29/2011) (Entered: 08/29/2011)
            08/29/2011     370 Declaration of DANIEL BORNSTEIN in Support of 368 Reply to Opposition/Response to Defendant
                               Google Inc.'s Motion for Summary Judgment on Count VIII of Plaintiff Oracle America's Amended
                               Complaint filed byGoogle Inc.. (Related document(s) 368 ) (Kwun, Michael) (Filed on 8/29/2011)
                               (Entered: 08/29/2011)




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            08/29/2011     371 Declaration of OWEN ASTRACHAN in Support of 368 Reply to Opposition/Response to Defendant
                               Google Inc.'s Motion for Summary Judgment on Count VIII of Plaintiff Oracle America's Amended
                               Complaint filed byGoogle Inc.. (Related document(s) 368 ) (Kwun, Michael) (Filed on 8/29/2011)
                               (Entered: 08/29/2011)
            08/29/2011     372 Administrative Motion to File Under Seal Exhibit 3 to the Reply Astrachan Declaration in Support of
                               Motion for Summary Judgment on Count VIII of Plaintiff Oracle America's Amended Complaint filed
                               by Google Inc.. (Kwun, Michael) (Filed on 8/29/2011) (Entered: 08/29/2011)
            08/29/2011     373 CERTIFICATE OF SERVICE by Google Inc. (Exhibit 3 to 371 Reply Declaration of Owen Astrachan
                               in Support of Defendant Google Inc.'s Motion for Summary Judgment on Count VIII of Plaintiff Oracle
                               America's Amended Complaint [Proposed] Publicly Filed Version--Redacted; and Unredacted Version
                               (Kwun, Michael) (Filed on 8/29/2011) Modified on 8/30/2011 (wsn, COURT STAFF). (Entered:
                               08/29/2011)
            08/30/2011     374 ORDER APPOINTING RULE 706 EXPERT AND COUNSEL. Signed by Judge Alsup on August 30,
                               2011. (whalc1, COURT STAFF) (Filed on 8/30/2011) (Entered: 08/30/2011)
            08/30/2011     375 ORDER PARTIALLY GRANTING AND PARTIALLY DENYING MOTION TO FILE OPPOSITION
                               MATERIALS UNDER SEAL, Order by Hon. William Alsup granting in part and denying in part 340
                               Administrative Motion to File Under Seal.(whalc1, COURT STAFF) (Filed on 8/30/2011) (Entered:
                               08/30/2011)
            08/30/2011     376 ORDER CLARIFYING ORDER REGARDING JURY SELECTION re 366 Order. Signed by Judge
                               Alsup on August 30, 2011. (whalc1, COURT STAFF) (Filed on 8/30/2011) (Entered: 08/30/2011)
            08/30/2011     377 Letter from Scott T. Weingaertner requesting leave to file motion to strike portions of the Mitchell
                               expert report on patent infringement. (Francis, Mark) (Filed on 8/30/2011) (Entered: 08/30/2011)
            09/01/2011     378 STIPULATION AND [PROPOSED] ORDER TO EXTEND THE CUT-OFF FOR THE DEPOSITIONS
                               OF MOTOROLA MOBILITY, INC., DIPCHAND NISHAR, AND THOMTHY LINDHOLM by Oracle
                               America, Inc.. (Muino, Daniel) (Filed on 9/1/2011) (Entered: 09/01/2011)
            09/01/2011     379 Declaration in Support of 372 Administrative Motion to File Under Seal Exhibit 3 to the Reply
                               Astrachan Declaration in Support of Motion for Summary Judgment on Count VIII of Plaintiff Oracle
                               America's Amended Complaint Declaration of George P. Simion in Support of Google's Administrative
                               Motion to File Under Seal filed byOracle America, Inc.. (Attachments: # 1 Attachment 1 (revised
                               redacted version of Exhibit 3 to the Reply Astrachan Declaration), # 2 Proposed Order [Proposed]
                               Order Granting Google's Administrative Motion to File Under Seal)(Related document(s) 372 )
                               (Swoopes, Roman) (Filed on 9/1/2011) (Entered: 09/01/2011)
            09/01/2011     380 Letter Brief re 377 Letter opposition to Google's request for leave to move to strike portions of the
                               Opening Expert Report of John C. Mitchell filed byOracle America, Inc.. (Related document(s) 377 )
                               (Jacobs, Michael) (Filed on 9/1/2011) (Entered: 09/01/2011)
            09/01/2011     381 ORDER APPROVING STIPULATION TO EXTEND DEADLINE FOR THREE DEPOSITIONS re
                               378 Stipulation filed by Oracle America, Inc.. Signed by Judge Alsup on September 1, 2011. (whalc1,
                               COURT STAFF) (Filed on 9/1/2011) (Entered: 09/01/2011)
            09/01/2011     382 ORDER GRANTING LEAVE TO FILE LIMITED MOTION TO STRIKE re 377 Letter filed by
                               Google Inc.. Signed by Judge Alsup on September 1, 2011. (whalc1, COURT STAFF) (Filed on
                               9/1/2011) (Entered: 09/01/2011)
            09/01/2011     383 Letter Brief requesting oral argument on Google's motion for summary judgment scheduled for
                               September 15, 2011 filed byOracle America, Inc.. (Jacobs, Michael) (Filed on 9/1/2011) (Entered:
                               09/01/2011)
            09/02/2011     384 ORDER REGARDING PRETRIAL FILINGS. Signed by Judge Alsup on September 2, 2011. (whalc1,
                               COURT STAFF) (Filed on 9/2/2011) (Entered: 09/02/2011)
            09/02/2011     385 ORDER SHORTENING BRIEFING SCHEDULE FOR MOTION TO STRIKE re 382 Order. Signed
                               by Judge Alsup on September 2, 2011. (whalc1, COURT STAFF) (Filed on 9/2/2011) (Entered:
                               09/02/2011)
            09/02/2011     386 ORDER REGARDING MEDIATION. Signed by Judge Alsup on September 2, 2011. (whalc1,
                               COURT STAFF) (Filed on 9/2/2011) (Entered: 09/02/2011)



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            09/02/2011     387 STIPULATION and [Proposed] Order Regarding Oracle America, Inc.'s First Affirmative Defense-
                               Assignor Estoppel by Google Inc.. (Kamber, Matthias) (Filed on 9/2/2011) (Entered: 09/02/2011)
            09/06/2011     388 ORDER PARTIALLY GRANTING AND PARTIALLY DENYING MOTION TO FILE REPLY
                               MATERIALS UNDER SEAL, Order by Hon. William Alsup granting in part and denying in part 372
                               Administrative Motion to File Under Seal.(whalc1, COURT STAFF) (Filed on 9/6/2011) (Entered:
                               09/06/2011)
            09/06/2011     389 STIPULATION AND ORDER RE ASSIGNOR ESTOPPEL re 387 Stipulation filed by Google Inc..
                               Signed by Judge Alsup on September 6, 2011. (whalc1, COURT STAFF) (Filed on 9/6/2011) (Entered:
                               09/06/2011)
            09/06/2011     390 DOCUMENT E-FILED UNDER SEAL re 388 Order on Administrative Motion to File Under Seal
                               Exhibit 3 to Reply Declaration of Owen Astrachan in Support of Defendant Google Inc.'s Motion for
                               Summary Judgment on Count VIII of Plaintiff Oracle America's Amended Complaint by Google Inc..
                               (Kwun, Michael) (Filed on 9/6/2011) (Entered: 09/06/2011)
            09/06/2011     391 EXHIBITS re 371 Declaration in Support, Exhibit 3 to Reply Declaration of Owen Astrachan in
                               Support of Defendant Google Inc.'s Motion for Summary Judgment on Count VIII of Plaintiff Oracle
                               America's Amended Complaint--Publicly Filed Version--Redacted filed byGoogle Inc.. (Related
                               document(s) 371 ) (Kwun, Michael) (Filed on 9/6/2011) (Entered: 09/06/2011)
            09/06/2011     392 OBJECTIONS to re 376 Order GOOGLE INC'S OBJECTIONS TO ORDER CLARIFYING ORDER
                               REGARDING JURY SELECTION by Google Inc.. (Van Nest, Robert) (Filed on 9/6/2011) (Entered:
                               09/06/2011)
            09/06/2011     393 Proposed Order RE RULE 706 EXPERTS by Google Inc.. (Purcell, Daniel) (Filed on 9/6/2011)
                               (Entered: 09/06/2011)
            09/06/2011     394 ORDER REGARDING PROPOSED ASSIGNMENT ORDER FOR RULE 706 EXPERT re 393
                               Proposed Order filed by Google Inc.. Signed by Judge Alsup on September 6, 2011. (whalc1, COURT
                               STAFF) (Filed on 9/6/2011) (Entered: 09/06/2011)
            09/06/2011     395 DOCUMENT E-FILED UNDER SEAL re 375 Order on Administrative Motion to File Under Seal
                               Exhibits 10, 14, 15, and 16 to the Declaration of Roman Swoopes in Support of Oracle's Opposition to
                               Google's Motion for Summary Judgment on Count VIII of Oracle's Amended Complaint by Oracle
                               America, Inc.. (Attachments: # 1 Exhibit 10, # 2 Exhibit 14, # 3 Exhibit 15, # 4 Exhibit 16)(Kuwayti,
                               Kenneth) (Filed on 9/6/2011) (Entered: 09/06/2011)
            09/06/2011     396 RESPONSE (re 260 MOTION for Summary Judgment on Count VIII of Plaintiff Oracle America's
                               Amended Complaint ) UNREDACTED VERSION filed byOracle America, Inc.. (Kuwayti, Kenneth)
                               (Filed on 9/6/2011) (Entered: 09/06/2011)
            09/06/2011     397 EXHIBITS re 341 Declaration in Support, Unredacted Versions of Exhibits 1 and 2 to the Declaration
                               of John C. Mitchell in Support of Oracle's Opposition to Google's Motion for Summary Judgment on
                               Count VIII of Oracle's Second Amended Complaint filed byOracle America, Inc.. (Attachments: # 1
                               Exhibit 2)(Related document(s) 341 ) (Kuwayti, Kenneth) (Filed on 9/6/2011) (Entered: 09/06/2011)
            09/06/2011     398 EXHIBITS re 343 Declaration in Opposition,, Unredacted Versions of Exhibits 1, 2, 3, 4, 5, 8, 9, 11,
                               12, and 13 to the Declaration of Roman A. Swoopes in Support of Oracle's Opposition to Google's
                               Motion for Summary Judgment on Count VIII of Oracle's Second Amended Complaint filed byOracle
                               America, Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, #
                               6 Exhibit 8, # 7 Exhibit 9, # 8 Exhibit 11, # 9 Exhibit 12, # 10 Exhibit 13; Locked by Court - to be
                               re-filed)(Related document(s) 343 ) (Kuwayti, Kenneth) (Filed on 9/6/2011) Modified on 9/12/2011
                               (wsn, COURT STAFF). (Entered: 09/06/2011)
            09/06/2011     399 NOTICE of Appearance by Rudolph Kim for Oracle (Kim, Rudolph) (Filed on 9/6/2011) (Entered:
                               09/06/2011)
            09/07/2011     400 ORDER OVERRULING OBJECTIONS TO JURY SELECTION PROCEDURE re 392 Objection
                               filed by Google Inc.. Signed by Judge Alsup on September 7, 2011. (whalc1, COURT STAFF) (Filed
                               on 9/7/2011) (Entered: 09/07/2011)
            09/07/2011     401 RESPONSE to re 386 Order ORACLES COMMENT ON ORDER REGARDING MEDIATION [Dkt.
                               386] by Oracle America, Inc.. (Jacobs, Michael) (Filed on 9/7/2011) (Entered: 09/07/2011)




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            09/07/2011     402 RESPONSE to re 386 Order Re Mediation by Google Inc.. (Sabnis, Cheryl) (Filed on 9/7/2011)
                               (Entered: 09/07/2011)
            09/07/2011     403 NOTICE of Appearance by John L. Cooper Regarding Counsel for Rule 706 Expert (Cooper, John)
                               (Filed on 9/7/2011) (Entered: 09/07/2011)
            09/07/2011     404 RESPONSE to re 386 Order Oracle's Supplemental Comment on Order regarding Mediation by Oracle
                               America, Inc.. (Jacobs, Michael) (Filed on 9/7/2011) (Entered: 09/07/2011)
            09/08/2011     405 ORDER OF REFERENCE TO MAGISTRATE JUDGE FOR MEDIATION. Signed by Judge Alsup on
                               September 8, 2011. (whalc1, COURT STAFF) (Filed on 9/8/2011) (Entered: 09/08/2011)
            09/08/2011     406 NOTICE of Appearance by Marc David Peters Notice of Appearance by Mark E. Ungerman (Peters,
                               Marc) (Filed on 9/8/2011) (Entered: 09/08/2011)
            09/08/2011          (Court only) CASE REFERRED to Magistrate Judge Paul Singh Grewal for Settlement, ***Set/Clear
                                Flags (lmh, COURT STAFF) (Filed on 9/8/2011) (Entered: 09/08/2011)
            09/08/2011     407 Proposed Order re 394 Order [PROPOSED] ORDER RE RULE 706 EXPERTS by Oracle America,
                               Inc.. (Holtzman, Steven) (Filed on 9/8/2011) (Entered: 09/08/2011)
            09/08/2011     408 *** STRICKEN PER DKT. NO. 412 . ***
                               MOTION for Relief from Nondispositive Pretrial Order of Magistrate Judge re 361 Order filed by
                               Google Inc.. Responses due by 9/22/2011. Replies due by 9/29/2011. (Attachments: # 1 Exhibit A, # 2
                               Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Proposed
                               Order)(Van Nest, Robert) (Filed on 9/8/2011) Modified on 9/9/2011 (whalc1, COURT STAFF).
                               (Entered: 09/08/2011)
            09/08/2011     409 MOTION for Summary Judgment Motion for Partial Summary Judgment and/or Summary
                               Adjudication Re: Google's Non-Liability Under 35 U.S.C. § 271(f) filed by Google Inc.. Motion
                               Hearing set for 10/13/2011 08:00 AM before Hon. William Alsup. Responses due by 9/22/2011.
                               Replies due by 9/29/2011. (Attachments: # 1 Declaration Declaration of Patrick Brady, # 2 Proposed
                               Order)(Van Nest, Robert) (Filed on 9/8/2011) (Entered: 09/08/2011)
            09/08/2011     410 MOTION to Strike Portions of the Mitchell Patent Report filed by Google Inc.. Motion Hearing set for
                               9/29/2011 08:00 AM in Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup. Responses
                               due by 9/15/2011. Replies due by 9/22/2011. (Attachments: # 1 Affidavit, # 2 Exhibit A, # 3 Exhibit B,
                               # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F)(Sabnis, Cheryl) (Filed on 9/8/2011)
                               (Entered: 09/08/2011)
            09/08/2011     411 Proposed Order Granting Defendant Google Inc.'s 410 Motion to Strike Portions of the Mitchell Patent
                               Report by Google Inc. (Sabnis, Cheryl) (Filed on 9/8/2011) Modified on 9/9/2011 (wsn, COURT
                               STAFF). (Entered: 09/08/2011)
            09/08/2011          (Court only) *** Attorney Mark Edward Ungerman for Oracle America, Inc. added. (wsn, COURT
                                STAFF) (Filed on 9/8/2011) (Entered: 09/09/2011)
            09/08/2011          (Court only) COMMENT: Documents received for in camera review re 408 MOTION for Relief from
                                Nondispositive Pretrial Order of Magistrate Judge. (wsn, COURT STAFF) (Filed on 9/8/2011)
                                (Entered: 09/09/2011)
            09/09/2011     412 ORDER STRIKING UNAUTHORIZED RULE 72 MOTION by Judge Alsup striking 408 Motion for
                               Relief from Nondispositive Pretrial Order of Magistrate Judge (whalc1, COURT STAFF) (Filed on
                               9/9/2011) (Entered: 09/09/2011)
            09/09/2011     413 ORDER SETTING ASSIGNMENT FOR RULE 706 EXPERT re 407 Proposed Order filed by Oracle
                               America, Inc.. Signed by Judge Alsup on September 9, 2011. (whalc1, COURT STAFF) (Filed on
                               9/9/2011) (Entered: 09/09/2011)
            09/09/2011     414 Minute Entry: Telephonic Pre-Settlement conference held. Court to issue scheduling order. (Date Filed:
                               9/9/2011). (Court Reporter FTR: (10:01 to 10:21.) (ofr, COURT STAFF) (Date Filed: 9/9/2011)
                               (Entered: 09/09/2011)
            09/09/2011     415 ***E-FILED IN ERROR. PLEASE SEE DOCKET 416 *** ORDER RE SETTLEMENT
                               CONFERENCE. Signed by Judge Paul S. Grewal on September 9, 2011. (psglc1S, COURT STAFF)
                               (Filed on 9/9/2011) Modified on 9/9/2011 (ofr, COURT STAFF). (Entered: 09/09/2011)



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            09/09/2011     416 ORDER RE: SETTLEMENT CONFERENCE: Pre-Conference Tutorial Hearing as to Oracle set for
                               9/14/2011 09:30 AM in Courtroom 5, 4th Floor, San Jose. Pre-Conference Tutorial Hearing as to
                               Google set for 9/14/2011 01:30 PM in Courtroom 5, 4th Floor, San Jose. Settlement Conference set for
                               9/19/2011 09:00 AM in Courtroom 5, 4th Floor, San Jose before Magistrate Judge Paul S. Grewal.
                               Signed by Judge Paul S. Grewal on 9/9/2011. (ofr, COURT STAFF) (Filed on 9/9/2011) (Entered:
                               09/09/2011)
            09/12/2011     417 CLERKS NOTICE Rescheduling Hearing. Motion for Summary Judgment set for 9/15/2011 8:00 AM.
                               (dt, COURT STAFF) (Filed on 9/12/2011) (Entered: 09/12/2011)
            09/12/2011          (Court only) Set/Reset Hearings: Motion Hearing set for 9/15/2011 08:00 AM in Courtroom 8, 19th
                                Floor, San Francisco before Hon. William Alsup. (dt, COURT STAFF) (Filed on 9/12/2011) (Entered:
                                09/12/2011)
            09/12/2011     418 Letter Brief from Robert Van Nest filed byGoogle Inc.. (Van Nest, Robert) (Filed on 9/12/2011)
                               (Entered: 09/12/2011)
            09/12/2011     419 Administrative Motion to File Under Seal RE: REQUEST FOR LEAVE TO FILE PORTIONS OF
                               DEPOSITION TRANSCRIPT filed by Oracle America, Inc.. (Swoopes, Roman) (Filed on 9/12/2011)
                               (Entered: 09/12/2011)
            09/12/2011     420 Letter from Michael A. Jacobs REQUEST FOR LEAVE TO FILE PORTIONS OF DEPOSITION
                               TRANSCRIPT. (Swoopes, Roman) (Filed on 9/12/2011) (Entered: 09/12/2011)
            09/13/2011     421 MOTION Request and [Proposed] Order Regarding Courtroom Equipment for September 15, 2011
                               Summary Judgment Hearing re 260 MOTION for Summary Judgment on Count VIII of Plaintiff
                               Oracle America's Amended Complaint filed by Oracle America, Inc.. Motion Hearing set for 9/15/2011
                               08:00 AM in Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup. Responses due by
                               8/19/2011. Replies due by 8/26/2011. (Swoopes, Roman) (Filed on 9/13/2011) (Entered: 09/13/2011)
            09/13/2011     422 ORDER GRANTING REQUEST TO USE EQUIPMENT AT SEPTEMBER 15 HEARING, Order by
                               Hon. William Alsup granting 421 Motion to Use Equipment.(whalc1, COURT STAFF) (Filed on
                               9/13/2011) (Entered: 09/13/2011)
            09/13/2011     423 CERTIFICATE OF SERVICE by Oracle America, Inc. (Swoopes, Roman) (Filed on 9/13/2011)
                               (Entered: 09/13/2011)
            09/13/2011     424 Letter from Michael S. Kwun in Opposition to Oracle's Request for Leave to File Portions of
                               Deposition Transcript. (Kwun, Michael) (Filed on 9/13/2011) (Entered: 09/13/2011)
            09/14/2011     425 ORDER DENYING PRECIS REQUESTS REGARDING SUPPLEMENTAL FILINGS re 420 Letter
                               filed by Oracle America, Inc., 424 Letter filed by Google Inc.. Signed by Judge Alsup on September
                               14, 2011. (whalc1, COURT STAFF) (Filed on 9/14/2011) (Entered: 09/14/2011)
            09/14/2011     426 Administrative Motion to File Under Seal re: Dkt. 398-10 filed by Oracle America, Inc.. (Swoopes,
                               Roman) (Filed on 9/14/2011) (Entered: 09/14/2011)
            09/14/2011     427 Administrative Motion to File Under Seal ORACLE AMERICA, INC.S ADMINISTRATIVE MOTION
                               TO FILE UNDER SEAL PORTIONS OF ORACLES RESPONSE PRECIS filed by Oracle America,
                               Inc.. (Norton, William) (Filed on 9/14/2011) (Entered: 09/14/2011)
            09/14/2011     428 EXHIBITS re 398 Exhibits,, 426 Administrative Motion to File Under Seal re: Dkt. 398-10 Revised
                               Exhibit 13 to the Declaration of Roman A. Swoopes in Support of Oracle's Opposition to Google's
                               Motion for Summary Judgment on Count VIII of Oracle's Second Amended Complaint filed byOracle
                               America, Inc.. (Related document(s) 398 , 426 ) (Swoopes, Roman) (Filed on 9/14/2011) (Entered:
                               09/14/2011)
            09/14/2011     429 Letter Norton Letter re Lindholm. (Norton, William) (Filed on 9/14/2011) (Entered: 09/14/2011)
            09/14/2011     430 ORDER GRANTING REQUEST TO FILE RULE 72 MOTION re 418 Letter Brief filed by Google
                               Inc.. Signed by Judge Alsup on September 14, 2011. (whalc1, COURT STAFF) (Filed on 9/14/2011)
                               (Entered: 09/14/2011)
            09/15/2011     431 DECLARATION of Michael S. Kwun in Opposition to 419 Administrative Motion to File Under Seal
                               RE: REQUEST FOR LEAVE TO FILE PORTIONS OF DEPOSITION TRANSCRIPT filed byGoogle
                               Inc.. (Related document(s) 419 ) (Kwun, Michael) (Filed on 9/15/2011) (Entered: 09/15/2011)



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            09/15/2011     432 STIPULATION AND [PROPOSED] ORDER TO EXTEND THE NON-DAMAGES EXPERT
                               DISCOVERY CUT-OFF FOR THE DEPOSITION OF DAVID AUGUST by Oracle America, Inc..
                               (Muino, Daniel) (Filed on 9/15/2011) (Entered: 09/15/2011)
            09/15/2011     433 ORDER PARTIALLY GRANTING AND PARTIALLY DENYING DEFENDANT'S MOTION FOR
                               SUMMARY JUDGMENT ON COPYRIGHT CLAIM by Judge Alsup granting in part and denying in
                               part 260 Motion for Summary Judgment (whalc1, COURT STAFF) (Filed on 9/15/2011) (Entered:
                               09/15/2011)
            09/15/2011     434 Minute Entry: Motion Hearing held on 9/15/2011 before William Alsup (Date Filed: 9/15/2011) re 260
                               MOTION for Summary Judgment on Count VIII of Plaintiff Oracle America's Amended Complaint
                               filed by Google Inc.. (Court Reporter Kathy Wyatt.) (dt, COURT STAFF) (Date Filed: 9/15/2011)
                               (Entered: 09/15/2011)
            09/15/2011     435 RESPONSE (re 410 MOTION to Strike Portions of the Mitchell Patent Report ) Oracle Opposition To
                               Motion To Strike Portions of Mitchell Report filed byOracle America, Inc.. (Peters, Marc) (Filed on
                               9/15/2011) (Entered: 09/15/2011)
            09/15/2011     436 DECLARATION of Marc David Peters in Opposition to 435 Opposition/Response to Motion filed
                               byOracle America, Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                               Exhibit 5, # 6 Exhibit 6)(Related document(s) 435 ) (Peters, Marc) (Filed on 9/15/2011) (Entered:
                               09/15/2011)
            09/16/2011     437 ORDER GRANTING STIPULATED REQUEST TO EXTEND DISCOVERY CUT-OFF FOR
                               DEPOSITION OF DAVID AUGUST re 432 Stipulation filed by Oracle America, Inc.. Signed by
                               Judge Alsup on September 16, 2011. (whalc1, COURT STAFF) (Filed on 9/16/2011) (Entered:
                               09/16/2011)
            09/16/2011     438 ORDER DENYING MOTION TO FILE PRECIS UNDER SEAL, Order by Hon. William Alsup
                               denying 419 Administrative Motion to File Under Seal.(whalc1, COURT STAFF) (Filed on 9/16/2011)
                               (Entered: 09/16/2011)
            09/16/2011     439 Letter from Michael A. Jacobs REQUEST FOR LEAVE TO FILE PORTIONS OF DEPOSITION
                               TRANSCRIPT (unredacted pursuant to Order--Dkt. 438). (Swoopes, Roman) (Filed on 9/16/2011)
                               (Entered: 09/16/2011)
            09/19/2011     440 CLERK'S NOTICE Retrieval of Submitted Documents. In accordance with Civil L.R. 79-5(e), the
                               submitting party is hereby notified to retrieve lodged documents within three days of this notice:
                               Unredacted version of prcis requesting leave to file excerpts of the Astrachan deposition. (wsn,
                               COURT STAFF) (Filed on 9/19/2011) (Entered: 09/19/2011)
            09/19/2011     441 MOTION For Relief From Nondispositive Pretrial Order of Magistrate Judge filed by Google Inc..
                               Motion Hearing set for 10/13/2011 08:00 AM in Courtroom 9, 19th Floor, San Francisco before Hon.
                               William Alsup. Responses due by 9/26/2011. Replies due by 9/29/2011. (Attachments: # 1 Exhibit A, #
                               2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Van Nest, Robert) (Filed on 9/19/2011)
                               (Entered: 09/19/2011)
            09/19/2011     442 Proposed Order re 441 MOTION For Relief From Nondispositive Pretrial Order of Magistrate Judge
                               by Google Inc.. (Van Nest, Robert) (Filed on 9/19/2011) (Entered: 09/19/2011)
            09/19/2011     443 Declaration of Daniel Purcell in Support of 427 Administrative Motion to File Under Seal ORACLE
                               AMERICA, INC.S ADMINISTRATIVE MOTION TO FILE UNDER SEAL PORTIONS OF ORACLES
                               RESPONSE PRECIS filed byGoogle Inc.. (Related document(s) 427 ) (Van Nest, Robert) (Filed on
                               9/19/2011) (Entered: 09/19/2011)
            09/19/2011     444 Proposed Order re 443 Declaration in Support, of Oracle America, Inc.'s Administrative Motion to File
                               Under Seal Portions of Oracle's Response Precis by Google Inc.. (Van Nest, Robert) (Filed on
                               9/19/2011) (Entered: 09/19/2011)
            09/19/2011     445 Transcript of Proceedings held on 9-15-11, before Judge William Alsup. Court Reporter/Transcriber
                               Katherine Wyatt, Telephone number 925-212-5224. Per General Order No. 59 and Judicial Conference
                               policy, this transcript may be viewed only at the Clerks Office public terminal or may be purchased
                               through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                               Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request
                               Redaction, if required, is due no later than 5 business days from date of this filing. Release of



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                                Transcript Restriction set for 12/19/2011. (kpw, COURT STAFF) (Filed on 9/19/2011) (Entered:
                                09/19/2011)
            09/19/2011     446 Minute Entry: Settlement Conference held. (Date Filed: 9/19/2011). (ofr, COURT STAFF) (Date Filed:
                               9/19/2011) (Entered: 09/19/2011)
            09/19/2011          (Court only) Set/Reset Hearings: Settlement Conference set for 9/21/2011 09:00 AM in Courtroom 5,
                                4th Floor, San Jose before Magistrate Judge Paul S. Grewal. (ofr, COURT STAFF) (Filed on
                                9/19/2011) (Entered: 09/19/2011)
            09/19/2011     447 REPLY (re 410 MOTION to Strike Portions of the Mitchell Patent Report ) filed byGoogle Inc..
                               (Attachments: # 1 Affidavit Declaration, # 2 Exhibit Ex. G)(Sabnis, Cheryl) (Filed on 9/19/2011)
                               (Entered: 09/19/2011)
            09/20/2011     448 DECLARATION of Luis Villa, IV In Response in Opposition to 426 Administrative Motion to File
                               Under Seal re: Dkt. 398-10 filed byGoogle Inc.. (Attachments: # 1 Proposed Order Granting Motion to
                               File Redacted Materials)(Related document(s) 426 ) (Villa, Luis) (Filed on 9/20/2011) (Entered:
                               09/20/2011)
            09/20/2011     449 Letter from Robert Van Nest. (Van Nest, Robert) (Filed on 9/20/2011) (Entered: 09/20/2011)
            09/20/2011     450 Letter from Robert Van Nest. (Van Nest, Robert) (Filed on 9/20/2011) (Entered: 09/20/2011)
            09/21/2011     451 Minute Entry: Further Settlement Conference held. Lead counsel shall contact the courtroom deputy to
                               the undersigned to schedule a call tomorrow regarding when further discussions will take place and
                               whether the further attendance of Mr. Ellison and Mr. Page will be required. (Date Filed: 9/21/2011).
                               (ofr, COURT STAFF) (Date Filed: 9/21/2011) (Entered: 09/21/2011)
            09/22/2011     452 Letter from Steven C. Holtzman Oracle's Response to Google's Letter Precis. (Holtzman, Steven)
                               (Filed on 9/22/2011) (Entered: 09/22/2011)
            09/22/2011     453 Letter from Alanna Rutherford Oracle's Response to Google's Letter Precis. (Rutherford, Alanna)
                               (Filed on 9/22/2011) (Entered: 09/22/2011)
            09/22/2011     454 NOTICE of Appearance by Yuka Teraguchi (Teraguchi, Yuka) (Filed on 9/22/2011) (Entered:
                               09/22/2011)
            09/22/2011     455 RESPONSE (re 409 MOTION for Summary Judgment Motion for Partial Summary Judgment and/or
                               Summary Adjudication Re: Google's Non-Liability Under 35 U.S.C. § 271(f)) (Statement of
                               Non-Opposition) filed by Oracle America, Inc. (Attachments: # 1 Proposed Order)(Kuwayti, Kenneth)
                               (Filed on 9/22/2011) Modified on 9/23/2011 (wsn, COURT STAFF). (Entered: 09/22/2011)
            09/23/2011     456 ORDER REQUESTING SUBMISSION OF REVISED DAMAGES REPORT re 450 Letter filed by
                               Google Inc.. Signed by Judge Alsup on September 23, 2011. (whalc1, COURT STAFF) (Filed on
                               9/23/2011) (Entered: 09/23/2011)
            09/23/2011     457 ORDER SETTING FURTHER SETTLEMENT CONFERENCE. Signed by Judge Paul S. Grewal on
                               9/23/2011. (ofr, COURT STAFF) (Filed on 9/23/2011) (Entered: 09/23/2011)
            09/26/2011     458 ORDER REQUESTING CASE MANAGEMENT STATEMENTS. Signed by Judge Alsup on
                               September 26, 2011. (whalc1, COURT STAFF) (Filed on 9/26/2011) (Entered: 09/26/2011)
            09/26/2011     459 ORDER GRANTING MOTION TO FILE EXHIBIT UNDER SEAL, Order by Hon. William Alsup
                               granting 426 Administrative Motion to File Under Seal.(whalc1, COURT STAFF) (Filed on 9/26/2011)
                               (Entered: 09/26/2011)
            09/26/2011     460 ORDER GRANTING LEAVE TO FILE RESPONSE UNDER SEAL, Order by Hon. William Alsup
                               granting 427 Administrative Motion to File Under Seal.(whalc1, COURT STAFF) (Filed on 9/26/2011)
                               (Entered: 09/26/2011)
            09/26/2011     461 ORDER GRANTING UNOPPOSED MOTION FOR PARTIAL SUMMARY JUDGMENT
                               REGARDING 35 U.S.C. 271(f) THEORY, Order by Hon. William Alsup granting 409 Motion for
                               Summary Judgment.(whalc1, COURT STAFF) (Filed on 9/26/2011) (Entered: 09/26/2011)
            09/26/2011     462 ORDER DENYING PRECIS REQUEST PENDING MEET-AND-CONFER SESSION re 449 Letter
                               filed by Google Inc.. Signed by Judge Alsup on September 26, 2011. (whalc1, COURT STAFF) (Filed
                               on 9/26/2011) (Entered: 09/26/2011)



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            09/26/2011     463 Letter from Steven C. Holtzman. (Holtzman, Steven) (Filed on 9/26/2011) (Entered: 09/26/2011)
            09/26/2011     464 ORDER PARTIALLY GRANTING AND PARTIALLY DENYING MOTION TO STRIKE
                               PORTIONS OF MITCHELL REPORT AND VACATING HEARING, Order by Hon. William Alsup
                               granting in part and denying in part 410 Motion to Strike.(whalc1, COURT STAFF) (Filed on
                               9/26/2011) (Entered: 09/26/2011)
            09/26/2011     465 ORDER RESCHEDULING SETTLEMENT CONFERENCE: 10/1/11 Further Settlement Conference
                               rescheduled for 9/30/2011 at 09:00 AM in Courtroom 5, 4th Floor, San Jose before Magistrate Judge
                               Paul S. Grewal. Signed by Judge Paul S. Grewal on 9/26/2011. (ofr, COURT STAFF) (Filed on
                               9/26/2011) (Entered: 09/26/2011)
            09/26/2011     466 Administrative Motion to File Under Seal ORACLE AMERICA, INC.S ADMINISTRATIVE MOTION
                               TO FILE UNDER SEAL PORTIONS OF PLAINTIFFS OPPOSITION TO DEFENDANTS 441
                               MOTION FOR RELIEF FROM NON-DISPOSITIVE ORDER OF MAGISTRATE JUDGE filed by
                               Oracle America, Inc. (Norton, William) (Filed on 9/26/2011) Modified on 9/27/2011 (wsn, COURT
                               STAFF). (Entered: 09/26/2011)
            09/26/2011     467 RESPONSE (re 441 MOTION For Relief From Nondispositive Pretrial Order of Magistrate Judge )
                               PLAINTIFFS OPPOSITION TO DEFENDANTS MOTION FOR RELIEF FROM NON-DISPOSITIVE
                               ORDER OF MAGISTRATE JUDGE [REDACTED] filed byOracle America, Inc.. (Norton, William)
                               (Filed on 9/26/2011) (Entered: 09/26/2011)
            09/26/2011     468 DOCUMENT E-FILED UNDER SEAL re 459 Order on Administrative Motion to File Under Seal
                               Exhibit 13 to Swoopes Declaration in Support of Oracle's Opposition to Google's Motion for Summary
                               Judgment on Count VIII of Second Amended Complaint by Oracle America, Inc.. (Swoopes, Roman)
                               (Filed on 9/26/2011) (Entered: 09/26/2011)
            09/26/2011     469 Letter from Robert Van Nest in Response to Holtzman Letter re Daubert. (Van Nest, Robert) (Filed on
                               9/26/2011) (Entered: 09/26/2011)
            09/27/2011     470 ORDER REGARDING PRECIS REQUEST TO FILE DAUBERT MOTION CONCERNING
                               SECOND DAMAGES REPORT re 450 Letter filed by Google Inc.. Signed by Judge Alsup on
                               September 27, 2011. (whalc1, COURT STAFF) (Filed on 9/27/2011) (Entered: 09/27/2011)
            09/29/2011     471 CASE MANAGEMENT STATEMENT (Oracle Case Management Statement Re Selecting Claims for
                               Trial) filed by Oracle America, Inc.. (Jacobs, Michael) (Filed on 9/29/2011) (Entered: 09/29/2011)
            09/29/2011     472 REPLY (re 441 MOTION For Relief From Nondispositive Pretrial Order of Magistrate Judge ) filed
                               byGoogle Inc.. (Van Nest, Robert) (Filed on 9/29/2011) (Entered: 09/29/2011)
            09/29/2011     473 Second MOTION to Strike Portions of the Mitchell Patent Report filed by Google Inc.. Motion
                               Hearing set for 10/13/2011 08:00 AM in Courtroom 8, 19th Floor, San Francisco before Hon. William
                               Alsup. Responses due by 10/4/2011. Replies due by 10/6/2011. (Attachments: # 1 Declaration Banner
                               Decl., # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Proposed Order
                               Proposed Order)(Sabnis, Cheryl) (Filed on 9/29/2011) (Entered: 09/29/2011)
            09/30/2011     474 Minute Entry: Further Settlement Conference held. Further settlement discussions to be scheduled.
                               (Date Filed: 9/30/2011). (ofr, COURT STAFF) (Date Filed: 9/30/2011) (Entered: 09/30/2011)
            10/03/2011     475 CASE MANAGEMENT STATEMENT Google's Response to the Court's Order Requesting Case
                               Management Statements filed by Google Inc.. (Van Nest, Robert) (Filed on 10/3/2011) (Entered:
                               10/03/2011)
            10/03/2011     476 Declaration of Daniel Purcell in Support of 466 Administrative Motion to File Under Seal ORACLE
                               AMERICA, INC.S ADMINISTRATIVE MOTION TO FILE UNDER SEAL PORTIONS OF
                               PLAINTIFFS OPPOSITION TO DEFENDANTS MOTION FOR RELIEF FROM NON-DISPOSITIVE
                               ORDER OF MAGISTRATE JUDGE filed byGoogle Inc.. (Attachments: # 1 Proposed Order)(Related
                               document(s) 466 ) (Purcell, Daniel) (Filed on 10/3/2011) (Entered: 10/03/2011)
            10/03/2011     477 ORDER GRANTING MOTION TO FILE OPPOSITION BRIEF UNDER SEAL, Order by Hon.
                               William Alsup granting 466 Administrative Motion to File Under Seal.(whalc1, COURT STAFF)
                               (Filed on 10/3/2011) (Entered: 10/03/2011)
            10/03/2011     478 DOCUMENT E-FILED UNDER SEAL re 477 Order on Administrative Motion to File Under Seal
                               PLAINTIFFS OPPOSITION TO DEFENDANTS MOTION FOR RELIEF FROM NON-DISPOSITIVE



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                                 ORDER OF MAGISTRATE JUDGE by Oracle America, Inc.. (Norton, William) (Filed on 10/3/2011)
                                 (Entered: 10/03/2011)
            10/03/2011     479 Letter from Michael A. Jacobs Oracle Precis Requesting Leave to file Motion for Reconsideration of
                               Order Striking Android Devices. (Jacobs, Michael) (Filed on 10/3/2011) (Entered: 10/03/2011)
            10/04/2011     480 CASE MANAGEMENT STATEMENT Google's Response to the Court's Order Regarding
                               Reexamination, Stay, and Time for Trial filed by Google Inc.. (Banner, Brian) (Filed on 10/4/2011)
                               (Entered: 10/04/2011)
            10/04/2011     481 CASE MANAGEMENT STATEMENT Oracle's Response to the Court's Order Regarding
                               Reexamination, Stay, and Time for Trial filed by Oracle America, Inc.. (Jacobs, Michael) (Filed on
                               10/4/2011) (Entered: 10/04/2011)
            10/04/2011     482 RESPONSE (re 473 Second MOTION to Strike Portions of the Mitchell Patent Report ) filed byOracle
                               America, Inc.. (Attachments: # 1 Affidavit Peters Declaration, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit
                               C)(Jacobs, Michael) (Filed on 10/4/2011) (Entered: 10/04/2011)
            10/05/2011     483 NOTICE RE FINAL PRETRIAL CONFERENCE. Signed by Judge Alsup on October 5, 2011.
                               (whalc1, COURT STAFF) (Filed on 10/5/2011) (Entered: 10/05/2011)
            10/05/2011           (Court only) Set/Reset Hearings: Pretrial Conference set for 10/24/2011 02:00 PM in Courtroom 9,
                                 19th Floor, San Francisco before Hon. William Alsup. (whalc1, COURT STAFF) (Filed on 10/5/2011)
                                 (Entered: 10/05/2011)
            10/05/2011     484 ORDER REGARDING ATTENDANCE AT FINAL PRETRIAL CONFERENCE. Signed by Judge
                               Alsup on October 5, 2011. (whalc1, COURT STAFF) (Filed on 10/5/2011) (Entered: 10/05/2011)
            10/05/2011     485 Letter from Scott T. Weingaertner in Opposition to Oracle's Precis letter for leave to file a motion for
                               reconsideration or supplement its infringement contentions. (Sabnis, Cheryl) (Filed on 10/5/2011)
                               (Entered: 10/05/2011)
            10/05/2011     486 ORDER DENYING PRECIS REQUEST re 479 Letter filed by Oracle America, Inc.. Signed by Judge
                               Alsup on October 5, 2011. (whalc1, COURT STAFF) (Filed on 10/5/2011) (Entered: 10/05/2011)
            10/05/2011     487 STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME TO FILE CERTAIN PRE-TRIAL
                               MATERIALS by Google Inc.. (Kamber, Matthias) (Filed on 10/5/2011) (Entered: 10/05/2011)
            10/06/2011     488 ORDER APPROVING STIPULATION TO EXTEND TIME TO FILE CERTAIN PRE-TRIAL
                               MATERIALS re 487 Stipulation filed by Google Inc.. Signed by Judge Alsup on October 6, 2011.
                               (whalc1, COURT STAFF) (Filed on 10/6/2011) (Entered: 10/06/2011)
            10/06/2011     489 REPLY (re 473 Second MOTION to Strike Portions of the Mitchell Patent Report ) filed byGoogle
                               Inc.. (Attachments: # 1 Declaration Banner Decl, # 2 Exhibit F)(Francis, Mark) (Filed on 10/6/2011)
                               (Entered: 10/06/2011)
            10/07/2011     490 CLERKS NOTICE Rescheduling Hearing Time. Motions set for 10/13/2011 2:00 PM. (dt, COURT
                               STAFF) (Filed on 10/7/2011) (Entered: 10/07/2011)
            10/07/2011           Set/Reset Deadlines as to 441 MOTION For Relief From Nondispositive Pretrial Order of Magistrate
                                 Judge, 473 Second MOTION to Strike Portions of the Mitchell Patent Report. Motion Hearing set for
                                 10/13/2011 02:00 PM in Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup. (dt,
                                 COURT STAFF) (Filed on 10/7/2011) (Entered: 10/07/2011)
            10/07/2011     491 Witness List by Oracle America, Inc.. (Attachments: # 1 Appendix A (Oracle's Witness List), # 2
                               Appendix B (Google's Witness List))(Muino, Daniel) (Filed on 10/7/2011) (Entered: 10/07/2011)
            10/07/2011     492 MOTION in Limine No. 1 filed by Google Inc.. Responses due by 10/21/2011. Replies due by
                               10/28/2011. (Attachments: # 1 Oracle Opposition)(Kamber, Matthias) (Filed on 10/7/2011) (Entered:
                               10/07/2011)
            10/07/2011     493 MOTION in Limine NO. 2 filed by Google Inc.. Responses due by 10/21/2011. Replies due by
                               10/28/2011. (Attachments: # 1 Oracle Opposition)(Kamber, Matthias) (Filed on 10/7/2011) (Entered:
                               10/07/2011)
            10/07/2011     494 MOTION in Limine No. 3 filed by Google Inc.. Responses due by 10/21/2011. Replies due by
                               10/28/2011. (Attachments: # 1 Oracle Opposition)(Kamber, Matthias) (Filed on 10/7/2011) (Entered:



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                                 10/07/2011)
            10/07/2011     495 MOTION in Limine No. 4 filed by Google Inc.. Responses due by 10/21/2011. Replies due by
                               10/28/2011. (Attachments: # 1 Oracle Opposition)(Kamber, Matthias) (Filed on 10/7/2011) (Entered:
                               10/07/2011)
            10/07/2011     496 MOTION in Limine No. 5 filed by Google Inc.. Responses due by 10/21/2011. Replies due by
                               10/28/2011. (Attachments: # 1 Oracle Opposition)(Kamber, Matthias) (Filed on 10/7/2011) (Entered:
                               10/07/2011)
            10/07/2011     497 Declaration of DANIEL PURCELL in Support of 496 MOTION in Limine No. 5, 494 MOTION in
                               Limine No. 3, 492 MOTION in Limine No. 1, 493 MOTION in Limine NO. 2, 495 MOTION in
                               Limine No. 4 filed byGoogle Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit
                               4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit
                               11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17,
                               # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, #
                               24 Exhibit 24, # 25 Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30
                               Exhibit 30, # 31 Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, # 35 Exhibit 35, # 36
                               Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38, # 39 Exhibit 39, # 40 Exhibit 40)(Related document(s)
                               496 , 494 , 492 , 493 , 495 ) (Kamber, Matthias) (Filed on 10/7/2011) (Entered: 10/07/2011)
            10/07/2011     498 First MOTION in Limine to Exclude Evidence or Argument Regarding Patent Reexaminations (MIL
                               No. 1) filed by Oracle America, Inc.. Motion Hearing set for 10/24/2011 02:00 PM in Courtroom 8,
                               19th Floor, San Francisco before Hon. William Alsup. Responses due by 10/21/2011. Replies due by
                               10/28/2011. (Attachments: # 1 Google Opposition)(Muino, Daniel) (Filed on 10/7/2011) (Entered:
                               10/07/2011)
            10/07/2011     499 Second MOTION in Limine to Exclude Evidence or Argument That Google Relied on Legal Advice in
                               Making Its Decisions to Develop and Release Android (MIL No. 2) filed by Oracle America, Inc..
                               Motion Hearing set for 10/24/2011 02:00 PM in Courtroom 8, 19th Floor, San Francisco before Hon.
                               William Alsup. Responses due by 10/21/2011. Replies due by 10/28/2011. (Attachments: # 1 Google
                               Opposition)(Muino, Daniel) (Filed on 10/7/2011) (Entered: 10/07/2011)
            10/07/2011     500 Third MOTION in Limine to Preclude Google from Offering Evidence or Argument That Third-Party
                               OEMs Changed Infringing Components of Android (MIL No. 3) filed by Oracle America, Inc.. Motion
                               Hearing set for 10/24/2011 02:00 PM in Courtroom 8, 19th Floor, San Francisco before Hon. William
                               Alsup. Responses due by 10/21/2011. Replies due by 10/28/2011. (Attachments: # 1 Google
                               Opposition)(Muino, Daniel) (Filed on 10/7/2011) (Entered: 10/07/2011)
            10/07/2011     501 Fourth MOTION in Limine to Exclude Evidence or Argument Regarding Oracle's Past Actions With
                               Application Programming Interfaces (MIL No. 4) filed by Oracle America, Inc.. Motion Hearing set for
                               10/24/2011 02:00 PM in Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup.
                               Responses due by 10/21/2011. Replies due by 10/28/2011. (Attachments: # 1 Google Opposition)
                               (Muino, Daniel) (Filed on 10/7/2011) (Entered: 10/07/2011)
            10/07/2011     502 Fifth MOTION in Limine to Exclude Evidence and Argument Contrary to Statements in Tim
                               Lindholm's August 6, 2010 Email (MIL No. 5) filed by Oracle America, Inc.. Motion Hearing set for
                               10/24/2011 02:00 PM in Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup.
                               Responses due by 10/21/2011. Replies due by 10/28/2011. (Attachments: # 1 Google Opposition)
                               (Muino, Daniel) (Filed on 10/7/2011) (Entered: 10/07/2011)
            10/07/2011     503 Declaration of Daniel P. Muino in Support of 498 First MOTION in Limine to Exclude Evidence or
                               Argument Regarding Patent Reexaminations (MIL No. 1)First MOTION in Limine to Exclude
                               Evidence or Argument Regarding Patent Reexaminations (MIL No. 1), 500 Third MOTION in Limine
                               to Preclude Google from Offering Evidence or Argument That Third-Party OEMs Changed Infringing
                               Components of Android (MIL No. 3)Third MOTION in Limine to Preclude Google from Offering
                               Evidence or Argument That Third-Party OEMs Changed Infringing Components of Android (MIL No.
                               3), 501 Fourth MOTION in Limine to Exclude Evidence or Argument Regarding Oracle's Past Actions
                               With Application Programming Interfaces (MIL No. 4)Fourth MOTION in Limine to Exclude Evidence
                               or Argument Regarding Oracle's Past Actions With Application Programming Interfaces (MIL No. 4),
                               502 Fifth MOTION in Limine to Exclude Evidence and Argument Contrary to Statements in Tim
                               Lindholm's August 6, 2010 Email (MIL No. 5)Fifth MOTION in Limine to Exclude Evidence and
                               Argument Contrary to Statements in Tim Lindholm's August 6, 2010 Email (MIL No. 5), 499 Second



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                                 MOTION in Limine to Exclude Evidence or Argument That Google Relied on Legal Advice in Making
                                 Its Decisions to Develop and Release Android (MIL No. 2)Second MOTION in Limine to Exclude
                                 Evidence or Argument That Google Relied on Legal Advice in Making Its Decisions to Develop and
                                 Release Android (MIL No. 2) (Exhibits A through F) filed byOracle America, Inc.. (Attachments: # 1
                                 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F)(Related
                                 document(s) 498 , 500 , 501 , 502 , 499 ) (Muino, Daniel) (Filed on 10/7/2011) (Entered: 10/07/2011)
            10/07/2011     504 EXHIBITS re 503 Declaration in Support, (Exhibits G through K) filed by Oracle America, Inc..
                               (Attachments: # 1 Exhibit H, # 2 Exhibit I, # 3 Exhibit J, # 4 Exhibit K)(Related document(s) 503 )
                               (Muino, Daniel) (Filed on 10/7/2011) Modified on 10/11/2011 (wsn, COURT STAFF). (Entered:
                               10/07/2011)
            10/07/2011     505 EXHIBITS re 503 Declaration in Support, (Exhibits L through R) filed by Oracle America, Inc.
                               (Attachments: # 1 Exhibit M, # 2 Exhibit N, # 3 Exhibit O, # 4 Exhibit P, # 5 Exhibit Q, # 6 Exhibit
                               R)(Related document(s) 503 ) (Muino, Daniel) (Filed on 10/7/2011) Modified on 10/11/2011 (wsn,
                               COURT STAFF). (Entered: 10/07/2011)
            10/07/2011     506 DECLARATION of Reid Mullen in Opposition to 498 First MOTION in Limine to Exclude Evidence
                               or Argument Regarding Patent Reexaminations (MIL No. 1)First MOTION in Limine to Exclude
                               Evidence or Argument Regarding Patent Reexaminations (MIL No. 1), 500 Third MOTION in Limine
                               to Preclude Google from Offering Evidence or Argument That Third-Party OEMs Changed Infringing
                               Components of Android (MIL No. 3)Third MOTION in Limine to Preclude Google from Offering
                               Evidence or Argument That Third-Party OEMs Changed Infringing Components of Android (MIL No.
                               3), 501 Fourth MOTION in Limine to Exclude Evidence or Argument Regarding Oracle's Past Actions
                               With Application Programming Interfaces (MIL No. 4)Fourth MOTION in Limine to Exclude Evidence
                               or Argument Regarding Oracle's Past Actions With Application Programming Interfaces (MIL No. 4),
                               502 Fifth MOTION in Limine to Exclude Evidence and Argument Contrary to Statements in Tim
                               Lindholm's August 6, 2010 Email (MIL No. 5)Fifth MOTION in Limine to Exclude Evidence and
                               Argument Contrary to Statements in Tim Lindholm's August 6, 2010 Email (MIL No. 5), 499 Second
                               MOTION in Limine to Exclude Evidence or Argument That Google Relied on Legal Advice in Making
                               Its Decisions to Develop and Release Android (MIL No. 2)Second MOTION in Limine to Exclude
                               Evidence or Argument That Google Relied on Legal Advice in Making Its Decisions to Develop and
                               Release Android (MIL No. 2) (Mullen Declaration in Support of Google's Oppositions to Oracle's
                               MILs 1-5) filed byOracle America, Inc.. (Related document(s) 498 , 500 , 501 , 502 , 499 ) (Muino,
                               Daniel) (Filed on 10/7/2011) (Entered: 10/07/2011)
            10/07/2011     507 Joint Administrative Motion to File Under Seal filed by Oracle America, Inc.. (Attachments: # 1
                               Declaration of Daniel P. Muino, # 2 Proposed Order Granting Plaintiff's Request to File Documents
                               Under Seal, # 3 Proposed Order Granting Defendant's Request to File Documents Under Seal, # 4
                               Proposed Order Granting Motorola's Request to File Documents Under Seal)(Muino, Daniel) (Filed on
                               10/7/2011) (Entered: 10/07/2011)
            10/07/2011     508 Exhibit List Joint Trial Exhibit LIst by Oracle America, Inc... (Muino, Daniel) (Filed on 10/7/2011)
                               (Entered: 10/08/2011)
            10/07/2011     509 DECLARATION of RUCHIKA AGRAWAL in Opposition to 496 MOTION in Limine No. 5, 494
                               MOTION in Limine No. 3, 492 MOTION in Limine No. 1, 493 MOTION in Limine NO. 2, 495
                               MOTION in Limine No. 4 filed byGoogle Inc.. (Attachments: # 1 Exhibit 1-1, # 2 Exhibit 1-2, # 3
                               Exhibit 1-3, # 4 Exhibit 1-4, # 5 Exhibit 1-5, # 6 Exhibit 1-6, # 7 Exhibit 1-7, # 8 Exhibit 1-8, # 9
                               Exhibit 1-9, # 10 Exhibit 1-10, # 11 Exhibit 1-11, # 12 Exhibit 1-12, # 13 Exhibit 2-1, # 14 Exhibit 2-2,
                               # 15 Exhibit 2-3, # 16 Exhibit 2-4, # 17 Exhibit 2-5, # 18 Exhibit 2-6, # 19 Exhibit 2-7, # 20 Exhibit
                               2-8, # 21 Exhibit 2-9, # 22 Exhibit 2-10, # 23 Exhibit 2-11, # 24 Exhibit 2-12, # 25 Exhibit 2-13, # 26
                               Exhibit 2-14, # 27 Exhibit 2-15, # 28 Exhibit 2-16, # 29 Exhibit 2-17, # 30 Exhibit 3-1, # 31 Exhibit
                               3-2, # 32 Exhibit 3-3, # 33 Exhibit 3-4, # 34 Exhibit 3-5, # 35 Exhibit 3-6, # 36 Exhibit 3-7, # 37
                               Exhibit 3-8, # 38 Exhibit 3-9, # 39 Exhibit 3-10, # 40 Exhibit 3-11, # 41 Exhibit 4-1, # 42 Exhibit 4-2,
                               # 43 Exhibit 4-3, # 44 Exhibit 5-1, # 45 Exhibit 5-2, # 46 Exhibit 5-3, # 47 Supplement 5-4)(Related
                               document(s) 496 , 494 , 492 , 493 , 495 ) (Kamber, Matthias) (Filed on 10/7/2011) (Entered:
                               10/08/2011)
            10/08/2011     510 Declaration of REID MULLEN in Support of 507 Joint Administrative Motion to File Under Seal filed
                               byGoogle Inc.. (Related document(s) 507 ) (Kamber, Matthias) (Filed on 10/8/2011) (Entered:
                               10/08/2011)



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            10/10/2011     511 Letter from Steven C. Holtzman Precis re Daubert Motions. (Holtzman, Steven) (Filed on 10/10/2011)
                               (Entered: 10/10/2011)
            10/11/2011     512 ORDER PARTIALLY GRANTING AND PARTIALLY DENYING SECOND MOTION TO STRIKE
                               PORTIONS OF MITCHELL REPORT AND VACATING HEARING by Judge Alsup granting in part
                               and denying in part 473 Motion to Strike (whalc1, COURT STAFF) (Filed on 10/11/2011) (Entered:
                               10/11/2011)
            10/11/2011     513 MOTION to Retain Confidentiality Designations filed by Google Inc.. Motion Hearing set for
                               11/17/2011 08:00 AM in Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup.
                               Responses due by 10/25/2011. Replies due by 11/1/2011. (Attachments: # 1 Proposed Order)(Van Nest,
                               Robert) (Filed on 10/11/2011) (Entered: 10/11/2011)
            10/11/2011     514 Declaration of Mark Francis in Support of 513 MOTION to Retain Confidentiality Designations filed
                               byGoogle Inc.. (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit B)(Related document(s) 513 ) (Van
                               Nest, Robert) (Filed on 10/11/2011) (Entered: 10/11/2011)
            10/11/2011     515 *** FILED IN ERROR. PLEASE SEE DOCKET # 516 ***

                                STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME TO FILE JURY INSTRUCTIONS,
                                VERDICT FORMS, AND TRIAL BRIEFS by Oracle America, Inc.. (Norton, William) (Filed on
                                10/11/2011) Modified on 10/12/2011 (wsn, COURT STAFF). (Entered: 10/11/2011)
            10/12/2011     516 STIPULATION STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME TO FILE JURY
                               INSTRUCTIONS, VERDICT FORMS, AND TRIAL BRIEFS by Oracle America, Inc. (Norton, William)
                               (Filed on 10/12/2011). CORRECTION OF DOCKET # 515 . Modified on 10/12/2011 (wsn, COURT
                               STAFF). (Entered: 10/12/2011)
            10/12/2011     517 ORDER APPROVING STIPULATED REQUEST FOR SECOND EXTENSION OF TIME FOR
                               PRETRIAL FILINGS re 516 Stipulation filed by Oracle America, Inc.. Signed by Judge Alsup on
                               October 12, 2011. There will be no more extensions. (whalc1, COURT STAFF) (Filed on 10/12/2011)
                               (Entered: 10/12/2011)
            10/12/2011     518 ORDER CONTINUING MOTION HEARING AND SETTING CASE MANAGEMENT
                               CONFERENCE. Signed by Judge Alsup on October 12, 2011. (whalc1, COURT STAFF) (Filed on
                               10/12/2011) (Entered: 10/12/2011)
            10/12/2011          (Court only) Set/Reset Hearings:, Set/Reset Deadlines as to 441 MOTION For Relief From
                                Nondispositive Pretrial Order of Magistrate Judge. Case Management Conference set for 10/19/2011
                                09:30 AM in Courtroom 8, 19th Floor, San Francisco. Motion Hearing set for 10/19/2011 09:30 AM in
                                Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup. (whalc1, COURT STAFF) (Filed
                                on 10/12/2011) (Entered: 10/12/2011)
            10/12/2011     519 Letter from Robert Van Nest PRECIS OPPOSING REQUEST TO FILE DAUBERT MOTIONS. (Van
                               Nest, Robert) (Filed on 10/12/2011) (Entered: 10/12/2011)
            10/12/2011     520 Proposed Voir Dire by Oracle America, Inc. Joint Submission of Proposed Voir Dire Questions.
                               (Muino, Daniel) (Filed on 10/12/2011) (Entered: 10/12/2011)
            10/12/2011     521 Letter from Robert A. Van Nest Renewed Precis re Marking. (Van Nest, Robert) (Filed on 10/12/2011)
                               (Entered: 10/12/2011)
            10/12/2011     522 Letter from Robert A. Van Nest Precis re Rebuttal Reports. (Van Nest, Robert) (Filed on 10/12/2011)
                               (Entered: 10/12/2011)
            10/12/2011     523 Proposed Pretrial Order Joint Proposed Pretrial Order by Oracle America, Inc.. (Attachments: # 1
                               Appendix A (Joint Trial Exhibit List), # 2 Appendix B (Oracle Witness List), # 3 Appendix C (Google
                               Witness List))(Muino, Daniel) (Filed on 10/12/2011) (Entered: 10/12/2011)
            10/12/2011     524 Letter from Steven C. Holtzman re Precis. (Holtzman, Steven) (Filed on 10/12/2011) (Entered:
                               10/13/2011)
            10/13/2011     525 Proposed Pretrial Order CORRECTED Joint Proposed Pretrial Order by Oracle America, Inc..
                               (Attachments: # 1 Appendix A (Joint Trial Exhibit List), # 2 Appendix B (Oracle Witness List), # 3
                               Appendix C (Google Witness List))(Muino, Daniel) (Filed on 10/13/2011) (Entered: 10/13/2011)




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            10/14/2011     526 Letter from Michael A. Jacobs Oracle's Opposition to Google's Renewed Precis re Marking. (Jacobs,
                               Michael) (Filed on 10/14/2011) (Entered: 10/14/2011)
            10/14/2011     527 Letter from Fred Norton Precis re Rebuttal Reports. (Norton, William) (Filed on 10/14/2011) (Entered:
                               10/14/2011)
            10/14/2011     528 ORDER GRANTING LEAVE TO FILE DAUBERT MOTION re 511 Letter filed by Oracle America,
                               Inc.. Signed by Judge Alsup on October 14, 2011. (whalc1, COURT STAFF) (Filed on 10/14/2011)
                               (Entered: 10/14/2011)
            10/14/2011     529 ORDER GRANTING LEAVE TO FILE MOTION REGARDING PATENT MARKING re 521 Letter
                               filed by Google Inc.. Signed by Judge Alsup on October 14, 2011. (whalc1, COURT STAFF) (Filed on
                               10/14/2011) (Entered: 10/14/2011)
            10/14/2011     530 ORDER GRANTING LEAVE TO FILE MOTION TO STRIKE "REBUTTAL" REPORTS re 522
                               Letter filed by Google Inc.. Signed by Judge Alsup on October 14, 2011. (whalc1, COURT STAFF)
                               (Filed on 10/14/2011) (Entered: 10/14/2011)
            10/14/2011     531 Proposed Form of Verdict by Oracle America, Inc. Joint Submission of Proposed Special Verdict
                               Forms. (Attachments: # 1 Appendix A (Oracle's Special Verdict Forms-Liability & Damages), # 2
                               Appendix B (Google's Special Verdict Forms-Liability & Damages))(Muino, Daniel) (Filed on
                               10/14/2011) (Entered: 10/14/2011)
            10/14/2011     532 Administrative Motion to File Under Seal Oracle's Trial Brief and Exhibits B, C, D and E to
                               Declaration of Marc David Peters in Support of Oracle's Trial Brief filed by Oracle America, Inc..
                               (Jacobs, Michael) (Filed on 10/14/2011) (Entered: 10/14/2011)
            10/14/2011     533 Administrative Motion to File Under Seal Portion of Trial Brief filed by Google Inc.. (Attachments: #
                               1 Declaration of Daniel Purcell, # 2 Proposed Order)(Van Nest, Robert) (Filed on 10/14/2011)
                               (Entered: 10/14/2011)
            10/14/2011     534 TRIAL BRIEF [PUBLIC VERSION] by Google Inc.. (Van Nest, Robert) (Filed on 10/14/2011)
                               (Entered: 10/14/2011)
            10/14/2011     535 PRETRIAL MEMORANDUM Defendant Google Inc.'s Memorandum In Support of Its Disputed Jury
                               Instructions by Google Inc.. (Van Nest, Robert) (Filed on 10/14/2011) (Entered: 10/14/2011)
            10/14/2011     536 TRIAL BRIEF (REDACTED) by Oracle America, Inc.. (Jacobs, Michael) (Filed on 10/14/2011)
                               (Entered: 10/14/2011)
            10/15/2011     537 Amended Administrative Motion to File Under Seal Portions of Oracle's Trial Brief filed by Oracle
                               America, Inc.. (Jacobs, Michael) (Filed on 10/15/2011) (Entered: 10/15/2011)
            10/15/2011     538 PRETRIAL MEMORANDUM Oracle America, Inc.'s Memorandum of Law in Support of Disputed
                               Jury Instructions by Oracle America, Inc.. (Muino, Daniel) (Filed on 10/15/2011) (Entered:
                               10/15/2011)
            10/15/2011     539 Proposed Jury Instructions by Oracle America, Inc. Parties' Joint Proposed Jury Instructions. (Muino,
                               Daniel) (Filed on 10/15/2011) (Entered: 10/15/2011)
            10/16/2011     540 NOTICE REGARDING ADMINISTRATIVE MOTIONS TO FILE DOCUMENTS UNDER SEAL re
                               533 Administrative Motion to File Under Seal Portion of Trial Brief filed by Google Inc., 507 Joint
                               Administrative Motion to File Under Seal filed by Oracle America, Inc., 537 Amended Administrative
                               Motion to File Under Seal Portions of Oracle's Trial Brief filed by Oracle America, Inc., 532
                               Administrative Motion to File Under Seal Oracle's Trial Brief and Exhibits B, C, D and E to
                               Declaration of Marc David Peters in Support of Oracle's Trial Brief filed by Oracle America, Inc..
                               Signed by Judge Alsup on October 16, 2011. (whalc1, COURT STAFF) (Filed on 10/16/2011)
                               (Entered: 10/16/2011)
            10/17/2011     541 NOTICE of Appearance by Jennifer Brenda Bonneville of Third-Party Motorola Mobility, Inc.
                               (Bonneville, Jennifer) (Filed on 10/17/2011) (Entered: 10/17/2011)
            10/17/2011     542 RESPONSE to the 507 Joint Administrative Request to File Documents Under Seal (Docket No. 507) -
                               Declaration of Thomas G. Pasternak by Motorola Mobility, Inc.. (Attachments: # 1 Proposed Order)
                               (Bonneville, Jennifer) (Filed on 10/17/2011) Modified on 10/18/2011 (wsn, COURT STAFF).
                               (Entered: 10/17/2011)



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            10/17/2011          (Court only) *** Attorney Lawrence Paul Riff for Motorola Mobility, Inc. added. (wsn, COURT
                                STAFF) (Filed on 10/17/2011) (Entered: 10/18/2011)
            10/18/2011     543 Exhibit List Joint Submission of Exhibit List and Parties' Objections by Google Inc., Oracle America,
                               Inc... (Peters, Marc) (Filed on 10/18/2011) (Entered: 10/18/2011)
            10/18/2011     544 CASE MANAGEMENT STATEMENT Oracle Statement For 10-19-2011 Case Management
                               Conference filed by Oracle America, Inc.. (Jacobs, Michael) (Filed on 10/18/2011) (Entered:
                               10/18/2011)
            10/19/2011     545 ORDER VACATING DATES FOR FINAL PRETRIAL CONFERENCE AND JURY TRIAL. Signed
                               by Judge Alsup on October 19, 2011. (whalc1, COURT STAFF) (Filed on 10/19/2011) (Entered:
                               10/19/2011)
            10/19/2011          (Court only) Set/Reset Hearings: (whalc1, COURT STAFF) (Filed on 10/19/2011) (Entered:
                                10/19/2011)
            10/19/2011          (Court only) Set/Reset Hearings: (whalc1, COURT STAFF) (Filed on 10/19/2011) (Entered:
                                10/19/2011)
            10/19/2011     553 Minute Entry: Further Case Management Conference held on 10/19/2011 before William Alsup (Date
                               Filed: 10/19/2011), Motion Hearing held on 10/19/2011 before William Alsup (Date Filed: 10/19/2011)
                               re 441 MOTION For Relief From Nondispositive Pretrial Order of Magistrate Judge filed by Google
                               Inc.. (Court Reporter Sahar Bartlett.) (dt, COURT STAFF) (Date Filed: 10/19/2011) (Entered:
                               10/21/2011)
            10/20/2011     546 ORDER DENYING MOTION FOR RELIEF FROM NON-DISPOSITIVE PRETRIAL ORDER OF
                               MAGISTRATE JUDGE, Order by Hon. William Alsup denying 441 Motion for Relief from
                               Non-Dispositive Pretrial Order of Magistrate Judge.(whalc1, COURT STAFF) (Filed on 10/20/2011)
                               (Entered: 10/20/2011)
            10/20/2011     547 MOTION for leave to appear in Pro Hac Vice - Truman H. Fenton ( Filing fee $ 275, receipt number
                               34611066044) filed by Google Inc. (Attachments: # 1 Proposed Order)(wsn, COURT STAFF) (Filed
                               on 10/20/2011) (Entered: 10/20/2011)
            10/20/2011     548 Administrative Motion to File Under Seal filed by Google Inc.. (Attachments: # 1 Declaration, # 2
                               Proposed Order)(Purcell, Daniel) (Filed on 10/20/2011) Modified on 1/9/2012 (whalc1, COURT
                               STAFF). (Entered: 10/20/2011)
            10/20/2011     549 Brief re 494 MOTION in Limine No. 3 [SUPPLEMENTAL] filed byGoogle Inc.. (Related document(s)
                               494 ) (Van Nest, Robert) (Filed on 10/20/2011) (Entered: 10/20/2011)
            10/20/2011     550 Declaration of Daniel Purcell in Support of 549 Brief filed byGoogle Inc.. (Attachments: # 1 Exhibit
                               Ex to DPurcell Decl ISO of Suppl Brief, # 2 Exhibit Ex to DPurcell Decl ISO of Suppl Brief, # 3
                               Exhibit Ex to DPurcell Decl ISO of Suppl Brief, # 4 Exhibit Ex to DPurcell Decl ISO of Suppl Brief, #
                               5 Exhibit Ex to DPurcell Decl ISO of Suppl Brief)(Related document(s) 549 ) (Van Nest, Robert)
                               (Filed on 10/20/2011) (Entered: 10/20/2011)
            10/21/2011     551 MOTION for leave to appear in Pro Hac Vice of Truman H. Fenton ( Filing fee $ 275, receipt number
                               34611066044.) filed by Google Inc.. (Attachments: # 1 Proposed Order)(Sabnis, Cheryl) (Filed on
                               10/21/2011) (Entered: 10/21/2011)
            10/21/2011     552 MOTION for Summary Judgment (Partial) that Google is not Liable for Damages for Alleged Patent
                               Infringement that Occurred before July 20, 2010 filed by Google Inc.. Responses due by 11/4/2011.
                               Replies due by 11/14/2011. (Attachments: # 1 Declaration of Robert Van Nest, # 2 Exhibit A to Van
                               Nest Declaration, # 3 Exhibit B to Van Nest Declaration, # 4 Exhibit C to Van Nest Declaration, # 5
                               Exhibit D to Van Nest Declaration, # 6 Exhibit E to Van Nest Declaration, # 7 Proposed Order)(Van
                               Nest, Robert) (Filed on 10/21/2011) (Entered: 10/21/2011)
            10/21/2011     554 MOTION to Strike DEFENDANT GOOGLE INC.'S NOTICE OF MOTION AND MOTION TO
                               STRIKE TWO "REBUTTAL" DAMAGES REPORTS BY DR. KENNETH SERWIN filed by Google Inc..
                               Responses due by 10/28/2011. Replies due by 11/1/2011. (Attachments: # 1 Proposed Order)(Van Nest,
                               Robert) (Filed on 10/21/2011) (Entered: 10/21/2011)
            10/21/2011     555 Declaration of DANIEL PURCELL in Support of 554 MOTION to Strike DEFENDANT GOOGLE
                               INC.'S NOTICE OF MOTION AND MOTION TO STRIKE TWO "REBUTTAL" DAMAGES REPORTS



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                                BY DR. KENNETH SERWIN filed byGoogle Inc.. (Related document(s) 554 ) (Van Nest, Robert) (Filed
                                on 10/21/2011) (Entered: 10/21/2011)
            10/21/2011     556 NOTICE by Google Inc. Re: Oracle America, Inc.'s Administrative Motions to File Under Seal (Dkt.
                               Nos. 532 and 537) (Van Nest, Robert) (Filed on 10/21/2011) (Entered: 10/21/2011)
            10/21/2011     557 Administrative Motion to File Under Seal ORACLE AMERICA, INC.S ADMINISTRATIVE MOTION
                               TO FILE UNDER SEAL PORTIONS OF ORACLES MOTION TO EXCLUDE PORTIONS OF THE
                               EXPERT REPORTS OF GREGORY K. LEONARD AND ALAN J. COX filed by Oracle America, Inc..
                               (Holtzman, Steven) (Filed on 10/21/2011) (Entered: 10/21/2011)
            10/21/2011     558 MOTION to Strike ORACLE AMERICA INC.S MOTION TO EXCLUDE PORTIONS OF THE
                               EXPERT REPORTS OF GREGORY K. LEONARD AND ALAN J. COX - REDACTED filed by Oracle
                               America, Inc.. Responses due by 10/28/2011. Replies due by 11/1/2011. (Attachments: # 1 Proposed
                               Order)(Holtzman, Steven) (Filed on 10/21/2011) (Entered: 10/21/2011)
            10/21/2011     559 Declaration in Support of 558 MOTION to Strike ORACLE AMERICA INC.S MOTION TO EXCLUDE
                               PORTIONS OF THE EXPERT REPORTS OF GREGORY K. LEONARD AND ALAN J. COX -
                               REDACTED DECLARATION OF MEREDITH DEARBORN IN SUPPORT OF ORACLE AMERICA,
                               INC.S MOTION TO EXCLUDE PORTIONS OF THE EXPERT REPORTS OF GREGORY K.
                               LEONARD AND ALAN J. COX filed byOracle America, Inc.. (Attachments: # 1 Exhibit EXHIBITS
                               1-9)(Related document(s) 558 ) (Holtzman, Steven) (Filed on 10/21/2011) (Entered: 10/21/2011)
            10/21/2011     560 Declaration of STEVEN M. SHUGAN in Support of 558 MOTION to Strike ORACLE AMERICA
                               INC.S MOTION TO EXCLUDE PORTIONS OF THE EXPERT REPORTS OF GREGORY K.
                               LEONARD AND ALAN J. COX - REDACTED filed byOracle America, Inc.. (Related document(s) 558
                               ) (Holtzman, Steven) (Filed on 10/21/2011) (Entered: 10/21/2011)
            10/24/2011     561 ORDER GRANTING APPLICATION FOR ADMISSION OF ATTORNEY FENTON PRO HAC
                               VICE by Judge Alsup finding as moot 547 Motion for Pro Hac Vice; granting 551 Motion for Pro Hac
                               Vice (whalc1, COURT STAFF) (Filed on 10/24/2011) (Entered: 10/24/2011)
            10/24/2011          (Court only) *** Attorney Truman Haymaker Fenton for Google Inc. added. (wsn, COURT STAFF)
                                (Filed on 10/24/2011) (Entered: 10/24/2011)
            10/25/2011     562 Letter from Robert A. Van Nest Precis re Copyrightability. (Van Nest, Robert) (Filed on 10/25/2011)
                               (Entered: 10/25/2011)
            10/25/2011     563 RESPONSE (re 513 MOTION to Retain Confidentiality Designations ) filed byOracle America, Inc..
                               (Attachments: # 1 Declaration Declaration of Alanna C. Rutherford In Support Of Oracle's Opposition
                               to Google's Mortion to Retain Confidential Designations)(Rutherford, Alanna) (Filed on 10/25/2011)
                               (Entered: 10/25/2011)
            10/26/2011     564 PROPOSED TRIAL PLAN. Signed by Judge Alsup on October 26, 2011. (whalc1, COURT STAFF)
                               (Filed on 10/26/2011) (Entered: 10/26/2011)
            10/26/2011     565 NOTICE by Google Inc. re 561 Order on Motion for Pro Hac Vice, Truman H. Fenton (Sabnis, Cheryl)
                               (Filed on 10/26/2011) (Entered: 10/26/2011)
            10/27/2011     566 Letter from Michael A. Jacobs Oracle Opposition To Google Precis Re Copyright. (Jacobs, Michael)
                               (Filed on 10/27/2011) (Entered: 10/27/2011)
            10/27/2011     567 Letter from Michael A. Jacobs Oracle Precis regarding MSJ Of Originality Of Selection And
                               Arrangement. (Jacobs, Michael) (Filed on 10/27/2011) (Entered: 10/27/2011)
            10/27/2011     568 TRIAL BRIEF Oracle's Trial Brief UNREDACTED VERSION by Oracle America, Inc.. (Jacobs,
                               Michael) (Filed on 10/27/2011) (Entered: 10/27/2011)
            10/27/2011     569 NOTICE by Oracle America, Inc. re 533 Administrative Motion to File Under Seal Portion of Trial
                               Brief (Peters, Marc) (Filed on 10/27/2011) (Entered: 10/27/2011)
            10/27/2011     570 Declaration in Support of 548 Administrative Motion to File Under Seal DECLARATION OF
                               MATTHEW SARBORARIA IN SUPPORT OF GOOGLE, INC.S ADMINISTRATIVE MOTION TO FILE
                               DOCUMENTS UNDER SEAL filed byOracle America, Inc.. (Attachments: # 1 Proposed Order)
                               (Related document(s) 548 ) (Dearborn, Meredith) (Filed on 10/27/2011) (Entered: 10/27/2011)




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            10/27/2011     571 Administrative Motion to File Under Seal ORACLE AMERICA, INC.S ADMINISTRATIVE MOTION
                               TO FILE UNDER SEAL PORTIONS OF ORACLES RESPONSIVE SUPPLEMENTAL BRIEF IN
                               OPPOSITION TO GOOGLES MOTION IN LIMINE NO. 3 TO EXCLUDE PORTIONS OF
                               COCKBURN REPORT ON DAMAGES filed by Oracle America, Inc.. (Attachments: # 1 Proposed
                               Order)(Holtzman, Steven) (Filed on 10/27/2011) Modified on 1/9/2012 (whalc1, COURT STAFF).
                               (Entered: 10/27/2011)
            10/27/2011     572 RESPONSE (re 494 MOTION in Limine No. 3 ) ORACLE AMERICA INC.S RESPONSIVE
                               SUPPLEMENTAL BRIEF IN OPPOSITION TO GOOGLES MOTION IN LIMINE NO. 3 TO
                               EXCLUDE PORTIONS OF COCKBURN REPORT ON DAMAGES (REDACTED) filed byOracle
                               America, Inc.. (Holtzman, Steven) (Filed on 10/27/2011) (Entered: 10/27/2011)
            10/28/2011     573 DECLARATION of MEREDITH DEARBORN in Opposition to 572 Opposition/Response to Motion,
                               DECLARATION OF MEREDITH DEARBORN IN SUPPORT OF ORACLE AMERICA INC.S
                               RESPONSIVE SUPPLEMENTAL BRIEF IN OPPOSITION TO GOOGLES MOTION IN LIMINE NO.
                               3 TO EXCLUDE PORTIONS OF COCKBURN REPORT ON DAMAGES filed byOracle America, Inc..
                               (Attachments: # 1 Exhibit EXHIBITS A-M)(Related document(s) 572 ) (Holtzman, Steven) (Filed on
                               10/28/2011) (Entered: 10/28/2011)
            10/28/2011     574 Letter from John Cooper on behalf of Dr. James Kearl dated October 28, 2011. (Cooper, John) (Filed
                               on 10/28/2011) (Entered: 10/28/2011)
            10/28/2011     575 ORDER GRANTING EXTENSION OF TIME FOR RULE 706 EXPERT TO FILE REPORT re 574
                               Letter filed by John Lee Cooper. Signed by Judge Alsup on October 28, 2011. (whalc1, COURT
                               STAFF) (Filed on 10/28/2011) (Entered: 10/28/2011)
            10/28/2011     576 Declaration of Reid Mullen in Support of 557 Administrative Motion to File Under Seal ORACLE
                               AMERICA, INC.S ADMINISTRATIVE MOTION TO FILE UNDER SEAL PORTIONS OF ORACLES
                               MOTION TO EXCLUDE PORTIONS OF THE EXPERT REPORTS OF GREGORY K. LEONARD
                               AND ALAN J. COX filed byGoogle Inc.. (Attachments: # 1 Proposed Order)(Related document(s) 557 )
                               (Mullen, Reid) (Filed on 10/28/2011) (Entered: 10/28/2011)
            10/28/2011     577 RESPONSE (re 552 MOTION for Summary Judgment (Partial) that Google is not Liable for
                               Damages for Alleged Patent Infringement that Occurred before July 20, 2010) filed by Oracle
                               America, Inc. (Attachments: # 1 Declaration Declaration of Marc Peters, # 2 Exhibit A, # 3 Exhibit B,
                               # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F)(Jacobs, Michael) (Filed on 10/28/2011)
                               Modified on 10/31/2011 (wsn, COURT STAFF). (Entered: 10/28/2011)
            10/28/2011     578 RESPONSE (re 554 MOTION to Strike DEFENDANT GOOGLE INC.'S NOTICE OF MOTION AND
                               MOTION TO STRIKE TWO "REBUTTAL" DAMAGES REPORTS BY DR. KENNETH SERWIN ) filed
                               by Oracle America, Inc. (Holtzman, Steven) (Filed on 10/28/2011) Modified on 10/31/2011 (wsn,
                               COURT STAFF). (Entered: 10/28/2011)
            10/28/2011     579 Declaration in Support of 578 Opposition/Response to Motion, DECLARATION OF BEKO
                               RICHARDSON IN SUPPORT OF OPPOSITION OF ORACLE AMERICA, INC. TO GOOGLE INC.S
                               MOTION TO STRIKE TWO REBUTTAL DAMAGES REPORTS BY DR. KENNETH SERWIN filed
                               byOracle America, Inc.. (Attachments: # 1 Exhibit EXHIBIT 1)(Related document(s) 578 ) (Holtzman,
                               Steven) (Filed on 10/28/2011) (Entered: 10/28/2011)
            10/28/2011     580 Administrative Motion to File Under Seal filed by Google Inc.. (Attachments: # 1 Declaration
                               Declaration of Reid Mullen in Support of Google's Administrative Motion to File Documents Under
                               Seal, # 2 Proposed Order Proposed Order to Seal Portion of Google's Opposition to Motion to Exclude
                               Portions of the Expert Reports of Gregory K. Leonard and Alan J. Cox and Exhibits to Declaration of
                               David Zimmer in Support of Google's Opposition)(Purcell, Daniel) (Filed on 10/28/2011) (Entered:
                               10/28/2011)
            10/28/2011     581 RESPONSE (re 558 MOTION to Strike ORACLE AMERICA INC.S MOTION TO EXCLUDE
                               PORTIONS OF THE EXPERT REPORTS OF GREGORY K. LEONARD AND ALAN J. COX -
                               REDACTED ) filed byGoogle Inc.. (Attachments: # 1 Declaration in Support of Google's Opposition to
                               Motion to Exclude Portions of the Expert Reports of Gregory K. Leonard and Alan J. Cox, # 2
                               Declaration of David Zimmer in Support of Google's Opposition to Motion to Exclude Portions of the
                               Expert Reports of Gregory K. Leonard and Alan J. Cox, # 3 Exhibit A, # 4 Exhibit B, # 5 Exhibit C, #
                               6 Exhibit D, # 7 Exhibit E, # 8 Exhibit F, # 9 Exhibit G, # 10 Exhibit H, # 11 Exhibit I, # 12 Exhibit J,




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                                 # 13 Exhibit K)(Van Nest, Robert) (Filed on 10/28/2011) (Entered: 10/28/2011)
            10/30/2011     582 Letter from Robert A. Van Nest in response to Oracle's precis re originality. (Van Nest, Robert) (Filed
                               on 10/30/2011) (Entered: 10/30/2011)
            10/30/2011     583 ORDER PARTIALLY GRANTING AND PARTIALLY DENYING MOTION TO FILE
                               DOCUMENTS UNDER SEAL, Order by Hon. William Alsup granting in part and denying in part 557
                               Administrative Motion to File Under Seal.(whalc1, COURT STAFF) (Filed on 10/30/2011) (Entered:
                               10/30/2011)
            10/31/2011     584 ORDER REGARDING REQUESTS TO FILE MOTIONS re 562 Letter filed by Google Inc., 567
                               Letter filed by Oracle America, Inc., 566 Letter filed by Oracle America, Inc., 582 Letter filed by
                               Google Inc.. Signed by Judge Alsup on October 31, 2011. (whalc1, COURT STAFF) (Filed on
                               10/31/2011) (Entered: 10/31/2011)
            10/31/2011     585 MOTION to Strike 583 Order on Administrative Motion to File Under Seal ORACLE AMERICA INC.S
                               MOTION TO EXCLUDE PORTIONS OF THE EXPERT REPORTS OF GREGORY K. LEONARD
                               AND ALAN J. COX filed by Oracle America, Inc.. Responses due by 10/28/2011. Replies due by
                               11/1/2011. (Attachments: # 1 Exhibit EXHIBITS 4-9 TO THE DECLARATION OF MEREDITH
                               DEARBORN 559 )(Holtzman, Steven) (Filed on 10/31/2011) (Entered: 10/31/2011)
            10/31/2011     586 DOCUMENT E-FILED UNDER SEAL re 583 Order on Administrative Motion to File Under Seal
                               EXHIBITS 1 & 2 TO THE DECLARATION OF MEREDITH DEARBORN IN SUPPORT OF ORACLE
                               AMERICA, INC.S MOTION TO EXCLUDE PORTIONS OF THE EXPERT REPORTS OF GREGORY
                               K. LEONARD AND ALAN J. COX 559 by Oracle America, Inc.. (Holtzman, Steven) (Filed on
                               10/31/2011) (Entered: 10/31/2011)
            11/01/2011     587 ORDER TO SUBMIT COLOR-CODED HANDOUT OF CLAIMS TO BE TRIED. Signed by Judge
                               Alsup on November 1, 2011. (whalc1, COURT STAFF) (Filed on 11/1/2011) (Entered: 11/01/2011)
            11/01/2011     588 Joint Declination to Proceed Before a U.S. Magistrate Judge by Oracle America, Inc. and Google Inc..
                               (Jacobs, Michael) (Filed on 11/1/2011) (Entered: 11/01/2011)
            11/01/2011     589 REPLY (re 554 MOTION to Strike DEFENDANT GOOGLE INC.'S NOTICE OF MOTION AND
                               MOTION TO STRIKE TWO "REBUTTAL" DAMAGES REPORTS BY DR. KENNETH SERWIN ) filed
                               byGoogle Inc.. (Van Nest, Robert) (Filed on 11/1/2011) (Entered: 11/01/2011)
            11/01/2011     590 REPLY (re 513 MOTION to Retain Confidentiality Designations ) filed byGoogle Inc.. (Van Nest,
                               Robert) (Filed on 11/1/2011) (Entered: 11/01/2011)
            11/01/2011     591 REPLY (re 552 MOTION for Summary Judgment (Partial) that Google is not Liable for Damages for
                               Alleged Patent Infringement that Occurred before July 20, 2010) filed by Google Inc. (Van Nest,
                               Robert) (Filed on 11/1/2011) Modified on 11/2/2011 (wsn, COURT STAFF). (Entered: 11/01/2011)
            11/01/2011     592 Administrative Motion to File Under Seal ORACLE AMERICA, INC.S ADMINISTRATIVE MOTION
                               TO FILE UNDER SEAL PORTIONS OF ITS REPLY TO GOOGLE INC.S 593 OPPOSITION TO
                               MOTION TO EXCLUDE PORTIONS OF THE EXPERT REPORTS OF GREGORY K. LEONARD
                               AND ALAN J. COX filed by Oracle America, Inc. (Holtzman, Steven) (Filed on 11/1/2011) Modified
                               on 11/2/2011 (wsn, COURT STAFF). (Entered: 11/01/2011)
            11/01/2011     593 REPLY (re 558 MOTION to Strike ORACLE AMERICA INC.S MOTION TO EXCLUDE PORTIONS
                               OF THE EXPERT REPORTS OF GREGORY K. LEONARD AND ALAN J. COX - REDACTED )
                               ORACLE AMERICA, INC.S REPLY TO GOOGLE INC.S OPPOSITION TO MOTION TO EXCLUDE
                               PORTIONS OF THE EXPERT REPORTS OF GREGORY K. LEONARD AND ALAN J. COX
                               (REDACTED) filed byOracle America, Inc.. (Holtzman, Steven) (Filed on 11/1/2011) (Entered:
                               11/01/2011)
            11/01/2011     594 Declaration of FRED NORTON in Support of 593 Reply to Opposition/Response, DECLARATION OF
                               FRED NORTON IN SUPPORT OF ORACLE AMERICA, INC.S REPLY TO GOOGLE INC.S
                               OPPOSITION TO MOTION TO EXCLUDE PORTIONS OF THE EXPERT REPORTS OF GREGORY
                               K. LEONARD AND ALAN J. COX filed byOracle America, Inc.. (Attachments: # 1 Exhibit EXHIBITS
                               A-D (EXS. A-C UNDER SEAL))(Related document(s) 593 ) (Holtzman, Steven) (Filed on 11/1/2011)
                               (Entered: 11/01/2011)




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            11/01/2011     595 Declaration in Support of 593 Reply to Opposition/Response, DECLARATION OF STEVEN M.
                               SHUGAN IN SUPPORT OF ORACLE AMERICA, INC.S REPLY TO GOOGLE INC.S OPPOSITION
                               TO MOTION TO EXCLUDE PORTIONS OF THE EXPERT REPORTS OF GREGORY K. LEONARD
                               AND ALAN J. COX filed byOracle America, Inc.. (Related document(s) 593 ) (Holtzman, Steven)
                               (Filed on 11/1/2011) (Entered: 11/01/2011)
            11/02/2011     596 ORDER DENYING MOTION TO RETAIN CONFIDENTIALITY DESIGNATIONS AND
                               VACATING HEARING by Judge Alsup denying 513 Motion to Retain Confidentiality Designations
                               (whalc1, COURT STAFF) (Filed on 11/2/2011) (Entered: 11/02/2011)
            11/02/2011     597 Minute Entry: Further settlement discussions held. Case did not settle. Further discussions to be
                               scheduled in consultation with parties. (Date Filed: 11/2/2011). (ofr, COURT STAFF) (Date Filed:
                               11/2/2011) (Entered: 11/02/2011)
            11/03/2011     598 NOTICE by Motorola Mobility, Inc. Of Withdrawal of Lawrence Riff as Counsel for Third-Party
                               Motorola Mobility, Inc. (Bonneville, Jennifer) (Filed on 11/3/2011) (Entered: 11/03/2011)
            11/03/2011          (Court only) *** Attorney Lawrence Paul Riff terminated. (wsn, COURT STAFF) (Filed on 11/3/2011)
                                (Entered: 11/03/2011)
            11/03/2011     599 Declaration in Support of 580 Administrative Motion to File Under Seal DECLARATION OF
                               MATTHEW SARBORARIA IN SUPPORT OF GOOGLE, INC.S ADMINISTRATIVE MOTION TO FILE
                               DOCUMENTS UNDER SEAL (DKT. NO. 580) filed byOracle America, Inc.. (Attachments: # 1
                               Proposed Order [PROPOSED] ORDER GRANTING GOOGLE, INC.S ADMINISTRATIVE
                               MOTION TO FILE DOCUMENTS UNDER SEAL (DKT. NO. 580))(Related document(s) 580 )
                               (Dearborn, Meredith) (Filed on 11/3/2011) (Entered: 11/03/2011)
            11/03/2011     600 Declaration of Reid Mullen in Support of 571 Administrative Motion to File Under Seal ORACLE
                               AMERICA, INC.S ADMINISTRATIVE MOTION TO FILE UNDER SEAL PORTIONS OF ORACLES
                               RESPONSIVE SUPPLEMENTAL BRIEF IN OPPOSITION TO GOOGLES MOTION IN LIMINE NO.
                               3 TO EXCLUDE PORTIONS OF COCKBURN REPORT filed byGoogle Inc. (Attachments: # 1
                               Proposed Order SEALING EXHIBITS J AND M)(Related document(s) 571 ) (Mullen, Reid) (Filed on
                               11/3/2011) Modified on 11/4/2011 (wsn, COURT STAFF). (Entered: 11/03/2011)
            11/04/2011     601 Letter from Robert A. Van Nest Further Precis Re Copyrightability. (Van Nest, Robert) (Filed on
                               11/4/2011) (Entered: 11/04/2011)
            11/07/2011     602 ORDER PARTIALLY GRANTING AND PARTIALLY DENYING MOTION TO FILE
                               DOCUMENTS UNDER SEAL, Order by Hon. William Alsup granting in part and denying in part 580
                               Administrative Motion to File Under Seal.(whalc1, COURT STAFF) (Filed on 11/7/2011) (Entered:
                               11/07/2011)
            11/08/2011     603 ORDER REGARDING CONSTRUCTION OF CLAIMS TO BE TRIED. Signed by Judge Alsup on
                               November 8, 2011. (whalc1, COURT STAFF) (Filed on 11/8/2011) (Entered: 11/08/2011)
            11/08/2011     604 RESPONSE (re 558 MOTION to Strike ORACLE AMERICA INC.S MOTION TO EXCLUDE
                               PORTIONS OF THE EXPERT REPORTS OF GREGORY K. LEONARD AND ALAN J. COX -
                               REDACTED ) (modified per 11/7/2011 Order (Dkt. 602)) filed byGoogle Inc.. (Van Nest, Robert)
                               (Filed on 11/8/2011) (Entered: 11/08/2011)
            11/08/2011     605 EXHIBITS re 581 Opposition/Response to Motion,, Exhibit K to Declaration of David Zimmer In
                               Support Of Google's Opposition to Oracle's Motion to Strike Expert Reports of Gregory K. Leonard
                               and Alan J. Cox filed byGoogle Inc.. (Related document(s) 581 ) (Van Nest, Robert) (Filed on
                               11/8/2011) (Entered: 11/08/2011)
            11/08/2011     606 DOCUMENT E-FILED UNDER SEAL re 602 Order on Administrative Motion to File Under Seal
                               Google's Opposition to Motion to Exclude Portions of the Expert Reports of Gregory K. Leonard and
                               Alan J. Cox (Unredacted) by Google Inc.. (Van Nest, Robert) (Filed on 11/8/2011) (Entered:
                               11/08/2011)
            11/08/2011     607 DOCUMENT E-FILED UNDER SEAL re 602 Order on Administrative Motion to File Under Seal
                               Exhibits D, E, F, G, and J to the Declaration of David Zimmer in Support of Google Inc.'s Opposition
                               to Oracle America, Inc.'s Motion to Exclude Portions of the Expert Reports of Gregory K. Leonard and
                               Alan J. Cox (Dkt. No. 581) by Google Inc.. (Van Nest, Robert) (Filed on 11/8/2011) (Entered:
                               11/08/2011)



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            11/08/2011     608 Declaration of David Zimmer in Support of 592 Administrative Motion to File Under Seal ORACLE
                               AMERICA, INC.S ADMINISTRATIVE MOTION TO FILE UNDER SEAL PORTIONS OF ITS REPLY
                               TO GOOGLE INC.S OPPOSITION TO MOTION TO EXCLUDE PORTIONS OF THE EXPERT
                               REPORTS OF GREGORY K. LEONARD AND ALAN J. COX filed byGoogle Inc.. (Attachments: # 1
                               Proposed Order)(Related document(s) 592 ) (Van Nest, Robert) (Filed on 11/8/2011) (Entered:
                               11/08/2011)
            11/08/2011     609 ORDER PARTIALLY GRANTING AND PARTIALLY DENYING REQUEST TO FILE
                               DOCUMENTS UNDER SEAL, Order by Hon. William Alsup granting in part and denying in part 592
                               Administrative Motion to File Under Seal.(whalc1, COURT STAFF) (Filed on 11/8/2011) (Entered:
                               11/08/2011)
            11/09/2011     610 MEMORANDUM OPINION REGARDING RULE 706 EXPERT. Signed by Judge Alsup on
                               November 9, 2011. (whalc1, COURT STAFF) (Filed on 11/9/2011) (Entered: 11/09/2011)
            11/09/2011     611 RESPONSE to re 601 Letter in Opposition to Google's Further Precis re Copyrightability by Oracle
                               America, Inc.. (Jacobs, Michael) (Filed on 11/9/2011) (Entered: 11/09/2011)
            11/09/2011     612 REPLY (re 558 MOTION to Strike ORACLE AMERICA INC.S MOTION TO EXCLUDE PORTIONS
                               OF THE EXPERT REPORTS OF GREGORY K. LEONARD AND ALAN J. COX - REDACTED )
                               ORACLE AMERICA, INC.S REPLY TO GOOGLE INC.S OPPOSITION TO MOTION TO EXCLUDE
                               PORTIONS OF THE EXPERT REPORTS OF GREGORY K. LEONARD AND ALAN J. COX filed
                               byOracle America, Inc.. (Attachments: # 1 Exhibit EXHIBIT C TO THE DECLARATION OF FRED
                               NORTON IN SUPPORT OF ORACLE AMERICA, INC.S REPLY TO GOOGLE INC.S
                               OPPOSITION TO MOTION TO EXCLUDE PORTIONS OF THE EXPERT REPORTS OF
                               GREGORY K. LEONARD AND ALAN J. COX)(Holtzman, Steven) (Filed on 11/9/2011) (Entered:
                               11/09/2011)
            11/09/2011     613 DOCUMENT E-FILED UNDER SEAL re 609 Order on Administrative Motion to File Under Seal
                               EXHIBITS A & B TO THE DECLARATION OF FRED NORTON IN SUPPORT OF ORACLE
                               AMERICA, INC.S REPLY TO GOOGLE INC.S OPPOSITION TO MOTION TO EXCLUDE
                               PORTIONS OF THE EXPERT REPORTS OF GREGORY K. LEONARD AND ALAN J. COX by Oracle
                               America, Inc.. (Holtzman, Steven) (Filed on 11/9/2011) (Entered: 11/09/2011)
            11/10/2011     618 USCA for the Federal Circuit Case Number: Misc. No. 106, U.S. Court of Appeals for the Federal
                               Circuit. Petition for writ of mandamus. (wsn, COURT STAFF) (Filed on 11/10/2011) (Entered:
                               11/14/2011)
            11/10/2011     619 ORDER of USCA for the Federal Circuit: Oracle America, Inc. is directed to respond no later than
                               November 28, 2011. Misc. No. 106. (wsn, COURT STAFF) (Filed on 11/10/2011) (Entered:
                               11/14/2011)
            11/11/2011     614 Letter from Steven C. Holtzman re 5 depositions. (Holtzman, Steven) (Filed on 11/11/2011) (Entered:
                               11/11/2011)
            11/13/2011     615 RESPONSE to re 614 Letter in Opposition to Oracle's Letter re 5 Depositions by Google Inc.. (Van
                               Nest, Robert) (Filed on 11/13/2011) (Entered: 11/13/2011)
            11/14/2011     616 ORDER SETTING FINAL PRETRIAL CONFERENCE. Signed by Judge Alsup on November 14,
                               2011. (whalc1, COURT STAFF) (Filed on 11/14/2011) (Entered: 11/14/2011)
            11/14/2011          (Court only) Set/Reset Hearings: Pretrial Conference set for 12/21/2011 08:00 AM in Courtroom 8,
                                19th Floor, San Francisco before Hon. William Alsup. (whalc1, COURT STAFF) (Filed on 11/14/2011)
                                (Entered: 11/14/2011)
            11/14/2011     617 ORDER COMPELLING DEPOSITIONS AND PRODUCTION OF MATERIALS re 614 Letter filed
                               by Oracle America, Inc., 615 Response ( Non Motion ) filed by Google Inc.. Signed by Judge Alsup on
                               November 14, 2011. (whalc1, COURT STAFF) (Filed on 11/14/2011) (Entered: 11/14/2011)
            11/14/2011     620 ORDER DENYING LEAVE TO FILE MOTION REGARDING COPYRIGHTABILITY re 601 Letter
                               filed by Google Inc., 611 Response ( Non Motion ) filed by Oracle America, Inc.. Signed by Judge
                               Alsup on November 14, 2011. (whalc1, COURT STAFF) (Filed on 11/14/2011) (Entered: 11/14/2011)
            11/15/2011     621 ORDER DENYING MOTION FOR PARTIAL SUMMARY JUDGMENT LIMITING DAMAGES
                               BASED ON PATENT-MARKING STATUTE by Judge Alsup denying 552 Motion for Summary




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                                Judgment (whalc1, COURT STAFF) (Filed on 11/15/2011) (Entered: 11/15/2011)
            11/15/2011     622 ORDER STRIKING IMPROPER REPLY EXPERT REPORTS by Judge Alsup granting 554 Motion to
                               Strike (whalc1, COURT STAFF) (Filed on 11/15/2011) (Entered: 11/15/2011)
            11/15/2011          (Court only) ***Motions terminated: 558 MOTION to Strike ORACLE AMERICA INC.S MOTION TO
                                EXCLUDE PORTIONS OF THE EXPERT REPORTS OF GREGORY K. LEONARD AND ALAN J.
                                COX - REDACTED filed by Oracle America, Inc.. (whalc1, COURT STAFF) (Filed on 11/15/2011)
                                (Entered: 11/15/2011)
            11/17/2011     623 STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME FOR DEPOSITIONS OF TIMOTHY
                               BRAY AND JOHN RIZZO by Google Inc.. (Purcell, Daniel) (Filed on 11/17/2011) (Entered:
                               11/17/2011)
            11/18/2011     624 ORDER GRANTING STIPULATED REQUEST TO EXTEND TIME FOR BRAY AND RIZZO
                               DEPOSITIONS re 623 Stipulation filed by Google Inc.. Signed by Judge Alsup on November 18,
                               2011. (whalc1, COURT STAFF) (Filed on 11/18/2011) (Entered: 11/18/2011)
            11/18/2011     625 Statement re 587 Order Joint Proposed Color-Coded Handout by Google Inc.. (Van Nest, Robert)
                               (Filed on 11/18/2011) (Entered: 11/18/2011)
            11/18/2011     626 Letter from Robert A. Van Nest re: Color-Coded Handout. (Van Nest, Robert) (Filed on 11/18/2011)
                               (Entered: 11/18/2011)
            11/18/2011     627 RESPONSE to re 564 Order Oracle America Inc.'s Critique of the Court's Proposed Trial Plan by
                               Oracle America, Inc.. (Jacobs, Michael) (Filed on 11/18/2011) (Entered: 11/18/2011)
            11/18/2011     628 RESPONSE to re 564 Order re: Proposed Trial Plan by Google Inc.. (Van Nest, Robert) (Filed on
                               11/18/2011) (Entered: 11/18/2011)
            11/21/2011     629 ORDER FOR SUPPLEMENTAL JOINT STATEMENT TWO WEEKS BEFORE FINAL PRETRIAL
                               CONFERENCE. Signed by Judge Alsup on November 21, 2011. (whalc1, COURT STAFF) (Filed on
                               11/21/2011) (Entered: 11/21/2011)
            11/21/2011     630 Letter from Michael A. Jacobs re: Color-Coded Handout. (Jacobs, Michael) (Filed on 11/21/2011)
                               (Entered: 11/21/2011)
            11/22/2011     631 SUPPLEMENTAL ORDER TO SUBMIT COLOR-CODED HANDOUT OF CLAIMS TO BE TRIED
                               re 630 Letter filed by Oracle America, Inc., 626 Letter filed by Google Inc., 587 Order. Signed by
                               Judge Alsup on November 22, 2011. (whalc1, COURT STAFF) (Filed on 11/22/2011) (Entered:
                               11/22/2011)
            11/28/2011     632 ORDER GRANTING IN PART AND DENYING IN PART MOTION TO EXCLUDE PORTIONS OF
                               THE EXPERT REPORTS OF GREGORY K. LEONARD AND ALANA J. COXgranting in part and
                               denying in part 585 Motion to Strike 558 MOTION to Strike ORACLE AMERICA INC.S MOTION TO
                               EXCLUDE PORTIONS OF THE EXPERT REPORTS OF GREGORY K. LEONARD AND ALAN J.
                               COX - REDACTED (whalc1, COURT STAFF) (Filed on 11/28/2011) (Entered: 11/28/2011)
            11/30/2011     633 Statement re 631 Order, Joint Proposed Color-Coded Handout by Google Inc.. (Van Nest, Robert)
                               (Filed on 11/30/2011) (Entered: 11/30/2011)
            11/30/2011     634 Statement re 621 Order on Motion for Summary Judgment Oracle letter regarding Oracle products
                               practicing patents by Oracle America, Inc.. (Jacobs, Michael) (Filed on 11/30/2011) (Entered:
                               11/30/2011)
            11/30/2011     635 Statement re 621 Order on Motion for Summary Judgment by Google Inc.. (Attachments: # 1 Exhibit
                               A)(Van Nest, Robert) (Filed on 11/30/2011) (Entered: 11/30/2011)
            12/01/2011     636 ORDER REGARDING PATENT MARKING re 635 Statement filed by Google Inc., 634 Statement
                               filed by Oracle America, Inc.. Signed by Judge Alsup on December 1, 2011. (whalc1, COURT STAFF)
                               (Filed on 12/1/2011) (Entered: 12/01/2011)
            12/02/2011     637 CLAIM CONSTRUCTION STATEMENT Joint Identification Of Additional Claim Terms For
                               Construction filed by Google Inc.. (Paige, Eugene) (Filed on 12/2/2011) (Entered: 12/02/2011)
            12/02/2011     638 RESPONSE TO ORDER TO SHOW CAUSE by Oracle America, Inc. Oracle letter in response to
                               Order Regarding Patent Marking (ECF No. 636). (Jacobs, Michael) (Filed on 12/2/2011) (Entered:



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                                12/02/2011)
            12/05/2011     639 SUPPLEMENTAL ORDER REGARDING PATENT MARKING re 638 Response to Order to Show
                               Cause filed by Oracle America, Inc., 636 Order. Signed by Judge Alsup on December 5, 2011. (whalc1,
                               COURT STAFF) (Filed on 12/5/2011) (Entered: 12/05/2011)
            12/05/2011     640 Statement re 639 Order regarding Patent Marking by Google Inc.. (Francis, Mark) (Filed on
                               12/5/2011) (Entered: 12/05/2011)
            12/06/2011     641 SUPPLEMENTAL ORDER REGARDING PATENTING MARKING re 638 Response to Order to
                               Show Cause filed by Oracle America, Inc., 640 Statement filed by Google Inc.. Signed by Judge Alsup
                               on December 6, 2011. (whalc1, COURT STAFF) (Filed on 12/6/2011) (Entered: 12/06/2011)
            12/06/2011     642 TENTATIVE ORDER GRANTING IN PART AND DENYING IN PART GOOGLE'S MOTION IN
                               LIMINE #3 TO EXCLUDE PORTIONS OF DR. COCKBURN'S REVISED DAMAGES REPORT re
                               494 MOTION in Limine No. 3 filed by Google Inc.. Signed by Judge Alsup on December 6, 2011.
                               (whalc1, COURT STAFF) (Filed on 12/6/2011) (Entered: 12/06/2011)
            12/07/2011     643 ORDER CLARIFYING TENTATIVE RULING re 642 Order,. Signed by Judge Alsup on December 7,
                               2011. (whalc1, COURT STAFF) (Filed on 12/7/2011) (Entered: 12/07/2011)
            12/07/2011     644 Pretrial Conference Statement by Oracle America, Inc. and Google Inc. (Supplemental). (Jacobs,
                               Michael) (Filed on 12/7/2011) (Entered: 12/07/2011)
            12/09/2011     645 OBJECTIONS to re 637 Claim Construction Statement Oracle's Objections to Google's Proposed
                               Claim Constructions by Oracle America, Inc.. (Jacobs, Michael) (Filed on 12/9/2011) (Entered:
                               12/09/2011)
            12/09/2011     646 Declaration of Marc David Peters in Support of 645 Objection to Google's Proposed Claim
                               Constructions filed byOracle America, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C,
                               # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G)(Related document(s) 645 ) (Jacobs, Michael)
                               (Filed on 12/9/2011) (Entered: 12/09/2011)
            12/09/2011     647 OBJECTIONS to Oracle's Proposed Constructions by Google Inc.. (Anderson, Christa) (Filed on
                               12/9/2011) (Entered: 12/09/2011)
            12/15/2011     648 Declaration of Reid Mullen in Support of 507 Joint Administrative Motion to File Under Seal, 510
                               Declaration in Support (Revised) filed byGoogle Inc.. (Attachments: # 1 Proposed Order)(Related
                               document(s) 507 , 510 ) (Mullen, Reid) (Filed on 12/15/2011) (Entered: 12/15/2011)
            12/19/2011     649 Pretrial Conference Statement by Oracle America, Inc. Second Supplemental Joint Pretrial Conference
                               Statement. (Jacobs, Michael) (Filed on 12/19/2011) (Entered: 12/19/2011)
            12/20/2011     650 NOTICE REGARDING JUROR HARDSHIP QUESTIONNAIRE. Signed by Judge Alsup on
                               December 20, 2011. (Attachments: # 1 Appendix Hardship Questionnaire)(whalc1, COURT STAFF)
                               (Filed on 12/20/2011) (Entered: 12/20/2011)
            12/20/2011     651 Response re 642 Order, GOOGLE'S RESPONSE TO THE COURT'S DECEMBER 6, 2011 TENTATIVE
                               ORDER STRIKING PORTIONS OF DR. COCKBURN'S REVISED DAMAGES REPORT byGoogle
                               Inc.. (Van Nest, Robert) (Filed on 12/20/2011) (Entered: 12/20/2011)
            12/20/2011     652 RESPONSE to re 642 Order, PLAINTIFFS RESPONSE TO TENTATIVE ORDER ON GOOGLES
                               MOTION IN LIMINE NO. 3 TO EXCLUDE PORTIONS OF COCKBURN REPORT ON DAMAGES by
                               Oracle America, Inc.. (Holtzman, Steven) (Filed on 12/20/2011) (Entered: 12/20/2011)
            12/20/2011     653 Statement re 641 Order Joint Statement Regarding Supplemental Order Regarding Patenting Marking
                               by Oracle America, Inc.. (Muino, Daniel) (Filed on 12/20/2011) (Entered: 12/20/2011)
            12/21/2011     654 Minute Entry: Interim Pretrial Conference (Date Filed: 12/21/2011). (Court Reporter Sahar Bartlett.)
                               (dt, COURT STAFF) (Date Filed: 12/21/2011) (Entered: 12/22/2011)
            12/23/2011     655 Statement Joint Update on Re-Examination of 476 Patent by Oracle America, Inc.. (Jacobs, Michael)
                               (Filed on 12/23/2011) (Entered: 12/23/2011)
            12/27/2011     656 Letter Michael Jacob's letter to the Court in support of Oracle's Motion in Limine No. 1. (Attachments:
                               # 1 Attachment)(Jacobs, Michael) (Filed on 12/27/2011) (Entered: 12/27/2011)




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            12/27/2011     657 ORDER REQUESTING FURTHER BRIEFING re 642 Order,. Signed by Judge Alsup on December
                               27, 2011. (whalc1S, COURT STAFF) (Filed on 12/27/2011) (Entered: 12/27/2011)
            12/27/2011     658 ORDER GRANTING DR. KEARL'S REQUEST FOR EXTENSION. Signed by Judge Alsup on
                               December 27, 2011. (whalc1S, COURT STAFF) (Filed on 12/27/2011) (Entered: 12/27/2011)
            12/27/2011     659 ORDER GRANTING IN PART AND DENYING IN PART MOTIONS TO SEAL re 542 Response (
                               Non Motion ), filed by Motorola Mobility, Inc., 533 Administrative Motion to File Under Seal Portion
                               of Trial Brief filed by Google Inc., 556 Notice (Other) filed by Google Inc., 507 Joint Administrative
                               Motion to File Under Seal filed by Oracle America, Inc., 540 Order,, 648 Declaration in Support, filed
                               by Google Inc., 569 Notice (Other) filed by Oracle America, Inc., 537 Amended Administrative
                               Motion to File Under Seal Portions of Oracle's Trial Brief filed by Oracle America, Inc., 532
                               Administrative Motion to File Under Seal Oracle's Trial Brief and Exhibits B, C, D and E to
                               Declaration of Marc David Peters in Support of Oracle's Trial Brief filed by Oracle America, Inc..
                               Signed by Judge Alsup on December 27, 2011. (whalc1S, COURT STAFF) (Filed on 12/27/2011)
                               (Entered: 12/27/2011)
            12/28/2011     660 Letter from Robert Van Nest to the Court in opposition to Oracle's Motion in Limine No. 1.
                               (Attachments: # 1 Exhibit Case Attachment)(Van Nest, Robert) (Filed on 12/28/2011) (Entered:
                               12/28/2011)
            12/30/2011     661 Statement re 641 Order Joint Statement Regarding Supplemental Order Regarding Patenting Marking
                               by Google Inc., Oracle America, Inc.. (Peters, Marc) (Filed on 12/30/2011) (Entered: 12/30/2011)
            01/03/2012     662 Transcript of Proceedings held on 12/21/11, before Judge William Alsup. Court Reporter/Transcriber
                               Sahar Bartlett, CSR, RPR, Telephone number (415) 626-6060/sahar_bartlett@cand.uscourts.gov. Per
                               General Order No. 59 and Judicial Conference policy, this transcript may be viewed only at the Clerks
                               Office public terminal or may be purchased through the Court Reporter/Transcriber until the deadline
                               for the Release of Transcript Restriction.After that date it may be obtained through PACER. Any
                               Notice of Intent to Request Redaction, if required, is due no later than 5 business days from date of this
                               filing. Release of Transcript Restriction set for 4/2/2012. (Bartlett, Sahar) (Filed on 1/3/2012) (Entered:
                               01/03/2012)
            01/03/2012     663 Second MOTION in Limine to Exclude Evidence or Argument that Google Relied on Legal Advice in
                               Making its Decisions to Develop and Release Android filed by Oracle America, Inc.. Responses due by
                               1/17/2012. Replies due by 1/24/2012. (Attachments: # 1 Google's Opposition to Oracle's Motion in
                               Limine No. 2 to Exclude Evidence or Argument that Google Relied on Legal Advice in Making its
                               Decisions to Develop and Release Android)(Muino, Daniel) (Filed on 1/3/2012) (Entered: 01/03/2012)
            01/03/2012     664 Third MOTION in Limine to Preclude Google From Offering Evidence or Argument that Third-Party
                               OEMs Changed Infringing Components of Android (UNREDACTED VERSION) filed by Oracle
                               America, Inc.. Responses due by 1/17/2012. Replies due by 1/24/2012. (Attachments: # 1 Google's
                               Opposition to Oracle's Motion in Limine No. 3 to Preclude Google From Offering Evidence or
                               Argument that Third-Party OEMs Changed Infringing Components of Android)(Muino, Daniel) (Filed
                               on 1/3/2012) (Entered: 01/03/2012)
            01/03/2012     665 Fourth MOTION in Limine to Exclude Evidence or Argument Regarding Oracle's Past Actions with
                               Application Programming Interfaces (UNREDACTED VERSION) filed by Oracle America, Inc..
                               Responses due by 1/17/2012. Replies due by 1/24/2012. (Attachments: # 1 Google's Opposition to
                               Oracle's Motion in Limine No. 4 to Exclude Evidence or Argument Regarding Oracle's Past Actions
                               with Application Programming Interfaces)(Muino, Daniel) (Filed on 1/3/2012) (Entered: 01/03/2012)
            01/03/2012     666 Declaration of Daniel P. Muino in Support of 505 Exhibits, 503 Declaration in Support, 504 Exhibits,
                               (UNREDACTED VERSION) Declaration of Daniel P. Muino in Support of Oracle America, Inc.'s
                               Motions in Limine Nos. 1 through 5 filed by Oracle America, Inc. (Attachments: # 1 Exhibit A, # 2
                               Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9
                               Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit
                               O, # 16 Exhibit P, # 17 Exhibit Q, # 18 Exhibit R)(Related document(s) 505 , 503 , 504 ) (Muino,
                               Daniel) (Filed on 1/3/2012) Modified on 1/4/2012 (wsn, COURT STAFF). (Entered: 01/03/2012)
            01/03/2012     667 MOTION in Limine PLAINTIFFS MOTION IN LIMINE NO. 5 TO EXCLUDE EVIDENCE AND
                               ARGUMENT CONTRARY TO STATEMENTS IN TIM LINDHOLMS AUGUST 6, 2010 EMAIL
                               (UNREDACTED VERSION) filed by Oracle America, Inc.. Responses due by 1/17/2012. Replies due




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                                 by 1/24/2012. (Attachments: # 1 GOOGLES OPPOSITION TO ORACLES MOTION IN LIMINE
                                 NO. 5 TO EXCLUDE EVIDENCE AND ARGUMENT CONTRARY TO STATEMENTS IN TIM
                                 LINDHOLMS AUGUST 6, 2010 EMAIL)(Norton, William) (Filed on 1/3/2012) (Entered:
                                 01/03/2012)
            01/03/2012     668 MOTION in Limine No. 1 filed by Google Inc.. Responses due by 1/17/2012. Replies due by
                               1/24/2012. (Attachments: # 1 Oracle Opposition)(Kamber, Matthias) (Filed on 1/3/2012) (Entered:
                               01/03/2012)
            01/03/2012     669 MOTION in Limine No. 2 filed by Google Inc.. Responses due by 1/17/2012. Replies due by
                               1/24/2012. (Attachments: # 1 Oracle Opposition)(Kamber, Matthias) (Filed on 1/3/2012) (Entered:
                               01/03/2012)
            01/03/2012     670 MOTION in Limine No. 3 filed by Google Inc.. Responses due by 1/17/2012. Replies due by
                               1/24/2012. (Attachments: # 1 Oracle Opposition)(Kamber, Matthias) (Filed on 1/3/2012) (Entered:
                               01/03/2012)
            01/03/2012     671 MOTION in Limine No. 4 filed by Google Inc.. Responses due by 1/17/2012. Replies due by
                               1/24/2012. (Attachments: # 1 Oracle Opposition)(Kamber, Matthias) (Filed on 1/3/2012) (Entered:
                               01/03/2012)
            01/03/2012     672 MOTION in Limine No. 5 filed by Google Inc.. Responses due by 1/17/2012. Replies due by
                               1/24/2012. (Attachments: # 1 Oracle Opposition)(Kamber, Matthias) (Filed on 1/3/2012) (Entered:
                               01/03/2012)
            01/03/2012     673 Declaration of DANIEL PURCELL in Support of 671 MOTION in Limine No. 4, 668 MOTION in
                               Limine No. 1, 672 MOTION in Limine No. 5, 669 MOTION in Limine No. 2, 670 MOTION in Limine
                               No. 3 filed byGoogle Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                               Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, #
                               12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18
                               Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24
                               Exhibit 24, # 25 Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30
                               Exhibit 30, # 31 Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, # 35 Exhibit 35, # 36
                               Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38, # 39 Exhibit 39, # 40 Exhibit 40)(Related document(s)
                               671 , 668 , 672 , 669 , 670 ) (Kamber, Matthias) (Filed on 1/3/2012) (Entered: 01/03/2012)
            01/03/2012     674 DECLARATION of RUCHIKA AGRAWAL in Opposition to 671 MOTION in Limine No. 4, 668
                               MOTION in Limine No. 1, 672 MOTION in Limine No. 5, 669 MOTION in Limine No. 2, 670
                               MOTION in Limine No. 3 filed byGoogle Inc.. (Attachments: # 1 Exhibit 1-1, # 2 Exhibit 1-2, # 3
                               Exhibit 1-3, # 4 Exhibit 1-4, # 5 Exhibit 1-5, # 6 Exhibit 1-6, # 7 Exhibit 1-7, # 8 Exhibit 1-8, # 9
                               Exhibit 1-9, # 10 Exhibit 1-10, # 11 Exhibit 1-11, # 12 Exhibit 1-12, # 13 Exhibit 2-1, # 14 Exhibit 2-2,
                               # 15 Exhibit 2-3, # 16 Exhibit 2-4, # 17 Exhibit 2-5, # 18 Exhibit 2-6, # 19 Exhibit 2-7, # 20 Exhibit
                               2-8, # 21 Exhibit 2-9, # 22 Exhibit 2-10, # 23 Exhibit 2-11, # 24 Exhibit 2-12, # 25 Exhibit 2-13, # 26
                               Exhibit 2-14, # 27 Exhibit 2-15, # 28 Exhibit 2-16, # 29 Exhibit 2-17, # 30 Exhibit 3-1, # 31 Exhibit
                               3-2, # 32 Exhibit 3-3, # 33 Exhibit 3-4, # 34 Exhibit 3-5, # 35 Exhibit 3-6, # 36 Exhibit 3-7, # 37
                               Exhibit 3-8, # 38 Exhibit 3-9, # 39 Exhibit 3-10, # 40 Exhibit 3-11, # 41 Exhibit 4-1, # 42 Exhibit 4-2,
                               # 43 Exhibit 4-3, # 44 Exhibit 5-1, # 45 Exhibit 5-2, # 46 Exhibit 5-3, # 47 Exhibit 5-4)(Related
                               document(s) 671 , 668 , 672 , 669 , 670 ) (Kamber, Matthias) (Filed on 1/3/2012) (Entered:
                               01/03/2012)
            01/04/2012     675 FINAL PRETRIAL ORDER. Signed by Judge Alsup on January 4, 2012. (whalc1, COURT STAFF)
                               (Filed on 1/4/2012) (Entered: 01/04/2012)
            01/04/2012     676 OMNIBUS ORDER ON MOTIONS IN LIMINE FOR PRETRIAL CONFERENCE. Signed by Judge
                               Alsup on January 4, 2012. (whalc1, COURT STAFF) (Filed on 1/4/2012) (Entered: 01/04/2012)
            01/04/2012     677 ADMINISTRATIVE ORDER BACKING UP ORDER # 659 by Hon. William Alsup granting in part
                               and denying in part 507 Administrative Motion to File Under Seal.(whalc1, COURT STAFF) (Filed on
                               1/4/2012) (Entered: 01/04/2012)
            01/04/2012     678 DOCUMENT E-FILED UNDER SEAL re 677 Order on Administrative Motion to File Under Seal
                               Exhibit 5-04 to the Declaration of Ruchika Agrawal in Opposition to 671 Motion in Limine No. 4, 668
                               Motion in Limine No. 1, 672 Motion in Limine No. 5, 669 Motion in Limine No. 2, 670 Motion in
                               Limine No. 3 filed by Google, Inc. by Google Inc.. (Kamber, Matthias) (Filed on 1/4/2012) (Entered:



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                                01/04/2012)
            01/04/2012     679 DOCUMENT E-FILED UNDER SEAL re 677 Order on Administrative Motion to File Under Seal
                               Oracle's Opposition to 672 Motion in Limine No. 5 by Google Inc.. (Kamber, Matthias) (Filed on
                               1/4/2012) (Entered: 01/04/2012)
            01/04/2012     680 DOCUMENT E-FILED UNDER SEAL re 677 Order on Administrative Motion to File Under Seal
                               Exhibit 32 to the 673 Declaration of Daniel Purcell in Support of 671 Motion in Limine No. 4, 668
                               Motion in Limine No. 1, 672 Motion in Limine No. 5, 669 Motion in Limine No. 2, 670 Motion in
                               Limine No. 3 by Google Inc.. (Kamber, Matthias) (Filed on 1/4/2012) (Entered: 01/04/2012)
            01/05/2012     681 Response re 657 Order GOOGLE'S RESPONSE TO THE COURT'S DECEMBER 27, 2011 REQUEST
                               FOR FURTHER BRIEFING ON DAMAGES EXPERT ISSUES byGoogle Inc.. (Van Nest, Robert)
                               (Filed on 1/5/2012) (Entered: 01/05/2012)
            01/05/2012     682 RESPONSE to ORACLE AMERICA, INC.S RESPONSE TO COURTS DECEMBER 27, 2011,
                               REQUEST FOR FURTHER BREIFING ON DAMAGES (DKT. NO. 657) by Oracle America, Inc..
                               (Holtzman, Steven) (Filed on 1/5/2012) (Entered: 01/05/2012)
            01/09/2012     683 Response re 682 Response ( Non Motion ) GOOGLE'S REPLY TO ORACLE'S RESPONSE TO
                               COURT'S DECEMBER 27, 2011 REQUEST FOR FURTHER BRIEFING ON DAMAGES byGoogle
                               Inc.. (Van Nest, Robert) (Filed on 1/9/2012) (Entered: 01/09/2012)
            01/09/2012     684 RESPONSE to re 681 Response ORACLE AMERICA, INC.S REPLY TO GOOGLES JANUARY 5,
                               2012 RESPONSE TO REQUEST FOR FURTHER BRIEFING ON DAMAGES (DKT. NO. 657) by
                               Oracle America, Inc.. (Holtzman, Steven) (Filed on 1/9/2012) (Entered: 01/09/2012)
            01/09/2012     685 ORDER GRANTING IN PART AND DENYING IN PART GOOGLE'S MOTION IN LIMINE
                               NUMBER THREE TO EXCLUDE PORTIONS OF DR. COCKBURN'S REVISED DAMAGES
                               REPORT by Hon. William Alsup granting in part and denying in part 670 Motion in Limine.(whalc1,
                               COURT STAFF) (Filed on 1/9/2012) (Entered: 01/09/2012)
            01/09/2012     686 DIRECTIVE TO RULE 706 EXPERT re 685 Order on Motion in Limine,. Signed by Judge Alsup on
                               January 9, 2012. (whalc1, COURT STAFF) (Filed on 1/9/2012) (Entered: 01/09/2012)
            01/09/2012          (Court only) ***Motions terminated: 665 Fourth MOTION in Limine to Exclude Evidence or
                                Argument Regarding Oracle's Past Actions with Application Programming Interfaces (UNREDACTED
                                VERSION) filed by Oracle America, Inc., 493 MOTION in Limine NO. 2 filed by Google Inc., 496
                                MOTION in Limine No. 5 filed by Google Inc., 494 MOTION in Limine No. 3 filed by Google Inc.,
                                498 First MOTION in Limine to Exclude Evidence or Argument Regarding Patent Reexaminations
                                (MIL No. 1) filed by Oracle America, Inc., 500 Third MOTION in Limine to Preclude Google from
                                Offering Evidence or Argument That Third-Party OEMs Changed Infringing Components of Android
                                (MIL No. 3) filed by Oracle America, Inc., 664 Third MOTION in Limine to Preclude Google From
                                Offering Evidence or Argument that Third-Party OEMs Changed Infringing Components of Android
                                (UNREDACTED VERSION) filed by Oracle America, Inc., 548 Administrative Motion to File Under
                                Seal filed by Google Inc., 663 Second MOTION in Limine to Exclude Evidence or Argument that
                                Google Relied on Legal Advice in Making its Decisions to Develop and Release Android filed by
                                Oracle America, Inc., 533 Administrative Motion to File Under Seal Portion of Trial Brief filed by
                                Google Inc., 495 MOTION in Limine No. 4 filed by Google Inc., 668 MOTION in Limine No. 1 filed
                                by Google Inc., 501 Fourth MOTION in Limine to Exclude Evidence or Argument Regarding Oracle's
                                Past Actions With Application Programming Interfaces (MIL No. 4) filed by Oracle America, Inc., 672
                                MOTION in Limine No. 5 filed by Google Inc., 669 MOTION in Limine No. 2 filed by Google Inc.,
                                502 Fifth MOTION in Limine to Exclude Evidence and Argument Contrary to Statements in Tim
                                Lindholm's August 6, 2010 Email (MIL No. 5) filed by Oracle America, Inc., 667 MOTION in Limine
                                PLAINTIFFS MOTION IN LIMINE NO. 5 TO EXCLUDE EVIDENCE AND ARGUMENT CONTRARY
                                TO STATEMENTS IN TIM LINDHOLMS AUGUST 6, 2010 EMAIL (UNREDACTED VERSION) filed
                                by Oracle America, Inc., 492 MOTION in Limine No. 1 filed by Google Inc., 571 Administrative
                                Motion to File Under Seal ORACLE AMERICA, INC.S ADMINISTRATIVE MOTION TO FILE
                                UNDER SEAL PORTIONS OF ORACLES RESPONSIVE SUPPLEMENTAL BRIEF IN OPPOSITION
                                TO GOOGLES MOTION IN LIMINE NO. 3 TO EXCLUDE PORTIONS OF COCKBURN REPORT
                                ON DAMA filed by Oracle America, Inc., 671 MOTION in Limine No. 4 filed by Google Inc., 499
                                Second MOTION in Limine to Exclude Evidence or Argument That Google Relied on Legal Advice in
                                Making Its Decisions to Develop and Release Android (MIL No. 2) filed by Oracle America, Inc., 537



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                                Amended Administrative Motion to File Under Seal Portions of Oracle's Trial Brief filed by Oracle
                                America, Inc., 532 Administrative Motion to File Under Seal Oracle's Trial Brief and Exhibits B, C, D
                                and E to Declaration of Marc David Peters in Support of Oracle's Trial Brief filed by Oracle America,
                                Inc.. (whalc1, COURT STAFF) (Filed on 1/9/2012) (Entered: 01/09/2012)
            01/10/2012     687 ORDER GRANTING IN PART AND DENYING IN PART MOTIONS TO SEAL by Hon. William
                               Alsup granting in part and denying in part 571 Administrative Motion to File Under Seal.(whalc1,
                               COURT STAFF) (Filed on 1/10/2012) (Entered: 01/10/2012)
            01/10/2012          (Court only) ***Motions terminated: 548 Administrative Motion to File Under Seal filed by Google
                                Inc.. (whalc1, COURT STAFF) (Filed on 1/10/2012) (Entered: 01/10/2012)
            01/11/2012     688 Response ORACLE AMERICA INC.S RESPONSIVE SUPPLEMENTAL BRIEF IN OPPOSITION TO
                               549 re 494 GOOGLES MOTION IN LIMINE NO. 3 TO EXCLUDE PORTIONS OF COCKBURN
                               REPORT ON DAMAGES byOracle America, Inc.. (Attachments: # 1 Exhibit Exhibits A, C-F, H, L to
                               Dearborn Declaration)(Holtzman, Steven) (Filed on 1/11/2012) (Entered: 01/11/2012)
            01/11/2012     689 DOCUMENT E-FILED UNDER SEAL re 687 Order on Administrative Motion to File Under Seal
                               EXHIBITS J & M TO THE DECLARATION OF MEREDITH DEARBORN IN SUPPORT OF 688
                               ORACLE AMERICA INC.S RESPONSIVE SUPPLEMENTAL BRIEF IN OPPOSITION TO 549 re 494
                               GOOGLES MOTION IN LIMINE NO. 3 TO EXCLUDE PORTIONS OF COCKBURN REPORT ON
                               DAMAGES by Oracle America, Inc.. (Holtzman, Steven) (Filed on 1/11/2012) (Entered: 01/11/2012)
            01/11/2012     690 RESPONSE to Oracle's Response to Final Pretrial Order by Oracle America, Inc.. (Jacobs, Michael)
                               (Filed on 1/11/2012) (Entered: 01/11/2012)
            01/11/2012     691 RESPONSE to re 647 Objection Oracle's Responsive Brief Regarding Objections To Google's
                               Proposed Claim Constructions by Oracle America, Inc.. (Jacobs, Michael) (Filed on 1/11/2012)
                               (Entered: 01/11/2012)
            01/11/2012     692 RESPONSE to re 675 Order and Objections to Final Pretrial Order by Google Inc.. (Van Nest, Robert)
                               (Filed on 1/11/2012) (Entered: 01/11/2012)
            01/11/2012     693 Brief in Reply to Oracle's Proposed Claim Constructions filed byGoogle Inc.. (Attachments: # 1
                               Declaration, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D)(Sabnis, Cheryl) (Filed on
                               1/11/2012) (Entered: 01/11/2012)
            01/12/2012     694 FURTHER RULINGS REGARDING COMMENTS ON FINAL PRETRIAL ORDER re 692
                               Response ( Non Motion ) filed by Google Inc., 690 Response ( Non Motion ) filed by Oracle America,
                               Inc.. Signed by Judge Alsup on January 12, 2012. (whalc1, COURT STAFF) (Filed on 1/12/2012)
                               (Entered: 01/12/2012)
            01/12/2012     695 Brief re MOTION in Limine No. 3 [SUPPLEMENTAL] filed byGoogle Inc.. (Van Nest, Robert) (Filed
                               on 1/12/2012) (Entered: 01/12/2012)
            01/12/2012     696 Declaration of Daniel Purcell in Support of 695 Brief filed byGoogle Inc.. (Attachments: # 1 Exhibit A,
                               # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Related document(s) 695 ) (Van Nest,
                               Robert) (Filed on 1/12/2012) (Entered: 01/12/2012)
            01/17/2012     697 Response re 685 Order on Motion in Limine, Memorandum Regarding Whether Dr. Cockburn Should
                               Be Allowed To Submit A Third Damages Report byGoogle Inc.. (Van Nest, Robert) (Filed on
                               1/17/2012) (Entered: 01/17/2012)
            01/17/2012     698 RESPONSE to re 685 Order on Motion in Limine, ORACLE AMERICA, INC.S RESPONSE TO THE
                               COURTS JANUARY 9, 2012 ORDER ON GOOGLE MOTION IN LIMINE NO. 3 (DKT. 685) by Oracle
                               America, Inc.. (Holtzman, Steven) (Filed on 1/17/2012) (Entered: 01/17/2012)
            01/17/2012     699 ORDER RESCHEDULING DEADLINE FOR FIVE-PAGE REPLIES re 698 Response ( Non Motion
                               ) filed by Oracle America, Inc., 697 Response filed by Google Inc.. Signed by Judge Alsup on January
                               17, 2012. (whalc1, COURT STAFF) (Filed on 1/17/2012) (Entered: 01/17/2012)
            01/19/2012     700 RESPONSE to re 697 Response ORACLE AMERICA, INC.S REPLY TO GOOGLES RESPONSE TO
                               THE COURTS JANUARY 9, 2012 ORDER ON GOOGLE MOTION IN LIMINE NO. 3 [DKT. 685] by
                               Oracle America, Inc.. (Holtzman, Steven) (Filed on 1/19/2012) (Entered: 01/19/2012)




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            01/19/2012     701 Response re 698 Response ( Non Motion ) GOOGLE'S REPLY TO ORACLE'S RESPONSE TO THE
                               COURT'S JANUARY 9, 2012 ORDER ON GOOGLE MOTION IN LIMINE NO. 3 byGoogle Inc.. (Van
                               Nest, Robert) (Filed on 1/19/2012) (Entered: 01/19/2012)
            01/20/2012     702 ORDER CONDITIONALLY ALLOWING DR. COCKBURN A THIRD DAMAGES REPORT re 700
                               Response ( Non Motion ) filed by Oracle America, Inc., 701 Response filed by Google Inc., 698
                               Response ( Non Motion ) filed by Oracle America, Inc., 697 Response filed by Google Inc.. Signed by
                               Judge Alsup on January 20, 2012. (whalc1, COURT STAFF) (Filed on 1/20/2012) (Entered:
                               01/20/2012)
            01/24/2012     703 RESPONSE to re 702 Order, ORACLE AMERICA, INC.S RESPONSE TO COURT ORDER OF
                               JANUARY 20, 2012 702 by Oracle America, Inc.. (Holtzman, Steven) (Filed on 1/24/2012) (Entered:
                               01/24/2012)
            01/25/2012     704 SUPPLEMENTAL CLAIM CONSTRUCTION ORDER re 637 Claim Construction Statement filed by
                               Google Inc., 647 Objection filed by Google Inc., 645 Objection filed by Oracle America, Inc., 691
                               Response ( Non Motion ) filed by Oracle America, Inc., 646 Declaration in Support, filed by Oracle
                               America, Inc., 693 Brief filed by Google Inc.. Signed by Judge Alsup on January 25, 2012. (whalc1,
                               COURT STAFF) (Filed on 1/25/2012) (Entered: 01/25/2012)
            01/25/2012     705 ORDER RE ATTORNEY'S FEES AND COSTS FOR THIRD DAMAGES STUDY re 702 Order,.
                               Signed by Judge Alsup on January 25, 2012. (whalc1, COURT STAFF) (Filed on 1/25/2012) (Entered:
                               01/25/2012)
            01/27/2012     706 Statement re 641 Order, 661 Statement Joint Statement regarding Oracle Products Practicing Patents
                               by Google Inc., Oracle America, Inc.. (Attachments: # 1 Appendix A, # 2 Appendix B)(Peters, Marc)
                               (Filed on 1/27/2012) (Entered: 01/27/2012)
            01/31/2012     707 ORDER REGARDING PATENT MARKING DISPUTE re 706 Statement filed by Google Inc., Oracle
                               America, Inc.. Signed by Judge Alsup on January 31, 2012. (whalc1, COURT STAFF) (Filed on
                               1/31/2012) (Entered: 01/31/2012)
            02/01/2012     708 ORDER REGARDING COPYRIGHT ISSUES. Signed by Judge Alsup on February 1, 2012. (whalc1,
                               COURT STAFF) (Filed on 2/1/2012) (Entered: 02/01/2012)
            02/02/2012     709 ORDER REQUESTING COPIES OF EXPERT REPORTS re 702 Order,. Signed by Judge Alsup on
                               February 2, 2012. (whalc1, COURT STAFF) (Filed on 2/2/2012) (Entered: 02/02/2012)
            02/03/2012     710 ORDER REGARDING TRIAL BRIEFS. Signed by Judge Alsup on February 3, 2012. (whalc1,
                               COURT STAFF) (Filed on 2/3/2012) (Entered: 02/03/2012)
            02/08/2012     711 Letter from Daniel Purcell and Steven Holtzman Joint Letter Regarding Depositions of Oracle
                               Engineers. (Purcell, Daniel) (Filed on 2/8/2012) (Entered: 02/08/2012)
            02/09/2012     712 ORDER REGARDING FEBRUARY 8 JOINT LETTER re 711 Letter filed by Google Inc.. Signed by
                               Judge Alsup on February 9, 2012. (whalc1, COURT STAFF) (Filed on 2/9/2012) (Entered:
                               02/09/2012)
            02/09/2012     713 SUPPLEMENTAL ORDER REGARDING ADDITIONAL DEPOSITIONS re 712 Order. Signed by
                               Judge Alsup on February 9, 2012. (whalc1, COURT STAFF) (Filed on 2/9/2012) (Entered:
                               02/09/2012)
            02/09/2012     714 ORDER of USCA re 618 USCA for the Federal Circuit. Petition for writ of mandamus. The petition
                               for a writ of mandamus is denied. The motion for oral argument is denied. Misc. No. 106. (wsn,
                               COURT STAFF) (Filed on 2/9/2012) (Entered: 02/09/2012)
            02/15/2012     715 Letter from Defendant Google Inc Re Invalidity of Claim 14 of the '476 Patent. . (Van Nest, Robert)
                               (Filed on 2/15/2012) (Entered: 02/15/2012)
            02/17/2012     716 Letter from Plaintiff Oracle America Re Google Precis Letter Re Claim 14 of the '476 Patent. (Jacobs,
                               Michael) (Filed on 2/17/2012) (Entered: 02/17/2012)
            02/17/2012     717 Administrative Motion to File Under Seal filed by Google Inc.. (Van Nest, Robert) (Filed on
                               2/17/2012) (Entered: 02/17/2012)




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            02/17/2012     718 MOTION to Strike Portions of Third Expert Report by Iain Cockburn and Expert Report by Steven
                               Shugan; Memorandum of Points and Authorities in Support Thereof filed by Google Inc.. Responses
                               due by 3/2/2012. Replies due by 3/9/2012. (Van Nest, Robert) (Filed on 2/17/2012) (Entered:
                               02/17/2012)
            02/17/2012     719 Declaration of DAVID ZIMMER in Support of 718 MOTION to Strike Portions of Third Expert
                               Report by Iain Cockburn and Expert Report by Steven Shugan; Memorandum of Points and Authorities
                               in Support Thereof filed byGoogle Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                               Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11
                               Exhibit K)(Related document(s) 718 ) (Van Nest, Robert) (Filed on 2/17/2012) (Entered: 02/17/2012)
            02/17/2012     720 Proposed Order re 718 MOTION to Strike Portions of Third Expert Report by Iain Cockburn and
                               Expert Report by Steven Shugan; Memorandum of Points and Authorities in Support Thereof by
                               Google Inc.. (Van Nest, Robert) (Filed on 2/17/2012) (Entered: 02/17/2012)
            02/21/2012     721 Statement re 707 Order Supplemental Joint Statement Regarding Oracle Products Practicing Patents
                               by Google Inc., Oracle America, Inc.. (Peters, Marc) (Filed on 2/21/2012) (Entered: 02/21/2012)
            02/22/2012     722 NOTICE by Google Inc., Oracle America, Inc. Regarding Reexamination of Patents-in-Suit (Francis,
                               Mark) (Filed on 2/22/2012) (Entered: 02/22/2012)
            02/22/2012     723 Letter from Defendant Google Inc. Requesting Leave to Supplement Invalidity Expert Reports In View
                               of Reexamination Proceedings. (Francis, Mark) (Filed on 2/22/2012) (Entered: 02/22/2012)
            02/23/2012     724 ORDER REGARDING EXPERTS' COMPENSATION. Signed by Judge Alsup on February 23, 2012.
                               (whalc1, COURT STAFF) (Filed on 2/23/2012) (Entered: 02/23/2012)
            02/24/2012     725 ORDER REGARDING PATENT MARKING JOINT STATEMENT re 721 Statement filed by Google
                               Inc., Oracle America, Inc.. Signed by Judge Alsup on February 24, 2012. (whalc1, COURT STAFF)
                               (Filed on 2/24/2012) (Entered: 02/24/2012)
            02/24/2012     726 ORDER REGARDING REEXAMINATIONS re 722 Notice (Other) filed by Google Inc., Oracle
                               America, Inc.. Signed by Judge Alsup on February 24, 2012. (whalc1, COURT STAFF) (Filed on
                               2/24/2012) (Entered: 02/24/2012)
            02/24/2012     727 Administrative Motion to File Under Seal PORTIONS OF MOTION TO STRIKE PORTIONS OF THE
                               SUPPLEMENTAL EXPERT REPORT OF DR. GREGORY K. LEONARD filed by Oracle America,
                               Inc.. (Attachments: # 1 Proposed Order)(Holtzman, Steven) (Filed on 2/24/2012) (Entered:
                               02/24/2012)
            02/24/2012     728 Declaration of ANDREW TEMKIN in Support of 727 Administrative Motion to File Under Seal
                               PORTIONS OF MOTION TO STRIKE PORTIONS OF THE SUPPLEMENTAL EXPERT REPORT OF
                               DR. GREGORY K. LEONARD filed byOracle America, Inc.. (Related document(s) 727 ) (Holtzman,
                               Steven) (Filed on 2/24/2012) (Entered: 02/24/2012)
            02/24/2012     729 MOTION to Strike PORTIONS OF GREGORY LEONARDS SUPPLEMENTAL REPORT filed by
                               Oracle America, Inc.. Responses due by 3/2/2012. Replies due by 3/6/2012. (Holtzman, Steven) (Filed
                               on 2/24/2012) (Entered: 02/24/2012)
            02/24/2012     730 Declaration of IAIN M. COCKBURN in Support of 729 MOTION to Strike PORTIONS OF
                               GREGORY LEONARDS SUPPLEMENTAL REPORT filed byOracle America, Inc.. (Related
                               document(s) 729 ) (Holtzman, Steven) (Filed on 2/24/2012) (Entered: 02/24/2012)
            02/24/2012     731 Declaration of BEKO REBLITZ-RICHARDSON in Support of 729 MOTION to Strike PORTIONS
                               OF GREGORY LEONARDS SUPPLEMENTAL REPORT filed byOracle America, Inc.. (Attachments:
                               # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, #
                               8 Exhibit H)(Related document(s) 729 ) (Holtzman, Steven) (Filed on 2/24/2012) Modified on
                               2/27/2012 (wsn, COURT STAFF). (Entered: 02/24/2012)
            02/24/2012     732 RESPONSE to re 723 Letter regarding '702 and '205 invalidity supplementation by Oracle America,
                               Inc.. (Jacobs, Michael) (Filed on 2/24/2012) (Entered: 02/24/2012)
            02/24/2012     733 Administrative Motion to File Under Seal PORTIONS OF ITS MOTION TO STRIK PORTIONS OF
                               THE SUPPLEMENTAL EXPERT REPORT OF DR. ALAN J. COX filed by Oracle America, Inc..
                               (Attachments: # 1 Proposed Order)(Holtzman, Steven) (Filed on 2/24/2012) (Entered: 02/24/2012)




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            02/24/2012     734 MOTION to Strike EXCLUDE PORTIONS OF THE SUPPLEMENTAL EXPERT REPORT OF DR.
                               ALAN J. COX filed by Oracle America, Inc.. Responses due by 3/2/2012. Replies due by 3/6/2012.
                               (Holtzman, Steven) (Filed on 2/24/2012) (Entered: 02/24/2012)
            02/24/2012     735 Declaration of MEREDITH DEARBORN in Support of 734 MOTION to Strike EXCLUDE
                               PORTIONS OF THE SUPPLEMENTAL EXPERT REPORT OF DR. ALAN J. COX filed byOracle
                               America, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Related document(s) 734 )
                               (Holtzman, Steven) (Filed on 2/24/2012) (Entered: 02/24/2012)
            02/24/2012     736 Administrative Motion to File Under Seal PORTIONS OF ITS OPPOSITION TO GOOGLES
                               DAUBERT MOTION filed by Oracle America, Inc.. (Attachments: # 1 Proposed Order)(Holtzman,
                               Steven) (Filed on 2/24/2012) (Entered: 02/24/2012)
            02/24/2012     737 RESPONSE (re 718 MOTION to Strike Portions of Third Expert Report by Iain Cockburn and Expert
                               Report by Steven Shugan; Memorandum of Points and Authorities in Support Thereof ) filed byOracle
                               America, Inc.. (Holtzman, Steven) (Filed on 2/24/2012) (Entered: 02/24/2012)
            02/24/2012     738 Declaration of FRED NORTON in Support of 737 Opposition/Response to Motion, filed byOracle
                               America, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E,
                               # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J)(Related document(s) 737 )
                               (Holtzman, Steven) (Filed on 2/24/2012) (Entered: 02/24/2012)
            02/24/2012     739 Declaration of IAIN M. COCKBURN in Support of 737 Opposition/Response to Motion, filed
                               byOracle America, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Related document(s) 737 )
                               (Holtzman, Steven) (Filed on 2/24/2012) (Entered: 02/24/2012)
            02/24/2012     740 Declaration of STEVEN M. SHUGAN in Support of 737 Opposition/Response to Motion, filed
                               byOracle America, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Related document(s) 737 )
                               (Holtzman, Steven) (Filed on 2/24/2012) (Entered: 02/24/2012)
            02/24/2012     741 Declaration of PETER KESSLER in Support of 737 Opposition/Response to Motion, filed byOracle
                               America, Inc.. (Related document(s) 737 ) (Holtzman, Steven) (Filed on 2/24/2012) (Entered:
                               02/24/2012)
            02/24/2012     742 Declaration of CHRISTOPHER PLUMMER in Support of 737 Opposition/Response to Motion, filed
                               byOracle America, Inc.. (Related document(s) 737 ) (Holtzman, Steven) (Filed on 2/24/2012) (Entered:
                               02/24/2012)
            02/24/2012     743 Declaration of MARK REINHOLD in Support of 737 Opposition/Response to Motion, filed byOracle
                               America, Inc.. (Related document(s) 737 ) (Holtzman, Steven) (Filed on 2/24/2012) (Entered:
                               02/24/2012)
            02/24/2012     744 Declaration of JOHN R. ROSE in Support of 737 Opposition/Response to Motion, filed byOracle
                               America, Inc.. (Related document(s) 737 ) (Holtzman, Steven) (Filed on 2/24/2012) (Entered:
                               02/24/2012)
            02/24/2012     745 Declaration of HINKMOND WONG in Support of 737 Opposition/Response to Motion, filed byOracle
                               America, Inc.. (Related document(s) 737 ) (Holtzman, Steven) (Filed on 2/24/2012) (Entered:
                               02/24/2012)
            02/24/2012     746 Declaration of GEORGE SIMION in Support of 737 Opposition/Response to Motion, filed byOracle
                               America, Inc.. (Related document(s) 737 ) (Holtzman, Steven) (Filed on 2/24/2012) (Entered:
                               02/24/2012)
            02/24/2012     747 ERRATA re 736 Administrative Motion to File Under Seal PORTIONS OF ITS OPPOSITION TO
                               GOOGLES DAUBERT MOTION [CORRECTED] PROPOSED ORDER by Oracle America, Inc..
                               (Holtzman, Steven) (Filed on 2/24/2012) (Entered: 02/24/2012)
            02/24/2012     748 Letter from Robert A. Van Nest . (Van Nest, Robert) (Filed on 2/24/2012) (Entered: 02/24/2012)
            02/27/2012     749 NOTICE REGARDING FEBRUARY 24 LETTER re 748 Letter filed by Google Inc.. Signed by Judge
                               Alsup on February 27, 2012.. (whalc1, COURT STAFF) (Filed on 2/27/2012) (Entered: 02/27/2012)
            02/28/2012     750 Administrative Motion to File Under Seal filed by Google Inc.. (Van Nest, Robert) (Filed on
                               2/28/2012) (Entered: 02/28/2012)




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            02/28/2012     751 REPLY (re 718 MOTION to Strike Portions of Third Expert Report by Iain Cockburn and Expert
                               Report by Steven Shugan; Memorandum of Points and Authorities in Support Thereof, 750
                               Administrative Motion to File Under Seal ) filed byGoogle Inc.. (Van Nest, Robert) (Filed on
                               2/28/2012) (Entered: 02/28/2012)
            02/28/2012     752 Declaration of Reid Mullen in Support of 750 Administrative Motion to File Under Seal , 751 Reply to
                               Opposition/Response, [PUBLIC VERSION] filed byGoogle Inc.. (Attachments: # 1 Exhibit A, # 2
                               Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Related document(s) 750 , 751 ) (Mullen, Reid)
                               (Filed on 2/28/2012) (Entered: 02/28/2012)
            02/29/2012     753 ORDER ALLOWING EXPERTS TO ADDRESS FINAL REEXAMS re 723 Letter filed by Google
                               Inc., 732 Response ( Non Motion ) filed by Oracle America, Inc.. Signed by Judge Alsup on February
                               29, 2012. (whalc1, COURT STAFF) (Filed on 2/29/2012) (Entered: 02/29/2012)
            02/29/2012     754 ORDER REQUESTING DISCUSSION IN COPYRIGHT BRIEFS. Signed by Judge Alsup on
                               February 29, 2012. (whalc1, COURT STAFF) (Filed on 2/29/2012) (Entered: 02/29/2012)
            02/29/2012     755 Letter from Michael A. Jacobs Requesting Leave to File Motion to Amend Oracle's 205 Patent
                               Infringement Contentions and Report. (Jacobs, Michael) (Filed on 2/29/2012) (Entered: 02/29/2012)
            03/01/2012     756 ORDER SETTING DAUBERT HEARING. Signed by Judge Alsup on March 1, 2012. (whalc1,
                               COURT STAFF) (Filed on 3/1/2012) (Entered: 03/01/2012)
            03/01/2012          Set/Reset Deadlines as to 718 MOTION to Strike Portions of Third Expert Report by Iain Cockburn
                                and Expert Report by Steven Shugan; Memorandum of Points and Authorities in Support Thereof.
                                Motion Hearing set for 3/7/2012 07:30 AM in Courtroom 8, 19th Floor, San Francisco before Hon.
                                William Alsup. (dt, COURT STAFF) (Filed on 3/1/2012) (Entered: 03/01/2012)
            03/01/2012     757 SUPPLEMENTAL ORDER REGARDING STATEMENT ON REEXAMINATIONS re 726 Order.
                               Signed by Judge Alsup on March 1, 2012. (whalc1, COURT STAFF) (Filed on 3/1/2012) (Entered:
                               03/01/2012)
            03/02/2012     758 Letter from Robert A. Van Nest Opposing Oracle's Request for Leave to Amend its '205 Patent
                               Infringement Contentions. (Francis, Mark) (Filed on 3/2/2012) (Entered: 03/02/2012)
            03/02/2012     759 RESPONSE (re 734 MOTION to Strike EXCLUDE PORTIONS OF THE SUPPLEMENTAL EXPERT
                               REPORT OF DR. ALAN J. COX ) filed byGoogle Inc.. (Van Nest, Robert) (Filed on 3/2/2012)
                               (Entered: 03/02/2012)
            03/02/2012     760 Declaration of Reid P. Mullen in Support of 759 Opposition/Response to Motion to Exclude Portions
                               of the Supplemental Expert Report of Dr. Alan J. Cox filed byGoogle Inc.. (Attachments: # 1 Exhibit
                               A)(Related document(s) 759 ) (Van Nest, Robert) (Filed on 3/2/2012) (Entered: 03/02/2012)
            03/02/2012     761 Administrative Motion to File Under Seal filed by Google Inc.. (Van Nest, Robert) (Filed on 3/2/2012)
                               (Entered: 03/02/2012)
            03/02/2012     762 RESPONSE (re 729 MOTION to Strike PORTIONS OF GREGORY LEONARDS SUPPLEMENTAL
                               REPORT ) filed byGoogle Inc.. (Van Nest, Robert) (Filed on 3/2/2012) (Entered: 03/02/2012)
            03/02/2012     763 Declaration of David Zimmer in Support of 762 Google Inc.'s Opposition to Oracle America, Inc.'s
                               Motion to Strike Portions of Gregory Leonard's Supplemental Expert Report filed byGoogle Inc.
                               (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit
                               E(1), # 7 Exhibit F, # 8 Exhibit G)(Van Nest, Robert) (Filed on 3/2/2012) Modified on 3/5/2012 (wsn,
                               COURT STAFF). (Entered: 03/02/2012)
            03/02/2012     764 Declaration of GREGORY LEONARD in Support of 762 Google's Opposition to Oracle's Motion to
                               Strike Portions of Gregory Leonard's Supplemental Report filed by Google Inc. (Van Nest, Robert)
                               (Filed on 3/2/2012) Modified on 3/5/2012 (wsn, COURT STAFF). (Entered: 03/02/2012)
            03/02/2012     765 Letter from Michael A. Jacobs Re Oracle Request for Leave to File Motion to Amend Oracle's 205
                               Patent Infringement Contentions and Report. (Jacobs, Michael) (Filed on 3/2/2012) (Entered:
                               03/02/2012)
            03/02/2012     766 ORDER REGARDING DAUBERT HEARING ON MARCH 7. Signed by Judge Alsup on March 2,
                               2012. (whalc1, COURT STAFF) (Filed on 3/2/2012) (Entered: 03/02/2012)




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CAND-ECF                                                              https://ecf.cand.circ9.dcn/cgi-bin/DktRpt.pl?767196345698506-L_1_0-1
                         Case: 17-1118         Document: 1-2           Page: 76        Filed: 10/28/2016

            03/02/2012     767 ORDER DENYING PRECIS REQUEST AS MOOT re 716 Letter filed by Oracle America, Inc., 715
                               Letter filed by Google Inc.. Signed by Judge Alsup on March 2, 2012. (whalc1, COURT STAFF) (Filed
                               on 3/2/2012) (Entered: 03/02/2012)
            03/05/2012     768 ORDER REGARDING HEARING ON MARCH 7 re 756 Order. Signed by Judge Alsup on March 5,
                               2012.. (whalc1, COURT STAFF) (Filed on 3/5/2012) (Entered: 03/05/2012)
            03/05/2012     769 Letter from Michael A. Jacobs regarding Court order 767 and Oracle's withdrawal of Claim 14 of the
                               '476 patent. (Jacobs, Michael) (Filed on 3/5/2012) (Entered: 03/05/2012)
            03/06/2012     770 REQUEST FOR DISCUSSION AT TOMORROW'S HEARING. Signed by Judge Alsup on March 6,
                               2012.. (whalc1, COURT STAFF) (Filed on 3/6/2012) (Entered: 03/06/2012)
            03/06/2012     771 REPLY (re 734 MOTION to Strike EXCLUDE PORTIONS OF THE SUPPLEMENTAL EXPERT
                               REPORT OF DR. ALAN J. COX ) filed byOracle America, Inc.. (Holtzman, Steven) (Filed on
                               3/6/2012) (Entered: 03/06/2012)
            03/06/2012     772 Administrative Motion to File Under Seal filed by Oracle America, Inc.. (Attachments: # 1 Declaration
                               DECLARATION OF ANDREW TEMKIN REGARDING GOOGLE, INC.S ADMINISTRATIVE
                               MOTION TO FILE UNDER SEAL (DKT. NO. 750) AND ORACLE AMERICA, INC.S FILINGS OF
                               MARCH 6, 2012, # 2 Proposed Order)(Holtzman, Steven) (Filed on 3/6/2012) (Entered: 03/06/2012)
            03/06/2012     773 REPLY (re 729 MOTION to Strike PORTIONS OF GREGORY LEONARDS SUPPLEMENTAL
                               REPORT ) filed byOracle America, Inc.. (Holtzman, Steven) (Filed on 3/6/2012) (Entered: 03/06/2012)
            03/07/2012     774 ORDER GRANTING PRECIS TO FILE MOTION TO AMEND INFRINGEMENT CONTENTIONS
                               re 755 Letter filed by Oracle America, Inc.. Signed by Judge Alsup on March 7, 2012. (whalc1,
                               COURT STAFF) (Filed on 3/7/2012) (Entered: 03/07/2012)
            03/07/2012     775 Minute Entry: Motion Hearing held on 3/7/2012 before William Alsup (Date Filed: 3/7/2012) re 718
                               MOTION to Strike Portions of Third Expert Report by Iain Cockburn and Expert Report by Steven
                               Shugan; Memorandum of Points and Authorities in Support Thereof filed by Google Inc. Motion taken
                               under submission. (Court Reporter Kathy Sullivan.) (dt, COURT STAFF) (Date Filed: 3/7/2012)
                               (Entered: 03/07/2012)
            03/07/2012     776 NOTICE TO DR. JAMES KEARL. Signed by Judge Alsup on March 7, 2012. (whalc1, COURT
                               STAFF) (Filed on 3/7/2012) (Entered: 03/07/2012)
            03/09/2012     777 Statement re 726 Order, 757 Order Oracle Statement Regarding Patent Reexaminations by Oracle
                               America, Inc.. (Jacobs, Michael) (Filed on 3/9/2012) (Entered: 03/09/2012)
            03/09/2012     778 TRIAL BRIEF re Copyright Liability by Google Inc.. (Van Nest, Robert) (Filed on 3/9/2012) (Entered:
                               03/09/2012)
            03/09/2012     779 Statement re 726 Order Regarding Re-Examination Proceedings by Google Inc.. (Van Nest, Robert)
                               (Filed on 3/9/2012) (Entered: 03/09/2012)
            03/09/2012     780 Brief re 708 Order, 754 Order ORACLE'S MARCH 9, 2012 BRIEF REGARDING COPYRIGHT
                               ISSUES filed byOracle America, Inc.. (Related document(s) 708 , 754 ) (Jacobs, Michael) (Filed on
                               3/9/2012) (Entered: 03/09/2012)
            03/12/2012     781 Administrative Motion to File Under Seal Portions of Motion to Amend Infringement Contentions and
                               Supplement Expert Reports filed by Oracle America, Inc.. (Jacobs, Michael) (Filed on 3/12/2012)
                               (Entered: 03/12/2012)
            03/12/2012     782 MOTION to Amend/Correct Oracle's '205 Patent Infringement Contentions and Supplement Expert
                               Reports filed by Oracle America, Inc.. Responses due by 3/16/2012. Replies due by 3/19/2012.
                               (Attachments: # 1 Proposed Order)(Jacobs, Michael) (Filed on 3/12/2012) (Entered: 03/12/2012)
            03/12/2012     783 Declaration of Marc Peters in Support of 782 MOTION to Amend/Correct Oracle's '205 Patent
                               Infringement Contentions and Supplement Expert Reports filed byOracle America, Inc.. (Attachments:
                               # 1 Exhibit A - proposed amended infringement contentions, # 2 Exhibit B - proposed supplemental
                               infringement report, # 3 Exhibit C - portions of August noninfringement report)(Related document(s)
                               782 ) (Peters, Marc) (Filed on 3/12/2012) (Entered: 03/12/2012)




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                         Case: 17-1118         Document: 1-2            Page: 77         Filed: 10/28/2016

            03/13/2012     784 *** FILED IN WRONG CASE. NO NEW DOCUMENT. ***
                               Transcript of Proceedings held on 3/12/12, before Judge James Ware. Court Reporter/Transcriber
                               Katherine Powell Sullivan, RPR, CRR, CSR, Telephone number
                               415-794-6659/Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial
                               Conference policy, this transcript may be viewed only at the Clerks Office public terminal or may be
                               purchased through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                               Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request
                               Redaction, if required, is due no later than 5 business days from date of this filing. Redaction Request
                               due 4/3/2012. Redacted Transcript Deadline set for 4/13/2012. Release of Transcript Restriction set for
                               6/11/2012. (Sullivan, Katherine) (Filed on 3/13/2012) Modified on 3/13/2012 (ewn, COURT STAFF).
                               (Entered: 03/13/2012)
            03/13/2012     785 ORDER GRANTING IN PART AND DENYING IN PART GOOGLE'S DAUBERT MOTION TO
                               EXCLUDE DR. COCKBURN'S THIRD REPORT by Hon. William Alsup granting in part and
                               denying in part 718 Motion to Strike.(whalc1, COURT STAFF) (Filed on 3/13/2012) (Entered:
                               03/13/2012)
            03/13/2012     786 ORDER SETTING TRIAL DATE OF APRIL 16, 2012 re 675 Order. Signed by Judge Alsup on March
                               13, 2012. (whalc1, COURT STAFF) (Filed on 3/13/2012) (Entered: 03/13/2012)
            03/13/2012     787 REQUEST AND NOTICE RE DR. JAMES KEARL re 413 Order. Signed by Judge Alsup on March
                               13, 2012. (whalc1, COURT STAFF) (Filed on 3/13/2012) (Entered: 03/13/2012)
            03/13/2012     788 NOTICE RE TRIAL MATERIALS. Signed by Judge Alsup on March 13, 2012. (whalc1, COURT
                               STAFF) (Filed on 3/13/2012) (Entered: 03/13/2012)
            03/13/2012           Set/Reset Hearings: Jury Selection and Jury Trial set for 4/16/2012 07:30 AM in Courtroom 8, 19th
                                 Floor, San Francisco before Hon. William Alsup. (dt, COURT STAFF) (Filed on 3/13/2012) . (Entered:
                                 03/13/2012)
            03/13/2012     789 ORDER GRANTING IN PART AND DENYING IN PART MOTIONS TO SEAL by Hon. William
                               Alsup granting in part and denying in part 717 Administrative Motion to File Under Seal.(whalc1,
                               COURT STAFF) (Filed on 3/13/2012) (Entered: 03/13/2012)
            03/13/2012           Order by Hon. William Alsup granting in part and denying in part 727 Administrative Motion to File
                                 Under Seal.(whalc1, COURT STAFF) (Filed on 3/13/2012) (Entered: 03/13/2012)
            03/13/2012           Order by Hon. William Alsup granting in part and denying in part 733 Administrative Motion to File
                                 Under Seal.(whalc1, COURT STAFF) (Filed on 3/13/2012) (Entered: 03/13/2012)
            03/13/2012           Order by Hon. William Alsup granting in part and denying in part 736 Administrative Motion to File
                                 Under Seal.(whalc1, COURT STAFF) (Filed on 3/13/2012) (Entered: 03/13/2012)
            03/13/2012           Order by Hon. William Alsup granting in part and denying in part 750 Administrative Motion to File
                                 Under Seal.(whalc1, COURT STAFF) (Filed on 3/13/2012) (Entered: 03/13/2012)
            03/13/2012           Order by Hon. William Alsup granting in part and denying in part 761 Administrative Motion to File
                                 Under Seal.(whalc1, COURT STAFF) (Filed on 3/13/2012) (Entered: 03/13/2012)
            03/13/2012           Order by Hon. William Alsup granting in part and denying in part 772 Administrative Motion to File
                                 Under Seal.(whalc1, COURT STAFF) (Filed on 3/13/2012) (Entered: 03/13/2012)
            03/13/2012     790 Letter from John L. Cooper to Hon. William Alsup re Dr. Kearl, Rule 706 Expert. (Cooper, John) (Filed
                               on 3/13/2012) (Entered: 03/13/2012)
            03/14/2012     791 NOTICE RE DR. JAMES KEARL re 790 Letter filed by John Lee Cooper. Signed by Judge Alsup on
                               March 14, 2012. (whalc1, COURT STAFF) (Filed on 3/14/2012) (Entered: 03/14/2012)
            03/14/2012     792 Letter from Robert A. Van Nest re Trial Date . (Van Nest, Robert) (Filed on 3/14/2012) (Entered:
                               03/14/2012)
            03/14/2012     793 REQUEST FOR BRIEFING. Signed by Judge Alsup on March 14, 2012. (whalc1, COURT STAFF)
                               (Filed on 3/14/2012) (Entered: 03/14/2012)
            03/14/2012     794 ORDER RE REQUEST TO CONTINUE TRIAL [re 792 Letter filed by Google Inc.]. Signed by Judge
                               William Alsup on 3/14/2012. (whasec, COURT STAFF) (Filed on 3/14/2012) (Entered: 03/14/2012)




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CAND-ECF                                                               https://ecf.cand.circ9.dcn/cgi-bin/DktRpt.pl?767196345698506-L_1_0-1
                         Case: 17-1118         Document: 1-2            Page: 78         Filed: 10/28/2016

            03/14/2012     795 Transcript of Proceedings held on March 7, 2012, before Judge William H. Alsup. Court
                               Reporter/Transcriber Katherine Powell Sullivan, RPR, CRR, CSR, Telephone number
                               415-794-6659/Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial
                               Conference policy, this transcript may be viewed only at the Clerks Office public terminal or may be
                               purchased through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                               Restriction. After that date it may be obtained through PACER. Any Notice of Intent to Request
                               Redaction, if required, is due no later than 5 business days from date of this filing. Redaction Request
                               due 4/4/2012. Redacted Transcript Deadline set for 4/16/2012. Release of Transcript Restriction set for
                               6/12/2012. (Sullivan, Katherine) (Filed on 3/14/2012) (Entered: 03/14/2012)
            03/15/2012     796 ORDER GRANTING IN PART AND DENYING IN PART DAUBERT MOTION TO STRIKE
                               GOOGLE'S SUPPLEMENTAL EXPERT DAMAGES REPORTS by Hon. William Alsup granting in
                               part and denying in part 729 Motion to Strike 734 MOTION to Strike EXCLUDE PORTIONS OF THE
                               SUPPLEMENTAL EXPERT REPORT OF DR. ALAN J. COX.(whalc1, COURT STAFF) (Filed on
                               3/15/2012) (Entered: 03/15/2012)
            03/15/2012     797 MOTION to Strike ORACLE AMERICA, INC.S NOTICE OF MOTION AND MOTION TO EXCLUDE
                               PORTIONS OF THE SUPPLEMENTAL EXPERT REPORT OF DR. ALAN J. COX [PUBLIC
                               REDACTED VERSION] filed by Oracle America, Inc.. Responses due by 3/29/2012. Replies due by
                               4/5/2012. (Attachments: # 1 Exhibit Dearborn Declaration, Ex. A, # 2 Exhibit Dearborn Declaration,
                               Ex. B)(Holtzman, Steven) (Filed on 3/15/2012) (Entered: 03/15/2012)
            03/15/2012     798 MOTION to Strike ORACLE AMERICA, INC.S MOTION TO STRIKE PORTIONS OF GREGORY
                               LEONARDS SUPPLEMENTAL REPORT [PUBLIC REDACTED VERSION] filed by Oracle America,
                               Inc.. Responses due by 3/29/2012. Replies due by 4/5/2012. (Attachments: # 1 Exhibit Richardson
                               Declaration, Ex. A, # 2 Exhibit Richardson Declaration, Ex. C)(Holtzman, Steven) (Filed on
                               3/15/2012) (Entered: 03/15/2012)
            03/15/2012     799 DOCUMENT E-FILED UNDER SEAL re 789 Order on Administrative Motion to File Under Seal
                               ORACLE AMERICA, INC.S NOTICE OF MOTION AND MOTION TO EXCLUDE PORTIONS OF
                               THE SUPPLEMENTAL EXPERT REPORT OF DR. ALAN J. COX by Oracle America, Inc..
                               (Holtzman, Steven) (Filed on 3/15/2012) (Entered: 03/15/2012)
            03/15/2012     800 DOCUMENT E-FILED UNDER SEAL re 789 Order on Administrative Motion to File Under Seal
                               ORACLE AMERICA, INC.S MOTION TO STRIKE PORTIONS OF GREGORY LEONARDS
                               SUPPLEMENTAL REPORT by Oracle America, Inc.. (Attachments: # 1 Exhibit Richardson
                               Declaration, Ex. D, # 2 Exhibit Richardson Declaration, Ex. E, # 3 Exhibit Richardson Declaration, Ex.
                               G, # 4 Exhibit Richardson Declaration, Ex. H)(Holtzman, Steven) (Filed on 3/15/2012) (Entered:
                               03/15/2012)
            03/15/2012     801 DOCUMENT E-FILED UNDER SEAL re 789 Order on Administrative Motion to File Under Seal
                               ORACLE AMERICA, INC.S OPPOSITION TO GOOGLES MOTION TO STRIKE PORTIONS OF
                               THIRD EXPERT REPORT BY IAIN COCKBURN AND EXPERT REPORT BY STEVEN SHUGAN by
                               Oracle America, Inc.. (Attachments: # 1 Exhibit Norton Declaration, Ex. E, # 2 Exhibit Norton
                               Declaration, Ex. G, # 3 Exhibit Norton Declaration, Ex. H)(Holtzman, Steven) (Filed on 3/15/2012)
                               (Entered: 03/15/2012)
            03/15/2012     802 DOCUMENT E-FILED UNDER SEAL re 789 Order on Administrative Motion to File Under Seal
                               ORACLE AMERICA, INC.S REPLY IN SUPPORT OF ITS MOTION TO STRIKE PORTIONS OF
                               GREGORY K. LEONARDS SUPPLEMENTAL REPORT by Oracle America, Inc.. (Holtzman, Steven)
                               (Filed on 3/15/2012) (Entered: 03/15/2012)
            03/15/2012     803 *** FILED IN ERROR WITH CONFIDENTIAL INFORMATION. DOCUMENT LOCKED.
                               ***
                               MOTION to Strike 789 Order on Administrative Motion to File Under Seal MOTION TO STRIKE
                               COCKBURN AND SHUGAN EXPERT REPORTS [PUBLIC VERSION] filed by Google Inc..
                               Responses due by 3/29/2012. Replies due by 4/5/2012. (Van Nest, Robert) (Filed on 3/15/2012)
                               Modified on 3/16/2012 (feriab, COURT STAFF). (Entered: 03/15/2012)
            03/15/2012     804 MOTION to Continue The Trial Date From April 16, 2012 to April 23, 2012 filed by Google Inc..
                               (Attachments: # 1 Declaration, # 2 Proposed Order)(Van Nest, Robert) (Filed on 3/15/2012) (Entered:
                               03/15/2012)




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                         Case: 17-1118         Document: 1-2           Page: 79        Filed: 10/28/2016

            03/15/2012     805 EXHIBITS re 719 Declaration in Support,, of Motion to Strike Cockburn and Shugan (Exhibit A) filed
                               byGoogle Inc.. (Attachments: # 1 Exhibit B, # 2 Exhibit D, # 3 Exhibit F, # 4 Exhibit G)(Related
                               document(s) 719 ) (Purcell, Daniel) (Filed on 3/15/2012) (Entered: 03/15/2012)
            03/15/2012     806 REPLY (re 803 MOTION to Strike 789 Order on Administrative Motion to File Under Seal MOTION
                               TO STRIKE COCKBURN AND SHUGAN EXPERT REPORTS [PUBLIC VERSION] ) REPLY IN
                               SUPPORT OF MOTION TO STRIKE COCKBURN AND SHUGAN EXPERT REPORTS [PUBLIC
                               VERSION] filed byGoogle Inc.. (Attachments: # 1 Exhibit EX. A to Mullen Decl. [PUBLIC], # 2
                               Exhibit EX. B to Mullen Decl. [PUBLIC], # 3 Exhibit EX. C to Mullen Decl. [PUBLIC], # 4 Exhibit
                               EX. D to Mullen Decl. [PUBLIC], # 5 Exhibit EX. E to Mullen Decl. [PUBLIC])(Purcell, Daniel)
                               (Filed on 3/15/2012) (Entered: 03/15/2012)
            03/15/2012     807 DOCUMENT E-FILED UNDER SEAL re 789 Order on Administrative Motion to File Under Seal
                               MOTION TO STRIKE COCKBURN AND SHUGAN EXPERT REPORTS by Google Inc..
                               (Attachments: # 1 Exhibit EX. A to Zimmer Declaration, # 2 Exhibit EX. H to Zimmer Declaration, # 3
                               Exhibit EX. I to Zimmer Declaration, # 4 Exhibit EX. J to Zimmer Declaration, # 5 Exhibit EX. K to
                               Zimmer Declaration)(Purcell, Daniel) (Filed on 3/15/2012) (Entered: 03/15/2012)
            03/15/2012     808 DOCUMENT E-FILED UNDER SEAL re 789 Order on Administrative Motion to File Under Seal
                               REPLY IN SUPPORT OF MOTION TO STRIKE COCKBURN AND SHUGAN EXPERT REPORTS by
                               Google Inc.. (Attachments: # 1 Exhibit EX A to Mullen Declaration, # 2 Exhibit EX B to Mullen
                               Declaration, # 3 Exhibit EX C to Mullen Declaration, # 4 Exhibit EX D to Mullen Declaration, # 5
                               Exhibit EX E to Mullen Declaration)(Purcell, Daniel) (Filed on 3/15/2012) (Entered: 03/15/2012)
            03/15/2012     809 DOCUMENT E-FILED UNDER SEAL re 789 Order on Administrative Motion to File Under Seal
                               OPPOSITION TO MOTION TO STRIKE LEONARD SUPPLEMENTAL EXPERT REPORT by Google
                               Inc.. (Attachments: # 1 Exhibit EX F to Zimmer Declaration)(Purcell, Daniel) (Filed on 3/15/2012)
                               (Entered: 03/15/2012)
            03/16/2012     810 MOTION to Strike Cockburn and Shugan Expert Reports (PUBLIC VERSION) filed by Google Inc..
                               Responses due by 3/30/2012. Replies due by 4/6/2012. (Van Nest, Robert) (Filed on 3/16/2012)
                               (Entered: 03/16/2012)
            03/16/2012     811 Statement re 705 Order (Joint) Update Re Third Damage Report Costs by Google Inc.. (Van Nest,
                               Robert) (Filed on 3/16/2012) (Entered: 03/16/2012)
            03/16/2012     812 RESPONSE (re 782 MOTION to Amend/Correct Oracle's '205 Patent Infringement Contentions and
                               Supplement Expert Reports ) filed byGoogle Inc.. (Francis, Mark) (Filed on 3/16/2012) (Entered:
                               03/16/2012)
            03/16/2012     813 Declaration of Mark H. Francis in Support of 812 Opposition/Response to Motion to Amend/Correct
                               Oracle's '205 Patent Infringement Contentions and Supplement Expert Reports filed byGoogle Inc..
                               (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Related document(s) 812 ) (Francis, Mark)
                               (Filed on 3/16/2012) (Entered: 03/16/2012)
            03/19/2012     814 REPLY (re 782 MOTION to Amend/Correct Oracle's '205 Patent Infringement Contentions and
                               Supplement Expert Reports ) filed byOracle America, Inc.. (Jacobs, Michael) (Filed on 3/19/2012)
                               (Entered: 03/19/2012)
            03/19/2012     815 Declaration of Marc Peters in Support of 814 Reply to Opposition/Response, 782 MOTION to
                               Amend/Correct Oracle's '205 Patent Infringement Contentions and Supplement Expert Reports filed
                               byOracle America, Inc.. (Attachments: # 1 Exhibit D)(Related document(s) 814 , 782 ) (Peters, Marc)
                               (Filed on 3/19/2012) (Entered: 03/19/2012)
            03/19/2012     816 Statement re 785 Order on Motion to Strike ORACLE AMERICA, INC.S STATEMENT RESPONDING
                               TO THE COURTS ORDER CONCERNING DR. COCKBURNS THRID REPORT [DKT. NO. 785] by
                               Oracle America, Inc.. (Holtzman, Steven) (Filed on 3/19/2012) (Entered: 03/19/2012)
            03/19/2012     817 Brief re 785 Order on Motion to Strike filed byGoogle Inc.. (Related document(s) 785 ) (Van Nest,
                               Robert) (Filed on 3/19/2012) (Entered: 03/19/2012)
            03/19/2012     818 Declaration of Dr. Gregory K. Leonard in Support of 817 Brief filed byGoogle Inc.. (Related
                               document(s) 817 ) (Van Nest, Robert) (Filed on 3/19/2012) (Entered: 03/19/2012)




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CAND-ECF                                                              https://ecf.cand.circ9.dcn/cgi-bin/DktRpt.pl?767196345698506-L_1_0-1
                         Case: 17-1118         Document: 1-2           Page: 80        Filed: 10/28/2016

            03/19/2012     819 RESPONSE (re 804 MOTION to Continue The Trial Date From April 16, 2012 to April 23, 2012 )
                               ORACLE AMERICA, INC.S OPPOSITION TO GOOGLE, INC.S REQUEST FOR CONTINUANCE
                               [DKT. NO. 804] filed byOracle America, Inc.. (Attachments: # 1 Declaration DECLARATION OF
                               DAVID BOIES IN SUPPORT OF ORACLE AMERICA, INC.S OPPOSITION TO GOOGLES
                               MOTION TO CONTINUE TRIAL DATE (DKT. NO. 804), # 2 Declaration DECLARATION OF
                               MICHAEL A. JACOBS IN SUPPORT OF ORACLE AMERICA, INC.S OPPOSITION TO
                               GOOGLES MOTION TO CONTINUE TRIAL DATE (DKT. NO. 804))(Holtzman, Steven) (Filed on
                               3/19/2012) (Entered: 03/19/2012)
            03/20/2012     820 ORDER DENYING MOTION FOR CONTINUANCE by Hon. William Alsup denying 804 Motion to
                               Continue.(whalc1, COURT STAFF) (Filed on 3/20/2012) (Entered: 03/20/2012)
            03/20/2012          (Court only) ***Motions terminated: 734 MOTION to Strike EXCLUDE PORTIONS OF THE
                                SUPPLEMENTAL EXPERT REPORT OF DR. ALAN J. COX filed by Oracle America, Inc., 797
                                MOTION to Strike ORACLE AMERICA, INC.S NOTICE OF MOTION AND MOTION TO EXCLUDE
                                PORTIONS OF THE SUPPLEMENTAL EXPERT REPORT OF DR. ALAN J. COX [PUBLIC
                                REDACTED VERSION] filed by Oracle America, Inc., 810 MOTION to Strike Cockburn and Shugan
                                Expert Reports (PUBLIC VERSION) filed by Google Inc., 803 MOTION to Strike 789 Order on
                                Administrative Motion to File Under Seal MOTION TO STRIKE COCKBURN AND SHUGAN
                                EXPERT REPORTS [PUBLIC VERSION] filed by Google Inc., 798 MOTION to Strike ORACLE
                                AMERICA, INC.S MOTION TO STRIKE PORTIONS OF GREGORY LEONARDS SUPPLEMENTAL
                                REPORT [PUBLIC REDACTED VERSION] filed by Oracle America, Inc.. (whalc1, COURT STAFF)
                                (Filed on 3/20/2012) (Entered: 03/20/2012)
            03/20/2012          Set/Reset Hearings: Pretrial Conference set for 3/28/2012 07:30 AM in Courtroom 8, 19th Floor, San
                                Francisco before Hon. William Alsup. (whalc1, COURT STAFF) (Filed on 3/20/2012) (Entered:
                                03/20/2012)
            03/20/2012     821 REQUEST FOR DR. KEARL'S REPORT. Signed by Judge Alsup on March 20, 2012. (whalc1,
                               COURT STAFF) (Filed on 3/20/2012) (Entered: 03/20/2012)
            03/21/2012     822 NOTICE RE GUIDELINES FOR JURY TRIAL. Signed by Judge William Alsup on 3/21/2012.
                               (whasec, COURT STAFF) (Filed on 3/21/2012) (Entered: 03/21/2012)
            03/23/2012          (Court only) HOLD SPACE FOR POTENTIAL ORACLE DAUBERT HEARING RE: DR.KEARL
                                Set/Reset Hearings: Motion Hearing set for 4/9/2012 02:00 PM in Courtroom 8, 19th Floor, San
                                Francisco before Hon. William Alsup. (whalc1, COURT STAFF) (Filed on 3/23/2012) (Entered:
                                03/23/2012)
            03/23/2012     823 TRIAL BRIEF Reply Re Copyright Liability by Google Inc.. (Van Nest, Robert) (Filed on 3/23/2012)
                               (Entered: 03/23/2012)
            03/23/2012     824 Brief re 793 Order, 708 Order, 754 Order Oracle's March 23, 2012 Brief Regarding Copyright Issues
                               filed byOracle America, Inc.. (Related document(s) 793 , 708 , 754 ) (Jacobs, Michael) (Filed on
                               3/23/2012) (Entered: 03/23/2012)
            03/23/2012     825 ORDER RE SCHEDULING FURTHER SETTLEMENT CONFERENCE. Signed by Judge Paul S.
                               Grewal on March 23, 2012. (psglc1, COURT STAFF) (Filed on 3/23/2012) (Entered: 03/23/2012)
            03/26/2012     826 ORDER DENYING WITHOUT PREJUDICE MOTION TO AMEND INFRINGEMENT
                               CONTENTIONS by Hon. William Alsup denying without prejudice 782 Motion to Amend/Correct
                               ;.(whalc1, COURT STAFF) (Filed on 3/26/2012) (Entered: 03/26/2012)
            03/26/2012     827 REQUEST FOR FURTHER BRIEFING. Signed by Judge Alsup on March 26, 2012. (whalc1, COURT
                               STAFF) (Filed on 3/26/2012) (Entered: 03/26/2012)
            03/26/2012     828 ORDER REGARDING ADJUSTMENTS TO DR. COCKBURN'S REPORT re 817 Brief filed by
                               Google Inc., 816 Statement filed by Oracle America, Inc.. Signed by Judge Alsup on March 26, 2012.
                               (whalc1, COURT STAFF) (Filed on 3/26/2012) (Entered: 03/26/2012)
            03/27/2012     829 NOTICE RE DISCUSSION ITEMS AT FINAL PRETRIAL CONFERENCE. Signed by Judge Alsup
                               on March 27, 2012. (whalc1, COURT STAFF) (Filed on 3/27/2012) (Entered: 03/27/2012)
            03/27/2012     830 Administrative Motion to File Under Seal filed by Google Inc.. (Van Nest, Robert) (Filed on
                               3/27/2012) (Entered: 03/27/2012)




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CAND-ECF                                                              https://ecf.cand.circ9.dcn/cgi-bin/DktRpt.pl?767196345698506-L_1_0-1
                         Case: 17-1118         Document: 1-2           Page: 81         Filed: 10/28/2016

            03/27/2012     831 TRIAL BRIEF Google's Supplemental Copyright Trial Brief Pursuant to March 26, 2012 Order by
                               Google Inc.. (Van Nest, Robert) (Filed on 3/27/2012) (Entered: 03/27/2012)
            03/27/2012     832 ORDER DENYING MOTION TO SEAL by Hon. William Alsup denying 781 Administrative Motion
                               to File Under Seal.(whalc1, COURT STAFF) (Filed on 3/27/2012) (Entered: 03/27/2012)
            03/27/2012     833 Brief re 793 Order, 708 Order, 754 Order, 827 Order - ORACLE'S MARCH 27, 2012 SUPPLEMENTAL
                               BRIEF REGARDING COPYRIGHT ISSUES - filed byOracle America, Inc.. (Related document(s) 793 ,
                               708 , 754 , 827 ) (Jacobs, Michael) (Filed on 3/27/2012) (Entered: 03/27/2012)
            03/27/2012     834 Statement Joint Statement of Trial Streamlining Proposals by Google Inc., Oracle America, Inc..
                               (Jacobs, Michael) (Filed on 3/27/2012) (Entered: 03/27/2012)
            03/28/2012     835 Minute Entry: Pretrial Conference held on 3/28/2012 before Judge William Alsup(Date Filed:
                               3/28/2012). Supplemental briefs due by 4pm on 3/30/12. Refer to the Final Pretrial Order (dkt #675)
                               (Court Reporter Kathy Sullivan.) (dt, COURT STAFF) (Date Filed: 3/28/2012) . (Entered: 03/28/2012)
            03/28/2012     836 NOTICE REGARDING QUESTIONS FOR DR. JAMES KEARL. Signed by Judge Alsup on March
                               28, 2012. (whalc1, COURT STAFF) (Filed on 3/28/2012) (Entered: 03/28/2012)
            03/28/2012     837 REQUEST FOR INPUT. Signed by Judge Alsup on March 28, 2012. (whalc1, COURT STAFF) (Filed
                               on 3/28/2012) (Additional attachment(s) added on 3/28/2012: # 1 Errata Order With Signature)
                               (whalc1, COURT STAFF). (Entered: 03/28/2012)
            03/29/2012     838 REVISION TO DUE DATE AND REQUEST FOR FURTHER BRIEFING. Signed by Judge Alsup on
                               March 29, 2012. (whalc1, COURT STAFF) (Filed on 3/29/2012) (Entered: 03/29/2012)
            03/29/2012     839 EXHIBITS re 783 Declaration in Support, of Oracle's motion to amend 205 patent infringement
                               contentions and supplement expert reports (Exhibit B) filed byOracle America, Inc.. (Related
                               document(s) 783 ) (Peters, Marc) (Filed on 3/29/2012) (Entered: 03/29/2012)
            03/29/2012     840 Witness List by Google Inc. (Supplemental) Trial Witness Disclosure Pursuant to Fed. R. Civ. P.
                               26(a)(3). (Van Nest, Robert) (Filed on 3/29/2012) (Entered: 03/29/2012)
            03/30/2012     841 ORDER REGARDING SEATING FOR FIRST DAY OF TRIAL. Signed by Judge Alsup on March
                               30, 2012. (whalc1, COURT STAFF) (Filed on 3/30/2012) (Entered: 03/30/2012)
            03/30/2012     842 Statement Joint Statement Regarding Introduction of Dr. James Kearl to the Jury by Google Inc.. (Van
                               Nest, Robert) (Filed on 3/30/2012) (Entered: 03/30/2012)
            03/31/2012     846 Minute Entry: Further Settlement Conference held. Case did not settle. No further discussion shall be
                               convened. (Date Filed: 3/31/2012). (ofr, COURT STAFF) (Date Filed: 3/31/2012) (Entered:
                               04/02/2012)
            04/02/2012     843 REQUEST FOR FURTHER BRIEFING AND TO SUBMIT AGREED-ON TIMELINE. Signed by
                               Judge Alsup on April 2, 2012.. (whalc1, COURT STAFF) (Filed on 4/2/2012) (Entered: 04/02/2012)
            04/02/2012     844 Administrative Motion to File Under Seal filed by Google Inc.. (Van Nest, Robert) (Filed on 4/2/2012)
                               (Entered: 04/02/2012)
            04/02/2012     845 MOTION to Strike Notice of Motion and Memorandum of Points and Authorities in Support of Its
                               Motion to Strike Portion of Dr. James Kearl's Expert Report filed by Google Inc.. Responses due by
                               4/16/2012. Replies due by 4/23/2012. (Van Nest, Robert) (Filed on 4/2/2012) (Entered: 04/02/2012)
            04/02/2012     847 Declaration of Daniel Purcell in Support of Google Inc.'s 845 Motion to Strike Portions of Dr. James
                               Kearl's Expert Report filed by Google Inc. (Van Nest, Robert) (Filed on 4/2/2012) Modified on
                               4/3/2012 (wsn, COURT STAFF). (Entered: 04/02/2012)
            04/02/2012     848 ORDER RE: FURTHER SETTLEMENT CONFERENCES. Signed by Judge Paul S. Grewal on April
                               2, 2012. (psglc1, COURT STAFF) (Filed on 4/2/2012) (Entered: 04/02/2012)
            04/02/2012     849 Administrative Motion to File Under Seal ORACLE AMERICA, INC.S ADMINISTRATIVE MOTION
                               TO FILE UNDER SEAL PORTIONS OF ORACLES MOTION TO EXCLUDE PORTIONS OF THE
                               RULE 706 EXPERT REPORT OF DR. JAMES KEARL filed by Oracle America, Inc.. (Attachments: #
                               1 Declaration DECLARATION OF DEBORAH K. MILLER REGARDING THE EXPERT REPORT
                               AND DEPOSITION OF RULE 706 EXPERT DR. JAMES KEARL, # 2 Proposed Order
                               [PROPOSED] ORDER GRANTING IN PART ORACLE AMERICA, INC.S ADMINISTRATIVE



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                                 MOTION TO FILE UNDER SEAL)(Holtzman, Steven) (Filed on 4/2/2012) (Entered: 04/02/2012)
            04/02/2012     850 MOTION to Strike ORACLE AMERICA, INC.S MOTION TO EXCLUDE PORTIONS OF THE RULE
                               706 EXPERT REPORT OF DR. JAMES KEARL filed by Oracle America, Inc.. Responses due by
                               4/16/2012. Replies due by 4/23/2012. (Attachments: # 1 Declaration DECLARATION OF
                               MEREDITH DEARBORN IN SUPPORT OF ORACLE AMERICA, INC.S MOTION TO EXCLUDE
                               PORTIONS OF THE RULE 706 EXPERT REPORT OF DR. JAMES KEARL, # 2 Exhibit EXHIBIT
                               A, # 3 Exhibit EXHIBIT B, # 4 Exhibit EXHIBIT C, # 5 Exhibit EXHIBIT D, # 6 Exhibit EXHIBIT E,
                               # 7 Exhibit EXHIBIT F)(Holtzman, Steven) (Filed on 4/2/2012) (Entered: 04/02/2012)
            04/02/2012     851 ORDER RE ROLLING, WRITTEN NOTICE OF NEXT SEVEN WITNESSES (whalc1, COURT
                               STAFF) (Filed on 4/2/2012) (Entered: 04/02/2012)
            04/03/2012     852 TRIAL BRIEF Google's 4/3/12 Copyright Liability Trial Brief by Google Inc.. (Van Nest, Robert)
                               (Filed on 4/3/2012) (Entered: 04/03/2012)
            04/03/2012     853 Brief re 835 Pretrial Conference - Interim, 837 Order, 838 Order, 843 Order Oracle's April 3, 2012
                               Supplemental Brief Regarding Copyright Issues filed byOracle America, Inc.. (Related document(s)
                               835 , 837 , 838 , 843 ) (Jacobs, Michael) (Filed on 4/3/2012) (Entered: 04/03/2012)
            04/04/2012     854 REQUEST FOR STATEMENT OF ISSUES RE COPYRIGHT. Signed by Judge Alsup on April 4,
                               2012. (whalc1, COURT STAFF) (Filed on 4/4/2012) (Entered: 04/04/2012)
            04/04/2012     855 Letter from John L. Cooper to Judge Alsup regarding Dr. Kearl. (Cooper, John) (Filed on 4/4/2012)
                               (Entered: 04/04/2012)
            04/04/2012     856 ORDER SETTING TELEPHONE CONFERENCE FOR 3:00 APRIL 4, 2012. Signed by Judge
                               William Alsup on 4/4/2012. (whasec, COURT STAFF) (Filed on 4/4/2012) (Entered: 04/04/2012)
            04/04/2012           TELEPHONE CONFERENC FOR 3:00 P.M. ON 4/3/2012. Signed by Judge William Alsup on
                                 4/4/2012. (whasec, COURT STAFF) (Filed on 4/4/2012) (Entered: 04/04/2012)
            04/04/2012           Set/Reset Hearings: Jury Trial set for 4/17/2012 4/18/2012 4/19/2012 07 4/20/2012 4/23/2012
                                 4/24/2012 4/25/2012 4/26/2012 4/27/2012 4/30/2012 5/1/2012 5/2/2012 5/3/2012 5/4/2012 5/7/2012
                                 5/8/2012 5/9/2012 5/10/2012 5/11/2012 5/14/2012 5/15/2012 5/16/2012 5/17/2012 5/18/2012
                                 5/21/2012 5/22/2012 5/23/2012 5/24/2012 5/25/2012 5/28/2012 5/29/2012 5/30/2012 6/1/2012 07:30
                                 AM before Hon. William Alsup. (dt, COURT STAFF) (Filed on 4/4/2012) . (Entered: 04/04/2012)
            04/04/2012           Set/Reset Hearings: Jury Trial set for 5/31/2012 07:30 AM in Courtroom 8, 19th Floor, San Francisco
                                 before Hon. William Alsup. (dt, COURT STAFF) (Filed on 4/4/2012). (Entered: 04/04/2012)
            04/04/2012     857 ORDER Regarding Telephone Call. Signed by Judge William Alsup on 4/4/2012. FILED UNDER
                               SEAL.(wsn, COURT STAFF) (Filed on 4/4/2012) (Entered: 04/04/2012)
            04/05/2012     858 ORDER TO JURY COMMISSIONER to furnish refreshments for the jury. Signed by Judge William
                               Alsup on 4/5/12. (dt, COURT STAFF) (Filed on 4/5/2012) (Entered: 04/05/2012)
            04/05/2012     859 Brief re 852 Trial Brief Oracle's April 5, 2012 Brief Regarding Copyright Issues filed byOracle
                               America, Inc.. (Related document(s) 852 ) (Jacobs, Michael) (Filed on 4/5/2012) (Entered: 04/05/2012)
            04/05/2012     860 Brief re 853 Brief, Google's 4/5/12 Copyright Liability Trial Brief filed byGoogle Inc.. (Related
                               document(s) 853 ) (Van Nest, Robert) (Filed on 4/5/2012) (Entered: 04/05/2012)
            04/05/2012     861 MOTION Administrative Relief to Deem Issues Undisputed filed by Google Inc.. Responses due by
                               4/19/2012. Replies due by 4/26/2012. (Van Nest, Robert) (Filed on 4/5/2012) (Entered: 04/05/2012)
            04/05/2012     862 Declaration of Reid P. Mullen in Support of 861 MOTION Administrative Relief to Deem Issues
                               Undisputed filed byGoogle Inc.. (Related document(s) 861 ) (Van Nest, Robert) (Filed on 4/5/2012)
                               (Entered: 04/05/2012)
            04/05/2012     863 Proposed Order re 861 MOTION Administrative Relief to Deem Issues Undisputed by Google Inc..
                               (Van Nest, Robert) (Filed on 4/5/2012) (Entered: 04/05/2012)
            04/05/2012     864 STIPULATION WITH PROPOSED ORDER STIPULATION AND [PROPOSED] ORDER
                               AUTHORIZING ENTRY AND USE OF EQUIPMENT FOR TRIAL filed by Oracle America, Inc..
                               (Holtzman, Steven) (Filed on 4/5/2012) (Entered: 04/05/2012)




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CAND-ECF                                                              https://ecf.cand.circ9.dcn/cgi-bin/DktRpt.pl?767196345698506-L_1_0-1
                         Case: 17-1118         Document: 1-2           Page: 83        Filed: 10/28/2016

            04/06/2012     865 REQUEST FOR FURTHER BRIEFING. Signed by Judge Alsup on April 6, 2012. (whalc1, COURT
                               STAFF) (Filed on 4/6/2012) (Entered: 04/06/2012)
            04/06/2012     866 Administrative Motion to File Under Seal filed by Google Inc.. (Attachments: # 1 Proposed Order)(Van
                               Nest, Robert) (Filed on 4/6/2012) (Entered: 04/06/2012)
            04/06/2012     867 Declaration in Support of 866 Administrative Motion to File Under Seal Declaration of Reid Mullen in
                               Support of Administrative Motion to Seal Portions of Google's Opposition to Oracle's Motion to Strike
                               Portions of Dr. James Kearl's Expert Report filed byGoogle Inc.. (Related document(s) 866 ) (Van
                               Nest, Robert) (Filed on 4/6/2012) (Entered: 04/06/2012)
            04/06/2012     868 RESPONSE (re 850 MOTION to Strike ORACLE AMERICA, INC.S MOTION TO EXCLUDE
                               PORTIONS OF THE RULE 706 EXPERT REPORT OF DR. JAMES KEARL ) Google Inc's Opposition
                               to Oracle America, Inc.'s Motion to Strike Portions of Dr. James Kearl's Expert Report filed byGoogle
                               Inc.. (Van Nest, Robert) (Filed on 4/6/2012) (Entered: 04/06/2012)
            04/06/2012     869 Declaration of David Zimmer in Support of 868 Opposition/Response to Motion, to Strike Portions of
                               Dr. James Kearl's Expert Report filed byGoogle Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                               Exhibit C)(Related document(s) 868 ) (Van Nest, Robert) (Filed on 4/6/2012) (Entered: 04/06/2012)
            04/06/2012     870 Administrative Motion to File Under Seal ORACLE AMERICA, INC.S ADMINISTRATIVE MOTION
                               TO FILE UNDER SEAL filed by Oracle America, Inc.. (Attachments: # 1 Declaration
                               DECLARATION OF ANDREW C. TEMKIN IN SUPPORT OF ORACLE AMERICA, INC.S
                               ADMINISTRATIVE MOTION TO FILE UNDER SEAL, # 2 Proposed Order [PROPOSED] ORDER
                               GRANTING IN PART ORACLE AMERICA, INC.S ADMINISTRATIVE MOTION TO FILE
                               UNDER SEAL)(Holtzman, Steven) (Filed on 4/6/2012) (Entered: 04/06/2012)
            04/06/2012     871 *** THIS ENTRY REMOVED BY ORDER OF THE COURT. SEE DOCKET # 894 . *** filed
                               by Oracle America, Inc. (Holtzman, Steven) (Filed on 4/6/2012) Modified on 4/6/2012 (ewn, COURT
                               STAFF). Modified on 4/11/2012 (wsn, COURT STAFF). (Entered: 04/06/2012)
            04/06/2012     872 Declaration of MEREDITH DEARBORN in Support of 873 Opposition/Response to Motion,
                               DECLARATION OF MEREDITH DEARBORN IN SUPPORT OF ORACLE AMERICA, INC.S
                               OPPOSITION TO GOOGLES MOTION TO STRIKE PORTIONS OF DR. JAMES KEARLS EXPERT
                               REPORT filed byOracle America, Inc.. (Attachments: # 1 Exhibit Exhibits A-K)(Related document(s)
                               871 ) (Holtzman, Steven) (Filed on 4/6/2012) Modified on 4/9/2012 (wsn, COURT STAFF). (Entered:
                               04/06/2012)
            04/06/2012     873 RESPONSE (re 845 MOTION to Strike Notice of Motion and Memorandum of Points and Authorities
                               in Support of Its Motion to Strike Portion of Dr. James Kearl's Expert Report ) ORACLE AMERICA,
                               INC.S OPPOSITION TO GOOGLES MOTION TO STRIKE PORTIONS OF DR. JAMES KEARLS
                               EXPERT REPORT [PUBLIC REDACTED VERSION] filed byOracle America, Inc.. (Holtzman,
                               Steven) (Filed on 4/6/2012) (Entered: 04/06/2012)
            04/06/2012     874 SUPPLEMENTAL REQUEST FOR FURTHER BRIEFING re 865 Order. Signed by Judge Alsup on
                               April 6, 2012. (whalc1, COURT STAFF) (Filed on 4/6/2012) (Entered: 04/06/2012)
            04/06/2012     875 Administrative Motion to File Under Seal Google Inc.'s Administrative Motion to File Under Seal its
                               Response to the Court's Order Regarding Telephone Call filed by Google Inc.. (Attachments: # 1
                               Proposed Order)(Van Nest, Robert) (Filed on 4/6/2012) (Entered: 04/06/2012)
            04/06/2012     876 MOTION to Remove Incorrectly Filed Document ORACLE AMERICA, INC.S MOTION TO REMOVE
                               INCORRECTLY FILED DOCUMENT [DKT. NO. 871] filed by Oracle America, Inc.. (Attachments: #
                               1 Proposed Order [PROPOSED] ORDER GRANTING ORACLE AMERICA, INC.S MOTION TO
                               REMOVE INCORRECTLY FILED DOCUMENT)(Holtzman, Steven) (Filed on 4/6/2012) (Entered:
                               04/06/2012)
            04/09/2012          (Court only) Set/Reset Hearings: (whalc1, COURT STAFF) (Filed on 4/9/2012) (Entered: 04/09/2012)

            04/09/2012     877 REQUEST FOR PROPOSED FINDINGS. Signed by Judge Alsup on April 9, 2012. (whalc1, COURT
                               STAFF) (Filed on 4/9/2012) (Entered: 04/09/2012)
            04/09/2012     878 ORDER REGARDING TRIAL TIME ALLOCATED TO DR. KEARL re 855 Letter filed by John Lee
                               Cooper. Signed by Judge Alsup on April 9, 2012. (whalc1, COURT STAFF) (Filed on 4/9/2012)
                               (Entered: 04/09/2012)



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                         Case: 17-1118          Document: 1-2            Page: 84        Filed: 10/28/2016

            04/09/2012     879 ORDER DENYING MOTION TO SEAL by Hon. William Alsup denying 830 Administrative Motion
                               to File Under Seal.(whalc1, COURT STAFF) (Filed on 4/9/2012) (Entered: 04/09/2012)
            04/09/2012     880 ORDER AUTHORIZING ENTRY AND USE OF EQUIPMENT FOR TRIAL by Hon. William Alsup
                               granting 864 Stipulation.(whalc1, COURT STAFF) (Filed on 4/9/2012) (Entered: 04/09/2012)
            04/09/2012     881 ORDER GRANTING MOTION TO FILE UNDER SEAL by Hon. William Alsup granting 875
                               Administrative Motion to File Under Seal.(whalc1, COURT STAFF) (Filed on 4/9/2012) (Entered:
                               04/09/2012)
            04/09/2012     882 RESPONSE (re 861 MOTION Administrative Relief to Deem Issues Undisputed ) filed byOracle
                               America, Inc.. (Jacobs, Michael) (Filed on 4/9/2012) (Entered: 04/09/2012)
            04/09/2012     883 Statement Parties' Joint Timeline by Oracle America, Inc.. (Muino, Daniel) (Filed on 4/9/2012)
                               (Entered: 04/09/2012)
            04/09/2012     884 STIPULATION WITH PROPOSED ORDER REGARDING TRIAL PROCEDURES filed by Oracle
                               America, Inc.. (Muino, Daniel) (Filed on 4/9/2012) (Entered: 04/09/2012)
            04/09/2012     885 Statement Parties' Joint Timeline [With Corrected Attestation] by Oracle America, Inc.. (Muino,
                               Daniel) (Filed on 4/9/2012) (Entered: 04/09/2012)
            04/09/2012     886 Declaration of David Zimmer in Support of 849 Administrative Motion to File Under Seal ORACLE
                               AMERICA, INC.S ADMINISTRATIVE MOTION TO FILE UNDER SEAL PORTIONS OF ORACLES
                               MOTION TO EXCLUDE PORTIONS OF THE RULE 706 EXPERT REPORT OF DR. JAMES KEARL
                               filed byGoogle Inc.. (Attachments: # 1 Proposed Order Granting Motion to File Under Seal)(Related
                               document(s) 849 ) (Van Nest, Robert) (Filed on 4/9/2012) (Entered: 04/09/2012)
            04/09/2012     887 TRIAL BRIEF Google's Supplemental Copyright Trial Brief Pursuant to March 26, 2012 Order
                               Unredacted Public Version by Google Inc.. (Van Nest, Robert) (Filed on 4/9/2012) (Entered:
                               04/09/2012)
            04/09/2012     888 DOCUMENT E-FILED UNDER SEAL re 881 Order on Administrative Motion to File Under Seal
                               Letter re Telephone Call by Google Inc.. (Van Nest, Robert) (Filed on 4/9/2012) (Entered: 04/09/2012)
            04/10/2012     889 Letter from Michael A. Jacobs re 857 ORDER Regarding Telephone Call. FILED UNDER SEAL.
                               (wsn, COURT STAFF) (Filed on 4/10/2012) (Entered: 04/10/2012)
            04/10/2012     890 STIPULATION AND ORDER REGARDING TRIAL PROCEDURES by Hon. William Alsup
                               granting 884 Stipulation.(whalc1, COURT STAFF) (Filed on 4/10/2012) (Entered: 04/10/2012)
            04/10/2012     891 ORDER REGARDING DAUBERT MOTIONS AGAINST DR. JAMES KEARL by Hon. William
                               Alsup granting in part and denying in part 845 Motion to Strike 850 MOTION to Strike.(whalc1,
                               COURT STAFF) (Filed on 4/10/2012) (Entered: 04/10/2012)
            04/10/2012           (Court only) ***Motions terminated: 850 MOTION to Strike ORACLE AMERICA, INC.S MOTION
                                 TO EXCLUDE PORTIONS OF THE RULE 706 EXPERT REPORT OF DR. JAMES KEARL filed by
                                 Oracle America, Inc.. (whalc1, COURT STAFF) (Filed on 4/10/2012) (Entered: 04/10/2012)
            04/10/2012     892 MOTION Administrative Relief to Deem Facts Admitted by Google filed by Oracle America, Inc..
                               Responses due by 4/12/2012. (Attachments: # 1 Proposed Order)(Jacobs, Michael) (Filed on
                               4/10/2012) (Entered: 04/10/2012)
            04/10/2012     893 Notice of Withdrawal of Motion for administrative relief (Peters, Marc) (Filed on 4/10/2012) (Entered:
                               04/10/2012)
            04/11/2012     894 ORDER GRANTING MOTION TO REMOVE INCORRECTLY FILED DOCUMENT by Hon.
                               William Alsup granting 876 Motion to Remove Incorrectly Filed Document.(whalc1, COURT STAFF)
                               (Filed on 4/11/2012) (Entered: 04/11/2012)
            04/11/2012     895 Transcript of Proceedings held on March 28, 2012, before Judge William H. Alsup. Court
                               Reporter/Transcriber Katherine Powell Sullivan, RPR, CRR, CSR, Telephone number
                               415-794-6659/Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial
                               Conference policy, this transcript may be viewed only at the Clerks Office public terminal or may be
                               purchased through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                               Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request
                               Redaction, if required, is due no later than 5 business days from date of this filing. Redaction Request



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                                due 5/2/2012. Redacted Transcript Deadline set for 5/14/2012. Release of Transcript Restriction set for
                                7/10/2012. (Sullivan, Katherine) (Filed on 4/11/2012) (Entered: 04/11/2012)
            04/11/2012     896 ORDER GRANTING IN PART GOOGLE'S MOTION TO DEEM ISSUES UNDISPUTED by Hon.
                               William Alsup granting in part and denying in part 861 Motion to deem issues undisputed.(whalc1,
                               COURT STAFF) (Filed on 4/11/2012) (Entered: 04/11/2012)
            04/12/2012     897 TRIAL BRIEF Google's 4/12/12 Copyright Liability Trial Brief by Google Inc.. (Van Nest, Robert)
                               (Filed on 4/12/2012) (Entered: 04/12/2012)
            04/12/2012     898 Statement re 877 Order Google's Proposed Findings of Fact Regarding the Copyrightability of the
                               Structure, Selection and Organization of the 37 APIs by Google Inc.. (Van Nest, Robert) (Filed on
                               4/12/2012) (Entered: 04/12/2012)
            04/12/2012     899 NOTICE by Oracle America, Inc. re 854 Order Submission of Oracle's Statement of Issues Regarding
                               Copyright (Attachments: # 1 Exhibit A - Oracle statement of copyright issues)(Peters, Marc) (Filed on
                               4/12/2012) (Entered: 04/12/2012)
            04/12/2012     900 Brief re 852 Trial Brief ORACLES APRIL 12, 2012 BRIEF REGARDING COPYRIGHT ISSUES filed
                               byOracle America, Inc.. (Related document(s) 852 ) (Jacobs, Michael) (Filed on 4/12/2012) (Entered:
                               04/12/2012)
            04/12/2012     901 Statement re 854 Order Google's Proposed Statement of Issues Regarding Copyright by Google Inc..
                               (Van Nest, Robert) (Filed on 4/12/2012) (Entered: 04/12/2012)
            04/12/2012     902 Proposed Findings of Fact by Oracle America, Inc.. (Jacobs, Michael) (Filed on 4/12/2012) (Entered:
                               04/12/2012)
            04/12/2012     903 NOTICE TO PRESS AND PUBLIC RE LIMITED SEATING ON FIRST DAY. Signed by Judge
                               Alsup on April 12, 2012. (whalc1, COURT STAFF) (Filed on 4/12/2012) (Entered: 04/12/2012)
            04/12/2012     904 ORDER FOR PARTIES TO ACCOMMODATE THE PRESS. Signed by Judge Alsup on April 12,
                               2012. (whalc1, COURT STAFF) (Filed on 4/12/2012) (Entered: 04/12/2012)
            04/12/2012     905 STIPULATION WITH PROPOSED ORDER Second Stipulation and Proposed Order Regarding Trial
                               Procedures filed by Oracle America, Inc.. (Muino, Daniel) (Filed on 4/12/2012) (Entered: 04/12/2012)
            04/12/2012     906 Administrative Motion to File Under Seal Oracle's Motion for Administrative Relief to Supplement the
                               Joint Exhibit List filed by Oracle America, Inc.. (Peters, Marc) (Filed on 4/12/2012) (Entered:
                               04/12/2012)
            04/12/2012     907 MOTION to Supplement the Joint Exhibit List filed by Oracle America, Inc.. Responses due by
                               4/16/2012. (Attachments: # 1 Proposed Order, # 2 Declaration of Marc David Peters, # 3 Exhibit
                               A-C)(Peters, Marc) (Filed on 4/12/2012) (Entered: 04/12/2012)
            04/12/2012     908 MOTION to Deem Facts Admitted by Google filed by Oracle America, Inc.. Responses due by
                               4/16/2012. (Attachments: # 1 Proposed Order, # 2 Declaration of Marc David Peters, # 3 Exhibit 1, # 4
                               Exhibit 2)(Jacobs, Michael) (Filed on 4/12/2012) (Entered: 04/12/2012)
            04/12/2012     909 MOTION for Administrative Relief Regarding Statement to Jury filed by Oracle America, Inc..
                               Responses due by 4/16/2012. (Attachments: # 1 Proposed Order, # 2 Declaration Declaration of Marc
                               Peters)(Jacobs, Michael) (Filed on 4/12/2012) (Entered: 04/12/2012)
            04/13/2012     910 ORDER FOR RESPONSE re 907 MOTION to Supplement the Joint Exhibit List filed by Oracle
                               America, Inc., 909 MOTION for Administrative Relief Regarding Statement to Jury filed by Oracle
                               America, Inc., 908 MOTION to Deem Facts Admitted by Google filed by Oracle America, Inc.. Signed
                               by Judge Alsup on April 13, 2012. (whalc1, COURT STAFF) (Filed on 4/13/2012) (Entered:
                               04/13/2012)
            04/13/2012     911 REMINDER ON FIRST DAY OF TRIAL (whalc1, COURT STAFF) (Filed on 4/13/2012) (Entered:
                               04/13/2012)
            04/13/2012     912 RESPONSE (re 909 MOTION for Administrative Relief Regarding Statement to Jury ) filed byGoogle
                               Inc.. (Van Nest, Robert) (Filed on 4/13/2012) (Entered: 04/13/2012)
            04/13/2012     913 RESPONSE (re 907 MOTION to Supplement the Joint Exhibit List ) Google Inc.' filed byGoogle Inc..
                               (Van Nest, Robert) (Filed on 4/13/2012) (Entered: 04/13/2012)



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            04/13/2012     914 RESPONSE (re 908 MOTION to Deem Facts Admitted by Google ) filed byGoogle Inc.. (Van Nest,
                               Robert) (Filed on 4/13/2012) (Entered: 04/13/2012)
            04/13/2012     915 Declaration of Eugene M. Paige in Support of 913 Opposition/Response to Motion filed byGoogle Inc..
                               (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7
                               Exhibit 7, # 8 Exhibit 8)(Related document(s) 913 ) (Van Nest, Robert) (Filed on 4/13/2012) (Entered:
                               04/13/2012)
            04/13/2012     916 Declaration of David Zimmer in Support of 870 Administrative Motion to File Under Seal ORACLE
                               AMERICA, INC.S ADMINISTRATIVE MOTION TO FILE UNDER SEAL filed byGoogle Inc..
                               (Attachments: # 1 Proposed Order)(Related document(s) 870 ) (Van Nest, Robert) (Filed on 4/13/2012)
                               (Entered: 04/13/2012)
            04/13/2012     917 ORDER GRANTING SECOND STIPULATION RE TRIAL PROCEDURES by Hon. William Alsup
                               granting 905 Stipulation.(whalc1, COURT STAFF) (Filed on 4/13/2012) (Entered: 04/13/2012)
            04/14/2012     918 Witness List by Oracle America, Inc. Rolling List of Next Ten Witnesses. (Muino, Daniel) (Filed on
                               4/14/2012) (Entered: 04/14/2012)
            04/15/2012     919 Witness List by Oracle America, Inc. Rolling List of Next Ten Witnesses. (Muino, Daniel) (Filed on
                               4/15/2012) (Entered: 04/15/2012)
            04/15/2012     920 Administrative Motion to File Under Seal the redacted sections of Google Inc.'s Motion in Limine re
                               Presentation of Financial Evidence and Testimony filed by Google Inc.. (Van Nest, Robert) (Filed on
                               4/15/2012) (Entered: 04/15/2012)
            04/15/2012     921 MOTION in Limine re Presentation of Financial Evidence and Testimony filed by Google Inc..
                               Responses due by 4/30/2012. Replies due by 5/7/2012. (Attachments: # 1 Proposed Order)(Van Nest,
                               Robert) (Filed on 4/15/2012) (Entered: 04/15/2012)
            04/15/2012     922 MOTION to Exclude Evidence Regarding License, Implied License, and Equitable Estoppel Defenses
                               filed by Oracle America, Inc.. Responses due by 4/17/2012. (Attachments: # 1 Exhibit A, # 2 Exhibit
                               B, # 3 Exhibit C, # 4 Proposed Order)(Jacobs, Michael) (Filed on 4/15/2012) (Entered: 04/15/2012)
            04/15/2012     923 Exhibit List Joint Submission of Corrected Exhibit List by Oracle America, Inc... (Peters, Marc) (Filed
                               on 4/15/2012) (Entered: 04/15/2012)
            04/15/2012     924 RESPONSE (re 922 MOTION to Exclude Evidence Regarding License, Implied License, and
                               Equitable Estoppel Defenses ) filed byGoogle Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                               Exhibit C, # 4 Exhibit D)(Van Nest, Robert) (Filed on 4/15/2012) (Entered: 04/15/2012)
            04/15/2012     925 RESPONSE (re 921 MOTION in Limine re Presentation of Financial Evidence and Testimony )
                               ORACLE AMERICAS OPPOSITION TO GOOGLES MOTION IN LIMINE RE PRESENTATION OF
                               FINANCIAL EVIDENCE AND TESTIMONY filed byOracle America, Inc.. (Holtzman, Steven) (Filed
                               on 4/15/2012) (Entered: 04/15/2012)
            04/15/2012     926 Statement Joint Statement of the Case for Voir Dire by Google Inc., Oracle America, Inc.. (Peters,
                               Marc) (Filed on 4/15/2012) (Entered: 04/15/2012)
            04/16/2012     927 ORDER AMENDING STIPULATED TRIAL PROCEDURES re 890 Order on Stipulation. Signed by
                               Judge Alsup on April 16, 2012. (whalc1, COURT STAFF) (Filed on 4/16/2012) (Entered: 04/16/2012)
            04/16/2012     928 ORDER GRANTING ORACLE'S MOTION TO AUGMENT EXHIBIT LIST by Hon. William Alsup
                               granting 907 Motion augment exhibit list.(whalc1, COURT STAFF) (Filed on 4/16/2012) (Entered:
                               04/16/2012)
            04/16/2012     929 ORDER REGARDING APRIL 16 MOTIONS IN LIMINE by Hon. William Alsup denying without
                               prejudice 921 922 .(whalc1, COURT STAFF) (Filed on 4/16/2012) (Entered: 04/16/2012)
            04/16/2012           (Court only) ***Motions terminated: 922 MOTION to Exclude Evidence Regarding License, Implied
                                 License, and Equitable Estoppel Defenses filed by Oracle America, Inc.. (whalc1, COURT STAFF)
                                 (Filed on 4/16/2012) (Entered: 04/16/2012)
            04/16/2012     930 Minute Entry: Jury Trial began on 4/16/2012 before William Alsup (Date Filed: 4/16/2012), Jury
                               Selection held on 4/16/2012 before William Alsup (Date Filed: 4/16/2012). (Court Reporter Kathy
                               Sullivan; Debra Pas.) (dt, COURT STAFF) (Date Filed: 4/16/2012) (Entered: 04/16/2012)




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            04/16/2012     931 Witness List by Google Inc. Rolling List of Next Ten Witnesses. (Van Nest, Robert) (Filed on
                               4/16/2012) (Entered: 04/16/2012)
            04/16/2012     932 Witness List by Oracle America, Inc. Rolling List of Next Ten Witnesses. (Muino, Daniel) (Filed on
                               4/16/2012) (Entered: 04/16/2012)
            04/16/2012     933 Statement RE THE IMPORT OF FACTS DEEMED UNDISPUTED FOR TRIAL by Google Inc.. (Van
                               Nest, Robert) (Filed on 4/16/2012) (Entered: 04/16/2012)
            04/16/2012     934 Statement ORACLES STATEMENT REGARDING MOTIONS TO DEEM ISSUES UNDISPUTED by
                               Oracle America, Inc.. (Holtzman, Steven) (Filed on 4/16/2012) (Entered: 04/16/2012)
            04/17/2012     935 ORDER GRANTING IN PART AND DENYING IN PART MOTIONS TO SEAL by Judge William
                               Alsup [denying 844 Administrative Motion to File Under Seal; granting in part and denying in part 849
                               Administrative Motion to File Under Seal; granting 866 Administrative Motion to File Under Seal;
                               granting in part and denying in part 870 Administrative Motion to File Under Seal]. (whasec, COURT
                               STAFF) (Filed on 4/17/2012) (Entered: 04/17/2012)
            04/17/2012     936 Minute Entry: Jury Trial held on 4/17/2012 before William Alsup (Date Filed: 4/17/2012). Witnesses
                               called. Further Jury Trial 4/18/2012 7:30 AM. (Court Reporter Kathy Sullivan; Debra Pas.) (dt,
                               COURT STAFF) (Date Filed: 4/17/2012) (Entered: 04/17/2012)
            04/17/2012     937 Witness List by Oracle America, Inc. Rolling List of Next Ten Witnesses. (Muino, Daniel) (Filed on
                               4/17/2012) (Entered: 04/17/2012)
            04/18/2012     938 ORDER GRANTING IN PART ORACLE'S MOTION TO DEEM ISSUES UNDISPUTED AND
                               DENYING RELIEF REGARDING STATEMENT TO JURY by Hon. William Alsup granting in part
                               and denying in part 908 Motion.(whalc1, COURT STAFF) (Filed on 4/18/2012) (Entered: 04/18/2012)
            04/18/2012     939 Minute Entry: Jury Trial held on 4/18/2012 before William Alsup (Date Filed: 4/18/2012). Witnesses
                               called. Further Jury Trial 4/19/2012 7:30 AM. (Court Reporter Kathy Sullivan; Debra Pas.) (dt,
                               COURT STAFF) (Date Filed: 4/18/2012) (Entered: 04/18/2012)
            04/18/2012     940 NOTICE RE DEPOSITION DESIGNATIONS. Signed by Judge William Alsup on 4/18/2012.
                               (whasec, COURT STAFF) (Filed on 4/18/2012) (Entered: 04/18/2012)
            04/18/2012     941 Witness List by Oracle America, Inc. Rolling List of Next Ten Witnesses. (Muino, Daniel) (Filed on
                               4/18/2012) (Entered: 04/18/2012)
            04/18/2012     942 Transcript of Proceedings held on 4/16/12, before Judge William H. Alsup. Court Reporter/Transcriber
                               Katherine Powell Sullivan and Debra L. Pas, Official Reporters, Telephone number
                               415-794-6659/Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial
                               Conference policy, this transcript may be viewed only at the Clerks Office public terminal or may be
                               purchased through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                               Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request
                               Redaction, if required, is due no later than 5 business days from date of this filing. Redaction Request
                               due 5/9/2012. Redacted Transcript Deadline set for 5/21/2012. Release of Transcript Restriction set for
                               7/17/2012. (Sullivan, Katherine) (Filed on 4/18/2012) (Entered: 04/18/2012)
            04/18/2012     943 Transcript of Proceedings held on 4/17/12, before Judge William H. Alsup. Court Reporter/Transcriber
                               Katherine Powell Sullivan and Debra L. Pas, Official Reporters, Telephone number
                               415-794-6659Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial
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                               Restriction. After that date it may be obtained through PACER. Any Notice of Intent to Request
                               Redaction, if required, is due no later than 5 business days from date of this filing. Redaction Request
                               due 5/9/2012. Redacted Transcript Deadline set for 5/21/2012. Release of Transcript Restriction set for
                               7/17/2012. (Sullivan, Katherine) (Filed on 4/18/2012) (Entered: 04/18/2012)
            04/19/2012     944 Minute Entry: Jury Trial held on 4/19/2012 before William Alsup (Date Filed: 4/19/2012). Witnessess
                               called. Further Jury Trial set for 4/20/2012 7:30 AM. (Court Reporter Kathy Sullivan; Debra Pas.) (dtS,
                               COURT STAFF) (Date Filed: 4/19/2012) (Entered: 04/19/2012)
            04/19/2012     945 STIPULATION WITH PROPOSED ORDER Stipulation regarding selection, arrangement, and
                               structure filed by Google Inc., Oracle America, Inc.. (Peters, Marc) (Filed on 4/19/2012) (Entered:




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                                 04/19/2012)
            04/20/2012     946 ORDER GRANTING STIPULATED STATEMENT by Hon. William Alsup granting 945 Stipulation.
                               (whalc1, COURT STAFF) (Filed on 4/20/2012) (Entered: 04/20/2012)
            04/20/2012     947 Minute Entry: Jury Trial held on 4/20/2012 before William Alsup (Date Filed: 4/20/2012). Witnesses
                               called. Further Jury Trial 4/23/2012 7:30 AM. (Court Reporter Kathy Sullivan; Debra Pas.) (dt,
                               COURT STAFF) (Date Filed: 4/20/2012) (Entered: 04/20/2012)
            04/20/2012     948 ORDER RE ADDITIONAL ISSUES FOR SECOND BRIEF DUE SUNDAY. Signed by Judge Alsup
                               on April 20, 2012. (whalc1, COURT STAFF) (Filed on 4/20/2012) (Entered: 04/20/2012)
            04/20/2012     949 Transcript of Proceedings held on 4/18/12, before Judge William H. Alsup. Court Reporter/Transcriber
                               Katherine Powell Sullivan and Debra L. Pas, OfficialReporters, Telephone number 415-794-6659
                               Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial Conference policy, this
                               transcript may be viewed only at the Clerks Office public terminal or may be purchased through the
                               Court Reporter/Transcriber until the deadline for the Release of Transcript Restriction.After that date it
                               may be obtained through PACER. Any Notice of Intent to Request Redaction, if required, is due no
                               later than 5 business days from date of this filing. Redaction Request due 5/11/2012. Redacted
                               Transcript Deadline set for 5/21/2012. Release of Transcript Restriction set for 7/19/2012. (Sullivan,
                               Katherine) (Filed on 4/20/2012) Modified on 4/23/2012 (ewn, COURT STAFF). (Entered: 04/20/2012)
            04/20/2012     950 Transcript of Proceedings held on 4/19/12, before Judge William H. Alsup. Court Reporter/Transcriber
                               Katherine Powell Sullivan and Debra L. Pas, OfficialReporters,Telephone number 415-794-6659/
                               Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial Conference policy, this
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                               Court Reporter/Transcriber until the deadline for the Release of Transcript Restriction.After that date it
                               may be obtained through PACER. Any Notice of Intent to Request Redaction, if required, is due no
                               later than 5 business days from date of this filing. Redaction Request due 5/11/2012. Redacted
                               Transcript Deadline set for 5/21/2012. Release of Transcript Restriction set for 7/19/2012. (Sullivan,
                               Katherine) (Filed on 4/20/2012) (Entered: 04/20/2012)
            04/21/2012     951 ORDER RE BRIEF DUE SUNDAY. Signed by Judge Alsup on April 21, 2012. (whalc2, COURT
                               STAFF) (Filed on 4/21/2012) (Entered: 04/21/2012)
            04/21/2012     952 Witness List by Oracle America, Inc. Oracle America, Inc.'s Rolling List of Next Ten Witnesses.
                               (Muino, Daniel) (Filed on 4/21/2012) (Entered: 04/21/2012)
            04/21/2012     953 SUPPLEMENTAL ORDER RE BRIEF DUE SUNDAY re 951 Order. Signed by Judge Alsup on April
                               21, 2012. (whalc1, COURT STAFF) (Filed on 4/21/2012) (Entered: 04/21/2012)
            04/22/2012     954 STIPULATION WITH PROPOSED ORDER re 953 Order, 948 Order REGARDING BRIEFING ON
                               COPYRIGHT ISSUES filed by Oracle America, Inc.. (Muino, Daniel) (Filed on 4/22/2012) (Entered:
                               04/22/2012)
            04/22/2012     955 TRIAL BRIEF Google's April 22, 2012 Copyright Liability Trial Brief by Google Inc.. (Van Nest,
                               Robert) (Filed on 4/22/2012) (Entered: 04/22/2012)
            04/22/2012     956 Brief re 953 Order, 948 Order Oracle's Brief Addressing Court's Copyright Questions filed byOracle
                               America, Inc.. (Attachments: # 1 Exhibit A)(Related document(s) 953 , 948 ) (Jacobs, Michael) (Filed
                               on 4/22/2012) (Entered: 04/22/2012)
            04/22/2012     957 Witness List by Google Inc. Google Inc.'s Rolling List of Next Ten Witnesses. (Van Nest, Robert) (Filed
                               on 4/22/2012) (Entered: 04/22/2012)
            04/22/2012     958 MOTION ORACLE AMERICA, INC.S MOTION TO ADMIT TRIAL EXHIBIT 1026 filed by Oracle
                               America, Inc.. Responses due by 5/7/2012. Replies due by 5/14/2012. (Holtzman, Steven) (Filed on
                               4/22/2012) (Entered: 04/22/2012)
            04/22/2012     959 MOTION ORACLE AMERICA, INC.S MOTION SEEKING A CLARIFYING INSTRUCTION AND
                               PROFFER REGARDING APACHE HARMONY filed by Oracle America, Inc.. Responses due by
                               5/7/2012. Replies due by 5/14/2012. (Holtzman, Steven) (Filed on 4/22/2012) (Entered: 04/22/2012)
            04/22/2012     960 Statement Google's Statement re Order re Proposed Findings of Fact and Conclusions of Law re All
                               Issues of Fact and Law that Must be Resolved by the Judge, Including Scope of Protection of the
                               Copyrights by Google Inc.. (Van Nest, Robert) (Filed on 4/22/2012) (Entered: 04/22/2012)



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            04/22/2012     961 NOTICE by Oracle America, Inc. Update on Reexamination of '702 Patent (Jacobs, Michael) (Filed on
                               4/22/2012) (Entered: 04/22/2012)
            04/22/2012     962 RESPONSE (re 959 MOTION ORACLE AMERICA, INC.S MOTION SEEKING A CLARIFYING
                               INSTRUCTION AND PROFFER REGARDING APACHE HARMONY ) filed byGoogle Inc.. (Van Nest,
                               Robert) (Filed on 4/22/2012) (Entered: 04/22/2012)
            04/22/2012     963 RESPONSE (re 958 MOTION ORACLE AMERICA, INC.S MOTION TO ADMIT TRIAL EXHIBIT
                               1026 ) filed byGoogle Inc.. (Van Nest, Robert) (Filed on 4/22/2012) (Entered: 04/22/2012)
            04/23/2012     964 ORDER GRANTING STIPULATED PAGE LENGTH by Hon. William Alsup granting 954
                               Stipulation.(whalc1, COURT STAFF) (Filed on 4/23/2012) (Entered: 04/23/2012)
            04/23/2012     965 Witness List by Google Inc. Google Inc.'s Rolling List of Next Ten Witnesses. (Van Nest, Robert) (Filed
                               on 4/23/2012) (Entered: 04/23/2012)
            04/23/2012     966 MOTION for Extension of Time to File Motion for Administrative Relief to Extend Deadline for Filing
                               Under Seal and Grant Google Leave to File a Revised Declaration in Support of Oracle's Motion to
                               Seal filed by Google Inc.. (Attachments: # 1 Stipulation and Proposed Order)(Van Nest, Robert) (Filed
                               on 4/23/2012) (Entered: 04/23/2012)
            04/23/2012     975 Minute Entry: Jury Trial held on 4/23/2012 before Judge William Alsup (Date Filed: 4/23/2012).
                               Witnesses called. Further Jury Trial 4/24/2012 7:30 AM. (Court Reporter Kathy Sullivan; Debra Pas.)
                               (dt, COURT STAFF) (Date Filed: 4/23/2012) (Entered: 04/25/2012)
            04/24/2012     967 Transcript of Proceedings held on 4/20/12, before Judge William H. Alsup. Court Reporter/Transcriber
                               Katherine Powell Sullivan and Debra L. Pas, OfficialReporters, Telephone number 415-794-6659/
                               Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial Conference policy, this
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                               may be obtained through PACER. Any Notice of Intent to Request Redaction, if required, is due no
                               later than 5 business days from date of this filing. Redaction Request due 5/15/2012. Redacted
                               Transcript Deadline set for 5/25/2012. Release of Transcript Restriction set for 7/23/2012. (Sullivan,
                               Katherine) (Filed on 4/24/2012) (Entered: 04/24/2012)
            04/24/2012     968 ORDER REGARDING FORMAT OF PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF
                               LAW. Signed by Judge Alsup on April 24, 2012. (whalc1, COURT STAFF) (Filed on 4/24/2012)
                               (Entered: 04/24/2012)
            04/24/2012     969 Witness List by Google Inc. Google Inc.'s Rolling List of Next Ten Witnesses. (Van Nest, Robert) (Filed
                               on 4/24/2012) (Entered: 04/24/2012)
            04/24/2012     970 MOTION Oracle Motion for Clarification Regarding 702 Patent filed by Oracle America, Inc..
                               Responses due by 4/24/2012. (Jacobs, Michael) (Filed on 4/24/2012) (Entered: 04/24/2012)
            04/24/2012     971 RESPONSE (re 970 MOTION Oracle Motion for Clarification Regarding 702 Patent ) Google's
                               Opposition to Oracle's Motion for Clarification re '702 Patent filed byGoogle Inc.. (Van Nest, Robert)
                               (Filed on 4/24/2012) (Entered: 04/24/2012)
            04/24/2012     976 Minute Entry: Jury Trial held on 4/24/2012 before Judge William Alsup (Date Filed: 4/24/2012).
                               Witness called. Plaintiff REST - Phase One. Further Jury Trial set for 4/25/2012 7:30 AM. (Court
                               Reporter Kathy Sullivan; Debra Pas.) (dt, COURT STAFF) (Date Filed: 4/24/2012) (Entered:
                               04/25/2012)
            04/25/2012     972 ORDER TO PAY ADDITIONAL ATTENDANCE FEE. Signed by Judge William Alsup on 4/24/12.
                               (dt, COURT STAFF) (Filed on 4/25/2012) (Entered: 04/25/2012)
            04/25/2012     973 ORDER GRANTING MOTION TO EXTEND DEADLINE FOR FILING UNDER SEAL AND
                               GRANTING GOOGLE LEAVE TO FILE REVISED DECLARATION IN SUPPORT OF ORACLE'S
                               MOTION TO SEAL by Judge William Alsup [granting 966 Motion for Extension of Time to File].
                               (whasec, COURT STAFF) (Filed on 4/25/2012) (Entered: 04/25/2012)
            04/25/2012     974 ORDER RE DEPOSITION DESIGNATIONS OF LARRY ELLISON (RE GOOGLE'S FINAL
                               PACKET OF DEPOSITION DESIGNATIONS FOR LARRY ELLISON -- DATED 4/25/2012 BUT
                               NOT FILED). Signed by Judge William Alsup on 4/25/2012. (whasec, COURT STAFF) (Filed on
                               4/25/2012) (Entered: 04/25/2012)



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            04/25/2012     977 Minute Entry: Jury Trial held on 4/25/2012 before Judge William Alsup (Date Filed: 4/25/2012).
                               Witnesses called. Further Jury Trial set for 4/26/2012 7:30 AM. (Court Reporter Kathy Sullivan; Debra
                               Pas.) (dt, COURT STAFF) (Date Filed: 4/25/2012) (Entered: 04/25/2012)
            04/25/2012     978 ORDER REGARDING THE 702 PATENT by Hon. William Alsup denying 970 Motion.(whalc1,
                               COURT STAFF) (Filed on 4/25/2012) (Entered: 04/25/2012)
            04/25/2012     979 Witness List by Oracle America, Inc. Rolling Witness List. (Muino, Daniel) (Filed on 4/25/2012)
                               (Entered: 04/25/2012)
            04/25/2012     980 NOTICE OF FILING OF DRAFT SPECIAL VERDICT FORM GIVEN TO PARTIES ON APRIL 19
                               AND COMMENTS. Signed by Judge Alsup on April 25, 2012. (Attachments: # 1 April 19 Draft
                               Verdict Form, # 2 April 20 Parties Comments)(whalc1, COURT STAFF) (Filed on 4/25/2012)
                               (Entered: 04/25/2012)
            04/25/2012     981 Witness List by Oracle America, Inc. Amended Rolling List of Next Ten Witnesses. (Muino, Daniel)
                               (Filed on 4/25/2012) (Entered: 04/25/2012)
            04/25/2012     982 TRIAL BRIEF Google's April 25 Copyright Brief by Google Inc.. (Attachments: # 1 Exhibit A)(Van
                               Nest, Robert) (Filed on 4/25/2012) (Entered: 04/25/2012)
            04/25/2012     983 Statement Oracle's Comments Regarding the Court's Draft Special Verdict Form by Oracle America,
                               Inc.. (Attachments: # 1 Exhibit)(Jacobs, Michael) (Filed on 4/25/2012) (Entered: 04/25/2012)
            04/25/2012     984 MOTION for Judgment as a Matter of Law Google's Motion for Judgment as a Matter of Law on
                               Sections of Count VIII of Oracle's Amended Complaint filed by Google Inc.. Responses due by
                               5/9/2012. Replies due by 5/16/2012. (Van Nest, Robert) (Filed on 4/25/2012) (Entered: 04/25/2012)
            04/25/2012     985 Statement Google's Comments on the Court's April 25 Draft Special Verdict Form by Google Inc.. (Van
                               Nest, Robert) (Filed on 4/25/2012) (Entered: 04/25/2012)
            04/26/2012     986 Brief Oracle's Copyright Brief Regarding Work as a Whole filed byOracle America, Inc.. (Jacobs,
                               Michael) (Filed on 4/26/2012) (Entered: 04/26/2012)
            04/26/2012     987 Transcript of Proceedings held on 4/23/12, before Judge William H. Alsup. Court Reporter/Transcriber
                               Katherine Powell Sullivan and Debra L. Pas, Official Reporters, Telephone number 415-794-6659
                               Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial Conference policy, this
                               transcript may be viewed only at the Clerks Office public terminal or may be purchased through the
                               Court Reporter/Transcriber until the deadline for the Release of Transcript Restriction.After that date it
                               may be obtained through PACER. Any Notice of Intent to Request Redaction, if required, is due no
                               later than 5 business days from date of this filing. Redaction Request due 5/17/2012. Redacted
                               Transcript Deadline set for 5/29/2012. Release of Transcript Restriction set for 7/25/2012. (Sullivan,
                               Katherine) (Filed on 4/26/2012) (Entered: 04/26/2012)
            04/26/2012     988 Transcript of Proceedings held on 4/24/12, before Judge William H. Alsup. Court Reporter/Transcriber
                               Katherine Powell Sullivan and Debra L. Pas, Official Reporters, Telephone number 415-794-6659/
                               Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial Conference policy, this
                               transcript may be viewed only at the Clerks Office public terminal or may be purchased through the
                               Court Reporter/Transcriber until the deadline for the Release of Transcript Restriction.After that date it
                               may be obtained through PACER. Any Notice of Intent to Request Redaction, if required, is due no
                               later than 5 business days from date of this filing. Redaction Request due 5/17/2012. Redacted
                               Transcript Deadline set for 5/29/2012. Release of Transcript Restriction set for 7/25/2012. (Sullivan,
                               Katherine) (Filed on 4/26/2012) (Entered: 04/26/2012)
            04/26/2012     989 Transcript of Proceedings held on 4/25/12, before Judge William H. Alsup. Court Reporter/Transcriber
                               Katherine Powell Sullivan and Debra L. Pas, Official Reporters,, Telephone number 415-794-6659/
                               Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial Conference policy, this
                               transcript may be viewed only at the Clerks Office public terminal or may be purchased through the
                               Court Reporter/Transcriber until the deadline for the Release of Transcript Restriction.After that date it
                               may be obtained through PACER. Any Notice of Intent to Request Redaction, if required, is due no
                               later than 5 business days from date of this filing. Redaction Request due 5/17/2012. Redacted
                               Transcript Deadline set for 5/29/2012. Release of Transcript Restriction set for 7/25/2012. (Sullivan,
                               Katherine) (Filed on 4/26/2012) (Entered: 04/26/2012)




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CAND-ECF                                                                https://ecf.cand.circ9.dcn/cgi-bin/DktRpt.pl?767196345698506-L_1_0-1
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            04/26/2012      990 Declaration of David Zimmer in Support of Oracle America, Inc.'s 849 Administrative Motion to File
                                Under Seal Portions of Oracle's Motion to Exclude Portions of the Rule 706 Expert Report of Dr.
                                James Kearl (Dkt. No. 849) (revised per Docket No. 973) filed by Google Inc. (Van Nest, Robert)
                                (Filed on 4/26/2012) Modified on 4/27/2012 (wsn, COURT STAFF). (Entered: 04/26/2012)
            04/26/2012      991 ORDER DENYING MOTION TO SEAL (DKT. NO. 906) by Hon. William Alsup [denying 906
                                Administrative Motion to File Under Seal].(whasec, COURT STAFF) (Filed on 4/26/2012) (Entered:
                                04/26/2012)
            04/26/2012      992 Minute Entry: Jury Trial held on 4/26/2012 before William Alsup (Date Filed: 4/26/2012). Further Jury
                                Trial set for 4/27/2012 7:30 AM. Charging Conference set for 4/27/2012 02:15 PM in Courtroom 8,
                                19th Floor, San Francisco before Hon. William Alsup. (Court Reporter Kathy Sullivan; Debra Pas.) (dt,
                                COURT STAFF) (Date Filed: 4/26/2012) (Entered: 04/26/2012)
            04/26/2012      993 TRIAL BRIEF Google's Corrected April 25 Copyright Brief by Google Inc.. (Attachments: # 1 Exhibit
                                A)(Van Nest, Robert) (Filed on 4/26/2012) (Entered: 04/26/2012)
            04/26/2012      994 PROPOSED CHARGE TO THE JURY AND SPECIAL VERDICT FORM. Signed by Judge Alsup on
                                April 26, 2012. (Attachments: # 1 Draft Special Verdict Form)(whalc1, COURT STAFF) (Filed on
                                4/26/2012) (Entered: 04/26/2012)
            04/26/2012      995 Witness List by Oracle America, Inc. Rolling List of Next Ten Witnesses. (Muino, Daniel) (Filed on
                                4/26/2012) (Entered: 04/26/2012)
            04/26/2012      996 Statement Google Inc.'s Comments on the Court's 994 Proposed Charge to the Jury by Google Inc.
                                (Van Nest, Robert) (Filed on 4/26/2012) Modified on 4/27/2012 (wsn, COURT STAFF). (Entered:
                                04/26/2012)
            04/27/2012      997 Statement Oracle's Comments Regarding the Court's 994 Proposed Jury Instructions (Phase One) by
                                Oracle America, Inc. (Jacobs, Michael) (Filed on 4/27/2012) Modified on 4/27/2012 (wsn, COURT
                                STAFF). (Entered: 04/27/2012)
            04/27/2012      998 NOTICE [re jury instructions and "indirect infringement]. Signed by Judge William Alsup on
                                4/27/2012. (whasec, COURT STAFF) (Filed on 4/27/2012) (Entered: 04/27/2012)
            04/27/2012     1019 Minute Entry: Jury Trial held on 4/27/2012 before William Alsup (Date Filed: 4/27/2012). Charging
                                Conference held. Further Jury Trial set for 4/30/2012 7:30 AM. (Court Reporter Debra Pas.) (dt,
                                COURT STAFF) (Date Filed: 4/27/2012) (Entered: 04/30/2012)
            04/28/2012      999 ORDER RE INDIRECT INFRINGEMENT re 998 Order. Signed by Judge Alsup on April 28, 2012.
                                (whalc1, COURT STAFF) (Filed on 4/28/2012) (Entered: 04/28/2012)
            04/28/2012     1000 STIPULATION WITH PROPOSED ORDER re 998 Order, 999 Order re Contributory and Vicarious
                                Copyright Infringement filed by Google Inc.. (Van Nest, Robert) (Filed on 4/28/2012) (Entered:
                                04/28/2012)
            04/28/2012     1001 ORDER GRANTING STIPULATION granting 1000 STIPULATION WITH PROPOSED ORDER re
                                998 Order, 999 Order re Contributory and Vicarious Copyright Infringement filed by Google Inc..
                                Signed by Judge Alsup on April 28, 2012.. (whalc1, COURT STAFF) (Filed on 4/28/2012) (Entered:
                                04/28/2012)
            04/28/2012            (Court only) ***Motions terminated: 1000 STIPULATION WITH PROPOSED ORDER re 998 Order,
                                  999 Order re Contributory and Vicarious Copyright Infringement filed by Google Inc., 958 MOTION
                                  ORACLE AMERICA, INC.S MOTION TO ADMIT TRIAL EXHIBIT 1026 filed by Oracle America,
                                  Inc., 909 MOTION for Administrative Relief Regarding Statement to Jury filed by Oracle America,
                                  Inc.. (whalc1, COURT STAFF) (Filed on 4/28/2012) (Entered: 04/28/2012)
            04/28/2012     1002 NOTICE by Oracle America, Inc. Joint Notice Appending Handouts to Jury (Attachments: # 1 Exhibit
                                1 (timeline), # 2 Exhibit 2 (glossary), # 3 Exhibit 3 (list of witnesses and attorneys))(Muino, Daniel)
                                (Filed on 4/28/2012) (Entered: 04/28/2012)
            04/28/2012     1003 Witness List by Oracle America, Inc. ORACLE AMERICA, INC.'S ROLLING LIST OF NEXT TEN
                                WITNESSES. (Muino, Daniel) (Filed on 4/28/2012) (Entered: 04/28/2012)
            04/29/2012     1004 OBJECTIONS to Oracle's Objection to Jury Instruction on Equitable Defenses by Oracle America,
                                Inc.. (Muino, Daniel) (Filed on 4/29/2012) (Entered: 04/29/2012)



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            04/29/2012     1005 Brief Oracle's Objections to Proposed New Jury Instruction on Fair Use filed byOracle America, Inc..
                                (Jacobs, Michael) (Filed on 4/29/2012) (Entered: 04/29/2012)
            04/29/2012     1006 Witness List by Oracle America, Inc. Rolling List of Next Ten Witnesses. (Muino, Daniel) (Filed on
                                4/29/2012) (Entered: 04/29/2012)
            04/29/2012     1007 Second MOTION for Judgment as a Matter of Law on Sections of Count VIII of Oracle's Amended
                                Complaint filed by Google Inc.. Responses due by 5/14/2012. Replies due by 5/21/2012. (Van Nest,
                                Robert) (Filed on 4/29/2012) (Entered: 04/29/2012)
            04/29/2012     1008 Statement OUTLINE OF ORACLE AMERICA INC.'S MEMORANDUM OF POINTS AND
                                AUTHORITIES IN SUPPORT OF ITS RULE 50(A) MOTION AT THE CLOSE OF ALL EVIDENCE by
                                Oracle America, Inc.. (Muino, Daniel) (Filed on 4/29/2012) (Entered: 04/29/2012)
            04/29/2012     1009 RESPONSE (re 984 MOTION for Judgment as a Matter of Law Google's Motion for Judgment as a
                                Matter of Law on Sections of Count VIII of Oracle's Amended Complaint ) filed byOracle America,
                                Inc.. (Jacobs, Michael) (Filed on 4/29/2012) (Entered: 04/29/2012)
            04/29/2012     1010 Brief ORACLE'S OBJECTION TO GOOGLE'S PROPOSED INSTRUCTION ON THE OBJECTIVE-
                                SUBJECTIVE TEST filed byOracle America, Inc.. (Muino, Daniel) (Filed on 4/29/2012) (Entered:
                                04/29/2012)
            04/29/2012     1011 Witness List by Oracle America, Inc. ORACLE AMERICA, INC.'S AMENDED ROLLING LIST OF
                                NEXT TEN WITNESSES. (Muino, Daniel) (Filed on 4/29/2012) (Entered: 04/29/2012)
            04/29/2012     1012 NOTICE OF JURY INSTRUCTIONS AND SPECIAL VERDICT FORM. Signed by Judge Alsup on
                                April 29, 2012. (Attachments: # 1 Draft Special Verdict Form)(whalc1, COURT STAFF) (Filed on
                                4/29/2012) (Entered: 04/29/2012)
            04/29/2012     1013 RESPONSE (re 984 MOTION for Judgment as a Matter of Law Google's Motion for Judgment as a
                                Matter of Law on Sections of Count VIII of Oracle's Amended Complaint ) WITH TABLES filed
                                byOracle America, Inc.. (Jacobs, Michael) (Filed on 4/29/2012) (Entered: 04/29/2012)
            04/29/2012     1014 *** FILED IN ERROR. PLEASE SEE DOCKET # 1015 ***

                                  OBJECTIONS to re 1012 Order Google's Objections to Final Charge to the Jury (Phase One) and
                                  Special Verdict Form by Google Inc. (Van Nest, Robert) (Filed on 4/29/2012) Modified on 4/30/2012
                                  (wsn, COURT STAFF). (Entered: 04/29/2012)
            04/29/2012     1015 OBJECTIONS to re 1012 Order, 1014 Objection Google's Objections to Final Charge to the Jury
                                (Phase One) and Special Verdict Form (corrected version of Dkt. 1014) by Google Inc.. (Van Nest,
                                Robert) (Filed on 4/29/2012) (Entered: 04/29/2012)
            04/30/2012     1016 OBJECTIONS to re 1012 Order Oracle's Objections to the Court's Final Charge to the Jury and
                                Special Verdict Form (Phase One) by Oracle America, Inc.. (Jacobs, Michael) (Filed on 4/30/2012)
                                (Entered: 04/30/2012)
            04/30/2012     1017 NOTICE OF JURY INSTRUCTIONS. Signed by Judge Alsup on April 30, 2012. (Attachments: # 1
                                Special Verdict Form)(whalc1, COURT STAFF) (Filed on 4/30/2012) (Entered: 04/30/2012)
            04/30/2012     1018 FINAL CHARGE TO THE JURY AND SPECIAL VERDICT FORM. Signed by Judge Alsup on
                                April 30, 2012. (Attachments: # 1 Special Verdict Form)(whalc1, COURT STAFF) (Filed on
                                4/30/2012) (Entered: 04/30/2012)
            04/30/2012     1020 Minute Entry: Jury Trial held on 4/30/2012 before William Alsup (Date Filed: 4/30/2012). Closing
                                Arguments held. Jury Instructions read. Deliberations began. Further Jury Trial set for 5/1/2012 8:00
                                AM. (Court Reporter Kathy Sullivan; Debra Pas.) (dt, COURT STAFF) (Date Filed: 4/30/2012)
                                (Entered: 04/30/2012)
            04/30/2012     1021 MOTION Oracle's Notice of Motion and Motion for Administrative Relief to Supplement the Joint
                                Exhibit List re 991 Order on Administrative Motion to File Under Seal filed by Oracle America, Inc..
                                Responses due by 5/14/2012. Replies due by 5/21/2012. (Peters, Marc) (Filed on 4/30/2012) (Entered:
                                04/30/2012)
            04/30/2012     1022 EXHIBITS re 991 Order on Administrative Motion to File Under Seal Exhibits 1 - 3 to Declaration of
                                Marc David Peters in Support of Oracle's Motion for Administrative Relief to Supplement the Joint



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                                  Exhibit List filed byOracle America, Inc.. (Related document(s) 991 ) (Peters, Marc) (Filed on
                                  4/30/2012) (Entered: 04/30/2012)
            04/30/2012     1023 MOTION to Strike Portions of Dr. James Kearl's Expert Report (Public Version Pursuant to Dkt. No.
                                935) filed by Google Inc.. Responses due by 5/14/2012. Replies due by 5/21/2012. (Attachments: # 1
                                Exhibit A)(Van Nest, Robert) (Filed on 4/30/2012) (Entered: 04/30/2012)
            04/30/2012     1024 DOCUMENT E-FILED UNDER SEAL re 935 Order on Administrative Motion to File Under Seal,
                                Google's Opposition to Oracle's Motion to Strike Portions of Dr. James Kearl's Expert Report by
                                Google Inc. (Attachments: # 1 Exhibit A)(Van Nest, Robert) (Filed on 4/30/2012) Modified on
                                5/1/2012 (wsn, COURT STAFF). (Entered: 04/30/2012)
            04/30/2012            (Court only) ***Motions terminated: 1023 MOTION to Strike Portions of Dr. James Kearl's Expert
                                  Report (Public Version Pursuant to Dkt. No. 935) filed by Google Inc., 1021 MOTION Oracle's Notice
                                  of Motion and Motion for Administrative Relief to Supplement the Joint Exhibit List re 991 Order on
                                  Administrative Motion to File Under Seal filed by Oracle America, Inc.. (whalc1, COURT STAFF)
                                  (Filed on 4/30/2012) (Entered: 04/30/2012)
            04/30/2012     1025 Witness List by Oracle America, Inc. Rolling List of Next Ten Witnesses. (Muino, Daniel) (Filed on
                                4/30/2012) (Entered: 04/30/2012)
            04/30/2012     1026 DOCUMENT E-FILED UNDER SEAL re 935 Order on Administrative Motion to File Under Seal,
                                MOTION TO EXCLUDE PORTIONS OF RULE 706 EXPERT REPORT OF DR. JAMES KEARL by
                                Oracle America, Inc. (Holtzman, Steven) (Filed on 4/30/2012) Modified on 5/1/2012 (wsn, COURT
                                STAFF). (Entered: 04/30/2012)
            04/30/2012     1027 DOCUMENT E-FILED UNDER SEAL re 935 Order on Administrative Motion to File Under Seal,
                                EXHIBITS TO DECLARATION OF MEREDITH DEARBORN IN SUPPORT OF ORACLE AMERICA,
                                INC.S MOTION TO EXCLUDE PORTIONS OF THE RULE 706 EXPERT REPORT OF DR. JAMES
                                KEARL by Oracle America, Inc. (Holtzman, Steven) (Filed on 4/30/2012) Modified on 5/1/2012 (wsn,
                                COURT STAFF). (Entered: 04/30/2012)
            04/30/2012     1028 REDACTION to 935 Order on Administrative Motion to File Under Seal, MOTION TO EXCLUDE
                                PORTIONS OF THE RULE 706 EXPERT REPORT OF DR. JAMES KEARL by Oracle America, Inc.
                                (Holtzman, Steven) (Filed on 4/30/2012) Modified on 5/1/2012 (wsn, COURT STAFF). (Entered:
                                04/30/2012)
            04/30/2012     1029 REDACTION to 935 Order on Administrative Motion to File Under Seal, EXHIBITS TO
                                DECLARATION OF MEREDITH DEARBORN IN SUPPORT OF ORACLE AMERICA, INC.S
                                MOTION TO EXCLUDE PORTIONS OF THE RULE 706 EXPERT REPORT OF DR. JAMES KEARL
                                by Oracle America, Inc. (Attachments: # 1 Exhibit F & H)(Holtzman, Steven) (Filed on 4/30/2012)
                                Modified on 5/1/2012 (wsn, COURT STAFF). (Entered: 04/30/2012)
            04/30/2012     1030 DOCUMENT E-FILED UNDER SEAL re 935 Order on Administrative Motion to File Under Seal,
                                ORACLE AMERICA, INC.S OPPOSITION TO GOOGLES MOTION TO STRIKE PORTIONS OF DR.
                                JAMES KEARLS EXPERT REPORT by Oracle America, Inc. (Holtzman, Steven) (Filed on 4/30/2012)
                                Modified on 5/1/2012 (wsn, COURT STAFF). (Entered: 04/30/2012)
            04/30/2012     1031 DOCUMENT E-FILED UNDER SEAL re 935 Order on Administrative Motion to File Under Seal,
                                EXHIBITS C & H TO DECLARATION OF MEREDITH DEARBORN IN SUPPORT OF ORACLE
                                AMERICA, INC.S OPPOSITION TO GOOGLES MOTION TO STRIKE PORTIONS OF DR. JAMES
                                KEARLS EXPERT REPORT by Oracle America, Inc. (Holtzman, Steven) (Filed on 4/30/2012)
                                Modified on 5/1/2012 (wsn, COURT STAFF). (Entered: 04/30/2012)
            04/30/2012     1032 REDACTION to 935 Order on Administrative Motion to File Under Seal, ORACLE AMERICA, INC.S
                                OPPOSITION TO GOOGLES MOTION TO STRIKE PORTIONS OF DR. JAMES KEARLS EXPERT
                                REPORT by Oracle America, Inc. (Holtzman, Steven) (Filed on 4/30/2012) Modified on 5/1/2012
                                (wsn, COURT STAFF). (Entered: 04/30/2012)
            04/30/2012     1033 EXHIBITS re 935 Order on Administrative Motion to File Under Seal, 872 Declaration in Support, TO
                                DECLARATION OF MEREDITH DEARBORN IN SUPPORT OF ORACLE AMERICA, INC.S
                                OPPOSITION TO GOOGLES MOTION TO STRIKE PORTIONS OF DR. JAMES KEARLS EXPERT
                                REPORT filed by Oracle America, Inc. (Related document(s) 935 , 872 ) (Holtzman, Steven) (Filed on
                                4/30/2012) Modified on 5/1/2012 (wsn, COURT STAFF). (Entered: 04/30/2012)




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            05/01/2012     1034 ORDER DENYING MOTION TO SEAL by Hon. William Alsup [denying 920 Administrative Motion
                                to File Under Seal].(whasec, COURT STAFF) (Filed on 5/1/2012) (Entered: 05/01/2012)
            05/01/2012     1035 Witness List by Google Inc. GOOGLE INC.'S ROLLING LIST OF NEXT TEN WITNESSES. (Van Nest,
                                Robert) (Filed on 5/1/2012) (Entered: 05/01/2012)
            05/01/2012     1036 Administrative Motion to File Under Seal Oracle's Motion to Exclude Portions of Kearl Report filed
                                by Oracle America, Inc.. (Holtzman, Steven) (Filed on 5/1/2012) (Entered: 05/01/2012)
            05/01/2012     1037 MOTION to Strike ORACLE AMERICA, INC.S MOTION TO EXCLUDE PORTIONS OF THE RULE
                                706 EXPERT REPORT OF DR. JAMES KEARL filed by Oracle America, Inc.. Responses due by
                                5/15/2012. Replies due by 5/22/2012. *** ATTACHMENT FILED IN ERROR, REFER TO
                                DOCUMENT 1046 . ***
                                (Attachments: # 1 Declaration)(Holtzman, Steven) (Filed on 5/1/2012) Modified on 5/2/2012 (fff,
                                COURT STAFF). Modified on 5/2/2012 (fff, COURT STAFF). (Entered: 05/01/2012)
            05/01/2012     1038 AFFIDAVIT re 1037 MOTION to Strike ORACLE AMERICA, INC.S MOTION TO EXCLUDE
                                PORTIONS OF THE RULE 706 EXPERT REPORT OF DR. JAMES KEARL [CORRECTED]
                                DECLARATION OF MEREDITH DEARBORN IN SUPPORT OF ORACLE AMERICA, INC.S
                                MOTION TO EXCLUDE PORTIONS OF THE RULE 706 EXPERT REPORT OF DR. JAMES KEARL
                                by Oracle America, Inc.. (Holtzman, Steven) (Filed on 5/1/2012) (Entered: 05/01/2012)
            05/01/2012     1039 Administrative Motion to File Under Seal filed by Google Inc.. (Attachments: # 1 Proposed Order)(Van
                                Nest, Robert) (Filed on 5/1/2012) (Entered: 05/01/2012)
            05/01/2012     1040 Declaration of David Zimmer in Support of 1039 Administrative Motion to File Under Seal Portions of
                                Google's Opposition to Oracle's Renewed Motion to Strike Portions of Dr. James Kearl's Expert
                                Report filed byGoogle Inc.. (Related document(s) 1039 ) (Van Nest, Robert) (Filed on 5/1/2012)
                                (Entered: 05/01/2012)
            05/01/2012     1041 RESPONSE (re 1037 MOTION to Strike ORACLE AMERICA, INC.S MOTION TO EXCLUDE
                                PORTIONS OF THE RULE 706 EXPERT REPORT OF DR. JAMES KEARL ) Google Inc.'s
                                Opposition to Oracle America, Inc.'s Renewed Motion to Strike Portions of Dr. James Kearl's Expert
                                Report filed byGoogle Inc.. (Van Nest, Robert) (Filed on 5/1/2012) (Entered: 05/01/2012)
            05/01/2012     1042 Declaration of Daniel Purcell in Support of 1041 Opposition/Response to Motion, filed byGoogle Inc..
                                (Attachments: # 1 Exhibit A)(Related document(s) 1041 ) (Van Nest, Robert) (Filed on 5/1/2012)
                                (Entered: 05/01/2012)
            05/01/2012     1043 Brief re 1007 Second MOTION for Judgment as a Matter of Law on Sections of Count VIII of Oracle's
                                Amended Complaint GOOGLE'S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
                                OF SECOND MOTION FOR JUDGMENT AS A MATTER OF LAW ON COUNT VIII OF ORACLE'S
                                AMENDED COMPLAINT filed byGoogle Inc.. (Related document(s) 1007 ) (Van Nest, Robert) (Filed
                                on 5/1/2012) (Entered: 05/01/2012)
            05/01/2012     1058 Minute Entry: Jury Trial held on 5/1/2012 before William Alsup (Date Filed: 5/1/2012). Jury
                                Deliberations continued. Further Jury Trial set for 5/2/2012 8:00 AM. (Court Reporter Kathy Sullivan.)
                                (dt, COURT STAFF) (Date Filed: 5/1/2012) (Entered: 05/03/2012)
            05/02/2012     1044 REPLACED BY CORRECTED MOTION 1045
                                MOTION for Judgment as a Matter of Law Oracle's Rule 50(A) Motion at the Close of All Evidence
                                filed by Oracle America, Inc.. Responses due by 5/5/2012. (Jacobs, Michael) (Filed on 5/2/2012)
                                Modified on 5/3/2012 (mjj2, COURT STAFF). (Entered: 05/02/2012)
            05/02/2012     1045 MOTION for Judgment as a Matter of Law Oracle's Corrected Rule 50(A) Motion at the Close of
                                Evidence (WITH TABLES) filed by Oracle America, Inc.. Responses due by 5/5/2012. (Jacobs,
                                Michael) (Filed on 5/2/2012) (Entered: 05/02/2012)
            05/02/2012     1046 Declaration of MEREDITH DEARBORN in Support of 1037 MOTION to Strike ORACLE AMERICA,
                                INC.S MOTION TO EXCLUDE PORTIONS OF THE RULE 706 EXPERT REPORT OF DR. JAMES
                                KEARL [CORRECTED] filed byOracle America, Inc.. (Attachments: # 1 Exhibit A-B)(Related
                                document(s) 1037 ) (Holtzman, Steven) (Filed on 5/2/2012) (Entered: 05/02/2012)
            05/02/2012     1047 Proposed Findings of Fact by Google Inc.. (Attachments: # 1 Exhibit A)(Van Nest, Robert) (Filed on
                                5/2/2012) (Entered: 05/02/2012)




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            05/02/2012     1048 REPLACED BY CORRECTED PROPOSED FINDINGS OF FACT 1049
                                Proposed Findings of Fact by Oracle America, Inc.. (Holtzman, Steven) (Filed on 5/2/2012) Modified
                                on 5/3/2012 (mjj2, COURT STAFF). (Entered: 05/02/2012)
            05/02/2012     1049 Corrected Proposed Findings of Fact by Oracle America, Inc.. (Holtzman, Steven) (Filed on 5/2/2012)
                                Modified on 5/3/2012 (mjj2, COURT STAFF). (Entered: 05/02/2012)
            05/02/2012     1050 NOTICE RE SECOND PHASE OF TRIAL. Signed by Judge William Alsup on 5/2/2012. (whasec,
                                COURT STAFF) (Filed on 5/2/2012) (Entered: 05/02/2012)
            05/02/2012     1051 Statement Oracle Statement Regarding J2SE 5.0 Specification License (TX610.1) by Oracle America,
                                Inc.. (Jacobs, Michael) (Filed on 5/2/2012) (Entered: 05/02/2012)
            05/02/2012     1052 Statement Regarding Trial Exhibit 610.1 by Google Inc.. (Van Nest, Robert) (Filed on 5/2/2012)
                                (Entered: 05/02/2012)
            05/02/2012     1053 RESPONSE to re 1050 Order Joint Reponse to Notice Re Second Phase of Trial by Google Inc., Oracle
                                America, Inc.. (Peters, Marc) (Filed on 5/2/2012) (Entered: 05/02/2012)
            05/02/2012            (Court only) ***Motions terminated: 1044 MOTION for Judgment as a Matter of Law Oracle's Rule
                                  50(A) Motion at the Close of All Evidence filed by Oracle America, Inc.. (mjj2, COURT STAFF) (Filed
                                  on 5/2/2012) (Entered: 05/03/2012)
            05/02/2012     1059 Minute Entry: Jury Trial held on 5/2/2012 before William Alsup (Date Filed: 5/2/2012). Jury
                                Deliberations continued. Further Jury Trial set for 5/3/2012 8:00 AM. (Court Reporter Debra Pas.) (dt,
                                COURT STAFF) (Date Filed: 5/2/2012) (Entered: 05/03/2012)
            05/03/2012     1054 *** PLEASE IGNORE. SUPERSEDED BY 1055 *** ORDER REGARDING MOTION TO STRIKE
                                REPORTS OF DR. COX AND DR. KEARL. Signed by Judge Alsup on May 3, 2012. (whalc1,
                                COURT STAFF) (Filed on 5/3/2012) Modified on 5/3/2012 (whalc1, COURT STAFF). (Entered:
                                05/03/2012)
            05/03/2012     1055 SUPERSEDING ORDER REGARDING ORACLES RENEWED MOTION TO STRIKE. Signed by
                                Judge Alsup on May 3, 2012. (whalc1, COURT STAFF) (Filed on 5/3/2012) (Entered: 05/03/2012)
            05/03/2012     1056 ORDER GRANTING MOTION TO SEAL (Dkt. No. 1039) by Hon. William Alsup [granting 1039
                                Administrative Motion to File Under Seal].(whasec, COURT STAFF) (Filed on 5/3/2012) (Entered:
                                05/03/2012)
            05/03/2012     1057 REQUEST FOR FURTHER PHASE ONE BRIEFING RE COPYRIGHTABILITY OF SSO (briefing
                                due noon 5/10/2012; replies due noon 5/14/2012). Signed by Judge William Alsup on 5/3/2012.
                                (whasec, COURT STAFF) (Filed on 5/3/2012) (Entered: 05/03/2012)
            05/03/2012     1060 Minute Entry: Jury Trial held on 5/3/2012 before William Alsup (Date Filed: 5/3/2012). Jury
                                Deliberations continued. Further Jury Trial 5/4/2012 8:00 AM. (Court Reporter Kathy Sullivan.) (dt,
                                COURT STAFF) (Date Filed: 5/3/2012) (Entered: 05/03/2012)
            05/03/2012     1061 MOTION in Limine CONCERNING TESTIMONY BY JONATHAN SCHWARTZ filed by Oracle
                                America, Inc.. Responses due by 5/17/2012. Replies due by 5/24/2012. (Holtzman, Steven) (Filed on
                                5/3/2012) (Entered: 05/03/2012)
            05/04/2012     1062 FURTHER ITEMS TO BRIEF IN TWENTY-PAGE BRIEFS DUE MAY 10 [re 1057 Request for
                                Briefing]. Signed by Judge William Alsup on 5/4/2012. (whasec, COURT STAFF) (Filed on 5/4/2012)
                                (Entered: 05/04/2012)
            05/04/2012     1063 Minute Entry: Jury Trial held on 5/4/2012 before William Alsup (Date Filed: 5/4/2012). Jury
                                Deliberations continued. Further Jury Trial set for 5/7/12 at 8:00 AM.(Court Reporter Kathy Sullivan.)
                                (dt, COURT STAFF) (Date Filed: 5/4/2012) (Entered: 05/04/2012)
            05/04/2012     1064 Transcript of Proceedings held on 4/26/12, before Judge William H. Alsup. Court Reporter/Transcriber
                                Katherine Powell Sullivan and Debra L. Pas, Official Reporters, Telephone number 415-794-6659/
                                Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial Conference policy, this
                                transcript may be viewed only at the Clerks Office public terminal or may be purchased through the
                                Court Reporter/Transcriber until the deadline for the Release of Transcript Restriction.After that date it
                                may be obtained through PACER. Any Notice of Intent to Request Redaction, if required, is due no
                                later than 5 business days from date of this filing. Redaction Request due 5/25/2012. Redacted



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                                  Transcript Deadline set for 6/4/2012. Release of Transcript Restriction set for 8/2/2012. (Sullivan,
                                  Katherine) (Filed on 5/4/2012) (Entered: 05/04/2012)
            05/04/2012     1065 Transcript of Proceedings held on 4/27/12, Vol. 10, before Judge William H. Alsup. Court
                                Reporter/Transcriber Debra L. Pas, Official Reporter, Telephone number 415-431-1477. Per General
                                Order No. 59 and Judicial Conference policy, this transcript may be viewed only at the Clerks Office
                                public terminal or may be purchased through the Court Reporter/Transcriber until the deadline for the
                                Release of Transcript Restriction.After that date it may be obtained through PACER. Any Notice of
                                Intent to Request Redaction, if required, is due no later than 5 business days from date of this filing.
                                Redaction Request due 5/25/2012. Redacted Transcript Deadline set for 6/4/2012. Release of
                                Transcript Restriction set for 8/2/2012. (Sullivan, Katherine) (Filed on 5/4/2012) (Entered: 05/04/2012)
            05/04/2012     1066 Transcript of Proceedings held on 4/27/12, Vol. 11, before Judge William H. Alsup. Court
                                Reporter/Transcriber Debra L. Pas, Official Reporter, Telephone number 415-431-1477. Per General
                                Order No. 59 and Judicial Conference policy, this transcript may be viewed only at the Clerks Office
                                public terminal or may be purchased through the Court Reporter/Transcriber until the deadline for the
                                Release of Transcript Restriction.After that date it may be obtained through PACER. Any Notice of
                                Intent to Request Redaction, if required, is due no later than 5 business days from date of this filing.
                                Redaction Request due 5/25/2012. Redacted Transcript Deadline set for 6/4/2012. Release of
                                Transcript Restriction set for 8/2/2012. (Sullivan, Katherine) (Filed on 5/4/2012) (Entered: 05/04/2012)
            05/04/2012     1067 Transcript of Proceedings held on 4/30/12, before Judge William H. Alsup. Court Reporter/Transcriber
                                Katherine Powell Sullivan and Debra L. Pas, Official Reporters, Telephone number 415-794-6659/
                                Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial Conference policy, this
                                transcript may be viewed only at the Clerks Office public terminal or may be purchased through the
                                Court Reporter/Transcriber until the deadline for the Release of Transcript Restriction.After that date it
                                may be obtained through PACER. Any Notice of Intent to Request Redaction, if required, is due no
                                later than 5 business days from date of this filing. Redaction Request due 5/25/2012. Redacted
                                Transcript Deadline set for 6/4/2012. Release of Transcript Restriction set for 8/2/2012. (Sullivan,
                                Katherine) (Filed on 5/4/2012) (Entered: 05/04/2012)
            05/04/2012     1068 Transcript of Proceedings held on 5/1/12, before Judge William H. Alsup. Court Reporter/Transcriber
                                Katherine Powell Sullivan, RPR, CRR, CSR, Telephone number
                                415-794-6659/Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial
                                Conference policy, this transcript may be viewed only at the Clerks Office public terminal or may be
                                purchased through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                                Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request
                                Redaction, if required, is due no later than 5 business days from date of this filing. Redaction Request
                                due 5/25/2012. Redacted Transcript Deadline set for 6/4/2012. Release of Transcript Restriction set for
                                8/2/2012. (Sullivan, Katherine) (Filed on 5/4/2012) (Entered: 05/04/2012)
            05/04/2012     1069 Transcript of Proceedings held on 5/2/12, before Judge William H. Alsup. Court Reporter/Transcriber
                                Debra L. Pas, Official Reporter, Telephone number 415-431-1477. Per General Order No. 59 and
                                Judicial Conference policy, this transcript may be viewed only at the Clerks Office public terminal or
                                may be purchased through the Court Reporter/Transcriber until the deadline for the Release of
                                Transcript Restriction.After that date it may be obtained through PACER. Any Notice of Intent to
                                Request Redaction, if required, is due no later than 5 business days from date of this filing. Redaction
                                Request due 5/25/2012. Redacted Transcript Deadline set for 6/4/2012. Release of Transcript
                                Restriction set for 8/2/2012. (Sullivan, Katherine) (Filed on 5/4/2012) (Entered: 05/04/2012)
            05/04/2012     1070 Transcript of Proceedings held on 5/3/12, before Judge William H. Alsup. Court Reporter/Transcriber
                                Katherine Powell Sullivan, RPR, CRR, CSR, Telephone number
                                415-794-6659/Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial
                                Conference policy, this transcript may be viewed only at the Clerks Office public terminal or may be
                                purchased through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                                Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request
                                Redaction, if required, is due no later than 5 business days from date of this filing. Redaction Request
                                due 5/25/2012. Redacted Transcript Deadline set for 6/4/2012. Release of Transcript Restriction set for
                                8/2/2012. (Sullivan, Katherine) (Filed on 5/4/2012) (Entered: 05/04/2012)
            05/04/2012     1071 Transcript of Proceedings held on 5/4/12, before Judge William H. Alsup. Court Reporter/Transcriber
                                Katherine Powell Sullivan, RPR, CRR, CSR, Telephone number



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                                  415-794-6659/Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial
                                  Conference policy, this transcript may be viewed only at the Clerks Office public terminal or may be
                                  purchased through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                                  Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request
                                  Redaction, if required, is due no later than 5 business days from date of this filing. Redaction Request
                                  due 5/25/2012. Redacted Transcript Deadline set for 6/4/2012. Release of Transcript Restriction set for
                                  8/2/2012. (Sullivan, Katherine) (Filed on 5/4/2012) (Entered: 05/04/2012)
            05/04/2012     1072 ORDER REGARDING PATENT PHASE. Signed by Judge Alsup on May 4, 2012. (whalc1, COURT
                                STAFF) (Filed on 5/4/2012) (Entered: 05/04/2012)
            05/05/2012     1073 Witness List by Oracle America, Inc. Rolling List of Next Ten Witnesses. (Muino, Daniel) (Filed on
                                5/5/2012) (Entered: 05/05/2012)
            05/05/2012     1074 RESPONSE (re 1061 MOTION in Limine CONCERNING TESTIMONY BY JONATHAN SCHWARTZ
                                ) filed byGoogle Inc.. (Van Nest, Robert) (Filed on 5/5/2012) (Entered: 05/05/2012)
            05/06/2012     1075 STIPULATION WITH PROPOSED ORDER regarding '104 patent filed by Google Inc., Oracle
                                America, Inc.. (Peters, Marc) (Filed on 5/6/2012) (Entered: 05/06/2012)
            05/06/2012     1076 MOTION in Limine re Peter Kessler Testimony re Android Code Modifications filed by Google Inc..
                                Responses due by 5/21/2012. Replies due by 5/29/2012. (Van Nest, Robert) (Filed on 5/6/2012)
                                (Entered: 05/06/2012)
            05/06/2012     1077 MOTION in Limine to Preclude Testimony of Timothy Lindholm filed by Google Inc.. Responses due
                                by 5/21/2012. Replies due by 5/29/2012. (Van Nest, Robert) (Filed on 5/6/2012) (Entered: 05/06/2012)
            05/06/2012     1078 MOTION in Limine re Evidence Allegedly Supporting Knowledge Requirement for Indirect
                                Infringement filed by Google Inc.. Responses due by 5/21/2012. Replies due by 5/29/2012.
                                (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Van Nest, Robert) (Filed on 5/6/2012) (Entered:
                                05/06/2012)
            05/06/2012     1079 RESPONSE to re 1049 Proposed Findings of Fact by Google Inc.. (Van Nest, Robert) (Filed on
                                5/6/2012) (Entered: 05/06/2012)
            05/06/2012     1080 MOTION in Limine to Exclude Evidence Regarding Compatibility Testing Suite filed by Google Inc..
                                Responses due by 5/21/2012. Replies due by 5/29/2012. (Attachments: # 1 Declaration of Truman
                                Fenton, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F)(Van
                                Nest, Robert) (Filed on 5/6/2012) (Entered: 05/06/2012)
            05/06/2012     1081 RESPONSE to re 1047 Proposed Findings of Fact Oracle's Responses to Google's Proposed Findings
                                of Fact and Conclusions of Law by Oracle America, Inc.. (Jacobs, Michael) (Filed on 5/6/2012)
                                (Entered: 05/06/2012)
            05/06/2012     1082 RESPONSE (re 1078 MOTION in Limine re Evidence Allegedly Supporting Knowledge Requirement
                                for Indirect Infringement ) filed byOracle America, Inc.. (Muino, Daniel) (Filed on 5/6/2012) (Entered:
                                05/06/2012)
            05/06/2012     1083 RESPONSE (re 1077 MOTION in Limine to Preclude Testimony of Timothy Lindholm ) ORACLES
                                OPPOSITION TO GOOGLES MOTION TO PRECLUDE TESTIMONY OF TIMOTHY LINDHOLM
                                filed byOracle America, Inc.. (Holtzman, Steven) (Filed on 5/6/2012) (Entered: 05/06/2012)
            05/06/2012     1084 RESPONSE (re 1076 MOTION in Limine re Peter Kessler Testimony re Android Code Modifications )
                                filed byOracle America, Inc.. (Peters, Marc) (Filed on 5/6/2012) (Entered: 05/06/2012)
            05/06/2012     1085 RESPONSE (re 1080 MOTION in Limine to Exclude Evidence Regarding Compatibility Testing Suite
                                ) filed byOracle America, Inc.. (Peters, Marc) (Filed on 5/6/2012) (Entered: 05/06/2012)
            05/07/2012     1086 STIPULATION AND ORDER REGARDING 104 PATENT by Hon. William Alsup granting 1075
                                Stipulation.(whalc1, COURT STAFF) (Filed on 5/7/2012) (Entered: 05/07/2012)
            05/07/2012     1087 REMINDER TO BRING COPIES OF COLOR HANDOUTS. Signed by Judge Alsup on May 7, 2012.
                                (whalc1, COURT STAFF) (Filed on 5/7/2012) (Entered: 05/07/2012)
            05/07/2012     1088 FURTHER ITEM FOR TWENTY-PAGE BRIEFS DUE MAY 10 [re 1062 Order, 1057 Order]. Signed
                                by Judge William Alsup on 5/7/2012. (whasec, COURT STAFF) (Filed on 5/7/2012) (Entered:
                                05/07/2012)



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            05/07/2012     1089 JURY VERDICT - Phase One. (dt, COURT STAFF) (Filed on 5/7/2012) (Entered: 05/07/2012)
            05/07/2012     1090 Minute Entry: Jury Trial held on 5/7/2012 before William Alsup (Date Filed: 5/7/2012). Jury
                                Deliberations Continued. Verdict read. Phase II - Plaintiff's Opening Statement. Further Jury Trial set
                                for 5/8/2012 7:30 AM. (Court Reporter Kathy Sullivan; Debra Pas.) (dt, COURT STAFF) (Date Filed:
                                5/7/2012) (Entered: 05/07/2012)
            05/07/2012     1091 Witness List by Oracle America, Inc. ORACLE AMERICA, INC.'S ROLLING LIST OF NEXT TEN
                                WITNESSES. (Muino, Daniel) (Filed on 5/7/2012) (Entered: 05/07/2012)
            05/07/2012     1092 RESPONSE (re 1045 MOTION for Judgment as a Matter of Law Oracle's Corrected Rule 50(A)
                                Motion at the Close of Evidence (WITH TABLES) ) GOOGLE'S OPPOSITION TO ORACLE'S RULE
                                50(A) MOTION AT THE CLOSE OF PHASE ONE EVIDENCE filed byGoogle Inc.. (Van Nest, Robert)
                                (Filed on 5/7/2012) (Entered: 05/07/2012)
            05/07/2012     1093 RESPONSE (re 1007 Second MOTION for Judgment as a Matter of Law on Sections of Count VIII of
                                Oracle's Amended Complaint ) filed byOracle America, Inc.. (Jacobs, Michael) (Filed on 5/7/2012)
                                (Entered: 05/07/2012)
            05/07/2012     1094 DECLARATION of ROMAN A. SWOOPES in Opposition to 1093 Opposition/Response to Motion
                                filed byOracle America, Inc.. (Related document(s) 1093 ) (Jacobs, Michael) (Filed on 5/7/2012)
                                (Entered: 05/07/2012)
            05/07/2012     1095 AFFIDAVIT Declaration of Christopher C. Carnaval Regarding Google's Production of Android
                                Financial Data in This Litigation by Google Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                                Exhibit C, # 4 Exhibit D)(Van Nest, Robert) (Filed on 5/7/2012) (Entered: 05/07/2012)
            05/07/2012     1096 AFFIDAVIT Declaration of Rachel Claflin Regarding Google's Production of Android Financial Data
                                in This Litigation by Google Inc.. (Van Nest, Robert) (Filed on 5/7/2012) (Entered: 05/07/2012)
            05/07/2012     1097 OBJECTIONS to re 1081 Response ( Non Motion ) GOOGLE'S OBJECTION TO ORACLE'S
                                RESPONSES TO GOOGLE'S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW by
                                Google Inc.. (Van Nest, Robert) (Filed on 5/7/2012) (Entered: 05/07/2012)
            05/08/2012     1098 MOTION Motion to Preclude Google From Disputing Ownership filed by Oracle America, Inc..
                                Responses due by 5/8/2012. (Jacobs, Michael) (Filed on 5/8/2012) (Entered: 05/08/2012)
            05/08/2012     1099 DOCUMENT E-FILED UNDER SEAL re 1056 Order on Administrative Motion to File Under Seal
                                Google Inc.'s Opposition to Oracle America, Inc.'s Renewed Motion to Strike Portions of Dr. James
                                Kearl's Expert Report by Google Inc.. (Attachments: # 1 Exhibit A)(Van Nest, Robert) (Filed on
                                5/8/2012) (Entered: 05/08/2012)
            05/08/2012     1100 Minute Entry: Jury Trial held on 5/8/2012 before Willliam Alsup (Date Filed: 5/8/2012). Defendant's
                                Opening Statement made. Witnesses called. Further Jury Trial set for 5/9/2012 7:30 AM. Rule 50
                                Motion Hearing set for 5/9/2012 01:45 PM in Courtroom 8, 19th Floor, San Francisco before Hon.
                                William Alsup. (Court Reporter Kathy Sullivan; Debra Pas.) (dt, COURT STAFF) (Date Filed:
                                5/8/2012) (Entered: 05/08/2012)
            05/08/2012     1101 Witness List by Oracle America, Inc. Rolling List of Next Ten Witnesses. (Muino, Daniel) (Filed on
                                5/8/2012) (Entered: 05/08/2012)
            05/08/2012     1102 Witness List by Google Inc. Rolling List of Next Ten Witnesses. (Van Nest, Robert) (Filed on 5/8/2012)
                                (Entered: 05/08/2012)
            05/08/2012     1103 ORDER FOR COPIES OF EXPERT REPORTS. Signed by Judge Alsup on May 8, 2012. (whalc1,
                                COURT STAFF) (Filed on 5/8/2012) (Entered: 05/08/2012)
            05/08/2012     1104 Declaration of DAVID ZIMMER in Support of 1036 Administrative Motion to File Under Seal
                                Oracle's Motion to Exclude Portions of Kearl Report filed byGoogle Inc.. (Related document(s) 1036 )
                                (Van Nest, Robert) (Filed on 5/8/2012) (Entered: 05/08/2012)
            05/08/2012     1105 MOTION for New Trial ON ORACLE'S CLAIM THAT GOOGLE IS LIABLE FOR INFRINGEMENT
                                OF ORACLE'S COPYRIGHT ON THE STRUCTURE, SEQUENCE AND ORGANIZATION OF THE
                                COMPILABLE CODE FOR THE 37 JAVA API PACKAGES filed by Google Inc.. Responses due by
                                5/22/2012. Replies due by 5/29/2012. (Van Nest, Robert) (Filed on 5/8/2012) (Entered: 05/08/2012)




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            05/08/2012     1106 RESPONSE to COURTS QUESTIONS by Oracle America, Inc.. (Holtzman, Steven) (Filed on
                                5/8/2012) (Entered: 05/08/2012)
            05/08/2012     1107 RESPONSE (re 1098 MOTION Motion to Preclude Google From Disputing Ownership ) filed
                                byGoogle Inc.. (Van Nest, Robert) (Filed on 5/8/2012) (Entered: 05/08/2012)
            05/09/2012     1108 COURTS PROPOSED CHARGE TO THE JURY. Signed by Judge Alsup on May 9, 2012.
                                (Attachments: # 1 Special Verdict Form)(whalc1, COURT STAFF) (Filed on 5/9/2012) (Entered:
                                05/09/2012)
            05/09/2012     1109 ORDER RE CHARGING CONFERENCE re 1108 Order. Signed by Judge Alsup on May 9, 2012.
                                (whalc1, COURT STAFF) (Filed on 5/9/2012) (Entered: 05/09/2012)
            05/09/2012     1110 Statement Oracle's markup of the Court's Background Section by Oracle America, Inc.. (Jacobs,
                                Michael) (Filed on 5/9/2012) (Entered: 05/09/2012)
            05/09/2012     1111 Statement Google Comments on the Court's Description of Java Language Principles by Google Inc..
                                (Baber, Bruce) (Filed on 5/9/2012) (Entered: 05/09/2012)
            05/09/2012     1112 MOTION in Limine ORACLES MOTION IN LIMINE REGARDING HINKMOND WONG AND NOEL
                                POORE filed by Oracle America, Inc.. Motion Hearing set for 5/10/2012 07:30 AM before Hon.
                                William Alsup. Responses due by 5/9/2012. (Norton, William) (Filed on 5/9/2012) (Entered:
                                05/09/2012)
            05/09/2012     1113 RESPONSE (re 1112 MOTION in Limine ORACLES MOTION IN LIMINE REGARDING
                                HINKMOND WONG AND NOEL POORE ) filed byGoogle Inc.. (Van Nest, Robert) (Filed on
                                5/9/2012) (Entered: 05/09/2012)
            05/09/2012     1174 Minute Entry: Jury Trial held on 5/9/2012 before William Alsup (Date Filed: 5/9/2012). Witnesses
                                Called. Rule 50 Motions argued. Further Jury Trial set for 5/10/2012 7:30 AM. (Court Reporter Kathy
                                Sullivan; Debra Pas.) (dt, COURT STAFF) (Date Filed: 5/9/2012) (Entered: 05/18/2012)
            05/10/2012     1114 RESPONSE to re 1106 Response ( Non Motion ) Response to Oracle's Brief re Copyright Damages by
                                Google Inc.. (Van Nest, Robert) (Filed on 5/10/2012) (Entered: 05/10/2012)
            05/10/2012     1115 RESPONSE to ORACLE'S RESPONSE TO COURT'S REQUESTS FOR SOURCE CODE EXAMPLES
                                by Oracle America, Inc.. (Muino, Daniel) (Filed on 5/10/2012) (Entered: 05/10/2012)
            05/10/2012     1116 TRIAL BRIEF May 10, 2012 Copyright Liability Trial Brief by Google Inc.. (Van Nest, Robert) (Filed
                                on 5/10/2012) (Entered: 05/10/2012)
            05/10/2012     1117 RESPONSE (re 1105 MOTION for New Trial ON ORACLE'S CLAIM THAT GOOGLE IS LIABLE
                                FOR INFRINGEMENT OF ORACLE'S COPYRIGHT ON THE STRUCTURE, SEQUENCE AND
                                ORGANIZATION OF THE COMPILABLE CODE FOR THE 37 JAVA API PACKAGES ) filed
                                byOracle America, Inc.. (Jacobs, Michael) (Filed on 5/10/2012) (Entered: 05/10/2012)
            05/10/2012     1118 RESPONSE to re 1062 Order, 1088 Order, 1057 Order Oracle's May 10, 2012 Brief Responding to
                                Court's Questions on Copyrightability by Oracle America, Inc.. (Attachments: # 1 Exhibit A)(Jacobs,
                                Michael) (Filed on 5/10/2012) (Entered: 05/10/2012)
            05/10/2012     1119 ORDER ON MOTIONS FOR JUDGMENT AS A MATTER OF LAW re 1043 Brief, filed by Google
                                Inc., 1045 MOTION for Judgment as a Matter of Law Oracle's Corrected Rule 50(A) Motion at the
                                Close of Evidence (WITH TABLES) filed by Oracle America, Inc.. Signed by Judge Alsup on May 10,
                                2012. (whalc1, COURT STAFF) (Filed on 5/10/2012) (Entered: 05/10/2012)
            05/10/2012     1120 Proposed Jury Instructions by Google Inc. Proposed Additional Language for Patent Jury Instruction
                                Number 23. (Van Nest, Robert) (Filed on 5/10/2012) (Entered: 05/10/2012)
            05/10/2012     1175 Minute Entry: Jury Trial held on 5/10/2012 before William Alsup (Date Filed: 5/10/2012). Witnesses
                                called. Plaintiff REST. Charging Conference held. Further Jury Trial set for 5/11/2012 7:30 AM (Court
                                Reporter Kathy Sullivan; Debra Pas.) (dt, COURT STAFF) (Date Filed: 5/10/2012) (Entered:
                                05/18/2012)
            05/11/2012     1121 PROPOSED CHARGE TO THE JURY AND VERDICT FORM. Signed by Judge Alsup on May 11,
                                2012. (Attachments: # 1 Draft Special Verdict Form)(whalc1, COURT STAFF) (Filed on 5/11/2012)
                                (Entered: 05/11/2012)




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            05/11/2012     1122 ORDER GRANTING IN PART AND DENYING IN PART MOTION TO SEAL (1036) by Hon.
                                William Alsup [granting in part and denying in part 1036 Administrative Motion to File Under Seal].
                                (whasec, COURT STAFF) (Filed on 5/11/2012) (Entered: 05/11/2012)
            05/11/2012     1123 ORDER GRANTING MOTION FOR JUDGMENT AS A MATTER OF LAW ON DECOMPILED
                                FILES re 1045 MOTION for Judgment as a Matter of Law Oracle's Corrected Rule 50(A) Motion at
                                the Close of Evidence (WITH TABLES) filed by Oracle America, Inc.. Signed by Judge Alsup on May
                                11, 2012. (whalc1, COURT STAFF) (Filed on 5/11/2012) (Entered: 05/11/2012)
            05/11/2012     1176 Minute Entry: Jury Trial held on 5/11/2012 before William Alsup (Date Filed: 5/11/2012). Witnesses
                                called. Further Jury Trial set for 5/14/2012 7:30 AM. (Court Reporter Kathy Sullivan; Debra Pas.) (dt,
                                COURT STAFF) (Date Filed: 5/11/2012). (Entered: 05/18/2012)
            05/12/2012     1124 RESPONSE to Joint Response to Court's Request for Chart of Elements in Accused Packages by
                                Oracle America, Inc.. (Attachments: # 1 Exhibit A)(Jacobs, Michael) (Filed on 5/12/2012) (Entered:
                                05/12/2012)
            05/12/2012     1125 MOTION for Summary Judgment re Copyright Damages filed by Google Inc.. Responses due by
                                5/29/2012. Replies due by 6/5/2012. (Attachments: # 1 Declaration of David Zimmer, # 2 Exhibit A, #
                                3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F)(Van Nest, Robert) (Filed on
                                5/12/2012) (Entered: 05/12/2012)
            05/12/2012     1126 MOTION TO DEFER PHASE THREE PENDING RESOLUTION OF REMAINING LIABILITY
                                ISSUES filed by Oracle America, Inc.. Motion Hearing set for 5/14/2012 07:30 AM before Hon.
                                William Alsup. Responses due by 5/13/2012. (Norton, William) (Filed on 5/12/2012) (Entered:
                                05/12/2012)
            05/13/2012     1127 Witness List by Oracle America, Inc. Rolling List of Next Ten Witnesses. (Muino, Daniel) (Filed on
                                5/13/2012) (Entered: 05/13/2012)
            05/13/2012     1128 OBJECTIONS to Jury Instruction and Request for Ruling Regarding "Symbolic Reference" by Oracle
                                America, Inc.. (Jacobs, Michael) (Filed on 5/13/2012) (Entered: 05/13/2012)
            05/13/2012     1129 MOTION TO ADMIT STATEMENT FROM GOOGLES INTERROGATORY RESPONSE filed by
                                Oracle America, Inc.. Motion Hearing set for 5/14/2012 07:30 AM before Hon. William Alsup.
                                Responses due by 5/13/2012. (Holtzman, Steven) (Filed on 5/13/2012) (Entered: 05/13/2012)
            05/13/2012     1130 RESPONSE (re 1126 MOTION TO DEFER PHASE THREE PENDING RESOLUTION OF
                                REMAINING LIABILITY ISSUES ) Google's Memorandum in Opposition to Oracle's Motion to
                                Defer Phase Three filed byGoogle Inc.. (Baber, Bruce) (Filed on 5/13/2012) (Entered: 05/13/2012)
            05/13/2012     1131 STIPULATION WITH PROPOSED ORDER re Case Management and Phase 3 Issues filed by Google
                                Inc.. (Van Nest, Robert) (Filed on 5/13/2012) (Entered: 05/13/2012)
            05/13/2012     1132 OBJECTIONS to re 1121 Order to Final Charge to the Jury (Phase Two) by Google Inc.. (Van Nest,
                                Robert) (Filed on 5/13/2012) (Entered: 05/13/2012)
            05/13/2012     1133 RESPONSE (re 1129 MOTION TO ADMIT STATEMENT FROM GOOGLES INTERROGATORY
                                RESPONSE ) filed byGoogle Inc.. (Attachments: # 1 Exhibit A)(Van Nest, Robert) (Filed on
                                5/13/2012) (Entered: 05/13/2012)
            05/13/2012     1134 RESPONSE to re 1128 Objection Google's Opposition to Oracle's Untimely Claim Construction
                                Motion by Google Inc.. (Van Nest, Robert) (Filed on 5/13/2012) (Entered: 05/13/2012)
            05/13/2012     1135 RESPONSE (re 1125 MOTION for Summary Judgment re Copyright Damages ) ORACLE AMERICA,
                                INC.S OPPOSITION TO GOOGLES MOTION FOR SUMMARY JUDGMENT RE: COPYRIGHT
                                DAMAGES filed byOracle America, Inc.. (Holtzman, Steven) (Filed on 5/13/2012) (Entered:
                                05/13/2012)
            05/14/2012     1136 ORDER GRANTING STIPULATION RE PATENT WILLFUL INFRINGEMENT by Hon. William
                                Alsup granting 1131 Stipulation.(whalc1, COURT STAFF) (Filed on 5/14/2012) (Entered: 05/14/2012)
            05/14/2012     1137 TRIAL BRIEF Google's May 14, 2012 Copyright Liability Trial Brief by Google Inc.. (Van Nest,
                                Robert) (Filed on 5/14/2012) (Entered: 05/14/2012)




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            05/14/2012     1138 RESPONSE to re 1116 Trial Brief Oracle's May 14, 2012 Copyright Liability Reply Brief by Oracle
                                America, Inc.. (Attachments: # 1 Exhibit A)(Jacobs, Michael) (Filed on 5/14/2012) (Entered:
                                05/14/2012)
            05/14/2012     1139 STIPULATION WITH PROPOSED ORDER Re Indirect Patent Infringement filed by Google Inc..
                                (Baber, Bruce) (Filed on 5/14/2012) (Entered: 05/14/2012)
            05/14/2012     1140 PROPOSED JURY INSTRUCTIONS GIVEN BEFORE MAY 14 CONFERENCE. Signed by Judge
                                Alsup on May 14, 2012. (Attachments: # 1 Draft Special Verdict Form)(whalc1, COURT STAFF)
                                (Filed on 5/14/2012) (Entered: 05/14/2012)
            05/14/2012     1141 FINAL DRAFT OF JURY INSTRUCTIONS. Signed by Judge Alsup on May 14, 2012. (Attachments:
                                # 1 Special Verdict Form)(whalc1, COURT STAFF) (Filed on 5/14/2012) (Entered: 05/14/2012)
            05/14/2012     1142 Witness List by Google Inc. Rolling List of Next Ten Witnesses. (Van Nest, Robert) (Filed on
                                5/14/2012) (Entered: 05/14/2012)
            05/14/2012     1143 DOCUMENT E-FILED UNDER SEAL re 1122 Order on Administrative Motion to File Under Seal
                                ORACLES MOTION TO EXCLUDE PORTIONS OF RULE 706 EXPERT REPORT OF DR. JAMES
                                KEARL by Oracle America, Inc.. (Holtzman, Steven) (Filed on 5/14/2012) (Entered: 05/14/2012)
            05/14/2012     1144 REDACTION to 1122 Order on Administrative Motion to File Under Seal ORACLES MOTION TO
                                EXCLUDE PORTIONS OF RULE 706 EXPERT REPORT OF DR. JAMES KEARL [REDACTED] by
                                Oracle America, Inc.. (Holtzman, Steven) (Filed on 5/14/2012) (Entered: 05/14/2012)
            05/14/2012     1145 MOTION Exclude Certain Witnesses from the Damages Phase filed by Google Inc.. Responses due by
                                5/29/2012. Replies due by 6/5/2012. (Van Nest, Robert) (Filed on 5/14/2012) (Entered: 05/14/2012)
            05/14/2012     1146 MOTION in Limine To Exclude Evidence of Google's Android-Related Revenues Until Oracle Proves
                                a Causal Nexus with the Infringement filed by Google Inc.. Responses due by 5/29/2012. Replies due
                                by 6/5/2012. (Van Nest, Robert) (Filed on 5/14/2012) (Entered: 05/14/2012)
            05/14/2012     1147 DOCUMENT E-FILED UNDER SEAL re 1122 Order on Administrative Motion to File Under Seal
                                EXHIBITS TO CORRECTED DEARBORN DECLARATION IN SUPPORT OF ORACLES MOTION
                                TO EXCLUDE PORTIONS OF KEARL REPORT 1046 by Oracle America, Inc.. (Holtzman, Steven)
                                (Filed on 5/14/2012) (Entered: 05/14/2012)
            05/14/2012     1148 REDACTION to 1122 Order on Administrative Motion to File Under Seal, 1046 Declaration in
                                Support, EXHIBITS TO CORRECTED DEARBORN DECLARATION IN SUPPORT OF ORACLES
                                MOTION TO EXCLUDE PORTIONS OF KEARL REPORT [REDACTED] by Oracle America, Inc..
                                (Holtzman, Steven) (Filed on 5/14/2012) (Entered: 05/14/2012)
            05/14/2012     1149 RESPONSE (re 1146 MOTION in Limine To Exclude Evidence of Google's Android-Related Revenues
                                Until Oracle Proves a Causal Nexus with the Infringement ) ORACLE AMERICA, INC.S
                                OPPOSITION TO GOOGLES MOTION IN LIMINE TO EXCLUDE ANDROID REVENUES filed
                                byOracle America, Inc.. (Holtzman, Steven) (Filed on 5/14/2012) (Entered: 05/14/2012)
            05/14/2012     1150 RESPONSE (re 1145 MOTION Exclude Certain Witnesses from the Damages Phase ) ORACLE
                                AMERICA, INC.S OPPOSITION TO GOOGLES MOTION TO EXCLUDE CERTAIN WITNESSES
                                FROM THE DAMAGES PHASE filed byOracle America, Inc.. (Holtzman, Steven) (Filed on
                                5/14/2012) (Entered: 05/14/2012)
            05/14/2012     1151 MOTION for Judgment as a Matter of Law on Counts V and VII of Oracle's Amended Complaint filed
                                by Google Inc.. Responses due by 5/17/2012. (Baber, Bruce) (Filed on 5/14/2012) (Entered:
                                05/14/2012)
            05/14/2012     1177 Minute Entry: Jury Trial held on 5/14/2012 before William Alsup (Date Filed: 5/14/2012). Witnesses
                                called. Defendant Rest. Rebuttal witness called. Plaintiff and Defendant Rest. Further Charging
                                Conference held. Further Jury Trial set for 5/15/2012 7:30 AM.(Court Reporter Kathy Sullivan; Debra
                                Pas.) (dt, COURT STAFF) (Date Filed: 5/14/2012) (Entered: 05/18/2012)
            05/15/2012     1152 MOTION for Judgment as a Matter of Law Outline of Oracle America, Inc.'s Rule 50(a) Motion at the
                                Close of All Evidence In Phase Two filed by Oracle America, Inc.. Responses due by 5/17/2012.
                                (Jacobs, Michael) (Filed on 5/15/2012) (Entered: 05/15/2012)




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            05/15/2012     1153 FINAL CHARGE GIVEN TO JURY FOR PHASE TWO. Signed by Judge Alsup on May 15, 2012.
                                (Attachments: # 1 Special Verdict Form)(whalc1, COURT STAFF) (Filed on 5/15/2012) (Entered:
                                05/15/2012)
            05/15/2012     1154 Witness List by Oracle America, Inc. Rolling List of Next Ten Witnesses. (Muino, Daniel) (Filed on
                                5/15/2012) (Entered: 05/15/2012)
            05/15/2012     1155 Witness List by Google Inc. Rolling List of Next Ten Witnesses. (Van Nest, Robert) (Filed on
                                5/15/2012) (Entered: 05/15/2012)
            05/15/2012     1156 TRIAL BRIEF re Oracle's Failure of Proof on Causation by Google Inc.. (Van Nest, Robert) (Filed on
                                5/15/2012) (Entered: 05/15/2012)
            05/15/2012     1157 TRIAL BRIEF ORACLES OFFER OF PROOF ON LITERALLY COPIED CODE FILES AND
                                INFRINGERS PROFITS by Oracle America, Inc.. (Holtzman, Steven) (Filed on 5/15/2012) (Entered:
                                05/15/2012)
            05/15/2012     1178 Minute Entry: Jury Trial held on 5/15/2012 before William Alsup (Date Filed: 5/15/2012). Closing
                                Arguments Made. Jury Instructions Read. Deliberation Began. Further Jury Trial set for 5/16/2012 8:00
                                AM. (Court Reporter Kathy Sullivan; Debra Pas.) (dt, COURT STAFF) (Date Filed: 5/15/2012)
                                (Entered: 05/18/2012)
            05/16/2012     1158 STIPULATION WITH PROPOSED ORDER Regarding Copyright Damages filed by Google Inc..
                                (Baber, Bruce) (Filed on 5/16/2012) (Entered: 05/16/2012)
            05/16/2012     1159 STIPULATION AND ORDER REGARDING COPYRIGHT DAMAGES re 1158 STIPULATION
                                WITH PROPOSED ORDER Regarding Copyright Damages filed by Google Inc. Signed by Judge
                                William Alsup on 5/16/12. (dt, COURT STAFF) (Filed on 5/16/2012) (Entered: 05/16/2012)
            05/16/2012     1160 Transcript of Proceedings held on May 7, 2012, before Judge William H. Alsup. Court
                                Reporter/Transcriber Katherine Powell Sullivan and Debra L. Pas, Official Reporters, Telephone
                                number 415-794-6659/ Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial
                                Conference policy, this transcript may be viewed only at the Clerks Office public terminal or may be
                                purchased through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                                Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request
                                Redaction, if required, is due no later than 5 business days from date of this filing. Redaction Request
                                due 6/6/2012. Redacted Transcript Deadline set for 6/18/2012. Release of Transcript Restriction set for
                                8/14/2012. (Sullivan, Katherine) (Filed on 5/16/2012) (Entered: 05/16/2012)
            05/16/2012     1161 Transcript of Proceedings held on May 8, 2012, before Judge William H. Alsup. Court
                                Reporter/Transcriber Katherine Powell Sullivan and Debra L. Pas, Official Reporters, Telephone
                                number 415-794-6659/ Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial
                                Conference policy, this transcript may be viewed only at the Clerks Office public terminal or may be
                                purchased through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                                Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request
                                Redaction, if required, is due no later than 5 business days from date of this filing. Redaction Request
                                due 6/6/2012. Redacted Transcript Deadline set for 6/18/2012. Release of Transcript Restriction set for
                                8/14/2012. (Sullivan, Katherine) (Filed on 5/16/2012) (Entered: 05/16/2012)
            05/16/2012     1162 Transcript of Proceedings held on May 9, 2012, before Judge William H. Alsup. Court
                                Reporter/Transcriber Katherine Powell Sullivan and Debra L. Pas, Official Reporters, Telephone
                                number 415-794-6659/ Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial
                                Conference policy, this transcript may be viewed only at the Clerks Office public terminal or may be
                                purchased through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                                Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request
                                Redaction, if required, is due no later than 5 business days from date of this filing. Redaction Request
                                due 6/6/2012. Redacted Transcript Deadline set for 6/18/2012. Release of Transcript Restriction set for
                                8/14/2012. (Sullivan, Katherine) (Filed on 5/16/2012) (Entered: 05/16/2012)
            05/16/2012     1163 Transcript of Proceedings held on May 10, 2012, before Judge William H. Alsup. Court
                                Reporter/Transcriber Katherine Powell Sullivan and Debra L. Pas, Official Reporters, Telephone
                                number 415-794-6659/ Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial
                                Conference policy, this transcript may be viewed only at the Clerks Office public terminal or may be
                                purchased through the Court Reporter/Transcriber until the deadline for the Release of Transcript



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                               Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request
                               Redaction, if required, is due no later than 5 business days from date of this filing. Redaction Request
                               due 6/6/2012. Redacted Transcript Deadline set for 6/18/2012. Release of Transcript Restriction set for
                               8/14/2012. (Sullivan, Katherine) (Filed on 5/16/2012) (Entered: 05/16/2012)
         05/16/2012     1164 Transcript of Proceedings held on May 11, 2012, before Judge William H. Alsup. Court
                             Reporter/Transcriber Katherine Powell Sullivan and Debra L. Pas, Official Reporters, Telephone
                             number 415-794-6659/ Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial
                             Conference policy, this transcript may be viewed only at the Clerks Office public terminal or may be
                             purchased through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                             Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request
                             Redaction, if required, is due no later than 5 business days from date of this filing. Redaction Request
                             due 6/6/2012. Redacted Transcript Deadline set for 6/18/2012. Release of Transcript Restriction set for
                             8/14/2012. (Sullivan, Katherine) (Filed on 5/16/2012) (Entered: 05/16/2012)
         05/16/2012     1165 ORDER DENYING MOTION FOR JUDGMENT AS A MATTER OF LAW REGARDING
                             REGISTRATION AND OWNERSHIP. Signed by Judge Alsup on May 16, 2012. (whalc1, COURT
                             STAFF) (Filed on 5/16/2012) (Entered: 05/16/2012)
         05/16/2012     1166 Brief re 1151 MOTION for Judgment as a Matter of Law on Counts V and VII of Oracle's Amended
                             Complaint filed byGoogle Inc.. (Related document(s) 1151 ) (Baber, Bruce) (Filed on 5/16/2012)
                             (Entered: 05/16/2012)
         05/16/2012     1167 ERRONEOUS FILING. REPLACED BY 1168
                             MOTION for Judgment as a Matter of Law ORACLE AMERICA, INC.S RULE 50(A) MOTION AT
                             THE CLOSE OF ALL EVIDENCE FOR PHASE II (PATENT PHASE) filed by Oracle America, Inc..
                             Responses due by 5/17/2012. (Jacobs, Michael) (Filed on 5/16/2012) Modified on 5/17/2012 (mjj2,
                             COURT STAFF). (Entered: 05/16/2012)
         05/16/2012     1168 Amended MOTION for Judgment as a Matter of Law ORACLE AMERICA, INC.S RULE 50(A)
                             MOTION AT THE CLOSE OF ALL EVIDENCE FOR PHASE II (PATENT PHASE)--REPLACES [DKT
                             1167] filed by Oracle America, Inc.. Responses due by 5/17/2012. (Jacobs, Michael) (Filed on
                             5/16/2012) (Entered: 05/16/2012)
         05/16/2012            (Court only) ***Motions terminated: 1167 MOTION for Judgment as a Matter of Law ORACLE
                               AMERICA, INC.S RULE 50(A) MOTION AT THE CLOSE OF ALL EVIDENCE FOR PHASE II
                               (PATENT PHASE) filed by Oracle America, Inc.. (mjj2, COURT STAFF) (Filed on 5/16/2012)
                               (Entered: 05/17/2012)
         05/17/2012     1169 RESPONSE (re 1168 Amended MOTION for Judgment as a Matter of Law ORACLE AMERICA,
                             INC.S RULE 50(A) MOTION AT THE CLOSE OF ALL EVIDENCE FOR PHASE II (PATENT
                             PHASE)--REPLACES [DKT 1167] ) filed byGoogle Inc.. (Van Nest, Robert) (Filed on 5/17/2012)
                             (Entered: 05/17/2012)
         05/17/2012     1170 RESPONSE (re 1151 MOTION for Judgment as a Matter of Law on Counts V and VII of Oracle's
                             Amended Complaint ) filed byOracle America, Inc.. (Jacobs, Michael) (Filed on 5/17/2012) (Entered:
                             05/17/2012)
         05/17/2012     1180 Minute Entry: Jury Trial held on 5/17/2012 before William Alsup (Date Filed: 5/17/2012). Jury
                             Deliberations Continued. Further Jury Trial set for 5/18/2012 7:30 AM. (Court Reporter Debra Pas.)
                             (dt, COURT STAFF) (Date Filed: 5/17/2012) (Entered: 05/18/2012)
         05/18/2012     1171 Transcript of Proceedings held on May 14, 2012, before Judge William H. Alsup. Court
                             Reporter/Transcriber Katherine Powell Sullivan and Debra L. Pas, Official Reporters, Telephone
                             number 415-794-6659/ Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial
                             Conference policy, this transcript may be viewed only at the Clerks Office public terminal or may be
                             purchased through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                             Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request
                             Redaction, if required, is due no later than 5 business days from date of this filing. Redaction Request
                             due 6/8/2012. Redacted Transcript Deadline set for 6/18/2012. Release of Transcript Restriction set for
                             8/16/2012. (Sullivan, Katherine) (Filed on 5/18/2012) (Entered: 05/18/2012)
         05/18/2012     1172 Transcript of Proceedings held on May 15, 2012, before Judge William H. Alsup. Court
                             Reporter/Transcriber Katherine Powell Sullivan and Debra L. Pas, Official Reporters, Telephone



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                               number 415-794-6659/ Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial
                               Conference policy, this transcript may be viewed only at the Clerks Office public terminal or may be
                               purchased through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                               Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request
                               Redaction, if required, is due no later than 5 business days from date of this filing. Redaction Request
                               due 6/8/2012. Redacted Transcript Deadline set for 6/18/2012. Release of Transcript Restriction set for
                               8/16/2012. (Sullivan, Katherine) (Filed on 5/18/2012) (Entered: 05/18/2012)
         05/18/2012     1173 Transcript of Proceedings held on May 16, 2012, before Judge William H. Alsup. Court
                             Reporter/Transcriber Katherine Powell Sullivan, RPR, CRR, CSR, Telephone number
                             415-794-6659/Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial
                             Conference policy, this transcript may be viewed only at the Clerks Office public terminal or may be
                             purchased through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                             Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request
                             Redaction, if required, is due no later than 5 business days from date of this filing. Redaction Request
                             due 6/8/2012. Redacted Transcript Deadline set for 6/18/2012. Release of Transcript Restriction set for
                             8/16/2012. (Sullivan, Katherine) (Filed on 5/18/2012) (Entered: 05/18/2012)
         05/18/2012     1179 Minute Entry: Jury Trial held on 5/16/2012 before William Alsup (Date Filed: 5/18/2012).
                             Deliberations continued. Further Jury Trial set for 5/17/2012 8:00 AM. (Court Reporter Kathy
                             Sullivan.) (dt, COURT STAFF) (Date Filed: 5/18/2012). (Entered: 05/18/2012)
         05/18/2012     1186 Minute Entry: Jury Trial held on 5/18/2012 before William Alsup (Date Filed: 5/18/2012). Delibertions
                             continued. Further Jury Trial set for 5/21/2012 8:00 AM.(Court Reporter Kathy Sullivan.) (dtS,
                             COURT STAFF) (Date Filed: 5/18/2012) (Entered: 05/22/2012)
         05/21/2012     1181 REQUEST FOR MORE BRIEFING RE INTERFACES, EXCEPTIONS, AND
                             INTEROPERABILITY. Signed by Judge Alsup on May 21, 2012. (whalc1, COURT STAFF) (Filed on
                             5/21/2012) (Entered: 05/21/2012)
         05/21/2012     1187 Minute Entry: Jury Trial held on 5/21/2012 before William Alsup (Date Filed: 5/21/2012).
                             Deliberations continued. Further Jury Trial set for 5/22/2012 8:00 AM.(Court Reporter Kathy
                             Sullivan.) (dtS, COURT STAFF) (Date Filed: 5/21/2012) (Entered: 05/22/2012)
         05/22/2012     1182 Transcript of Proceedings held on May 17, 2012, before Judge William H. Alsup. Court
                             Reporter/Transcriber Debra L. Pas, Official Reporter. Per General Order No. 59 and Judicial
                             Conference policy, this transcript may be viewed only at the Clerks Office public terminal or may be
                             purchased through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                             Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request
                             Redaction, if required, is due no later than 5 business days from date of this filing. Redaction Request
                             due 6/12/2012. Redacted Transcript Deadline set for 6/22/2012. Release of Transcript Restriction set
                             for 8/20/2012. (Sullivan, Katherine) (Filed on 5/22/2012) (Entered: 05/22/2012)
         05/22/2012     1183 Transcript of Proceedings held on May 18, 2012, before Judge William H. Alsup. Court
                             Reporter/Transcriber Katherine Powell Sullivan, RPR, CRR, CSR, Telephone number
                             415-794-6659/Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial
                             Conference policy, this transcript may be viewed only at the Clerks Office public terminal or may be
                             purchased through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                             Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request
                             Redaction, if required, is due no later than 5 business days from date of this filing. Redaction Request
                             due 6/12/2012. Redacted Transcript Deadline set for 6/22/2012. Release of Transcript Restriction set
                             for 8/20/2012. (Sullivan, Katherine) (Filed on 5/22/2012) (Entered: 05/22/2012)
         05/22/2012     1184 Transcript of Proceedings held on May 21, 2012, before Judge William H. Alsup. Court
                             Reporter/Transcriber Katherine Powell Sullivan, RPR, CRR, CSR, Telephone number
                             415-794-6659/Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial
                             Conference policy, this transcript may be viewed only at the Clerks Office public terminal or may be
                             purchased through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                             Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request
                             Redaction, if required, is due no later than 5 business days from date of this filing. Redaction Request
                             due 6/12/2012. Redacted Transcript Deadline set for 6/22/2012. Release of Transcript Restriction set
                             for 8/20/2012. (Sullivan, Katherine) (Filed on 5/22/2012) (Entered: 05/22/2012)




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         05/22/2012     1185 Transcript of Proceedings held on May 22, 2012, before Judge William H. Alsup. Court
                             Reporter/Transcriber Katherine Powell Sullivan, RPR, CRR, CSR, Telephone number
                             415-794-6659/Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial
                             Conference policy, this transcript may be viewed only at the Clerks Office public terminal or may be
                             purchased through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                             Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request
                             Redaction, if required, is due no later than 5 business days from date of this filing. Redaction Request
                             due 6/12/2012. Redacted Transcript Deadline set for 6/22/2012. Release of Transcript Restriction set
                             for 8/20/2012. (Sullivan, Katherine) (Filed on 5/22/2012) (Entered: 05/22/2012)
         05/22/2012     1199 Minute Entry: Jury Trial held on 5/22/2012 before William Alsup (Date Filed: 5/22/2012). Jury
                             Deliberations continued. Further Jury Trial set for 5/23/2012 8:00 AM.(Court Reporter Kathy
                             Sullivan.) (dt, COURT STAFF) (Date Filed: 5/22/2012) (Entered: 05/24/2012)
         05/23/2012     1188 REQUEST FOR BRIEFING ON SONY V. CONNECTIX re 1181 Order. Signed by Judge Alsup on
                             May 23, 2012. (whalc1, COURT STAFF) (Filed on 5/23/2012) (Entered: 05/23/2012)
         05/23/2012     1189 OBJECTIONS to Answer to Juror May 22 question regarding "symbolic reference" and Request for
                             Curative Instruction by Oracle America, Inc.. (Jacobs, Michael) (Filed on 5/23/2012) (Entered:
                             05/23/2012)
         05/23/2012     1190 JURY VERDICT (Phase II). (dt, COURT STAFF) (Filed on 5/23/2012) (Entered: 05/23/2012)
         05/23/2012     1191 Brief Oracle's May 23, 2012 Copyright Brief filed byOracle America, Inc.. (Jacobs, Michael) (Filed on
                             5/23/2012) (Entered: 05/23/2012)
         05/23/2012     1192 TRIAL BRIEF Google's May 23, 2012 Copyright Liability Trial Brief by Google Inc.. (Attachments: #
                             1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Van Nest, Robert) (Filed on
                             5/23/2012) (Entered: 05/23/2012)
         05/23/2012     1193 Jury Notes - Phase I and Phase II (4/18/12 - 5/23/12) (dt, COURT STAFF) (Filed on 5/23/2012)
                             (Entered: 05/23/2012)
         05/23/2012     1200 Minute Entry: Jury Trial (Phase II) completed on 5/23/2012 before William Alsup (Date Filed:
                             5/23/2012). Jury Verdict read. Jury polled, thanked and discharged. (Court Reporter Kathy Sullivan.)
                             (dt, COURT STAFF) (Date Filed: 5/23/2012) (Entered: 05/24/2012)
         05/24/2012     1194 Transcript of Proceedings held on May 23, 2012, before Judge William H. Alsup. Court
                             Reporter/Transcriber Katherine Powell Sullivan, RPR, CRR, CSR, Telephone number 415-794-6659/
                             Katherine_Sullivan@cand.uscourts.gov. Per General Order No. 59 and Judicial Conference policy, this
                             transcript may be viewed only at the Clerks Office public terminal or may be purchased through the
                             Court Reporter/Transcriber until the deadline for the Release of Transcript Restriction.After that date it
                             may be obtained through PACER. Any Notice of Intent to Request Redaction, if required, is due no
                             later than 5 business days from date of this filing. Redaction Request due 6/14/2012. Redacted
                             Transcript Deadline set for 6/25/2012. Release of Transcript Restriction set for 8/22/2012. (Sullivan,
                             Katherine) (Filed on 5/24/2012) (Entered: 05/24/2012)
         05/24/2012     1195 Exhibit List Joint List of Admitted Trial Exhibits - Phase 1 by Oracle America, Inc... (Jacobs, Michael)
                             (Filed on 5/24/2012) (Entered: 05/24/2012)
         05/24/2012     1196 Exhibit List Joint List of Admitted Trial Exhibits - Phase 2 by Oracle America, Inc... (Jacobs, Michael)
                             (Filed on 5/24/2012) (Entered: 05/24/2012)
         05/24/2012     1197 Brief re 1192 Trial Brief Oracle's May 24, 2012 Copyright Reply Brief filed byOracle America, Inc..
                             (Related document(s) 1192 ) (Jacobs, Michael) (Filed on 5/24/2012) (Entered: 05/24/2012)
         05/24/2012     1198 TRIAL BRIEF Google's May 24, 2012 Copyright Liability Trial Brief by Google Inc.. (Attachments: #
                             1 Exhibit A, # 2 Exhibit B)(Van Nest, Robert) (Filed on 5/24/2012) (Entered: 05/24/2012)
         05/30/2012            (Court only) ***Motions terminated: 1077 MOTION in Limine to Preclude Testimony of Timothy
                               Lindholm filed by Google Inc., 1037 MOTION to Strike ORACLE AMERICA, INC.S MOTION TO
                               EXCLUDE PORTIONS OF THE RULE 706 EXPERT REPORT OF DR. JAMES KEARL filed by
                               Oracle America, Inc., 1078 MOTION in Limine re Evidence Allegedly Supporting Knowledge
                               Requirement for Indirect Infringement filed by Google Inc., 1112 MOTION in Limine ORACLES
                               MOTION IN LIMINE REGARDING HINKMOND WONG AND NOEL POORE filed by Oracle




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                               America, Inc., 1145 MOTION Exclude Certain Witnesses from the Damages Phase filed by Google
                               Inc., 1125 MOTION for Summary Judgment re Copyright Damages filed by Google Inc., 959
                               MOTION ORACLE AMERICA, INC.S MOTION SEEKING A CLARIFYING INSTRUCTION AND
                               PROFFER REGARDING APACHE HARMONY filed by Oracle America, Inc., 1098 MOTION Motion
                               to Preclude Google From Disputing Ownership filed by Oracle America, Inc., 1129 MOTION TO
                               ADMIT STATEMENT FROM GOOGLES INTERROGATORY RESPONSE filed by Oracle America,
                               Inc., 1146 MOTION in Limine To Exclude Evidence of Google's Android-Related Revenues Until
                               Oracle Proves a Causal Nexus with the Infringement filed by Google Inc., 1061 MOTION in Limine
                               CONCERNING TESTIMONY BY JONATHAN SCHWARTZ filed by Oracle America, Inc., 1080
                               MOTION in Limine to Exclude Evidence Regarding Compatibility Testing Suite filed by Google Inc.,
                               1076 MOTION in Limine re Peter Kessler Testimony re Android Code Modifications filed by Google
                               Inc., 1126 MOTION TO DEFER PHASE THREE PENDING RESOLUTION OF REMAINING
                               LIABILITY ISSUES filed by Oracle America, Inc.. (whalc1, COURT STAFF) (Filed on 5/30/2012)
                               (Entered: 05/30/2012)
         05/30/2012     1201 ORDER DENYING ORACLE MOTION FOR JUDGMENT AS A MATTER OF LAW RE PATENT
                             INFRINGEMENT by Hon. William Alsup denying 1168 Motion for Judgment as a Matter of
                             Law.(whalc1, COURT STAFF) (Filed on 5/30/2012) (Entered: 05/30/2012)
         05/31/2012     1202 ORDER RE COPYRIGHTABILITY OF CERTAIN REPLICATED ELEMENTS OF THE JAVA
                             APPLICATION PROGRAMMING INTERFACE by Judge William Alsup [granting 984 Motion for
                             Judgment as a Matter of Law; granting 1007 Motion for Judgment as a Matter of Law; finding as moot
                             1105 Motion for New Trial]. (whasec, COURT STAFF) (Filed on 5/31/2012) (Entered: 05/31/2012)
         05/31/2012     1203 FINDINGS OF FACT AND CONCLUSIONS OF LAW ON EQUITABLE DEFENSES re 1049
                             Proposed Findings of Fact filed by Oracle America, Inc., 1047 Proposed Findings of Fact filed by
                             Google Inc.. Signed by Judge Alsup on May 31, 2012. (whalc1, COURT STAFF) (Filed on 5/31/2012)
                             (Entered: 05/31/2012)
         05/31/2012     1204 NOTICE OF CASE MANAGEMENT CONFERENCE. Signed by Judge Alsup on May 31, 2012.
                             (whalc1, COURT STAFF) (Filed on 5/31/2012) (Entered: 05/31/2012)
         05/31/2012            Set/Reset Hearing Case Management Conference set for 6/21/2012 11:00 AM in Courtroom 8, 19th
                               Floor, San Francisco. (whalc1, COURT STAFF) (Filed on 5/31/2012) (Entered: 05/31/2012)
         05/31/2012            (Court only) ***Motions terminated: 1139 STIPULATION WITH PROPOSED ORDER Re Indirect
                               Patent Infringement filed by Google Inc., 1045 MOTION for Judgment as a Matter of Law Oracle's
                               Corrected Rule 50(A) Motion at the Close of Evidence (WITH TABLES) filed by Oracle America, Inc.,
                               1151 MOTION for Judgment as a Matter of Law on Counts V and VII of Oracle's Amended Complaint
                               filed by Google Inc., 1152 MOTION for Judgment as a Matter of Law Outline of Oracle America,
                               Inc.'s Rule 50(a) Motion at the Close of All Evidence In Phase Two filed by Oracle America, Inc..
                               (whalc1, COURT STAFF) (Filed on 5/31/2012) (Entered: 05/31/2012)
         05/31/2012     1205 Five boxes of trial exhibits placed on overflow shelf. (mjj2S, COURT STAFF) (Filed on 5/31/2012)
                             (Entered: 05/31/2012)
         06/05/2012     1206 ORDER REGARDING DR. JAMES KEARL. Signed by Judge Alsup on June 5, 2012. (whalc1,
                             COURT STAFF) (Filed on 6/5/2012) (Entered: 06/05/2012)
         06/05/2012     1207 STIPULATION WITH PROPOSED ORDER re Set/Reset Hearings Regarding Case Management
                             Conference filed by Oracle America, Inc.. (Jacobs, Michael) (Filed on 6/5/2012) (Entered: 06/05/2012)
         06/05/2012     1208 ORDER GRANTING STIPULATION by Hon. William Alsup granting 1207 Stipulation.(whalc1,
                             COURT STAFF) (Filed on 6/5/2012) (Entered: 06/05/2012)
         06/05/2012            Set/Reset Hearing re 1204 Order Case Management Conference set for 6/20/2012 11:00 AM in
                               Courtroom 8, 19th Floor, San Francisco. (whalc1, COURT STAFF) (Filed on 6/5/2012) (Entered:
                               06/05/2012)
         06/18/2012     1209 CASE MANAGEMENT STATEMENT Joint Case Management Conference Statement filed by Oracle
                             America, Inc.. (Attachments: # 1 Exhibit, # 2 Exhibit)(Jacobs, Michael) (Filed on 6/18/2012) (Entered:
                             06/18/2012)
         06/20/2012     1210 STIPULATION WITH PROPOSED ORDER re 1159 Stipulation and Order (Second) Regarding
                             Copyright Damages filed by Oracle America, Inc.. (Jacobs, Michael) (Filed on 6/20/2012) (Entered:



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                               06/20/2012)
         06/20/2012     1211 FINAL JUDGMENT. Signed by Judge Alsup on June 20, 2012. (whalc1, COURT STAFF) (Filed on
                             6/20/2012) (Entered: 06/20/2012)
         06/20/2012     1212 MOTION for Judgment as a Matter of Law - ORACLE AMERICA, INC.'S MOTION FOR JUDGMENT
                             AS A MATTER OF LAW UNDER RULE 50(B) OR, IN THE ALTERNATIVE, FOR A NEW TRIAL -
                             filed by Oracle America, Inc.. Motion Hearing set for 7/26/2012 08:00 AM in Courtroom 8, 19th Floor,
                             San Francisco before Hon. William Alsup. Responses due by 7/5/2012. Replies due by 7/12/2012.
                             (Attachments: # 1 Proposed Order)(Jacobs, Michael) (Filed on 6/20/2012) (Entered: 06/20/2012)
         06/20/2012     1213 Minute Entry: Case Management Conference held on 6/20/2012 before William Alsup (Date Filed:
                             6/20/2012). (Court Reporter Debra Pas.) (dt, COURT STAFF) (Date Filed: 6/20/2012) (Entered:
                             06/21/2012)
         06/20/2012            (Court only) ***Civil Case Terminated. (far, COURT STAFF) (Filed on 6/20/2012) (Entered:
                               06/25/2012)
         06/26/2012     1214 Transcript of Proceedings held on 6-20-2012, before Judge William H. Alsup. Court
                             Reporter/Transcriber Debra L. Pas, CRR, Telephone number (415) 431-1477. Per General Order No.
                             59 and Judicial Conference policy, this transcript may be viewed only at the Clerks Office public
                             terminal or may be purchased through the Court Reporter/Transcriber until the deadline for the Release
                             of Transcript Restriction.After that date it may be obtained through PACER. Any Notice of Intent to
                             Request Redaction, if required, is due no later than 5 business days from date of this filing. Release of
                             Transcript Restriction set for 9/24/2012. (Pas, Debra) (Filed on 6/26/2012) (Entered: 06/26/2012)
         07/05/2012     1215 Administrative Motion to File Under Seal re Bill of Costs filed by Google Inc.. (Attachments: # 1
                             Declaration of William Adams, # 2 Proposed Order)(Van Nest, Robert) (Filed on 7/5/2012) (Entered:
                             07/05/2012)
         07/05/2012     1216 BILL OF COSTS by Google Inc.. (Van Nest, Robert) (Filed on 7/5/2012) (Entered: 07/05/2012)
         07/05/2012     1217 RESPONSE (re 1212 MOTION for Judgment as a Matter of Law - ORACLE AMERICA, INC.'S
                             MOTION FOR JUDGMENT AS A MATTER OF LAW UNDER RULE 50(B) OR, IN THE
                             ALTERNATIVE, FOR A NEW TRIAL - ) (Google Inc.'s Opposition to Oracle America, Inc.'s Motion
                             for Judgment as a Matter of Law Under Rule 50(b) or, in the Alternative, for a New Trial) filed
                             byGoogle Inc.. (Van Nest, Robert) (Filed on 7/5/2012) (Entered: 07/05/2012)
         07/11/2012     1218 ORDER GRANTING MOTION TO SEAL by Hon. William Alsup granting 1215 Administrative
                             Motion to File Under Seal.(whalc1, COURT STAFF) (Filed on 7/11/2012) (Entered: 07/11/2012)
         07/12/2012     1219 REPLY (re 1212 MOTION for Judgment as a Matter of Law - ORACLE AMERICA, INC.'S MOTION
                             FOR JUDGMENT AS A MATTER OF LAW UNDER RULE 50(B) OR, IN THE ALTERNATIVE, FOR A
                             NEW TRIAL - ) - ORACLE AMERICA, INC.'S REPLY IN SUPPORT OF ITS MOTION FOR
                             JUDGMENT AS A MATTER OF LAW UNDER RULE 50(B) OR, IN THE ALTERNATIVE, FOR A
                             NEW TRIAL - filed byOracle America, Inc.. (Jacobs, Michael) (Filed on 7/12/2012) (Entered:
                             07/12/2012)
         07/13/2012     1220 DOCUMENT E-FILED UNDER SEAL re 1218 Order on Administrative Motion to File Under Seal by
                             Google Inc.. (Attachments: # 1 Exhibit B, # 2 Exhibit C(1), # 3 Exhibit C(2), # 4 Exhibit C(3), # 5
                             Exhibit C(4))(Van Nest, Robert) (Filed on 7/13/2012) (Entered: 07/13/2012)
         07/13/2012     1221 ORDER DENYING MOTION FOR JUDGMENT AS A MATTER OF LAW AND NEW TRIAL by
                             Hon. William Alsup denying 1212 Motion for Judgment as a Matter of Law.(whalc1, COURT STAFF)
                             (Filed on 7/13/2012) (Entered: 07/13/2012)
         07/13/2012            (Court only) ***Motions terminated: 1210 STIPULATION WITH PROPOSED ORDER re 1159
                               Stipulation and Order (Second) Regarding Copyright Damages filed by Oracle America, Inc.. (whalc1,
                               COURT STAFF) (Filed on 7/13/2012) (Entered: 07/13/2012)
         07/17/2012     1222 MOTION for Judgment as a Matter of Law on Portions of Count VIII of Oracle's Amended Complaint,
                             or, in the Alternative, for a New Trial filed by Google Inc.. Motion Hearing set for 8/23/2012 08:00
                             AM in Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup. Responses due by
                             7/31/2012. Replies due by 8/7/2012. (Van Nest, Robert) (Filed on 7/17/2012) (Entered: 07/17/2012)




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         07/17/2012     1223 Proposed Order re 1222 MOTION for Judgment as a Matter of Law on Portions of Count VIII of
                             Oracle's Amended Complaint, or, in the Alternative, for a New Trial by Google Inc.. (Van Nest, Robert)
                             (Filed on 7/17/2012) (Entered: 07/17/2012)
         07/23/2012     1224 Administrative Motion to File Under Seal Certain Discovery Pricing Information filed by Oracle
                             America, Inc.. (Attachments: # 1 Declaration Declaration of Benjamin Beck in support of Oracle's
                             Administrative Motion to File Under Seal Certain Discovery Pricing Information, # 2 Proposed Order
                             [Proposed] Order Granting Oracle's Administrative Motion to File Under Seal)(Muino, Daniel) (Filed
                             on 7/23/2012) (Entered: 07/23/2012)
         07/23/2012     1225 OBJECTIONS to re 1216 Bill of Costs by Oracle America, Inc.. (Muino, Daniel) (Filed on 7/23/2012)
                             (Entered: 07/23/2012)
         07/26/2012     1226 ORDER FOR REPLY BRIEF. Signed by Judge Alsup on July 26, 2012. (whalc1, COURT STAFF)
                             (Filed on 7/26/2012) (Entered: 07/26/2012)
         07/31/2012     1227 RESPONSE (re 1222 MOTION for Judgment as a Matter of Law on Portions of Count VIII of Oracle's
                             Amended Complaint, or, in the Alternative, for a New Trial ) filed byOracle America, Inc.. (Jacobs,
                             Michael) (Filed on 7/31/2012) (Entered: 07/31/2012)
         08/03/2012     1228 Reply to Objections re 1216 Bill of Costs filed byGoogle Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit
                             B)(Related document(s) 1216 ) (Van Nest, Robert) (Filed on 8/3/2012) Modified on 8/6/2012 (dtm,
                             COURT STAFF). (Entered: 08/03/2012)
         08/07/2012     1229 ORDER RE DISCLOSURE OF FINANCIAL RELATIONSHIPS WITH COMMENTATORS ON
                             ISSUES IN THIS CASE. Signed by Judge Alsup on August 7, 2012. (whalc1, COURT STAFF) (Filed
                             on 8/7/2012) (Entered: 08/07/2012)
         08/07/2012     1230 REPLY in Support of (re 1222 MOTION for Judgment as a Matter of Law on Portions of Count VIII of
                             Oracle's Amended Complaint, or, in the Alternative, for a New Trial ) filed byGoogle Inc.. (Van Nest,
                             Robert) (Filed on 8/7/2012) Modified on 8/8/2012 (dtm, COURT STAFF). (Entered: 08/07/2012)
         08/08/2012     1231 Statement on Behalf of Dr. Kearl Regarding Relationships with Commentators by John Lee Cooper.
                             (Cooper, John) (Filed on 8/8/2012) Modified on 8/9/2012 (dtm, COURT STAFF). (Entered:
                             08/08/2012)
         08/09/2012     1232 ORDER GRANTING MOTION TO SEAL by Hon. William Alsup granting 1224 Administrative
                             Motion to File Under Seal.(whalc1, COURT STAFF) (Filed on 8/9/2012) (Entered: 08/09/2012)
         08/14/2012     1233 Statement of Recent Decision Regarding Costs by Google Inc.. (Van Nest, Robert) (Filed on 8/14/2012)
                             (Entered: 08/14/2012)
         08/14/2012     1234 DOCUMENT E-FILED UNDER SEAL re 1232 Order on Administrative Motion to File Under Seal
                             Oracle's Objections to Google's Bill of Costs by Oracle America, Inc.. (Muino, Daniel) (Filed on
                             8/14/2012) (Entered: 08/14/2012)
         08/14/2012     1235 DOCUMENT E-FILED UNDER SEAL re 1232 Order on Administrative Motion to File Under Seal
                             Declaration of Vadim Bergelson in Support of Oracle's Objections to Google's Bill of Costs by Oracle
                             America, Inc.. (Muino, Daniel) (Filed on 8/14/2012) (Entered: 08/14/2012)
         08/17/2012     1236 Statement re 1229 Order - ORACLE'S STATEMENT REGARDING FINANCIAL RELATIONSHIPS
                             WITH COMMENTATORS - by Oracle America, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                             Exhibit C, # 4 Exhibit D)(Jacobs, Michael) (Filed on 8/17/2012) (Entered: 08/17/2012)
         08/17/2012     1237 RESPONSE to re 1229 Order Re Disclosure of Financial Relationships with Commentators on Issues
                             in this Case by Google Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Van Nest, Robert) (Filed on
                             8/17/2012) (Entered: 08/17/2012)
         08/20/2012     1238 ORDER TO SUPPLEMENT. Signed by Judge Alsup on August 20, 2012. (whalc1, COURT STAFF)
                             (Filed on 8/20/2012) (Entered: 08/20/2012)
         08/23/2012     1239 Minute Entry: Motion Hearing held on 8/23/2012 before Judge William Alsup (Date Filed: 8/23/2012)
                             re 1222 MOTION for Judgment as a Matter of Law on Portions of Count VIII of Oracle's Amended
                             Complaint, or, in the Alternative, for a New Trial filed by Google Inc. Motion taken under submission.
                             (Court Reporter Kathy Wyatt.) (dt, COURT STAFF) (Date Filed: 8/23/2012) (Entered: 08/23/2012)




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         08/24/2012     1240 RESPONSE to re 1238 Order to Supplement by Google Inc.. (Attachments: # 1 Exhibit Part 1, # 2
                             Exhibit Part 2)(Van Nest, Robert) (Filed on 8/24/2012) (Entered: 08/24/2012)
         09/04/2012     1241 ORDER REGARDING BILL OF COSTS re 1216 Bill of Costs filed by Google Inc., 1228 Brief filed
                             by Google Inc., 1225 Objection filed by Oracle America, Inc.. Signed by Judge Alsup on September 4,
                             2012. (whalc1, COURT STAFF) (Filed on 9/4/2012) (Entered: 09/04/2012)
         09/04/2012     1242 ORDER DENYING MOTION FOR JUDGMENT AS A MATTER OF LAW AND NEW TRIAL by
                             Hon. William Alsup denying 1222 Motion for Judgment as a Matter of Law.(whalc1, COURT STAFF)
                             (Filed on 9/4/2012) (Entered: 09/04/2012)
         10/03/2012           TRIAL EXHIBITS #3536, #3543, #3544, and #3547 Located in Vault, Section Wall "D". (rcs, COURT
                              STAFF) (Filed on 10/3/2012) (Entered: 10/03/2012)
         10/03/2012     1243 NOTICE OF APPEAL to the Federal Circuit as to 1211 Judgment by Oracle America, Inc.. Filing fee $
                             455, receipt number 0971-7174810. - PLAINTIFF ORACLE AMERICA, INC.'S NOTICE OF APPEAL
                             - Appeal Record due by 11/2/2012. (Jacobs, Michael) (Filed on 10/3/2012) (Entered: 10/03/2012)
         10/04/2012     1244 See Entry 1250 Transmission of Notice of Appeal and Docket Sheet to the Federal Circuit Court of
                             Appeals as to 1243 Notice of Appeal to the Federal Circuit, by Oracle America, Inc. Appeal Record
                             due by 11/5/2012. (Attachments: # 1 Appeal Information Sheet)(dtm, COURT STAFF) (Filed on
                             10/4/2012) Modified on 10/5/2012 (dtm, COURT STAFF). (Entered: 10/04/2012)
         10/04/2012     1245 See Entry 1247 NOTICE OF APPEAL to the Federal Circuit of 1242 by Google Inc.. Filing fee $ 455,
                             receipt number 0971-7176729. Appeal Record due by 11/5/2012. (Hirsch, Steven) (Filed on 10/4/2012)
                             Modified on 10/4/2012 (dtm, COURT STAFF). Modified on 10/5/2012 (dtm, COURT STAFF).
                             (Entered: 10/04/2012)
         10/04/2012     1246 Application for Refund, Receipt Number 0971-7176689 by Google Inc.. (Hirsch, Steven) (Filed on
                             10/4/2012) (Entered: 10/04/2012)
         10/04/2012     1247 Amended NOTICE OF APPEAL to the Federal Circuit as to 1242 Order on Motion for Judgment as a
                             Matter of Law by Google Inc.. See receipt number 0971-7176729 Appeal Record due by 11/5/2012.
                             (Hirsch, Steven) (Filed on 10/4/2012) (Entered: 10/04/2012)
         10/04/2012     1248 NOTICE OF CROSS APPEAL as to 1243 Notice of Appeal to the Federal Circuit, by Google Inc..
                             Filing fee $ 455, receipt number 0971-7177323. Appeal Record due by 11/5/2012. (Hirsch, Steven)
                             (Filed on 10/4/2012) (Entered: 10/04/2012)
         10/04/2012           (Court only) ***Deadlines terminated. (dtm, COURT STAFF) (Filed on 10/4/2012) (Entered:
                              10/04/2012)
         10/05/2012     1249 Transmission of Notice of Appeal and Docket Sheet to the Federal Circuit Court of Appeals as to 1247
                             Notice of Appeal to the Federal Circuit. Appeal Record due by 11/5/2012. (dtm, COURT STAFF)
                             (Filed on 10/5/2012) (Entered: 10/05/2012)
         10/05/2012     1250 Transmission of Notice of Appeal and Docket Sheet to the Federal Circuit Court of Appeals as to 1248
                             Notice of Cross Appeal, 1243 Notice of Appeal to the Federal Circuit,. Appeal Record due by
                             11/5/2012. (dtm, COURT STAFF) (Filed on 10/5/2012) (Entered: 10/05/2012)
         10/11/2012     1251 Refund re 1246 Application for Refund Approved. (dtm, COURT STAFF) (Filed on 10/11/2012)
                             (Entered: 10/11/2012)
         10/15/2012     1252 STIPULATION WITH PROPOSED ORDER TO STAY EXECUTION OF COSTS AWARD PENDING
                             APPEAL filed by Oracle America, Inc.. (Jacobs, Michael) (Filed on 10/15/2012) (Entered: 10/15/2012)
         10/15/2012     1253 ORDER GRANTING STIPULATED STAY OF EXECUTION OF COSTS by Hon. William Alsup
                             granting 1252 Stipulation.(whalc1, COURT STAFF) (Filed on 10/15/2012) (Entered: 10/15/2012)
         10/17/2012     1254 Transcript Designation and Ordering Form (Jacobs, Michael) (Filed on 10/17/2012) (Entered:
                             10/17/2012)
         10/19/2012     1255 Transcript of Proceedings held on 8-23-12, before Judge William Alsup. Court Reporter/Transcriber
                             Katherine Wyatt, Telephone number 925-212-5224. Per General Order No. 59 and Judicial Conference
                             policy, this transcript may be viewed only at the Clerks Office public terminal or may be purchased
                             through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                             Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request



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                               Redaction, if required, is due no later than 5 business days from date of this filing. Release of
                               Transcript Restriction set for 1/17/2013. (kpw, COURT STAFF) (Filed on 10/19/2012) (Entered:
                               10/19/2012)
         05/12/2014     1256 OPINION of USCA Federal Circuit Case 13-1021,1022 as to 1243 Notice of Appeal 1248 Notice of
                             Cross Appeal filed by Google Inc. Case Remanded for Further Proceedings re 1243 Notice of Appeal.
                             (dtmS, COURT STAFF) (Filed on 5/12/2014) Modified on 5/12/2014 (dtmS, COURT STAFF).
                             (Entered: 05/12/2014)
         06/16/2014     1257 MANDATE of USCA Fed Circuit Cases 13-1021, 1022 as to 1248 Notice of Cross Appeal filed by
                             Google Inc. (dtmS, COURT STAFF) (Filed on 6/16/2014) (Entered: 06/16/2014)
         06/16/2014     1258 CLERKS Letter Spreading Mandate to Counsel (dtmS, COURT STAFF) (Filed on 6/16/2014)
                             (Entered: 06/16/2014)
         06/29/2015     1259 NOTICE of Appearance by Karen G. Johnson-McKewan , Annette L. Hurst, and Gabriel M. Ramsey
                             (Johnson-McKewan, Karen) (Filed on 6/29/2015) (Entered: 06/29/2015)
         06/30/2015     1260 NOTICE of Change of Address by Ruchika Agrawal (Agrawal, Ruchika) (Filed on 6/30/2015)
                             (Entered: 06/30/2015)
         06/30/2015     1261 MOTION for leave to appear in Pro Hac Vice by Lisa T. Simpson ( Filing fee $ 305, receipt number
                             0971-9644095.) filed by Oracle America, Inc.. (Simpson, Lisa) (Filed on 6/30/2015) (Entered:
                             06/30/2015)
         06/30/2015     1262 MOTION for leave to appear in Pro Hac Vice by Peter A. Bicks ( Filing fee $ 305, receipt number
                             0971-9644176.) filed by Oracle America, Inc.. (Bicks, Peter) (Filed on 6/30/2015) (Entered:
                             06/30/2015)
         07/01/2015     1263 ORDER DENYING PRO HAC VICE APPLICATION OF ATTORNEY PETER A. BICKS by
                             Hon. William Alsup denying 1262 Motion for Pro Hac Vice.(whalc1, COURT STAFF) (Filed on
                             7/1/2015) (Entered: 07/01/2015)
         07/01/2015     1264 ORDER DENYING PRO HAC VICE APPLICATION OF ATTORNEY LISA T. SIMPSON by
                             Hon. William Alsup denying 1261 Motion for Pro Hac Vice.(whalc1, COURT STAFF) (Filed on
                             7/1/2015) (Entered: 07/01/2015)
         07/02/2015     1265 MOTION for leave to appear in Pro Hac Vice by Lisa T. Simpson ( Filing fee $ 305, receipt number
                             0971-9644095.) Filing fee previously paid on 06/30/2015 filed by Oracle America, Inc.. (Simpson,
                             Lisa) (Filed on 7/2/2015) (Entered: 07/02/2015)
         07/02/2015     1266 MOTION for leave to appear in Pro Hac Vice by Peter A. Bicks ( Filing fee $ 305, receipt number
                             0971-9644176.) Filing fee previously paid on 06/30/2015 filed by Oracle America, Inc.. (Bicks, Peter)
                             (Filed on 7/2/2015) (Entered: 07/02/2015)
         07/02/2015     1267 ORDER GRANTING APPLICATION FOR ADMISSION OF ATTORNEY PRO HAC VICE of
                             Peter A. Bicks by Hon. William Alsup granting 1266 Motion for Pro Hac Vice.(whalc1, COURT
                             STAFF) (Filed on 7/2/2015) (Entered: 07/02/2015)
         07/02/2015     1268 ORDER GRANTING APPLICATION FOR ADMISSION OF ATTORNEY PRO HAC VICE of
                             Lisa T. Simpson by Hon. William Alsup granting 1265 Motion for Pro Hac Vice.(whalc1, COURT
                             STAFF) (Filed on 7/2/2015) (Entered: 07/02/2015)
         07/06/2015     1269 ORDER SETTING STATUS CONFERENCE Status Report due by 7/23/2015. Status Conference
                             set for 7/30/2015 11:00 AM in Courtroom 8, 19th Floor, San Francisco before Hon. William
                             Alsup. Signed by Judge Alsup on 7/6/15. (whalc1, COURT STAFF) (Filed on 7/6/2015) (Entered:
                             07/06/2015)
         07/21/2015     1270 NOTICE of Change In Counsel by Marc David Peters (withdrawal of Rudolph Kim, Mark Ungerman,
                             Benjamin Petersen, and Roman Swoopes as attorney of record) (Peters, Marc) (Filed on 7/21/2015)
                             (Entered: 07/21/2015)
         07/22/2015     1271 Letter Brief re 86 Order Requesting Leave to File a Motion to File Supplemental Complaint. filed
                             byOracle America, Inc.. (Related document(s) 86 ) (Hurst, Annette) (Filed on 7/22/2015) Modified on
                             7/23/2015 (dtmS, COURT STAFF). (Entered: 07/22/2015)




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         07/23/2015     1272 NOTICE of Change In Counsel by Steven Christopher Holtzman (Holtzman, Steven) (Filed on
                             7/23/2015) (Entered: 07/23/2015)
         07/23/2015     1273 STATUS REPORT Joint Status Report in Advance of July 30 Status Conference by Oracle America,
                             Inc.. (Hurst, Annette) (Filed on 7/23/2015) (Entered: 07/23/2015)
         07/24/2015     1274 REQUEST FOR SUPPLEMENTAL JOINT STATEMENT Supplemental Statement due by
                             7/29/15 at Noon.. Signed by Judge Alsup on 7/24/15. (whalc1, COURT STAFF) (Filed on
                             7/24/2015) (Entered: 07/24/2015)
         07/24/2015     1275 Letter Brief re 1271 Letter Brief in Response to Oracle's Proposed Motion for Leave to File a
                             Supplemental Complaint filed byGoogle Inc.. (Related document(s) 1271 ) (Van Nest, Robert) (Filed
                             on 7/24/2015) (Entered: 07/24/2015)
         07/29/2015     1276 STATUS REPORT Supplemental Joint Statement in Advance of July 30 Status Conference by Oracle
                             America, Inc.. (Hurst, Annette) (Filed on 7/29/2015) (Entered: 07/29/2015)
         07/30/2015     1278 Minute Entry for proceedings held before Hon. William Alsup: Status Conference held on
                             7/30/2015. Court Reporter Name Lydia Zinn. Plaintiff Attorney Peter Bicks; Annette Hurst.
                             Defendant Attorney Robert Van Nest. Attachment minute order.(dt, COURT STAFF) (Date
                             Filed: 7/30/2015) (Entered: 07/31/2015)
         07/31/2015     1277 SECOND CASE MANAGEMENT ORDER AND REFERENCE TO MAGISTRATE JUDGE
                             FOR MEDIATION/SETTLEMENT Motions due by 8/6/2015. Memoranda due by 8/11/15 at
                             Noon. Motions re 706 expert due by 9/10/15. Discovery due by 12/4/2015. Expert discovery due
                             by 1/7/16.. Signed by Judge Alsup on 7/31/15. (whalc1, COURT STAFF) (Filed on 7/31/2015)
                             (Entered: 07/31/2015)
         07/31/2015     1279 TRANSCRIPT ORDER by Google Inc. for Court Reporter Lydia Zinn. (Mullen, Reid) (Filed on
                             7/31/2015) (Entered: 07/31/2015)
         07/31/2015     1280 Transcript of Proceedings held on 7/30/2015, before Judge William Alsup. Court Reporter/Transcriber
                             Lydia Zinn, Telephone number (415) 531-6587. Per General Order No. 59 and Judicial Conference
                             policy, this transcript may be viewed only at the Clerks Office public terminal or may be purchased
                             through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                             Restriction.After that date it may be obtained through PACER. Any Notice of Intent to Request
                             Redaction, if required, is due no later than 5 business days from date of this filing. (Re 1279 Transcript
                             Order ) Redacted Transcript Deadline set for 8/31/2015. Release of Transcript Restriction set for
                             10/29/2015. (Related documents(s) 1279 ) (Zinn, Lydia) (Filed on 7/31/2015) (Entered: 07/31/2015)
         07/31/2015     1281 TRANSCRIPT ORDER by Oracle America, Inc. for Court Reporter Lydia Zinn. (Hurst, Annette)
                             (Filed on 7/31/2015) (Entered: 07/31/2015)
         07/31/2015            (Court only) TRANSCRIPT COPY DELIVERED re 1281 Transcript Order (Related documents(s)
                               1281 ) (Zinn, Lydia) (Filed on 7/31/2015) (Entered: 07/31/2015)
         08/04/2015     1282 REQUEST FOR COMMENT Response from Counsel for Dr. Kearl due by 8/21/2015.. Signed by
                             Judge Alsup on 8/4/15. (whalc1, COURT STAFF) (Filed on 8/4/2015) (Entered: 08/04/2015)
         08/05/2015     1283 Letter from James L. Day Re Rule 706 Report. (Day, James) (Filed on 8/5/2015) (Entered: 08/05/2015)
         08/06/2015     1284 MOTION TO PRECLUDE SUBMISSION OF THE ISSUE OF WILLFULNESS TO THE JURY
                             ABSENT AN ELECTION OF STATUTORY DAMAGES re 1277 Order,, Case Management
                             Scheduling Order,, Set Deadlines, filed by Google Inc.. Motion Hearing set for 9/10/2015 08:00 AM in
                             Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup. Responses due by 8/20/2015.
                             Replies due by 8/27/2015. (Attachments: # 1 Proposed Order)(Van Nest, Robert) (Filed on 8/6/2015)
                             (Entered: 08/06/2015)
         08/06/2015     1285 NOTICE of Appearance by Edward Andrew Bayley Keker & Van Nest LLP (Bayley, Edward) (Filed
                             on 8/6/2015) (Entered: 08/06/2015)
         08/06/2015     1286 NOTICE of Appearance by Christina Marie Von Der Ahe (Von Der Ahe, Christina) (Filed on 8/6/2015)
                             (Entered: 08/06/2015)
         08/06/2015     1287 MOTION for Leave to File Plaintiff Oracle America, Inc.'s Notice of Motion and Unopposed Motion
                             for Leave To File Supplemental Complaint filed by Oracle America, Inc.. (Attachments: # 1 Proposed



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                               Order)(Von Der Ahe, Christina) (Filed on 8/6/2015) (Entered: 08/06/2015)
         08/06/2015     1288 Declaration of Christina Von der Ahe Rayburn in Support of 1287 MOTION for Leave to File Plaintiff
                             Oracle America, Inc.'s Notice of Motion and Unopposed Motion for Leave To File Supplemental
                             Complaint filed byOracle America, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Related
                             document(s) 1287 ) (Von Der Ahe, Christina) (Filed on 8/6/2015) (Entered: 08/06/2015)
         08/11/2015     1289 ORDER GRANTING MOTION FOR LEAVE TO FILE SUPPLEMENTAL COMPLAINT by
                             Hon. William Alsup granting 1287 Motion for Leave to File.(whalc1, COURT STAFF) (Filed on
                             8/11/2015) (Entered: 08/11/2015)
         08/11/2015     1290 Memorandum on Laches re 1277 Order filed by Oracle America, Inc.. (Related document(s) 1277 )
                             (Hurst, Annette) (Filed on 8/11/2015) Modified on 8/11/2015 (dtmS, COURT STAFF). (Entered:
                             08/11/2015)
         08/11/2015     1291 Brief re 1277 Order,, Case Management Scheduling Order,, Set Deadlines, Google's Memorandum
                             Regarding Laches filed byGoogle Inc.. (Related document(s) 1277 ) (Van Nest, Robert) (Filed on
                             8/11/2015) (Entered: 08/11/2015)
         08/12/2015     1292 COMPLAINT Plaintiff Oracle's Supplemental Complaint for Copyright Infringement against Google
                             Inc.. Filed byOracle America, Inc.. (Bicks, Peter) (Filed on 8/12/2015) (Entered: 08/12/2015)
         08/12/2015     1293 REPORT on the filing of an action regarding Copyright (cc: form mailed to register). (dtmS, COURT
                             STAFF) (Filed on 8/12/2015) (Entered: 08/12/2015)
         08/13/2015     1294 Response re 1282 Order, Set Deadlines Dr. Kearl's Response to Request for Comment byJohn Lee
                             Cooper. (Cooper, John) (Filed on 8/13/2015) (Entered: 08/13/2015)
         08/13/2015     1295 ORDER RE DEADLINE FOR DR. KEARL'S EXPERT REPORT re 1283 Letter filed by John
                             Lee Cooper Responses due by 2/8/2016.. Signed by Judge Alsup on 8/13/15. (whalc1, COURT
                             STAFF) (Filed on 8/13/2015) (Entered: 08/13/2015)
         08/17/2015     1296 CLERK'S NOTICE Rescheduling Motion Hearing, Set/Reset Deadlines as to 1284 MOTION TO
                             PRECLUDE SUBMISSION OF THE ISSUE OF WILLFULNESS TO THE JURY ABSENT AN
                             ELECTION OF STATUTORY DAMAGES re 1277 Order, Case Management Scheduling Order,, Set
                             Deadlines, . Motion Hearing set for 9/17/2015 08:00 AM in Courtroom 8, 19th Floor, San Francisco
                             before Hon. William Alsup. (dt, COURT STAFF) (Filed on 8/17/2015) (Entered: 08/17/2015)
         08/19/2015     1297 REQUEST FOR INFORMATION ON WILLFULNESS EVIDENCE Responses due by
                             9/1/2015.. Signed by Judge Alsup on 8/19/15. (whalc1, COURT STAFF) (Filed on 8/19/2015)
                             (Entered: 08/19/2015)
         08/20/2015     1298 Administrative Motion to File Under Seal Exhibit V In Support of Oracle's Opposition to Motion to
                             Preclude Submission of Willfulness to Jury filed by Oracle America, Inc.. (Attachments: # 1
                             Declaration of Gabriel M. Ramsey, # 2 Proposed Order, # 3 Exhibit V (REDACTED), # 4 Exhibit V
                             (UNREDACTED), # 5 Certificate/Proof of Service)(Hurst, Annette) (Filed on 8/20/2015) (Entered:
                             08/20/2015)
         08/20/2015     1299 RESPONSE (re 1284 MOTION TO PRECLUDE SUBMISSION OF THE ISSUE OF
                             WILLFULNESS TO THE JURY ABSENT AN ELECTION OF STATUTORY DAMAGES re 1277
                             Order,, Case Management Scheduling Order,, Set Deadlines, ) filed byOracle America, Inc..
                             (Attachments: # 1 Declaration of Gabriel M. Ramsey, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5
                             Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit G, # 9 Exhibit H, # 10 Exhibit I, # 11 Exhibit J, #
                             12 Exhibit K, # 13 Exhibit L, # 14 Exhibit M, # 15 Exhibit N, # 16 Exhibit O, # 17 Exhibit P, # 18
                             Exhibit Q (Part 1 of 3), # 19 Exhibit Q (Part 2 of 3), # 20 Exhibit Q (Part 3 of 3), # 21 Exhibit R, # 22
                             Exhibit S, # 23 Exhibit T, # 24 Exhibit U, # 25 Exhibit V)(Hurst, Annette) (Filed on 8/20/2015)
                             (Entered: 08/20/2015)
         08/24/2015     1300 Statement re 1298 Administrative Motion to File Under Seal Exhibit V In Support of Oracle's
                             Opposition to Motion to Preclude Submission of Willfulness to Jury Googles Statement Regarding
                             Oracles Administrative Motion to Seal (ECF No. 1298) by Google Inc.. (Van Nest, Robert) (Filed on
                             8/24/2015) (Entered: 08/24/2015)
         08/24/2015     1301 ORDER DENYING ORACLE'S ADMINISTRATIVE MOTION TO FILE UNDER SEAL by
                             Hon. William Alsup denying 1298 Administrative Motion to File Under Seal.(whalc1, COURT




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                               STAFF) (Filed on 8/24/2015) (Entered: 08/24/2015)
         08/27/2015     1302 REPLY (re 1284 MOTION TO PRECLUDE SUBMISSION OF THE ISSUE OF WILLFULNESS TO
                             THE JURY ABSENT AN ELECTION OF STATUTORY DAMAGES re 1277 Order,, Case
                             Management Scheduling Order,, Set Deadlines, ) filed byGoogle Inc.. (Van Nest, Robert) (Filed on
                             8/27/2015) (Entered: 08/27/2015)
         08/31/2015     1303 EXHIBITS re 1299 Opposition/Response to Motion,,, 1301 Order on Administrative Motion to File
                             Under Seal Exhibit V to Ramsey Declaration in Support of Oracle's Opposition to Motion to Preclude
                             Submission of Willfulness to Jury filed byOracle America, Inc.. (Related document(s) 1299 , 1301 )
                             (Hurst, Annette) (Filed on 8/31/2015) (Entered: 08/31/2015)
         09/01/2015     1304 RESPONSE to re 1297 Order, Set Deadlines Google's Response to Request for Information on
                             Willfulness Evidence by Google Inc.. (Van Nest, Robert) (Filed on 9/1/2015) (Entered: 09/01/2015)
         09/01/2015     1305 Administrative Motion to File Under Seal Appendix A to Oracle's Statement Regarding Willfulness
                             Evidence Per ECF No. 1297 filed by Oracle America, Inc.. (Attachments: # 1 Declaration of Christina
                             Von der Ahe Rayburn, # 2 Appendix A (REDACTED), # 3 Appendix A (UNDER SEAL), # 4
                             Proposed Order, # 5 Certificate/Proof of Service)(Von Der Ahe, Christina) (Filed on 9/1/2015)
                             (Entered: 09/01/2015)
         09/01/2015     1306 RESPONSE to re 1297 Order, Set Deadlines Oracle's Statement Regarding Willfulness Evidence by
                             Oracle America, Inc.. (Attachments: # 1 Appendix A to Oracle's Statement Regarding Willfulness
                             Evidence Per ECF No. 1297, # 2 Declaration of Christina Von der Ahe Rayburn, # 3 Exhibit 1, # 4
                             Exhibit 2, # 5 Exhibit 3, # 6 Exhibit 4, # 7 Exhibit 5, # 8 Exhibit 6, # 9 Exhibit 7)(Hurst, Annette)
                             (Filed on 9/1/2015) (Entered: 09/01/2015)
         09/04/2015     1307 Statement re 1305 Administrative Motion to File Under Seal Appendix A to Oracle's Statement
                             Regarding Willfulness Evidence Per ECF No. 1297 by Google Inc.. (Van Nest, Robert) (Filed on
                             9/4/2015) (Entered: 09/04/2015)
         09/08/2015     1308 ORDER DENYING ORACLES MOTION TO FILE UNDER SEAL by Hon. William Alsup;
                             denying 1305 Administrative Motion to File Under Seal.(whalc1, COURT STAFF) (Filed on
                             9/8/2015) (Entered: 09/08/2015)
         09/10/2015     1309 RESPONSE to 1282 Order by Google Inc.. (Van Nest, Robert) (Filed on 9/10/2015) Modified on
                             9/11/2015 (dtmS, COURT STAFF). (Entered: 09/10/2015)
         09/10/2015     1310 Administrative Motion to File Under Seal filed by Oracle America, Inc.. (Attachments: # 1 Declaration
                             of Christina Von der Ahe Rayburn, # 2 Proposed Order, # 3 Exhibit Oracle's Statement Regarding Dr.
                             Kearl's Lack of Compliance with the Court's Order - REDACTED, # 4 Exhibit Oracle's Statement
                             Regarding Dr. Kearl's Lack of Compliance with the Court's Order - UNREDACTED, # 5 Exhibit 2
                             (Part 1) - UNREDACTED, # 6 Exhibit 2 (Part 2) - UNREDACTED, # 7 Exhibit 2 (Part 3) -
                             UNREDACTED, # 8 Exhibit 2 (Part 4) - UNREDACTED, # 9 Exhibit 2 (Part 5) - UNREDACTED, #
                             10 Exhibit 2 (Part 6) - UNREDACTED, # 11 Exhibit 2 (Part 7) - UNREDACTED, # 12 Exhibit 2 (Part
                             8) - UNREDACTED, # 13 Exhibit 2 (Part 9) - UNREDACTED, # 14 Exhibit 2 (Part 10) -
                             UNREDACTED, # 15 Exhibit 2 (Part 11) - UNREDACTED, # 16 Exhibit 2 (Part 12) -
                             UNREDACTED, # 17 Exhibit 2 (Part 13) - UNREDACTED, # 18 Exhibit 2 (Part 14) -
                             UNREDACTED, # 19 Exhibit 2 (Part 15) - UNREDACTED, # 20 Exhibit 2 (Part 16) -
                             UNREDACTED, # 21 Exhibit 2 (Part 17) - UNREDACTED, # 22 Exhibit 2 (Part 18) -
                             UNREDACTED, # 23 Exhibit 2 (Part 19) - UNREDACTED, # 24 Exhibit 2 (Part 20) -
                             UNREDACTED, # 25 Exhibit 2 (Part 21) - UNREDACTED, # 26 Exhibit 3 (Part 1) -
                             UNREDACTED, # 27 Exhibit 3 (Part 2) - UNREDACTED, # 28 Exhibit 3 (Part 3) - UNREDACTED,
                             # 29 Exhibit 3 (Part 4) - UNREDACTED, # 30 Exhibit 4 - UNREDACTED, # 31 Exhibit 5 -
                             UNREDACTED, # 32 Exhibit 6 - REDACTED, # 33 Exhibit 6 - UNREDACTED, # 34
                             Certificate/Proof of Service)(Von Der Ahe, Christina) (Filed on 9/10/2015) (Entered: 09/10/2015)
         09/10/2015     1311 RESPONSE to re 1282 Order, Set Deadlines Oracle's Statement Regarding Dr. Kearl's Lack of
                             Compliance with the Court's Order by Oracle America, Inc.. (Attachments: # 1 Declaration of Annette
                             L. Hurst in Support of Oracle's Statement Regarding Dr. Kearl's Lack of Compliance with the Court's
                             Order, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit
                             7, # 9 Exhibit 8 (Part 1), # 10 Exhibit 8 (Part 2), # 11 Exhibit 8 (Part 3))(Hurst, Annette) (Filed on
                             9/10/2015) (Entered: 09/10/2015)




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         09/11/2015            Electronic filing error. Document not properly linked to Entry 1282Corrected by Clerk's Office. No
                               further action is necessary. Re: 1309 Response ( Non Motion ) filed by Google Inc. (dtmS, COURT
                               STAFF) (Filed on 9/11/2015) (Entered: 09/11/2015)
         09/14/2015     1312 Appendix re 1306 Response ( Non Motion ), 1308 Order on Administrative Motion to File Under Seal
                             Appendix A to Oracles Statement Regarding Willfulness Evidence Per ECF No. 1297 filed byOracle
                             America, Inc.. (Related document(s) 1306 , 1308 ) (Hurst, Annette) (Filed on 9/14/2015) (Entered:
                             09/14/2015)
         09/14/2015     1313 RESPONSE to re 1311 Response ( Non Motion ),, Dr. Kearl's Response to Oracle's Statement
                             Regarding Dr. Kearl's Lack of Compliance with the Court's Order by John Lee Cooper. (Cooper, John)
                             (Filed on 9/14/2015) (Entered: 09/14/2015)
         09/14/2015     1314 STIPULATION WITH PROPOSED ORDER re 68 Protective Order Re Amendment To Protective
                             Order Re Time Period For Objecting To Disclosed Experts filed by Oracle America, Inc.. (Hurst,
                             Annette) (Filed on 9/14/2015) (Entered: 09/14/2015)
         09/15/2015     1315 ORDER RE AMENDMENT TO PROTECTIVE ORDER by Hon. William Alsup granting 1314
                             Stipulation.(whalc1, COURT STAFF) (Filed on 9/15/2015) (Entered: 09/15/2015)
         09/16/2015     1316 ORDER RE ORACLE'S STATEMENT REGARDING RULE 706 EXPERT re 1311 Response (
                             Non Motion ),, filed by Oracle America, Inc., 1310 Administrative Motion to File Under Seal
                             filed by Oracle America, Inc., 1313 Response ( Non Motion ) filed by John Lee Cooper Responses
                             due by 9/24/2015.. Signed by Judge Alsup on 9/16/15. (whalc1, COURT STAFF) (Filed on
                             9/16/2015) (Entered: 09/16/2015)
         09/17/2015     1317 Minute Entry for proceedings held before Hon. William Alsup: Motion Hearing held on
                             9/17/2015 re 1284 MOTION TO PRECLUDE SUBMISSION OF THE ISSUE OF
                             WILLFULNESS TO THE JURY ABSENT AN ELECTION OF STATUTORY DAMAGES filed
                             by Google Inc. Court Reporter Name Jo Ann Bryce. (wsn, COURT STAFF) (Date Filed:
                             9/17/2015) (Entered: 09/17/2015)
         09/17/2015     1318 TRANSCRIPT ORDER by Google Inc. for Court Reporter Jo Ann Bryce. (Mullen, Reid) (Filed on
                             9/17/2015) (Entered: 09/17/2015)
         09/17/2015     1319 TRANSCRIPT ORDER by Oracle America, Inc. for Court Reporter Jo Ann Bryce. (Von Der Ahe,
                             Christina) (Filed on 9/17/2015) (Entered: 09/17/2015)
         09/17/2015     1320 TRANSCRIPT ORDER by John Lee Cooper for Court Reporter Jo Ann Bryce. (Cooper, John) (Filed
                             on 9/17/2015) (Entered: 09/17/2015)
         09/18/2015     1321 ORDER RE WILLFULNESS AND BIFURCATION by Hon. William Alsup denying 1284
                             Motion to Preclude Willfulness.(whalc1, COURT STAFF) (Filed on 9/18/2015) (Entered:
                             09/18/2015)
         09/21/2015     1322 ORDER RE DEADLINE FOR MOTION TO DISQUALIFY RULE 706 EXPERT Motions due
                             by 10/15/2015.. Signed by Judge Alsup on 9/21/15. (whalc1, COURT STAFF) (Filed on 9/21/2015)
                             (Entered: 09/21/2015)
         09/22/2015     1323 Transcript of Proceedings held on 9/17/15, before Judge William H. Alsup. Court Reporter Jo Ann
                             Bryce, telephone number 510-910-5888, joann_bryce@cand.uscourts.gov. Per General Order No. 59
                             and Judicial Conference policy, this transcript may be viewed only at the Clerk's Office public terminal
                             or may be purchased through the Court Reporter until the deadline for the Release of Transcript
                             Restriction after 90 days. After that date, it may be obtained through PACER. Any Notice of Intent to
                             Request Redaction, if required, is due no later than 5 business days from date of this filing. (Re 1318
                             Transcript Order ) Release of Transcript Restriction set for 12/21/2015. (Related documents(s) 1318 )
                             (Bryce, Joann) (Filed on 9/22/2015) (Entered: 09/22/2015)
         09/22/2015            (Court only) Set/Reset Deadlines: Motions to disqualify Dr. Kearl due by 10/15/2015. (tlS, COURT
                               STAFF) (Filed on 9/22/2015) (Entered: 09/22/2015)
         09/22/2015            (Court only) TRANSCRIPT COPY DELIVERED re 1319 Transcript Order (Related documents(s)
                               1319 ) (Bryce, Joann) (Filed on 9/22/2015) (Entered: 09/22/2015)
         09/22/2015            (Court only) TRANSCRIPT COPY DELIVERED re 1320 Transcript Order (Related documents(s)
                               1320 ) (Bryce, Joann) (Filed on 9/22/2015) (Entered: 09/22/2015)



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         09/24/2015     1324 STIPULATION WITH PROPOSED ORDER re 1316 Order,, Set Deadlines, re Apple v. Samsung
                             Materials filed by Oracle America, Inc.. (Hurst, Annette) (Filed on 9/24/2015) (Entered: 09/24/2015)
         09/24/2015     1325 Letter from Dr. Kearl . (Cooper, John) (Filed on 9/24/2015) (Entered: 09/24/2015)
         09/24/2015     1326 Letter from Peter Bicks in Response to Order dated September 16, 2015. (Bicks, Peter) (Filed on
                             9/24/2015) (Entered: 09/24/2015)
         09/24/2015     1327 NOTICE by Samsung Electronics Co, Ltd. re 1316 Order,, Set Deadlines, 1311 Response ( Non
                             Motion ),, 1310 Administrative Motion to File Under Seal (Fazio, Michael) (Filed on 9/24/2015)
                             (Entered: 09/24/2015)
         09/25/2015     1328 ORDER RE STIPULATION AND SEALING MOTION by Hon. William Alsup denying 1310
                             granting 1324 Administrative Motion to File Under Seal.(whalc1, COURT STAFF) (Filed on
                             9/25/2015) (Entered: 09/25/2015)
         09/25/2015            (Court only) ***Motions terminated: 1324 STIPULATION WITH PROPOSED ORDER re 1316
                               Order,, Set Deadlines, re Apple v. Samsung Materials filed by Oracle America, Inc.. Granted by 1328
                               (whalc1, COURT STAFF) (Filed on 9/25/2015) (Entered: 09/25/2015)
         09/30/2015     1329 Statement re 1311 Response ( Non Motion ),, 1328 Order on Administrative Motion to File Under Seal
                             Statement Regarding Dr. Kearl's Lack of Compliance with the Court's Order and Exhibits by Oracle
                             America, Inc.. (Attachments: # 1 Exhibit 2 Part 1 of 21, # 2 Exhibit 2 Part 2 of 21, # 3 Exhibit 2 Part 3
                             of 21, # 4 Exhibit 2 Part 4 of 21, # 5 Exhibit 2 Part 5 of 21, # 6 Exhibit 2 Part 6 of 21, # 7 Exhibit 2
                             Part 7 of 21, # 8 Exhibit 2 Part 8 of 21, # 9 Exhibit 2 Part 9 of 21, # 10 Exhibit 2 Part 10 of 21, # 11
                             Exhibit 2 Part 11 of 21, # 12 Exhibit 2 Part 12 of 21, # 13 Exhibit 2 Part 13 of 21, # 14 Exhibit 2 Part
                             14 of 21, # 15 Exhibit 2 Part 15 of 21, # 16 Exhibit 2 Part 16 of 21, # 17 Exhibit 2 Part 17 of 21, # 18
                             Exhibit 2 Part 18 of 21, # 19 Exhibit 2 Part 19 of 21, # 20 Exhibit 2 Part 20 of 21, # 21 Exhibit 2 Part
                             21 of 21, # 22 Exhibit 3 Part 1 of 4, # 23 Exhibit 3 Part 2 of 4, # 24 Exhibit 3 Part 3 of 4, # 25 Exhibit 3
                             Part 4 of 4, # 26 Exhibit 4, # 27 Exhibit 5, # 28 Exhibit 6)(Hurst, Annette) (Filed on 9/30/2015)
                             (Entered: 09/30/2015)
         10/06/2015     1330 PDF Error per Attorney
                             Certificate of Interested Entities by Google Inc. (Supplemental) (Van Nest, Robert) (Filed on
                             10/6/2015) Modified on 10/7/2015 (dtmS, COURT STAFF). (Entered: 10/06/2015)
         10/06/2015     1331 Statement Google Inc.'s Supplemental Corporate Disclosure Statement by Google Inc.. (Van Nest,
                             Robert) (Filed on 10/6/2015) (Entered: 10/06/2015)
         10/06/2015     1332 Certificate of Interested Entities by Google Inc. identifying Corporate Parent Alphabet Inc. for Google
                             Inc.. (Supplemental) (Van Nest, Robert) (Filed on 10/6/2015) (Entered: 10/06/2015)
         10/06/2015     1333 ORDER, CASE MANAGEMENT SCHEDULING ORDER: Motions re opposing Expert
                             Reports due by 3/7/2016. Objections to schedule due by 10/13/2010 Jury Trial
                             ***TENTATIVELY*** set for 5/9/2016 07:30 AM in Courtroom 8, 19th Floor, San Francisco
                             before Hon. William Alsup. Pretrial Conference set for 4/27/2016 08:00 AM in Courtroom 8, 19th
                             Floor, San Francisco before Hon. William Alsup.. Signed by Judge Alsup on 10/6/15. (whalc1,
                             COURT STAFF) (Filed on 10/6/2015) (Entered: 10/06/2015)
         10/13/2015     1334 STIPULATION WITH [PROPOSED] ORDER re 1333 Order; -Joint Stipulation and [Proposed]
                             Order re Case Schedule filed by Oracle America, Inc.. (Hurst, Annette) (Filed on 10/13/2015)
                             (Entered: 10/13/2015)
         10/13/2015     1335 OBJECTIONS to re 1333 Order; -Oracle's Objection to Tentative Trial Date filed by Oracle America,
                             Inc.. (Bicks, Peter) (Filed on 10/13/2015) (Entered: 10/13/2015)
         10/14/2015     1336 NOTICE of Appearance by Reid Patrick Mullen Keker & Van Nest LLP (Mullen, Reid) (Filed on
                             10/14/2015) (Entered: 10/14/2015)
         10/14/2015     1337 NOTICE of Appearance by Elizabeth Ann Egan Keker & Van Nest LLP (Egan, Elizabeth) (Filed on
                             10/14/2015) (Entered: 10/14/2015)
         10/14/2015     1338 NOTICE of Appearance by Sarah Brienne Faulkner Keker & Van Nest LLP (Faulkner, Sarah) (Filed on
                             10/14/2015) (Entered: 10/14/2015)




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         10/15/2015     1339 Administrative Motion to File Under Seal filed by Oracle America, Inc.. (Attachments: # 1 Declaration
                             of Christina Von der Ahe Rayburn, # 2 Exhibit Motion to Disqualify (Public), # 3 Exhibit Motion to
                             Disqualify (Nonpublic), # 4 Exhibit 5 (Nonpublic), # 5 Proposed Order, # 6 Certificate/Proof of
                             Service)(Von Der Ahe, Christina) (Filed on 10/15/2015) (Entered: 10/15/2015)
         10/15/2015     1340 MOTION to Disqualify the Rule 706 Expert re 1322 Order, Set Deadlines/Hearings filed by Oracle
                             America, Inc.. Motion Hearing set for 11/19/2015 08:00 AM in Courtroom 8, 19th Floor, San
                             Francisco before Hon. William Alsup. Responses due by 10/29/2015. Replies due by 11/5/2015.
                             (Attachments: # 1 Declaration of Peter A. Bicks, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit
                             4, # 6 Exhibit 5, # 7 Proposed Order)(Bicks, Peter) (Filed on 10/15/2015) (Entered: 10/15/2015)
         10/16/2015     1341 REQUEST FOR INFORMATION re 1335 Objection filed by Oracle America, Inc. Responses
                             due by 10/20/2015.. Signed by Judge Alsup on 10/16/15. (whalc1, COURT STAFF) (Filed on
                             10/16/2015) (Entered: 10/16/2015)
         10/19/2015     1342 ORDER RE BRIEFING ON ORACLE'S MOTION TO DISQUALIFY DR. KEARL re 1340
                             MOTION to Disqualify the Rule 706 Expert re 1322 Order, Set Deadlines/Hearings filed by
                             Oracle America, Inc.. Signed by Judge Alsup on 10/19/15. (whalc1, COURT STAFF) (Filed on
                             10/19/2015) (Entered: 10/19/2015)
         10/19/2015     1343 Declaration of Mark D. Selwyn in Support of 1339 Administrative Motion to File Under Seal filed
                             byOracle America, Inc for Non-Party Apple Inc. (Related document(s) 1339 ) (Bicks, Peter) (Filed on
                             10/19/2015) Modified on 10/19/2015 (dtmS, COURT STAFF). Modified on 10/19/2015 (dtmS,
                             COURT STAFF). (Entered: 10/19/2015)
         10/19/2015     1344 NOTICE by Samsung Electronics Co, Ltd. re 1339 Administrative Motion to File Under Seal (Fazio,
                             Michael) (Filed on 10/19/2015) (Entered: 10/19/2015)
         10/20/2015     1345 ORDER GRANTING IN PART AND DENYING IN PART ORACLE'S SEALING MOTION by
                             Hon. William Alsup granting in part and denying in part 1339 Administrative Motion to File
                             Under Seal.(whalc1, COURT STAFF) (Filed on 10/20/2015) (Entered: 10/20/2015)
         10/20/2015     1346 RESPONSE to re 1341 Order, Set Deadlines Oracle's Response to the Court's Request for Information
                             by Oracle America, Inc.. (Bicks, Peter) (Filed on 10/20/2015) (Entered: 10/20/2015)
         10/20/2015     1347 RESPONSE to re 1345 Order on Administrative Motion to File Under Seal, 1340 MOTION to
                             Disqualify the Rule 706 Expert re 1322 Order, Set Deadlines/Hearings by Oracle America, Inc..
                             (Attachments: # 1 Exhibit 5 (pages 1 - 4))(Bicks, Peter) (Filed on 10/20/2015) (Entered: 10/20/2015)
         10/20/2015     1348 RESPONSE to re 1335 Objection to Tentative Trial Date by Google Inc.. (Van Nest, Robert) (Filed on
                             10/20/2015) (Entered: 10/20/2015)
         10/26/2015     1349 ORDER RE DAMAGE STUDIES Status Report due by 11/9/2015.. Signed by Judge Alsup on
                             10/26/15. (whalc1, COURT STAFF) (Filed on 10/26/2015) (Entered: 10/26/2015)
         10/26/2015     1350 NOTICE by Google Inc. of Stipulation Re: Deductions (Van Nest, Robert) (Filed on 10/26/2015)
                             (Entered: 10/26/2015)
         10/28/2015     1351 Declaration of Dr. James R Kearl (re 1340 MOTION to Disqualify the Rule 706 Expert ) filed byJohn
                             Lee Cooper. (Cooper, John) (Filed on 10/28/2015) Modified on 10/28/2015 (dtmS, COURT STAFF).
                             (Entered: 10/28/2015)
         10/29/2015     1352 RESPONSE (re 1340 MOTION to Disqualify the Rule 706 Expert re 1322 Order, Set
                             Deadlines/Hearings ) filed byGoogle Inc.. (Van Nest, Robert) (Filed on 10/29/2015) (Entered:
                             10/29/2015)
         11/02/2015     1353 Letter from Counsel for Oracle America, Inc. re Letter Motion to Compel Production of Financial
                             Documents. (Hurst, Annette) (Filed on 11/2/2015) (Entered: 11/02/2015)
         11/02/2015     1354 REQUEST FOR RESPONSE FROM RULE 706 EXPERT re 1334 Responses due by 11/4/2015 at
                             NOON. Signed by Judge Alsup on 11/2/2015. (whalc1, COURT STAFF) (Filed on 11/2/2015)
                             (Entered: 11/02/2015)
         11/02/2015     1355 Letter from John L. Cooper on behalf of the Court's Rule 706 expert, Dr. James Kearl. (Cooper, John)
                             (Filed on 11/2/2015) (Entered: 11/02/2015)




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         11/03/2015     1356 ORDER APPROVING MODIFIED SCHEDULE FOR EXPERT REPORTS by Hon. William
                             Alsup granting 1334 Stipulation.(whalc1, COURT STAFF) (Filed on 11/3/2015) (Entered:
                             11/03/2015)
         11/03/2015     1357 ORDER SETTING HEARING ON PLAINTIFF'S DISCOVERY DISPUTE [re 1353 Letter filed
                             by Oracle America, Inc.]. Response due by noon on 11/6/2015. Three-hour further meet-and-
                             confer in Court's jury room from 8:00--11:00 AM 11/10/2015. Discovery Hearing set for
                             11/10/2015 11:00 AM in Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup.
                             Signed by Judge William Alsup on 11/3/2015. (whasec, COURT STAFF) (Filed on 11/3/2015)
                             (Entered: 11/03/2015)
         11/04/2015     1358 REPLY (re 1340 MOTION to Disqualify the Rule 706 Expert re 1322 Order, Set Deadlines/Hearings )
                             filed byOracle America, Inc.. (Bicks, Peter) (Filed on 11/4/2015) (Entered: 11/04/2015)
         11/06/2015     1359 Letter from Robert A. Van Nest Response to Letter Motion to Compel Financial Information. (Van
                             Nest, Robert) (Filed on 11/6/2015) (Entered: 11/06/2015)
         11/06/2015     1360 NOTICE RE OPPORTUNITIES FOR YOUNG ATTORNEYS re 1340 MOTION to Disqualify
                             the Rule 706 Expert. Signed by Judge Alsup on 11/6/15. (whalc1, COURT STAFF) (Filed on
                             11/6/2015) (Entered: 11/06/2015)
         11/09/2015     1361 Letter from Counsel for Oracle America, Inc. Oracle's Reply to Google's Response re: Letter Motion to
                             Compel Financial Information. (Hurst, Annette) (Filed on 11/9/2015) (Entered: 11/09/2015)
         11/09/2015     1362 RESPONSE to re 1349 Order, Set Deadlines Google's Response to the Court's October 26 2015 Order
                             Re: Damage Studies by Google Inc.. (Van Nest, Robert) (Filed on 11/9/2015) (Entered: 11/09/2015)
         11/09/2015     1363 Administrative Motion to File Under Seal Portions of Oracle's Response to Court's Order re Damages
                             Studies (ECF No. 1349) filed by Oracle America, Inc.. (Attachments: # 1 Declaration of Robert L.
                             Uriarte, # 2 Oracle's Response to Court Order re: Damages Studies (Redacted), # 3 Oracle's Response
                             to Court Order re Damages Studies (Under seal, unredacted), # 4 Proposed Order, # 5 Certificate/Proof
                             of Service)(Hurst, Annette) (Filed on 11/9/2015) (Entered: 11/09/2015)
         11/09/2015     1364 RESPONSE to re 1349 Order, Set Deadlines Oracle's Response to Court's Order re Damages Studies
                             by Oracle America, Inc.. (Hurst, Annette) (Filed on 11/9/2015) (Entered: 11/09/2015)
         11/10/2015            Set/Reset Hearing Discovery Hearing set for 11/10/2015 10:45 AM in Courtroom 8, 19th Floor, San
                               Francisco before Hon. William Alsup. (whalc1, COURT STAFF) (Filed on 11/10/2015) (Entered:
                               11/10/2015)
         11/10/2015     1365 ORDER REFERRING FURTHER DISCOVERY DISPUTES TO MAGISTRATE JUDGE.
                             Signed by Judge Alsup on 11/10/15. (whalc1, COURT STAFF) (Filed on 11/10/2015) (Entered:
                             11/10/2015)
         11/10/2015     1366 Notice of Reference and Order re: Discovery Procedures re 1365 Order Referring Case to
                             Magistrate Judge for Discovery. Signed by Judge Donna M. Ryu on 11/10/2015. (dmrlc3, COURT
                             STAFF) (Filed on 11/10/2015) (Entered: 11/10/2015)
         11/10/2015     1367 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 305, receipt number 0971-9984135.) filed
                             by Oracle America, Inc.. (Attachments: # 1 Certificate of Good Standing)(Bush, Matthew) (Filed on
                             11/10/2015) (Entered: 11/10/2015)
         11/10/2015     1373 Minute Entry for proceedings held before Hon. William Alsup: Discovery Hearing held on
                             11/10/2015.Court Reporter Name Pam Batalo. Plaintiff Attorney Annettte Hurst, Robert Uriate,
                             Lisa Simpson, Gabriel Ramsey, Andrew Kim, Ruchika Agrawal. Defendant Attorney Daniel
                             Purcell, Christa Anderson, Beth Egan. Attachment minute order.(dt, COURT STAFF) (Date
                             Filed: 11/10/2015) (Entered: 11/12/2015)
         11/11/2015     1368 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 305, receipt number 0971-9984583.) filed
                             by Oracle America, Inc.. (Lewis-Gruss, Ayanna) (Filed on 11/11/2015) (Entered: 11/11/2015)
         11/11/2015     1369 EXHIBITS re 1368 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 305, receipt number
                             0971-9984583.) Certificate of Good Standing for Ayanna Lewis-Gruss in Support of Application for
                             Admission of Attorney Pro Hac Vice filed byOracle America, Inc.. (Related document(s) 1368 )
                             (Lewis-Gruss, Ayanna) (Filed on 11/11/2015) (Entered: 11/11/2015)




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         11/12/2015     1370 TRANSCRIPT ORDER by Google Inc. for Court Reporter Pam Batalo. (Mullen, Reid) (Filed on
                             11/12/2015) (Entered: 11/12/2015)
         11/12/2015     1371 TRANSCRIPT ORDER by Oracle America, Inc. for Court Reporter Pam Batalo. (Ramsey, Gabriel)
                             (Filed on 11/12/2015) (Entered: 11/12/2015)
         11/12/2015     1372 Transcript of Proceedings held on 11/10/15, before Judge Alsup. Court Reporter Pamela A. Batalo,
                             telephone number 626-688-7509; pamela_batalo@cand.uscourts.gov. Per General Order No. 59 and
                             Judicial Conference policy, this transcript may be viewed only at the Clerk's Office public terminal or
                             may be purchased through the Court Reporter/Transcriber until the deadline for the Release of
                             Transcript Restriction. After that date it may be obtained through PACER. Any Notice of Intent to
                             Request Redaction, if required, is due no later than 5 business days from date of this filing. (Re 1371
                             Transcript Order, 1370 Transcript Order ) Redaction Request due 12/3/2015. Redacted Transcript
                             Deadline set for 12/14/2015. Release of Transcript Restriction set for 2/10/2016. (Related documents(s)
                             1371 , 1370 ) (Batalo, Pam) (Filed on 11/12/2015) (Entered: 11/12/2015)
         11/13/2015     1374 Declaration of Edward A. Bayley in Support of 1363 Administrative Motion to File Under Seal
                             Portions of Oracle's Response to Court's Order re Damages Studies (ECF No. 1349) filed byGoogle
                             Inc.. (Related document(s) 1363 ) (Bayley, Edward) (Filed on 11/13/2015) (Entered: 11/13/2015)
         11/17/2015     1375 ORDER GRANTING SEALING MOTION by Hon. William Alsup granting 1363
                             Administrative Motion to File Under Seal.(whalc1, COURT STAFF) (Filed on 11/17/2015)
                             (Entered: 11/17/2015)
         11/17/2015     1376 ORDER GRANTING APPLICATION FOR ADMISSION OF ATTORNEY MATTHEW L.
                             BUSH PRO HAC VICE by Hon. William Alsup granting 1367 Motion for Pro Hac Vice.(whalc1,
                             COURT STAFF) (Filed on 11/17/2015) (Entered: 11/17/2015)
         11/17/2015     1377 ORDER GRANTING APPLICATION FOR ADMISSION OF ATTORNEY AYANNA
                             LEWIS-GRUSS PRO HAC VICE by Hon. William Alsup granting 1368 Motion for Pro Hac
                             Vice.(whalc1, COURT STAFF) (Filed on 11/17/2015) (Entered: 11/17/2015)
         11/19/2015     1378 Minute Entry for proceedings held before Hon. William Alsup: Motion Hearing held on
                             11/19/2015 re 1340 MOTION to Disqualify the Rule 706 Expert re 1322 Order filed by Oracle
                             America, Inc. Court Reporter Name Katherine Sullivan. Plaintiff Attorney Annette Hurst;
                             Ruchika Agrawal; Matthew Bush; Debra Miller; Peter Bicks. Defendant Attorney Daniel
                             Purcell; Robert Van Nest; Winston Liaw; John Cooper. Attachment minute order.(dt, COURT
                             STAFF) (Date Filed: 11/19/2015) (Entered: 11/19/2015)
         11/19/2015     1379 TRANSCRIPT ORDER by Oracle America, Inc. for Court Reporter Katherine Sullivan. (Ramsey,
                             Gabriel) (Filed on 11/19/2015) (Entered: 11/19/2015)
         11/19/2015     1380 TRANSCRIPT ORDER by Google Inc. for Court Reporter Katherine Sullivan. (Mullen, Reid) (Filed
                             on 11/19/2015) (Entered: 11/19/2015)
         11/19/2015     1381 TRANSCRIPT ORDER by John Lee Cooper for Court Reporter Katherine Sullivan. (Cooper, John)
                             (Filed on 11/19/2015) (Entered: 11/19/2015)
         11/20/2015     1382 Transcript of Proceedings held on 11/19/15, before Judge William H. Alsup. Court
                             Reporter/Transcriber Katherine Sullivan, telephone number 415-794-6659. Per General Order No. 59
                             and Judicial Conference policy, this transcript may be viewed only at the Clerk's Office public terminal
                             or may be purchased through the Court Reporter/Transcriber until the deadline for the Release of
                             Transcript Restriction. After that date it may be obtained through PACER. Any Notice of Intent to
                             Request Redaction, if required, is due no later than 5 business days from date of this filing. (Re 1381
                             Transcript Order, 1379 Transcript Order, 1380 Transcript Order ) Redaction Request due 12/11/2015.
                             Redacted Transcript Deadline set for 12/21/2015. Release of Transcript Restriction set for 2/18/2016.
                             (Related documents(s) 1381 , 1379 , 1380 ) (Sullivan, Katherine) (Filed on 11/20/2015) (Entered:
                             11/20/2015)
         11/23/2015     1383 ORDER DENYING ORACLES MOTION TO DISQUALIFY RULE 706 EXPERT by Hon.
                             William Alsup denying 1340 .(whalc1, COURT STAFF) (Filed on 11/23/2015) (Entered:
                             11/23/2015)
         11/24/2015     1384 [TENTATIVE] ORDER CLARIFYING ASSIGNMENT OF RULE 706 EXPERT Responses due
                             by 12/2/2015 at NOON.. Signed by Judge Alsup on 11/24/15. (whalc1, COURT STAFF) (Filed on



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                               11/24/2015) (Entered: 11/24/2015)
         11/24/2015     1385 Discovery Letter BriefJoint Letter Regarding Oracle's Motion to Compel Production of Documents
                             Improperly Withheld by Google as Privileged filed by Oracle America, Inc.. (Attachments: # 1 Exhibit
                             to Joint Letter, # 2 Certificate/Proof of Service re: Notice of Manual Filing)(Bicks, Peter) (Filed on
                             11/24/2015) (Entered: 11/24/2015)
         11/24/2015     1386 Administrative Motion to File Under Seal Joint Letter Regarding Oracle's Motion to Compel Google to
                             Include Additional ESI Custodians filed by Oracle America, Inc.. (Attachments: # 1 Declaration of
                             Robert L. Uriarte, # 2 Joint Letter re Oracle's Motion to Compel Google to Include Additional ESI
                             Custodians (Redacted), # 3 Joint Letter re Oracle's Motion to Compel Google to Include Additional
                             ESI Custodians (Under seal, unredacted), # 4 Proposed Order, # 5 Certificate/Proof of Service)(Bicks,
                             Peter) (Filed on 11/24/2015) (Entered: 11/24/2015)
         11/24/2015     1387 Discovery Letter BriefJoint Letter Regarding Oracle's Motion to Compel Google to Include Additional
                             ESI Custodians filed by Oracle America, Inc.. (Bicks, Peter) (Filed on 11/24/2015) (Entered:
                             11/24/2015)
         11/25/2015     1388 Declaration of Edward A. Bayley in Support of 1386 Administrative Motion to File Under Seal Joint
                             Letter Regarding Oracle's Motion to Compel Google to Include Additional ESI Custodians filed
                             byGoogle Inc.. (Related document(s) 1386 ) (Bayley, Edward) (Filed on 11/25/2015) (Entered:
                             11/25/2015)
         11/30/2015     1389 Administrative Motion to File Under Seal Exhibit to Joint Letter Re: Oracle's Motion to Compel
                             Production of Documents Improperly Withheld as Privileged, Manually Filed on November 24, 2015
                             filed by Oracle America, Inc.. (Attachments: # 1 Declaration of Robert L. Uriarte, # 2 Proposed Order,
                             # 3 Certificate/Proof of Service)(Bicks, Peter) (Filed on 11/30/2015) (Entered: 11/30/2015)
         11/30/2015     1390 Declaration of Reid P. Mullen in Support of 1389 Administrative Motion to File Under Seal Exhibit to
                             Joint Letter Re: Oracle's Motion to Compel Production of Documents Improperly Withheld as
                             Privileged, Manually Filed on November 24, 2015 filed byGoogle Inc.. (Related document(s) 1389 )
                             (Mullen, Reid) (Filed on 11/30/2015) (Entered: 11/30/2015)
         12/01/2015     1391 Letter from John L. Cooper on behalf of the Court's Rule 706 Expert, Dr. James Kearl in Response to
                             November 24, 2015 Order Clarifying Assignment of Rule 706 Expert. (Cooper, John) (Filed on
                             12/1/2015) (Entered: 12/01/2015)
         12/02/2015     1392 Statement re 1384 Set Deadlines, Order Comment on Tentative Order Clarifying Assignment of Rule
                             706 Expert by Oracle America, Inc.. (Bicks, Peter) (Filed on 12/2/2015) (Entered: 12/02/2015)
         12/02/2015     1393 Statement re 1384 Set Deadlines, Order Google Inc.'s Comment on Tentative Order Clarifying
                             Assignment of Rule 706 Expert by Google Inc.. (Van Nest, Robert) (Filed on 12/2/2015) (Entered:
                             12/02/2015)
         12/03/2015     1394 Discovery Order re Discovery Letters and Sealing Motions: 1386 , 1387 , 1389 , 1385 . Signed by
                             Judge Donna M. Ryu on 12/3/15. (dmrlc3, COURT STAFF) (Filed on 12/3/2015) (Entered:
                             12/03/2015)
         12/09/2015     1395 ORDER CLARIFYING ASSIGNMENT OF RULE 706 EXPERT. Signed by Judge Alsup on
                             12/9/15. (whalc1, COURT STAFF) (Filed on 12/9/2015) (Entered: 12/09/2015)
         12/14/2015     1396 Discovery Letter BriefJoint Letter Regarding Oracle's Motion for Protective Order Regarding
                             Late-Noticed Third-Party Deposition filed by Oracle America, Inc.. (Attachments: # 1 Exhibit to Joint
                             Letter (Google Subpoena to IBM))(Hurst, Annette) (Filed on 12/14/2015) (Entered: 12/14/2015)
         12/15/2015     1397 Letter from Robert Van Nest Regarding Discovery Letter Brief. (Van Nest, Robert) (Filed on
                             12/15/2015) (Entered: 12/15/2015)
         12/15/2015     1398 CLERK'S NOTICE The court is in receipt of Oracle's motion for a protective order for a deposition
                             scheduled for tomorrow, December 16, 2015. 1396 . The court will hold an emergency telephonic
                             hearing on the matter today at 1:15 p.m. Oracle shall provide a conference call number for the hearing
                             to Google and the court. Oracle shall provide the conference call number to the court by email to
                             dmrpo@cand.uscourts.gov as soon as possible, and before 1:00 p.m. Due to the last minute nature of
                             the hearing, the hearing will not be recorded.. (This is a text-only entry generated by the court. There is
                             no document associated with this entry.), Set/Reset Deadlines as to 1396 Discovery Letter BriefJoint




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CAND-ECF                                                            https://ecf.cand.circ9.dcn/cgi-bin/DktRpt.pl?767196345698506-L_1_0-1
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                               Letter Regarding Oracle's Motion for Protective Order Regarding Late-Noticed Third-Party
                               Deposition. Motion Hearing set for 12/15/2015 01:15 PM before Magistrate Judge Donna M. Ryu.
                               (dmrlc3, COURT STAFF) (Filed on 12/15/2015) (Entered: 12/15/2015)
         12/15/2015     1399 Minute Entry for proceedings held before Magistrate Judge Donna M. Ryu: Telephonic Hearing
                             held on 12/15/2015 re 1396 Joint Discovery Letter Brief. See minute Order for particulars. FTR
                             Time Not Recorded. Attachment Civil Discovery Hearing Minute Order. (ig, COURT STAFF)
                             (Date Filed: 12/15/2015) (Entered: 12/15/2015)
         12/15/2015            (Court only) ***Motions terminated: 1396 Joint Discovery Letter Brief (ig, COURT STAFF) (Filed on
                               12/15/2015) (Entered: 12/15/2015)
         12/16/2015     1400 STIPULATION WITH PROPOSED ORDER RE THE DEPOSITIONS OF HENRIK STAHL AND
                             HENRIQUE DE CASTRO filed by Oracle America, Inc.. (Holtzman, Steven) (Filed on 12/16/2015)
                             (Entered: 12/16/2015)
         12/17/2015     1401 JOINT STIPULATION AND ORDER RE THE DEPOSITIONS OF HENRIK STAHL AND
                             HENRIQUE DE CASTRO by Hon. William Alsup granting 1400 Stipulation.(whalc1, COURT
                             STAFF) (Filed on 12/17/2015) (Entered: 12/17/2015)
         12/17/2015     1402 MOTION for Relief from Non-Dispositive Pretrial Order of Magistrate Judge re 1394 Discovery
                             Order, Terminate Motions filed by Oracle America, Inc.. Responses due by 12/31/2015. Replies due by
                             1/7/2016. (Attachments: # 1 Proposed Order)(Bicks, Peter) (Filed on 12/17/2015) (Entered:
                             12/17/2015)
         12/23/2015     1403 Letter Brief Regarding Motion to Compel Compliance and for Sanctions filed byOracle America, Inc..
                             (Hurst, Annette) (Filed on 12/23/2015) (Entered: 12/23/2015)
         12/23/2015     1404 Discovery Letter BriefJoint Letter Regarding Oracle's Motion to Compel Production and Deposition
                             Testimony Re: Google Search Distribution Agreements filed by Oracle America, Inc.. (Hurst, Annette)
                             (Filed on 12/23/2015) (Entered: 12/23/2015)
         12/23/2015     1405 Discovery Letter BriefJoint Letter Regarding Oracle's Motion to Compel Rule 30(b)(6) Testimony re:
                             Oracle Notice Topic 8 filed by Oracle America, Inc.. (Hurst, Annette) (Filed on 12/23/2015) (Entered:
                             12/23/2015)
         12/24/2015     1406 Discovery Letter Briefre Oracle's Motion to Compel Google to Produce Rule 30(b)(6) Witness on
                             Oracle Notice Topics 2-4 filed by Oracle America, Inc.. (Hurst, Annette) (Filed on 12/24/2015)
                             (Entered: 12/24/2015)
         12/24/2015     1407 ORDER SETTING HEARING ON DISCOVERY DISPUTE re 1403 Letter Brief filed by Oracle
                             America, Inc. Discovery Hearing set for 1/5/2016 10:00 AM in Courtroom 8, 19th Floor, San
                             Francisco before Hon. William Alsup.. Signed by Judge Alsup on 12/24/15. (whalc1, COURT
                             STAFF) (Filed on 12/24/2015) (Entered: 12/24/2015)
         12/24/2015     1408 RESPONSE (re 1406 Discovery Letter Briefre Oracle's Motion to Compel Google to Produce Rule
                             30(b)(6) Witness on Oracle Notice Topics 2-4 ) filed byGoogle Inc.. (Van Nest, Robert) (Filed on
                             12/24/2015) (Entered: 12/24/2015)
         12/30/2015     1409 Letter Brief filed byGoogle Inc.. (Attachments: # 1 Exhibit A)(Purcell, Daniel) (Filed on 12/30/2015)
                             (Entered: 12/30/2015)
         12/30/2015     1410 ORDER Setting Hearing on Motion 1404 Discovery Letter BriefJoint Letter Regarding Oracle's
                             Motion to Compel Production and Deposition Testimony Re: Google Search Distribution
                             Agreements : Motion Hearing set for 1/14/2016 11:00 AM before Magistrate Judge Donna M.
                             Ryu. Order Denying Discovery Letters [1405, 1406, 1408] without prejudice. Signed by Judge
                             Donna M. Ryu on 12/30/2015. (dmrlc3, COURT STAFF) (Filed on 12/30/2015) (Entered:
                             12/30/2015)
         12/30/2015            (Court only) ***Motions terminated: 1405 Discovery Letter BriefJoint Letter Regarding Oracle's
                               Motion to Compel Rule 30(b)(6) Testimony re: Oracle Notice Topic 8 filed by Oracle America, Inc.,
                               1406 Discovery Letter Briefre Oracle's Motion to Compel Google to Produce Rule 30(b)(6) Witness on
                               Oracle Notice Topics 2-4 filed by Oracle America, Inc.. (dmrlc3, COURT STAFF) (Filed on
                               12/30/2015) (Entered: 12/30/2015)




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         01/04/2016     1411 REQUEST FOR RESPONSE re 1402 Response Due 1/5/16 at NOON.. Signed by Judge Alsup on
                             1/4/16. (whalc1, COURT STAFF) (Filed on 1/4/2016) (Entered: 01/04/2016)
         01/04/2016     1412 Statement GOOGLE'S STATEMENT RE DAMAGES PERIODS by Google Inc.. (Van Nest, Robert)
                             (Filed on 1/4/2016) (Entered: 01/04/2016)
         01/04/2016     1413 Discovery Letter Brief Joint Letter re: Oracle's Motion to Compel Rule 30(b)(6) Deposition on Topics
                             2, 3, 4, and 8 filed by Oracle America, Inc.. (Hurst, Annette) (Filed on 1/4/2016) (Entered: 01/04/2016)
         01/05/2016     1414 RESPONSE (re 1402 MOTION for Relief from Non-Dispositive Pretrial Order ) filed byGoogle Inc..
                             (Van Nest, Robert) (Filed on 1/5/2016) Modified on 1/5/2016 (dtmS, COURT STAFF). (Entered:
                             01/05/2016)
         01/05/2016     1415 RESPONSE re 1412 Statement re Damages Period. by Oracle America, Inc.. (Hurst, Annette) (Filed on
                             1/5/2016) Modified on 1/6/2016 (dtmS, COURT STAFF). (Entered: 01/05/2016)
         01/05/2016     1418 Minute Entry for proceedings held before Hon. William Alsup: Discovery Hearing held on
                             1/5/2016. Parties met and conferred in the Court's jury room. Dispute resolved. FTR Time 0.
                             Plaintiff Attorney Annette Hurst; Lisa Simpson; Robert Uriarte; Ayanna Lewis-Gruss; Ruchika
                             Agrawal. Defendant Attorney Daniel Purcell; Christa Anderson. Attachment minute order.(dl,
                             COURT STAFF) (Date Filed: 1/5/2016) (Entered: 01/07/2016)
         01/06/2016     1416 STIPULATION WITH PROPOSED ORDER re 1413 Discovery Letter Brief Joint Letter re: Oracle's
                             Motion to Compel Rule 30(b)(6) Deposition on Topics 2, 3, 4, and 8, 1403 Letter Brief Stipulation and
                             Proposed Order re Motions to Compel filed by Oracle America, Inc.. (Hurst, Annette) (Filed on
                             1/6/2016) (Entered: 01/06/2016)
         01/07/2016     1417 STIPULATION AND ORDER RE: MOTIONS TO COMPEL re 1403 and 1413 by Hon. William
                             Alsup granting 1416 Stipulation.(whalc1, COURT STAFF) (Filed on 1/7/2016) (Entered:
                             01/07/2016)
         01/07/2016            (Court only) ***Motions terminated: 1413 Discovery Letter Brief Joint Letter re: Oracle's Motion to
                               Compel Rule 30(b)(6) Deposition on Topics 2, 3, 4, and 8 filed by Oracle America, Inc.. (dmrlc3,
                               COURT STAFF) (Filed on 1/7/2016) (Entered: 01/07/2016)
         01/07/2016     1419 REPLY (re 1402 MOTION for Relief from Non-Dispositive Pretrial Order of Magistrate Judge re 1394
                             Discovery Order, Terminate Motions ) filed byOracle America, Inc.. (Bicks, Peter) (Filed on 1/7/2016)
                             (Entered: 01/07/2016)
         01/11/2016     1420 ORDER DENYING MOTION FOR RELIEF FROM NON-DISPOSITIVE PRETRIAL ORDER
                             OF MAGISTRATE JUDGE by Hon. William Alsup denying 1402 (whalc1, COURT STAFF)
                             (Filed on 1/11/2016) (Entered: 01/11/2016)
         01/12/2016     1421 NOTICE of Appearance by Maya Beth Karwande (Karwande, Maya) (Filed on 1/12/2016) (Entered:
                             01/12/2016)
         01/12/2016     1422 NOTICE RE TRIAL DATE re 1333 Order,, Set Deadlines,, Case Management Scheduling Order,
                             1335 Objection filed by Oracle America, Inc.. Signed by Judge Alsup on 1/12/16. (whalc1,
                             COURT STAFF) (Filed on 1/12/2016) (Entered: 01/12/2016)
         01/12/2016     1423 RESPONSE to re 1415 Statement REPLY TO ORACLES RESPONSE TO GOOGLES STATEMENT RE
                             DAMAGES PERIOD by Google Inc.. (Van Nest, Robert) (Filed on 1/12/2016) (Entered: 01/12/2016)
         01/12/2016            Set/Reset Hearing re 1422 Order Jury Selection/Trial set for 5/9/2016 07:30 AM before Hon. William
                               Alsup. Further Jury Trial set for 5/10/2016 5/11/2016 5/12/2016 5/13/2016 5/16/2016 5/17/2016
                               5/18/2016 5/19/2016 5/20/2016 07:30 AM in Courtroom 8, 19th Floor, San Francisco before Hon.
                               William Alsup. (dl, COURT STAFF) (Filed on 1/12/2016) (Entered: 01/26/2016)
         01/14/2016     1424 STIPULATION WITH PROPOSED ORDER TO EXTEND DEADLINE TO DEPOSE HENRIQUE DE
                             CASTRO filed by Oracle America, Inc.. (Holtzman, Steven) (Filed on 1/14/2016) (Entered:
                             01/14/2016)
         01/14/2016     1428 Minute Entry for proceedings held before Magistrate Judge Donna M. Ryu: Motion Hearing
                             held on 1/14/2016 re 1404 Joint Discovery Letter Brief. The parties shall meet and confer and
                             jointly submit a proposed order to the court consistent with the court's guidance at the hearing
                             by 1/19/2016 09:00 AM.Court Reporter Name Diane Skillman. Attachment Civil Law and



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                               Motion Minute Order.(ig, COURT STAFF) (Date Filed: 1/14/2016). (Entered: 01/15/2016)
         01/15/2016     1425 TRANSCRIPT ORDER by Google Inc. for Court Reporter Diane Skillman. (Mullen, Reid) (Filed on
                             1/15/2016) (Entered: 01/15/2016)
         01/15/2016     1426 TRANSCRIPT ORDER by Oracle America, Inc. for Court Reporter Diane Skillman. (Ramsey,
                             Gabriel) (Filed on 1/15/2016) (Entered: 01/15/2016)
         01/15/2016     1427 Error, See 1429
                             ORDER EXTENDING DEADLINE TO DEPOSE HENRIQUE DE CASTRO by Hon. William Alsup
                             granting 1424 Stipulation. Deadline is 2/11/16(whalc1, COURT STAFF) (Filed on 1/15/2016)
                             Modified on 1/19/2016 (dtmS, COURT STAFF). (Entered: 01/15/2016)
         01/15/2016     1429 ***CORRECTED*** ORDER EXTENDING DEADLINE TO DEPOSE HENRIQUE DE
                             CASTRO. Signed by Judge Alsup on 1/15/16. (whalc1, COURT STAFF) (Filed on 1/15/2016)
                             (Entered: 01/15/2016)
         01/19/2016     1430 Proposed Order re 1404 Discovery Letter BriefJoint Letter Regarding Oracle's Motion to Compel
                             Production and Deposition Testimony Re: Google Search Distribution Agreements (Oracle's Proposed
                             Order) by Oracle America, Inc.. (Hurst, Annette) (Filed on 1/19/2016) (Entered: 01/19/2016)
         01/19/2016     1431 Statement re 1430 Proposed Order, Oracle's Statemet re: Proposed Order by Oracle America, Inc..
                             (Hurst, Annette) (Filed on 1/19/2016) (Entered: 01/19/2016)
         01/19/2016     1432 Proposed Order re 1428 Terminate Hearings,, Motion Hearing, [Proposed] Order Re: Motion to
                             Compel [Dkt. 1404] by Google Inc.. (Van Nest, Robert) (Filed on 1/19/2016) (Entered: 01/19/2016)
         01/19/2016     1433 Letter from Robert A. Van Nest in Response to Oracle's Letter [Dkt. 1431]. (Van Nest, Robert) (Filed
                             on 1/19/2016) (Entered: 01/19/2016)
         01/19/2016     1434 ORDER re New Submission. The parties shall jointly file one proposed order by January 20,
                             2016 at noon. Signed by Judge Donna M. Ryu on 1/19/2016. (dmrlc3, COURT STAFF) (Filed on
                             1/19/2016) (Entered: 01/19/2016)
         01/20/2016     1435 Proposed Order re 1404 Discovery Letter BriefJoint Letter Regarding Oracle's Motion to Compel
                             Production and Deposition Testimony Re: Google Search Distribution Agreements, 1434 Order Joint
                             Proposed Order by Oracle America, Inc.. (Hurst, Annette) (Filed on 1/20/2016) (Entered: 01/20/2016)
         01/20/2016     1436 Order by Magistrate Judge Donna M. Ryu granting in part and denying in part Oracle's Motion
                             to Compel 1404 .(dmrlc3, COURT STAFF) (Filed on 1/20/2016) (Entered: 01/20/2016)
         01/20/2016     1437 Transcript of Proceedings held on January 14, 2016, before Magistrate Judge Donna M. Ryu. Court
                             Reporter Diane E. Skillman, telephone number 510-451-2930, Diane_Skillman@cand.uscourts.gov.
                             Per General Order No. 59 and Judicial Conference policy, this transcript may be viewed only at the
                             Clerk's Office public terminal or may be purchased through the Court Reporter until the deadline for
                             the Release of Transcript Restriction. After that date it may be obtained through PACER. Any Notice
                             of Intent to Request Redaction, if required, is due no later than 5 business days from date of this filing.
                             (Re 1425 Transcript Order, 1426 Transcript Order ) Release of Transcript Restriction set for 4/19/2016.
                             (Related documents(s) 1425 , 1426 ) (Skillman, Diane) (Filed on 1/20/2016) (Entered: 01/20/2016)
         01/20/2016     1438 Disregard, See 1440 , 1441
                             Administrative Motion to File Under Seal for Reconsideration Re the Court's Order Denying Sealing
                             of Google-Apple Information, and Administrative Motion to Seal Additional Google Financial
                             Information filed by Google Inc.. (Attachments: # 1 Declaration of Edward A. Bayley, # 2 Proposed
                             Order)(Van Nest, Robert) (Filed on 1/20/2016) Modified on 1/22/2016 (dtmS, COURT STAFF).
                             (Entered: 01/20/2016)
         01/20/2016     1439 Declaration of Leslie Fithian in Support of 1438 Administrative Motion to File Under Seal for
                             Reconsideration Re the Court's Order Denying Sealing of Google-Apple Information, and
                             Administrative Motion to Seal Additional Google Financial Information filed byApple Inc.. (Related
                             document(s) 1438 ) (Damstedt, Benjamin) (Filed on 1/20/2016) (Entered: 01/20/2016)
         01/21/2016     1440 MOTION for Leave to File a Motion for Reconsideration of the Courts Order Denying Sealing of
                             Google-Apple Information filed by Google Inc.. (Attachments: # 1 Declaration of Edward A. Bayley, #
                             2 Proposed Order)(Van Nest, Robert) (Filed on 1/21/2016) (Entered: 01/21/2016)




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         01/21/2016     1441 MOTION to Redact and Seal Portions of the January 14, 2016 Discovery Hearing Transcript filed by
                             Google Inc.. Motion Hearing set for 2/25/2016 11:00 AM in Courtroom 4, 3rd Floor, Oakland before
                             Magistrate Judge Donna M. Ryu. Responses due by 2/4/2016. Replies due by 2/11/2016. (Attachments:
                             # 1 Declaration of Maya Karwande, # 2 Proposed Order)(Van Nest, Robert) (Filed on 1/21/2016)
                             (Entered: 01/21/2016)
         01/21/2016     1442 RESPONSE (re 1438 Administrative Motion to File Under Seal for Reconsideration Re the Court's
                             Order Denying Sealing of Google-Apple Information, and Administrative Motion to Seal Additional
                             Google Financial Information ) filed byOracle America, Inc.. (Attachments: # 1 Declaration of Annette
                             L. Hurst)(Hurst, Annette) (Filed on 1/21/2016) (Entered: 01/21/2016)
         01/22/2016     1443 Letter from Robert A. Van Nest Regarding Motion for Leave to File a Supplemental Answer. (Van
                             Nest, Robert) (Filed on 1/22/2016) (Entered: 01/22/2016)
         01/22/2016     1444 ORDER sealing January 14, 2016 hearing transcript pending resolution of Defendant's motions
                             to seal portions of the hearing transcript. Signed by Judge Donna M. Ryu on 1/22/2016. (dmrlc3,
                             COURT STAFF) (Filed on 1/22/2016) (Entered: 01/22/2016)
         01/22/2016     1445 Letter from Robert A. Van Nest Regarding Motion for Leave to File Motion to Strike - Letter 2. (Van
                             Nest, Robert) (Filed on 1/22/2016) (Entered: 01/22/2016)
         01/25/2016     1446 NOTICE of Appearance by Denise Marie Mingrone (Mingrone, Denise) (Filed on 1/25/2016)
                             (Entered: 01/25/2016)
         01/25/2016     1447 NOTICE of Appearance by Randall Scott Luskey (Luskey, Randall) (Filed on 1/25/2016) (Entered:
                             01/25/2016)
         01/25/2016     1448 NOTICE of Appearance by Vickie L. Feeman (Feeman, Vickie) (Filed on 1/25/2016) (Entered:
                             01/25/2016)
         01/26/2016     1449 NOTICE of Appearance by Alyssa M. Caridis (Caridis, Alyssa) (Filed on 1/26/2016) (Entered:
                             01/26/2016)
         01/26/2016     1450 Order by Magistrate Judge Donna M. Ryu granting 1440 Motion for Leave to File Motion for
                             Reconsideration of the Court's Order Denying Sealing of Google-Apple Information. (dmrlc3,
                             COURT STAFF) (Filed on 1/26/2016) (Entered: 01/26/2016)
         01/26/2016     1451 Letter from Annette L. Hurst in Response to Precis Regarding Motion for Leave to File a Supplemental
                             Answer. (Hurst, Annette) (Filed on 1/26/2016) (Entered: 01/26/2016)
         01/26/2016     1452 Letter from Annette L. Hurst in Response to Precis Requesting to File a Motion to Strike. (Hurst,
                             Annette) (Filed on 1/26/2016) (Entered: 01/26/2016)
         01/26/2016     1453 ORDER GRANTING PRCIS REQUEST FOR LEAVE TO FILE MOTION TO STRIKE AND
                             REQUEST FOR RESPONSE RE SUPPLEMENTAL ANSWER re 1445 Letter filed by Google
                             Inc., 1443 Letter filed by Google Inc. Motions due by 1/27/2016 at noon. Responses due by
                             2/1/2016 at noon. Motion Hearing set for 2/2/2016 11:00 AM in Courtroom 8, 19th Floor, San
                             Francisco before Hon. William Alsup.. Signed by Judge Alsup on 1/26/16. (whalc1, COURT
                             STAFF) (Filed on 1/26/2016) (Entered: 01/26/2016)
         01/27/2016     1454 MOTION to Strike 1453 Order,, Set Deadlines/Hearings, filed by Google Inc.. Motion Hearing set for
                             2/2/2016 11:00 AM in Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup. Responses
                             due by 2/10/2016. Replies due by 2/17/2016. (Attachments: # 1 Declaration of Matthias Kamber, # 2
                             Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4 (redacted), # 6 Exhibit 5 (redacted), # 7 Exhibit 6,
                             # 8 Exhibit 7, # 9 Exhibit 8, # 10 Proposed Order)(Van Nest, Robert) (Filed on 1/27/2016) (Entered:
                             01/27/2016)
         01/27/2016     1455 Administrative Motion to File Under Seal filed by Google Inc.. (Attachments: # 1 Exhibit 4
                             (Unredacted), # 2 Exhibit 5 (Unredacted))(Van Nest, Robert) (Filed on 1/27/2016) (Entered:
                             01/27/2016)
         01/27/2016     1456 RESPONSE to re 1453 Order,, Set Deadlines/Hearings, Googles Response to Request for Response Re
                             Supplemental Answer (ECF No. 1453) by Google Inc.. (Van Nest, Robert) (Filed on 1/27/2016)
                             (Entered: 01/27/2016)




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         01/27/2016     1457 Letter from Bruce W. Baber regarding Google Inc. request to file a motion for a finding of civil
                             contempt and for sanctions. (Baber, Bruce) (Filed on 1/27/2016) (Entered: 01/27/2016)
         01/27/2016     1458 ORDER DENYING AS MOOT GOOGLE'S PRECIS REQUEST FOR LEAVE TO FILE
                             SUPPLEMENTAL ANSWER. Signed by Judge Alsup on 1/27/16. (whalc1, COURT STAFF)
                             (Filed on 1/27/2016) (Entered: 01/27/2016)
         01/27/2016     1459 NOTICE OF AMENDED DISCOVERY PROCEDURES. Signed by Magistrate Judge Donna M.
                             Ryu on 1/27/16. (ig, COURT STAFF) (Filed on 1/27/2016) (Entered: 01/27/2016)
         01/28/2016     1460 NOTICE RE GOOGLES PRCIS REQUEST SEEKING LEAVE TO FILE A MOTION FOR
                             CIVIL CONTEMPT re 1457 Letter filed by Google Inc.. Signed by Judge Alsup on 1/28/16.
                             (whalc1, COURT STAFF) (Filed on 1/28/2016) (Entered: 01/28/2016)
         01/29/2016     1461 Letter from Annette L. Hurst Regarding Motion for Summary Judgment on Google's Equitable
                             Defenses. (Hurst, Annette) (Filed on 1/29/2016) (Entered: 01/29/2016)
         01/29/2016     1462 MOTION for Reconsideration re 1450 Order on Motion for Leave to File Motion for Reconsideration
                             of the Court's Order Denying Sealing of Google-Apple Information. filed by Google Inc..
                             (Attachments: # 1 Declaration of Maya Karwande, # 2 Declaration of Renny Hwang, # 3 Proposed
                             Order)(Van Nest, Robert) (Filed on 1/29/2016) (Entered: 01/29/2016)
         02/01/2016     1463 NOTICE of Appearance by Robert P. Varian , attorney for Oracle America, Inc. (Varian, Robert) (Filed
                             on 2/1/2016) (Entered: 02/01/2016)
         02/01/2016     1464 Administrative Motion to File Under Seal filed by Oracle America, Inc.. (Attachments: # 1 Declaration
                             of Matthew L. Bush in Support of Oracle's Administrative Motion to File Under Seal, # 2 Declaration
                             of Andrew Temkin in Support of Oracle's Administrative Motion to File Under Seal, # 3 Exhibit 4
                             (NONPUBLIC), # 4 Exhibit 4 (PUBLIC), # 5 Exhibit 13 (NONPUBLIC), # 6 Exhibit 14
                             (NONPUBLIC), # 7 Proposed Order, # 8 Certificate/Proof of Service)(Bush, Matthew) (Filed on
                             2/1/2016) (Entered: 02/01/2016)
         02/01/2016     1465 RESPONSE (re 1454 MOTION to Strike 1453 Order,, Set Deadlines/Hearings, ) filed byOracle
                             America, Inc.. (Attachments: # 1 Declaration of Gabriel Ramsey, # 2 Exhibit 1, # 3 Exhibit 2, # 4
                             Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11
                             Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12, # 14 Exhibit 13, # 15 Exhibit 14, # 16 Exhibit 15, # 17
                             Exhibit 16)(Ramsey, Gabriel) (Filed on 2/1/2016) (Entered: 02/01/2016)
         02/02/2016     1466 Letter from Robert A. Van Nest in Response to Oracles Precis Request to File Motion for Summary
                             Judgment. (Van Nest, Robert) (Filed on 2/2/2016) (Entered: 02/02/2016)
         02/02/2016     1467 TRANSCRIPT ORDER by Google Inc. for Court Reporter Lydia Zinn. (Paige, Eugene) (Filed on
                             2/2/2016) (Entered: 02/02/2016)
         02/02/2016     1468 TRANSCRIPT ORDER by Oracle America, Inc. for Court Reporter Lydia Zinn. (Ramsey, Gabriel)
                             (Filed on 2/2/2016) (Entered: 02/02/2016)
         02/02/2016     1469 NOTICE RE TUTORIAL Tutorial Hearing set for 2/24/2016 08:00 AM in Courtroom 8, 19th
                             Floor, San Francisco.. Signed by Judge Alsup on 2/2/16. (whalc1, COURT STAFF) (Filed on
                             2/2/2016) (Entered: 02/02/2016)
         02/02/2016     1470 Transcript of Proceedings held on 2/2/2016, before Judge William Alsup. Court Reporter/Transcriber
                             Lydia Zinn, telephone number (415) 531-6587. Per General Order No. 59 and Judicial Conference
                             policy, this transcript may be viewed only at the Clerk's Office public terminal or may be purchased
                             through the Court Reporter/Transcriber until the deadline for the Release of Transcript Restriction.
                             After that date it may be obtained through PACER. Any Notice of Intent to Request Redaction, if
                             required, is due no later than 5 business days from date of this filing. (Re 1468 Transcript Order, 1467
                             Transcript Order ) Redacted Transcript Deadline set for 3/4/2016. Release of Transcript Restriction set
                             for 5/2/2016. (Related documents(s) 1468 , 1467 ) (Zinn, Lydia) (Filed on 2/2/2016) (Entered:
                             02/02/2016)
         02/03/2016     1471 FURTHER NOTICE RE TUTORIAL. Signed by Judge Alsup on 2/3/16. (whalc1, COURT
                             STAFF) (Filed on 2/3/2016) (Entered: 02/03/2016)
         02/03/2016     1472 CLARIFICATION. Signed by Judge Alsup on 2/3/16. (whalc1, COURT STAFF) (Filed on
                             2/3/2016) (Entered: 02/03/2016)



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         02/03/2016     1473 Minute Entry for proceedings held before Hon. William Alsup: Motion Hearing held on 2/2/2016
                             re 1454 MOTION to Strike filed by Google Inc. Total Time in Court 1 hour. Court Reporter
                             Name Lydia Zinn. Plaintiff Attorney Annette Hurst; Nathan Shaffer; Ruchika Agrawal;
                             Debroah Miller. Defendant Attorney Christa Martine Anderson; Eugene Paige; Matthias
                             Kamber. Attachment minute order.(dl, COURT STAFF) (Date Filed: 2/3/2016) . (Entered:
                             02/03/2016)
         02/03/2016     1474 Letter Brief re 1454 MOTION to Strike 1453 Order,, Set Deadlines/Hearings, filed byGoogle Inc..
                             (Attachments: # 1 Proposed Order)(Related document(s) 1454 ) (Anderson, Christa) (Filed on
                             2/3/2016) (Entered: 02/03/2016)
         02/03/2016     1475 Proposed Order re 1454 MOTION to Strike 1453 Order,, Set Deadlines/Hearings, [Proposed] Order on
                             Motion to Strike Regarding Scope of Oracle's Copyright Infringement Claims by Oracle America, Inc..
                             (Hurst, Annette) (Filed on 2/3/2016) (Entered: 02/03/2016)
         02/03/2016     1476 Letter from Annette L. Hurst re 1475 Proposed Order Regarding Google's Motion to Strike, ECF No.
                             1454. (Hurst, Annette) (Filed on 2/3/2016) (Entered: 02/03/2016)
         02/04/2016     1477 Letter from Christa Anderson corrected version. (Anderson, Christa) (Filed on 2/4/2016) (Entered:
                             02/04/2016)
         02/04/2016     1478 RESPONSE (re 1462 MOTION for Reconsideration re 1450 Order on Motion for Leave to File Motion
                             for Reconsideration of the Court's Order Denying Sealing of Google-Apple Information. ) filed
                             byOracle America, Inc.. (Attachments: # 1 Declaration of Annette L. Hurst)(Varian, Robert) (Filed on
                             2/4/2016) (Entered: 02/04/2016)
         02/05/2016     1479 ORDER RE GOOGLE'S MOTION TO STRIKE by Hon. William Alsup granting 1454 Motion
                             to Strike.(whalc1, COURT STAFF) (Filed on 2/5/2016) (Entered: 02/05/2016)
         02/05/2016     1480 Declaration of Edward A. Bayley in Support of 1464 Administrative Motion to File Under Seal filed
                             byGoogle Inc.. (Related document(s) 1464 ) (Bayley, Edward) (Filed on 2/5/2016) (Entered:
                             02/05/2016)
         02/08/2016     1481 ORDER RE SEALING MOTIONS by Hon. William Alsup granting 1464 Administrative Motion
                             to File Under Seal. Supporting declaration re 1455 due 2/10 at NOON(whalc1, COURT STAFF)
                             (Filed on 2/8/2016) (Entered: 02/08/2016)
         02/08/2016     1482 STIPULATION For Admission of Certain Documents filed by Oracle America, Inc.. (Holtzman,
                             Steven) (Filed on 2/8/2016) (Entered: 02/08/2016)
         02/08/2016     1483 NOTICE of Appearance by Ameri Rose Klafeta for Non-Party LG Electronics, Inc. (Klafeta, Ameri)
                             (Filed on 2/8/2016) (Entered: 02/08/2016)
         02/08/2016     1484 MOTION for Extension of Time to File Motion for Protective Order filed by LG Electronics, Inc..
                             (Attachments: # 1 Declaration of Ameri R. Klafeta, # 2 Proposed Order)(Klafeta, Ameri) (Filed on
                             2/8/2016) (Entered: 02/08/2016)
         02/08/2016     1485 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 305, receipt number 0971-10198561.) filed
                             by LG Electronics, Inc.. (Eimer, Nathan) (Filed on 2/8/2016) (Entered: 02/08/2016)
         02/08/2016     1486 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 305, receipt number 0971-10198595.) filed
                             by LG Electronics, Inc.. (Hanebutt, Pamela) (Filed on 2/8/2016) (Entered: 02/08/2016)
         02/08/2016     1487 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 305, receipt number 0971-10198640.) filed
                             by LG Electronics, Inc.. (Razzano, Susan) (Filed on 2/8/2016) (Entered: 02/08/2016)
         02/08/2016     1488 TENTATIVE TRIAL PLAN Objections due by 2/16/2016. Signed by Judge Alsup on 2/8/16.
                             (whalc1, COURT STAFF) (Filed on 2/8/2016) (Entered: 02/08/2016)
         02/08/2016     1489 REPLY (re 1462 MOTION for Reconsideration re 1450 Order on Motion for Leave to File Motion for
                             Reconsideration of the Court's Order Denying Sealing of Google-Apple Information. ) filed byGoogle
                             Inc.. (Van Nest, Robert) (Filed on 2/8/2016) (Entered: 02/08/2016)
         02/09/2016     1490 REQUEST FOR RESPONSE re 1484 MOTION for Extension of Time to File Motion for
                             Protective Order filed by LG Electronics, Inc.. Signed by Judge Alsup on 2/9/16. (whalc1, COURT
                             STAFF) (Filed on 2/9/2016) (Entered: 02/09/2016)




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         02/09/2016     1491 ORDER GRANTING APPLICATION FOR ADMISSION OF ATTORNEY NATHAN P.
                             EIMER PRO HAC VICE by Hon. William Alsup granting 1485 Motion for Pro Hac
                             Vice.(whalc1, COURT STAFF) (Filed on 2/9/2016) (Entered: 02/09/2016)
         02/09/2016     1492 ORDER GRANTING APPLICATION FOR ADMISSION OF ATTORNEY PAMELA R.
                             HANEBUTT PRO HAC VICE by Hon. William Alsup granting 1486 Motion for Pro Hac
                             Vice.(whalc1, COURT STAFF) (Filed on 2/9/2016) (Entered: 02/09/2016)
         02/09/2016     1493 ORDER GRANTING APPLICATION FOR ADMISSION OF ATTORNEY SUSAN M.
                             RAZZANO PRO HAC VICE by Hon. William Alsup granting 1487 Motion for Pro Hac
                             Vice.(whalc1, COURT STAFF) (Filed on 2/9/2016) (Entered: 02/09/2016)
         02/10/2016     1494 Statement re 1481 Order on Administrative Motion to File Under Seal, 1455 Administrative Motion to
                             File Under Seal by Oracle America, Inc.. (Feeman, Vickie) (Filed on 2/10/2016) (Entered: 02/10/2016)
         02/10/2016     1495 ORDER DENYING SEALING MOTION by Hon. William Alsup denying 1455 Administrative
                             Motion to File Under Seal.(whalc1, COURT STAFF) (Filed on 2/10/2016) (Entered: 02/10/2016)
         02/10/2016     1496 Statement re 1490 Order Requesting Response by LG Electronics, Inc.. (Attachments: # 1 Declaration
                             of Nathan P. Eimer, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4)(Eimer, Nathan) (Filed on
                             2/10/2016) (Entered: 02/10/2016)
         02/10/2016     1497 RESPONSE to re 1490 Order entitled Request For Response by Google Inc.. (Baber, Bruce) (Filed on
                             2/10/2016) (Entered: 02/10/2016)
         02/10/2016     1498 RESPONSE to re 1490 Order ORACLE AMERICA, INC.S RESPONSE TO THE COURTS FEBRUARY
                             9, 2016 REQUEST FOR RESPONSE (DKT. 1490) by Oracle America, Inc.. (Holtzman, Steven) (Filed
                             on 2/10/2016) (Entered: 02/10/2016)
         02/10/2016     1499 ORDER EXTENDING DEADLINE FOR LG TO FILE MOTION FOR PROTECTIVE ORDER
                             by Hon. William Alsup granting in part and denying in part 1484 Motion for Extension of Time
                             to File.(whalc1, COURT STAFF) (Filed on 2/10/2016) (Entered: 02/10/2016)
         02/11/2016     1500 ORDER DENYING ORACLE'S PRECIS REQUEST TO FILE MOTION FOR SUMMARY
                             JUDGMENT. Signed by Judge Alsup on 2/11/16. (whalc1, COURT STAFF) (Filed on 2/11/2016)
                             (Entered: 02/11/2016)
         02/11/2016     1501 REPLY (re 1441 MOTION to Redact and Seal Portions of the January 14, 2016 Discovery Hearing
                             Transcript ) filed byGoogle Inc.. (Van Nest, Robert) (Filed on 2/11/2016) (Entered: 02/11/2016)
         02/11/2016     1502 STIPULATION WITH PROPOSED ORDER Re: Hearing Dkt. Nos. 1441 & 1462 on March 10, 2016
                             filed by Google Inc.. (Attachments: # 1 Declaration of Maya Karwande)(Van Nest, Robert) (Filed on
                             2/11/2016) (Entered: 02/11/2016)
         02/12/2016     1503 Discovery Letter BriefJoint Letter regarding Non-Party LG Electronics Inc.s Motion for Protective
                             Order regarding production of highly sensitive documents filed by LG Electronics, Inc.. (Eimer,
                             Nathan) (Filed on 2/12/2016) (Entered: 02/12/2016)
         02/16/2016     1504 RESPONSE to re 1488 Order, Set Deadlines by Oracle America, Inc.. (Bicks, Peter) (Filed on
                             2/16/2016) (Entered: 02/16/2016)
         02/16/2016     1505 RESPONSE to re 1488 Order, Set Deadlines Defendant Google Inc.'s Response to Tentative Trial Plan
                             by Google Inc.. (Van Nest, Robert) (Filed on 2/16/2016) (Entered: 02/16/2016)
         02/16/2016     1506 FOLLOW-UP ORDER ON COMMENTS ON TENTATIVE TRIAL PLAN. Signed by Judge
                             Alsup on 2/16/16. (whalc1, COURT STAFF) (Filed on 2/16/2016) (Entered: 02/16/2016)
         02/17/2016     1507 STIPULATION WITH PROPOSED ORDER re Expert Schedule filed by Google Inc.. (Attachments: #
                             1 Declaration of Maya Karwande)(Van Nest, Robert) (Filed on 2/17/2016) (Entered: 02/17/2016)
         02/17/2016     1508 EXHIBITS re 1495 Order on Administrative Motion to File Under Seal filed byGoogle Inc..
                             (Attachments: # 1 Exhibit 4, # 2 Exhibit 5)(Related document(s) 1495 ) (Van Nest, Robert) (Filed on
                             2/17/2016) (Entered: 02/17/2016)
         02/18/2016     1509 STIPULATION AND ORDER RE EXPERT SCHEDULE by Hon. William Alsup granting 1507
                             Stipulation.(whalc1, COURT STAFF) (Filed on 2/18/2016) (Entered: 02/18/2016)




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         02/19/2016     1510 Order by Magistrate Judge Donna M. Ryu granting in part and denying in part 1503 Discovery
                             Letter Brief re Non-Party LG's Motion for Protective Order.(dmrlc3, COURT STAFF) (Filed on
                             2/19/2016) (Entered: 02/19/2016)
         02/19/2016     1511 ORDER vacating hearings set for 1462 MOTION for Reconsideration of the Court's Order
                             Denying Sealing of Google-Apple Information and 1441 MOTION to Redact and Seal Portions of
                             the January 14, 2016 Discovery Hearing Transcript. Denying 1502 STIPULATION WITH
                             PROPOSED ORDER Re: Hearing Dkt. Nos. 1441 & 1462 on March 10, 2016 as moot. Signed by
                             Judge Donna M. Ryu on 2/19/2016. (dmrlc3, COURT STAFF) (Filed on 2/19/2016) (Entered:
                             02/19/2016)
         02/19/2016     1512 RESPONSE to re 1488 Order, Set Deadlines Joint Supplemental Response to the Tentative Trial Plan
                             by Oracle America, Inc.. (Bicks, Peter) (Filed on 2/19/2016) (Entered: 02/19/2016)
         02/23/2016     1513 Letter from Vickie L. Feeman re EMERGENCY Precis Seeking Leave for Motion to Disclose Protected
                             Material to Oracle's Expert Dr. Olivier Toubia. (Feeman, Vickie) (Filed on 2/23/2016) (Entered:
                             02/23/2016)
         02/24/2016     1514 TRANSCRIPT ORDER by Oracle America, Inc. for Court Reporter Debra Pas. (Ramsey, Gabriel)
                             (Filed on 2/24/2016) (Entered: 02/24/2016)
         02/24/2016     1515 ** CORRECTION: THIS IS NOT A REQUEST FOR A DAILY TRIAL TRANSCRIPT. IT IS A
                             REQUEST FOR A TRANSCRIPT OF THE 2/24/16 TUTORIAL, REPORTED BY COURT
                             REPORTER DEBRA PAS. **
                             TRANSCRIPT ORDER for Daily Trial by John Lee Cooper. (Cooper, John) (Filed on 2/24/2016)
                             Modified on 2/24/2016 (djc, COURT STAFF). (Entered: 02/24/2016)
         02/24/2016     1516 TRANSCRIPT ORDER by Google Inc. for Court Reporter Debra Pas. (Bayley, Edward) (Filed on
                             2/24/2016) (Entered: 02/24/2016)
         02/24/2016     1517 Minute Entry for proceedings held before Hon. William Alsup: Tutorial Hearing held on
                             2/24/2016. Total Time in Court 2:40. Court Reporter Name Debra Pas. Plaintiff Attorney Peter
                             Bicks; Annette Hurst; Lisa Simpson; Gabriel Ramsey. Defendant Attorney Robert Van Nest;
                             Christa Anderson; Michael Kwan; Eugene Paige; Reid Mullen; Maya Karwande; Edward
                             Bayley. Attachment minute order.(dl, COURT STAFF) (Date Filed: 2/24/2016) (Entered:
                             02/25/2016)
         02/26/2016     1518 REQUEST FOR BRIEFING ON JURY INSTRUCTION, APPEAL AND JURY
                             QUESTIONNAIRE. Signed by Judge Alsup on 2/26/16. (whalc1, COURT STAFF) (Filed on
                             2/26/2016) (Entered: 02/26/2016)
         02/26/2016     1519 Transcript of Proceedings held on 2-24-2016, before Judge William H. Alsup. Court
                             Reporter/Transcriber Debra L. Pas, CRR, telephone number (415) 431-1477/Email:
                             Debra_Pas@cand.uscourts.gov. Per General Order No. 59 and Judicial Conference policy, this
                             transcript may be viewed only at the Clerk's Office public terminal or may be purchased through the
                             Court Reporter/Transcriber until the deadline for the Release of Transcript Restriction. After that date it
                             may be obtained through PACER. Any Notice of Intent to Request Redaction, if required, is due no
                             later than 5 business days from date of this filing. (Re 1514 Transcript Order ) Release of Transcript
                             Restriction set for 5/26/2016. (Related documents(s) 1514 ) (Pas, Debra) (Filed on 2/26/2016)
                             (Entered: 02/26/2016)
         02/26/2016            (Court only) TRANSCRIPT COPY DELIVERED re 1516 Transcript Order, 1515 Transcript Order -
                               Daily Trial, (Related documents(s) 1516 , 1515 ) (Pas, Debra) (Filed on 2/26/2016) (Entered:
                               02/26/2016)
         02/28/2016     1520 FURTHER REQUEST FOR INFORMATION. Signed by Judge Alsup on 2/28/16. (whalc1,
                             COURT STAFF) (Filed on 2/28/2016) (Entered: 02/28/2016)
         02/29/2016     1521 RESPONSE to re 1520 Order, 1518 Order Joint Response Re: Jury Questionnaire Procedure by Oracle
                             America, Inc.. (Attachments: # 1 Appendix A- Agreed to Jury Questionnaire, # 2 Appendix B- Agreed
                             to Jury Questionnaire Instructions)(Bicks, Peter) (Filed on 2/29/2016) (Entered: 02/29/2016)
         03/01/2016     1522 STIPULATION WITH PROPOSED ORDER re 1506 Order Regarding Admitted Exhibits filed by
                             Google Inc.. (Van Nest, Robert) (Filed on 3/1/2016) (Entered: 03/01/2016)




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         03/01/2016     1523 RULING REJECTING JURY QUESTIONNAIRE re 1521 Response ( Non Motion ), filed by
                             Oracle America, Inc. Show Cause Response due by 3/8/2016.. Signed by Judge Alsup on 3/1/16.
                             (whalc1, COURT STAFF) (Filed on 3/1/2016) (Entered: 03/01/2016)
         03/01/2016     1524 STIPULATION AND ORDER RE ADMITTED EXHIBITS by Hon. William Alsup granting
                             1522 Stipulation.(whalc1, COURT STAFF) (Filed on 3/1/2016) (Entered: 03/01/2016)
         03/02/2016     1525 NOTICE OF WITHDRAWAL OF COUNSEL filed by LG Electronics, Inc.. (Eimer, Nathan) (Filed on
                             3/2/2016) Modified on 3/2/2016 (dtmS, COURT STAFF). (Entered: 03/02/2016)
         03/03/2016     1526 FURTHER REQUEST FOR INFORMATION RE SOCIAL MEDIA INVESTIGATIONS.
                             Signed by Judge Alsup on 3/3/16. (whalc1, COURT STAFF) (Filed on 3/3/2016) (Entered:
                             03/03/2016)
         03/07/2016     1527 RESPONSE to re 1518 Order re Jury Instructions & Appellate Jurisdiction by Oracle America, Inc..
                             (Hurst, Annette) (Filed on 3/7/2016) (Entered: 03/07/2016)
         03/07/2016     1528 Brief re 1518 Order on Fair Use Jury Instruction and Appellate Jurisdiction filed byGoogle Inc..
                             (Related document(s) 1518 ) (Van Nest, Robert) (Filed on 3/7/2016) (Entered: 03/07/2016)
         03/08/2016     1529 RESPONSE to re 1523 Order, Set Deadlines, 1526 Order Oracle's Response to Court Inquiries
                             Regarding Juror Internet Research by Oracle America, Inc.. (Bicks, Peter) (Filed on 3/8/2016)
                             (Entered: 03/08/2016)
         03/08/2016     1530 RESPONSE to re 1523 Order, Set Deadlines, 1526 Order Reflected in ECF Nos. 1523 and 1526 by
                             Google Inc.. (Van Nest, Robert) (Filed on 3/8/2016) (Entered: 03/08/2016)
         03/08/2016     1531 REQUEST FOR FURTHER RESPONSE RE SOCIAL MEDIA. Signed by Judge Alsup on
                             3/8/16. (whalc1, COURT STAFF) (Filed on 3/8/2016) (Entered: 03/08/2016)
         03/09/2016     1532 RESPONSE to re 1531 Order Oracle's Response to Further Request for Respose re Social Media by
                             Oracle America, Inc.. (Bicks, Peter) (Filed on 3/9/2016) (Entered: 03/09/2016)
         03/09/2016     1533 RESPONSE to re 1531 Order by Google Inc.. (Van Nest, Robert) (Filed on 3/9/2016) (Entered:
                             03/09/2016)
         03/14/2016     1534 REQUEST RE EXPECTED TRIAL LENGTH Responses due by 3/17/2016.. Signed by Judge
                             Alsup on 3/14/16. (whalc1, COURT STAFF) (Filed on 3/14/2016) (Entered: 03/14/2016)
         03/14/2016     1535 FURTHER REQUEST FOR INFORMATION RE PROPOSED SOCIAL MEDIA SEARCHES
                             Responses due by 3/17/2016 at NOON.. Signed by Judge Alsup on 3/14/16. (whalc1, COURT
                             STAFF) (Filed on 3/14/2016) (Entered: 03/14/2016)
         03/17/2016     1536 RESPONSE to re 1534 Order, Set Deadlines Defendant Google Inc.'s Response to Request Re
                             Expected Trial Length by Google Inc.. (Van Nest, Robert) (Filed on 3/17/2016) (Entered: 03/17/2016)
         03/17/2016     1537 RESPONSE to re 1535 Order, Set Deadlines Oracle's Response to Further Request for Information re
                             Jury Social Media Searches by Oracle America, Inc.. (Bicks, Peter) (Filed on 3/17/2016) (Entered:
                             03/17/2016)
         03/17/2016     1538 RESPONSE to re 1535 Order, Set Deadlines Google Inc.'s Response to ECF No. 1535 by Google Inc..
                             (Van Nest, Robert) (Filed on 3/17/2016) (Entered: 03/17/2016)
         03/17/2016     1539 RESPONSE to re 1534 Order, Set Deadlines by Oracle America, Inc.. (Hurst, Annette) (Filed on
                             3/17/2016) (Entered: 03/17/2016)
         03/18/2016     1540 REQUEST FOR RESPONSE re 1539 Response ( Non Motion ) filed by Oracle America, Inc.
                             Responses due by 3/22/2016 at NOON.. Signed by Judge Alsup on 3/18/16. (whalc1, COURT
                             STAFF) (Filed on 3/18/2016) (Entered: 03/18/2016)
         03/21/2016     1541 ORDER by Judge Donna M. Ryu granting in part and denying in part 1441 Motion order to
                             seal; granting 1462 Motion for Reconsideration.(dmrlc3, COURT STAFF) (Filed on 3/21/2016)
                             (Entered: 03/21/2016)
         03/21/2016     1542 REQUEST FOR CLARIFICATION RE ORACLE'S PROPOSAL FOR SOCIAL MEDIA
                             SEARCHES. Signed by Judge Alsup on 3/21/16. (whalc1, COURT STAFF) (Filed on 3/21/2016)
                             (Entered: 03/21/2016)




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         03/22/2016     1543 RESPONSE to re 1540 Order, Set Deadlines Google's Response to Oracle's Argument Regarding
                             Bifurcation by Google Inc.. (Van Nest, Robert) (Filed on 3/22/2016) (Entered: 03/22/2016)
         03/22/2016     1544 REQUEST FOR RESPONSE re 1543 Responses due by 3/25/2016 at NOON.. Signed by Judge
                             Alsup on 3/22/16. (whalc1, COURT STAFF) (Filed on 3/22/2016) (Entered: 03/22/2016)
         03/22/2016     1545 NOTICE of Appearance by Andrew David Silverman (Silverman, Andrew) (Filed on 3/22/2016)
                             (Entered: 03/22/2016)
         03/22/2016     1546 Letter from Robert A. Van Nest Joint Letter re Motion in Limine Procedure. (Van Nest, Robert) (Filed
                             on 3/22/2016) (Entered: 03/22/2016)
         03/23/2016     1547 RESPONSE to re 1542 Order Oracle's Response to Request for Clarification re: Juror Social Media
                             Searches by Oracle America, Inc.. (Bicks, Peter) (Filed on 3/23/2016) (Entered: 03/23/2016)
         03/23/2016     1548 REQUEST FOR FURTHER CLARIFICATION. Signed by Judge Alsup on 3/23/16. (whalc1,
                             COURT STAFF) (Filed on 3/23/2016) (Entered: 03/23/2016)
         03/23/2016     1549 ORDER CLARIFYING BRIEFING SCHEDULE ON MOTIONS IN LIMINE re 1546 Letter
                             filed by Google Inc.. Signed by Judge Alsup on 3/23/16. (whalc1, COURT STAFF) (Filed on
                             3/23/2016) (Entered: 03/23/2016)
         03/23/2016     1550 Administrative Motion to File Under Seal Manually Filed Portions of Exhibit 9 to the Declaration of
                             Andrew Silverman in Support of Oracle's Motions In Limine filed by Oracle America, Inc..
                             (Attachments: # 1 Declaration of Andrew Silverman, # 2 Notice of Manual Filing, # 3 Proposed Order)
                             (Silverman, Andrew) (Filed on 3/23/2016) (Entered: 03/23/2016)
         03/23/2016     1551 Administrative Motion to File Under Seal Oracle's Motion In Limine # 1- To Exclude Evidence Of
                             OpenJDK filed by Oracle America, Inc.. (Attachments: # 1 Declaration of Andrew Silverman in
                             Support of Administrative Motion to Seal Portions of Oracle's Motion In Limine # 1, # 2 Proposed
                             Order Granting Administrative Motion to Seal, # 3 Redacted Version of Oracle's Motion In Limine # 1
                             re OpenJDK, # 4 UNREDACTED Version of Oracle's Motion In Limine # 1 re OpenJDK, # 5
                             Proposed Order Granting Oracle's Motion In Limine # 1 re OpenJDK)(Silverman, Andrew) (Filed on
                             3/23/2016) (Entered: 03/23/2016)
         03/23/2016     1552 MOTION in Limine Oracle's Motion In Limine # 2 To Exclude Evidence of Apache, Apache Harmony,
                             and GNU Classpath filed by Oracle America, Inc.. Motion Hearing set for 4/27/2016 08:00 AM in
                             Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup. Responses due by 4/6/2016.
                             Replies due by 4/13/2016. (Attachments: # 1 Proposed Order Granting Oracle's Motion In Limine #
                             2)(Simpson, Lisa) (Filed on 3/23/2016) (Entered: 03/23/2016)
         03/23/2016     1553 Administrative Motion to File Under Seal Oracle's Motion In Limine # 3 Regarding Dr. Astrachan
                             filed by Oracle America, Inc.. (Attachments: # 1 Declaration of Andrew Silverman in Support of
                             Administrative Motion to Seal Portions of Oracle's Motion In Limine # 3, # 2 Proposed Order Granting
                             Administrative Motion to Filed Under Seal Portions of Oracle's Motion In Limine # 3, # 3 Redacted
                             Version of Oracle Motion In Limine # 3 re: Dr. Astrachan, # 4 UNREDACTED Version of Oracle's
                             Motion In Limine # 3, # 5 Proposed Order Granting Oracle's Motion In Limine # 3 re Dr. Astrachan)
                             (Silverman, Andrew) (Filed on 3/23/2016) (Entered: 03/23/2016)
         03/23/2016     1554 Administrative Motion to File Under Seal Oracle's Motion In Limine # 4 Regarding Google's Damages
                             Expert filed by Oracle America, Inc.. (Attachments: # 1 Declaration of Andrew Silverman In Support
                             of Administrative Motion to File Under Seal Portions of Oracle's Motion In Limine # 4, # 2 Proposed
                             Order Granting Administrative Motion to File Under Seal Portions of Oracle's Motion In Limine # 4, #
                             3 Redacted Version of Oracle's Motion In Limine # 4 re Google's Damages Expert, # 4
                             UNREDACTED Version of Oracle's Motion In Limine # 4, # 5 Proposed Order Granting Oracle's
                             Motion In Limine # 4)(Silverman, Andrew) (Filed on 3/23/2016) (Entered: 03/23/2016)
         03/23/2016     1555 MOTION in Limine No. 5 re Lindholm Email filed by Google Inc.. Motion Hearing set for 4/27/2016
                             08:00 AM in Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup. Responses due by
                             4/6/2016. Replies due by 4/13/2016. (Attachments: # 1 Proposed Order)(Van Nest, Robert) (Filed on
                             3/23/2016) (Entered: 03/23/2016)
         03/23/2016     1556 Administrative Motion to File Under Seal Oracle's Motion In Limine # 5 re Dr. Simonson filed by
                             Oracle America, Inc.. (Attachments: # 1 Declaration of Andrew Silverman in Support of
                             Administrative Motion to Seal Portions of Oracle's Motion In Limine # 5 re Dr. Simonson, # 2



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                               Proposed Order Granting Administrative Motion to Seal Oracle's Motion In Limine # 5 re Dr.
                               Simonson, # 3 Redacted Version of Oracle's Motion In Limine # 5 re Dr. Simonson, # 4
                               UNREDACTED Version of Oracle's Motion In Limine # 5, # 5 Proposed Order Granting Oracle's
                               Motion In Limine # 5)(Silverman, Andrew) (Filed on 3/23/2016) (Entered: 03/23/2016)
         03/23/2016     1557 MOTION in Limine No. 1 to Exclude Certain Testimony from Expert Report of Dr. Chris F. Kemerer
                             filed by Google Inc.. Motion Hearing set for 4/27/2016 08:00 AM in Courtroom 8, 19th Floor, San
                             Francisco before Hon. William Alsup. Responses due by 4/6/2016. Replies due by 4/13/2016.
                             (Attachments: # 1 Proposed Order)(Van Nest, Robert) (Filed on 3/23/2016) (Entered: 03/23/2016)
         03/23/2016     1558 MOTION in Limine DEFENDANT GOOGLE INC.S MOTION IN LIMINE NO. 3 RE IRRELEVANT
                             TESTIMONY INTENDED TO SUGGEST VIOLATION OF PRIVACY OR ANTITRUST LAWS filed by
                             Google Inc.. Motion Hearing set for 4/27/2016 08:00 AM in Courtroom 8, 19th Floor, San Francisco
                             before Hon. William Alsup. Responses due by 4/6/2016. Replies due by 4/13/2016. (Attachments: # 1
                             Proposed Order)(Anderson, Christa) (Filed on 3/23/2016) (Entered: 03/23/2016)
         03/23/2016     1559 MOTION in Limine DEFENDANT GOOGLE INC.'S MOTION IN LIMINE NO. 2 RE NEW
                             PRODUCTS filed by Google Inc.. Motion Hearing set for 4/27/2016 08:00 AM in Courtroom 8, 19th
                             Floor, San Francisco before Hon. William Alsup. Responses due by 4/6/2016. Replies due by
                             4/13/2016. (Attachments: # 1 Proposed Order)(Anderson, Christa) (Filed on 3/23/2016) (Entered:
                             03/23/2016)
         03/23/2016     1560 Administrative Motion to File Under Seal filed by Google Inc.. (Attachments: # 1 Declaration of
                             Renny Hwang, # 2 Exhibit 2 to Declaration of Maya Karwande, # 3 Exhibit 6 to Declaration of Maya
                             Karwande, # 4 Exhibit 9 to Declaration of Maya Karwande, # 5 Exhibit 10 to Declaration of Maya
                             Karwande, # 6 Exhibit 11 to Declaration of Maya Karwande, # 7 Exhibit A Part 1 of 2 to Declaration
                             of Edward A. Bayley, # 8 Exhibit A Part 2 of 2 to Declaration of Edward A. Bayley, # 9 Exhibit B to
                             Declaration of Edward A. Bayley, # 10 Exhibit C to Declaration of Edward A. Bayley, # 11 Exhibit D
                             Declaration of Edward A. Bayley, # 12 Exhibit F Declaration of Edward A. Bayley, # 13 Exhibit G
                             Declaration of Edward A. Bayley, # 14 Redacted Version of MIL 4, # 15 Unredacted Version of MIL 4,
                             # 16 Redacted Version of MIL 6, # 17 Unredacted Version of MIL 6, # 18 Proposed Order)(Van Nest,
                             Robert) (Filed on 3/23/2016) (Entered: 03/24/2016)
         03/23/2016     1563 Administrative Motion to File Under Seal Exhibits in Support of Oracle's Motions In Limine # 1- # 5
                             filed by Oracle America, Inc.. (Attachments: # 1 Declaration of Andrew Silverman in Support of
                             Motion to Seal Exhibits In Support of Oracle's Motions In Limine, # 2 Declaration of Debora K. Miller
                             In Support of Oracle's Administrative Motion to Seal, # 3 Proposed Order, # 4 UNREDACTED Exhibit
                             1, # 5 UNREDACTED Exhibit 2, # 6 UNREDACTED Exhibit 3, # 7 UNREDACTED Exhibit 4, # 8
                             UNREDACTED Exhibit 5, # 9 UNREDACTED Exhibit 7, # 10 UNREDACTED Exhibit 9, # 11
                             UNREDACTED Exhibit 10, # 12 UNREDACTED Exhibit 11, # 13 UNREDACTED Exhibit 12, # 14
                             UNREDACTED Exhibit 13, # 15 UNREDACTED Exhibit 14, # 16 UNREDACTED Exhibit 15, # 17
                             UNREDACTED Exhibit 16, # 18 UNREDACTED Exhibit 17, # 19 UNREDACTED Exhibit 18, # 20
                             UNREDACTED Exhibit 19, # 21 UNREDACTED Exhibit 20, # 22 UNREDACTED Exhibit 21, # 23
                             UNREDACTED Exhibit 22, # 24 UNREDACTED Exhibit 25, # 25 UNREDACTED Exhibit 29, # 26
                             UNREDACTED Exhibit 30, # 27 UNREDACTED Exhibit 31)(Silverman, Andrew) (Filed on
                             3/23/2016) (Entered: 03/24/2016)
         03/24/2016     1561 MOTION in Limine NO. 4 TO EXCLUDE MARKET HARM TESTIMONY FROM EXPERT REPORT
                             OF DR. ADAM JAFFE filed by Google Inc.. Motion Hearing set for 4/27/2016 08:00 AM in
                             Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup. Responses due by 4/7/2016.
                             Replies due by 4/14/2016. (Attachments: # 1 Proposed Order)(Van Nest, Robert) (Filed on 3/24/2016)
                             (Entered: 03/24/2016)
         03/24/2016     1562 Declaration of Maya Karwande in Support of 1561 MOTION in Limine NO. 4 TO EXCLUDE
                             MARKET HARM TESTIMONY FROM EXPERT REPORT OF DR. ADAM JAFFE filed byGoogle Inc..
                             (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7
                             Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11)(Related document(s) 1561 )
                             (Karwande, Maya) (Filed on 3/24/2016) (Entered: 03/24/2016)
         03/24/2016     1564 Declaration of Edward A. Bayley in Support of 1561 MOTION in Limine NO. 4 TO EXCLUDE
                             MARKET HARM TESTIMONY FROM EXPERT REPORT OF DR. ADAM JAFFE filed byGoogle Inc..
                             (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, #
                             7 Exhibit G)(Related document(s) 1561 ) (Bayley, Edward) (Filed on 3/24/2016) (Entered: 03/24/2016)



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         03/24/2016     1565 MOTION in Limine NO. 6 TO EXCLUDE PORTIONS OF EXPERT REPORT AND TESTIMONY OF
                             JAMES MALACKOWSKI filed by Google Inc.. Motion Hearing set for 4/27/2016 08:00 AM in
                             Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup. Responses due by 4/7/2016.
                             Replies due by 4/14/2016. (Attachments: # 1 Proposed Order)(Van Nest, Robert) (Filed on 3/24/2016)
                             (Entered: 03/24/2016)
         03/24/2016     1566 Declaration of Andrew D. Silverman in Support of Oracle's Motions In Limine # 1- # 5 filed byOracle
                             America, Inc.. (Attachments: # 1 Placeholder for Exhibits 1-5 Tentatively Filed Under Seal, # 2 Exhibit
                             6 In Support of Oracle's Motions In Limine, # 3 Placeholder for Exhibit 7 Tentatively Filed Under Seal,
                             # 4 Exhibit 8 In Support of Oracle's Motions In Limine, # 5 Placeholder for Exhibits 9-22 Tentatively
                             Filed Under Seal, # 6 Exhibit 23 In Support of Oracle's Motions In Limine, # 7 Exhibit 24 In Support
                             of Oracle's Motions In Limine, # 8 Placeholder for Exhibit 25 Tentatively Filed Under Seal, # 9 Exhibit
                             26 In Support of Oracle's Motions In Limine, # 10 Exhibit 27 In Support of Oracle's Motions In
                             Limine, # 11 Exhibit 28 In Support of Oracle's Motions In Limine, # 12 Placeholder for Exhibits 29-31
                             Tentatively Filed Under Seal)(Silverman, Andrew) (Filed on 3/24/2016) (Entered: 03/24/2016)
         03/24/2016     1567 CERTIFICATE OF SERVICE by Google Inc. re 1560 Administrative Motion to File Under Seal (Van
                             Nest, Robert) (Filed on 3/24/2016) (Entered: 03/24/2016)
         03/24/2016     1568 RESPONSE to re 1548 Order Oracle's Response to Request for Further Clarification by Oracle
                             America, Inc.. (Bicks, Peter) (Filed on 3/24/2016) (Entered: 03/24/2016)
         03/24/2016     1569 CLERK'S NOTICE SETTING SETTLEMENT CONFERENCE: Settlement Conference set for
                             4/15/2016 at 9:00 AM in Courtroom 5, 4th Floor, San Jose before Magistrate Judge Paul S. Grewal. All
                             lawyers and parties with complete authority to negotiate and consummate a settlement shall be in
                             attendance unless excused by the court. All parties are required to lodge a settlement conference
                             statement in compliance with Magistrate Judge Grewal's Standing Order Re: Settlements found at
                             www.cand.uscourts.gov/psg or from the Clerk's office. ***This is a text only docket entry, there is
                             no document associated with this notice.*** (ofr, COURT STAFF) (Filed on 3/24/2016) (Entered:
                             03/24/2016)
         03/24/2016     1570 EXHIBITS re 1560 Administrative Motion to File Under Seal Redacted Exhibits to Declaration of
                             Edward A. Bayley filed byGoogle Inc.. (Attachments: # 1 Exhibit A Redacted Part 2, # 2 Exhibit B
                             Redacted, # 3 Exhibit C Redacted, # 4 Exhibit D Redacted, # 5 Exhibit F Redacted, # 6 Exhibit G
                             Redacted Part 1 of 6, # 7 Exhibit G Redacted Part 2 of 6, # 8 Exhibit G Redacted Part 3 of 6, # 9
                             Exhibit G Redacted Part 4 of 6, # 10 Exhibit G Redacted Part 5 of 6, # 11 Exhibit G Redacted Part 6 of
                             6)(Related document(s) 1560 ) (Bayley, Edward) (Filed on 3/24/2016) (Entered: 03/24/2016)
         03/24/2016     1571 Declaration of Edward A. Bayley in Support of 1555 MOTION in Limine No. 5 re Lindholm Email,
                             1559 MOTION in Limine DEFENDANT GOOGLE INC.'S MOTION IN LIMINE NO. 2 RE NEW
                             PRODUCTS, 1565 MOTION in Limine NO. 6 TO EXCLUDE PORTIONS OF EXPERT REPORT
                             AND TESTIMONY OF JAMES MALACKOWSKI, 1561 MOTION in Limine NO. 4 TO EXCLUDE
                             MARKET HARM TESTIMONY FROM EXPERT REPORT OF DR. ADAM JAFFE, 1558 MOTION in
                             Limine DEFENDANT GOOGLE INC.S MOTION IN LIMINE NO. 3 RE IRRELEVANT TESTIMONY
                             INTENDED TO SUGGEST VIOLATION OF PRIVACY OR ANTITRUST LAWS, 1557 MOTION in
                             Limine No. 1 to Exclude Certain Testimony from Expert Report of Dr. Chris F. Kemerer CORRECTION
                             OF DOCKET # 1564 filed byGoogle Inc.. (Attachments: # 1 Exhibit A Redacted Part 1, # 2 Exhibit A
                             Redacted Part 2, # 3 Exhibit B Redacted, # 4 Exhibit C Redacted, # 5 Exhibit D Redacted, # 6 Exhibit
                             E, *** # 7 Exhibit F Redacted DOCUMENT LOCKED AT FILER'S REQUEST. DOCUMENT
                             TO BE REFILED LATER. *** , # 8 Exhibit G Redacted Part 1 of 6, # 9 Exhibit G Redacted Part 2 of
                             6, # 10 Exhibit G Redacted Part 3 of 6, # 11 Exhibit G Redacted Part 4 of 6, # 12 Exhibit G Redacted
                             Part 5 of 6, # 13 Exhibit G Redacted Part 6 of 6)(Related document(s) 1555 , 1559 , 1565 , 1561 , 1558
                             , 1557 ) (Bayley, Edward) (Filed on 3/24/2016) Modified on 3/28/2016 (ewn, COURT STAFF).
                             (Entered: 03/24/2016)
         03/24/2016     1572 EXHIBITS re 1560 Administrative Motion to File Under Seal Declaration of Reid P. Mullen filed
                             byGoogle Inc.. (Related document(s) 1560 ) (Mullen, Reid) (Filed on 3/24/2016) (Entered:
                             03/24/2016)
         03/25/2016     1573 ORDER RE INTERNET AND SOCIAL MEDIA SEARCHES OF JURORS. Signed by Judge
                             Alsup on 3/25/16. (whalc1, COURT STAFF) (Filed on 3/25/2016) (Entered: 03/25/2016)




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         03/25/2016     1574 Administrative Motion to File Under Seal Oracle's Response to ECF No. 1544 filed by Oracle
                             America, Inc.. (Attachments: # 1 Declaration of Robert L. Uriarte re Administrative Motion to Seal, #
                             2 Proposed Order, # 3 Public Redacted Version of Oracle's Response to ECF No. 1544, # 4
                             UNREDACTED Version of Oracle's Response to ECF No. 1544, # 5 Declaration of Robert L. Uriarte
                             in Support of Oracle's Response to ECF No. 1544, # 6 Exhibit 1 re: Oracle's Response to ECF No.
                             1544 (Public), # 7 Exhibit 2 re: Oracle's Response to ECF No. 1544, # 8 Exhibit 3 re: Oracle's
                             Response to ECF No. 1544, # 9 Exhibit 4 re: Oracle's Response to ECF No. 1544, # 10 Exhibit 5 re:
                             Oracle's Response to ECF No. 1544, # 11 Exhibit 6 re: Oracle's Response to ECF No. 1544, # 12
                             Exhibit 7 re: Oracle's Response to ECF No. 1544, # 13 Exhibit 8 re: Oracle's Response to ECF No.
                             1544, # 14 Exhibit 9 re: Oracle's Response to ECF No. 1544, # 15 Exhibit 10 re: Oracle's Response to
                             ECF No. 1544)(Hurst, Annette) (Filed on 3/25/2016) (Entered: 03/25/2016)
         03/25/2016     1575 EXHIBITS re 1560 Administrative Motion to File Under Seal Declaration of Reid Mullen
                             CORRECTION OF DOCKET # 1572 filed byGoogle Inc.. (Related document(s) 1560 ) (Mullen, Reid)
                             (Filed on 3/25/2016) (Entered: 03/25/2016)
         03/28/2016     1576 ERRATA re 1554 Administrative Motion to File Under Seal Oracle's Motion In Limine # 4 Regarding
                             Google's Damages Expert re 1554-3 Redacted Version of Oracle's Motion In Limine # 4 re Google's
                             Damages Expert, and 1554-4 UNREDACTED Version of Oracle's Motion In Limine # 4 by Oracle
                             America, Inc.. (Hurst, Annette) (Filed on 3/28/2016) (Entered: 03/28/2016)
         03/28/2016     1577 Declaration in Support of 1560 Administrative Motion to File Under Seal Oracle's Civil Local Rule
                             79-5(e) Declaration filed byOracle America, Inc.. (Related document(s) 1560 ) (Silverman, Andrew)
                             (Filed on 3/28/2016) (Entered: 03/28/2016)
         03/28/2016     1578 EXHIBITS re 1571 Declaration in Support,,,,, CORRECTED Exhibit F to Bayley Declaration filed
                             byGoogle Inc.. (Attachments: # 1 Exhibit Part 2 of Corrected Exhibit F, # 2 Exhibit Part 3 of Corrected
                             Exhibit F, # 3 Exhibit Part 4 of Corrected Exhibit F, # 4 Exhibit Part 5 of Corrected Exhibit F)(Related
                             document(s) 1571 ) (Bayley, Edward) (Filed on 3/28/2016) (Entered: 03/28/2016)
         03/28/2016     1579 MOTION to Remove Incorrectly Filed Document filed by Google Inc.. (Attachments: # 1 Declaration
                             of Maya Karwande, # 2 Proposed Order Proposed Order)(Anderson, Christa) (Filed on 3/28/2016)
                             (Entered: 03/28/2016)
         03/28/2016     1580 Declaration of Renny Hwang in Support of 1563 Administrative Motion to File Under Seal Exhibits in
                             Support of Oracle's Motions In Limine # 1- # 5 and Oracle's Administrative Motions to Seal 1550 ,
                             1554 filed byGoogle Inc.. (Related document(s) 1563 ) (Van Nest, Robert) (Filed on 3/28/2016)
                             (Entered: 03/28/2016)
         03/29/2016     1581 CLERK'S NOTICE SETTING SEPARATE TUTORIAL HEARINGS BEFORE MAGISTRATE
                             JUDGE PAUL S. GREWAL: Tutorial Hearing as to Oracle America, Inc. set for 4/4/2016 at 10:00 AM
                             in Courtroom 5, 4th Floor, San Jose. Tutorial Hearing as to Google, Inc. set for 4/7/2016 at 9:00 AM in
                             Courtroom 5, 4th Floor, San Jose. (This is a text-only entry generated by the court. There is no
                             document associated with this entry.) (ofr, COURT STAFF) (Filed on 3/29/2016) (Entered:
                             03/29/2016)
         03/29/2016            Administrative Entry Only: Trial set to begin 5/9/2016. Set/Reset Hearing re 1422 Order. Added
                               additional trial dates: Jury Trial set for 5/23/2016 5/24/2016 5/25/2016 5/26/2016 5/27/2016 5/31/2016
                               6/1/2016 6/2/2016 6/3/2016 6/6/2016 6/7/2016 6/8/2016 6/9/2016 6/10/2016 07:30 AM in Courtroom
                               8, 19th Floor, San Francisco before Hon. William Alsup. (dl, COURT STAFF) (Filed on 3/29/2016)
                               (Entered: 03/29/2016)
         03/30/2016     1582 Administrative Motion to File Under Seal Re Oracle's Motion In Limine # 6 Re Rule 706 Expert filed
                             by Oracle America, Inc.. (Attachments: # 1 Declaration of Robert L. Uriarte Re Administrative Motion
                             to File Under Seal, # 2 Declaration of Andrew Temkin Re Administrative Motion to File Under Seal, #
                             3 Proposed Order Granting Administrative Motion to File Under Seal, # 4 UNREDACTED Version of
                             Oracle's Motion In Limine # 6 Re Rule 706 Expert, # 5 Public Redacted Version of Oracle's Motion In
                             Limine # 6 Re Rule 706 Expert, # 6 Declaration of Andrew D. Silverman In Support of Oracle's
                             Motion In Limine # 6, # 7 Exhibit 1 to Silverman Declaration: UNREDACTED Report of Dr. Kearl, #
                             8 Exhibit 2 to Silverman Delcaration: UNREDACTED Dr. Kearl Deposition Excerpts, # 9 Exhibit 3 to
                             Silverman Declaration: UNREDACTED Excerpts of Dr. Jaffe's Supplemental Expert Report, # 10
                             Exhibit 3 to Silverman Declaration: Redacted Public Version of Excerpts of Dr. Jaffe's Supplemental
                             Expert Report, # 11 Proposed Order Granting Oracle's Motion In Limine # 6)(Silverman, Andrew)



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                               (Filed on 3/30/2016) (Entered: 03/30/2016)
         03/30/2016     1583 Administrative Motion to File Under Seal Google's Motion to Strike Dr. Kearl's Report filed by Google
                             Inc.. (Attachments: # 1 Declaration Renny Hwang, # 2 Declaration Maya Karwande, # 3 Unredacted
                             version of motion to strike, # 4 Redacted version of motion to strike, # 5 Exhibit 1 Redacted, # 6
                             Exhibit 1 Under Seal, # 7 Exhibit 3 Redacted, # 8 Exhibit 3 Under Seal, # 9 Exhibit 5 Redacted, # 10
                             Exhibit 5 Under Seal, # 11 Exhibit 6 Redacted, # 12 Exhibit 6 Under Seal, # 13 Exhibit 8 Redacted, #
                             14 Exhibit 8 Under Seal, # 15 Exhibit 9 Redacted, # 16 Exhibit 9 Under Seal, # 17 Proposed
                             Order)(Van Nest, Robert) (Filed on 3/30/2016) (Entered: 03/30/2016)
         03/30/2016     1584 MOTION to Strike Portions of Dr. Kearl's Report and Testimony filed by Google Inc.. Motion Hearing
                             set for 4/27/2016 08:00 AM in Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup.
                             Responses due by 4/6/2016. Replies due by 4/13/2016. (Attachments: # 1 Declaration Maya Karwande,
                             # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9
                             Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 11, # 13 Proposed Order)(Van Nest, Robert)
                             (Filed on 3/30/2016) (Entered: 03/30/2016)
         03/30/2016     1585 CERTIFICATE OF SERVICE by Google Inc. Unredacted Motion to Strike Dr. Kearl's Report and
                             Accompanying Exhibits (Van Nest, Robert) (Filed on 3/30/2016) (Entered: 03/30/2016)
         03/30/2016     1586 Letter from Annette L. Hurst Precis Regarding Oracle's Emergency Motion to Strike Google's
                             Unauthorized 7th Motion in Limine. (Hurst, Annette) (Filed on 3/30/2016) (Entered: 03/30/2016)
         03/30/2016     1587 Letter from Christa M. Anderson Regarding Briefing on Motions in Limine. (Anderson, Christa) (Filed
                             on 3/30/2016) (Entered: 03/30/2016)
         03/31/2016     1588 RESPONSE to Letter from Christa M. Anderson re Briefing on Motions In Limine by Oracle America,
                             Inc.. (Hurst, Annette) (Filed on 3/31/2016) (Entered: 03/31/2016)
         03/31/2016     1589 RESPONSE to re 1573 Order Re Internet and Social Media Searches of Jurors by Google Inc.. (Van
                             Nest, Robert) (Filed on 3/31/2016) (Entered: 03/31/2016)
         03/31/2016     1590 RESPONSE to re 1573 Order Oracle's Response to Order re Internet and Social Media Juror Searches
                             by Oracle America, Inc.. (Bicks, Peter) (Filed on 3/31/2016) (Entered: 03/31/2016)
         03/31/2016     1591 ORDER RE GOOGLES SEVENTH MOTION IN LIMINE re 1588 Response ( Non Motion )
                             filed by Oracle America, Inc., 1587 Letter filed by Google Inc., 1586 Letter filed by Oracle
                             America, Inc.. Signed by Judge Alsup on 3/31/16. (whalc1, COURT STAFF) (Filed on 3/31/2016)
                             (Entered: 03/31/2016)
         03/31/2016            (Court only) ***Motions terminated: 1558 MOTION in Limine DEFENDANT GOOGLE INC.S
                               MOTION IN LIMINE NO. 3 RE IRRELEVANT TESTIMONY INTENDED TO SUGGEST VIOLATION
                               OF PRIVACY OR ANTITRUST LAWS filed by Google Inc., 1555 MOTION in Limine No. 5 re
                               Lindholm Email filed by Google Inc.. (whalc1, COURT STAFF) (Filed on 3/31/2016) (Entered:
                               03/31/2016)
         04/01/2016     1592 ORDER RE VOIR DIRE. Signed by Judge Alsup on 4/1/16. (whalc1, COURT STAFF) (Filed on
                             4/1/2016) (Entered: 04/01/2016)
         04/03/2016     1593 REQUEST RE OPPOSITION TO MOTION IN LIMINE. Signed by Judge Alsup on 4/3/16.
                             (whalc1, COURT STAFF) (Filed on 4/3/2016) (Entered: 04/03/2016)
         04/04/2016     1594 Letter from Annette L. Hurst Precis Regarding Oracle's Motion to Strike Portions of the Reply Expert
                             Report of Dr. Gregory K. Leonard. (Hurst, Annette) (Filed on 4/4/2016) (Entered: 04/04/2016)
         04/04/2016     1595 Minute Entry for proceedings held before Magistrate Judge Paul Singh Grewal: Oracle America,
                             Inc. tutorial held in chambers on 4/4/2016. Total Time: 2 hours. Court Reporter: Not Reported.
                             Plaintiff Attorneys present: Annette Hurst, Alyssa Caridis, Ruchika Agrawal and Matthew
                             Sarboraria. This is a text only Minute Entry. (ofr, COURT STAFF) (Date Filed: 4/4/2016)
                             (Entered: 04/04/2016)
         04/04/2016     1596 Declaration of Susan A. Kim in Support of 1582 Administrative Motion to File Under Seal Re Oracle's
                             Motion In Limine # 6 Re Rule 706 Expert filed byGoogle Inc.. (Related document(s) 1582 ) (Van Nest,
                             Robert) (Filed on 4/4/2016) (Entered: 04/04/2016)




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         04/05/2016     1597 ORDER ALLOWING ORACLE TO FILE SEVENTH MOTION IN LIMINE re 1594 Letter
                             filed by Oracle America, Inc. Motions due by 4/8/2016 at NOON. Replies due by 4/19/2016 at
                             NOON. Responses due by 4/14/2016 AT NOON.. Signed by Judge Alsup on 4/5/16. (whalc1,
                             COURT STAFF) (Filed on 4/5/2016) (Entered: 04/05/2016)
         04/06/2016     1598 REQUEST FOR RESPONSE RE FOURTH FAIR USE FACTOR Responses due by 4/11/2016 at
                             NOON.. Signed by Judge Alsup on 4/6/16. (whalc1, COURT STAFF) (Filed on 4/6/2016)
                             (Entered: 04/06/2016)
         04/06/2016     1599 REPLY (re 1582 Administrative Motion to File Under Seal Re Oracle's Motion In Limine # 6 Re Rule
                             706 Expert); -Oracle's Response to Google's Declaration of Susan A. Kim (ECF No. 1596) re
                             Administrative Motio to File Under Seal filed by Oracle America, Inc.. (Bicks, Peter) (Filed on
                             4/6/2016) (Entered: 04/06/2016)
         04/06/2016     1600 TRANSCRIPT ORDER for Daily Trial by Oracle America, Inc.. (Hurst, Annette) (Filed on 4/6/2016)
                             (Entered: 04/06/2016)
         04/06/2016     1601 Administrative Motion to File Under Seal Dr. Kearl Response to MILs and Daubert Challenges filed
                             by John Lee Cooper. (Attachments: # 1 Declaration of John L. Cooper, # 2 Proposed Order, # 3 Exhibit
                             Unredacted Response)(Cooper, John) (Filed on 4/6/2016) (Entered: 04/06/2016)
         04/06/2016            Remark: Deadline for parties to submit settlement conference statement (Re ECF No. 1569):
                               4/11/2016. (ofr, COURT STAFF) (Filed on 4/6/2016) (Entered: 04/06/2016)
         04/06/2016     1602 Administrative Motion to File Under Seal Oppositions to Oracle's Motions in Limine and
                             Corresponding Exhibits filed by Google Inc.. (Attachments: # 1 Declaration of Maya Karwande, # 2
                             Declaration of Susan A. Kim, # 3 Proposed Order, # 4 Redacted Version of Opp to Oracle MIL 2, # 5
                             Unredacted Version of Opp to Oracle MIL 2, # 6 Redacted Version of Opp to Oracle MIL 4, # 7
                             Unredacted Version of Opp to Oracle MIL 4, # 8 Redacted Version of Opp to Oracle MIL 5, # 9
                             Unedacted Version of Opp to Oracle MIL 5, # 10 Under Seal Ex 10 to Mullen Dec, # 11 Public Ex 10
                             to Mullen Dec, # 12 Under Seal Ex 11 to Mullen Dec, # 13 Public Ex 11 to Mullen Dec, # 14 Redacted
                             Ex 22 to Mullen Dec, # 15 Unredacted Ex 22 to Mullen Dec, # 16 Under Seal Ex 23 to Mullen Dec, #
                             17 Public Ex 23 to Mullen Dec, # 18 Under Seal Ex 28 to Mullen Dec, # 19 Public Ex 28 to Mullen
                             Dec)(Van Nest, Robert) (Filed on 4/6/2016) (Entered: 04/06/2016)
         04/06/2016     1603 RESPONSE to (re 1551 Administrative Motion to File Under Seal Oracle's Motion In Limine # 1- To
                             Exclude Evidence Of OpenJDK); -Opposition to Oracle's Motion in Limine #1 filed by Google Inc..
                             (Van Nest, Robert) (Filed on 4/6/2016) (Entered: 04/06/2016)
         04/06/2016     1604 RESPONSE to (re 1552 MOTION in Limine Oracle's Motion In Limine # 2 To Exclude Evidence of
                             Apache, Apache Harmony, and GNU Classpath); -Redacted Opposition to Oracle's Motion in Limine
                             #2 filed by Google Inc.. (Van Nest, Robert) (Filed on 4/6/2016) (Entered: 04/06/2016)
         04/06/2016     1605 RESPONSE to (re 1553 Administrative Motion to File Under Seal Oracle's Motion In Limine # 3
                             Regarding Dr. Astrachan); -Opposition to Oracle's Motion in Limine #3 filed by Google Inc.. (Van
                             Nest, Robert) (Filed on 4/6/2016) (Entered: 04/06/2016)
         04/06/2016     1606 RESPONSE to (re 1554 Administrative Motion to File Under Seal Oracle's Motion In Limine # 4
                             Regarding Google's Damages Expert); -Redacted Opposition to Oracle's Motion in Limine #4 filed by
                             Google Inc.. (Van Nest, Robert) (Filed on 4/6/2016) (Entered: 04/06/2016)
         04/06/2016     1607 RESPONSE to (re 1556 Administrative Motion to File Under Seal Oracle's Motion In Limine # 5 re
                             Dr. Simonson); -Redacted Opposition to Oracle's Motion in Limine #5 filed by Google Inc.. (Van Nest,
                             Robert) (Filed on 4/6/2016) (Entered: 04/06/2016)
         04/06/2016     1608 Declaration of Reid Mullen in Support of 1605 Opposition/Response to Motion, re 1604
                             Opposition/Response to Motion, re 1606 Opposition/Response to Motion, re 1607
                             Opposition/Response to Motion, re 1603 Opposition/Response to Motion; -Google's Oppositions to
                             Oracle's Motions in Limine filed by Google Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                             Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10
                             Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16
                             Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21, # 22
                             Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28
                             Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30, # 31 Exhibit 31, # 32 Exhibit 32)(Related document(s)




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                               1605 , 1604 , 1606 , 1607 , 1603 ) (Van Nest, Robert) (Filed on 4/6/2016) (Entered: 04/06/2016)
         04/06/2016     1609 RESPONSE to (re 1557 MOTION in Limine No. 1 to Exclude Certain Testimony from Expert Report
                             of Dr. Chris F. Kemerer); -Oracle's Opposition to Google's Motion In Limine # 1 filed by Oracle
                             America, Inc.. (Simpson, Lisa) (Filed on 4/6/2016) (Entered: 04/06/2016)
         04/06/2016     1610 CERTIFICATE OF SERVICE by Google Inc. of re 1602 Administrative Motion to File Under Seal
                             Oppositions to Oracle's Motions in Limine and Corresponding Exhibits (Van Nest, Robert) (Filed on
                             4/6/2016) (Entered: 04/06/2016)
         04/06/2016     1611 RESPONSE to (re 1561 MOTION in Limine NO. 4 TO EXCLUDE MARKET HARM TESTIMONY
                             FROM EXPERT REPORT OF DR. ADAM JAFFE); -Oracle's Opposition to Google's Motion In
                             Limine #4 filed by Oracle America, Inc.. (Simpson, Lisa) (Filed on 4/6/2016) (Entered: 04/06/2016)
         04/06/2016     1612 Administrative Motion to File Under Seal Oracle's Opposition to Google's Motion In Limine # 2 filed
                             by Oracle America, Inc.. (Attachments: # 1 Declaration of Andrew Silverman In Support of
                             Administrative Motion to File Under Seal, # 2 Proposed Order, # 3 UNREDACTED Version of
                             Opposition to Google's Motion In Limine # 2, # 4 Redacted Version of Opposition to Google's Motion
                             In Limine # 2)(Silverman, Andrew) (Filed on 4/6/2016) (Entered: 04/06/2016)
         04/06/2016     1613 Administrative Motion to File Under Seal Oracle's Opposition to Google's Motion in Limine # 6 filed
                             by Oracle America, Inc.. (Attachments: # 1 Declaration of Andrew Silverman in Support of
                             Administrative Motion to File Under Seal, # 2 Declaration of Andrew Temkin in Support of
                             Administrative Motion to File Under Seal, # 3 Proposed Order, # 4 UNREDACTED Version of
                             Opposition to Google's Motion In Limine # 6, *** # 5 Redacted Version of Oracle's Opposition to
                             Motion In Limine # 6, # 6 Redacted Appendix A to Opposition to Google's Motion In Limine # 6
                             DOCUMENTS LOCKED AT FILER'S REQUEST. DOCUMENT TO BE REFILED LATER.
                             *** , # 7 UNREDACTED Appendix A)(Silverman, Andrew) (Filed on 4/6/2016) Modified on
                             4/12/2016 (ewn, COURT STAFF). (Entered: 04/07/2016)
         04/07/2016     1614 Administrative Motion to File Under Seal Exhibits in Support of Oracle's Oppositions to Google's
                             Motions In Limine filed by Oracle America, Inc.. (Attachments: # 1 Declaration in Support of
                             Administrative Motion to File Under Seal, # 2 Proposed Order, # 3 Declaration of Andrew Silverman
                             in Support of Oracle's Oppositions to Google's Motions In Limine, # 4 Exhibit 1, # 5 Exhibit 2, # 6
                             Exhibit 3, # 7 Exhibit 4, # 8 Exhibit 5, # 9 Exhibit 6, # 10 Exhibit 7, # 11 Exhibit 8, # 12 Exhibit 9, #
                             13 Exhibit 10, # 14 Exhibit 11, # 15 Exhibit 12, # 16 Exhibit 13, # 17 Exhibit 14, # 18 Exhibit 15, # 19
                             Exhibit 16, # 20 Exhibit 17, # 21 Exhibit 18, # 22 Exhibit 19, # 23 Exhibit 20, # 24 Exhibit 21, # 25
                             Exhibit 22, # 26 Exhibit 23, # 27 Exhibit 24, # 28 Exhibit 25, # 29 Exhibit 26, # 30 Exhibit 27, # 31
                             Exhibit 28, # 32 Exhibit 29, # 33 Exhibit 30, # 34 Exhibit 31, # 35 Exhibit 32, # 36 Exhibit 33, # 37
                             Exhibit 34, # 38 Exhibit 35, # 39 Exhibit 36, # 40 Exhibit 37, # 41 Exhibit 38, # 42 Exhibit 39, # 43
                             Exhibit 40, # 44 Exhibit 41, # 45 Exhibit 42, # 46 Exhibit 43, # 47 Exhibit 44)(Silverman, Andrew)
                             (Filed on 4/7/2016) (Entered: 04/07/2016)
         04/07/2016     1615 REQUEST FOR CRITIQUE RE INSTRUCTIONS ON FAIR USE. Responses due by 4/14/2016
                             at NOON.. Signed by Judge Alsup on 4/7/16. (whalc1, COURT STAFF) (Filed on 4/7/2016)
                             (Entered: 04/07/2016)
         04/07/2016     1616 ORDER SETTING HEARINGS ON MOTIONS IN LIMINE as to 1553 Oracle's Motion In
                             Limine #3 Regarding Dr. Astrachan, re 1561 MOTION in Limine NO. 4 TO EXCLUDE MARKET
                             HARM TESTIMONY FROM EXPERT REPORT OF DR. ADAM JAFFE, re 1551 Oracle's Motion
                             In Limine #1- To Exclude Evidence Of OpenJDK, re 1559 MOTION in Limine DEFENDANT
                             GOOGLE INC.'S MOTION IN LIMINE NO. 2 RE NEW PRODUCTS. Motion Hearing set for
                             4/13/2016 at 8:00 AM in Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup.
                             Motion Hearing set for 4/14/2016 08:00 AM in Courtroom 8, 19th Floor, San Francisco before
                             Hon. William Alsup. Signed by Judge Alsup on 4/7/2016. (whalc1, COURT STAFF) (Filed on
                             4/7/2016) (Entered: 04/07/2016)
         04/07/2016     1617 Minute Entry for proceedings held before Magistrate Judge Paul Singh Grewal: Google, Inc.
                             tutorial held in chambers on 4/7/2016. Total Time: 2 hours. Court Reporter: Not Reported.
                             Plaintiff Attorney(s) present: Christa Anderson, Steven Ragland, Michael Kwun, Kate Lazarus
                             and Susan Kim. This is a text only Minute Entry. (ofr, COURT STAFF) (Date Filed: 4/7/2016)
                             (Entered: 04/07/2016)




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         04/07/2016     1618 TRANSCRIPT ORDER for Daily Trial by Google Inc.. (Van Nest, Robert) (Filed on 4/7/2016)
                             (Entered: 04/07/2016)
         04/08/2016     1619 Administrative Motion to File Under Seal re Oracle's Motion In Limine # 7 Regarding Reply Report of
                             Google's Damages Expert Dr. Gregory Leonard filed by Oracle America, Inc.. (Attachments: # 1
                             Declaration re Administrative Motion to Seal, # 2 Proposed Order Granting Administrative Motion to
                             Seal, # 3 UNREDACTED Version of Oracle's Motion In Limine # 7, # 4 Redacted Version of Oracle's
                             Motion In Limine # 7, # 5 UNREDACTED Exhibit 1, # 6 UNREDACTED Exhibit 2, # 7 Redacted
                             Exhibit 2, # 8 UNREDACTED Exhibit 3, # 9 UNREDACTED Exhibit 4)(Silverman, Andrew) (Filed
                             on 4/8/2016) (Entered: 04/08/2016)
         04/08/2016     1620 Declaration of Andrew D. Silverman in Support of Oracle's Motion In Limine # 7 and Proposed Order
                             filed byOracle America, Inc.. (Attachments: # 1 Proposed Order Granting Oracle's Motion In Limine #
                             7, # 2 Placeholder for Exhibits Tentatively Filed Under Seal, ECF Nos. 1619-5 through 1619-9)
                             (Silverman, Andrew) (Filed on 4/8/2016) (Entered: 04/08/2016)
         04/08/2016     1621 Administrative Motion to File Under Seal Response of Dr. James R. Kearl, Rule 706 Expert, to
                             Oracle's Motion in Limine No. 6 Regarding Rule 706 Expert filed by John Lee Cooper. (Attachments: #
                             1 Proposed Order, # 2 Declaration of John L. Cooper, # 3 Response of Kearl [Submitted Under Seal], #
                             4 Declaration of Dr. James R. Kearl [Submitted Under Seal], # 5 Exhibit A to Kearl Declaration
                             [Submitted Under Seal], # 6 Exhibit B to Kearl Declaration [Submitted Under Seal])(Cooper, John)
                             (Filed on 4/8/2016) (Entered: 04/08/2016)
         04/08/2016     1622 Administrative Motion to File Under Seal Response of Dr. James R. Kearl, Rule 706 Expert, to
                             Google's Motion to Strike Portions of Expert Report and Testimony of Dr. James R. Kearl filed by John
                             Lee Cooper. (Attachments: # 1 Proposed Order, # 2 Declaration of John L. Cooper, # 3 Response of
                             Kearl [Submitted Under Seal], # 4 Declaration of Dr. James R. Kearl [Submitted Under Seal], # 5
                             Exhibit A to Kearl Declaration [Submitted Under Seal], # 6 Exhibit B to Kearl Declaration [Submitted
                             Under Seal], # 7 Exhibit C to Kearl Declaration [Submitted Under Seal], # 8 Exhibit D to Kearl
                             Declaration [Submitted Under Seal], # 9 Exhibit E to Kearl Declaration [Submitted Under Seal], # 10
                             Exhibit F to Kearl Declaration [Submitted Under Seal])(Cooper, John) (Filed on 4/8/2016) (Entered:
                             04/08/2016)
         04/08/2016     1623 Administrative Motion to File Under Seal Google's Response to Oracle's MIL #6 filed by Google Inc..
                             (Attachments: # 1 Unredacted Version of Google's Response to Oracle's MIL #6, # 2 Redacted Version
                             of Google's Response to Oracle's MIL #6, # 3 Declaration of Susan A. Kim, # 4 Proposed Order)(Van
                             Nest, Robert) (Filed on 4/8/2016) (Entered: 04/08/2016)
         04/08/2016     1624 RESPONSE (re 1582 Administrative Motion to File Under Seal Re Oracle's Motion In Limine # 6 Re
                             Rule 706 Expert ) filed byGoogle Inc.. (Attachments: # 1 Declaration of Maya Karwande, # 2 Exhibit 1
                             to Karwande Declaration)(Van Nest, Robert) (Filed on 4/8/2016) (Entered: 04/08/2016)
         04/08/2016     1625 Administrative Motion to File Under Seal re Oracle's Response to Google's Motion to Strike Testimony
                             of James R. Kearl filed by Oracle America, Inc.. (Attachments: # 1 Declaration re Administrative
                             Motion to File Under Seal, # 2 Proposed Order Granting Administrative Motion to File Under Seal, # 3
                             UNREDACTED Version of Oracle's Response to Google's Motion to Strike Testimony of James R.
                             Kearl, # 4 Redacted Version of Oracle's Response to Google's Motion to Strike Testimony of James R.
                             Kearl, # 5 Exhibit 1 re Oracle's Response to Google's Motion to Strike Testimony of James R. Kearl, #
                             6 Exhibit 2 re Oracle's Response to Google's Motion to Strike Testimony of James R. Kearl, # 7
                             Exhibit 3 re Oracle's Response to Google's Motion to Strike Testimony of James R. Kearl)(Silverman,
                             Andrew) (Filed on 4/8/2016) (Entered: 04/08/2016)
         04/08/2016     1626 Declaration of Andrew D. Silverman in Support of Oracle's Response to Google's Motion to Strike
                             Testimony of James R. Kearl filed byOracle America, Inc.. (Attachments: # 1 Placeholder for Exhibits
                             Filed Tentatively Under Seal, ECF Nos. 1625-5 through 1625-7)(Silverman, Andrew) (Filed on
                             4/8/2016) (Entered: 04/08/2016)
         04/11/2016     1627 Administrative Motion to File Under Seal Response re Fourth Fair Use Factor filed by Google Inc..
                             (Attachments: # 1 Unredacted Response re Fourth Fair Use Factor, # 2 Redacted Response re Fourth
                             Fair Use Factor, # 3 Declaration of Maya Karwande, # 4 Proposed Order)(Van Nest, Robert) (Filed on
                             4/11/2016) (Entered: 04/11/2016)




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         04/11/2016     1628 Supplemental Brief re 1598 Order, Set Deadlines Google's Response re Fourth Fair Use Factor filed
                             byGoogle Inc.. (Related document(s) 1598 ) (Van Nest, Robert) (Filed on 4/11/2016) (Entered:
                             04/11/2016)
         04/11/2016     1629 Administrative Motion to File Under Seal Oracle's Response to ECF No. 1598 re Fair Use filed by
                             Oracle America, Inc.. (Attachments: # 1 Declaration of Andrew Silverman In Support of
                             Administrative Motion to Seal, # 2 Declaration of Andrew Temkin in Support of Administrative
                             Motion to Seal, # 3 Proposed Order re Administrative Motion to Seal, # 4 UNREDACTED Version of
                             Oracle's Response to ECF No. 1598 Re Fair Use, # 5 Redacted Version of Oracle's Response to ECF
                             No. 1598 Re Fair Use)(Silverman, Andrew) (Filed on 4/11/2016) (Entered: 04/11/2016)
         04/11/2016     1630 JURY SELECTION PLAN Objections due by 4/18/2016. Signed by Judge Alsup on 4/11/16.
                             (Attachments: # 1 Exhibit Jury Questionnaire)(whalc1, COURT STAFF) (Filed on 4/11/2016)
                             (Entered: 04/11/2016)
         04/11/2016     1631 REQUEST RE EXPERTS Expert Witness List due by 4/12/2016.. Signed by Judge Alsup on
                             4/11/16. (whalc1, COURT STAFF) (Filed on 4/11/2016) (Entered: 04/11/2016)
         04/11/2016     1632 REPLY (re 1553 Administrative Motion to File Under Seal Oracle's Motion In Limine # 3 Regarding
                             Dr. Astrachan ) Reply in Support of Oracle's Motion In Limine filed byOracle America, Inc.. (Hurst,
                             Annette) (Filed on 4/11/2016) (Entered: 04/11/2016)
         04/11/2016     1633 Administrative Motion to File Under Seal re Reply in Support of MIL 4 re Market Harm filed by
                             Google Inc.. (Attachments: # 1 Unredacted Version of Goolge's Reply ISO MIL 4 re Market Harm, # 2
                             Redacted Version of Goolge's Reply ISO MIL 4 re Market Harm, # 3 Declaration of Maya Karwande,
                             # 4 Proposed Order)(Van Nest, Robert) (Filed on 4/11/2016) (Entered: 04/11/2016)
         04/11/2016     1634 REPLY (re 1561 MOTION in Limine NO. 4 TO EXCLUDE MARKET HARM TESTIMONY FROM
                             EXPERT REPORT OF DR. ADAM JAFFE ) filed byGoogle Inc.. (Van Nest, Robert) (Filed on
                             4/11/2016) (Entered: 04/11/2016)
         04/11/2016     1635 Declaration of Renny Hwang in Support of 1613 Administrative Motion to File Under Seal Oracle's
                             Opposition to Google's Motion in Limine # 6, 1614 Administrative Motion to File Under Seal Exhibits
                             in Support of Oracle's Oppositions to Google's Motions In Limine filed byGoogle Inc.. (Related
                             document(s) 1613 , 1614 ) (Van Nest, Robert) (Filed on 4/11/2016) (Entered: 04/11/2016)
         04/12/2016     1636 Declaration of Renny Hwang in Support of 1601 Administrative Motion to File Under Seal Dr. Kearl
                             Response to MILs and Daubert Challenges filed byGoogle Inc.. (Related document(s) 1601 ) (Van
                             Nest, Robert) (Filed on 4/12/2016) (Entered: 04/12/2016)
         04/12/2016     1637 RESPONSE (re 1583 Administrative Motion to File Under Seal Google's Motion to Strike Dr. Kearl's
                             Report, 1582 Administrative Motion to File Under Seal Re Oracle's Motion In Limine # 6 Re Rule 706
                             Expert, 1623 Administrative Motion to File Under Seal Google's Response to Oracle's MIL #6 ) filed
                             byGoogle Inc.. (Van Nest, Robert) (Filed on 4/12/2016) (Entered: 04/12/2016)
         04/12/2016     1638 EXHIBITS re 1613 Administrative Motion to File Under Seal Oracle's Opposition to Google's Motion
                             in Limine # 6 Corrected Public Version of Oracle's Opposition to Google's Motion In Limine # 6 filed
                             byOracle America, Inc.. (Attachments: # 1 Corrected Appendix A to Oracle's Opposition to Google's
                             Motion In Limine # 6)(Related document(s) 1613 ) (Silverman, Andrew) (Filed on 4/12/2016)
                             (Entered: 04/12/2016)
         04/12/2016     1639 MOTION to Remove Incorrectly Filed Document Oracle's Motion to Remove ECF Nos. 1613-5 and
                             1613-6 filed by Oracle America, Inc.. (Attachments: # 1 Proposed Order)(Silverman, Andrew) (Filed
                             on 4/12/2016) (Entered: 04/12/2016)
         04/12/2016     1640 Declaration in Support of 1583 Administrative Motion to File Under Seal Google's Motion to Strike Dr.
                             Kearl's Report Declaration in Support of Google's Administrative Motion to File Under Seal ECF No.
                             1583-6 filed byOracle America, Inc.. (Related document(s) 1583 ) (Silverman, Andrew) (Filed on
                             4/12/2016) (Entered: 04/12/2016)
         04/12/2016     1641 RESPONSE to re 1631 Order, Set Deadlines [Response to Court's Request Re: Experts] by Google
                             Inc.. (Van Nest, Robert) (Filed on 4/12/2016) (Entered: 04/12/2016)
         04/12/2016     1642 RESPONSE to re 1631 Order, Set Deadlines Oracle's Response to Court's Request for Expert
                             Disclosure by Oracle America, Inc.. (Hurst, Annette) (Filed on 4/12/2016) (Entered: 04/12/2016)




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         04/12/2016     1643 REPLY (re 1559 MOTION in Limine DEFENDANT GOOGLE INC.'S MOTION IN LIMINE NO. 2 RE
                             NEW PRODUCTS ) filed byGoogle Inc.. (Van Nest, Robert) (Filed on 4/12/2016) (Entered:
                             04/12/2016)
         04/13/2016     1644 Administrative Motion to File Under Seal Oracle's Reply In Support of Oracle's Motion In Limine # 1
                             re OpenJDK filed by Oracle America, Inc.. (Attachments: # 1 Declaration in Support of Administrative
                             Motion to File Under Seal, # 2 Proposed Order, # 3 UNREDACTED Version of Oracle's Reply in
                             Support of its Motion In Limine # 1 re OpenJDK, # 4 Redacted Version of Oracle's Reply in Support of
                             its Motion In Limine # 1 re OpenJDK)(Silverman, Andrew) (Filed on 4/13/2016) (Entered:
                             04/13/2016)
         04/13/2016     1645 Administrative Motion to File Under Seal Response of Dr. James R. Kearl, Rule 706 Expert, to Google
                             Response to Oracle Motion In Limine #6 Regarding Rule 706 Expert, Professor James Kearl filed by
                             John Lee Cooper. (Attachments: # 1 Proposed Order, # 2 Declaration of John Cooper, # 3 Response of
                             Dr. James Kearl, # 4 Declaration of Dr. James Kearl, # 5 Exhibit Exh. A to Kearl Decl., # 6 Exhibit
                             Exh. B to Kearl Decl., # 7 Exhibit Exh. C. to Kearl Decl.)(Cooper, John) (Filed on 4/13/2016)
                             (Entered: 04/13/2016)
         04/13/2016     1646 Administrative Motion to File Under Seal Response of Dr. James R. Kearl, Rule 706 Expert, to Oracle
                             Response to Google Motion To Strike Testimony of James R. Kearl filed by John Lee Cooper.
                             (Attachments: # 1 Proposed Order, # 2 Declaration of John Cooper, # 3 Response of Dr. James Kearl, #
                             4 Declaration of Dr. James Kearl, # 5 Exhibit Exh. A to Kearl Decl., # 6 Exhibit Exh. B to Kearl Decl.)
                             (Cooper, John) (Filed on 4/13/2016) (Entered: 04/13/2016)
         04/13/2016     1647 Minute Entry for proceedings held before Hon. William Alsup: Motion Hearing held on
                             4/13/2016. Total Time in Court: 3 hours. Court Reporter: JoAnn Bryce. Plaintiff Attorney
                             Annette L. Hurst, Peter A. Bicks, Lisa T. Simpson, Gabe Ramsey.Defendant Attorney Robert A.
                             Van Nest, Matthias A. Kamber, Reid P. Mullen, Michael Kwun, Maya Karwande, Christa
                             Martine Anderson. (afmS, COURT STAFF) (Date Filed: 4/13/2016) (Entered: 04/13/2016)
         04/13/2016     1648 Redaction of 1437 Transcript,,, (Related documents(s) 1437 ) (Skillman, Diane) (Filed on 4/13/2016)
                             (Entered: 04/13/2016)
         04/13/2016     1649 TRANSCRIPT ORDER for proceedings held on 4-13-16 before Hon. William Alsup by Oracle
                             America, Inc., for Court Reporter Jo Ann Bryce. (Ramsey, Gabriel) (Filed on 4/13/2016) (Entered:
                             04/13/2016)
         04/13/2016     1650 TRANSCRIPT ORDER for Daily Trial by Google Inc.. (Mullen, Reid) (Filed on 4/13/2016) (Entered:
                             04/13/2016)
         04/13/2016     1651 REPLY (re 1584 MOTION to Strike Portions of Dr. Kearl's Report and Testimony ) filed byGoogle
                             Inc.. (Van Nest, Robert) (Filed on 4/13/2016) (Entered: 04/13/2016)
         04/13/2016     1652 REPLY (re 1565 MOTION in Limine NO. 6 TO EXCLUDE PORTIONS OF EXPERT REPORT AND
                             TESTIMONY OF JAMES MALACKOWSKI, 1613 Administrative Motion to File Under Seal Oracle's
                             Opposition to Google's Motion in Limine # 6 ) filed byGoogle Inc.. (Van Nest, Robert) (Filed on
                             4/13/2016) (Entered: 04/13/2016)
         04/13/2016     1653 REPLY (re 1552 MOTION in Limine Oracle's Motion In Limine # 2 To Exclude Evidence of Apache,
                             Apache Harmony, and GNU Classpath ) filed byOracle America, Inc.. (Simpson, Lisa) (Filed on
                             4/13/2016) (Entered: 04/13/2016)
         04/13/2016     1654 Administrative Motion to File Under Seal Oracle's Reply In Support of Oracle's Motion In Limine # 5
                             re Dr. Simonson filed by Oracle America, Inc.. (Attachments: # 1 Declaration in Support of
                             Administrative Motion to File Under Seal, # 2 Proposed Order, # 3 UNREDACTED Version of Reply
                             In Support of Oracle's Motion In Limine # 5, # 4 Redacted Version of Reply In Support of Oracle's
                             Motion In Limine # 5)(Silverman, Andrew) (Filed on 4/13/2016) (Entered: 04/13/2016)
         04/13/2016     1655 Administrative Motion to File Under Seal Oracle's Reply In Support of Oracle's Motion In Limine # 6
                             re Dr. Kearl filed by Oracle America, Inc.. (Attachments: # 1 Declaration in Support of Administrative
                             Motion to File Under Seal, # 2 Proposed Order, # 3 UNREDACTED Version of Oracle's Reply In
                             Support of Oracle's Motion In Limine # 6, # 4 Redacted Version of Oracle's Reply In Support of
                             Oracle's Motion In Limine # 6)(Silverman, Andrew) (Filed on 4/13/2016) (Entered: 04/13/2016)




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         04/13/2016     1656 Administrative Motion to File Under Seal Oracle's Reply in Support of Motion In Limine # 4 re Dr.
                             Leonard filed by Oracle America, Inc.. (Attachments: # 1 Declaration in Support of Administrative
                             Motion to File Under Seal, # 2 Proposed Order, # 3 UNREDACTED Version of Oracle's Reply In
                             Support of Motion In Limine # 4 re Dr. Leonard, # 4 Redacted Version of Oracle's Reply In Support of
                             Motion In Limine # 4 re Dr. Leonard)(Silverman, Andrew) (Filed on 4/13/2016) (Entered: 04/13/2016)
         04/13/2016     1657 Declaration of Renny Hwang in Support of 1625 Administrative Motion to File Under Seal re Oracle's
                             Response to Google's Motion to Strike Testimony of James R. Kearl, 1619 Administrative Motion to
                             File Under Seal re Oracle's Motion In Limine # 7 Regarding Reply Report of Google's Damages Expert
                             Dr. Gregory Leonard, 1622 Administrative Motion to File Under Seal Response of Dr. James R. Kearl,
                             Rule 706 Expert, to Google's Motion to Strike Portions of Expert Report and Testimony of Dr. James R.
                             Kearl, 1621 Administrative Motion to File Under Seal Response of Dr. James R. Kearl, Rule 706
                             Expert, to Oracle's Motion in Limine No. 6 Regarding Rule 706 Expert filed byGoogle Inc.. (Related
                             document(s) 1625 , 1619 , 1622 , 1621 ) (Van Nest, Robert) (Filed on 4/13/2016) (Entered: 04/13/2016)
         04/13/2016     1658 REPLY (re 1557 MOTION in Limine No. 1 to Exclude Certain Testimony from Expert Report of Dr.
                             Chris F. Kemerer ) and 1609 Oracle's Opposition to Google's Motion in Limine No. 1 filed byGoogle
                             Inc.. (Van Nest, Robert) (Filed on 4/13/2016) (Entered: 04/13/2016)
         04/14/2016     1659 NOTICE of Appearance by Kate Ellis Lazarus , Keker & Van Nest LLP (Lazarus, Kate) (Filed on
                             4/14/2016) (Entered: 04/14/2016)
         04/14/2016     1660 Administrative Motion to File Under Seal Google's Opposition to Oracle's MIL 7 filed by Google Inc..
                             (Attachments: # 1 Unredacted Version of Opposition to Oracle's MIL 7, # 2 Redacted Version of
                             Opposition to Oracle's MIL 7, # 3 Unredacted Exhibit A to Karwande Declaration, # 4 Redacted
                             Exhibit A to Karwande Declaration, # 5 Declaration of Renny Hwang, # 6 Proposed Order)(Van Nest,
                             Robert) (Filed on 4/14/2016) (Entered: 04/14/2016)
         04/14/2016     1661 RESPONSE to re 1615 Order, Set Deadlines Google Inc. Response to Request for Critique re
                             Instructions on Fair Use by Google Inc.. (Baber, Bruce) (Filed on 4/14/2016) (Entered: 04/14/2016)
         04/14/2016     1662 RESPONSE (re 1619 Administrative Motion to File Under Seal re Oracle's Motion In Limine # 7
                             Regarding Reply Report of Google's Damages Expert Dr. Gregory Leonard ) filed byGoogle Inc..
                             (Attachments: # 1 Declaration of Maya Karwande, # 2 Redacted Exhibit A)(Van Nest, Robert) (Filed
                             on 4/14/2016) (Entered: 04/14/2016)
         04/14/2016     1663 Response re 1615 Order, Set Deadlines Oracles Response to the Courts Request for Critique re
                             Proposed Instructions on Fair Use (ECF No. 1615) byOracle America, Inc.. (Hurst, Annette) (Filed on
                             4/14/2016) (Entered: 04/14/2016)
         04/14/2016     1664 ORDER SETTING HEARINGS ON MOTIONS IN LIMINE DIRECTED AT DAMAGES
                             EXPERTS Setting Hearing on Motion 1582 Administrative Motion to File Under Seal Re
                             Oracle's Motion In Limine # 6 Re Rule 706 Expert, 1565 MOTION in Limine NO. 6 TO
                             EXCLUDE PORTIONS OF EXPERT REPORT AND TESTIMONY OF JAMES MALACKOWSKI,
                             1554 Administrative Motion to File Under Seal Oracle's Motion In Limine # 4 Regarding Google's
                             Damages Expert, 1584 MOTION to Strike Portions of Dr. Kearl's Report and Testimony, 1619
                             Administrative Motion to File Under Seal re Oracle's Motion In Limine # 7 Regarding Reply
                             Report of Google's Damages Expert Dr. Gregory Leonard : Motion Hearing set for 4/19/2016 08:00
                             AM in Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup.. Signed by Judge
                             Alsup on 4/14/16. (Attachments: # 1 Exhibit Questions re Indirect Profits)(whalc1, COURT
                             STAFF) (Filed on 4/14/2016) (Entered: 04/14/2016)
         04/14/2016     1665 Brief re 1551 Administrative Motion to File Under Seal Oracle's Motion In Limine # 1- To Exclude
                             Evidence Of OpenJDK (Supplemental) filed byGoogle Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2,
                             # 3 Exhibit 3)(Related document(s) 1551 ) (Van Nest, Robert) (Filed on 4/14/2016) (Entered:
                             04/14/2016)
         04/14/2016     1666 REQUEST FOR FURTHER RESPONSE RE FAIR USE INSTRUCTIONS. Signed by Judge
                             Alsup on 4/14/16. (whalc1, COURT STAFF) (Filed on 4/14/2016) (Entered: 04/14/2016)
         04/15/2016     1667 CLERK'S NOTICE: 1582 , 1565 , 1554 , 1584 , 1619 Motions hearings also set for 4/20/2016 at 08:00
                             AM in Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup. (This is a text-only entry
                             generated by the court. There is no document associated with this entry.) (afmS, COURT STAFF)
                             (Filed on 4/15/2016) (Entered: 04/15/2016)



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CAND-ECF                                                             https://ecf.cand.circ9.dcn/cgi-bin/DktRpt.pl?767196345698506-L_1_0-1
                      Case: 17-1118          Document: 1-2           Page: 140          Filed: 10/28/2016

         04/15/2016     1668 RESPONSE to re 1665 Brief, Oracle's Response to Google's Supplemental Brief re Motion In Limine #
                             1 (OpenJDK) by Oracle America, Inc.. (Caridis, Alyssa) (Filed on 4/15/2016) (Entered: 04/15/2016)
         04/15/2016     1669 REQUEST TO COUNSEL RE LAW REVIEW ARTICLES. Responses due by 1:00 PM
                             4/15/2016. Signed by Judge William Alsup on 4/15/2016. (whasec, COURT STAFF) (Filed on
                             4/15/2016) (Entered: 04/15/2016)
         04/15/2016     1670 RESPONSE to re 1669 Order, Set Deadlines by Google Inc.. (Van Nest, Robert) (Filed on 4/15/2016)
                             (Entered: 04/15/2016)
         04/15/2016     1671 RESPONSE to re 1669 Order, Set Deadlines Oracle's Response to Court's Request for Articles by
                             Oracle America, Inc.. (Hurst, Annette) (Filed on 4/15/2016) (Entered: 04/15/2016)
         04/15/2016     1672 RESPONSE to re 1669 Order, Set Deadlines Further Response to the Court's Request by Google Inc..
                             (Van Nest, Robert) (Filed on 4/15/2016) (Entered: 04/15/2016)
         04/15/2016     1673 Minute Entry for proceedings held before Magistrate Judge Paul Singh Grewal: Settlement
                             Conference held on 4/15/2016. Court comment: After an earlier run at settling this case failed,
                             the court observed that some cases just need to be tried. This case apparently needs to be tried
                             twice. However unsuccessful, the court appreciates the parties' settlement efforts earlier today--
                             especially those of Ms. Catz and Mr. Pichai. No further settlement talks are scheduled. Total
                             Time in Court: 6 hours. Court Reporter: Not Reported. Plaintiff Attorneys present: Matthew
                             Sarboraria, Lisa Simpson and Annette Hurst. Also present: Safra Catz and Georges Saab.
                             Defendant Attorneys present: Christa Anderson, Michael Kwun and Renny Hwang. Also
                             present: Sundar Pichai, Hiroshi Lockheimer, Catherine Lacavera and Kent Walker. This is a text
                             only Minute Entry. (ofr, COURT STAFF) (Date Filed: 4/15/2016) (Entered: 04/15/2016)
         04/15/2016     1674 Declaration of Renny Hwang in Support of 1629 Administrative Motion to File Under Seal Oracle's
                             Response to ECF No. 1598 re Fair Use filed byGoogle Inc.. (Related document(s) 1629 ) (Van Nest,
                             Robert) (Filed on 4/15/2016) (Entered: 04/15/2016)
         04/15/2016     1675 RESPONSE to Court Request for Briefing: Oracle's Brief re Use of Non-Infringing Alternatives in
                             Disgorgement by Oracle America, Inc.. (Hurst, Annette) (Filed on 4/15/2016) (Entered: 04/15/2016)
         04/15/2016     1676 RESPONSE to Court's Request for Briefing: Brief re "Non-Infringing Alternatives" in Response to
                             April 14, 2016 Request from Court by Google Inc.. (Van Nest, Robert) (Filed on 4/15/2016) (Entered:
                             04/15/2016)
         04/18/2016     1677 RESPONSE to re 1630 Order, Set Deadlines Oracle's Response to Jury Selection Plan by Oracle
                             America, Inc.. (Bicks, Peter) (Filed on 4/18/2016) (Entered: 04/18/2016)
         04/18/2016     1678 RESPONSE to re 1666 Order Google Inc. Response to Request For Further Response Re Fair Use
                             Instructions by Google Inc.. (Baber, Bruce) (Filed on 4/18/2016) (Entered: 04/18/2016)
         04/18/2016     1679 RESPONSE to re 1661 Response ( Non Motion ), 1666 Order Oracle's Response to Google's Critique
                             of the Court's Proposed Fair Use Jury Instructions by Oracle America, Inc.. (Simpson, Lisa) (Filed on
                             4/18/2016) (Entered: 04/18/2016)
         04/18/2016     1680 RESPONSE to re 1630 Order, Set Deadlines Googles Response to the Courts Proposed Jury Selection
                             Plan by Google Inc.. (Van Nest, Robert) (Filed on 4/18/2016) (Entered: 04/18/2016)
         04/18/2016     1681 Transcript of Proceedings held on 4/13/16, before Judge William H. Alsup. Court Reporter Jo Ann
                             Bryce, telephone number 510-910-5888, joann_bryce@cand.uscourts.gov. Per General Order No. 59
                             and Judicial Conference policy, this transcript may be viewed only at the Clerk's Office public terminal
                             or may be purchased through the Court Reporter until the deadline for the Release of Transcript
                             Restriction after 90 days. After that date, it may be obtained through PACER. Any Notice of Intent to
                             Request Redaction, if required, is due no later than 5 business days from date of this filing. (Re 1649
                             Transcript Order, 1650 Transcript Order - Daily Trial ) Release of Transcript Restriction set for
                             7/18/2016. (Related documents(s) 1649 , 1650 ) (Bryce, Joann) (Filed on 4/18/2016) (Entered:
                             04/18/2016)
         04/18/2016     1682 Transcript of Proceedings held on 4/14/16, before Judge William H. Alsup. Court Reporter Jo Ann
                             Bryce, telephone number 510-910-5888, joann_bryce@cand.uscourts.gov. Per General Order No. 59
                             and Judicial Conference policy, this transcript may be viewed only at the Clerk's Office public terminal
                             or may be purchased through the Court Reporter until the deadline for the Release of Transcript




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                               Restriction after 90 days. After that date, it may be obtained through PACER. Any Notice of Intent to
                               Request Redaction, if required, is due no later than 5 business days from date of this filing. Release of
                               Transcript Restriction set for 7/18/2016. (Bryce, Joann) (Filed on 4/18/2016) (Entered: 04/18/2016)
         04/18/2016     1683 REQUEST FOR RESPONSE RE REFERENCES TO PRIOR PROCEEDINGS. Signed by
                             Judge Alsup on 4/18/16. (whalc1, COURT STAFF) (Filed on 4/18/2016) (Entered: 04/18/2016)
         04/18/2016     1684 Administrative Motion to File Under Seal Oracle's Reply in Support of its Motion In Limine # 7 re Dr.
                             Leonard filed by Oracle America, Inc.. (Attachments: # 1 Declaration in Support of Administrative
                             Motion to File Under Seal, # 2 Proposed Order Granting Administrative Motion to File Under Seal, # 3
                             UNREDACTED Version of Oracle's Reply In Support of its Motion In Limine # 7 Re Dr. Leonard, # 4
                             Redacted Version of Oracle's Reply In Support of its Motion In Limine # 7 Re Dr. Leonard)(Silverman,
                             Andrew) (Filed on 4/18/2016) (Entered: 04/18/2016)
         04/18/2016     1685 MOTION to Redact 1681 Transcript,,, filed by Google Inc.. (Attachments: # 1 Declaration of Renny
                             Hwang, # 2 Declaration of Maya Karwande, # 3 Proposed Order)(Van Nest, Robert) (Filed on
                             4/18/2016) (Entered: 04/18/2016)
         04/18/2016     1686 Declaration of Renny Hwang in Support of 1645 Administrative Motion to File Under Seal Response
                             of Dr. James R. Kearl, Rule 706 Expert, to Google Response to Oracle Motion In Limine #6 Regarding
                             Rule 706 Expert, Professor James Kearl, 1656 Administrative Motion to File Under Seal Oracle's
                             Reply in Support of Motion In Limine # 4 re Dr. Leonard, 1655 Administrative Motion to File Under
                             Seal Oracle's Reply In Support of Oracle's Motion In Limine # 6 re Dr. Kearl, 1646 Administrative
                             Motion to File Under Seal Response of Dr. James R. Kearl, Rule 706 Expert, to Oracle Response to
                             Google Motion To Strike Testimony of James R. Kearl filed byGoogle Inc.. (Related document(s) 1645
                             , 1656 , 1655 , 1646 ) (Van Nest, Robert) (Filed on 4/18/2016) (Entered: 04/18/2016)
         04/19/2016     1687 Minute Entry for proceedings held before Hon. William Alsup: Motion Hearing held on
                             4/19/2016 1554 Oracle's Motion in Limine #4 Regarding Google's Damages Expert, 1565
                             Google's Motion in Limine #6 to Exclude Portions of Expert Report and Testimony of James
                             Malackowski. Motions taken under submission. Motions 1582 , 1584 , 1619 continued to
                             4/20/2016. Total Time in Court 4:35.
                             Court Reporter: Katherine Sullivan.
                             Plaintiff Attorneys: Annette L. Hurst, Alyssa Caridis, Peter A. Bicks, Lisa T. Simpson, Gabriel
                             Ramsey, Andrew Kim, Ayanna Lewis-Gruss.
                             Defendant Attorney: Robert A. Van Nest, Reid P. Mullen, Christa Martine Anderson, Eugene
                             Paige, Steven P. Ragland.
                             Attorney for Expert Dr. Kearl: John Cooper.
                             Attachment Minute Order.(afmS, COURT STAFF) (Date Filed: 4/19/2016) (Entered: 04/19/2016)
         04/19/2016     1688 MODIFIED PROPOSED JURY INSTRUCTIONS ON FAIR USE Replies due by 5/2/2016.
                             Responses due by 4/28/2016.. Signed by Judge Alsup on 4/18/16. (whalc1, COURT STAFF) (Filed
                             on 4/19/2016) (Entered: 04/19/2016)
         04/19/2016     1689 TRANSCRIPT ORDER for proceedings held on 04/19/2016 before Hon. William Alsup by Oracle
                             America, Inc., for Court Reporter Katherine Sullivan. (Ramsey, Gabriel) (Filed on 4/19/2016)
                             (Entered: 04/19/2016)
         04/20/2016     1690 TRANSCRIPT ORDER for proceedings held on 04/19/2016 04/20/2016 before Hon. William Alsup by
                             John Lee Cooper, for Court Reporter Pam Batalo. (Cooper, John) (Filed on 4/20/2016) (Entered:
                             04/20/2016)
         04/20/2016     1691 TRANSCRIPT ORDER for proceedings held on 4-20-16 before Hon. William Alsup by Oracle
                             America, Inc., for Court Reporter Pam Batalo. (Ramsey, Gabriel) (Filed on 4/20/2016) (Entered:
                             04/20/2016)
         04/20/2016     1692 TRANSCRIPT ORDER for proceedings held on 4/19/16-4/20/16 before Hon. William Alsup by
                             Google Inc., for Court Reporter Pam Batalo. (Mullen, Reid) (Filed on 4/20/2016) (Entered:
                             04/20/2016)
         04/20/2016     1693 (Disregard - See Amended Minutes) Minute Entry for proceedings held before Hon. William
                             Alsup: Motions Hearing held on 4/20/2016 re 1557 , 1554 , 1565 , 1582 , 1584 , 1619 : taken under
                             submission. Total Time in Court: 3:45.
                             Court Reporter: Pamela Batalo.



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                      Case: 17-1118         Document: 1-2           Page: 142         Filed: 10/28/2016

                               Plaintiff Attorneys: Annette L. Hurst, Alyssa Caridis, Peter A. Bicks, Lisa T. Simpson, Gabriel
                               Ramsey, Andrew Kim, Ayanna Lewis-Gruss, Robert Keele.
                               Defendant Attorneys: Robert A. Van Nest, Christa Marine Anderson, Maya Karwande, Elizaeth
                               Egan, Eugene Paige, Steven P. Ragland, Michael Kwun.
                               Attachment: Minute Order.(afmS, COURT STAFF) (Date Filed: 4/20/2016) Modified on
                               4/20/2016 (afmS, COURT STAFF). (Entered: 04/20/2016)
         04/20/2016     1694 Amended Minute Entry for proceedings held before Hon. William Alsup: Motions Hearing held
                             on 4/20/2016 re: 1557 , 1554 , 1565 , 1582 , 1584 , 1619 and are taken under submission.
                             Total Time in Court 3:45.
                             Court Reporter: Pamela Batalo.
                             Plaintiff Attorneys: Annette L. Hurst, Alyssa Caridis, Peter A. Bicks, Lisa T. Simpson, Garbiel
                             Ramsey, Andrew Kim, Robert Keele, Ayanna Lewis-Gruss.
                             Defendant Attorneys: Robert A. Van Nest, Christa Marine Anderson, Eugene Paige, Steven P.
                             Ragland, Elizabeth Egan, Maya Karwande.
                             Attachment: Minute Order.(afmS, COURT STAFF) (Date Filed: 4/20/2016) (Entered:
                             04/20/2016)
         04/20/2016     1695 Proposed Voir Dire by Oracle America, Inc. Joint Proposed Supplemental Court Voir Dire. (Bicks,
                             Peter) (Filed on 4/20/2016) (Entered: 04/20/2016)
         04/20/2016     1696 MOTION in Limine Oracle's Summary Motions In Limine and Google's Oppositions Thereto Pursuant
                             to ECF No. 1488 filed by Oracle America, Inc.. Motion Hearing set for 4/27/2016 08:00 AM in
                             Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup. Responses due by 4/27/2016.
                             Replies due by 4/27/2016. (Simpson, Lisa) (Filed on 4/20/2016) (Entered: 04/20/2016)
         04/20/2016     1697 MOTION in Limine Google's #1 Summary MIL to Preclude Expert Testimony that is Recitation of a
                             Preferred Version of Disputed Facts and Oracle's Opposition filed by Google Inc.. Motion Hearing set
                             for 4/27/2016 08:00 AM in Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup.
                             Responses due by 4/27/2016. Replies due by 4/27/2016. (Van Nest, Robert) (Filed on 4/20/2016)
                             (Entered: 04/20/2016)
         04/20/2016     1698 MOTION in Limine Google's #2 Summary MIL re Financial Information and Oracle's Opposition
                             filed by Google Inc.. Motion Hearing set for 4/27/2016 08:00 AM in Courtroom 8, 19th Floor, San
                             Francisco before Hon. William Alsup. Responses due by 4/27/2016. Replies due by 4/27/2016. (Van
                             Nest, Robert) (Filed on 4/20/2016) (Entered: 04/20/2016)
         04/20/2016     1699 MOTION in Limine Google's #3 Summary MIL to Exclude Unnecessary Testimony Concerning Case
                             Law, Legal Proceedings, and Related Matters and Oracle's Opposition filed by Google Inc.. Motion
                             Hearing set for 4/27/2016 08:00 AM in Courtroom 8, 19th Floor, San Francisco before Hon. William
                             Alsup. Responses due by 4/27/2016. Replies due by 4/27/2016. (Van Nest, Robert) (Filed on
                             4/20/2016) (Entered: 04/20/2016)
         04/20/2016     1700 Proposed Form of Verdict by Oracle America, Inc. Joint Submission of Proposed Special Vedrict
                             Forms. (Attachments: # 1 Appendix A- Oracle's Proposed Special Verdict Form, # 2 Appendix B-
                             Google's Proposed Special Verdict Form)(Von Der Ahe, Christina) (Filed on 4/20/2016) (Entered:
                             04/20/2016)
         04/20/2016     1701 RESPONSE to Final Pretrial Conference Guidelines (Googles Rule 26a3 Disclosures) by Google Inc..
                             (Attachments: # 1 Witness List, # 2 Exhibit List)(Van Nest, Robert) (Filed on 4/20/2016) (Entered:
                             04/20/2016)
         04/20/2016     1702 Witness List by Oracle America, Inc. Oracle's Rule 26(a)(3) Trial Witness List and Trial Exhibit List
                             Disclosure. (Attachments: # 1 Appendix A- Oracle's Trial Witness List, # 2 Appendix B- Oracle's Trial
                             Exhibit List)(Von Der Ahe, Christina) (Filed on 4/20/2016) (Entered: 04/20/2016)
         04/20/2016     1703 Proposed Jury Instructions by Oracle America, Inc. Parties' Joint Proposed Jury Instructions.
                             (Silverman, Andrew) (Filed on 4/20/2016) (Entered: 04/20/2016)
         04/20/2016     1704 TRIAL BRIEF Google Inc. Memorandum In Support Of Disputed Jury Instructions by Google Inc..
                             (Baber, Bruce) (Filed on 4/20/2016) (Entered: 04/20/2016)
         04/20/2016     1705 Administrative Motion to File Under Seal Google's Trial Brief filed by Google Inc.. (Attachments: # 1
                             Under Seal Version of Google's Trial Brief, # 2 Redacted Version of Google's Trial Brief, # 3




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                               Declaration of Kate Lazarus, # 4 Proposed Order)(Van Nest, Robert) (Filed on 4/20/2016) (Entered:
                               04/20/2016)
         04/20/2016     1706 TRIAL BRIEF by Google Inc.. (Van Nest, Robert) (Filed on 4/20/2016) (Entered: 04/20/2016)
         04/20/2016     1707 Brief re 1703 Proposed Jury Instructions Oracle's Brief in Support of Proposed Jury Instructions filed
                             byOracle America, Inc.. (Related document(s) 1703 ) (Simpson, Lisa) (Filed on 4/20/2016) (Entered:
                             04/21/2016)
         04/21/2016     1708 TRIAL BRIEF by Oracle America, Inc.. (Hurst, Annette) (Filed on 4/21/2016) (Entered: 04/21/2016)
         04/21/2016     1709 Proposed Pretrial Order Joint [Proposed] Final Pretrial Order by Oracle America, Inc.. (Attachments:
                             # 1 Appendix A - Joint Exhibit List, # 2 Appendix B- Oracle's Trial Witness List, # 3 Appendix C-
                             Google's Trial Witness List)(Von Der Ahe, Christina) (Filed on 4/21/2016) (Entered: 04/21/2016)
         04/21/2016     1710 FINAL JURY SELECTION PLAN. Signed by Judge Alsup on 4/21/16. (Attachments: # 1 Exhibit
                             Jury Questionnaire)(whalc1, COURT STAFF) (Filed on 4/21/2016) (Entered: 04/21/2016)
         04/21/2016     1711 PROPOSED INSTRUCTIONS RE FACTOIDS FROM COURT OF APPEALS OPINION
                             Responses due by 4/26/2016 at Noon.. Signed by Judge Alsup on 4/21/16. (whalc1, COURT
                             STAFF) (Filed on 4/21/2016) (Entered: 04/21/2016)
         04/21/2016     1712 RESPONSE to re 1687 Motion Hearing,,,, Order on Motion to Redact Transcript,,, Google's Brief re
                             (1) The Propriety of In Camera Review and (2) Evidence Indicating that OpenJDK was a Viable
                             Option for Android by Google Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Kwun,
                             Michael) (Filed on 4/21/2016) (Entered: 04/21/2016)
         04/21/2016     1713 RESPONSE to Court Request for Briefing re In Camera Review of Google Attorney Advice re
                             OpenJDK and Classpath Exception by Oracle America, Inc.. (Attachments: # 1 Evidence re Google's
                             Rejection of OpenJDK Provided to Court During Oracle MIL # 1 Hearing)(Caridis, Alyssa) (Filed on
                             4/21/2016) (Entered: 04/21/2016)
         04/21/2016     1714 RESPONSE to Request for Briefing re Expert Report Schedule by Oracle America, Inc.. (Hurst,
                             Annette) (Filed on 4/21/2016) (Entered: 04/21/2016)
         04/21/2016     1715 RESPONSE to re 1687 Motion Hearing,,,, Order on Motion to Redact Transcript,,, Google's Brief re
                             Whether Evidence Submitted in Mr. Malackowski's Reply May be Considered re Causal Nexus by
                             Google Inc.. (Van Nest, Robert) (Filed on 4/21/2016) (Entered: 04/21/2016)
         04/22/2016     1716 ADJUSTMENTS TO FAIR-USE INSTRUCTION. Signed by Judge Alsup on 4/22/16. (whalc1,
                             COURT STAFF) (Filed on 4/22/2016) (Entered: 04/22/2016)
         04/22/2016     1717 ORDER SETTING SUPPLEMENTAL BRIEFING SCHEDULE RE MOTION TO EXCLUDE
                             TESTIMONY OF DR. KEMERER. Signed by Judge Alsup on 4/22/16. (whalc1, COURT
                             STAFF) (Filed on 4/22/2016) (Entered: 04/22/2016)
         04/22/2016     1718 ORDER RE TIMELINE. Signed by Judge Alsup on 4/22/16. (whalc1, COURT STAFF) (Filed on
                             4/22/2016) (Entered: 04/22/2016)
         04/22/2016     1719 REQUEST FOR BRIEFING RE ADMISSIBILITY OF PRIOR STATEMENTS IN CASE
                             Responses due by 4/22/2016.. Signed by Judge Alsup on 4/22/16. (whalc1, COURT STAFF) (Filed
                             on 4/22/2016) (Entered: 04/22/2016)
         04/22/2016     1720 ORDER RE POSSIBLE IN CAMERA REVIEW OF DOCUMENTS WITHHELD AS
                             PRIVILEGED BY GOOGLE. Signed by Judge Alsup on 4/22/16. (whalc1, COURT STAFF)
                             (Filed on 4/22/2016) (Entered: 04/22/2016)
         04/22/2016     1721 Transcript of Proceedings held on 04/20/16, before Judge Alsup. Court Reporter Pamela A. Batalo,
                             telephone number 626-688-7509; pamela_batalo@cand.uscourts.gov. Per General Order No. 59 and
                             Judicial Conference policy, this transcript may be viewed only at the Clerk's Office public terminal or
                             may be purchased through the Court Reporter/Transcriber until the deadline for the Release of
                             Transcript Restriction. After that date it may be obtained through PACER. Any Notice of Intent to
                             Request Redaction, if required, is due no later than 5 business days from date of this filing. (Re 1691
                             Transcript Order, 1692 Transcript Order ) Redaction Request due 5/13/2016. Redacted Transcript
                             Deadline set for 5/23/2016. Release of Transcript Restriction set for 7/21/2016. (Related documents(s)
                             1691 , 1692 ) (Batalo, Pam) (Filed on 4/22/2016) (Entered: 04/22/2016)



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                      Case: 17-1118          Document: 1-2            Page: 144          Filed: 10/28/2016

         04/22/2016     1722 Transcript of Proceedings held on 4/19/16, before Judge William H. Alsup. Court Reporter/Transcriber
                             Katherine Powell Sullivan, telephone number 415-794-6659. Per General Order No. 59 and Judicial
                             Conference policy, this transcript may be viewed only at the Clerk's Office public terminal or may be
                             purchased through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                             Restriction. After that date it may be obtained through PACER. Any Notice of Intent to Request
                             Redaction, if required, is due no later than 5 business days from date of this filing. (Re 1690 Transcript
                             Order, 1692 Transcript Order, 1689 Transcript Order ) Redaction Request due 5/13/2016. Redacted
                             Transcript Deadline set for 5/23/2016. Release of Transcript Restriction set for 7/21/2016. (Related
                             documents(s) 1690 , 1692 , 1689 ) (Sullivan, Katherine) (Filed on 4/22/2016) (Entered: 04/22/2016)
         04/22/2016     1723 ORDER RE BRIEFING ON JONATHAN SCHWARTZ. Oracle's Motion due by NOON ON
                             4/25/2016. Google's Response due by NOON ON 4/27/2016. Signed by Judge William Alsup on
                             4/22/2016. (whasec, COURT STAFF) (Filed on 4/22/2016) (Entered: 04/22/2016)
         04/22/2016            (Court only) TRANSCRIPT COPY DELIVERED re 1690 Transcript Order (Related documents(s)
                               1690 ) (Batalo, Pam) (Filed on 4/22/2016) (Entered: 04/22/2016)
         04/22/2016     1724 STIPULATION WITH PROPOSED ORDER re 1717 Order Stipulation and Proposed Order
                             Extending By One Day the Deadline for Deposition of Rohit Chatterjee filed by Oracle America, Inc..
                             (Ramsey, Gabriel) (Filed on 4/22/2016) (Entered: 04/22/2016)
         04/25/2016     1725 RESPONSE to re 1723 Order, Set Deadlines Joint Stipulation and [Proposed] Order Re Testimony of
                             J. Schwartz by Oracle America, Inc.. (Bicks, Peter) (Filed on 4/25/2016) (Entered: 04/25/2016)
         04/25/2016     1726 RESPONSE to re 1719 Order, Set Deadlines Oracle's Response to Court's Request for Briefing re:
                             Prior Statements by the Federal Circuit and Counsel by Oracle America, Inc.. (Hurst, Annette) (Filed
                             on 4/25/2016) (Entered: 04/25/2016)
         04/25/2016     1727 Administrative Motion to File Under Seal Response to Request for Briefing re Admissibility of Prior
                             Statements in Case filed by Google Inc.. (Attachments: # 1 Unredacted Response to Request for
                             Briefing re Admissibility of Prior Statements in Case ECF 1719, # 2 Redacted Response to Request for
                             Briefing re Admissibility of Prior Statements in Case ECF 1719, # 3 Declaration of Kate Lazarus, # 4
                             Proposed Order)(Van Nest, Robert) (Filed on 4/25/2016) (Entered: 04/25/2016)
         04/25/2016     1728 RESPONSE to re 1719 Order, Set Deadlines Google's Response to Request for Briefing re
                             Admissibility of Prior Statements in Case by Google Inc.. (Van Nest, Robert) (Filed on 4/25/2016)
                             (Entered: 04/25/2016)
         04/25/2016     1729 STIPULATION AND ORDER RE THE DEPOSITION OF ROHIT CHATTERJEE by Hon.
                             William Alsup granting 1724 Stipulation.(whalc1, COURT STAFF) (Filed on 4/25/2016)
                             (Entered: 04/25/2016)
         04/25/2016     1730 REQUEST FOR RESPONSES RE PRIOR STATEMENTS Responses due by 4/26/2016 at 5:00
                             p.m.. Signed by Judge Alsup on 4/25/16. (whalc1, COURT STAFF) (Filed on 4/25/2016) (Entered:
                             04/25/2016)
         04/25/2016     1731 JOINT STIPULATION AND ORDER RE TESTIMONY OF JONATHAN SCHWARTZ
                             granting 1725 . Signed by Judge Alsup on 4/25/16. (whalc1, COURT STAFF) (Filed on 4/25/2016)
                             (Entered: 04/25/2016)
         04/26/2016     1732 REQUEST FOR BRIEFING RE MOTIONS IN LIMINE Motions due by 4/29/2016. Responses
                             due by 5/3/2016.. Signed by Judge Alsup on 4/26/16. (whalc1, COURT STAFF) (Filed on
                             4/26/2016) (Entered: 04/26/2016)
         04/26/2016     1733 RESPONSE to re 1711 Order, Set Deadlines Oracle's Response to Court's Proposed Instructions re
                             Factoids from Federal Circuit Opinion by Oracle America, Inc.. (Hurst, Annette) (Filed on 4/26/2016)
                             (Entered: 04/26/2016)
         04/26/2016     1734 RESPONSE to re 1711 Order, Set Deadlines Google's Response to Proposed Instructions re Factoids
                             from Court of Appeals Opinion by Google Inc.. (Baber, Bruce) (Filed on 4/26/2016) (Entered:
                             04/26/2016)
         04/26/2016     1735 ERRATA re 1708 Trial Brief by Oracle America, Inc.. (Hurst, Annette) (Filed on 4/26/2016) (Entered:
                             04/26/2016)




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         04/26/2016     1736 RESPONSE to re 1730 Order, Set Deadlines Oracle's Response to Request for Further Briefing on
                             Law of the Case/Mandate Rule by Oracle America, Inc.. (Hurst, Annette) (Filed on 4/26/2016)
                             (Entered: 04/26/2016)
         04/26/2016     1737 RESPONSE to re 1726 Response ( Non Motion ) Google's Response to Oracle's Response to Request
                             for Briefing re Admissibility of Prior Statements in Case by Google Inc.. (Van Nest, Robert) (Filed on
                             4/26/2016) (Entered: 04/26/2016)
         04/26/2016     1738 RESPONSE to re 1718 Order Stipulated Joint Timeline by Oracle America, Inc.. (Hurst, Annette)
                             (Filed on 4/26/2016) (Entered: 04/26/2016)
         04/27/2016     1739 ORDER RE GALLERY SEATING RESTRICTION. Signed by Judge William Alsup on
                             4/27/2016. (whasec, COURT STAFF) (Filed on 4/27/2016) (Entered: 04/27/2016)
         04/27/2016     1740 Minute Entry for proceedings held before Hon. William Alsup: Final Pretrial Conference held on
                             4/27/2016. Motion Hearing held on 4/27/2016 re: 1552 Motion in Limine #2 to Exclude Evidence
                             of Apache, Apache Harmony, and GNU Classpath - to be taken under submission.
                             Total Time in Court: 2:43.
                             Court Reporter: Pamela Batalo.
                             Plaintiff Attorneys: Peter A. Bicks, Annette L. Hurst, Alyssa Caridis, Lisa T. Simpson, Gabriel
                             Ramsey, Andrew Kim, Robert Keele, Ayanna Lewis-Gruss, Andrew Silverman.
                             Defendant Attorneys: Robert A. Van Nest, Christa Marine Anderson, Eugene Paige, Steven P.
                             Ragland, Maya Karwande, Reid Mullen, Matthias Kamber, Bruce W. Baber, Michael Kwun.
                             Interpreter N/A.
                             Attachment: Minute Order.(afmS, COURT STAFF) (Date Filed: 4/27/2016) (Entered:
                             04/27/2016)
         04/27/2016     1741 TRANSCRIPT ORDER for proceedings held on April 27, 2016 before Hon. William Alsup by Google
                             Inc., for Court Reporter Pam Batalo. (Van Nest, Robert) (Filed on 4/27/2016) (Entered: 04/27/2016)
         04/27/2016     1742 TRANSCRIPT ORDER before Hon. William Alsup by John Lee Cooper, for Court Reporter Pam
                             Batalo. (Cooper, John) (Filed on 4/27/2016) (Entered: 04/27/2016)
         04/28/2016     1743 RESPONSE to re 1688 Order, Set Deadlines Google Inc. Response Regarding Modified Proposed Jury
                             Instructions on Fair Use by Google Inc.. (Baber, Bruce) (Filed on 4/28/2016) (Entered: 04/28/2016)
         04/28/2016     1744 RESPONSE to re 1716 Order, 1688 Order, Set Deadlines Oracle's Objection to Modified Proposed
                             Jury Instruction on Fair Use by Oracle America, Inc.. (Simpson, Lisa) (Filed on 4/28/2016) (Entered:
                             04/28/2016)
         04/28/2016     1745 RESPONSE to re 1688 Order, Set Deadlines Joint Submission re What Is and Is Not Copyright
                             Protected and the Meaning of Declaring Code and SSO by Oracle America, Inc.. (Attachments: # 1
                             Appendix A- Oracle's Proposed Definition of Declaring Code and SSO, # 2 Appendix B- Google's
                             Proposed Definition of Declaring Code and SSO)(Silverman, Andrew) (Filed on 4/28/2016) (Entered:
                             04/28/2016)
         04/28/2016     1746 RESPONSE to re 1688 Order, Set Deadlines Joint Statement Regarding Agreed Revisions to Modified
                             Proposed Jury Instructions on Fair Use by Google Inc.. (Baber, Bruce) (Filed on 4/28/2016) (Entered:
                             04/28/2016)
         04/28/2016     1747 TRANSCRIPT ORDER for proceedings held on 4-27-16 before Hon. William Alsup by Oracle
                             America, Inc., for Court Reporter Pam Batalo. (Ramsey, Gabriel) (Filed on 4/28/2016) (Entered:
                             04/28/2016)
         04/28/2016     1748 ORDER IN LIMINE RE ORACLE'S MOTION IN LIMINE NO. 2 TO EXCLUDE EVIDENCE
                             OF APACHE HARMONY AND GNU CLASSPATH by Judge William Alsup [denying 1552
                             Motion in Limine]. The Court reserves its ruling on evidence regarding GNU Classpath for the
                             reasons stated in this order. (whasec, COURT STAFF) (Filed on 4/28/2016) (Entered: 04/28/2016)
         04/28/2016     1749 RESPONSE to re 1710 Order Joint Submission of Agreed-On Statement of the Case by Google Inc..
                             (Kamber, Matthias) (Filed on 4/28/2016) (Entered: 04/28/2016)
         04/29/2016     1750 RESPONSE to re 1732 Order, Set Deadlines Oracle's Opposition to Google's MIL # 3
                             (Privacy/Antitrust, ECF 1558) by Oracle America, Inc.. (Silverman, Andrew) (Filed on 4/29/2016)
                             (Entered: 04/29/2016)




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         04/29/2016     1751 TRIAL BRIEF Google Inc.'s Brief Regarding The Right To A Jury Trial On Profits After Petrella v.
                             MGM by Google Inc.. (Baber, Bruce) (Filed on 4/29/2016) (Entered: 04/29/2016)
         04/29/2016     1752 RESPONSE to re 1732 Order, Set Deadlines Oracle's Opposition to Google's MIL #5 (Lindholm
                             Email, ECF 1555) by Oracle America, Inc.. (Silverman, Andrew) (Filed on 4/29/2016) (Entered:
                             04/29/2016)
         04/29/2016     1753 Declaration of Andrew D. Silverman in Support of 1732 Order, Set Deadlines Silverman Declaration
                             in Support of Oracle's Opps. to Google's MILS 3 & 5 filed byOracle America, Inc.. (Attachments: # 1
                             Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                             Exhibit H, # 9 Exhibit I, # 10 Exhibit J)(Related document(s) 1732 ) (Silverman, Andrew) (Filed on
                             4/29/2016) (Entered: 04/29/2016)
         04/29/2016     1754 MOTION in Limine to Preclude Expert Testimony that is Recitation of a Preferred Version of Disputed
                             Facts filed by Google Inc.. Responses due by 5/3/2016. (Van Nest, Robert) (Filed on 4/29/2016)
                             (Entered: 04/29/2016)
         04/29/2016     1755 MOTION in Limine Re. Oracle's Use of Other APIs filed by Oracle America, Inc.. Responses due by
                             5/17/2016. (Attachments: # 1 Proposed Order)(Silverman, Andrew) (Filed on 4/29/2016) (Entered:
                             04/29/2016)
         04/29/2016     1756 RESPONSE to re 1732 Order, Set Deadlines Google's Motion in Limine re Financial Information by
                             Google Inc.. (Van Nest, Robert) (Filed on 4/29/2016) (Entered: 04/29/2016)
         04/29/2016     1757 MOTION in Limine Re Copying Required by Java filed by Oracle America, Inc.. Responses due by
                             5/3/2016. (Attachments: # 1 Proposed Order)(Silverman, Andrew) (Filed on 4/29/2016) (Entered:
                             04/29/2016)
         04/29/2016     1758 Declaration of Andrew D. Silverman in Support of 1755 MOTION in Limine Re. Oracle's Use of
                             Other APIs, 1757 MOTION in Limine Re Copying Required by Java filed byOracle America, Inc..
                             (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Related
                             document(s) 1755 , 1757 ) (Silverman, Andrew) (Filed on 4/29/2016) (Entered: 04/29/2016)
         04/29/2016     1759 Transcript of Proceedings held on 04/27/16, before Judge Alsup. Court Reporter Pamela A. Batalo,
                             telephone number 626-688-7509; pamela_batalo@cand.uscourts.gov. Per General Order No. 59 and
                             Judicial Conference policy, this transcript may be viewed only at the Clerk's Office public terminal or
                             may be purchased through the Court Reporter/Transcriber until the deadline for the Release of
                             Transcript Restriction. After that date it may be obtained through PACER. Any Notice of Intent to
                             Request Redaction, if required, is due no later than 5 business days from date of this filing. (Re 1741
                             Transcript Order, 1747 Transcript Order ) Redaction Request due 5/20/2016. Redacted Transcript
                             Deadline set for 5/31/2016. Release of Transcript Restriction set for 7/28/2016. (Related documents(s)
                             1741 , 1747 ) (Batalo, Pam) (Filed on 4/29/2016) (Entered: 04/29/2016)
         04/29/2016     1760 FINAL PRETRIAL ORDER, referring case to Magistrate Judge Sallie Kim. Signed by Judge
                             Alsup on 4/29/16. (Attachments: # 1 Jury Selection Plan, # 2 Jury Questionnaire)(whalc1,
                             COURT STAFF) (Filed on 4/29/2016) (Entered: 04/29/2016)
         04/29/2016     1761 ORDER OF REFERENCE TO MAGISTRATE JUDGE FOR MEDIATION [re 1760 Order
                             Referring Case to Magistrate Judge]. Signed by Judge William Alsup on 4/29/2016. (whasec,
                             COURT STAFF) (Filed on 4/29/2016) (Entered: 04/29/2016)
         04/29/2016     1762 NOTICE RESERVING RULING ON WHETHER THE DISGORGEMENT WILL GO TO THE
                             JURY. Signed by Judge Alsup on 4/29/16. (whalc1, COURT STAFF) (Filed on 4/29/2016)
                             (Entered: 04/29/2016)
         04/29/2016            (Court only) Magistrate Judge Paul Singh Grewal no longer assigned to case. (ahm, COURT STAFF)
                               (Filed on 4/29/2016) (Entered: 05/02/2016)
         04/29/2016            CASE REFERRED to Magistrate Judge Sallie Kim for Settlement (ahm, COURT STAFF) (Filed on
                               4/29/2016) (Entered: 05/02/2016)
         04/30/2016     1763 ORDER RE EXPERT COMPENSATION. Signed by Judge Alsup on 4/30/16. (whalc1, COURT
                             STAFF) (Filed on 4/30/2016) (Entered: 04/30/2016)
         04/30/2016     1764 SUBMISSION RE RULINGS IN LIMINE FROM FIRST TRIAL Responses due by 5/4/2016 at
                             NOON.. Signed by Judge Alsup on 4/30/16. (whalc1, COURT STAFF) (Filed on 4/30/2016)



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                              (Entered: 04/30/2016)
         04/30/2016     1765 ORDER TO SHOW CAUSE Show Cause Response due by 5/3/2016.. Signed by Judge Alsup on
                             4/30/16. (whalc1, COURT STAFF) (Filed on 4/30/2016) (Entered: 04/30/2016)
         04/30/2016     1766 Administrative Motion to File Under Seal Google's Proffer re GNU and the Custom and Practice re
                             Reimplementations of Java APIs filed by Google Inc.. (Attachments: # 1 Unredacted Version of
                             Google's Proffer re GNU and the Custom and Practice re Reimplementations of Java APIs, # 2
                             Redacted Version of Google's Proffer re GNU and the Custom and Practice re Reimplementations of
                             Java APIs, # 3 Declaration of Kate Lazarus, # 4 Proposed Order)(Van Nest, Robert) (Filed on
                             4/30/2016) (Entered: 04/30/2016)
         04/30/2016     1767 RESPONSE to re 1748 Order on Motion in Limine, Google's Proffer re GNU and the Custom and
                             Practice re Reimplementations of Java APIs by Google Inc.. (Van Nest, Robert) (Filed on 4/30/2016)
                             (Entered: 04/30/2016)
         05/01/2016     1768 REQUEST RE CUSTOM DETAILS Replies due by 5/3/2016. Responses due by 5/2/2016.. Signed
                             by Judge Alsup on 5/1/16. (whalc1, COURT STAFF) (Filed on 5/1/2016) (Entered: 05/01/2016)
         05/01/2016     1769 REQUEST FOR REPORT OF GWYN FIRTH MURRAY. Signed by Judge Alsup on 5/1/16.
                             (whalc1S, COURT STAFF) (Filed on 5/1/2016) (Entered: 05/01/2016)
         05/01/2016     1770 RESPONSE to re 1717 Order, 1729 Order on Stipulation Supplemental Brief re Motion to Exclude
                             Testimony of Dr. Kemerer Per ECF Nos. 1717 and 1729 by Google Inc.. (Attachments: # 1 Declaration
                             of Maya Karwande, # 2 Exhibit 1, # 3 Exhibit 2)(Van Nest, Robert) (Filed on 5/1/2016) (Entered:
                             05/01/2016)
         05/02/2016     1771 ORDER IN LIMINE RE GOOGLES MOTION IN LIMINE NO. 3 RE IRRELEVANT
                             TESTIMONY INTENDED TO SUGGEST VIOLATION OF PRIVACY OR ANTITRUST
                             LAWS re 1558 . Signed by Judge Alsup on 5/2/16. (whalc1, COURT STAFF) (Filed on 5/2/2016)
                             (Entered: 05/02/2016)
         05/02/2016     1772 ORDER RE LINDHOLM EMAIL re 1555 MOTION in Limine No. 5 re Lindholm Email filed by
                             Google Inc.. Signed by Judge Alsup on 5/2/16. (whalc1, COURT STAFF) (Filed on 5/2/2016)
                             (Entered: 05/02/2016)
         05/02/2016     1773 ORDER RE GOOGLE'S MOTION TO EXCLUDE EVIDENCE OF FINANCIAL
                             INFORMATION by Hon. William Alsup denying 1698 Motion in Limine.(whalc1, COURT
                             STAFF) (Filed on 5/2/2016) (Entered: 05/02/2016)
         05/02/2016     1774 REQUEST RE DISQUALIFYING QUESTIONNAIRE RESPONSES. Signed by Judge Alsup on
                             5/2/16. (whalc1, COURT STAFF) (Filed on 5/2/2016) (Entered: 05/02/2016)
         05/02/2016           (Court only) ***Set/Clear Flags (ahm, COURT STAFF) (Filed on 5/2/2016) (Entered: 05/02/2016)

         05/02/2016     1775 RESPONSE to re 1769 Order by Oracle America, Inc.. (Attachments: # 1 Expert Report of Gwyn Firth
                             Murray)(Caridis, Alyssa) (Filed on 5/2/2016) (Entered: 05/02/2016)
         05/02/2016     1776 RESPONSE to re 1688 Order, Set Deadlines Google Inc. Reply to Oracle's Objection to the Court's
                             Modified Proposed Instruction on Fair Use by Google Inc.. (Baber, Bruce) (Filed on 5/2/2016)
                             (Entered: 05/02/2016)
         05/02/2016     1777 RESPONSE to re 1743 Response ( Non Motion ) Oracle's Response to Google's Response to Court's
                             Modified Proposed Jury Instruction on Fair Use by Oracle America, Inc.. (Simpson, Lisa) (Filed on
                             5/2/2016) (Entered: 05/02/2016)
         05/02/2016     1778 RESPONSE to Court's Request for Briefing re Oracle's Right to a Jury Determination of Infringer's
                             Profits by Oracle America, Inc.. (Feeman, Vickie) (Filed on 5/2/2016) (Entered: 05/02/2016)
         05/02/2016           (Court only) TRANSCRIPT COPY DELIVERED re 1742 Transcript Order (Related documents(s)
                              1742 ) (Batalo, Pam) (Filed on 5/2/2016) (Entered: 05/02/2016)
         05/02/2016     1779 NOTICE RE Q&A FOR EXPERTS. Signed by Judge William Alsup on 5/2/2016. (whasec,
                             COURT STAFF) (Filed on 5/2/2016) (Entered: 05/02/2016)
         05/02/2016     1780 MEMORANDUM OPINION REJECTING "AS PART OF A BROADER WORK" AS
                             GROUND FOR TRANSFORMATIVE. Signed by Judge William Alsup on 5/2/2016. (whasec,



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                               COURT STAFF) (Filed on 5/2/2016) (Entered: 05/02/2016)
         05/02/2016     1781 MEMORANDUM OPINION RE GOOGLE'S MOTION IN LIMINE NO. 2 REGARDING NEW
                             PRODUCTS by Judge William Alsup [granting 1559 Motion in Limine]. (whasec, COURT
                             STAFF) (Filed on 5/2/2016) (Entered: 05/02/2016)
         05/02/2016     1782 MEMORANDUM OPINION RE ORACLE'S MOTION IN LIMINE NO. 5 TO EXCLUDE
                             TESTIMONY OF GOOGLE'S SURVEY EXPERT DR. ITAMAR SIMONSON. Signed by Judge
                             William Alsup on 5/2/2016. (whasec, COURT STAFF) (Filed on 5/2/2016) (Entered: 05/02/2016)
         05/02/2016     1783 MEMORANDUM OPINION RE ORACLE'S MOTION IN LIMINE NO. 1 REGARDING DR.
                             OWEN ASTRACHAN. Signed by Judge William Alsup on 5/2/2016. (whasec, COURT STAFF)
                             (Filed on 5/2/2016) (Entered: 05/02/2016)
         05/02/2016     1784 MEMORANDUM OPINION RE ORACLE'S MOTIONS IN LIMINE NOS. 4 AND 7
                             REGARDING DR. GREGORY LEONARD. Signed by Judge William Alsup on 5/2/2016.
                             (whasec, COURT STAFF) (Filed on 5/2/2016) (Entered: 05/02/2016)
         05/02/2016     1785 RESPONSE to re 1768 Order, Set Deadlines, 1767 Response ( Non Motion ) Oracle's Response to
                             Google's Proffer re GNU and Open Source Custom by Oracle America, Inc.. (Attachments: # 1
                             Declaration of Matthew L. Bush, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit
                             5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 11, # 13
                             Exhibit 12, # 14 Exhibit 13, # 15 Exhibit 14, # 16 Exhibit 15, # 17 Exhibit 16, # 18 Exhibit
                             17)(Ramsey, Gabriel) (Filed on 5/2/2016) (Entered: 05/02/2016)
         05/03/2016     1786 REQUEST FOR CLARIFICATION re 1785 Response ( Non Motion ),, filed by Oracle America,
                             Inc.. Signed by Judge Alsup on 5/3/16. (whalc1, COURT STAFF) (Filed on 5/3/2016) (Entered:
                             05/03/2016)
         05/03/2016     1787 RESPONSE to re 1786 Order Oracle's Response to Request for Clarification re GNU and Open Source
                             Custom Brief by Oracle America, Inc.. (Ramsey, Gabriel) (Filed on 5/3/2016) (Entered: 05/03/2016)
         05/03/2016     1788 FURTHER MEDIATION WITH JUDGE KIM. Signed by Judge William Alsup on 5/3/2016.
                             (whasec, COURT STAFF) (Filed on 5/3/2016) (Entered: 05/03/2016)
         05/03/2016     1789 ORDER RE PETRELLA AND JURY TRIAL ON DISGORGEMENT. Signed by Judge William
                             Alsup on 5/3/2016. (whasec, COURT STAFF) (Filed on 5/3/2016) (Entered: 05/03/2016)
         05/03/2016     1790 PENULTIMATE JURY INSTRUCTION ON FAIR USE. Signed by Judge William Alsup on
                             5/3/2016. (whasec, COURT STAFF) (Filed on 5/3/2016) (Entered: 05/03/2016)
         05/03/2016     1791 CLERK'S NOTICE: A conference re: immutable facts is set for 5/3/2016 at 5:00 p.m. before
                             Magistrate Judge Sallie Kim. (This is a text-only entry generated by the court. There is no document
                             associated with this entry.) (mklS, COURT STAFF) (Filed on 5/3/2016) (Entered: 05/03/2016)
         05/03/2016     1792 RESPONSE (re 1755 MOTION in Limine Re. Oracle's Use of Other APIs ) filed byGoogle Inc.. (Van
                             Nest, Robert) (Filed on 5/3/2016) (Entered: 05/03/2016)
         05/03/2016     1793 RESPONSE (re 1754 MOTION in Limine to Preclude Expert Testimony that is Recitation of a
                             Preferred Version of Disputed Facts ) Oracle's Opposition to Google's Motion in Limine re Expert
                             Testimony of Disputed Facts filed byOracle America, Inc.. (Feeman, Vickie) (Filed on 5/3/2016)
                             (Entered: 05/03/2016)
         05/03/2016     1794 RESPONSE TO ORDER TO SHOW CAUSE by Oracle America, Inc. re ECF No. 1765.
                             (Attachments: # 1 Declaration of Robert L. Uriarte, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5
                             Exhibit 4)(Hurst, Annette) (Filed on 5/3/2016) (Entered: 05/03/2016)
         05/03/2016     1795 RESPONSE to re 1768 Order, Set Deadlines Google's Response to Court's Request re Custom Details
                             by Google Inc.. (Attachments: # 1 Declaration of Kate Lazarus, # 2 Exhibit A)(Anderson, Christa)
                             (Filed on 5/3/2016) (Entered: 05/03/2016)
         05/03/2016     1796 Administrative Motion to File Under Seal Google's Response to Summary MIL 4 and ECF 1765 filed
                             by Google Inc.. (Attachments: # 1 Unredacted Version of Brief, # 2 Redacted Version of Brief, # 3
                             Under Seal Exhibit 3, # 4 Under Seal Exhibit 4, # 5 Under Seal Exhibit 5, # 6 Under Seal Exhibit 6, # 7
                             Declaration of Maya Karwande)(Van Nest, Robert) (Filed on 5/3/2016) (Entered: 05/03/2016)




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         05/03/2016     1797 RESPONSE (re 1757 MOTION in Limine Re Copying Required by Java ) and [ECF 1765] filed
                             byGoogle Inc.. (Attachments: # 1 Declaratin of Maya Karwande, # 2 Exhibit 1, # 3 Exhibit 2, # 4
                             Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6)(Van Nest, Robert) (Filed on 5/3/2016) (Entered:
                             05/03/2016)
         05/03/2016     1798 MEMORANDUM OPINION RE GOOGLES MIL NO. 6 REGARDING ORACLES DAMAGES
                             EXPERT JAMESMALACKOWSKI by Hon. William Alsup granting in part and denying in
                             part 1565 Motion in Limine.(whalc1, COURT STAFF) (Filed on 5/3/2016) (Entered: 05/03/2016)
         05/03/2016     1799 TRANSCRIPT ORDER for Daily Trial by John Lee Cooper. (Cooper, John) (Filed on 5/3/2016)
                             (Entered: 05/03/2016)
         05/03/2016     1800 STIPULATION WITH PROPOSED ORDER Joint Stipulation and [Proposed] Order re Courtroom
                             Equipment for Trial filed by Oracle America, Inc.. (Von Der Ahe, Christina) (Filed on 5/3/2016)
                             (Entered: 05/03/2016)
         05/03/2016     1801 Proposed Order re 1796 Administrative Motion to File Under Seal Google's Response to Summary MIL
                             4 and ECF 1765 by Google Inc.. (Van Nest, Robert) (Filed on 5/3/2016) (Entered: 05/03/2016)
         05/03/2016     1802 REQUEST AND ORDER RE COURTROOM EQUIPMENT FOR TRIAL by Hon. William
                             Alsup granting 1800 Stipulation.(whalc1, COURT STAFF) (Filed on 5/3/2016) (Entered:
                             05/03/2016)
         05/03/2016     1803 ORDER RE GOOGLE MOTION IN LIMINE RE EXPERT VOUCHING FOR PREFERRED
                             VERSION OF DISPUTED FACT (ECF NO. 1697) [re 1697 MOTION in Limine Google's #1
                             Summary MIL to Preclude Expert Testimony that is Recitation of a Preferred Version of Disputed
                             Facts and Oracle's Opposition filed by Google Inc.]. Signed by Judge William Alsup on 5/3/2016.
                             (Attachments: # 1 Appendix Draft Jury Instruction on Expert Witnesses)(whasec, COURT
                             STAFF) (Filed on 5/3/2016) (Entered: 05/03/2016)
         05/03/2016     1804 REQUEST FOR FURTHER INFORMATION ON GPL v.2 WITH CLASSPATH EXCEPTION.
                             Signed by Judge Alsup on 5/3/16. (whalc1, COURT STAFF) (Filed on 5/3/2016) (Entered:
                             05/03/2016)
         05/03/2016     1805 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 305, receipt number 0971-10422649.) filed
                             by Oracle America, Inc.. (Cox, Jeffrey) (Filed on 5/3/2016) (Entered: 05/03/2016)
         05/03/2016     1806 ORDER ON GOOGLE'S MOTION IN LIMINE NO. 1 REGARDING DR. CHRIS F.
                             KEMERER'S DEFINITION OF "API" re 1557 MOTION in Limine No. 1 to Exclude Certain
                             Testimony from Expert Report of Dr. Chris F. Kemerer filed by Google Inc.. Signed by Judge Alsup
                             on 5/3/16. (whalc1, COURT STAFF) (Filed on 5/3/2016) (Entered: 05/03/2016)
         05/03/2016     1807 RESPONSE to re 1770 Response ( Non Motion ), Oracle's Supplemental Opposition to Google's MIL
                             Re Dr. Kemerer by Oracle America, Inc.. (Attachments: # 1 Declaration of G. Ramsey in Support of
                             Opposition, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C)(Ramsey, Gabriel) (Filed on 5/3/2016)
                             (Entered: 05/03/2016)
         05/03/2016     1817 Minute Entry for proceedings held before Magistrate Judge Sallie Kim: Conference re:
                             Immutable Facts held on 5/3/2016. Parties agreed to language regarding some of the immutable
                             facts. Further conference set for 5/7/2016 at 10:00 a.m. before Magistrate Judge Sallie Kim.
                             (Total Time in Court 1 hour, 30 minutes.) (Not reported.)

                               Plaintiff Attorney Vicki Feeman.
                               Defendant Attorney Bruce Baber.

                               This is a text only Minute Entry (mklS, COURT STAFF) (Date Filed: 5/3/2016) (Entered:
                               05/04/2016)
         05/04/2016     1808 Letter from Gabriel M. Ramsey Precis Regarding Oracle's Proposed Motion In Limine re Roderic
                             Cattell. (Attachments: # 1 Proposed Motion In Limine re Roderic Cattell, # 2 Declaration of Robert L.
                             Uriarte re Motion In Limine re Roderic Cattell, # 3 Exhibit 1- Expert Report of Roderic Cattell, # 4
                             Exhibit 2- Cattell Deposition Excerpts, # 5 Proposed Order)(Ramsey, Gabriel) (Filed on 5/4/2016)
                             (Entered: 05/04/2016)




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CAND-ECF                                                             https://ecf.cand.circ9.dcn/cgi-bin/DktRpt.pl?767196345698506-L_1_0-1
                      Case: 17-1118          Document: 1-2           Page: 150         Filed: 10/28/2016

         05/04/2016     1809 AGENDA FOR THURSDAY HEARING (May 5, 2016 at 9:30 AM). Final Pretrial Conference
                             set for 5/5/2016 09:30 AM in Courtroom 8, 19th Floor, San Francisco. Signed by Judge William
                             Alsup on 5/4/2016. (whasec, COURT STAFF) (Filed on 5/4/2016) (Entered: 05/04/2016)
         05/04/2016     1810 RESPONSE to re 1804 Order Oracle's Response to Request for Further Information on GPLv.2 With
                             Classpath Exception by Oracle America, Inc.. (Caridis, Alyssa) (Filed on 5/4/2016) (Entered:
                             05/04/2016)
         05/04/2016     1811 RESPONSE to re 1804 Order Google Inc.'s Response to Court's Further Request re GNU Classpath by
                             Google Inc.. (Kwun, Michael) (Filed on 5/4/2016) (Entered: 05/04/2016)
         05/04/2016     1812 EXPLANATORY LIST OF EXPERT WITNESSES. Responses due by NOON ON FRIDAY,
                             5/6/2016. Signed by Judge William Alsup on 5/4/2016. (whasec, COURT STAFF) (Filed on
                             5/4/2016) (Entered: 05/04/2016)
         05/04/2016     1813 RESPONSE to re 1790 Order Google Inc.'s Critique of Penultimate Jury Instruction on Fair Use by
                             Google Inc.. (Baber, Bruce) (Filed on 5/4/2016) (Entered: 05/04/2016)
         05/04/2016     1814 RESPONSE to re 1790 Order Oracle's Response and Objections to the Court's Penultimate Jury
                             Instruction on Fair Use by Oracle America, Inc.. (Simpson, Lisa) (Filed on 5/4/2016) (Entered:
                             05/04/2016)
         05/04/2016     1815 OBJECTIONS to re 1797 Opposition/Response to Motion, Oracle's Objection to Undisclosed Expert
                             Testimony of Joshua Bloch by Oracle America, Inc.. (Hurst, Annette) (Filed on 5/4/2016) (Entered:
                             05/04/2016)
         05/04/2016     1816 ORDER FOR JURY REFRESHMENTS. Signed by Judge William Alsup on 5/4/16. (dl, COURT
                             STAFF) (Filed on 5/4/2016) (Entered: 05/04/2016)
         05/04/2016     1818 RESPONSE to re 1812 Order, Set Deadlines [Response to Order, Explanatory List of Expert Witnesses,
                             ECF 1812] by John Lee Cooper. (Cooper, John) (Filed on 5/4/2016) (Entered: 05/04/2016)
         05/04/2016     1819 RESPONSE to re 1764 Order, Set Deadlines Joint Submission re Rulings In Limine From First Trial by
                             Oracle America, Inc.. (Silverman, Andrew) (Filed on 5/4/2016) (Entered: 05/04/2016)
         05/04/2016     1820 ORDER RE ORACLES PRCIS REQUEST (Dkt. No. 1808) re 1808 Letter, filed by Oracle
                             America, Inc. Motions due by 5/9/2016. Replies due by 5/16/2016. Responses due by 5/13/2016..
                             Signed by Judge Alsup on 5/4/16. (whalc1, COURT STAFF) (Filed on 5/4/2016) (Entered:
                             05/04/2016)
         05/04/2016     1821 ORDER GRANTING APPLICATION FOR ADMISSION OF ATTORNEY JEFFREY L. COX
                             PRO HAC VICE by Hon. William Alsup granting 1805 Motion for Pro Hac Vice.(whalc1,
                             COURT STAFF) (Filed on 5/4/2016) (Entered: 05/04/2016)
         05/04/2016     1822 ***CORRECTED*** ORDER GRANTING APPLICATION FOR ADMISSION OF
                             ATTORNEY JEFFREY L. COX PRO HAC VICE. Signed by Judge Alsup on 5/3/16. (whalc1,
                             COURT STAFF) (Filed on 5/4/2016) (Entered: 05/04/2016)
         05/04/2016     1823 FURTHER ITEMS FOR THURSDAY HEARING. Signed by Judge Alsup on 5/4/16. (whalc1,
                             COURT STAFF) (Filed on 5/4/2016) (Entered: 05/04/2016)
         05/04/2016     1824 MOTION in Limine to Exclude Testimony of Roderic Cattell filed by Oracle America, Inc.. Motion
                             Hearing set for 5/17/2016 07:30 AM in Courtroom 8, 19th Floor, San Francisco before Hon. William
                             Alsup. Responses due by 5/13/2016. Replies due by 5/16/2016. (Attachments: # 1 Declaration of
                             Robert L. Uriarte, # 2 Exhibit 1- Expert Report of Roderic Cattell, # 3 Exhibit 2- Roderic Cattell
                             Deposition Excerpts, # 4 Proposed Order)(Ramsey, Gabriel) (Filed on 5/4/2016) (Entered: 05/04/2016)
         05/05/2016     1825 Exhibit List Joint Submission of Corrected Exhibit List by Oracle America, Inc... (Luskey, Randall)
                             (Filed on 5/5/2016) (Entered: 05/05/2016)
         05/05/2016     1826 Exhibit List Joint Submission of Objections to Corrected Joint Exhibit List by Google Inc... (Van Nest,
                             Robert) (Filed on 5/5/2016) (Entered: 05/05/2016)
         05/05/2016     1827 ORDER ADVANCING DEADLINE FOR GOOGLES OPPOSITION RE RODERIC CATTELL
                             re 1824 MOTION in Limine to Exclude Testimony of Roderic Cattell filed by Oracle America,
                             Inc.. Signed by Judge Alsup on 5/5/16. (whalc1, COURT STAFF) (Filed on 5/5/2016) (Entered:
                             05/05/2016)



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         05/05/2016     1828 PRE-INSTRUCTION ON FAIR USE. Signed by Judge William Alsup on 5/5/2016. (whasec,
                             COURT STAFF) (Filed on 5/5/2016) (Entered: 05/05/2016)
         05/05/2016     1829 ORDER RE GPLv.2+CE, OPENJDK, GNU CLASSPATH, AND CUSTOM re 1551
                             Administrative Motion to File Under Seal Oracle's Motion In Limine # 1- To Exclude Evidence Of
                             OpenJDK filed by Oracle America, Inc., 1755 MOTION in Limine Re. Oracle's Use of Other APIs
                             filed by Oracle America, Inc., 1552 MOTION in Limine Oracle's Motion In Limine # 2 To
                             Exclude Evidence of Apache, Apache Harmony, and GNU Classpath filed by Oracle America, Inc..
                             Signed by Judge Alsup on 5/5/16. (whalc1, COURT STAFF) (Filed on 5/5/2016) (Entered:
                             05/05/2016)
         05/05/2016     1830 ORDER OVERRULING SPOON-FEEDING OBJECTION TO KEMERER EXPERT
                             TESTIMONY by Hon. William Alsup denying 1557 Motion in Limine.(whalc1, COURT STAFF)
                             (Filed on 5/5/2016) (Entered: 05/05/2016)
         05/05/2016     1831 NOTICE AND ORDER RE MODIFICATION TO MALACKOWSKI TESTIMONY. Signed by
                             Judge Alsup on 5/5/16. (whalc1, COURT STAFF) (Filed on 5/5/2016) (Entered: 05/05/2016)
         05/05/2016     1832 MEMORANDUM OPINION RE GOOGLES MOTION IN LIMINE NO. 4 CONCERNING DR.
                             ADAM JAFFE by Hon. William Alsup denying 1561 Motion in Limine.(whalc1, COURT
                             STAFF) (Filed on 5/5/2016) (Entered: 05/05/2016)
         05/05/2016     1833 NOTICE RE TRIAL STRATEGY. Signed by Judge Alsup on 5/5/16. (whalc1, COURT STAFF)
                             (Filed on 5/5/2016) (Entered: 05/05/2016)
         05/05/2016            (Court only) ***Motions terminated: 1697 MOTION in Limine Google's #1 Summary MIL to Preclude
                               Expert Testimony that is Recitation of a Preferred Version of Disputed Facts and Oracle's Opposition
                               filed by Google Inc., 1699 MOTION in Limine Google's #3 Summary MIL to Exclude Unnecessary
                               Testimony Concerning Case Law, Legal Proceedings, and Related Matters and Oracle's Opposition
                               filed by Google Inc., 1696 MOTION in Limine Oracle's Summary Motions In Limine and Google's
                               Oppositions Thereto Pursuant to ECF No. 1488 filed by Oracle America, Inc., 1755 MOTION in
                               Limine Re. Oracle's Use of Other APIs filed by Oracle America, Inc., 1754 MOTION in Limine to
                               Preclude Expert Testimony that is Recitation of a Preferred Version of Disputed Facts filed by Google
                               Inc.. (whalc1, COURT STAFF) (Filed on 5/5/2016) (Entered: 05/05/2016)
         05/05/2016     1834 TRANSCRIPT ORDER for proceedings held on 5-5-2016 before Hon. William Alsup by Oracle
                             America, Inc., for Court Reporter Katherine Sullivan. (Ramsey, Gabriel) (Filed on 5/5/2016) (Entered:
                             05/05/2016)
         05/05/2016     1840 Minute Entry for proceedings held before Hon. William Alsup: Interim Pretrial Conference held
                             on 5/5/2016.Total Time in Court 2:38. Court Reporter Name Kathy Sullivan. Plaintiff Attorney
                             Peter Bicks; Annette Hurst; Lisa Simpson; Gabriel Ramsey. Defendant Attorney Eugene Paige;
                             Michael Kwun; Matthias Kamber; Heather Meeker. Attachment minute order.(dl, COURT
                             STAFF) (Date Filed: 5/5/2016) (Entered: 05/06/2016)
         05/06/2016     1835 TRANSCRIPT ORDER for proceedings held on 5/5/2016 before Hon. William Alsup by Google Inc.,
                             for Court Reporter Katherine Sullivan. (Mullen, Reid) (Filed on 5/6/2016) (Entered: 05/06/2016)
         05/06/2016     1836 NOTICE RE ESTABLISHED FACTS. Signed by Judge Alsup on 5/6/16. (whalc1, COURT
                             STAFF) (Filed on 5/6/2016) (Entered: 05/06/2016)
         05/06/2016     1837 RESPONSE to re 1812 Order, Set Deadlines Google's List of Expert Witnesses by Google Inc.. (Van
                             Nest, Robert) (Filed on 5/6/2016) (Entered: 05/06/2016)
         05/06/2016     1838 RESPONSE to Request for Explanatory List of Expert Witnesses by Oracle America, Inc.. (Simpson,
                             Lisa) (Filed on 5/6/2016) (Entered: 05/06/2016)
         05/06/2016     1839 ORDER RE 62 CLASSES AND INTERFACES. Signed by Judge Alsup on 5/6/16. (whalc1,
                             COURT STAFF) (Filed on 5/6/2016) (Entered: 05/06/2016)
         05/06/2016     1841 Transcript of Proceedings held on 5/5/16, before Judge William H. Alsup. Court Reporter/Transcriber
                             Katherine Powell Sullivan, telephone number 415-794-6659. Per General Order No. 59 and Judicial
                             Conference policy, this transcript may be viewed only at the Clerk's Office public terminal or may be
                             purchased through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                             Restriction. After that date it may be obtained through PACER. Any Notice of Intent to Request




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CAND-ECF                                                              https://ecf.cand.circ9.dcn/cgi-bin/DktRpt.pl?767196345698506-L_1_0-1
                      Case: 17-1118          Document: 1-2             Page: 152          Filed: 10/28/2016

                               Redaction, if required, is due no later than 5 business days from date of this filing. (Re 1834 Transcript
                               Order, 1835 Transcript Order ) Redaction Request due 5/27/2016. Redacted Transcript Deadline set for
                               6/6/2016. Release of Transcript Restriction set for 8/4/2016. (Related documents(s) 1834 , 1835 )
                               (Sullivan, Katherine) (Filed on 5/6/2016) (Entered: 05/06/2016)
         05/06/2016     1842 RESPONSE (re 1766 Administrative Motion to File Under Seal Google's Proffer re GNU and the
                             Custom and Practice re Reimplementations of Java APIs ) filed byOracle America, Inc.. (Feeman,
                             Vickie) (Filed on 5/6/2016) (Entered: 05/06/2016)
         05/07/2016     1843 RESPONSE to re 1803 Order, Google Inc.'s Response to the Court's Draft Instruction on Expert
                             Witnesses by Google Inc.. (Baber, Bruce) (Filed on 5/7/2016) (Entered: 05/07/2016)
         05/07/2016     1844 RESPONSE to re 1803 Order, Oracle's Response to the Court's Draft Jury Instruction on Expert
                             Witnesses by Oracle America, Inc.. (Feeman, Vickie) (Filed on 5/7/2016) (Entered: 05/07/2016)
         05/07/2016     1845 RESPONSE to re 1761 Order, 1760 Order Referring Case to Magistrate Judge, Joint Filing Regarding
                             Agreed Statements of Established Facts by Google Inc.. (Baber, Bruce) (Filed on 5/7/2016) (Entered:
                             05/07/2016)
         05/07/2016     1846 RESPONSE to Joint Filing Regarding Agreed Statement Regarding Copyrightability by Google Inc..
                             (Baber, Bruce) (Filed on 5/7/2016) (Entered: 05/07/2016)
         05/07/2016     1847 Witness List by Google Inc. Google Inc.'s Rolling List of Next Seven Witnesses. (Van Nest, Robert)
                             (Filed on 5/7/2016) (Entered: 05/07/2016)
         05/07/2016     1849 Minute Entry for proceedings held before Magistrate Judge Sallie Kim: Further Conference re:
                             Established Facts held on 5/7/2016. Parties were able to agree to facts to be read to jury and filed
                             written stipulation. Total Time: 3 hours, 45 minutes. (Not reported.)

                               Plaintiff Attorney Vicki Feeman.
                               Defendant Attorney Bruce Baber.

                               This is a text only Minute Entry (mklS, COURT STAFF) (Date Filed: 5/7/2016) (Entered:
                               05/09/2016)
         05/08/2016     1848 OBJECTIONS to Deposition Clip of Terrence Barr re "Transformative Use" That Google Intends to
                             Use in its Opening Statement by Oracle America, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit
                             B)(Bicks, Peter) (Filed on 5/8/2016) (Entered: 05/08/2016)
         05/09/2016     1850 NOTICE RE IBM WITNESS DUIMOVICH. Signed by Judge Alsup on 5/9/16. (whalc1, COURT
                             STAFF) (Filed on 5/9/2016) (Entered: 05/09/2016)
         05/09/2016     1851 ORDER SETTING BRIEFING SCHEDULE RE RULE 26 DISCLOSURES. Signed by Judge
                             Alsup on 5/9/16. (whalc1, COURT STAFF) (Filed on 5/9/2016) (Entered: 05/09/2016)
         05/09/2016     1852 OBJECTIONS to Testimony of Simon Phipps by Oracle America, Inc.. (Attachments: # 1 Declaration
                             of Matthew L. Bush, # 2 Exhibit A- Phipps Deposition Transcript, # 3 Exhibit B- TX 5246)(Simpson,
                             Lisa) (Filed on 5/9/2016) (Entered: 05/09/2016)
         05/09/2016     1856 Minute Entry for proceedings held before Hon. William Alsup: Jury Trial began on 5/9/2016.
                             Jury Selection Completed. Further Jury Trial set for 5/10/2016 7:30 AM. Total Time in Court
                             6:05. Court Reporter Name Kathy Sullivan; Pam Batalo. Plaintiff Attorney Peter Bicks. et
                             al.Defendant Attorney Robert Van Nest. et al.Attachment minute order.(dl, COURT STAFF)
                             (Date Filed: 5/10/2016) Modified on 5/11/2016 (dl, COURT STAFF). (Entered: 05/10/2016)
         05/10/2016     1853 RESPONSE (re 1824 MOTION in Limine to Exclude Testimony of Roderic Cattell ) filed byGoogle
                             Inc.. (Attachments: # 1 Declaration of Kate Lazarus, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5
                             Exhibit D)(Van Nest, Robert) (Filed on 5/10/2016) (Entered: 05/10/2016)
         05/10/2016     1854 RESPONSE to Court's Request for Briefing re: the IBM License by Oracle America, Inc.. (Hurst,
                             Annette) (Filed on 5/10/2016) (Entered: 05/10/2016)
         05/10/2016     1855 RESPONSE to Court's Further Request re IBM Witness Duimovich by Google Inc.. (Van Nest, Robert)
                             (Filed on 5/10/2016) (Entered: 05/10/2016)




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                      Case: 17-1118          Document: 1-2             Page: 153          Filed: 10/28/2016

         05/10/2016     1857 Minute Entry for proceedings held before Hon. William Alsup: Jury Trial held on 5/10/2016.
                             Witness called. Further Jury Trial set for 5/11/2016 7:30 AM. Total Time in Court 5:40. Court
                             Reporter Name Kathy Sullivan; Pam Batalo. Plaintiff Attorney Peter Bicks. Defendant Attorney
                             Robert Van Nest. Attachment minute order.(dl, COURT STAFF) (Date Filed: 5/10/2016)
                             (Entered: 05/10/2016)
         05/10/2016     1858 Witness List by Google Inc. Rolling List of Next Ten Witnesses. (Van Nest, Robert) (Filed on
                             5/10/2016) (Entered: 05/10/2016)
         05/10/2016     1859 NOTICE RE DUIMOVICH DEPOSITION. Signed by Judge Alsup on 5/10/16. (whalc1, COURT
                             STAFF) (Filed on 5/10/2016) (Entered: 05/10/2016)
         05/10/2016     1860 RESPONSE to re 1851 Order Google's Objection re Inadequate Rule 26(A)(1) Disclosure of Stefano
                             Mazzocchi by Google Inc.. (Attachments: # 1 Declaration of Maya Karwande, # 2 Exhibit 1, # 3
                             Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10
                             Exhibit 9)(Van Nest, Robert) (Filed on 5/10/2016) (Entered: 05/10/2016)
         05/10/2016     1861 RESPONSE to re 1852 Objection Google's Response to Oracle's Objection to the Testimony of Simon
                             Phipps by Google Inc.. (Attachments: # 1 Declaration of Michael Kwun, # 2 Exhibit 1, # 3 Exhibit 2, #
                             4 Exhibit 3)(Kwun, Michael) (Filed on 5/10/2016) (Entered: 05/10/2016)
         05/10/2016     1862 RESPONSE to re 1851 Order Oracle's Response to Request for Briefing re Admissibility of Mazzocchi
                             Email by Oracle America, Inc.. (Attachments: # 1 Declaration of Robert L. Uriarte, # 2 Exhibit 1, # 3
                             Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10
                             Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12, # 14 Exhibit 13, # 15 Exhibit 14, # 16
                             Exhibit 15, # 17 Exhibit 16)(Bicks, Peter) (Filed on 5/10/2016) (Entered: 05/10/2016)
         05/11/2016     1863 REPLY (re 1824 MOTION in Limine to Exclude Testimony of Roderic Cattell ) filed byOracle
                             America, Inc.. (Ramsey, Gabriel) (Filed on 5/11/2016) (Entered: 05/11/2016)
         05/11/2016     1864 Minute Entry for proceedings held before Hon. William Alsup: Jury Trial held on 5/11/2016.
                             Witnesses Called. Further Jury Trial set for 5/12/2016 7:30 AM.Total Time in Court 5:38. Court
                             Reporter Name Kathy Sullivan; Pam Batalo. Plaintiff Attorney Peter Bicks. et al.Defendant
                             Attorney Robert Van Nest. et al.Attachment minute order.(dl, COURT STAFF) (Date Filed:
                             5/11/2016) (Entered: 05/11/2016)
         05/11/2016     1865 REQUEST FOR GOOGLES BRIEF RE JOSHUA BLOCH. Signed by Judge Alsup on 5/11/16.
                             (whalc1, COURT STAFF) (Filed on 5/11/2016) (Entered: 05/11/2016)
         05/11/2016     1866 Witness List by Google Inc. Rolling List of Next Fourteen Witnesses. (Van Nest, Robert) (Filed on
                             5/11/2016) (Entered: 05/11/2016)
         05/11/2016     1867 ORDER REGARDING DUIMOVICH DEPOSITION. Signed by Judge Alsup on 5/11/16.
                             (whalc1, COURT STAFF) (Filed on 5/11/2016) (Entered: 05/11/2016)
         05/11/2016     1868 ORDER RE ORACLES OBJECTION RE SIMON PHIPPS. Signed by Judge Alsup on 5/11/16.
                             (whalc1, COURT STAFF) (Filed on 5/11/2016) (Entered: 05/11/2016)
         05/11/2016     1869 PROPOSED JURY INSTRUCTION. Signed by Judge Alsup on 5/11/16. (whalc1, COURT
                             STAFF) (Filed on 5/11/2016) (Entered: 05/11/2016)
         05/11/2016     1870 Witness List by Oracle America, Inc. Rolling List of Oracle's Anticipated Next Seven Witnesses. (Hurst,
                             Annette) (Filed on 5/11/2016) (Entered: 05/11/2016)
         05/11/2016     1871 RESPONSE to re 1815 Objection Defendant Google Inc.'s Response to Oracle's Objection re Joshua
                             Bloch by Google Inc.. (Van Nest, Robert) (Filed on 5/11/2016) (Entered: 05/11/2016)
         05/11/2016     1872 Witness List by Google Inc. Corrected List of Next Fifteen Witnesses. (Van Nest, Robert) (Filed on
                             5/11/2016) (Entered: 05/11/2016)
         05/11/2016     1873 NOTICE RE MAZZOCCHI. Signed by Judge Alsup on 5/11/16. (whalc1, COURT STAFF) (Filed
                             on 5/11/2016) (Entered: 05/11/2016)
         05/11/2016     1941 AMENDED Minute Entry for proceedings held before Hon. William Alsup: Amendment to 1864 Jury
                             Trial held on 5/11/2016. (dl, COURT STAFF) (Filed on 5/11/2016) (Entered: 05/23/2016)




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                      Case: 17-1118          Document: 1-2           Page: 154         Filed: 10/28/2016

         05/12/2016     1874 RESPONSE to re 1869 Order Oracle's Objection to Proposed Jury Instruction Re Proc. History by
                             Oracle America, Inc.. (Feeman, Vickie) (Filed on 5/12/2016) (Entered: 05/12/2016)
         05/12/2016     1875 ORDER OVERRULING RULE 26(a) NON-DISCLOSURE OBJECTION TO STEFANO
                             MAZZOCCHI AS WITNESS. Signed by Judge Alsup on 5/12/16. (whalc1, COURT STAFF)
                             (Filed on 5/12/2016) (Entered: 05/12/2016)
         05/12/2016     1876 Transcript of Proceedings held on 5/9/16, Volume 1, before Judge William H. Alsup. Court
                             Reporter/Transcriber Katherine Powell Sullivan and Pamela Batalo, telephone number 415-794-6659.
                             Per General Order No. 59 and Judicial Conference policy, this transcript may be viewed only at the
                             Clerk's Office public terminal or may be purchased through the Court Reporter/Transcriber until the
                             deadline for the Release of Transcript Restriction. After that date it may be obtained through PACER.
                             Any Notice of Intent to Request Redaction, if required, is due no later than 5 business days from date
                             of this filing. (Re 1600 Transcript Order - Daily Trial, 1618 Transcript Order - Daily Trial ) Redaction
                             Request due 6/2/2016. Redacted Transcript Deadline set for 6/13/2016. Release of Transcript
                             Restriction set for 8/10/2016. (Related documents(s) 1600 , 1618 ) (Sullivan, Katherine) (Filed on
                             5/12/2016) (Additional attachment(s) added on 6/2/2016: # 1 Supplement Master Index) (rjdS, COURT
                             STAFF). (Entered: 05/12/2016)
         05/12/2016     1877 Transcript of Proceedings held on 5/10/16, Volume 2, before Judge William H. Alsup. Court
                             Reporter/Transcriber Katherine Powell Sullivan and Pamela Batalo, telephone number 415-794-6659.
                             Per General Order No. 59 and Judicial Conference policy, this transcript may be viewed only at the
                             Clerk's Office public terminal or may be purchased through the Court Reporter/Transcriber until the
                             deadline for the Release of Transcript Restriction. After that date it may be obtained through PACER.
                             Any Notice of Intent to Request Redaction, if required, is due no later than 5 business days from date
                             of this filing. Redaction Request due 6/2/2016. Redacted Transcript Deadline set for 6/13/2016.
                             Release of Transcript Restriction set for 8/10/2016. (Sullivan, Katherine) (Filed on 5/12/2016)
                             (Entered: 05/12/2016)
         05/12/2016     1878 *** FILED IN ERROR. SEE CORRECTED TRANSCRIPT AT 1907 . ***
                             Transcript of Proceedings held on 5/11/16, Volume 3, before Judge William H. Alsup. Court
                             Reporter/Transcriber Katherine Powell Sullivan and Pamela Batalo, telephone number 415-794-6659.
                             Per General Order No. 59 and Judicial Conference policy, this transcript may be viewed only at the
                             Clerk's Office public terminal or may be purchased through the Court Reporter/Transcriber until the
                             deadline for the Release of Transcript Restriction. After that date it may be obtained through PACER.
                             Any Notice of Intent to Request Redaction, if required, is due no later than 5 business days from date
                             of this filing. Redaction Request due 6/2/2016. Redacted Transcript Deadline set for 6/13/2016.
                             Release of Transcript Restriction set for 8/10/2016. (Sullivan, Katherine) (Filed on 5/12/2016)
                             Modified on 5/17/2016 (fff, COURT STAFF). (Entered: 05/12/2016)
         05/12/2016     1879 ORDER IN LIMINE RE ORACLE'S MOTION RE DR. RODERIC CATTELL [re 1824
                             MOTION in Limine to Exclude Testimony of Roderic Cattell filed by Oracle America, Inc.].
                             Signed by Judge William Alsup on 5/12/2016. (whasec, COURT STAFF) (Filed on 5/12/2016)
                             (Entered: 05/12/2016)
         05/12/2016            (Court only) ***Documents terminated: (whasec, COURT STAFF) (Filed on 5/12/2016) (Entered:
                               05/12/2016)
         05/12/2016     1880 REQUEST FOR BRIEFING RE WILLFULNESS AND BAD FAITH BEFORE FEDERAL
                             CIRCUIT DECISION. Signed by Judge Alsup on 5/12/16. (whalc1, COURT STAFF) (Filed on
                             5/12/2016) (Entered: 05/12/2016)
         05/12/2016     1881 ORDER RE FILING OF JUROR QUESTIONNAIRES. Signed by Judge Alsup on 5/12/16.
                             (whalc1, COURT STAFF) (Filed on 5/12/2016) (Entered: 05/12/2016)
         05/12/2016     1882 Minute Entry for proceedings held before Hon. William Alsup: Jury Trial held on 5/12/2016.
                             Witness called. Further Jury Trial set for 5/13/2016 at 7:30 AM; Total Time in Court: 5 hours; 33
                             minutes. Court Reporter: Pam Batalo. Plaintiff Attorneys: Peter Bicks; Annette Hurst; Matthew
                             Bush; Lisa Simpson; Gabriel Ramsey; Christina Von Der Ahe; George Saab (Corp Rep).
                             Defendant Attorneys: Robbert Van Nest; Bruce Baber; Christa Anderson; Daniel Purcell;
                             Matthias Kamber; Michael Kwun; Reid Mullen; Maya Karwande; Steven Ragland; Catherine
                             Locavera (Corp Rep). Attachment: Minute Order.(afmS, COURT STAFF) (Date Filed:
                             5/12/2016) (Entered: 05/12/2016)



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         05/12/2016     1883 Witness List by Google Inc. Rolling List of Next Eleven Witnesses. (Van Nest, Robert) (Filed on
                             5/12/2016) (Entered: 05/12/2016)
         05/12/2016     1884 RESPONSE to re 1869 Order Google Inc.'s Response to the Court's Proposed Statement to the Jury
                             Regarding First Trial and Appeal by Google Inc.. (Baber, Bruce) (Filed on 5/12/2016) (Entered:
                             05/12/2016)
         05/12/2016     1942 AMENDED Minute Entry for proceedings held before Hon. William Alsup: Amendment to 1882 Jury
                             Trial - Held. (afmS, COURT STAFF) (Filed on 5/12/2016) (Entered: 05/23/2016)
         05/12/2016     1987 Jury Questionnaires re 1881 Order. (dtmS, COURT STAFF) (Filed on 5/12/2016) (dtmS, COURT
                             STAFF). (Entered: 06/03/2016)
         05/13/2016     1885 ORDER FOR PARTIES TO ACCOMMODATE THE PRESS. Signed by Judge Alsup on
                             5/13/16. (whalc1, COURT STAFF) (Filed on 5/13/2016) (Entered: 05/13/2016)
         05/13/2016     1886 Minute Entry for proceedings held before Hon. William Alsup: Jury Trial held on 5/13/2016.
                             Witnesses called. Further Jury Trial set for 5/16/2016 at 7:30 a.m. Total Time in Court: 5:05.
                             Court Reporter: Pam Batalo. Plaintiff Attorneys: Peter Bicks; Annette Hurst; Matthew Bush;
                             Lisa Simpson; Gabriel Ramsey; Christina Von Der Ahe. Defendant Attorney: Robert Van Nest;
                             Bruce Baber; Christa Anderson; Ed Bailey; Daniel Purcell; Matthias Kamber; Michael Kwun;
                             Reid Mullen; Maya Karwande; Steven Ragland. Attachment: Minute Order.(afmS, COURT
                             STAFF) (Date Filed: 5/13/2016) (Entered: 05/13/2016)
         05/14/2016     1887 MOTION to Strike Portions of Dr. Bloch's Testimony filed by Oracle America, Inc.. Motion Hearing
                             set for 5/16/2016 07:30 AM in Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup.
                             Responses due by 5/16/2016. Replies due by 5/16/2016. (Attachments: # 1 Proposed Order)(Hurst,
                             Annette) (Filed on 5/14/2016) (Entered: 05/14/2016)
         05/14/2016     1888 Witness List by Google Inc. Rolling List of Next Six Witnesses. (Van Nest, Robert) (Filed on 5/14/2016)
                             (Entered: 05/14/2016)
         05/14/2016     1889 Witness List by Oracle America, Inc. . (Hurst, Annette) (Filed on 5/14/2016) (Entered: 05/14/2016)
         05/14/2016     1890 Witness List by Google Inc. Corrected Rolling List of Next Seven Witnesses. (Van Nest, Robert) (Filed
                             on 5/14/2016) (Entered: 05/14/2016)
         05/14/2016     1891 ORDER SHORTENING TIME TO RESPOND TO ORACLES MOTION RE DR. BLOCH.
                             Signed by Judge Alsup on 5/14/16. (whalc1, COURT STAFF) (Filed on 5/14/2016) (Entered:
                             05/14/2016)
         05/15/2016     1892 NOTICE RE ANDROID N. Signed by Judge Alsup on 5/15/16. (whalc1, COURT STAFF) (Filed
                             on 5/15/2016) (Entered: 05/15/2016)
         05/15/2016     1893 Witness List by Oracle America, Inc. . (Hurst, Annette) (Filed on 5/15/2016) (Entered: 05/15/2016)
         05/15/2016     1894 Witness List by Oracle America, Inc. Corrected Rolling Witness List. (Hurst, Annette) (Filed on
                             5/15/2016) (Entered: 05/15/2016)
         05/15/2016     1895 STIPULATION WITH PROPOSED ORDER re 1887 MOTION to Strike Portions of Dr. Bloch's
                             Testimony filed by Google Inc.. (Van Nest, Robert) (Filed on 5/15/2016) (Entered: 05/15/2016)
         05/15/2016     1896 RESPONSE to re 1880 Order Google Inc.'s Response to the Court's Request for Briefing re Willfulness
                             and Bad Faith Before Federal Circuit Decision by Google Inc.. (Baber, Bruce) (Filed on 5/15/2016)
                             (Entered: 05/15/2016)
         05/15/2016     1897 RESPONSE to Court's Notice re Opening the Door to Android N by Oracle America, Inc.. (Silverman,
                             Andrew) (Filed on 5/15/2016) (Entered: 05/15/2016)
         05/15/2016     1898 RESPONSE to re 1892 Order Google's Response re OpenJDK by Google Inc.. (Van Nest, Robert)
                             (Filed on 5/15/2016) (Entered: 05/15/2016)
         05/15/2016     1899 NOTICE of Appearance by Geoffrey Gavin Moss (Moss, Geoffrey) (Filed on 5/15/2016) (Entered:
                             05/15/2016)
         05/16/2016     1900 RESPONSE to re 1880 Order ORACLES RESPONSE TO COURTS REQUEST FOR BRIEFING RE
                             WILLFULNESS AND BAD FAITH BEFORE FEDERAL CIRCUIT DECISION by Oracle America,




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                               Inc.. (Simpson, Lisa) (Filed on 5/16/2016) (Entered: 05/16/2016)
         05/16/2016     1901 STIPULATION WITH PROPOSED ORDER Stipulation and Proposed Order re Facts and Documents
                             Related to Google's Use fo Declaring Code From Java SE 5 in Android filed by Oracle America, Inc..
                             (Attachments: # 1 Exhibit A)(Hurst, Annette) (Filed on 5/16/2016) (Entered: 05/16/2016)
         05/16/2016     1902 Minute Entry for proceedings held before Hon. William Alsup: Jury Trial held on 5/16/2016.
                             Witnesses called. Further Jury Trial set for May 17, 2017 at 7:30 A.M. Total Time in Court: 5:26.
                             Court Reporters: Pam Batalo; Kathryn Sullivan. Plaintiff Attorneys: Peter Bicks; Annette
                             Hurst; Matthew Bush; Lisa Simpson; Gabriel Ramsey; Christina Von Der Ahe. Defendant
                             Attorneys: Robert Van Nest; Christa Anderson; Daniel Purcell; Ed Bailey; Eugene Paige; Bruce
                             Baber; Matthias Kamber; Reid Mullen; Michael Kwun; Maya Karwande; Steven Ragland.
                             Interpreter N/A.Attachment: Minute Order.(afmS, COURT STAFF) (Date Filed: 5/16/2016)
                             (Entered: 05/16/2016)
         05/16/2016     1903 Witness List by Oracle America, Inc. . (Hurst, Annette) (Filed on 5/16/2016) (Entered: 05/16/2016)
         05/16/2016     1904 OBJECTIONS to "Private Statement" from Sun Legal in TX 9116 by Google Inc.. (Van Nest, Robert)
                             (Filed on 5/16/2016) (Entered: 05/16/2016)
         05/16/2016     1905 RESPONSE to re 1869 Order Google Inc. Revised Proposed Statement to the Jury re First Trial and
                             Appeal by Google Inc.. (Baber, Bruce) (Filed on 5/16/2016) (Entered: 05/16/2016)
         05/16/2016     1906 RESPONSE to Request: Oracle's Proposed Jury Instruction re Good Faith/Bad Faith and Procedural
                             History by Oracle America, Inc.. (Simpson, Lisa) (Filed on 5/16/2016) (Entered: 05/16/2016)
         05/16/2016     1943 AMENDED Minute Entry for proceedings held before Hon. William Alsup: Amendment to 1902 Jury
                             Trial - Held. (afmS, COURT STAFF) (Filed on 5/16/2016) (Entered: 05/23/2016)
         05/17/2016     1907 Transcript of Proceedings held on 5/11/16, Volume 3, before Judge William H. Alsup. Court
                             Reporter/Transcriber Katherine Powell Sullivan and Pamela Batalo, telephone number 415-794-6659.
                             Per General Order No. 59 and Judicial Conference policy, this transcript may be viewed only at the
                             Clerk's Office public terminal or may be purchased through the Court Reporter/Transcriber until the
                             deadline for the Release of Transcript Restriction. After that date it may be obtained through PACER.
                             Any Notice of Intent to Request Redaction, if required, is due no later than 5 business days from date
                             of this filing. (Re 1799 Transcript Order - Daily Trial, 1600 Transcript Order - Daily Trial, 1618
                             Transcript Order - Daily Trial ) Redaction Request due 6/7/2016. Redacted Transcript Deadline set for
                             6/17/2016. Release of Transcript Restriction set for 8/15/2016. (Related documents(s) 1799 , 1600 ,
                             1618 ) (Sullivan, Katherine) (Filed on 5/17/2016) (Entered: 05/17/2016)
         05/17/2016     1908 NOTICE OF TRIAL TIME. Signed by Judge William Alsup on 5/17/2016. (whasec, COURT
                             STAFF) (Filed on 5/17/2016) (Entered: 05/17/2016)
         05/17/2016     1909 Transcript of Proceedings, Volume 4, held on 05/12/16, before Judge Alsup. Court Reporter Pamela A.
                             Batalo, telephone number 626-688-7509;pamela_batalo@cand.uscourts.gov. Per General Order No. 59
                             and Judicial Conference policy, this transcript may be viewed only at the Clerk's Office public terminal
                             or may be purchased through the Court Reporter/Transcriber until the deadline for the Release of
                             Transcript Restriction. After that date it may be obtained through PACER. Any Notice of Intent to
                             Request Redaction, if required, is due no later than 5 business days from date of this filing. (Re 1799
                             Transcript Order - Daily Trial, 1834 Transcript Order, 1835 Transcript Order ) Redaction Request due
                             6/7/2016. Redacted Transcript Deadline set for 6/17/2016. Release of Transcript Restriction set for
                             8/15/2016. (Related documents(s) 1799 , 1834 , 1835 ) (Batalo, Pam) (Filed on 5/17/2016) (Entered:
                             05/17/2016)
         05/17/2016     1910 Transcript of Proceedings, Volume 5, held on 05/13/16, before Judge Alsup. Court Reporter Pamela A.
                             Batalo, telephone number 626-688-7509; pamela_batalo@sbcglobal.net. Per General Order No. 59 and
                             Judicial Conference policy, this transcript may be viewed only at the Clerk's Office public terminal or
                             may be purchased through the Court Reporter/Transcriber until the deadline for the Release of
                             Transcript Restriction. After that date it may be obtained through PACER. Any Notice of Intent to
                             Request Redaction, if required, is due no later than 5 business days from date of this filing. (Re 1799
                             Transcript Order - Daily Trial, 1834 Transcript Order, 1835 Transcript Order ) Redaction Request due
                             6/7/2016. Redacted Transcript Deadline set for 6/17/2016. Release of Transcript Restriction set for
                             8/15/2016. (Related documents(s) 1799 , 1834 , 1835 ) (Batalo, Pam) (Filed on 5/17/2016) (Entered:
                             05/17/2016)



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         05/17/2016     1911 Minute Entry for proceedings held before Hon. William Alsup: Jury Trial held on 5/17/2016.
                             Witnesses called. Further Jury Trial set for 5/18/2016 at 7:30 a.m. Total Time in Court: 5:25.
                             Court Reporters: Pam Batalo/Kathryn Sullivan. Plaintiff Attorneys: Peter Bicks; Annette Hurst;
                             Matthew Bush; Lisa Simpson; Gabriel Ramsey; Christina Von Der Ahe; Alyssa Caridis.
                             Defendant Attorneys: Robert Van Nest; Bruce Baber; Christa Anderson; Ed Bailey; Daniel
                             Purcell; Matthias Kamber; Eugene Paige; Michael Kwun; Reid Mullen; Maya Karwande;
                             Steven Ragland. Interpreter N/A.Attachment: Minute Order.(afmS, COURT STAFF) (Date
                             Filed: 5/17/2016) (Entered: 05/17/2016)
         05/17/2016     1912 Witness List by Oracle America, Inc. . (Hurst, Annette) (Filed on 5/17/2016) (Entered: 05/17/2016)
         05/17/2016     1913 Witness List by Google Inc. Rolling List of Next Four Witnesses. (Van Nest, Robert) (Filed on
                             5/17/2016) (Entered: 05/17/2016)
         05/17/2016     1914 MOTION for Judgment as a Matter of Law at the Close of Google's Case In Chief filed by Oracle
                             America, Inc.. Responses due by 5/31/2016. Replies due by 6/7/2016. (Bicks, Peter) (Filed on
                             5/17/2016) (Entered: 05/17/2016)
         05/17/2016     1915 Declaration of Matthew L. Bush in Support of 1914 MOTION for Judgment as a Matter of Law at the
                             Close of Google's Case In Chief filed byOracle America, Inc.. (Attachments: # 1 TX 5183 (1 of 3), # 2
                             TX 5183 (2 of 3), # 3 TX 5183 (3 of 3), # 4 TX 106t1, # 5 TX 0951, # 6 TX 3211 (1 of 8), # 7 TX 3211
                             (2 of 8), # 8 TX 3211 (3 of 8), # 9 TX 3211 (4 of 8), # 10 TX 3211 (5 of 8), # 11 TX 3211 (6 of 8), # 12
                             TX 3211 (7 of 8), # 13 TX 3211 (8 of 8))(Related document(s) 1914 ) (Bicks, Peter) (Filed on
                             5/17/2016) (Entered: 05/17/2016)
         05/17/2016     1916 EXHIBITS re 1915 Declaration in Support,, 1914 MOTION for Judgment as a Matter of Law at the
                             Close of Google's Case In Chief TX 1004 (1 of 6) filed byOracle America, Inc.. (Attachments: # 1 TX
                             1004 (2 of 6), # 2 TX 1004 (3 of 6), # 3 TX 1004 (4 of 6), # 4 TX 1004 (5 of 6), # 5 TX 1004 (6 of 6),
                             # 6 TX 0021, # 7 TX 5109, # 8 TX 0013, # 9 TX 0158, # 10 TX 0018, # 11 TX 0001, # 12 TX 0435, #
                             13 TX 0215, # 14 TX 0007, # 15 TX 0029, # 16 TX 0010)(Related document(s) 1915 , 1914 ) (Bicks,
                             Peter) (Filed on 5/17/2016) (Entered: 05/17/2016)
         05/17/2016     1917 EXHIBITS re 1915 Declaration in Support,, TX 0624 (1 of 2) filed byOracle America, Inc..
                             (Attachments: # 1 TX 0624 (2 of 2), # 2 TX 0877, # 3 TX 0205, # 4 TX 0014, # 5 TX 3466, # 6 TX
                             9191, # 7 TX 5338, # 8 TX 7805, # 9 TX 7806, # 10 TX 0405, # 11 TX 0358, # 12 TX 9223)(Related
                             document(s) 1915 ) (Bicks, Peter) (Filed on 5/17/2016) (Entered: 05/17/2016)
         05/18/2016     1918 OBJECTIONS to Documents and Testimony from Stefano Mazzocchi Under FRE 402, 403, and 802 by
                             Google Inc.. (Van Nest, Robert) (Filed on 5/18/2016) (Entered: 05/18/2016)
         05/18/2016     1919 OBJECTIONS to ORACLES OBJECTION TO DR. LEONARD TESTIFYING ON FAIR USE by Oracle
                             America, Inc.. (Simpson, Lisa) (Filed on 5/18/2016) (Entered: 05/18/2016)
         05/18/2016     1920 RESPONSE to re 1918 Objection Oracle's Response to Google's Second Objection re Stefano
                             Mazzocchi by Oracle America, Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Feeman,
                             Vickie) (Filed on 5/18/2016) (Entered: 05/18/2016)
         05/18/2016     1921 Proposed Order re 1914 MOTION for Judgment as a Matter of Law at the Close of Google's Case In
                             Chief by Oracle America, Inc.. (Bicks, Peter) (Filed on 5/18/2016) (Entered: 05/18/2016)
         05/18/2016     1922 Minute Entry for proceedings held before Hon. William Alsup: Jury Trial held on 5/18/2016.
                             Witnesses called. Further Jury Trial set for May 19, 2016 at 7:30 a.m. Total Time in Court: 5:37.
                             Court Reporter: Kelly Polvi. Plaintiff Attorneys: Peter Bicks; Annette Hurst; Matthew Bush;
                             Lisa Simpson; Gabriel Ramsey; Christina Von Der Ahe; Alyssa Caridis. Defendant Attorneys:
                             Robert Van Nest; Bruce Baber; Christa Anderson; Ed Bailey; Daniel Purcell; Matthias Kamber;
                             Eugene Paige; Michael Kwun; Reid Mullen; Maya Karwande; Steven Ragland. Attachment:
                             Minute Order.(afmS, COURT STAFF) (Date Filed: 5/18/2016) (Entered: 05/18/2016)
         05/18/2016     1923 COURTS PROPOSED CHARGE TO THE JURY AND SPECIAL VERDICT FORM. Signed by
                             Judge Alsup on 5/18/16. (whalc1, COURT STAFF) (Filed on 5/18/2016) (Entered: 05/18/2016)
         05/18/2016     1924 RESPONSE to re 1919 Objection to Dr. Gregory Leonard Testifying on Fair Use by Google Inc.. (Van
                             Nest, Robert) (Filed on 5/18/2016) (Entered: 05/18/2016)




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         05/18/2016     1925 RESPONSE to Order Redacting Trial Exhibit 5046: Oracle's Request to Remove Redaction by Oracle
                             America, Inc.. (Feeman, Vickie) (Filed on 5/18/2016) (Entered: 05/18/2016)
         05/19/2016     1926 (Disregard - incorrect pdf attached. Amended Minute Entry to issue) Minute Entry for proceedings
                             held before Hon. William Alsup: Jury Trial and Charging Conference held on 5/19/2016.
                             Witnesses called. Plaintiff and Defendant RESTS. Further Jury Trial set for May 23, 2016 at 7:30
                             a.m. Total Time in Court: 5:32. Court Reporters: Pam Batalo; Kathryn Sullivan. Plaintiff
                             Attorneys: Peter Bicks; Annette Hurst; Lisa Simpson; Gabriel Ramsey; Matthew Bush;
                             Christina Von Der Ahe; Alyssa Caridis; Andrew Silverman. Defendant Attorneys: Robert Van
                             Nest; Christa Anderson; Bruce Baber; Ed Bailey; Daniel Purcell; Michael Kwun; Steven
                             Ragland; Reid Mullen; Eugene Paige; Matthias Kamber; Maya Karwande. Interpreter:
                             N/A.Attachment: Minute Order.(afmS, COURT STAFF) (Date Filed: 5/19/2016) Modified on
                             5/19/2016 (afmS, COURT STAFF). (Entered: 05/19/2016)
         05/19/2016     1927 AMENDED 1926 MINUTE ENTRY: for proceedings held before Hon. William Alsup: Jury Trial and
                             Charging Conference held on 5/19/2016. Witnesses called. Plaintiff and Defendant RESTS. Further
                             Jury Trial set for May 23, 2016 at 7:30 a.m. Total Time in Court: 5:32. Court Reporters: Pam Batalo;
                             Kathryn Sullivan. Plaintiff Attorneys: Peter Bicks; Annette Hurst; Lisa Simpson; Gabriel Ramsey;
                             Matthew Bush; Christina Von Der Ahe; Alyssa Caridis; Andrew Silverman. Defendant Attorneys:
                             Robert Van Nest; Christa Anderson; Bruce Baber; Ed Bailey; Daniel Purcell; Michael Kwun; Steven
                             Ragland; Reid Mullen; Eugene Paige; Matthias Kamber; Maya Karwande. Interpreter:
                             N/A.Attachment: Minute Order. (afmS, COURT STAFF) (Filed on 5/19/2016) (Entered: 05/19/2016)
         05/20/2016     1928 NOTICE OF FINAL CHARGE TO THE JURY (PHASE ONE) AND SPECIAL VERDICT
                             FORM. Signed by Judge Alsup on 5/20/16. (Attachments: # 1 Appendix Special Verdict
                             Form)(whalc1, COURT STAFF) (Filed on 5/20/2016) (Entered: 05/20/2016)
         05/20/2016     1929 MEMORANDUM OPINION RE MOTIONS IN LIMINE CONCERNING RULE 706 EXPERT.
                             Signed by Judge Alsup on 5/20/16. (whalc1, COURT STAFF) (Filed on 5/20/2016) (Entered:
                             05/20/2016)
         05/20/2016     1930 Transcript of Proceedings held on 5/16/16, Volume 6, before Judge William H. Alsup. Court
                             Reporter/Transcriber Katherine Powell Sullivan and Pamela Batalo, telephone number 415-794-6659.
                             Per General Order No. 59 and Judicial Conference policy, this transcript may be viewed only at the
                             Clerk's Office public terminal or may be purchased through the Court Reporter/Transcriber until the
                             deadline for the Release of Transcript Restriction. After that date it may be obtained through PACER.
                             Any Notice of Intent to Request Redaction, if required, is due no later than 5 business days from date
                             of this filing. Redaction Request due 6/10/2016. Redacted Transcript Deadline set for 6/20/2016.
                             Release of Transcript Restriction set for 8/18/2016. (Sullivan, Katherine) (Filed on 5/20/2016)
                             (Entered: 05/20/2016)
         05/20/2016     1931 Transcript of Proceedings held on 5/17/17, Volume 7, before Judge William H. Alsup. Court
                             Reporter/Transcriber Katherine Powell Sullivan and Pamela Batalo, telephone number 415-794-6659.
                             Per General Order No. 59 and Judicial Conference policy, this transcript may be viewed only at the
                             Clerk's Office public terminal or may be purchased through the Court Reporter/Transcriber until the
                             deadline for the Release of Transcript Restriction. After that date it may be obtained through PACER.
                             Any Notice of Intent to Request Redaction, if required, is due no later than 5 business days from date
                             of this filing. Redaction Request due 6/10/2016. Redacted Transcript Deadline set for 6/20/2016.
                             Release of Transcript Restriction set for 8/18/2016. (Sullivan, Katherine) (Filed on 5/20/2016)
                             (Entered: 05/20/2016)
         05/20/2016     1932 Transcript of Proceedings held on 5/18/16, Volume 8, before Judge William H. Alsup. Court
                             Reporter/Transcriber Katherine Powell Sullivan and Pamela Batalo, telephone number 415-794-6659.
                             Per General Order No. 59 and Judicial Conference policy, this transcript may be viewed only at the
                             Clerk's Office public terminal or may be purchased through the Court Reporter/Transcriber until the
                             deadline for the Release of Transcript Restriction. After that date it may be obtained through PACER.
                             Any Notice of Intent to Request Redaction, if required, is due no later than 5 business days from date
                             of this filing. Redaction Request due 6/10/2016. Redacted Transcript Deadline set for 6/20/2016.
                             Release of Transcript Restriction set for 8/18/2016. (Sullivan, Katherine) (Filed on 5/20/2016)
                             (Entered: 05/20/2016)




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         05/20/2016     1933 Transcript of Proceedings held on 5/19/16, Volume 9, before Judge William H. Alsup. Court
                             Reporter/Transcriber Katherine Powell Sullivan and Pamela Batalo, telephone number 415-794-6659.
                             Per General Order No. 59 and Judicial Conference policy, this transcript may be viewed only at the
                             Clerk's Office public terminal or may be purchased through the Court Reporter/Transcriber until the
                             deadline for the Release of Transcript Restriction. After that date it may be obtained through PACER.
                             Any Notice of Intent to Request Redaction, if required, is due no later than 5 business days from date
                             of this filing. Redaction Request due 6/10/2016. Redacted Transcript Deadline set for 6/20/2016.
                             Release of Transcript Restriction set for 8/18/2016. (Sullivan, Katherine) (Filed on 5/20/2016)
                             (Entered: 05/20/2016)
         05/20/2016     1934 REQUEST FOR RESPONSE RE TECHNICALLY NECESSARY COPYING. Signed by Judge
                             Alsup on 5/20/16. (whalc1, COURT STAFF) (Filed on 5/20/2016) (Entered: 05/20/2016)
         05/21/2016     1935 RESPONSE (re 1914 MOTION for Judgment as a Matter of Law at the Close of Google's Case In
                             Chief ) Google's Opposition to Oracle's Rule 50(A) Motion for Judgment as a Matter of Law filed
                             byGoogle Inc.. (Attachments: # 1 Declaration of Kate Lazarus, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit
                             3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11 Exhibit
                             10, # 12 Exhibit 11, # 13 Exhibit 12, # 14 Exhibit 13, # 15 Exhibit 14, # 16 Exhibit 15, # 17 Exhibit 16
                             Part 1, # 18 Exhibit 16 Part 2, # 19 Exhibit 17, # 20 Exhibit 18, # 21 Exhibit 19, # 22 Exhibit 20, # 23
                             Exhibit 21, # 24 Exhibit 22, # 25 Exhibit 23, # 26 Exhibit 24, # 27 Exhibit 25, # 28 Exhibit 26, # 29
                             Exhibit 27, # 30 Exhibit 28, # 31 Exhibit 29, # 32 Exhibit 30)(Van Nest, Robert) (Filed on 5/21/2016)
                             (Entered: 05/21/2016)
         05/21/2016     1936 Error, See 1937
                             MOTION for Judgment as a Matter of Law Rule 50(A) filed by Google Inc.. Motion Hearing set for
                             5/23/2016 08:00 AM in Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup.
                             Responses due by 6/6/2016. Replies due by 6/13/2016. (Van Nest, Robert) (Filed on 5/21/2016)
                             Modified on 5/23/2016 (dtmS, COURT STAFF). (Entered: 05/22/2016)
         05/22/2016     1937 MOTION for Judgment as a Matter of Law Google's Corrected Rule 50(A) Motion for Judgment as a
                             Matter of Law filed by Google Inc.. Responses due by 6/6/2016. Replies due by 6/13/2016. (Van Nest,
                             Robert) (Filed on 5/22/2016) (Entered: 05/22/2016)
         05/22/2016     1938 RESPONSE to re 1928 Order Google Inc.'s Request for Correction to the Court's Final Charge to the
                             Jury (Phase One) by Google Inc.. (Baber, Bruce) (Filed on 5/22/2016) (Entered: 05/22/2016)
         05/22/2016     1939 OBJECTIONS to re 1928 Order Google Inc.'s Objections to the Court's Final Charge to the Jury
                             (Phase One) by Google Inc.. (Baber, Bruce) (Filed on 5/22/2016) (Entered: 05/22/2016)
         05/23/2016     1940 RESPONSE to re 1928 Order Oracle's Response and Objection to Court's Final Charge to the Jury by
                             Oracle America, Inc.. (Simpson, Lisa) (Filed on 5/23/2016) (Entered: 05/23/2016)
         05/23/2016            (Court only) ***Motions terminated: 1936 MOTION for Judgment (dtmS, COURT STAFF) (Filed on
                               5/23/2016) (Entered: 05/23/2016)
         05/23/2016     1944 MOTION FOR LEAVE TO FILE Motion for Reconsideration re Lost Profits filed by Oracle America,
                             Inc.. (Hurst, Annette) (Filed on 5/23/2016) Modified on 5/23/2016 (dtmS, COURT STAFF). (Entered:
                             05/23/2016)
         05/23/2016            Electronic filing error. Incorrect event used. Correct event is MOTION FOR LEAVE TO FILE.
                               Corrected by Clerk's Office. No further action is necessary. Re: 1944 MOTION for Reconsideration
                               filed by Oracle America, Inc. (dtmS, COURT STAFF) (Filed on 5/23/2016) (Entered: 05/23/2016)
         05/23/2016     1945 NOTICE RE PHASE TWO INSTRUCTIONS, VERDICT FORM AND TIME REMAINING
                             Responses due by 5/25/2016 at NOON.. Signed by Judge Alsup on 5/23/16. (Attachments: # 1
                             Appendix [Proposed] Special Verdict Form)(whalc1, COURT STAFF) (Filed on 5/23/2016)
                             (Entered: 05/23/2016)
         05/23/2016     1946 ORDER GRANTING LEAVE TO FILE MOTION FOR RECONSIDERATION by Hon.
                             William Alsup granting 1944 Motion for Leave to File.(whalc1, COURT STAFF) (Filed on
                             5/23/2016) (Entered: 05/23/2016)
         05/23/2016     1947 Minute Entry for proceedings held before Hon. William Alsup: Jury Trial held on 5/23/2016.
                             Closing Arguments made. Jury Instruction read. Jury Deliberation began. Further Jury Trial set
                             for 5/24/2016 7:45 AM.Total Time in Court 5:09. Court Reporter Name Kathy Sullivan; Pam



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                               Batalo. Plaintiff Attorney Peter Bicks. Defendant Attorney Robert Van Nest. Attachment minute
                               order.(dl, COURT STAFF) (Date Filed: 5/23/2016) (Entered: 05/23/2016)
         05/23/2016     1948 RESPONSE to Request for Proffer Regarding Dr. Mark Reinhold's Phase II Testimony by Oracle
                             America, Inc.. (Hurst, Annette) (Filed on 5/23/2016) (Entered: 05/23/2016)
         05/23/2016     1949 Disregard, See 1950
                             FINAL CHARGE TO THE JURY (PHASE ONE) AND SPECIAL VERDICT FORM. Signed by
                             Judge Alsup on 5/23/16. (Attachments: # 1 Appendix Special Verdict Form)(whalc1, COURT STAFF)
                             (Filed on 5/23/2016) Modified on 5/23/2016 (dtmS, COURT STAFF). (Entered: 05/23/2016)
         05/23/2016     1950 ***CORRECTED*** FINAL CHARGE TO THE JURY (PHASE ONE) AND SPECIAL
                             VERDICT FORM. Signed by Judge Alsup on 5/23/16. (Attachments: # 1 Appendix Special
                             Verdict Form)(whalc1, COURT STAFF) (Filed on 5/23/2016) (Entered: 05/23/2016)
         05/23/2016     1951 MOTION for Reconsideration re 1798 Order on Motion in Limine filed by Oracle America, Inc..
                             (Attachments: # 1 Declaration, # 2 Exhibit, # 3 Proposed Order)(Hurst, Annette) (Filed on 5/23/2016)
                             (Entered: 05/23/2016)
         05/23/2016     1952 RESPONSE to re 1948 Response ( Non Motion ) **Corrected** Request for Proffer Regarding Dr.
                             Mark Reinhold's Phase II Testimony by Oracle America, Inc.. (Hurst, Annette) (Filed on 5/23/2016)
                             (Entered: 05/23/2016)
         05/23/2016     1953 Witness List by Oracle America, Inc. . (Hurst, Annette) (Filed on 5/23/2016) (Entered: 05/23/2016)
         05/23/2016     1954 Witness List by Oracle America, Inc. Corrected Rolling Witness List. (Hurst, Annette) (Filed on
                             5/23/2016) (Entered: 05/23/2016)
         05/23/2016     1955 REQUEST FOR FURTHER BRIEFING RE RULE 50 MOTION. Signed by Judge Alsup on
                             5/23/16. (whalc1, COURT STAFF) (Filed on 5/23/2016) (Entered: 05/23/2016)
         05/24/2016     1956 ORDER RE ELECTRONIC CART. Signed by Judge Alsup on 5/24/16. (whalc1, COURT
                             STAFF) (Filed on 5/24/2016) (Entered: 05/24/2016)
         05/24/2016     1957 Letter from John L. Cooper [Letter to Judge Alsup from John L. Cooper]. (Cooper, John) (Filed on
                             5/24/2016) (Entered: 05/24/2016)
         05/24/2016     1958 Administrative Motion to File Under Seal filed by Oracle America, Inc.. (Attachments: # 1 Declaration
                             of Matthew Bush in Support of the Administrative Motion to File Under Seal, # 2 Exhibit A to the
                             Silverman Declaration (UNDER SEAL), # 3 Exhibit Opposition to Google's Rule 50(a) Motion &
                             Resp. to ECF Nos. 1934 & 1955 (PUBLIC), # 4 Exhibit Opposition to Google's Rule 50(a) Motion &
                             Resp. to ECF Nos. 1934 & 1955 (UNDER SEAL), # 5 Proposed Order, # 6 Certificate/Proof of
                             Service)(Bush, Matthew) (Filed on 5/24/2016) (Entered: 05/24/2016)
         05/24/2016     1959 RESPONSE (re 1937 MOTION for Judgment ) and Response to 1934 and 1935 filed byOracle
                             America, Inc.. (Attachments: # 1 Declaration of Andrew D. Silverman, # 2 Exhibit A to the Silverman
                             Declaration)(Bicks, Peter) (Filed on 5/24/2016) Modified on 5/24/2016 (dtmS, COURT STAFF).
                             (Entered: 05/24/2016)
         05/24/2016     1960 REPLY (re 1914 MOTION for Judgment as a Matter of Law at the Close of Google's Case In Chief )
                             filed byOracle America, Inc.. (Bicks, Peter) (Filed on 5/24/2016) (Entered: 05/24/2016)
         05/24/2016     1961 RESPONSE to re 1880 Order Oracle Memorandum Re Continuing Willful Infringement by Oracle
                             America, Inc.. (Hurst, Annette) (Filed on 5/24/2016) (Entered: 05/24/2016)
         05/24/2016     1962 Witness List by Google Inc. . (Van Nest, Robert) (Filed on 5/24/2016) (Entered: 05/24/2016)
         05/24/2016     1963 Witness List by Oracle America, Inc. . (Hurst, Annette) (Filed on 5/24/2016) (Entered: 05/24/2016)
         05/24/2016     1964 OBJECTIONS to Exhibit 2b of Google Expert Dr. Gregory Leonard's Opening Expert Report and
                             Opinions Based Thereon by Oracle America, Inc.. (Attachments: # 1 Declaration, # 2 Exhibit, # 3
                             Exhibit, # 4 Exhibit, # 5 Exhibit)(Feeman, Vickie) (Filed on 5/24/2016) (Entered: 05/24/2016)
         05/24/2016     1965 RESPONSE (re 1951 MOTION for Reconsideration re 1798 Order on Motion in Limine ) Google
                             Inc.'s Response to Oracle's Motion for Reconsideration of the Court's Order Limiting Mr.
                             Malackowski's Lost Profits Opinion, ECF No. 1798 filed byGoogle Inc.. (Van Nest, Robert) (Filed on
                             5/24/2016) (Entered: 05/24/2016)



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         05/24/2016     1966 RESPONSE to Court's Request for Recommended Responses to the May 24 Jury Questions by Oracle
                             America, Inc.. (Bicks, Peter) (Filed on 5/24/2016) (Entered: 05/24/2016)
         05/24/2016     1967 RESPONSE to re 1955 Order Request for Further Briefing Re Rule 50 Motion by Google Inc.. (Van
                             Nest, Robert) (Filed on 5/24/2016) (Entered: 05/24/2016)
         05/24/2016     1968 RESPONSE to Court's Request re Use by Jurors of Notes, Jury Instructions, and Trial Exhibits by
                             Google Inc.. (Van Nest, Robert) (Filed on 5/24/2016) (Entered: 05/24/2016)
         05/24/2016     1969 Minute Entry for proceedings held before Hon. William Alsup: Jury Trial held on 5/24/2016.
                             Deliberation continued. Further Trial set for 5/25/2016 7:30 AM. Total Time in Court 55 minutes.
                             Court Reporter Name Kathy Sullivan. Plaintiff Attorney Peter Bicks. Defendant Attorney
                             Robert Van Nest. Attachment minute order.(dl, COURT STAFF) (Date Filed: 5/24/2016)
                             (Entered: 05/25/2016)
         05/25/2016     1970 RESPONSE to re 1945 Order, Set Deadlines Google Inc.'s Critique of the Court's Proposed Phase Two
                             Instructions and Verdict Form by Google Inc.. (Baber, Bruce) (Filed on 5/25/2016) (Entered:
                             05/25/2016)
         05/25/2016     1971 RESPONSE to re 1945 Order, Set Deadlines Oracle's Response & Objections to Proposed Phase II
                             Instructions by Oracle America, Inc.. (Simpson, Lisa) (Filed on 5/25/2016) (Entered: 05/25/2016)
         05/25/2016     1972 Minute Entry for proceedings held before Hon. William Alsup: Jury Trial held on 5/25/2016.
                             Deliberation Continued. Further Jury Trial set for 5/26/16 7:30 AM.Total Time in Court 1:12.
                             Court Reporter Name Kathy Sullivan. Plaintiff Attorney Peter Bicks. Defendant Attorney
                             Robert Van Nest. Attachment minute order.(dl, COURT STAFF) (Date Filed: 5/25/2016)
                             (Entered: 05/25/2016)
         05/25/2016     1973 Transcript of Proceedings held on 5/23/16, Volume 10, before Judge William H. Alsup. Court
                             Reporter/Transcriber Katherine Powell Sullivan and Pamela Batalo, telephone number 415-794-6659.
                             Per General Order No. 59 and Judicial Conference policy, this transcript may be viewed only at the
                             Clerk's Office public terminal or may be purchased through the Court Reporter/Transcriber until the
                             deadline for the Release of Transcript Restriction. After that date it may be obtained through PACER.
                             Any Notice of Intent to Request Redaction, if required, is due no later than 5 business days from date
                             of this filing. (Re 1600 Transcript Order - Daily Trial, 1618 Transcript Order - Daily Trial ) Redaction
                             Request due 6/15/2016. Redacted Transcript Deadline set for 6/27/2016. Release of Transcript
                             Restriction set for 8/23/2016. (Related documents(s) 1600 , 1618 ) (Sullivan, Katherine) (Filed on
                             5/25/2016) (Entered: 05/25/2016)
         05/25/2016     1974 Transcript of Proceedings held on 5/24/16, Volume 11, before Judge William H. Alsup. Court
                             Reporter/Transcriber Katherine Powell Sullivan, telephone number 415-794-6659. Per General Order
                             No. 59 and Judicial Conference policy, this transcript may be viewed only at the Clerk's Office public
                             terminal or may be purchased through the Court Reporter/Transcriber until the deadline for the Release
                             of Transcript Restriction. After that date it may be obtained through PACER. Any Notice of Intent to
                             Request Redaction, if required, is due no later than 5 business days from date of this filing. (Re 1600
                             Transcript Order - Daily Trial, 1618 Transcript Order - Daily Trial ) Redaction Request due 6/15/2016.
                             Redacted Transcript Deadline set for 6/27/2016. Release of Transcript Restriction set for 8/23/2016.
                             (Related documents(s) 1600 , 1618 ) (Sullivan, Katherine) (Filed on 5/25/2016) (Entered: 05/25/2016)
         05/25/2016     1975 Transcript of Proceedings held on 5/25/16, Volume 12, before Judge William H. Alsup. Court
                             Reporter/Transcriber Katherine Powell Sullivan, telephone number 415-794-6659. Per General Order
                             No. 59 and Judicial Conference policy, this transcript may be viewed only at the Clerk's Office public
                             terminal or may be purchased through the Court Reporter/Transcriber until the deadline for the Release
                             of Transcript Restriction. After that date it may be obtained through PACER. Any Notice of Intent to
                             Request Redaction, if required, is due no later than 5 business days from date of this filing. (Re 1600
                             Transcript Order - Daily Trial, 1618 Transcript Order - Daily Trial ) Redaction Request due 6/15/2016.
                             Redacted Transcript Deadline set for 6/27/2016. Release of Transcript Restriction set for 8/23/2016.
                             (Related documents(s) 1600 , 1618 ) (Sullivan, Katherine) (Filed on 5/25/2016) (Entered: 05/25/2016)
         05/25/2016     1976 Statement Regarding Joint Materials Provided to the Jury by Oracle America, Inc.. (Von Der Ahe,
                             Christina) (Filed on 5/25/2016) (Entered: 05/25/2016)
         05/25/2016     1977 REPLY (re 1937 MOTION for Judgment as a Matter of Law Google's Corrected Rule 50(A) Motion
                             for Judgment as a Matter of Law ) filed byGoogle Inc.. (Van Nest, Robert) (Filed on 5/25/2016)



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                               (Entered: 05/25/2016)
         05/25/2016     1978 MOTION to Modify Jury Instructions and Verdict Form re 1945 Order, Set Deadlines filed by Google
                             Inc.. Motion Hearing set for 5/26/2016 07:30 AM in Courtroom 8, 19th Floor, San Francisco before
                             Hon. William Alsup. Responses due by 6/8/2016. Replies due by 6/15/2016. (Van Nest, Robert) (Filed
                             on 5/25/2016) (Entered: 05/25/2016)
         05/25/2016     1979 OBJECTIONS to re 1952 Response ( Non Motion ) Oracle's Proffer Re Dr. Mark Reinhold's Phase II
                             Testimony by Google Inc.. (Attachments: # 1 Exhibit 1)(Van Nest, Robert) (Filed on 5/25/2016)
                             (Entered: 05/25/2016)
         05/26/2016     1980 REQUEST FOR RESPONSE RE DR. REINHOLD. Signed by Judge Alsup on 5/26/16. (whalc1,
                             COURT STAFF) (Filed on 5/26/2016) (Entered: 05/26/2016)
         05/26/2016     1981 FINAL CHARGE TO THE JURY (PHASE ONE) AND SPECIAL VERDICT FORM. Signed by
                             Judge Alsup on 5/23/16. (Attachments: # 1 Appendix Special Verdict Form)(whalc1, COURT
                             STAFF) (Filed on 5/26/2016) (Entered: 05/26/2016)
         05/26/2016     1982 JURY VERDICT. (dl, COURT STAFF) (Filed on 5/26/2016) (Entered: 05/26/2016)
         05/26/2016     1983 Jury Notes. (dl, COURT STAFF) (Filed on 5/26/2016) (Entered: 05/26/2016)
         05/26/2016     1984 Minute Entry for proceedings held before Hon. William Alsup: Jury Trial completed on
                             5/26/2016. Verdict Reached. Jury polled, thanked and discharged.Total Time in Court 10
                             minutes. Court Reporter Name Pam Batalo. Plaintiff Attorney Peter Bicks. Defendant Attorney
                             Robert Van Nest. Attachment minute order.(dl, COURT STAFF) (Date Filed: 5/26/2016)
                             (Entered: 05/26/2016)
         05/27/2016     1985 Declaration of Renny Hwang in Support of 1958 Administrative Motion to File Under Seal re Oracle's
                             Opposition to Google's Rule 50 Motion filed byGoogle Inc.. (Related document(s) 1958 ) (Van Nest,
                             Robert) (Filed on 5/27/2016) (Entered: 05/27/2016)
         06/01/2016     1986 Transcript of Proceedings, Volume 13, held on 05/26/16, before Judge Alsup. Court Reporter Pamela
                             A. Batalo, telephone number 626-688-7509; pamela_batalo@cand.uscourts.gov. Per General Order No.
                             59 and Judicial Conference policy, this transcript may be viewed only at the Clerk's Office public
                             terminal or may be purchased through the Court Reporter/Transcriber until the deadline for the Release
                             of Transcript Restriction. After that date it may be obtained through PACER. Any Notice of Intent to
                             Request Redaction, if required, is due no later than 5 business days from date of this filing. (Re 1799
                             Transcript Order - Daily Trial ) Redaction Request due 6/22/2016. Redacted Transcript Deadline set for
                             7/5/2016. Release of Transcript Restriction set for 8/30/2016. (Related documents(s) 1799 ) (Batalo,
                             Pam) (Filed on 6/1/2016) (Entered: 06/01/2016)
         06/08/2016     1988 ORDER DENYING RULE 50 MOTIONS by Judge William Alsup [denying 1914 Motion for
                             Judgment as a Matter of Law; denying 1937 Motion for Judgment as a Matter of Law]. (whasec,
                             COURT STAFF) (Filed on 6/8/2016) (Entered: 06/08/2016)
         06/08/2016     1989 FINAL JUDGMENT in favor of defendant Google Inc., and against plaintiff Oracle America,
                             Inc. Signed by Judge William Alsup on 6/8/2016. (whasec, COURT STAFF) (Filed on 6/8/2016)
                             (Entered: 06/08/2016)
         06/08/2016            (Court only) ***Motions terminated: 1757 MOTION in Limine Re Copying Required by Java filed by
                               Oracle America, Inc., 1584 MOTION to Strike Portions of Dr. Kearl's Report and Testimony filed by
                               Google Inc., 1895 STIPULATION WITH PROPOSED ORDER re 1887 MOTION to Strike Portions
                               of Dr. Bloch's Testimony filed by Google Inc., 1978 MOTION to Modify Jury Instructions and Verdict
                               Form re 1945 Order, Set Deadlines filed by Google Inc., 1951 MOTION for Reconsideration re 1798
                               Order on Motion in Limine filed by Oracle America, Inc., 1901 STIPULATION WITH PROPOSED
                               ORDER Stipulation and Proposed Order re Facts and Documents Related to Google's Use fo
                               Declaring Code From Java SE 5 in Android filed by Oracle America, Inc., 1887 MOTION to Strike
                               Portions of Dr. Bloch's Testimony filed by Oracle America, Inc.. (whalc1, COURT STAFF) (Filed on
                               6/8/2016) (Entered: 06/08/2016)
         06/22/2016     1990 BILL OF COSTS by Google Inc.. Objections due by 7/6/2016 (Attachments: # 1 Exhibit A,
                             Declaration of Kristin Zmrhal, # 2 Exhibit B, Itemized Bill of Costs, # 3 Exhibit C, Part 1 of 5, # 4
                             Exhibit C, Part 2 of 5, # 5 Exhibit C, Part 3 of 5, # 6 Exhibit C, Part 4 of 5, # 7 Exhibit C, Part 5 of
                             5)(Van Nest, Robert) (Filed on 6/22/2016) (Entered: 06/22/2016)



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         06/29/2016     1991 Letter from Bruce W. Baber, counsel for Google Inc. renewing precis request for approval to file
                             motion for contempt and sanctions. (Baber, Bruce) (Filed on 6/29/2016) (Entered: 06/29/2016)
         06/30/2016     1992 ORDER RE GOOGLE'S PRECIS LETTER. Signed by Judge Alsup on 6/30/16. (whalc1,
                             COURT STAFF) (Filed on 6/30/2016) (Entered: 06/30/2016)
         07/05/2016            (Court only) ***Civil Case Terminated. per 1989 (dtmS, COURT STAFF) (Filed on 7/5/2016)
                               (Entered: 07/05/2016)
         07/06/2016     1993 MOTION for Judgment as a Matter of Law Pursuant to Rule 50(b) filed by Oracle America, Inc..
                             Motion Hearing set for 8/18/2016 08:00 AM in Courtroom 8, 19th Floor, San Francisco before Hon.
                             William Alsup. Responses due by 7/20/2016. Replies due by 7/27/2016. (Attachments: # 1 Declaration
                             of Andrew D. Silverman, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit 1, # 5 Exhibit 7, # 6 Exhibit 10, # 7
                             Exhibit 13, # 8 Exhibit 14, # 9 Exhibit 18, # 10 Exhibit 29, # 11 Exhibit 31, # 12 Exhibit 151, # 13
                             Exhibit 158, # 14 Exhibit 190, # 15 Exhibit 215, # 16 Exhibit 339, # 17 Exhibit 405, # 18 Exhibit 435,
                             # 19 Exhibit 610.1, # 20 Exhibit 624, # 21 Exhibit 877, # 22 Exhibit 951, # 23 Exhibit 980, # 24
                             Exhibit 1026, # 25 Exhibit 1061, # 26 Exhibit 3211, # 27 Exhibit 5046, # 28 Exhibit 5114, # 29 Exhibit
                             5183, # 30 Exhibit 5322, # 31 Exhibit 6053, # 32 Exhibit 6446, # 33 Exhibit 9200, # 34 Exhibit 9201, #
                             35 Exhibit 9214, # 36 Exhibit 9226, # 37 Proposed Order)(Bicks, Peter) (Filed on 7/6/2016) (Entered:
                             07/06/2016)
         07/06/2016     1994 OBJECTIONS to re 1990 Bill of Costs, by Oracle America, Inc.. (Attachments: # 1 Declaration of
                             Michelle O'Meara in Support of Oracle's Objections to Google's Bill of Costs, # 2 Exhibit A, # 3
                             Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit G, # 9 Exhibit H, # 10
                             Exhibit I)(Mingrone, Denise) (Filed on 7/6/2016) (Entered: 07/06/2016)
         07/06/2016     1995 Administrative Motion to File Under Seal filed by Oracle America, Inc.. (Attachments: # 1 Declaration
                             of Andrew Silverman, # 2 Declaration of Andrew Temkin, # 3 Proposed Order, # 4 UNDER SEAL
                             Rule 59 Motion for a New Trial, # 5 PUBLIC Motion for a New Trial, # 6 UNDER SEAL Exhibit G, #
                             7 UNDER SEAL Exhibit L, # 8 PUBLIC Exhibit L, # 9 UNDER SEAL Exhibit M, # 10 UNDER
                             SEAL Exhibit N, # 11 UNDER SEAL Exhibit O, # 12 UNDER SEAL Exhibit P, # 13 UNDER SEAL
                             Exhibit S, # 14 UNDER SEAL Exhibit V, # 15 UNDER SEAL Exhibit W Part 1, # 16 UNDER SEAL
                             Exhibit W Part 2, # 17 PUBLIC Exhibit W Part 1, # 18 PUBLIC Exhibit W Part 2)(Silverman,
                             Andrew) (Filed on 7/6/2016) (Entered: 07/06/2016)
         07/06/2016     1996 *** FILED IN ERROR WITH CONFIDENTIAL INFORMATION. DOCUMENTS LOCKED.
                             ***
                             EXHIBITS re 1995 Administrative Motion to File Under Seal UNDER SEAL Exhibit X re Oracle's
                             Rule 59 Motion for a New Trial filed byOracle America, Inc.. (Attachments: # 1 PUBLIC Exhibit X, #
                             2 UNDER SEAL Exhibit Y Part 1, # 3 UNDER SEAL Exhibit Y Part 2, # 4 UNDER SEAL Exhibit Y
                             Part 3, # 5 UNDER SEAL Exhibit Y Part 4, # 6 UNDER SEAL Exhibit Z, # 7 PUBLIC Exhibit Z, # 8
                             UNDER SEAL Exhibit AA Part 1, # 9 UNDER SEAL Exhibit AA Part 2, # 10 UNDER SEAL Exhibit
                             AA Part 3, # 11 UNDER SEAL Exhibit BB Part 1, # 12 UNDER SEAL Exhibit BB Part 2)(Related
                             document(s) 1995 ) (Silverman, Andrew) (Filed on 7/6/2016) Modified on 7/7/2016 (fff, COURT
                             STAFF). (Entered: 07/06/2016)
         07/06/2016     1997 MOTION for New Trial filed by Oracle America, Inc.. Motion Hearing set for 8/18/2016 08:00 AM in
                             Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup. Responses due by 7/20/2016.
                             Replies due by 7/27/2016. (Attachments: # 1 Declaration of Matthew L. Bush, # 2 Declaration of
                             Geoffrey G. Moss, # 3 Declaration of Nathan Shaffer, # 4 Declaration of Neal Civjan, # 5 Exhibit A
                             (TX 6431) to the Civjan Declaration, # 6 Exhibit B (TX 6470) to the Civjan Declaration, # 7 Proposed
                             Order)(Bicks, Peter) (Filed on 7/6/2016) (Entered: 07/06/2016)
         07/06/2016     1998 EXHIBITS re 1997 MOTION for New Trial to the Declaration of Matthew L. Bush filed byOracle
                             America, Inc.. (Attachments: # 1 Exhibit B, # 2 Exhibit C, # 3 Exhibit D, # 4 Exhibit E, # 5 Exhibit F,
                             # 6 Exhibit G, # 7 Exhibit H, # 8 Exhibit I, # 9 Exhibit J, # 10 Exhibit J-1, # 11 Exhibit J-2, # 12
                             Exhibit J-3, # 13 Exhibit K, # 14 Exhibit L, # 15 Exhibit M, # 16 Exhibit N, # 17 Exhibit O, # 18
                             Exhibit P, # 19 Exhibit Q, # 20 Exhibit R, # 21 Exhibit S, # 22 Exhibit T, # 23 Exhibit U, # 24 Exhibit
                             V, # 25 Exhibit W (Part 1), # 26 Exhibit W (Part 2), # 27 Exhibit X, # 28 Exhibit Y, # 29 Exhibit
                             Z)(Related document(s) 1997 ) (Bicks, Peter) (Filed on 7/6/2016) (Entered: 07/06/2016)
         07/06/2016     1999 EXHIBITS re 1997 MOTION for New Trial to the Declaration of Matthew L. Bush filed byOracle
                             America, Inc.. (Attachments: # 1 Exhibit BB, # 2 Exhibit CC, # 3 Exhibit DD, # 4 Exhibit EE, # 5



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                               Exhibit FF, # 6 Exhibit GG, # 7 Exhibit HH, # 8 Exhibit II, # 9 Exhibit JJ, # 10 Exhibit KK, # 11
                               Exhibit LL, # 12 Exhibit MM (Part 1), # 13 Exhibit MM (Part 2), # 14 Exhibit NN, # 15 Exhibit OO, #
                               16 Exhibit OO-1, # 17 Exhibit PP, # 18 Exhibit QQ)(Related document(s) 1997 ) (Bicks, Peter) (Filed
                               on 7/6/2016) (Entered: 07/06/2016)
         07/06/2016     2000 EXHIBITS re 1997 MOTION for New Trial to the Declaration of Matthew L. Bush filed byOracle
                             America, Inc.. (Attachments: # 1 Exhibit 2237 (Part 1), # 2 Exhibit 2237 (Part 2), # 3 Exhibit 2237
                             (Part 3), # 4 Exhibit 2449, # 5 Exhibit 4104, # 6 Exhibit 5059, # 7 Exhibit 5060, # 8 Exhibit 5062, # 9
                             Exhibit 5063, # 10 Exhibit 5064, # 11 Exhibit 5295, # 12 Exhibit 6527, # 13 Exhibit 5628, # 14 Exhibit
                             5632, # 15 Exhibit 5634, # 16 Exhibit 5635, # 17 Exhibit 5637, # 18 Exhibit 5642, # 19 Exhibit 5840, #
                             20 Exhibit 5844, # 21 Exhibit 5850, # 22 Exhibit 5886, # 23 Exhibit 5887, # 24 Exhibit 5893, # 25
                             Exhibit 5894, # 26 Exhibit 5961, # 27 Exhibit 6431, # 28 Exhibit 6458, # 29 Exhibit 6470, # 30 Exhibit
                             6905, # 31 Exhibit 7237, # 32 Exhibit 9179, # 33 Certificate/Proof of Service)(Related document(s)
                             1997 ) (Bicks, Peter) (Filed on 7/6/2016) (Entered: 07/06/2016)
         07/06/2016     2001 Administrative Motion to File Under Seal filed by Oracle America, Inc.. (Attachments: # 1 UNDER
                             SEAL Exhibit CC, # 2 UNDER SEAL Exhibit DD, # 3 UNDER SEAL Exhibit FF, # 4 UNDER SEAL
                             Exhibit KK, # 5 UNDER SEAL Exhibit LL, # 6 UNDER SEAL Exhibit MM Part 1, # 7 UNDER
                             SEAL Exhibit MM Part 2, # 8 UNDER SEAL Exhibit NN, # 9 UNDER SEAL Exhibit PP, # 10
                             UNDER SEAL Exhibit QQ)(Silverman, Andrew) (Filed on 7/6/2016) (Entered: 07/07/2016)
         07/07/2016     2002 Administrative Motion to File Under Seal filed by Oracle America, Inc.. (Attachments: # 1 UNDER
                             SEAL TX 2449, # 2 UNDER SEAL TX 4104, # 3 UNDER SEAL TX 5059, # 4 UNDER SEAL TX
                             5063, # 5 UNDER SEAL TX 5064, # 6 UNDER SEAL TX 5627, # 7 UNDER SEAL TX 5628, # 8
                             UNDER SEAL TX 5632, # 9 UNDER SEAL TX 5634, # 10 UNDER SEAL TX 5635, # 11 UNDER
                             SEAL TX 5637, # 12 UNDER SEAL TX 5642, # 13 UNDER SEAL TX 5840, # 14 UNDER SEAL
                             TX 5844, # 15 UNDER SEAL TX 5850, # 16 UNDER SEAL TX 5886, # 17 UNDER SEAL TX 5887,
                             # 18 UNDER SEAL TX 5893, # 19 UNDER SEAL TX 5894, # 20 UNDER SEAL TX 5961, # 21
                             UNDER SEAL TX 6431 Part 1, # 22 UNDER SEAL TX 6431 Part 2, # 23 UNDER SEAL TX 6458, #
                             24 UNDER SEAL TX 6470, # 25 UNDER SEAL TX 6905, # 26 UNDER SEAL TX 9179)(Silverman,
                             Andrew) (Filed on 7/7/2016) (Entered: 07/07/2016)
         07/11/2016     2003 Letter from Defendant Google, Inc. re: Google, Inc.'s Bill of Costs. (Van Nest, Robert) (Filed on
                             7/11/2016) (Entered: 07/11/2016)
         07/11/2016     2004 Declaration of Renny Hwang in Support of 1995 Administrative Motion to File Under Seal , 2002
                             Administrative Motion to File Under Seal , 2001 Administrative Motion to File Under Seal , 1996
                             Exhibits,,, filed byGoogle Inc.. (Related document(s) 1995 , 2002 , 2001 , 1996 ) (Van Nest, Robert)
                             (Filed on 7/11/2016) (Entered: 07/11/2016)
         07/12/2016     2005 ORDER RE BRIEFING ON BILL OF COSTS Responses due by 7/15/2016.. Signed by Judge
                             Alsup on 7/12/16. (whalc1, COURT STAFF) (Filed on 7/12/2016) (Entered: 07/12/2016)
         07/15/2016     2006 REPLY to Oracle's Objection to re 1216 Bill of Costs, re 2005 Order, re 1225 Objection filed by
                             Google Inc.. (Van Nest, Robert) (Filed on 7/15/2016) (Entered: 07/15/2016)
         07/18/2016     2007 Letter from Oracle America, Inc. re Google's Reply to Oracle's Objections to Google's Bill of Costs.
                             (Feeman, Vickie) (Filed on 7/18/2016) (Entered: 07/18/2016)
         07/19/2016     2008 ORDER RE ORACLE'S PRECIS REQUEST TO REPLY RE BILL OF COSTS. Signed by
                             Judge Alsup on 7/19/16. (whalc1, COURT STAFF) (Filed on 7/19/2016) (Entered: 07/19/2016)
         07/20/2016     2009 ORDER Motions due by 7/21/2016.. Signed by Judge Alsup on 7/20/16. (whalc1, COURT STAFF)
                             (Filed on 7/20/2016) (Entered: 07/20/2016)
         07/20/2016     2010 RESPONSE (re 1993 MOTION for Judgment as a Matter of Law Pursuant to Rule 50(b) ) filed
                             byGoogle Inc.. (Van Nest, Robert) (Filed on 7/20/2016) (Entered: 07/20/2016)
         07/20/2016     2011 Administrative Motion to File Under Seal Exhibit 4 to Googles Opposition to Oracles Rule 59 Motion
                             filed by Google Inc.. (Attachments: # 1 Declaration of Maya Karwande, # 2 Proposed Order, # 3 Exibit
                             4)(Van Nest, Robert) (Filed on 7/20/2016) (Entered: 07/20/2016)
         07/20/2016     2012 RESPONSE (re 1997 MOTION for New Trial ) filed byGoogle Inc.. (Attachments: # 1 Declaration of
                             Maya Karwande, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6,
                             # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12, # 14



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                               Exhibit 13)(Van Nest, Robert) (Filed on 7/20/2016) (Entered: 07/20/2016)
         07/21/2016     2013 CERTIFICATE OF SERVICE by Google Inc. re 2012 Opposition/Response to Motion, (Van Nest,
                             Robert) (Filed on 7/21/2016) (Entered: 07/21/2016)
         07/21/2016     2014 MOTION for Sanctions and for Civil Contempt filed by Google Inc.. Motion Hearing set for 9/8/2016
                             08:00 AM in Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup. Responses due by
                             8/4/2016. Replies due by 8/11/2016. (Attachments: # 1 Proposed Order)(Baber, Bruce) (Filed on
                             7/21/2016) (Entered: 07/21/2016)
         07/21/2016            RECEIVED DOCUMENT: Manual Filing Notification of EXHIBIT 5 (DVD of Youtube Video) re
                               2012 Opposition/Response to Motion for a New Trial Submitted by Google Inc.. (tnS) (Filed on
                               7/21/2016) (Entered: 07/22/2016)
         07/22/2016     2015 RESPONSE to re 2008 Order, re 1994 Objection, re 1990 Bill of Costs, re 2006 Response; --Oracle's
                             Sur-Reply Re Objections to Google's Bill of Costs filed by Oracle America, Inc.. (Feeman, Vickie)
                             (Filed on 7/22/2016) (Entered: 07/22/2016)
         07/25/2016     2016 RESPONSE (re 2011 Administrative Motion to File Under Seal Exhibit 4 to Googles Opposition to
                             Oracles Rule 59 Motion); --Oracle's Statement Regarding Google's Administrative Motion to Seal (ecf
                             no.2011) filed by Oracle America, Inc.. (Feeman, Vickie) (Filed on 7/25/2016) (Entered: 07/25/2016)
         07/26/2016     2017 STIPULATION WITH [PROPOSED] ORDER Re Hearing on re 2014 MOTION for Sanctions and for
                             Civil Contempt; -Stipulation to Move Hearing Date to September 15, 2016 filed by Oracle America,
                             Inc.. (Attachments: #(1) Declaration in Pursuant to Civil Local Rule 6-2)(Varian, Robert) (Filed on
                             7/26/2016) (Entered: 07/26/2016)
         07/27/2016            ORDER CONTINUING HEARING ON MOTION FOR CIVIL CONTEMPT AND
                               SANCTIONS Set/Reset Deadlines as to 2014 Motion Hearing set for 9/15/2016 08:00 AM in
                               Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup.. Signed by Judge Alsup on
                               7/27/16. (whalc1, COURT STAFF) (Filed on 7/27/2016) (Entered: 07/27/2016)
         07/27/2016     2018 Administrative Motion to File Under Seal filed by Oracle America, Inc.. (Attachments: # 1 Declaration
                             of Matthew Bush, # 2 Exhibit Oracles Reply in Support of Its Rule 59 Motion for a New Trial
                             (PUBLIC), # 3 Exhibit Oracles Reply in Support of Its Rule 59 Motion for a New Trial (Under Seal), #
                             4 Proposed Order, # 5 Certificate/Proof of Service)(Bush, Matthew) (Filed on 7/27/2016) (Entered:
                             07/27/2016)
         07/27/2016     2019 REPLY (re 1997 MOTION for New Trial, re 2018 Administrative Motion to File Under Seal) filed by
                             Oracle America, Inc.. (Bicks, Peter) (Filed on 7/27/2016) (Entered: 07/27/2016)
         07/27/2016     2020 REPLY (re 1993 MOTION for Judgment as a Matter of Law Pursuant to Rule 50(b)) filed by Oracle
                             America, Inc.. (Bicks, Peter) (Filed on 7/27/2016) (Entered: 07/27/2016)
         08/01/2016     2021 Declaration of Renny Hwang in Support of 2018 Administrative Motion to File Under Seal Re Oracle's
                             Rule 59 Reply filed byGoogle Inc.. (Related document(s) 2018 ) (Van Nest, Robert) (Filed on 8/1/2016)
                             (Entered: 08/01/2016)
         08/03/2016     2022 CLERK'S NOTICE Rescheduling Motion Hearing. (This is a text-only entry generated by the court.
                             There is no document associated with this entry.), Set/Reset Deadlines as to 1997 MOTION for New
                             Trial , 1993 MOTION for Judgment as a Matter of Law Pursuant to Rule 50(b). Motion Hearing set for
                             8/17/2016 08:00 AM in Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup. (dl,
                             COURT STAFF) (Filed on 8/3/2016) (Entered: 08/03/2016)
         08/04/2016     2023 SECOND STIPULATION WITH [PROPOSED] ORDER re 2014 MOTION for Sanctions and for
                             Civil Contempt - Stipulation to Continue Hearing to Setpember 22, 2016 and to Modify Briefing
                             Schedule filed by Oracle America, Inc.. (Attachments: #(1) Declaration in Support of Stipulation)
                             (Varian, Robert) (Filed on 8/4/2016) (Entered: 08/04/2016)
         08/04/2016     2024 SECOND STIPULATION AND ORDER RE GOOGLES MOTION FOR CIVIL CONTEMPT
                             ANDSANCTIONS Responses due by 8/8/2016. Replies due by 8/19/2016. Motion Hearing set for
                             9/22/2016 08:00 AM in Courtroom 8, 19th Floor, San Francisco before Hon. William Alsup..
                             Signed by Judge Alsup on 8/4/16. (whalc1, COURT STAFF) (Filed on 8/4/2016) (Entered:
                             08/04/2016)




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         08/08/2016     2025 Administrative Motion to File Under Seal In Support of Oracle's Opposition to Google's Mot.
                             Contempt & Sanctions filed by Oracle America, Inc.. (Attachments: # 1 Declaration Shaffer Decl. ISO
                             of Admin. Mot., # 2 Proposed Order, # 3 Exhibit REDACTED EXHIBIT A, # 4 Exhibit UNDER
                             SEAL EXHIBIT A, # 5 Exhibit REDACTED EXHIBIT B, # 6 Exhibit UNDER SEAL EXHIBIT B, #
                             7 Exhibit REDACTED EXHIBIT C, # 8 Exhibit UNDER SEAL EXHIBIT C, # 9 Exhibit
                             REDACTED OPP. GOOGLE'S MOT. CONTEMPT & SANCTIONS, # 10 Exhibit UNDER SEAL
                             OPP. GOOGLE'S MOT. CONTEMPT & SANCTIONS)(Varian, Robert) (Filed on 8/8/2016) (Entered:
                             08/08/2016)
         08/08/2016     2026 RESPONSE (re 2014 MOTION for Sanctions and for Civil Contempt ) filed byOracle America, Inc..
                             (Varian, Robert) (Filed on 8/8/2016) (Entered: 08/08/2016)
         08/08/2016     2027 Declaration of Annette L. Hurst in Support of 2026 Opposition/Response to Motion for Contempt &
                             Sanctions filed byOracle America, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                             C)(Related document(s) 2026 ) (Hurst, Annette) (Filed on 8/8/2016) (Entered: 08/08/2016)
         08/09/2016     2028 CERTIFICATE OF SERVICE by Oracle America, Inc. re 2025 Administrative Motion to File Under
                             Seal In Support of Oracle's Opposition to Google's Mot. Contempt & Sanctions (Varian, Robert) (Filed
                             on 8/9/2016) (Entered: 08/09/2016)
         08/12/2016     2029 NOTICE RE OPPORTUNITIES FOR YOUNG ATTORNEYS. Signed by Judge Alsup on
                             8/12/16. (whalc1, COURT STAFF) (Filed on 8/12/2016) (Entered: 08/12/2016)
         08/12/2016     2030 Declaration of Renny Hwang in Support of 2025 Administrative Motion to File Under Seal In Support
                             of Oracle's Opposition to Google's Mot. Contempt & Sanctions filed byGoogle Inc.. (Related
                             document(s) 2025 ) (Baber, Bruce) (Filed on 8/12/2016) (Entered: 08/12/2016)
         08/16/2016     2031 NOTICE of Appearance by Nathan D Shaffer on behalf of Oracle America, Inc. (Shaffer, Nathan)
                             (Filed on 8/16/2016) (Entered: 08/16/2016)
         08/16/2016     2032 NOTICE of Appearance by Michelle OMeara Cousineau on behalf of Oracle America, Inc.
                             (Cousineau, Michelle) (Filed on 8/16/2016) (Entered: 08/16/2016)
         08/17/2016     2033 Exhibit Location: Two boxes trial exhibits located on Shelf 69 (msr, COURT STAFF) (Filed on
                             8/17/2016) (Entered: 08/17/2016)
         08/17/2016     2034 TRANSCRIPT ORDER for proceedings held on 08/17/16 before Hon. William Alsup by Google Inc.,
                             for Court Reporter Katherine Sullivan. (Mullen, Reid) (Filed on 8/17/2016) (Entered: 08/17/2016)
         08/17/2016     2035 TRANSCRIPT ORDER for proceedings held on August 17, 2016 before Hon. William Alsup by
                             Oracle America, Inc., for Court Reporter Katherine Sullivan. (Ramsey, Gabriel) (Filed on 8/17/2016)
                             (Entered: 08/17/2016)
         08/17/2016     2038 Minute Entry for proceedings held before Hon. William Alsup: Motion Hearing held on
                             8/17/2016 re 1997 MOTION for New Trial filed by Oracle America, Inc., 1993 MOTION for
                             Judgment as a Matter of Law Pursuant to Rule 50(b) filed by Oracle America, Inc. Total Time in
                             Court 2 hours. Court Reporter Name Kathy Sullivan. Plaintiff Attorney Annette Hurst; Nathan
                             Shaffer; Lisa Simpson; Michelle O'Meara. Defendant Attorney Robert Van Nest; Dan Purcell;
                             Christa Anderson; Reid Mullen; Bruce Baber; Maya Karwande; Kate Lazarus. Attachment
                             minute order.(dlS, COURT STAFF) (Date Filed: 8/17/2016) (Entered: 08/19/2016)
         08/18/2016     2036 ORDER RE FOLLOW UP FROM HEARING ON AUGUST 17, 2016. Signed by Judge Alsup on
                             8/18/16. (whalc1, COURT STAFF) (Filed on 8/18/2016) (Entered: 08/18/2016)
         08/19/2016     2037 Transcript of Proceedings held on 8/17/16, before Judge William H. Alsup. Court Reporter/Transcriber
                             Katherine Powell Sullivan, telephone number 415-794-6659. Per General Order No. 59 and Judicial
                             Conference policy, this transcript may be viewed only at the Clerk's Office public terminal or may be
                             purchased through the Court Reporter/Transcriber until the deadline for the Release of Transcript
                             Restriction. After that date it may be obtained through PACER. Any Notice of Intent to Request
                             Redaction, if required, is due no later than 5 business days from date of this filing. (Re 2035 Transcript
                             Order, 2034 Transcript Order ) Redaction Request due 9/9/2016. Redacted Transcript Deadline set for
                             9/19/2016. Release of Transcript Restriction set for 11/17/2016. (Related documents(s) 2035 , 2034 )
                             (Sullivan, Katherine) (Filed on 8/19/2016) (Entered: 08/19/2016)
         08/19/2016     2039 Letter Brief (Joint) filed byGoogle Inc.. (Mullen, Reid) (Filed on 8/19/2016) (Entered: 08/19/2016)




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         08/19/2016     2040 STIPULATION WITH [PROPOSED] ORDER re 2039 Letter Brief; --Stipulation and Proposed Order
                             to Stay Execution of Costs Award filed by Oracle America, Inc.. (Feeman, Vickie) (Filed on 8/19/2016)
                             (Entered: 08/19/2016)
         08/19/2016     2041 REPLY (re 2014 MOTION for Sanctions and for Civil Contempt ) filed byGoogle Inc.. (Baber, Bruce)
                             (Filed on 8/19/2016) (Entered: 08/19/2016)
         08/22/2016     2042 STIPULATION AND ORDER TO STAY EXECUTION OF COSTS AWARD by Hon. William
                             Alsup; granting 2040 Stipulation. (whalc1, COURT STAFF) (Filed on 8/22/2016) (Entered:
                             08/22/2016)
         08/25/2016     2043 RESPONSE to re 2036 Order Declaration of Annette L. Hurst by Oracle America, Inc.. (Attachments:
                             # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)(Hurst, Annette) (Filed on 8/25/2016)
                             (Entered: 08/25/2016)
         08/25/2016     2044 RESPONSE to re 2036 Order Response & Objection to ECF No 2036 by Oracle America, Inc.. (Hurst,
                             Annette) (Filed on 8/25/2016) (Entered: 08/25/2016)
         08/25/2016     2045 AFFIDAVIT re 2036 Order by Google Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, #
                             4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, #
                             11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17
                             Exhibit 17, # 18 Exhibit 17a, # 19 Exhibit 18, # 20 Exhibit 19, # 21 Exhibit 20)(Anderson, Christa)
                             (Filed on 8/25/2016) (Entered: 08/25/2016)
         08/25/2016     2046 Administrative Motion to File Under Seal filed by Oracle America, Inc.. (Attachments: # 1 Declaration
                             of Matthew Bush, # 2 Exhibit 1 [UNREDACTED], # 3 Exhibit 1 [REDACTED], # 4 Exhibit 2
                             [UNREDACTED], # 5 Exhibit 2 [REDACTED], # 6 Exhibit Response and Objection to ECF No 2036
                             [UNREDACTED], # 7 Exhibit Response and Objection to ECF No 2036 [REDACTED], # 8 Proposed
                             Order)(Bush, Matthew) (Filed on 8/25/2016) (Entered: 08/25/2016)
         08/25/2016     2047 Administrative Motion to File Under Seal Affidavit of Christa M. Anderson in Response to ECF 2036
                             filed by Google Inc.. (Attachments: # 1 Proposed Order, # 2 Declaration Renny Hwang, # 3 Affidavit
                             Christa M. Anderson, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9
                             Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12, # 14 Exhibit 13, # 15
                             Exhibit 14)(Anderson, Christa) (Filed on 8/25/2016) (Entered: 08/25/2016)
         08/25/2016     2048 CERTIFICATE OF SERVICE by Oracle America, Inc. re 2046 Administrative Motion to File Under
                             Seal (Bush, Matthew) (Filed on 8/25/2016) (Entered: 08/25/2016)
         08/25/2016     2049 RESPONSE to re 2036 Order by Google Inc.. (Van Nest, Robert) (Filed on 8/25/2016) (Entered:
                             08/25/2016)
         08/25/2016     2050 RESPONSE to re 2036 Order Oracle's Statement Re Amendment of Judgment by Oracle America, Inc..
                             (Hurst, Annette) (Filed on 8/25/2016) (Entered: 08/25/2016)
         08/29/2016     2051 Declaration of Renny Hwang in Support of 2046 Administrative Motion to File Under Seal filed
                             byGoogle Inc.. (Related document(s) 2046 ) (Van Nest, Robert) (Filed on 8/29/2016) (Entered:
                             08/29/2016)
         09/06/2016     2052 REQUEST FOR RESPONSE Responses due by 9/9/2016 at Noon.. Signed by Judge Alsup on
                             9/6/16. (whalc1, COURT STAFF) (Filed on 9/6/2016) (Entered: 09/06/2016)
         09/07/2016     2053 FURTHER REQUEST FOR RESPONSE. Signed by Judge Alsup on 9/7/16. (whalc1, COURT
                             STAFF) (Filed on 9/7/2016) (Entered: 09/07/2016)
         09/09/2016     2054 Administrative Motion to File Under Seal filed by Oracle America, Inc.. (Attachments: # 1 Declaration
                             of Matthew Bush in Support of Oracle's Administrative Motion to File Under Seal, # 2 Proposed Order,
                             # 3 Exhibit Declaration of Annette L. Hurst Per ECF 2052 and 2053 [REDACTED], # 4 Exhibit
                             Declaration of Annette L. Hurst Per ECF 2052 and 2053 [UNDER SEAL])(Bush, Matthew) (Filed on
                             9/9/2016) (Entered: 09/09/2016)
         09/09/2016     2055 RESPONSE to re 2045 Affidavit, 2052 Order, Set Deadlines, 2053 Order (Declaration of Annette L.
                             Hurst Per ECF 2052 and 2053) by Oracle America, Inc.. (Attachments: # 1 Exhibit A)(Hurst, Annette)
                             (Filed on 9/9/2016) (Entered: 09/09/2016)




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         09/09/2016     2056 Administrative Motion to File Under Seal DECLARATION OF CHRISTA M. ANDERSON IN
                             RESPONSE TO COURT ORDERS ECF 2052 & 2053 filed by Google Inc.. (Attachments: # 1
                             Declaration OF MAYA KARWANDE IN SUPPORT OF GOOGLE INC.S ADMINISTRATIVE
                             MOTION TO SEAL, # 2 Proposed Order, # 3 Declaration Redacted version of Anderson Declaration,
                             # 4 Declaration Unredacted version of Anderson Declaration)(Anderson, Christa) (Filed on 9/9/2016)
                             (Entered: 09/09/2016)
         09/09/2016     2057 CERTIFICATE OF SERVICE by Google Inc. re 2056 Administrative Motion to File Under Seal
                             DECLARATION OF CHRISTA M. ANDERSON IN RESPONSE TO COURT ORDERS ECF 2052 &
                             2053 (Anderson, Christa) (Filed on 9/9/2016) (Entered: 09/09/2016)
         09/09/2016     2058 CERTIFICATE OF SERVICE by Oracle America, Inc. re 2054 Administrative Motion to File Under
                             Seal (Bush, Matthew) (Filed on 9/9/2016) (Entered: 09/09/2016)
         09/13/2016     2059 RESPONSE (re 2056 Administrative Motion to File Under Seal DECLARATION OF CHRISTA M.
                             ANDERSON IN RESPONSE TO COURT ORDERS ECF 2052 & 2053 ) filed byOracle America, Inc..
                             (Bush, Matthew) (Filed on 9/13/2016) (Entered: 09/13/2016)
         09/13/2016     2060 Declaration of Renny Hwang in Support of Oracle's Administrative Motion to Seal filed byGoogle Inc..
                             (Van Nest, Robert) (Filed on 9/13/2016) (Entered: 09/13/2016)
         09/19/2016     2061 NOTICE of Appearance by Melinda Haag (Haag, Melinda) (Filed on 9/19/2016) (Entered: 09/19/2016)
         09/22/2016     2062 Minute Entry for proceedings held before Hon. William Alsup: Motion Hearing held on
                             9/22/2016. 2014 Motion for Sanctions. Motion will be taken under submission. Total Time in
                             Court: 50 minutes.Court Reporter: Pam Batalo.
                             Plaintiff Attorneys: Melinda Haag, Robert Varian, Lisa Simpson, Annette Hurst. Defendant
                             Attorneys: Bruce Baber, Joseph Wetzel.
                             Attachment: Minute Order.(afmS, COURT STAFF) (Date Filed: 9/22/2016) (Entered:
                             09/22/2016)
         09/22/2016     2063 TRANSCRIPT ORDER for proceedings held on 09/22/2016 before Hon. William Alsup by Google
                             Inc., for Court Reporter Pam Batalo. (Baber, Bruce) (Filed on 9/22/2016) (Entered: 09/22/2016)
         09/22/2016     2064 TRANSCRIPT ORDER for proceedings held on September 22, 2016 before Hon. William Alsup by
                             Oracle America, Inc., for Court Reporter Pam Batalo. (Ramsey, Gabriel) (Filed on 9/22/2016)
                             (Entered: 09/22/2016)
         09/23/2016            (Court only) ***Deadlines terminated. (afmS, COURT STAFF) (Filed on 9/23/2016) (Entered:
                               09/23/2016)
         09/23/2016     2065 ORDER RE PROTECTIVE ORDER AND MOTION FOR CONTEMPT re 2014 MOTION for
                             Sanctions and for Civil Contempt filed by Google Inc., ORDER REFERRING CASE to
                             Magistrate Judge Laporte for Settlement. Signed by Judge Alsup on 9/23/16. (whalc1, COURT
                             STAFF) (Filed on 9/23/2016) (Entered: 09/23/2016)
         09/23/2016     2066 CLERK'S NOTICE: A Settlement Conference is set for 9/28/2016 at 11:00 AM in Courtroom E, 15th
                             Floor, San Francisco before Magistrate Judge Elizabeth D. Laporte. (This is a text-only entry generated
                             by the court. There is no document associated with this entry.) (shyS, COURT STAFF) (Filed on
                             9/23/2016) (Entered: 09/23/2016)
         09/26/2016     2067 Joint Status Report re ECF No. 2065 filed by Oracle America, Inc.. (Haag, Melinda) (Filed on
                             9/26/2016) (Entered: 09/26/2016)
         09/27/2016     2068 Transcript of Proceedings held on 09/22/16, before Judge Alsup. Court Reporter Pamela A. Batalo,
                             telephone number 626-688-7509;pamela_batalo@cand.uscourts.gov. Per General Order No. 59 and
                             Judicial Conference policy, this transcript may be viewed only at the Clerk's Office public terminal or
                             may be purchased through the Court Reporter/Transcriber until the deadline for the Release of
                             Transcript Restriction. After that date it may be obtained through PACER. Any Notice of Intent to
                             Request Redaction, if required, is due no later than 5 business days from date of this filing. (Re 2063
                             Transcript Order, 2064 Transcript Order ) Redaction Request due 10/18/2016. Redacted Transcript
                             Deadline set for 10/28/2016. Release of Transcript Restriction set for 12/27/2016. (Related
                             documents(s) 2063 , 2064 ) (Batalo, Pam) (Filed on 9/27/2016) (Entered: 09/27/2016)




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         09/27/2016     2069 CLERK'S NOTICE: The Settlement Conference is vacated and removed from Magistrate Judge
                             Elizabeth D. Laporte's 9/28/2016 calendar. (This is a text-only entry generated by the court. There is no
                             document associated with this entry.) (shyS, COURT STAFF) (Filed on 9/27/2016) (Entered:
                             09/27/2016)
         09/27/2016     2070 ORDER DENYING RENEWED MOTION FOR JUDGMENT AS A MATTER OF LAW AND
                             MOTION FOR A NEW TRIAL by Judge Alsup denying 1993 Motion for Judgment as a Matter
                             of Law; denying 1997 Motion for New Trial. (whalc1, COURT STAFF) (Filed on 9/27/2016)
                             (Entered: 09/27/2016)
         10/26/2016     2071 NOTICE OF APPEAL to the Federal Circuit by Oracle America, Inc.. Filing fee $ 505, receipt number
                             0971-10881532. Appeal Record due by 11/25/2016. (Bicks, Peter) (Filed on 10/26/2016) (Entered:
                             10/26/2016)




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                                                                          1                                                                                 I hereby certify that the annexed
                                                                                                                                                          instrument is a true and correct copy
                                                                                                                                                            of the original on file in my office.
                                                                          2
                                                                                                                                                      ATTEST:
                                                                                                                                                      SUSAN Y. SOONG
                                                                          3                                                                           Clerk, U.S. District Court
                                                                                                                                                      Northern District of California

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                                                                                                                                                          by:
                                                                                                                                                                     Deputy Clerk
                                                                          5                                                                               Date: 10/27/2016
                                                                          6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   ORACLE AMERICA, INC.,                                       No. C 10-03561 WHA
                                                                         11
United States District Court




                                                                                             Plaintiff,
                               For the Northern District of California




                                                                         12     v.                                                        ORDER DENYING RENEWED
                                                                         13                                                               MOTION FOR JUDGMENT
                                                                              GOOGLE INC.,                                                AS A MATTER OF LAW AND
                                                                         14                                                               MOTION FOR A NEW TRIAL
                                                                                             Defendant.
                                                                         15                                                /

                                                                         16                                          INTRODUCTION
                                                                         17          In this copyright infringement action, the jury found the accused infringement
                                                                         18   constituted fair use. The copyright owner now renews its motion for judgment as a matter of
                                                                         19   law and separately moves for a new trial. For the reasons stated below, both motions are
                                                                         20   DENIED.
                                                                         21                                             STATEMENT
                                                                         22          The history of this case appears earlier (Dkt. No. 1988). In brief, Oracle America, Inc.,
                                                                         23   formerly Sun Microsystems, Inc., has sued Google Inc. for copyright infringement with respect
                                                                         24   to Google’s “reimplementation” of certain API packages in copyrighted Java 2 Standard Edition
                                                                         25   Versions 1.4 and 5. Following remand from the Federal Circuit, this action proceeded to a
                                                                         26   second jury trial on fair use, infringement otherwise having been established in the first trial as
                                                                         27   to certain uses. A pretrial order divided the second trial into phases. Phase one addressed
                                                                         28   defendant Google’s fair use defense. Had the jury found for Oracle during phase one, the same
                                                                              jury would have determined willfulness and monetary remedies in phase two. A third phase,
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                                                                          1    before the judge only, would have determined whether Oracle deserved equitable remedies,
                                                                          2    including whether Google had equitable defenses.
                                                                          3                In phase one, the ten-person jury returned a unanimous verdict finding that Google had
                                                                          4    carried its burden on the defense of fair use. A comprehensive order denied both sides’ motions
                                                                          5    for judgment as a matter of law, so judgment was entered in Google’s favor (Dkt. No. 1988).
                                                                          6                Oracle now repeats its motion for judgment, adding a further motion for a new trial
                                                                          7    under Rule 59. This order follows full briefing, oral argument, and supplemental declarations
                                                                          8    addressing discovery issues raised in support of a new trial request.
                                                                          9                                                       ANALYSIS
                                                                         10                1.     RENEWED MOTION FOR JUDGMENT AS A MATTER OF LAW.
                                                                         11                Oracle’s new Rule 50 motion is denied for the same reasons as its old one (Dkt. No.
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                                                                               1988).1
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                                                                         12
                                                                         13                2.     MOTION FOR A NEW TRIAL.
                                                                         14                Pursuant to Rule 59(a)(1)(A), a court may grant a new trial “for any reason for which a
                                                                         15    new trial has heretofore been granted in an action at law.” Rule 61 provides that “no error in
                                                                         16    admitting or excluding evidence” constitutes a ground for granting a new trial “unless justice so
                                                                         17    requires.” A district court has broad discretion in deciding whether to admit or exclude
                                                                         18    evidence. Ruvalcaba v. City of Los Angeles, 64 F.3d 1323, 1328 (9th Cir. 1995). A district
                                                                         19    court also has broad discretion in deciding whether to bifurcate a trial. See Danjaq LLC v. Sony
                                                                         20    Corp., 263 F.3d 942, 961–62 (9th Cir. 2001). To warrant a new trial on these grounds, the
                                                                         21    movant must show that the Court’s rulings constituted an abuse of discretion plus caused it
                                                                         22    substantial prejudice.
                                                                         23                Oracle’s motion for a new trial challenges several discretionary decisions made at trial.
                                                                         24    Oracle’s primary argument, however, is that Google perpetrated discovery-concealment
                                                                         25    misconduct. The charged misconduct, Oracle says, rates as a “game changer.” For important
                                                                         26    context, however, this order first addresses Oracle’s related contention that the Court abused its
                                                                         27
                                                                                       1
                                                                                        Oracle’s argument that it is entitled to a new trial because the verdict was against the weight of the
                                                                         28   evidence, which incorporates by reference its brief on the motion for judgment as a matter of law, fails for the
                                                                              same reason.

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                                                                          1   discretion in limiting the trial to Android as used in smartphones and tablets, postponing all
                                                                          2   other uses to later trials.
                                                                          3                   A.       New Device Categories and Scope of Trial.
                                                                          4           The original trial in 2010 covered Android versions called 1.0, 1.1, Cupcake, Donut,
                                                                          5   Eclair, and Froyo, as used in smartphones and tablets. The original jury found those versions
                                                                          6   infringed but deadlocked over fair use. On remand, the issue arose whether to retry that same
                                                                          7   case taking the infringement verdict as a given and postponing later developments to a future
                                                                          8   trial versus whether to expand the retrial to include post-2010 developments, a question that
                                                                          9   came into focus as follows.
                                                                         10           After the remand, Oracle sought leave to file a supplemental complaint. Oracle’s
                                                                         11   eventual motion for leave to file a supplemental complaint drew no opposition, and the motion
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                                                                         12   was granted. The supplemental complaint identified six further versions of Android released
                                                                         13   since the original complaint. It further alleged that Google had implemented Android in various
                                                                         14   new device categories, including automobiles, wristwatches, televisions, and household
                                                                         15   appliances (Dkt. No. 1292).
                                                                         16           Disagreement surfaced when the parties served their new expert reports. Oracle’s
                                                                         17   expert reports evaluated Google’s alleged use of new API packages from Java 2 Standard
                                                                         18   Edition Versions 6 and 7. But those versions had never been asserted in any operative pleading,
                                                                         19   including even the supplemental complaint. Only versions 1.4 and 5 had been asserted. Only
                                                                         20   versions 1.4 and 5 had been presented to the original jury and found to have been infringed.
                                                                         21   Google moved to strike the overreaching passages of Oracle’s expert reports. This led to a
                                                                         22   hearing that featured the peril of the retrial spinning out of control via a piling on of ever-
                                                                         23   expanding “updating” issues. The Court expressed concern over the ever-mounting prolixity of
                                                                         24   this case and the need for a cutoff of new device implementations to be tried (without prejudice
                                                                         25   to trying the rest later). The Court observed (Dkt. No. 1470 at 9–10):
                                                                         26                    There’s a much cleaner way to deal with this. We can roll back the
                                                                                               clock to the moment that that [earlier] trial took place, and try it on
                                                                         27                    that set of facts and the circumstances then. And then all these
                                                                                               new products by [Oracle] and these new products by Google
                                                                         28                    would not be in play.


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                                                                          1                   And what that means is, over there on the Google side, that you’re
                                                                                              going to have to face another lawsuit downstream . . . .
                                                                          2
                                                                              In other words, the practical approach remained retrying the very trial revived by the Federal
                                                                          3
                                                                              Circuit, complicated as it already was, preserving the infringement verdict, and saving for a
                                                                          4
                                                                              later day all of the subsequent developments.
                                                                          5
                                                                                     Nevertheless, the retrial expanded in two important ways. First, in light of Google’s
                                                                          6
                                                                              stipulation that the earlier jury’s finding of infringement should apply to all later versions of
                                                                          7
                                                                              Android up through Lollipop, a pretrial order eventually held that our retrial would cover those
                                                                          8
                                                                              versions. A later stipulation included Marshmallow as well, adding a total of seven new major
                                                                          9
                                                                              releases of Android to the original six. The second expansion was to include the post-2010 time
                                                                         10
                                                                              period covered by these versions.
                                                                         11
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                                                                                     These expansions, by themselves, led to a vast inflation of Oracle’s claimed recovery.
                               For the Northern District of California




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                                                                              At the first trial, Oracle’s claim for monetary remedies clocked in at much less than a billion
                                                                         13
                                                                              dollars, but now they rose to nine billion. The vast inflation flowed from the longer time period
                                                                         14
                                                                              of sales of smartphones and tablets as well as the longer list of implicated versions of Android.
                                                                         15
                                                                              The vast inflation resulted even though the uses on trial for the fair use defense remained, as
                                                                         16
                                                                              before, smartphones and tablets.
                                                                         17
                                                                                     The trial was not, however, expanded to include certain other more recent uses like
                                                                         18
                                                                              Android TV, Android Auto, Android Wear, or Brillo. They presented a messier problem and
                                                                         19
                                                                              were excluded from the scope of the upcoming trial (without prejudice to a later trial to cover
                                                                         20
                                                                              them). Notably, the parties couldn’t agree on whether the original verdict of infringement
                                                                         21
                                                                              would have covered those uses (since they arose after the original verdict, and no evidence on
                                                                         22
                                                                              them was presented at the original trial). Had those uses been included in the retrial, Oracle
                                                                         23
                                                                              would have had the burden, Google urged, to prove that those uses infringed, rather than
                                                                         24
                                                                              relying, as Oracle wished to do, solely on the original verdict of infringement and imposing on
                                                                         25
                                                                              Google the burden to prove fair use. Oracle offered to move for summary judgment to establish
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                                                                              that the original finding of infringement should be extended to these new implementations, but
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                                                                              by the time of that offer, there wasn’t sufficient time for the Court to pursue that alternative
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                                                                              while sorting out the superabundancy of pretrial issues.

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                                                                          1          To repeat, all agree that under the pretrial orders, Oracle remained (and remains) free to
                                                                          2   pursue its claims for infringement arising from Google’s implementations of Android in devices
                                                                          3   other than smartphones and tablets in a separate proceeding and trial.
                                                                          4          The scope-of-trial issue surfaced in a second way. Oracle sought to introduce evidence
                                                                          5   of the excluded device categories at trial as part of its evidence of market harm under the
                                                                          6   fourth fair use factor. An order in limine, however, held that the only uses set for trial were
                                                                          7   smartphones and tablets (again without prejudice to a separate future trial as to other uses)
                                                                          8   (Dkt. No. 1781).
                                                                          9          In its new trial motion, Oracle now argues that it was error to limit the device uses in
                                                                         10   play to smartphones and tablets. We should have had one mega-trial on all uses, it urges. This,
                                                                         11   however, ignores the fact that Oracle’s earlier win on infringement in 2010 — the same win it
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                                                                         12   wished to take as a given without relitigation — concerned only smartphones and tablets. And,
                                                                         13   it ignores the obvious — one use might be a fair use but another use might not, and the four
                                                                         14   statutory factors are to be applied on a use-by-use basis. Significantly, the language of Section
                                                                         15   107(4) of Title 17 of the United States Code directs us to consider “the effect of the use upon
                                                                         16   the potential market for or value of the copyrighted work.” Oracle cites no authority
                                                                         17   whatsoever for the proposition that all uses must stand or fall together under the fair use test of
                                                                         18   Section 107.
                                                                         19          True, the fourth fair use factor must consider “whether unrestricted and widespread
                                                                         20   conduct of the sort engaged in by the defendant would result in a substantially adverse impact
                                                                         21   on the potential market for the original.” Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569,
                                                                         22   590 (1994). The concern with widespread use, however, is not whether uses distinct from the
                                                                         23   accused uses — each of which must be subject to distinct transformativeness analyses — might
                                                                         24   harm the market for the copyrighted works. Rather, the concern is whether a use of the same
                                                                         25   sort, if multiplied via use by others, would cause market harm, even though the actual use by
                                                                         26   the infringer caused only minimal harm. That is not our case. Again, our trial concerned two
                                                                         27   very important uses — smartphones and tablets — uses that implicated many billions of dollars.
                                                                         28   All other uses remained open for litigation in further trials.


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                                                                          1           Oracle relies on decisions from our court of appeals holding that supplementation of a
                                                                          2   complaint “is favored.” E.g., Planned Parenthood of Southern Arizona v. Neely, 130 F.3d 400,
                                                                          3   402 (9th Cir. 1997). It argues that postponing its claims relating to devices other than
                                                                          4   smartphones and tablets contravened the purpose of “promot[ing] as complete an adjudication
                                                                          5   of the dispute between the parties as is possible.” LaSalvia v. United Dairymen, 804 F.2d 1113,
                                                                          6   1119 (9th Cir. 1986). Oracle provides a five-page description of the various markets such as
                                                                          7   automobiles, healthcare devices, “Internet of Things,” appliances, and machine-to-machine
                                                                          8   communication — all involving vastly different technology and functionality from smartphones
                                                                          9   and tablets — in which Oracle has allegedly suffered harm due to Google’s Android-related
                                                                         10   offerings.
                                                                         11           Allowing complaints to be supplemented is favored, but a district judge still has a
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                                                                         12   separate responsibility to manage complex cases, including to decide which issues should be
                                                                         13   tried in which trial. Good reasons rooted in case and trial management favored the eventual
                                                                         14   scope of our trial.
                                                                         15           Oracle itself, it must be said, successfully excluded at least one post-2010 development
                                                                         16   that would have helped Google. Specifically, a pretrial ruling obtained by Oracle excluded
                                                                         17   evidence tendered by Google with respect to Android Nougat. Significantly, this evidence
                                                                         18   would have shown that (back in 2008) all of the accused APIs could simply have been taken
                                                                         19   from OpenJDK, Sun’s own open-source version of Java, apparently in full compliance with the
                                                                         20   open-source license. Put differently, Sun itself had given away Java (including all of the lines
                                                                         21   of code in suit) in 2008 via its open-source OpenJDK. In 2015, Google used OpenJDK to
                                                                         22   reimplement the Java APIs for the latest release of Android, which it called Nougat. Google
                                                                         23   wished to use this evidence under the fourth fair use factor to show that its infringement did no
                                                                         24   more market harm than Sun itself had already invited via its own OpenJDK release. Despite its
                                                                         25   importance, the Court excluded this development because it had not been presented by Google
                                                                         26   in time for effective rebuttal by Oracle. This exclusion was a major win for Oracle in the weeks
                                                                         27   leading up to trial.
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                                                                          1             Oracle also argues that the first trial was not expressly limited to smartphones and
                                                                          2    tablets, so it was inappropriate to impose that limitation for the retrial. This isn’t correct. In
                                                                          3    2012, at our first trial, Oracle presented no evidence of any uses beyond smartphones and
                                                                          4    tablets. The other alleged uses lay in the future and were not considered by our first jury.
                                                                          5    Google simply had not yet implemented any aspect of Android on any of the new devices at that
                                                                          6    time.
                                                                          7             After considerable deliberation, the Court exercised its discretion to limit the scope of
                                                                          8    our trial to address the issue of whether the uses of the copyrighted materials considered at the
                                                                          9    first trial — smartphones and tablets — including all thirteen versions of Android enabling
                                                                         10    those uses were fair or not, saving for a future trial new and different uses. In this way, Oracle
                                                                         11    was allowed to take unquestioned advantage of the infringement verdict in the first trial while
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                                                                         12    also taking full advantage of the subsequent revenue derived from those very device
                                                                         13    implementations — smartphones and tablets. That limitation also protected our second jury
                                                                         14    from needing to absorb ever greater complexity in technology and the business models of new
                                                                         15    and different uses. Oracle remains free to pursue those new and later uses in a future lawsuit,
                                                                         16    but it is not entitled to a new trial as to smartphones and tablets.2
                                                                         17                      B.       The Charge of Discovery Misconduct and ARC++.
                                                                         18             With the benefit of the foregoing history of the smartphones and tablets limitation, we
                                                                         19    turn to Oracle’s charge of discovery misconduct. This charge is not anchored in any claimed
                                                                         20    error by the judge but is anchored in claimed misconduct by Google and its counsel.
                                                                         21             At both trials, Google argued that Android’s use of the copyrighted lines of code
                                                                         22    qualified as “transformative” (under the first fair use factor) because Java had been designed
                                                                         23    for desktops and laptops whereas Android transformed the code at issue to work in the then
                                                                         24    newly-emerging world of smartphones and tablets. Thus, Google drew a significant distinction
                                                                         25    between desktops and laptops (Java) and smartphones and tablets (Android). Oracle now
                                                                         26
                                                                         27            2
                                                                                         After the verdict, the Court invited counsel to propose scheduling for exactly such a trial on the
                                                                              alleged new and different uses, but both sides preferred to enter a final judgment and proceed to appeals with
                                                                         28   the understanding that the alleged new and different uses were still open for future lawsuits (Dkt. Nos.
                                                                              2049–50).

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                                                                          1   accuses Google of withholding evidence in discovery that allegedly would have shown that
                                                                          2   Google was, by the close of our retrial, expecting soon to implement Android on desktops and
                                                                          3   laptops too. This argument will now be set out in detail.
                                                                          4          Throughout the supplemental discovery period following the remand, Oracle
                                                                          5   sought discovery into all Google products that incorporated the copyrighted lines at issue.
                                                                          6   In response, Google identified its App Runtime for Chrome (“ARC”), which enabled laptops
                                                                          7   and desktops running Google’s computer operating system, Chrome OS, to run certain
                                                                          8   Android applications. Chrome OS was and remains a different operating system from Android
                                                                          9   (Lin Dep. at 14–19, 107–09). ARC operated on top of Chrome OS and offered all of the
                                                                         10   Android APIs reimplemented from the Java code at issue. A related project, ARC Welder,
                                                                         11   enabled Android app developers to repackage the code in their apps for use on Chrome OS
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                                                                         12   devices via ARC.
                                                                         13          One of Oracle’s own technical experts, Robert Zeidman, addressed ARC in detail in his
                                                                         14   opening report (Zeidman Rep. ¶¶ 126–43). Oracle’s damages expert, James Malackowski,
                                                                         15   opined in his opening report that Google’s release of ARC and ARC Welder and the
                                                                         16   availability of some Android functionality on Chrome OS devices “means Google is now using
                                                                         17   Android to occupy the original, traditional market of the Java Platform” (Malackowski Rep.
                                                                         18   ¶ 172). Oracle, however, never sought to introduce any of the evidence on which these
                                                                         19   comments were based (or to introduce the expert testimony). Oracle does not accuse anyone of
                                                                         20   misconduct as to ARC, but ARC supplies relevant background.
                                                                         21          Now we come to the crux of the matter. In 2015, Google began a new project, which it
                                                                         22   internally called “ARC++.” Among the goals of ARC++ was to “[p]rovide Chrome OS users
                                                                         23   with Play Android apps on Chrome OS without developer action” (Anderson Decl., Exh. 7 at
                                                                         24   *785). That is, Google intended for ARC++ to make the “entire Android app ecosystem”
                                                                         25   available on Chrome OS devices, so that Android apps would “appear alongside Chrome apps”
                                                                         26   in the Chrome OS program menu (id., Exh. 8 at *404, Exh. 10 at *396). With ARC++, Google
                                                                         27   planned to run “Android in an isolated container inside Chrome OS,” and “[i]nside the
                                                                         28   container should be effectively another Linux environment, similar to on an actual device”


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                                                                          1   (id., Exh. 9 at *417). That is, ARC++ would run an isolated instance of Android (with all of
                                                                          2   Android’s public APIs, including those reimplemented from Java) in order to allow users to
                                                                          3   run all Android apps on Chrome OS devices. Google planned to include its “Play Store” —
                                                                          4   Google’s app wherein users could purchase and download other Android apps — as part of
                                                                          5   ARC++ to facilitate access to those apps.
                                                                          6          In 2015, Google produced to Oracle at least nine documents relating to ARC++ setting
                                                                          7   forth the information in the preceding paragraph (along with more extensive technical details)
                                                                          8   and tracking the development of the project (Anderson Decl. ¶¶ 16–20, Exhs. 6–14). This is a
                                                                          9   key fact in resolving the accusation at hand.
                                                                         10          Our trial began on May 9, 2016. Our last day of evidence was May 19, which
                                                                         11   happened also to be the second day of Google’s annual developer conference. On that day,
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                                                                         12   Google announced via a blog post that it would make all Android apps available for use on
                                                                         13   Chrome OS devices via the Play Store (id., Exh. 15). Although the announcement did not refer
                                                                         14   to this new feature as ARC++ (no name was given), it reflected the same goals and technical
                                                                         15   details as the ARC++ project. The announcement stated the feature would first roll out on the
                                                                         16   experimental developer channel, though over time it would become generally available. The
                                                                         17   same day at the developer conference, Google demonstrated the use of the Play Store with
                                                                         18   several Android apps on Chrome OS devices. The presenters acknowledged the technical
                                                                         19   limitations of the earlier ARC, stating that Google was “building a whole new platform to run
                                                                         20   Android apps on Chromebooks,” i.e., on laptops and desktops (Bush Decl., Exh. J at 3:30).
                                                                         21   One presenter explained that the new feature ran Android “directly on top of the Linux kernel
                                                                         22   [of Chrome OS].” Users could “run all of Android Marshmallow within Chrome OS. This
                                                                         23   includes the Google Play Store” (id. at 7:10).
                                                                         24          In short, the announcement indicated that the full functionality of Android would soon
                                                                         25   be working on desktops and laptops, not just on smartphones and tablets.
                                                                         26          Oracle now contends that Google’s failure to supplement several responses to
                                                                         27   interrogatories, requests for admission, and requests for production of documents, as well as
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                                                                          1   the deposition testimony of two witnesses to reflect developments in the ARC++ project
                                                                          2   constituted discovery misconduct warranting a new trial.
                                                                          3           “The test to be applied when discovery misconduct is alleged in a Rule 59 motion must
                                                                          4   be borrowed from cases interpreting Rule 60(b)(3) . . . .” Jones v. Aero/Chem Corp., 921 F.2d
                                                                          5   875 (9th Cir. 1990). Rule 60(b)(3) provides for relief from judgment for “fraud (whether
                                                                          6   previously called intrinsic or extrinsic), misrepresentation, or misconduct by an opposing
                                                                          7   party . . . .” To establish misconduct under Rule 60(b)(3), a moving party must:
                                                                          8                   (1) prove by clear and convincing evidence that the verdict was
                                                                                              obtained through fraud, misrepresentation, or other misconduct.
                                                                          9
                                                                                              (2) establish that the conduct complained of prevented the losing
                                                                         10                   party from fully and fairly presenting his case or defense.
                                                                                              Although when the case involves the withholding of information
                                                                         11                   called for by discovery, the party need not establish that the result
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                                                                                              in the case would be altered.
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                                                                              Ibid. (quoting Bunch v. United States, 680 1271, 1283 (9th Cir. 1982)). A movant need not
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                                                                              show that there would have been a different outcome without the alleged misconduct but need
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                                                                              only demonstrate “‘substantial interference’ by showing ‘the material’s likely worth as trial
                                                                         15
                                                                              evidence or by elucidating its value as a tool for obtaining meaningful discovery.’” Ibid.
                                                                         16
                                                                              (quoting Anderson v. Cryovac, Inc., 862 F.2d 910 (1st Cir. 1988)).
                                                                         17
                                                                                     Our court of appeals has recognized a “presumption of substantial interference if [the
                                                                         18
                                                                              moving party] can demonstrate the misconduct was sufficiently knowing, deliberate or
                                                                         19
                                                                              intentional.” Ibid. Although Jones did not expressly lay out the framework for applying that
                                                                         20
                                                                              presumption, it stated that Anderson, a decision from the First Circuit, “summarized the
                                                                         21
                                                                              applicable standards and burdens of proof.” Ibid. Anderson, 862 F.2d at 925, held that the
                                                                         22
                                                                              presumption of substantial interference “may be refuted by clear and convincing evidence
                                                                         23
                                                                              demonstrating that the withheld material was in fact inconsequential.”
                                                                         24
                                                                                     The oral argument on Oracle’s motion for a new trial, which lasted two hours, focused
                                                                         25
                                                                              almost exclusively on Oracle’s “game changer” allegation of discovery misconduct. Following
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                                                                              the hearing, counsel for both sides were ordered to file sworn declarations detailing Oracle’s
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                                                                              discovery requests on this point and Google’s responses. After reviewing the parties’
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                                                                              submissions, the Court called for sworn replies.

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                                                                          1                Throughout the briefing and argument on this motion, Oracle left the distinct
                                                                          2    impression — more accurately distinct misimpression — that Google had stonewalled and had
                                                                          3    completely concealed the ARC++ project. This was an unfair argument.
                                                                          4                In fact, Google timely produced at least nine documents discussing the goals and
                                                                          5    technical details of ARC++ and did so back in 2015, at least five months before trial. Counsel
                                                                          6    for Oracle now acknowledges their legal team never reviewed those documents until the
                                                                          7    supplemental briefing on this motion (Hurst Reply Decl. ¶ 12). The Court is disappointed that
                                                                          8    Oracle fostered this impression that no discovery had been timely provided on the ARC++
                                                                          9    project eventually announced on May 19.3
                                                                         10                Rule 26(e) requires a party to supplement discovery responses in a timely manner only
                                                                         11    “if the additional or corrective information has not otherwise been made known to the other
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                                                                         12    parties during the discovery process or in writing” (or if otherwise ordered by the Court). This
                                                                         13    creates a “‘duty to supplement,’ not a right.” Luke v. Fam. Care and Urgent Med. Clinics, 323
                                                                         14    Fed. Appx. 496, 500 (9th Cir. 2009). Nevertheless, Google had no duty to supplement
                                                                         15    responses with new information that had already been disclosed in the ARC++ documents
                                                                         16    already produced.
                                                                         17                Oracle should have known that items produced in response to its own document
                                                                         18    requests potentially contained information that supplemented Google’s earlier written
                                                                         19    discovery responses. Oracle’s failure to review the ARC++ documents is its own fault.
                                                                         20                It’s important, most of all, to step back and remember the scope of our trial.
                                                                         21    Significantly, any evidence relating to implementations of Android on devices other than
                                                                         22    smartphones and tablets fell outside the scope of our trial, which was limited to uses on
                                                                         23
                                                                         24            3
                                                                                          Oracle contends that Google should have produced source code for the ARC++ project in response to
                                                                              a request for source code that “can be used to facilitate use of Android” on devices other than smartphones and
                                                                         25   tablets or that it should have identified ARC++ in an interrogatory seeking identification of “any software based
                                                                              on or derived from” Android that incorporated the 37 reimplemented Java API packages, among other similar
                                                                         26   requests. Google objected to vague language in those requests, and it was not clear to Google whether ARC++,
                                                                              which was in its early stages of development, would have been responsive to requests for information about
                                                                         27   “products,” “software,” or versions that were “developed or released,” all of which are directed to completed
                                                                              projects. Indeed, the parties met and conferred about discovery responses and discussed Google’s objections to
                                                                         28   Oracle’s vague references to efforts to “port Android to desktop,” but Oracle did not follow up on Google’s
                                                                              objections (Anderson Decl. ¶¶ 30–39).

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                                                                          1   smartphones and tablets. Within the scope of our trial, therefore, Google fairly argued that
                                                                          2   Android was transformative because it took the declaring code in question, which had been
                                                                          3   designed for desktops and laptops, and reimplemented it for use in a new context, smartphones
                                                                          4   and tablets. It may well be true that the use of the copyrighted APIs in ARC++ (or any other
                                                                          5   later use) will not qualify as a fair use, but that will not and does not mean that Google’s
                                                                          6   argument on transformative use as to the original uses on trial (smartphones and tablets) was
                                                                          7   improper. That Oracle failed to detect the ARC++ documents in its possession had no
                                                                          8   consequence within the defined scope of our trial.
                                                                          9          Google committed a “fraud on the court,” Oracle contends, by eliciting testimony that
                                                                         10   Android had not caused any harm to the market for the copyrighted works because it was not
                                                                         11   used on laptops and desktops. As stated, however, this remained a fair argument so long as the
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                                                                         12   trial was focused, as it was, on the original uses — smartphones and tablets — and it remained
                                                                         13   a fair argument for the time period on trial (the blog announcement came later). The testimony
                                                                         14   and argument in question fell within the defined scope of our trial. Had Oracle brought up
                                                                         15   ARC or ARC++, the witnesses would plainly have clarified that their testimony related to the
                                                                         16   accused uses on trial.
                                                                         17          Oracle further notes that the order denying its motion for judgment as a matter of law
                                                                         18   held that the jury could reasonably have found that “Android caused no harm to the market for
                                                                         19   the copyrighted works, which were for desktop and laptop computers” (Dkt. No. 1988 at 17).
                                                                         20   Again, “Android” in that context plainly referred to the accused original implementations of
                                                                         21   Android within the defined scope of our trial.
                                                                         22          Google’s launch of the full Android system on Chrome OS also remains, even now, in
                                                                         23   preliminary stages, available only to developers and on a limited set of devices. Oracle
                                                                         24   already had evidence of ARC++, but didn’t realize it. Thus, to the extent Google’s recent
                                                                         25   announcement had any value at our trial (or in discovery), Oracle already had evidence of the
                                                                         26   same project (and its predecessor), and it passed on any opportunity to introduce that evidence.
                                                                         27          Nor would evidence of ARC++ have caused any interference relating to the Court’s
                                                                         28   rulings limiting the scope of the trial. Indeed, in the briefing and argument on the scope of


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                                                                          1    trial, Oracle never once mentioned ARC, ARC++, or any other use on laptop and desktop
                                                                          2    computers (neither did Google) (Dkt. Nos. 1559, 1612-3, 1643, 1682). This was so even
                                                                          3    though Oracle Expert Malackowski had already opined that the release of ARC “means Google
                                                                          4    is now using Android to occupy the original, traditional market of the Java Platform”
                                                                          5    (Malackowski Rep. ¶ 172). Instead, at oral argument, Attorney Lisa Simpson for Oracle
                                                                          6    identified “Android Auto” (not ARC or ARC++) as the most important implementation (to
                                                                          7    Oracle) that Oracle wished to add (Dkt. No. 1682, Tr. at 123). Oracle contends that the
                                                                          8    technical differences between ARC and ARC++ meant the latter presented a more compelling
                                                                          9    narrative both in pretrial motion practice and at trial, but both projects made the same 37
                                                                         10    reimplemented Java API packages available for use on Chrome OS; any differences between
                                                                         11    ARC and ARC++ remained peripheral to Oracle’s interest in the projects.
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                                                                         12                Oracle’s purported “game changer” would not have changed anything at all, because
                                                                         13    the scope of the “game” was smartphones and tablets, postponing new and later uses to a later
                                                                         14    contest. ARC++ was not yet on trial. Thus, any failure to produce such evidence could not
                                                                         15    have substantially interfered with Oracle’s preparation for our trial. On the contrary, it clearly
                                                                         16    and convincingly would have been inconsequential.4
                                                                         17                Oracle insists on taking depositions and document discovery into Google’s failure to
                                                                         18    supplement all discovery responses to reflect the imminent release of a developer version of
                                                                         19    ARC++ and to present its findings at an evidentiary hearing. Oracle cites Jones v. Aero/Chem
                                                                         20    Corp., 921 F.2d 875 (9th Cir. 1990), for the proposition that failure to hold an evidentiary
                                                                         21    hearing on this issue would be reversible error. This type of fishing expedition will not be
                                                                         22    allowed, and Jones in no way requires such a course.
                                                                         23                In Jones, two days after a jury found there had been no defect in the defendants’
                                                                         24    product, a third-party defendant produced a letter it received from one of the primary
                                                                         25    defendants nearly a decade earlier indicating that the primary defendant had known of the
                                                                         26    claimed defect and had explored remedial measures. The plaintiff moved for a new trial,
                                                                         27
                                                                                       4
                                                                                         Out of caution, this order makes clear that the test under Rule 59 is “substantial interference,” not
                                                                         28   “game changer.” The phrase “game changer” is Oracle’s phrase, even if it expresses a less favorable test than
                                                                              here applicable. This order applies the correct test, “substantial interference.”

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                                                                          1   claiming, inter alia, that the defendants had engaged in prejudicial discovery misconduct by
                                                                          2   withholding the correspondence. “At the hearing on the motion [for a new trial], the district
                                                                          3   court indicated it might later hold a hearing to determine whether [the] failure to produce the
                                                                          4   documents involved misconduct.” Id. at 877.
                                                                          5          Our court of appeals held that the district court improperly decided the motion based on
                                                                          6   whether the withheld evidence would have resulted in a “different outcome,” rather than
                                                                          7   whether it caused “substantial interference,” as required by decisions interpreting Rule
                                                                          8   60(b)(3). The failure to hold a separate “hearing” — the court of appeals never referenced an
                                                                          9   “evidentiary hearing,” contrary to Oracle — on the issue was a background circumstance. The
                                                                         10   actual error was in the standard applied, not the procedure for applying that standard. Notably,
                                                                         11   the court of appeals did not even require the district court to hold a subsequent hearing, but
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                                                                         12   rather directed it to hold “appropriate proceedings to determine” whether discovery misconduct
                                                                         13   had occurred according to the proper standard.
                                                                         14          In our case, the Court did hold “appropriate proceedings” and did hold a hearing at
                                                                         15   which the proper standard — Rule 60(b)(3) — was considered, and it further required sworn
                                                                         16   statements from counsel for both sides and then invited and considered sworn replies, all
                                                                         17   detailing the discovery conduct at issue. After reviewing many pages and exhibits, the Court
                                                                         18   finds that no misconduct has been shown (or would likely be shown even with the benefit of a
                                                                         19   fishing expedition). Nor could any omission of evidence relating to ARC++ have interfered
                                                                         20   with Oracle’s case at all, much less substantially. Contrary to Oracle, ARC++ documents were
                                                                         21   in fact timely produced. They laid out the basic goals and technical details of the very product
                                                                         22   referenced on May 19. Since Oracle had that information, there was no need to supplement the
                                                                         23   written discovery to the extent evidence of ARC++ was responsive at all. Moreover, any
                                                                         24   further disclosure of ARC++ would have been of no consequence in Oracle’s preparation for
                                                                         25   our trial or its presentation at trial, which later became limited in scope to smartphones and
                                                                         26   tablets. This ground for a new trial is rejected.
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                                                                          1                  C.     Stefano Mazzocchi.
                                                                          2          Oracle next contends that a new trial is warranted due to the exclusion of minor
                                                                          3   evidence and testimony from Stefano Mazzocchi, a member of the board of directors of the
                                                                          4   Apache Software Foundation in 2008. Back then, Mazzocchi volunteered as a mentor
                                                                          5   overseeing the Apache Harmony Project and as a member of its Project Management
                                                                          6   Committee, which sought to create and offer an open-source reimplementation of the Java API.
                                                                          7   Google eventually used portions of the Harmony project in its reimplementation of 37 Java
                                                                          8   API packages in Android. Later on, Mazzocchi went to work for Google, but at the relevant
                                                                          9   time, he worked for neither side.
                                                                         10          At our trial, Google presented evidence first (having the burden of proof), but it did not
                                                                         11   call Mazzocchi as a witness. Nevertheless, Google otherwise introduced evidence of Harmony
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                                                                         12   to support its position that reimplementation of APIs without licenses flowered in the industry.
                                                                         13          Oracle never properly designated Mazzocchi as a trial witness under Rule 26(a).
                                                                         14   Oracle wished to lay before the jury an email that Mazzocchi had sent in April 2008 during the
                                                                         15   development of Apache Harmony. (In fact, the exhibit was an email from the vice president of
                                                                         16   legal affairs at Apache and incorporated and responded to an email from Mazzocchi.) Despite
                                                                         17   Oracle’s Rule 26 violation, the Court acquiesced in allowing Oracle to present almost
                                                                         18   everything it wished to present, including Mazzocchi and the email, save and except for two
                                                                         19   minor items.
                                                                         20          Mazzocchi’s email went to a mailing list of members of Apache (TX 5046). It
                                                                         21   expressed concern that Apache could not distribute Harmony without a license from Sun, even
                                                                         22   with new implementing code, because “the copyright on the API is real and hard to ignore.”
                                                                         23   Mazzocchi added, “[s]o, we are, in fact, infringing on the spec lead copyright if we distribute
                                                                         24   something that has not passed the TCK and *we know that*.” Our jury heard Mazzocchi’s
                                                                         25   testimony regarding this email, and the entire email itself, including the quotations above, went
                                                                         26   into evidence, subject to one redaction.
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                                                                          1          That redaction is now the basis for Oracle’s first assignment of error. Its second is that
                                                                          2   Oracle was precluded from eliciting testimony that Mazzocchi worked for Google at the time
                                                                          3   of the trial, though he had worked elsewhere when he sent the email.
                                                                          4                          (i)     Redaction.
                                                                          5          The Court held that Mazzocchi could testify and that his emails would be admitted,
                                                                          6   over Google’s objection, subject to redaction of the following sentence in the email (TX 5046):
                                                                          7                    This makes us *already* doing illegal things (in fact, Android
                                                                                               using Harmony is illegal as well).
                                                                          8
                                                                              An exchange regarding that redaction occurred (outside the presence of the jury) as follows
                                                                          9
                                                                              (Tr. at 1588):
                                                                         10
                                                                                               THE COURT: However, the one sentence that I think is too
                                                                         11                    inflammatory and without foundation and should come out is the
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                                                                                               one sentence that says “This makes us *already* doing illegal
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                                                                         12                    things (in fact, Android using Harmony code is illegal as well).”
                                                                                               That should not be used. But the two paragraphs that I think
                                                                         13                    you’re more interested in, they can be used.
                                                                         14                    So that one sentence about “This makes us *already* doing illegal
                                                                                               things (in fact, Android using Harmony code is illegal as well)”
                                                                         15                    that should be deleted or at least redacted.
                                                                         16                    MS. HURST (for Oracle): We’ll redact that, Your Honor.
                                                                         17          Although, as just shown, Oracle’s counsel readily accepted that redaction and the email,
                                                                         18   as redacted, went before the jury, Oracle later — only after Mazzocchi had finished his
                                                                         19   testimony and had been excused — requested that the Court remove the redaction (Dkt. No.
                                                                         20   1925). This was denied, a denial that forms a basis for the new trial motion.
                                                                         21          Oracle now argues that sufficient foundation existed because Mazzocchi had
                                                                         22   “corresponded with the Apache Foundation’s VP of Legal Affairs regarding legal issues related
                                                                         23   to use of copyrighted Java APIs in the Harmony Project” (Pl.’s Mtn. at 16) (citing Tr. at
                                                                         24   1712–13).
                                                                         25          The so-called “correspondence” with the lawyer, it turns out, went into evidence as the
                                                                         26   thread leading up to the “Mazzocchi email” (TX 5046; Tr. at 1715). So, whatever foundation
                                                                         27   existed for the redacted sentence made its way to the jury anyway. (Perhaps this hearsay from
                                                                         28   the lawyer shouldn’t have been admissible at all, but no objection on that ground was made.)


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                                                                          1          Significantly, nowhere in any passage written by any lawyer did anything come close to
                                                                          2   what Mazzocchi said in the redacted sentence. So, the thread itself supplied inadequate
                                                                          3   foundation. Even if Mazzocchi had consulted a lawyer beyond the thread itself (and no such
                                                                          4   consultation was ever intimated), Mazzocchi himself was not a lawyer, so merely repeating
                                                                          5   what some lawyer might have told him would have been hearsay (within hearsay).
                                                                          6          Indeed, Mazzocchi’s testimony before the jury demonstrated that his legal conclusion
                                                                          7   was utterly without qualification (Tr. at 1727–28):
                                                                          8                   [MR. KWUN (for Google)]. So thinking back to April of 2008,
                                                                                              what, if anything, did you know about fair use in copyright law?
                                                                          9
                                                                                              A.     I don’t recall knowing anything about that.
                                                                         10
                                                                                              Q.     Did you know what the legal standard is for fair use?
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                                                                                              A.     I don’t — didn’t and still don’t.
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                                                                         12
                                                                                              Q.    After the email exchange with Mr. Ruby, did you resign as
                                                                         13                   a member from the Apache Software Foundation?
                                                                         14                   A.     No.
                                                                         15                   Q.     And what, if anything, do you conclude from the fact that
                                                                                              you did not resign your membership after that email?
                                                                         16
                                                                                              A.      I really cared about my involvement in Apache. I mean,
                                                                         17                   this was all volunteer work, and I really wanted the foundation to
                                                                                              do the right thing for protection of the membership and also for
                                                                         18                   protection of the users.
                                                                         19                   I would have left slamming the door if I thought that what the
                                                                                              foundation was doing was causing harm or doing any illegal
                                                                         20                   things.
                                                                         21                   So since I wrote these email [sic], I must have changed my mind,
                                                                                              something must have changed my mind whether that was the case.
                                                                         22                   And I didn’t leave.
                                                                         23   Notwithstanding Mazzocchi’s lack of training in the law, the Court allowed Oracle to make hay
                                                                         24   with “the copyright on the API is real and hard to ignore” and that releasing Harmony’s
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                                                                          1    reimplementation of the Java API code without passing the compatibility test would have
                                                                          2    constituted “infringing on the spec lead.” 5
                                                                          3            It is worth stressing that the email made no mention of “fair use.” It had nothing to do
                                                                          4    with the fair use issue our jury had to decide. Mazzocchi admitted that he knew nothing about
                                                                          5    fair use. The Court had already told the jury that Android infringed the copyright subject only
                                                                          6    to the fair use defense, so a good case existed for excluding the entire email. Nevertheless,
                                                                          7    virtually all of it came in.
                                                                          8            Nor did Mazzocchi’s testimony, elicited by Google, that he “would have left slamming
                                                                          9    the door [at Apache] if [he] thought that what the foundation was doing was causing harm or
                                                                         10    doing any illegal things” open the door to using the redaction. Mazzocchi’s testimony already
                                                                         11    responded to his understanding that Apache was infringing on Oracle’s copyright, and by noting
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                                                                         12    that something “changed [his] mind,” he acknowledged that his email reflected initial concern
                                                                         13    about the legality of Apache’s work anyway. Admission of the redaction would have been
                                                                         14    cumulative.
                                                                         15                              (ii)    Mazzocchi’s Employment.
                                                                         16            Oracle also contends that it should have been permitted to cross-examine Mazzocchi
                                                                         17    based on his alleged bias as a current employee of Google. When the Court initially allowed
                                                                         18    Oracle, despite its inadequate Rule 26 disclosure and over Google’s strenuous objection, to call
                                                                         19    Mazzocchi as a witness, the Court did so to allow presentation of his views when he worked for
                                                                         20    Apache in 2008 and ruled as follows (Tr. at 1589):
                                                                         21                      And don’t bring up that he works at Google now unless bias
                                                                                                 becomes a problem. If it appears he’s been coached to say things
                                                                         22                      that may not be true, possibly then I would allow you to bring up
                                                                                                 that he works for Google and that Google — he has met with the
                                                                         23                      lawyers and so forth. But for the time being, you should steer clear
                                                                                                 of that. And you may treat him as an adverse witness.
                                                                         24
                                                                         25
                                                                         26
                                                                                        5
                                                                                          The Court similarly restricted Google from eliciting legal conclusions from former Sun CEO,
                                                                         27   Jonathan Schwartz, about whether Sun had any legal claim against Google. After his testimony veered too close
                                                                              to that conclusion, the Court issued a corrective instruction and allowed Oracle to question Schwartz about a
                                                                         28   document that Oracle had improperly clawed back as privileged (Tr. at 508–10, 526). (Schwartz could not
                                                                              recall the document, so it was not admitted into evidence.)

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                                                                          1          During direct examination before the jury, and without seeking leave to address the issue,
                                                                          2   counsel for Oracle asked Mazzocchi (after he denied recollection of the email containing the
                                                                          3   “illegal things statement”) whether he had met with Google’s trial lawyers, which he confirmed
                                                                          4   he had (Tr. at 1724). The Court allowed the questions over Google’s objection.
                                                                          5          On cross-examination by Google, as stated, Mazzocchi testified that following the email
                                                                          6   addressing the issue of Oracle’s copyright in the Java APIs with regard to Harmony “something
                                                                          7   must have changed my mind whether that was the case” (Tr. at 1727). When Google passed the
                                                                          8   witness back for redirect, Oracle requested a sidebar to be allowed to elicit the fact that
                                                                          9   Mazzocchi became employed at Google the following year, in order to suggest it was his later
                                                                         10   employment with Google that had “changed his mind” about the legal status of the Apache
                                                                         11   Harmony project.
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                                                                         12          At the sidebar, the Court reviewed Mazzocchi’s testimony and concluded that he testified
                                                                         13   that he would have left Apache sooner than 2009 if he had believed it had been doing something
                                                                         14   illegal, while he didn’t begin his employment with Google until 2010. Contrary to Oracle,
                                                                         15   Mazzocchi’s testimony suggested that something changed his mind before he began working
                                                                         16   at Google.
                                                                         17          Even so, Oracle was able to offer evidence of Mazzocchi’s purported bias by eliciting
                                                                         18   testimony that Mazzocchi spoke with Google’s counsel before testifying (Tr. at 1724). Thus, the
                                                                         19   probative value of evidence of Mazzocchi’s then-current employment was minimal, particularly
                                                                         20   in light of the substantial risk that the jury would mistakenly ascribe Mazzocchi’s state of mind
                                                                         21   while at Apache to Google. (Indeed, Oracle sought to ascribe Mazzocchi’s shift in his state of
                                                                         22   mind to Google, although it predated his employment with Google.)
                                                                         23          In the larger picture, the jury heard evidence, pro and con, from both Sun (Oracle) and
                                                                         24   Google personnel concerning the extent to which reimplementation of APIs occurred in the
                                                                         25   industry. In view of this sea of evidence, the Mazzocchi email was cumulative. Nevertheless,
                                                                         26   virtually all of the email came into evidence, including his statement that reimplementing the
                                                                         27   Java API in particular constituted infringement of the copyright.
                                                                         28


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                                                                          1          Thus, Oracle’s contention that it is entitled to a new trial on the basis of the excluded
                                                                          2   evidence relating to Mazzocchi is rejected.
                                                                          3                  D.       European Commission Response.
                                                                          4          Oracle next contends that the Court improperly excluded a document containing
                                                                          5   responses to questions posed by the European Commission in connection with its 2009 review of
                                                                          6   Oracle’s acquisition of Sun. The question called for an explanation of “the conflict between Sun
                                                                          7   and Google with regard to Google’s Android” (TX 5295 at 39). Oracle sought to admit its
                                                                          8   response, which read, “Sun believes that the Dalvic [sic] virtual machine plus class libraries,
                                                                          9   which together constitute Android runtime environment, are an unauthorized derivative work of
                                                                         10   Java SE” (ibid.). Oracle wished to lay this response before the jury to meet testimony by Sun’s
                                                                         11   former CEO, Jonathan Schwartz, that Sun had welcomed Google’s then-recent announcement of
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                                                                         12   Android as part of the Java community, and that industry reimplementations of the Java API had
                                                                         13   promoted rather than hindered Sun’s business plan.
                                                                         14          To avoid the self-serving hearsay problem, Oracle attempted to lay foundation for the
                                                                         15   response through the testimony of its CEO, Safra Catz, who oversaw the acquisition and testified
                                                                         16   that Sun (not Oracle) had supplied the answer. Out of the presence of the jury, the Court stated it
                                                                         17   would consider allowing Oracle to admit the response if it had originated with Sun rather than
                                                                         18   Oracle (Tr. at 1314).
                                                                         19          The next morning, out of the presence of the jury, Oracle proffered several drafts of the
                                                                         20   response to the European Commission. These drafts purportedly traced earlier versions of the
                                                                         21   response. They originated from Sun’s in-house intellectual property counsel. Google protested
                                                                         22   that these drafts had long been withheld from Google as privileged until the previous night, so
                                                                         23   that it had had no opportunity to vet Oracle’s representations about the drafts. Counsel for
                                                                         24   Oracle responded that Oracle would waive the privilege. This after-the-deadline waiver, Google
                                                                         25   replied, failed to cure the prejudice. Temporizing, the Court warned Oracle that its disclosure of
                                                                         26   privileged documents would constitute an extraordinary waiver (Tr. at 1328).
                                                                         27          Nevertheless, still out of the presence of the jury and using the privileged documents,
                                                                         28   counsel for Oracle traced the internal development of the response to the European Commission.


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                                                                          1    One draft stated, colorfully, “[a] recidivist bank robber should not complain, at least to the
                                                                          2    authorities, that the bank’s new owner might increase security measures around the bank” (Tr. at
                                                                          3    1330). A subsequent email from Sun’s in-house counsel noted that Oracle’s corporate counsel
                                                                          4    had removed the colorful language and stated “Re Android, we liked our recidivist bank robber
                                                                          5    analogy” (Tr. at 1331). In light of its document tracing, Oracle proposed that Catz be permitted
                                                                          6    to testify that the response to the European Commission originated with Sun (how she would
                                                                          7    have known that on her own was never explained).
                                                                          8               The Court rejected that proposal, a rejection that now serves as a ground for the Rule 59
                                                                          9    motion.
                                                                         10               It is true that Google presented evidence at trial that Sun had embraced a custom of
                                                                         11    reimplementation of APIs and that Sun’s CEO had welcomed Android to the Java community.
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                                                                         12    It is further true that Google argued to the jury that this welcoming attitude reversed only after
                                                                         13    Oracle took over Sun and brought this suit. Oracle was free to present counterevidence (and did)
                                                                         14    but the extraordinary after-the-deadline waiver of privilege was too timewise prejudicial to
                                                                         15    Google, should not have been allowed, and was not.6
                                                                         16               Oracle’s gamesmanship deprived Google of a fair opportunity to vet the privileged
                                                                         17    documents and to verify the supposed chain of authorship. Anyway, the timing of the emails
                                                                         18    (at a time when Sun’s employees had cause to curry favor with their new boss) suggested that
                                                                         19    any response “from Sun” was really “from Oracle.” This ground for a new trial is rejected.
                                                                         20                      E.      Self-Serving In-House Presentations.
                                                                         21               Oracle was barred from placing in evidence certain self-serving in-house materials,
                                                                         22    offered supposedly to show how Android had hurt Oracle’s markets for Java. Specifically, as
                                                                         23    part of its evidence on market harm under the fourth fair use factor, Oracle sought to admit Trial
                                                                         24    Exhibits 5961, 6431, and 6470, which were in-house slide show presentations at Oracle. They
                                                                         25    were used “as [Oracle’s] way of planning for [the] next year. They’re also used to educate
                                                                         26
                                                                         27
                                                                                      6
                                                                                          Counsel for Oracle contended they could offer an email from 2008 in which someone internal to Sun
                                                                         28   stated Google’s conduct constituted copyright infringement, but no such document was ever shown to the Court
                                                                              or offered into evidence.

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                                                                          1   [Oracle’s executives] about what is going on in the business” (Tr. at 1356). The presentations
                                                                          2   included slides that discussed the purported impact of Android on Oracle’s revenue.
                                                                          3          Oracle invoked Rule 803(6) of the Federal Rules of Evidence, which provides an
                                                                          4   exception to the rule excluding hearsay evidence for records of a regularly conducted activity, as
                                                                          5   follows:
                                                                          6                   A record of an act, event, condition, opinion, or diagnosis if:
                                                                          7                   (A) the record was made at or near the time by — or from
                                                                                              information transmitted by — someone with knowledge;
                                                                          8
                                                                                              (B) the record was kept in the course of a regularly conducted
                                                                          9                   activity of a business, organization, occupation, or calling, whether
                                                                                              or not for profit;
                                                                         10
                                                                                              (C) making the record was a regular practice of that activity;
                                                                         11
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                                                                                              (D) all these conditions are shown by the testimony of the
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                                                                         12                   custodian or another qualified witness, or by a certification that
                                                                                              complies with Rule 902(11) or (12) or with a statute permitting
                                                                         13                   certification; and
                                                                         14                   (E) the opponent does not show that the source of information or
                                                                                              the method or circumstances of preparation indicate a lack of
                                                                         15                   trustworthiness.
                                                                         16          The Oracle-made documents contained slides with “highlights” and “lowlights” of
                                                                         17   certain fiscal years, identified “priorities and key messages,” summarized revenue data,
                                                                         18   forecasts, and budgets, identified market challenges, and mapped out product strategies (Bush
                                                                         19   Decl., Exhs. 26, 27, 29). As to Trial Exhibit 5961, Oracle offered the testimony of its CEO,
                                                                         20   Safra Catz, to lay the foundation that the presentation had been prepared as part of Oracle’s
                                                                         21   annual budget review (Tr. at 1357). When Oracle moved to admit that exhibit into evidence,
                                                                         22   Google objected, and the Court sustained the objection because it remained simply a slide show
                                                                         23   of internal self-serving propositions (even worse, created pending this lawsuit). The Court
                                                                         24   stated, “if it was just a financial statement, I would allow it, but there are too many slide shows
                                                                         25   in that document to qualify it as a business record” (Tr. at 1357). Counsel for Oracle sought to
                                                                         26   admit just page 21 of the exhibit, but that page, titled “FY11 Priorities and Key Messages —
                                                                         27   Java” suffered from the same self-serving problems. Indeed, that page addressed “integration-
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                                                                          1    specific concerns” regarding the integration of Sun into Oracle — hardly a regularly-conducted
                                                                          2    activity.7
                                                                          3             Oracle sought to admit similar presentations, Trial Exhibits 6431 and 6470, through the
                                                                          4    testimony of its former vice president of worldwide original electronic manufacturer sales, Neal
                                                                          5    Civjan, but those presentations were excluded on similar grounds.
                                                                          6             Rule 803(6) is not an open window through which any self-serving in-house internal
                                                                          7    hearsay sails into evidence at the author’s behest:
                                                                          8                       The element of unusual reliability of business records is said
                                                                                                  variously to be supplied by systematic checking, by regularity and
                                                                          9                       continuity which produce habits of precision, by actual experience
                                                                                                  of business in relying upon them, or by a duty to make an accurate
                                                                         10                       record as part of a continuing job or occupation.
                                                                         11    N.L.R.B. v. First Termite Control Co., Inc., 646 F.2d 424, 427 (9th Cir. 1981), opinion amended
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                                                                         12    on reh’g sub nom. Natl. Lab. Rel. Bd. v. First Termite Control Co. Inc. (9th Cir. Aug. 5, 1981);
                                                                         13    see also Advisory Committee Notes, 1972 Proposed Rules, Note to Paragraph (6).
                                                                         14             The Oracle presentations sought to be admitted were not the kinds of records that could
                                                                         15    be assured of their reliability due to systematic checking or habits of precision. On the contrary,
                                                                         16    the documents contained narrative, analysis, and commentary — i.e., self-serving argument. The
                                                                         17    only “regularity” of the self-serving presentations was that they arose as part of an annual budget
                                                                         18    review, but the statements themselves had not derived from such a systematic habit of precision.
                                                                         19    They otherwise lacked the indicia of trustworthiness sought by Rule 803(6). They were properly
                                                                         20    excluded as hearsay.
                                                                         21                      F.       Bifurcation.
                                                                         22             A pretrial order bifurcated the issues of fair use from willfulness and monetary remedies
                                                                         23    (Dkt. No. 1321 at 13). This prejudiced Oracle, it asserts, because “important market harm
                                                                         24    testimony never made it to the jury because it was relegated to the damages phase” and because
                                                                         25
                                                                         26
                                                                         27            7
                                                                                         In its brief, Oracle describes this page as “a spreadsheet of revenue and expenses for the first two
                                                                              quarters of fiscal year 2011 for Java embedded and forecasts for the third quarter” (Pl.’s Mtn. at 23). Page 21
                                                                         28   does not meet that description. It is possible, it now appears, that counsel for Oracle intended to direct Catz and
                                                                              the Court to page 23, but that error by Oracle then would not now be a reason to grant a new trial.

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                                                                          1    “bifurcation provided a structural incentive for the jury to return a defense verdict” (Pl.’s Mtn. at 20).
                                                                          2               Oracle’s argument that bifurcation precluded it from presenting its market harm evidence
                                                                          3    is simply untrue. Nothing about the bifurcation precluded Oracle in phase one from presenting
                                                                          4    evidence of Oracle’s lost revenue attributable to Android. Indeed, Oracle presented extensive
                                                                          5    evidence in phase one directed at the issue of market harm to the copyrighted works, the fourth
                                                                          6    fair use factor.
                                                                          7               Although there was some overlap in the evidence relevant to market harm and Oracle’s
                                                                          8    actual damages (and Oracle remained free to present it in phase one and did), the most complex
                                                                          9    evidence on Oracle’s remedies — the disgorgement of Google’s profits — had virtually no
                                                                         10    relevance to the market harm/fair use inquiry. Section 107(4) on fair use focuses on the “effect
                                                                         11    of the use upon the potential market for or value of the copyrighted work” (i.e., harm to Oracle).
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                                                                         12    Section 504(b) on remedies allows a copyright owner to recover “the actual damages suffered
                                                                         13    . . . as a result of the infringement” (again, harm to Oracle) as well as “any profits of the
                                                                         14    infringer that are attributable to the infringement” (Google’s profits from infringement) — to the
                                                                         15    extent the awards are not duplicative. Put differently, phase one focused on market harm to the
                                                                         16    copyrighted work whereas phase two focused on Oracle’s damages from that market harm and
                                                                         17    possible disgorgement of Google’s profits attributable to the infringement. Oracle’s claim for
                                                                         18    disgorgement of Google’s profits totaled more than ten times Oracle’s claimed actual damages
                                                                         19    and thus would have dominated Oracle’s case in phase two.8
                                                                         20               The disgorgement issue presented extraordinary complexity — complexity unrelated to
                                                                         21    market harm to the copyrighted works. For one, Google never directly sold Android. Instead,
                                                                         22    Google offered it free to all comers as open source. Google benefited indirectly. It used
                                                                         23    Android as a platform for its other services, which earned revenue from advertisements and sales
                                                                         24    of apps and media. But these other services (like its popular search engine) had already been
                                                                         25    operating and earning revenue well before Android. Oracle conceded this but contended that
                                                                         26    Android had multiplied that revenue. Thus, to isolate profits attributable to use of Oracle’s
                                                                         27
                                                                                      8
                                                                                          Google contended that the issue of disgorgement should not be presented to a jury. An order held
                                                                         28   that the jury would rule on disgorgement, but the Court would resolve Google’s argument after the verdict,
                                                                              possibly treating the jury’s verdict as advisory, if not conclusive (Dkt. No. 1769).

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                                                                          1   copyrighted code, the jury would have been required to apportion, first of all, the revenue
                                                                          2   between the pre-existing technology already in place versus Android.
                                                                          3             Next the jury would have had to further apportion between the accused lines of code
                                                                          4   versus the unaccused lines of code within Android. The infringing part of Android constituted
                                                                          5   only a small fraction of one percent of Android. Oracle conceded this but contended that this
                                                                          6   sliver held the key to the success of Android. These apportionment difficulties were just two
                                                                          7   examples of many posed by the disgorgement claim for our jury.
                                                                          8             Thus, phase two was poised to present bone-crushing analytics on how to apportion any
                                                                          9   Android profits attributable to the infringement versus profits attributable to non-infringement.
                                                                         10   To meet this challenge, the parties presented dueling economic models yielding massively
                                                                         11   different answers. Again, unlike Oracle’s lost profits segment, the apportionment/disgorgement
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                                                                         12   problems had virtually no relevance to market harm and fair use.
                                                                         13             In the Court’s judgment and discretion, our trial was best managed by postponing that
                                                                         14   mind-bender to phase two, so that the jury could give its undivided attention in phase one to the
                                                                         15   critical issue of fair use. Dividing the trial further served the important purpose of saving the
                                                                         16   resources of the Court and the jury (and the parties) in the event that the jury decided against
                                                                         17   Oracle on fair use.
                                                                         18             To repeat, Oracle was free to present its lost profits and other market harm evidence in
                                                                         19   phase one — and it did so at length. (In phase two, all previously admitted evidence would still
                                                                         20   have been deemed in evidence.)
                                                                         21             Turning to Oracle’s structural incentive argument, the Court instructed the jury not to
                                                                         22   allow any desire to conclude the trial sooner to influence its decision. We must presume the
                                                                         23   jurors followed the instruction, and there is nothing to indicate otherwise. Richardson v. Marsh,
                                                                         24   481 U.S. 200, 206 (1987). Oracle’s structural incentive argument, such as it is, would
                                                                         25   undermine every bifurcation of damages from liability. Yet the law plainly allows bifurcation.9
                                                                         26
                                                                         27         9
                                                                                        The Court instructed the jury as follows (Dkt. No. 1950 ¶ 46):

                                                                         28                      Once you render a verdict on the fair use question, we may proceed to the
                                                                                                 shorter and final phase of the trial on damages issues, depending on your answer

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                                                                          1          It deserves to be said, in favor of our jury, that the ten who served were as punctual,
                                                                          2   attentive, and diligent in note-taking as any jury this district judge has seen in seventeen years of
                                                                          3   service. They had all cleared their calendars. We were on target to meet or beat the time
                                                                          4   estimate given to the jury. Those with hardships had already been excused during jury selection.
                                                                          5   It is impossible to even suspect that bifurcation somehow steered the jury to rule as it did. The
                                                                          6   Court remains completely convinced that the verdict rested, after three days of deliberation,
                                                                          7   solely on the jury’s sincere assessment of the evidence and the instructions of law.
                                                                          8                                                CONCLUSION
                                                                          9          For the reasons stated above, Oracle’s motion for a new trial and its motion for judgment
                                                                         10   as a matter of law are DENIED.
                                                                         11
United States District Court
                               For the Northern District of California




                                                                         12          IT IS SO ORDERED.
                                                                         13
                                                                         14   Dated: September 27, 2016.
                                                                                                                                               WILLIAM ALSUP
                                                                         15                                                                    UNITED STATES DISTRICT JUDGE
                                                                         16
                                                                         17
                                                                         18
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                                                                         26
                                                                         27                   to the fair use question. This would still be within the June 10 end date stated
                                                                                              earlier. Please do not allow any desire to complete trial sooner to influence your
                                                                         28                   thinking. Once you render your verdict on the fair use issue, it will be final and
                                                                                              may not be re-visited or modified during the second phase.

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                                           1                                                                              I hereby certify that the annexed
                                                                                                                        instrument is a true and correct copy
                                                                                                                          of the original on file in my office.
                                           2
                                                                                                                    ATTEST:
                                                                                                                    SUSAN Y. SOONG
                                           3                                                                        Clerk, U.S. District Court
                                                                                                                    Northern District of California
                                           4
                                                                                                                        by:
                                           5                                                                                       Deputy Clerk
                                                                                                                        Date:   10/27/2016
                                           6                               IN THE UNITED STATES DISTRICT COURT
                                           7
                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                           8
                                           9
                                          10   ORACLE AMERICA, INC.,
For the Northern District of California




                                          11                  Plaintiff,                                  No. C 10-03561 WHA
    United States District Court




                                          12     v.
                                          13   GOOGLE INC.,                                               FINAL JUDGMENT
                                          14                  Defendant.
                                                                               /
                                          15
                                          16          Based upon the unanimous verdict by the jury, FINAL JUDGMENT IS HEREBY ENTERED

                                          17   in favor of defendant Google Inc., and against plaintiff Oracle America, Inc.

                                          18
                                          19          IT IS SO ORDERED.

                                          20
                                          21   Dated: June 8, 2016.
                                                                                                    WILLIAM ALSUP
                                          22                                                        UNITED STATES DISTRICT JUDGE
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